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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE



  JAZZ PHARMACEUTICALS, INC.,

                         Plaintiff,
  v.

  AVADEL CNS PHARMACEUTICALS,             C.A. No. 21-691-GBW
  LLC,

                      Defendant.
  JAZZ PHARMACEUTICALS, INC., et al.,

                         Plaintiffs,
  v.

  AVADEL CNS PHARMACEUTICALS,             C.A. No. 21-1138-GBW
  LLC,

                      Defendant.
  JAZZ PHARMACEUTICALS, INC., et al.,

                         Plaintiffs,
  v.

  AVADEL CNS PHARMACEUTICALS,             C.A. No. 21-1594-GBW
  LLC,

                           Defendant.


            DEFENDANT’S ANSWERING BRIEF IN OPPOSITION TO
         JAZZ’S MOTION FOR AN INJUNCTION OR ONGOING ROYALTY
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 I.     INTRODUCTION

        In its motion for a permanent injunction, Jazz asks this Court to prevent thousands of

 patients from accessing the only oxybate treatment that permits them to receive an uninterrupted

 night’s sleep. That request should be denied. The entry of a permanent injunction is always a

 matter of equitable discretion, not of right. Each of the equitable factors that governs the issuance

 of a permanent injunction—that the public interest would not be disserved by an injunction, that

 the plaintiff has suffered an irreparable injury, that remedies at law are inadequate, and that the

 balance of hardships favors an injunction—must be satisfied for an injunction to issue.

        Jazz establishes none of these factors. The FDA has already declared that Avadel’s once-

 nightly product (Lumryz) is clinically superior to Jazz’s twice-nightly products (Xywav and

 Xyrem), and for good reason: A drug that allows patients with a sleep disorder to get a full,

 uninterrupted night’s sleep is superior to drugs that require them to forcibly awaken in the middle

 of the night. Jazz criticizes the FDA’s expert determination but fails to present any evidence from

 patients or health-care providers supporting its position. The evidence at trial showed that Jazz

 tried for years to create a once-nightly drug, and patients should not suffer because Jazz failed

 where Avadel succeeded. An injunction taking a clinically superior drug off the market is not in

 the public interest. Jazz characterizes its request as “limited” because it seeks to deny Lumryz

 only to new patients, although it does not explain why new patients are any less deserving of access

 to a life-changing drug.



                                                                        .

        As to irreparable harm, Jazz tells the Court a story of lost market share and price erosion,

 which it attributes solely to Lumryz. But in its public statements to its shareholders, Jazz tells a

 different story: It projects continued confidence in the long-term growth of Xywav. And when

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 Jazz’s public statements acknowledge a price-erosion problem, they highlight the effects of

 generic competitors, which Jazz itself licensed. Having licensed generic competitors, Jazz cannot

 pin the blame for the resulting price impacts solely on Lumryz. Furthermore, Jazz failed to

 establish any causal nexus between the sole remaining patent claim and the irreparable harm of

 which Jazz complains. Jazz has no evidence that Lumryz’s sachet packaging is cutting into its

 business; the source of its harm is Lumryz’s innovative once-nightly dosing. And by Jazz’s own

 admission, claim 24 of the ’782 patent is not directed to once-nightly dosing.

        The balance of hardships likewise weighs against an injunction. Jazz will continue to sell

 its branded products in the absence of an injunction. An injunction barring the sale of Lumryz

                                                                                    Jazz argues that

 Avadel has itself to blame for betting on Lumryz in the face of potential infringement, but Jazz did

 not even file an application with the PTO to get claim 24 until several months after Avadel had

 submitted Lumryz for FDA approval. Shutting down the sale of Lumryz on the basis of that

 eleventh-hour patent claim would be inequitable.

        Because Jazz has shown no basis for a permanent injunction here, the only remaining

 question is the size of an ongoing royalty. The jury has already found that a modest sum

 compensates Jazz for any harm. Jazz asked the jury for a 27% royalty; the jury rejected that

 demand and awarded only a small fraction of it. Jazz now asks the Court to ignore that verdict

 and patient interests. Jazz’s motion should be denied, and the Court should enter an ongoing

 royalty consistent with the jury verdict.

 II.    JAZZ IS NOT ENTITLED TO AN INJUNCTION

        The four-factor eBay test governs Jazz’s motion. See Br. at 3; ActiveVideo Networks, Inc.

 v. Verizon Commc’ns, Inc., 694 F.3d 1312, 1337 (Fed. Cir. 2012). Jazz bears the burden on each

 factor. Conceptus, Inc. v. Hologic, Inc., No. C 09-02280 WHA, 2012 WL 44064, at *1 (N.D. Cal.

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 Jan. 9, 2012). As the Supreme Court has made clear, no general rule entitles patent owners to a

 permanent injunction. ActiveVideo Networks, Inc., 694 F.3d at 1341. Rather, a “permanent

 injunction is an extraordinary remedy.” Bianco v. Globus Med., Inc., No. 2:12-CV-00147-WCB,

 2014 WL 1049067, at *1 (E.D. Tex. Mar. 17, 2014) (Bryson, J.). And courts have generally

 “refused to permanently enjoin activities” where doing so “would injure the public health.” Cordis

 Corp. v. Bos. Sci. Corp., 99 Fed. App’x 928, 935 (Fed. Cir. 2004). Accordingly, in any case

 involving the proposed injunction of a medical or pharmaceutical product, the public-interest

 factor looms large. See Abbott Cardiovascular Sys., Inc. v. Edwards Lifesciences Corp., No. CV

 19-149 (MN), 2019 WL 2521305, at *25-26 (D. Del. June 6, 2019) (collecting cases).

        A.      The Public Interest in Patient Health Weighs Heavily Against an Injunction

        As Judge Dyk has observed, where a defendant’s medical or pharmaceutical product offers

 “unique medical benefits [that are] not available from [the plaintiff’s] competing products,” the

 “public interest weighs strongly against” an injunction. Baxalta Inc. v. Genentech, Inc., No. CV

 17-509-TBD, 2018 WL 3742610, at *12 (D. Del. Aug. 7, 2018). This public-interest principle is

 deeply rooted, widely recognized, and frequently applied. See, e.g., Bianco, 2014 WL 1049067,

 at *11-12 (collecting cases).    It is especially clear that where, as here, the defendant’s

 pharmaceutical product offers patients “a potential sea change in the treatment of their

 [condition],” a court should abstain from barring those patients’ access to the defendant’s

 innovative product. Baxalta, 2018 WL 3742610, at *13.

        That principle independently disposes of Jazz’s motion, as the public interest factor alone

 can be dispositive. See Natera Inc. v. ArcherDx, Inc., No. 20-CV-125-GBW, 2023 WL 9103876,

 at *1 (D. Del. Dec. 1, 2023). Lumryz offers a sea change in the treatment of narcolepsy by giving

 narcolepsy patients—for the first time—the chance to get an undisturbed night’s sleep. The FDA’s

 findings and the evidence conclusively establish the clinical importance and superiority of

                                                 3
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  Lumryz’s once-nightly formulation. Jazz offers only attorney argument—not evidence—to the

  contrary. Jazz has failed to carry its burden.

                 1.      All Narcolepsy Patients Should Have Access to Lumryz

         Narcolepsy is a chronic, incurable disease marked by excessive daytime sleepiness and

  fragmented nighttime sleep; patients typically require a lifetime of medication. Tr. 631:11-632:11.

  Its symptoms pervasively interfere with a patient’s life. Many people go years before a diagnosis.

  Tr. 632:18-633:6. Oxybate products like Lumryz—or Jazz’s competing products, Xyrem and

  Xywav—are the “most effective treatment for the symptoms of narcolepsy.” Tr. 635:1-5. But

  even though Jazz’s oxybate product (Xyrem) was approved in 2002, many patients who might

  benefit from oxybate still do not receive it. Tr. 635:6-13. As Dr. Corser explained at trial, before

  Lumryz, patients who wished to take oxybate were forced into a “twice-nightly treatment option;

  that is, people have to take one dose of oxybate at bedtime and a second dose two and a half to

  four hours later. So this has not been appealing, either for doctors or for patients.” Tr. 635:14-22.

  Lumryz is better. As Dr. Corser explained, “when we treat narcolepsy, the goal . . . is to allow

  people to sleep well through the night, sleep uninterrupted. . . . Having to wake up to take a second

  dose of medication is contrary to what we’re trying to achieve.” Tr. 636:13-637:2. Accordingly,

  many patients who refuse a twice-nightly oxybate treatment are expected to try once-nightly

  Lumryz. Tr. 501:20-23; Tr. 589:17-23; Tr. 602:6-9. These patients—and every other patient for

  whom Lumryz offers a full night’s sleep—would be harmed if Lumryz is enjoined.

                         a)      The FDA determined that Lumryz is clinically superior to
                                 Xyrem and Xywav

         The FDA is responsible for safeguarding the public health with respect to pharmaceutical




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  products.2 In the FDA’s judgment, Lumryz is clinically superior to Jazz’s existing oxybate

  products, Xyrem and Xywav.3 Jazz tried to keep Lumryz off the market by insisting that Jazz’s

  Orphan-Drug Exclusivity (“ODE”) blocked the FDA from approving Lumryz. Ex. 1, JTX-112.1-

  2. But the FDA decided that patients should not have to wait for a better drug. Id. Applying its

  expertise, and with the benefit of submissions by both Jazz and Avadel, the FDA “determined that

  Avadel has demonstrated Lumryz’s clinical superiority to every previously approved oxybate drug

  for the same use or indication, i.e., both Xywav and Xyrem.” Id. at JTX-112.3.4 The FDA found

  significant clinical benefits relative to Jazz’s twice-nightly products. As the FDA put it, a “once-

  nightly dosed oxybate drug will provide a significant therapeutic advantage . . . because having to

  wake up to take a second dose is antithetical to oxybate’s goal of improving sleep; disrupting sleep

  contributes to chronic sleep loss, which is well known to cause reduced performance, increased

  risk for accidents and death, and detrimental effects on both psychological and physical health.”

  Id. at JTX-112.33; see also id. at JTX-112.27-30.

           In its motion for a permanent injunction, Jazz all but ignores these findings. Instead, it

  emphasizes Lumryz’s higher sodium content relative to Xywav. But the FDA “acknowledged . .

  . that Lumryz has a higher sodium content than Xywav and addressed why Lumryz is still clinically

  superior to Xywav.” Id. at JTX-112.34. The FDA went on: the FDA “has already factored in the

  safety risk associated with the differences in the content of sodium between Lumryz and Xywav,

  as discussed above, and concluded that Lumryz makes a MCTPC [major contribution to patient




  2
      See https://www.fda.gov/about-fda/what-we-do#mission.
  3
   Jazz mentions in passing (at 15) its suit against the FDA challenging this determination. But that
  only underscores Jazz’s failure of proof: Despite the pending FDA litigation, Jazz offers not one
  physician declaration here challenging the FDA’s medical judgment about Lumryz.
  4
      All emphasis added unless otherwise noted.

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  care].” Id. at JTX-112.38. Even with respect to particularly sodium-sensitive patients, the FDA

  concluded that “the benefit offered by once-nightly dosing would outweigh the risk of increased

  sodium intake” because disrupted sleep is “antithetical” to the goals of oxybate treatment, and

  “there are other ways such patients may reduce sodium in their diet.” Id. at JTX-112.33.

         No evidence supports Jazz’s assertion (Br. 1) that Lumryz is “less safe.” Dr. Corser was

  clear: “There is no evidence that sodium oxybate increases the risk of cardiovascular disease or

  hypertension.” Tr. 638:5-21. Jazz put in no evidence from any medical doctor to rebut that

  testimony; instead, it relies on a Jazz lawyer (Mr. Honerkamp) and a damages expert (Dr. Rainey);

  neither is qualified to render an opinion on that point. And in the real world, Jazz is still selling

  large volumes of Xyrem, whose sodium content is equivalent to Lumryz’s, and it has licensed

  many generic versions of Xyrem that patients will continue to use for years to come. See infra

  Section II.B.3. This Court should reject Jazz’s unsupported argument and instead recognize, as

  the FDA has, that Lumryz is clinically superior.

         Jazz also belittles the FDA’s superiority finding because it was based on a major

  contribution to patient care. But patients are harmed when they are deprived of a differentiated

  alternative therapy—a therapy that, for example, reduces treatment burdens, increases patient

  willingness to take a treatment, increases compliance, or otherwise improves patients’ lives.

  Baxalta, 2018 WL 3742610, at *13. Taking such a choice away from patients “‘militates strongly

  against an injunction.’” Abbott, 2019 WL 2521305, at *26 (quoting Conceptus, 2012 WL 44064,

  at *3-4). In Baxalta, the court gave significant weight to the FDA’s decision to award a drug

  Breakthrough-Therapy Designation on the basis that the drug “‘may demonstrate a substantial

  improvement over existing therapies.’” Baxalta, 2018 WL 3742610, at *12 (quoting 21 U.S.C. §

  356). Here, FDA has determined that Lumryz is in fact clinically superior.



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         Nor does it matter that some patients might benefit from Xywav. Br. 14. Jazz relies on

  Edwards, but that case was predicated on unique facts. Edwards Lifesciences AG v. CoreValve,

  Inc., No. CV 08-91 (GMS), 2014 WL 1493187 (D. Del. Apr. 15, 2014).5 The district court called

  out “egregious conduct” on Medtronic’s part, including a representation to the court that “was false

  when made.” Id. at *6, *11 & n.7. No such facts are present here. And while Jazz insists that

  eliminating “a choice of drugs is not, by itself, sufficient to disserve the public interest” (Br. 14),

  that argument has no application where, as here, the product proposed to be enjoined “differ[s] in

  meaningful ways” from existing products on the market. Baxalta, 2018 WL 3742610, at *12. This

  case is not like those in which patients can simply obtain a different form of the enjoined product

  from another supplier. See, e.g., Natera, 2023 WL 9103876, at *5 (concluding that injunction was

  proper because patients could obtain an “equally” effective product from patentee). Rather, this

  case is like Baxalta, Abbott, Cordis, Conceptus, and others, where the public interest in access to

  superior therapies precluded an injunction.

                         b)      Patients and providers attest that Lumryz is better

         The FDA and Dr. Corser are not alone in recognizing Lumryz’s critical benefits. Jazz itself

  called the approval of Lumryz “a positive development for patients with narcolepsy.” Ex. 2 at 1.

  And Avadel offers additional evidence from medical providers and patients confirming that

  Lumryz improves patient lives. See, e.g., Smith & Nephew, Inc. v. Interlace Med., Inc., 955 F.

  Supp. 2d 69, 80 (D. Mass. 2013) (public interest weighs against injunction where “at least some

  doctors consider” the infringing product “more effective”).




  5
   Jazz’s other cases likewise do not show injunctions entered under “similar” circumstances. Br.
  14. Indeed, Jazz makes no effort to explain how those cases relate to the facts here. Several
  predate eBay Inc. v. MercExchange, L.L.C., 547 U.S. 388, 393 (2006), which abrogated categorical
  patent-case rules providing for the issuance of injunctions as a matter of course.

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         Nurse Practitioner Maggie Lavender prescribes Xyrem, Xywav, and Lumryz.                     She

  emphasizes that “it is not some minor issue that people do not want to have to set an alarm in the

  middle of the night. Neither Xyrem nor Xywav is an easy treatment. The treatment upends your

  life.” Lavender ¶12. She has seen patients and entire households suffer from twice-nightly dosing,

  and she has seen patients’ lives dramatically improve on Lumryz. Id. ¶¶12-17. Several of Ms.

  Lavender’s patients are not yet on Lumryz but will likely start in the future. Id. ¶¶15-18. Similarly,

  Dr. Thomas Stern sees benefits with Lumryz, including better symptom control, decreased anxiety,

  and better sleep architecture. Stern ¶¶6-11, 13. He confirms that Lumryz is not “less safe” than

  Xywav. Id. ¶¶19-20. He stresses the importance of an option for patients who refuse even to start

  Xyrem or Xywav. Id. ¶12. He thinks Lumryz should be available to all patients, including future

  patients. Id. ¶¶21-22. Dr. Akinyemi Ajayi also treats narcolepsy patients and shares similar views.

  Ajayi ¶¶13-26. Jazz itself retained Dr. Richard Bogan and did not tell him that it was seeking an

  injunction; when Dr. Bogan learned that fact at his deposition, he objected that he “would like to

  have once-nightly oxybate available.” Ex. 3, 116:9-117:17. He currently prescribes Lumryz, and

  he expects it to be the best choice for more patients in the future. Id. at 24:1-9, 31:17-36:10.

         Three Lumryz patients have also provided this Court with first-hand accounts of the

  improvements they have seen on Lumryz.6 They speak candidly about their struggles with the

  middle-of-the-night forced awakening required by Xyrem and Xywav, and the awful days that

  they experienced when those struggles led to missed or skipped doses. See Patient 1 ¶6; Patient 2

  ¶¶6-7. They speak of the toll of never being able to sleep through the night on Xyrem and Xywav,

  and they are clear that they do not want to go back to that regimen. See Patient 1 ¶11; Patient 2




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   Additional evidence regarding the burdens on patients of Xyrem’s and Xywav’s twice-nightly
  dosing regimen can be found in an amicus brief filed earlier in the case. See Ex. 4.

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  ¶10; Patient 3 ¶10. These real-world testimonials confirm what the FDA has already found:

  Lumryz is clinically superior to Xyrem and Xywav.

                 2.     IH Patients Deserve Access to Lumryz for the Same Reasons

         Idiopathic hypersomnia (IH) patients are no less deserving of access to Lumryz. Physicians

  do not consider IH and narcolepsy without cataplexy to be distinct diseases; IH is best thought of

  as being on a spectrum with narcolepsy. Stern ¶14; Lavender ¶9. Patients with either condition

  suffer from excessive daytime sleepiness. Diagnostic criteria are similar and imprecise. Lavender

  ¶9; Stern ¶14. As with narcolepsy, oxybate is a very effective treatment for IH and the vast

  majority of IH patients take it twice nightly. Stern ¶15-16. Once-nightly Xywav is often not an

  adequate substitute. Id. ¶16-17; Lavender ¶9.

         Physicians have thus urged Avadel to seek FDA approval for Lumryz in IH. Tr. 529:13-

  20; Stern¶18; Lavender ¶19. Avadel is doing so, at great cost. Divis ¶12. Avadel expects that the

  FDA will approve Lumryz for use with IH patients, and again recognize that Lumryz is clinically

  superior to Xywav. Divis ¶14. Indeed, Jazz is partly to blame for the fact that IH patients do not

  yet have access to Lumryz: if Jazz had not improperly delayed Lumryz’s approval, Avadel’s IH

  trial would be well underway by now. Divis ¶13.

         Jazz is thus wrong that IH patients should be ignored because the FDA has not yet made a

  clinical superiority finding with respect to Lumryz treatments for IH patients. The key public-

  interest consideration is whether an injunction would cut off patient access to a differentiated

  product that offers a “unique” medical benefit, not whether there has been a clinical superiority

  determination. See Baxalta, 2018 WL 3742610, at *12; Abbott, 2019 WL 2521305, at *26-27

  (finding harm to the public “notwithstanding the lack of clinically proven superiority” based on

  physician declarations); Cordis Corp. v. Bos. Sci. Corp., 99 Fed. App’x at 935 (“a strong public

  interest supports a broad choice of drug-eluting stents, even though no published study proves the

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  superiority of either [accused] stent.”); Smith & Nephew, Inc., 955 F. Supp. 2d at 80. The burden

  remains with the patentee to prove that the product in question “fail[s] to offer any advantage.”

  Kimberly-Clark Worldwide, Inc. v. Tyco Healthcare Grp. LP, 635 F. Supp. 2d 870, 882 (E.D. Wis.

  2009). Jazz did not carry that burden: Jazz fails to point to any medical evidence in support of its

  requested injunction. As with narcolepsy patients, IH patients will gain a significant benefit by

  having access to Lumryz.

                 3.       Jazz’s Proposed “Limited” Injunction Is Not Limited at All

         Jazz tries to sidestep all this evidence by saying that it seeks only a “limited” injunction

  that would allow Avadel to continue marketing to “patients prescribed Lumryz as of the effective

  date of the injunction” (Br. 16-17),                                              There are 16,000

  people in the United States on oxybate therapy and a far larger population with narcolepsy (some

  200,000 people). Tr. 635:6-10. More patients will be diagnosed in the future. Stern ¶21. Even a

  “limited” injunction would make Lumryz unavailable “to the vast majority of [narcolepsy] patients

  in need of [Lumryz] treatment.” Baxalta, 2018 WL 3742610, at *13.

         Furthermore, the purportedly “limited” injunction sought by Jazz



                                                        At current sales levels, Avadel cannot cover

  its fixed costs and is losing money. Divis ¶7.



                                                                                                     .



                      .

                 4.       The Injunction that Jazz Requests Does Not Encourage Investment

         Finally, Jazz’s claim that an injunction will protect Jazz’s investment in new technologies

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  cannot survive even a cursory review of the facts. As the trial record showed, Jazz failed at

  developing a once-nightly oxybate. And Jazz offers no evidence that it “attracts investment” based

  on its allegedly good reputation as a company that develops medicines. Br. 13-14. Quoting cases

  where that was true of other parties does not make it true for Jazz, which has a different reputation:

  making money off anticompetitive practices. See, e.g. Jazz Ex. 4 p.38 (Jazz 10-K discussing many

  antitrust suits against Jazz); Ex. 5 at 2 (Stmt. of FTC Chair L. Khan). Nor does Sanofi help Jazz;

  that was an ANDA case enjoining entry of a generic drug that was not the product of innovation

  and that by definition provided no unique benefits to patients. Sanofi-Synthelabo v. Apotex, Inc.,

  470 F.3d 1368, 1383 (Fed. Cir. 2006).

         B.      Jazz Has Not Established Irreparable Harm

         Although this Court can and should deny Jazz’s request for an injunction solely based on

  the great harm it will cause the public, Jazz’s motion can also be denied for failure to establish

  irreparable harm. Indeed, Jazz’s irreparable-harm showing fails on multiple grounds. First, Jazz

  has not established any causal nexus between the infringement found at trial and the injuries Jazz

  will purportedly suffer on account of Lumryz’s availability. Second, Jazz’s assertions to this Court

  of market-share loss and price erosion on account of Lumryz are undercut by Jazz’s public

  declarations to its shareholders emphasizing the role of generic competitors and the long-term

  growth prospects for Xywav sales. Third, and relatedly, Jazz has licensed its Xyrem and Xywav

  patents to ten different generic competitors, which strongly suggests an absence of irreparable

  harm necessitating injunctive relief.     Finally, Jazz cannot establish any kind of intangible

  reputational harm that would warrant injunctive relief.

                 1.      Jazz Failed To Establish Causal Nexus

         “[T]he purpose of the causal nexus requirement is to show that the patentee is irreparably

  harmed by the infringement.” Apple Inc. v. Samsung Elecs. Co., 735 F.3d 1352, 1363 (Fed. Cir.

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  2013) (emphasis in original). “Without a showing of causal nexus, there is no relevant irreparable

  harm.” Id. The operative question is “whether there is some connection between [the] patentee’s

  asserted improvement over the prior art and the decisions of [purchasers] to choose” the accused

  product. Integra Lifesciences Corp. v. Hyperbranch Med. Tech., Inc., No. CV 15-819-LPS-CJB,

  2016 WL 4770244, at *21 (D. Del. Aug. 12, 2016) (quotation omitted, emphasis in original). And

  unclaimed features may defeat a nexus argument that relies solely on sales of the full product.

  Sales of an infringing product prove nexus on their own only where “the infringing product

  contains no feature relevant to consumers’ purchasing decisions other than what the patent

  claims.” Genband US LLC v. Metaswitch Networks Corp., 861 F.3d 1378, 1384 n.2 (Fed. Cir.

  2017). Demand for Lumryz does not equate to demand for the patented improvement.

         Jazz’s theory of irreparable harm does not pass this test. The sole claim at issue claims the

  sachet packaging used for Lumryz, but Jazz has no evidence that it is losing sales or market share

  to Avadel because Lumryz is packaged in a sachet. Jazz offers no evidence that any patient has

  switched because Lumryz is packaged in a sachet (or contains an acid separate from the drug-

  containing particles). To the contrary, Jazz has consistently acknowledged that patients select

  Lumryz for its once-nightly dosing. See, e.g., Tr. 581:5-19, 592:20-593:4. And Jazz admits that

  once-nightly dosing is not even part of the claim: in its MIL No. 1, Jazz argued that claim 24 did

  not include “any requirement that the modified release particles ‘help a patient stay asleep

  throughout the night.’” MIL No. 1 at 2, D.I. 567-1 at 113. Jazz dropped the method claims

  including those requirements pre-trial, presumably because even Jazz recognizes it did not invent

  once-nightly oxybate dosing. Per the Court’s order granting Jazz’s MIL, once-a-day dosing is an

  “unclaimed limitation” with respect to claim 24. D.I 540 at 1, 4. Yet Jazz admits that is what

  drives demand for Lumryz. Br. 10. To the extent that Jazz now tries to argue that Avadel could



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  not sell a product without using the claimed invention, it is notable that Avadel made investments

  in developing and seeking regulatory approval for Lumryz before Jazz copied Avadel’s claim

  covering Lumryz. See infra Section II.D.; Divis ¶4.

         The jury’s damages verdict further confirms the lack of nexus. Jazz’s damages expert Dr.

  Rainey admitted that he never tried to determine the value of the sachet, and instead analyzed the

  value of Lumryz as a whole—including the once-nightly dosing that Jazz admittedly did not

  claim—for the purpose of calculating damages. Tr. 605:12-606:17. The jury soundly rejected Dr.

  Rainey’s approach. Now, in pressing for an injunction, Jazz is doing the same thing by asserting

  “irreparable harm” that has nothing to do with the novel aspects of the claim.

                 2.      Jazz Publicly Contradicts Its Own Allegations of Irreparable Harm

         Jazz’s irreparable-harm showing also fails because the harms Jazz asserts (including lost

  market share and price erosion) are at least as attributable to generic competitors as they are to

  Avadel. This Court need not take Avadel’s word for it; Jazz’s public statements prove the point.

         In its brief, Jazz tries to lay all the blame for lost sales and price erosion on Avadel. Br. 3-

  7. But Jazz’s SEC filings admit that these effects stem at least in part from Jazz’s decision to

  license generic versions of Xyrem. In Jazz’s words, generic oxybate sales “have negatively

  impacted and are expected to continue to negatively impact Xyrem and Xywav sales for patients

  with narcolepsy,” and “a significant percentage of the prescriptions written for Xyrem” will be

  filled with generic product. Jazz Ex. 4 pp. 17, 36; Ex. 6 at 37; see also Rao ¶18, 21-24. Jazz was

  explicit about this in a recent 10-Q filing, explaining that “generic or AG high-sodium oxybate

  products or branded high-sodium oxybate entrants in narcolepsy, such as Avadel’s Lumryz, have

  had and may continue to have the effect of changing payor or formulary coverage of Xywav or

  Xyrem in favor of other products, and indirectly adversely affect sales of Xywav and Xyrem.” Ex.

  6 at 38; Rao ¶18, 21-23. And generic entry may cause at least some price erosion: “Generic

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  competition can decrease the net prices at which branded products, such as Xywav and Xyrem are

  sold.” Jazz Ex. 4 p.80; Rao ¶22. As discussed below, Jazz faces such generic competition only

  because it licensed it. Its effort to remedy those allegedly “irreparable losses” by enjoining its

  branded competitor, Lumryz, should be rejected.

         Moreover, while telling the Court that Lumryz will irreparably harm Xywav sales, see Br.

  5, Jazz has consistently told its investors it “remain[s] confident in the durability of Xywav and

  believe that [Jazz is] well-positioned to achieve [its] Vision 2025 goal of $2 billion in sleep

  revenue.” Ex. 7 at 4. Jazz confirmed that it expects “Xywav to remain the oxybate of choice,

  including the number one treatment for narcolepsy.” Id. at 3. Those public representations are

  impossible to square with Jazz’s alarmist warnings that Lumryz’s presence on the market will

  “irreparably harm” Jazz’s “status” and “reputation” as the “market leader in sleep.” Br. 8.

         As for IH patients,

                 . Divis ¶13. Doctors are free to prescribe off-label, but so far they have done so

  for        patients, presumably because IH patients lack insurance coverage for Lumryz. Divis

  ¶15; Lavender ¶19. Indeed, when asked on a recent earnings call about the “off-label use” of

  Lumryz to treat IH, Jazz said: “[W]e’re not really seeing much, if any, off-label use with Lumryz

  [to treat IH], given the payer restrictions on these products.” Ex. 7 p.18. Jazz’s complaints that it

  is losing its first-mover advantage are overstated. See Abbott, 2019 WL 2521305, at *22.

         These facts should be taken into account, because “[t]he Federal Circuit has found that lost

  sales standing alone are insufficient to prove irreparable harm; if they were, irreparable harm

  would be found in every case involving a manufacturer/patentee, regardless of circumstances.”

  Waters Corp. v. Agilent Techs. Inc., 410 F. Supp. 3d 702, 715 (D. Del. 2019) (quotation omitted).

  And “courts have routinely decided that market share and price erosion do not amount to



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  irreparable harm.” Galderma Labs. L.P. v. Lupin Inc., No. 21-CV-1710 at 6-7 (D. Del. Apr. 11,

  2024) (Ex. 8) (quotation omitted). Jazz has essentially left it to the Court to “piece[] together

  [Jazz’s] assertions regarding irreparable harm,” but such a “confusing presentation of the issues

  presented militates against a finding that Plaintiffs have ‘clearly shown’ they are likely to suffer

  irreparable harm in the absence of an injunction.” Abbott, 2019 WL 2521305, at *19.7

                 3.      Jazz Is Willing To License Its Patent Rights

         A patentee’s “willingness to forego its patent rights for compensation” evidences a lack of

  irreparable harm. Advanced Cardiovascular Sys., Inc. v. Medtronic Vascular, Inc., 579 F. Supp.

  2d 554, 560 (D. Del. 2008). That rule applies here in two ways:

         Licensing Its Most Relevant IP: Jazz has willingly licensed its Xyrem and Xywav patents

  to ten different direct competitors,                            . Ex. 9 at 67:24-68:2; see also id.

  60:1-64:4. As discussed supra Section II.B.2, Jazz expects those generics to take sales and cause

  price erosion for both Xyrem and Xywav, but it was still “willing, ultimately, to forego its

  exclusive rights for some manner of compensation. Money damages are rarely inadequate in these

  circumstances.” Advanced Cardiovascular Sys., 579 F. Supp. 2d at 560 (discussing a “selective”

  licensing program). Those twice-nightly generics did not need a license to the ’782 patent, but the

  point remains that Jazz is willing to license patents protecting its oxybate products and live with

  the competition that results.

         Jazz did not seek or obtain lost profits from Avadel: Pursuing and securing a jury

  award of lost profits damages can support a showing of irreparable harm. f’real Foods, LLC v.




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    Nor is that the only flaw in Jazz’s analysis. It retained an economist, but it did not ask him to
  analyze the severity of any alleged irreparable harm, distinguishing this case from Jazz’s authority.
  See Sanofi-Synthelabo v. Apotex, Inc., 470 F.3d 1368, 1382 (Fed. Cir. 2006) (economics expert
  testimony established price erosion).

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  Hamilton Beach Brands, Inc., No. CV 16-41-CFC, 2020 WL 4015481, at *4 (D. Del. July 16,

  2020). Failing to seek and failing to obtain lost profits implies the opposite. Here, Jazz chose to

  seek a reasonable royalty—a retroactive license—instead of a lost-profits award. Ex. 9 at 21:11-

  28:3. The jury then awarded Jazz pennies on the dollar. D.I. 578; Tr. 600:3-8. Just as a lost-

  profits verdict can support an injunction, the verdict here supports the conclusion that a small

  royalty is sufficient to mitigate any harm. Cf. Natera Inc., 2023 WL 9103876, at *3 (lost profits

  award supported irreparable harm).

                 4.      Jazz Has Not Shown Any Actionable Reputational Harm

         Finally, Jazz complains (at 7) of “reputational harm” attributable to “Avadel’s marketing

  campaign for its infringing product.” But reputational harm weighs in favor of injunctive relief

  only “where a plaintiff was itself practicing the patented invention and where there was evidence

  of consumer confusion, a loss of product distinctiveness, or some risk to that plaintiff’s status as

  an innovator.” Baxalta, 2018 WL 3742610, at *11. Jazz has made none of those showings. It

  does not practice the ’782 patent.8 Br. at 4. It can point to no risk of consumer confusion. Nor

  would “the requested injunction . . . stop doctors and patients from associating the innovation of

  [Lumryz] with [Avadel].” Baxalta, 2018 WL 3742610, at *11 (cleaned up). Jazz lost its status as

  an innovator by failing to develop a once-nightly product, and that will remain true with or without

  an injunction. See id.; Abbott, 2019 WL 2521305, at *22. And to the extent Jazz is bothered by

  Avadel’s marketing statements, it should have moved to enjoin those statements, not Lumryz. See

  Abbott, 2019 WL 2521305, at *22 n.22. Jazz has not done so, likely because the statements are




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    While not itself dispositive, the fact that Jazz does not sell any product that embodies claim 24
  likewise militates against a finding of irreparable harm. See High-Tech Med. Instrumentation, Inc.
  v. New Image Indus., Inc., 49 F.3d 1551, 1556 (Fed. Cir. 1995); Chestnut Hill Sound, Inc. v. Apple
  Inc., No. 15-261-RGA, 2015 WL 6870037, at *4 (D. Del. Nov. 6, 2015).

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  true. Jazz’s reputation is being harmed, if at all, by its own efforts to take away a clinically superior

  drug. See Baxalta, 2018 WL 3742610, at *11; Stern ¶23; Divis¶16.

          C.      Jazz Has Not Shown that Monetary Remedies Are Insufficient

          This factor, “inadequacy of remedies available at law, is nearly indistinguishable from

  irreparable injury.” Natera Inc., 2023 WL 9103876, at *4. Jazz presents no new arguments or

  facts, instead referencing its irreparable harm arguments. Br. 10-11. The responses are the same.

          D.      The Harm to Avadel Greatly Outweighs the Harm to Jazz of Losing Sales

          Finally, the balance of hardships clearly weighs against an injunction. Jazz faces no

  existential risks in the absence of an injunction. Indeed, Jazz expects “Xywav to remain the

  oxybate of choice.” Ex. 7 at 3. But an injunction

                                                                      The fact that

                                                      tips the balance of hardships in favor of Avadel.

  See Bio-Rad Lab’ys, Inc. v. 10X Genomics Inc., 967 F.3d 1353, 1379 (Fed. Cir. 2020); Intel Corp.

  v. ULSI Sys. Tech., Inc., 995 F.2d 1566, 1568 (Fed. Cir. 1993).

          Jazz (at 13) asks this Court to disregard the parties’ relative posture on the ground that

  Avadel made a “choice” to focus exclusively on Lumryz’s development notwithstanding the risk

  of infringement. But when Avadel made that choice and corresponding investments in 2019, the

  claim 24 of the ’782 patent did not exist. Avadel filed for FDA approval for Lumryz on December

  15, 2020, and it was expecting approval on October 15, 2021. Tr. 548:12-13, 552:8-10; Divis ¶4.

  Jazz did not file the application that led to the ’782 patent until March 31, 2021, JTX-6, and kept

  its prosecution a secret from Avadel. Tr. 547:11-19. The ’782 patent issued on October 19, 2021,

  JTX-6. By that point, the design of Lumryz was locked in—it was not just final, but fully ready

  for FDA approval. That fact weighs against an injunction. See Hynix Semiconductor Inc. v.

  Rambus Inc., 609 F. Supp. 2d 951, 985 (N.D. Cal. 2009) (balance of harms “clearly weighs”

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  against injunction where patentee did not obtain patents-in-suit until after defendant was locked

  into infringing technology) (distinguishing Windsurfing, on which Jazz relies). “[Lumryz] is not

  a copycat product. It was independently developed and provides important advantages over

  [Jazz’s products] for patients.” Conceptus, Inc., 2012 WL 44064, at *3.

  III.   JAZZ’S REQUESTED RELIEF IS BARRED BY ITS UNCLEAN HANDS

         Finally, the Court should reject Jazz’s request for equitable relief due to Jazz’s unclean

  hands. See Precision Instrument Mfg. Co. v. Auto. Maint. Mach. Co., 324 U.S. 806, 814 (1945).

  Here, Jazz seeks equitable relief (a permanent injunction) after it blocked Avadel’s participation

  in the marketplace through unlawful and improper means (i.e., the improper Orange Book listing

  of its REMS patent that this Court and the Federal Circuit ordered delisted). Jazz’s misconduct

  has a direct relation to the relief sought, In re New Valley Corp., 181 F.3d 517, 525 (3d Cir. 1999),

  because Jazz previously excluded Avadel from the marketplace in an unconscionable manner and

  now seeks to do so through this Court’s exercise of its equitable powers. Jazz’s hands are unclean.

  This Court should not reward Jazz’s wrongdoing. See Avid Identification Sys., Inc. v. Phillips

  Elecs. N. Am. Corp., No. 2:04-CV-183, 2008 WL 819962, at *4 (E.D. Tex. Mar. 25, 2008)

  (patentee’s unclean hands with regard to one patent precluded entry of permanent injunction with

  regard to two other patents despite finding of willful infringement).

  IV.    AN ONGOING ROYALTY IN LIEU OF AN INJUNCTION IS APPROPRIATE

         “Under some circumstances, awarding an ongoing royalty for patent infringement in lieu

  of an injunction may be appropriate.” Paice LLC v. Toyota Motor Corp., 504 F.3d 1293, 1314

  (Fed. Cir. 2007); Innogenetics, N.V. v. Abbott Lab’ys, 512 F.3d 1363, 1380 (Fed. Cir. 2008)

  (vacating injunction and remanding for determination of a compulsory license). “Generally, the

  jury’s damages award is a starting point for evaluating ongoing royalties.” Vectura Ltd. v.

  GlaxoSmithKline LLC, No. CV 16-638-RGA, 2019 WL 4346502, at *7 (D. Del. Sept. 12, 2019)

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  (citation omitted). The Court then considers three factors: (1) change in bargaining position;

  (2) changed economic circumstances; and (3) any post-verdict factors affecting a post-verdict

  hypothetical negotiation. Id. Courts sometimes increase the royalty post-trial, but in all cases the

  analysis starts with the rate reflected by the jury verdict. Id. Here, the jury imposed a royalty of

  3.5% on a base reflecting only some sales. It may have determined that royalties should stop after

  that first payment of $234k. Ongoing royalties are not “automatic[ ]” where an injunction is

  denied, Apple, Inc. v. Samsung Elecs. Co., Ltd., No. 12-CV-00630, 2014 WL 6687122, at *9 (N.D.

  Cal. Nov. 25, 2014), and the Court could view the jury award as a fully-paid-up royalty.

  Alternatively, the Court could treat the award as a determination that Avadel should pay a 3.5%

  royalty on 20% of Avadel sales.9

         Jazz asks this Court to base any ongoing royalty on the rate put forward by Dr. Rainey at

  trial, but the jury unambiguously rejected that rate. The verdict form asked the jury to decide on

  a royalty rate and then to separately decide the total amount of damages. D.I. 578 at 11. During

  deliberations,




                                                           D.I. 580 at 7-8. The jury then returned a

  verdict that Jazz was entitled to only $233,562 in damages. D.I. 578. Jazz presents no argument

  as to why the Court should entirely reject the jury’s determination as to a reasonable royalty.

  Notably, 3.5% applied to all sales would be a substantial increase relative the jury’s verdict.




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    As Jazz tacitly recognizes (Br. 17 n.3), a jury may engage in apportionment with respect to the
  royalty base. “[T]he ultimate combination of royalty base and royalty rate must reflect the value
  attributable to the infringing features of the product, and no more.” Bd. of Regents Univ. of Texas
  Sys. v. Bos. Sci. Corp., 645 F. Supp. 3d 324, 333 (D. Del. 2022) (quotation omitted).

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          Nor does Jazz offer any persuasive reasons for departing from the rate reflected in the jury

  verdict. That Dr. Rainey was the only damages expert who testified serves only to emphasize that

  the jury heard the same arguments that Jazz recycles here and found them unpersuasive. The jury

  was instructed to evaluate the incremental value of Jazz’s invention and apparently found it to be

  de minimis. Jazz suggests that Avadel may be treated as a willful infringer, but Avadel was not

  even accused of willful infringement in this case, presumably due to Jazz’s choice to keep the ’782

  patent a secret until Jazz sued on it. Tr. 547:11-19. Pre-suit knowledge matters for willfulness,

  see Bos. Sci. Corp. v. Nevro Corp., 560 F. Supp. 3d 837, 843 (D. Del. 2021), and Avadel had none.

  This case is thus different from Joyal Prod., Inc. v. Johnson Elec. N.A., in which the defendant

  admitted to willful infringement. No. 04-5172, 2009 WL 512156, at *9 (D.N.J. Feb. 27, 2009).

  And this Court need not (and should not) increase the royalty rate simply because the ’782 patent

  has been found valid and infringed, “given that the jury is required to award a rate negotiated by

  willing licensors and licensees who considered the patent(s) to be valid and infringed.” Purewick

  Corp. v. Sage Prod., LLC, 666 F. Supp. 3d 419, 449 n.23 (D. Del. 2023). Where, as here, the only

  post-verdict change is the fact of the verdict itself, a higher rate than that adopted by the jury is not

  warranted. See id. at 449-50.

          The jury awarded Jazz 3.5% on 20% of sales of Lumryz. The Court could treat that as a

  lump sum award and decline to award any ongoing royalty. The Court could award Jazz a royalty

  of 3.5% of some fraction of Lumryz sales. Or the Court could award Jazz a 3.5% royalty on all

  sales of Lumryz going forward, an award greater than the actual jury verdict by a factor of five.

  The latter should set a cap on any prospective award.

  V.      CONCLUSION

          In the event the Court believes an ongoing royalty is warranted, the Court should only

  award Jazz an ongoing royalty, consistent with the jury’s award.

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   Dated: May 13, 2024                   MCCARTER & ENGLISH, LLP

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           EXHIBIT 1
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                                                                                Pharmaceuticals, Inc. v.
                                                                                         Avadel CNS Pharmaceuticals LLC


                                                                                              JTX-0112
                                                                                         C.A. No. 21-691 (GBW), 21-1138(GBW),
                                                                                                     21-1594 (GBS)




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           EXHIBIT 2

              REDACTED IN ITS ENTIRETY
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           EXHIBIT 3
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1             IN THE UNITED STATES DISTRICT COURT
2                  FOR THE DISTRICT OF DELAWARE
3     ------------------------------------x
4     JAZZ PHARMACEUTICALS, INC.,              :
                             Plaintiff,
5               v.                             :   C.A. No. 21-691-GBW
      AVADEL CNS PHARMACEUTICALS, LLC,
6                            Defendant.        :
7     ------------------------------------x
8     JAZZ PHARMACEUTICALS, INC., et al., :
                             Plaintiffs,
9               v.                        :        C.A. No. 21-1138-GBW
      AVADEL CNS PHARMACEUTICALS, LLC,
10                           Defendant.   :
11    ------------------------------------x
12    JAZZ PHARMACEUTICALS, INC., et al., :
                             Plaintiffs,
13              v.                        :        C.A. No. 21-1594-GBW
      AVADEL CNS PHARMACEUTICALS, LLC,
14                           Defendant.   :
15    ------------------------------------x
16
17            VIDEOTAPED DEPOSITION of RICHARD K. BOGAN, M.D.,
18      F.C.C.P., taken by the Defendant, pursuant to Agreement,
19      held at the law offices of     Quinn Emmanuel Urquhart &
20      Sullivan, LLP, 51 Madison Avenue, 22nd Floor New York,
21      NY 10010, on October 25, 2023, at 9:33 a.m., before a
22      Notary Public of the State of New York.
23
24          *********************************************
25
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                    Transcript of Richard K. Bogan, M.D., F.C.C.P.
                            Conducted on October 25, 2023                23

1     Q.       Did you prepare this report before Lumryz was                  09:59:33
2     allowed to be sold to patients?                                         09:59:41
3     A.       The date on the report was in January.                         09:59:45
4     Q.       Do you know when Lumryz was first allowed to be                09:59:50
5     sold?                                                                   09:59:53
6     A.       It was June of this year.                                      09:59:53
7     Q.       And so this report from January was before                     09:59:56
8     Lumryz could be given to patients; is that right?                       10:00:00
9     A.       That's correct.                                                10:00:02
10    Q.       When you prepared this report -- did you have                  10:00:03
11    any patients taking Lumryz in connection with any                       10:00:12
12    clinical trials?                                                        10:00:16
13    A.       I did.                                                         10:00:18
14    Q.       As of January 2023, how many patients did you                  10:00:18
15    have taking Lumryz as a part of a clinical trial?                       10:00:23
16    A.       Either two or three.        Probably three.                    10:00:27
17    Q.       Sitting here today, in October of 2023, do you                 10:00:31
18    still have any patients taking Lumryz as a part of a                    10:00:37
19    clinical trial?                                                         10:00:42
20    A.       The reason I hesitate is because we're                         10:00:43
21    transitioning that over to a commercial product.               I        10:00:47
22    might have one whose pending, because there's an open                   10:00:50
23    label extension, and the open label extension is                        10:00:56
24    transitioning clinical.       So we're close, but that may              10:00:59
25    have already happened within the last month.                            10:01:03


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                      Transcript of Richard K. Bogan, M.D., F.C.C.P.
                              Conducted on October 25, 2023            24

1     Q.       Sitting here today in October of 2023, do you                10:01:06
2     have patients taking Lumryz just as regular patients,                 10:01:10
3     not in a clinical trial?                                              10:01:16
4     A.       Yes.                                                         10:01:17
5     Q.       How many patients do you have today,                         10:01:18
6     October 25, 2023, taking Lumryz?                                      10:01:22
7     A.       In the practice?                                             10:01:25
8     Q.       In the practice.                                             10:01:26
9     A.       Probably 10.                                                 10:01:28
10    Q.       Are some of the 10 patients of the other four                10:01:29
11    prescribers in your Bogan Sleep Consultants practice?                 10:01:35
12    A.       Yes.                                                         10:01:41
13    Q.       Some of those 10 patients were taking Lumryz                 10:01:42
14    previously as a part of a clinical trial and some were                10:01:48
15    not; is that right?                                                   10:01:52
16    A.       That's correct.                                              10:01:53
17    Q.       How many of the approximately 10 patients                    10:01:54
18    seeing you specifically as their physician, as opposed                10:02:00
19    to one of the other prescribers in your practice?                     10:02:06
20    A.       Five.                                                        10:02:08
21    Q.       In your practice, do patients see the same                   10:02:09
22    prescriber every time or do patients sometimes see one                10:02:12
23    of your colleagues instead of you and vice versa?                     10:02:16
24    A.       I usually end up seeing my nurse practitioners'              10:02:20
25    patients at some point.         It's part of our supervision          10:02:26


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                     Transcript of Richard K. Bogan, M.D., F.C.C.P.
                             Conducted on October 25, 2023              25

1     process.                                                               10:02:29
2     Q.         Do you expect that for the -- strike that.                  10:02:29
3                Before I ask more questions about patients, I               10:02:36
4     should say at no point in time am I ever asking for                    10:02:38
5     patient identifying information.           You wouldn't tell me        10:02:43
6     anyways, but I want to be clear, if you think I have                   10:02:46
7     asked you about a patient name, I promise I didn't mean                10:02:49
8     it.   Please don't tell me any patient identifying                     10:02:53
9     information.                                                           10:02:58
10    A.         Understood.                                                 10:02:58
11    Q.         For the patients who are -- strike that.                    10:02:58
12               Do you expect that for the 10 patients                      10:03:02
13    currently taking Lumryz, you at some point will see                    10:03:06
14    those 10 patients?                                                     10:03:11
15    A.         Of course.                                                  10:03:12
16    Q.         And you also have patients who are taking                   10:03:12
17    Xywav, correct?                                                        10:03:25
18    A.         Correct.                                                    10:03:25
19    Q.         And you still have some patients taking Xyrem?              10:03:26
20    A.         That's correct.                                             10:03:31
21    Q.         Do you have any patients taking the authorized              10:03:32
22    generic version of Xyrem?                                              10:03:36
23    A.         Probably.     And the reason I say probably is I            10:03:38
24    don't necessarily know.                                                10:03:42
25    Q.         That's something that you expect might happen               10:03:44


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                        Transcript of Richard K. Bogan, M.D., F.C.C.P.
                                Conducted on October 25, 2023            30

1     to do -- you want me to do the math?                                    10:09:46
2     Q.         Sure.                                                        10:09:50
3     A.         Okay.     Um, it's a small percent, but probably 2           10:09:52
4     percent.                                                                10:10:01
5                (Reporter Clarification.)                                    10:10:10
6     A.         130.                                                         10:10:12
7     Q.         What percentage of patients who you see in your              10:10:13
8     practice have narcolepsy, roughly?                                      10:10:15
9     A.         I just stated that.                                          10:10:19
10    Q.         That's 2 percent of patients have narcolepsy?                10:10:22
11    A.         I think.      Might be more than that.                       10:10:30
12    Q.         So just thinking of the subset of patients who               10:10:32
13    have narcolepsy, how many of those patients are on                      10:10:37
14    Xyrem, Xywav, authorized generic of Xyrem, or Lumryz?                   10:10:42
15    A.         About one third.                                             10:10:47
16    Q.         So you also treat narcolepsy patients -- strike              10:10:50
17    that.                                                                   10:10:54
18               Is there a word that you use to describe the                 10:10:54
19    group of drugs that I just referenced?                                  10:10:57
20    A.         Oxybate.                                                     10:10:59
21    Q.         And so if I refer to oxybate drugs, to your                  10:11:01
22    understanding, you will have in mind that that's Xyrem,                 10:11:09
23    Xywav, authorized generic version of Xyrem, and Lumryz;                 10:11:14
24    is that right?                                                          10:11:20
25    A.         Correct.                                                     10:11:20


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                    Transcript of Richard K. Bogan, M.D., F.C.C.P.
                            Conducted on October 25, 2023              31

1     Q.       Approximately one-third of your narcolepsy                   10:11:21
2     patients are taking oxybate; is that right?                           10:11:29
3     A.       That's correct.                                              10:11:31
4     Q.       And two-thirds of your narcolepsy patients then              10:11:32
5     are taking something else?                                            10:11:36
6     A.       Correct.                                                     10:11:37
7     Q.       You treat patients who have narcolepsy type 1                10:11:38
8     and type 2; is that right?                                            10:11:42
9     A.       That's correct.                                              10:11:43
10    Q.       Narcolepsy type 1 is narcolepsy with cataplexy?              10:11:46
11    A.       That's correct.      Or low CSF, hypocretin levels.          10:11:53
12    Q.       How many of your narcolepsy type 1 patients as               10:11:59
13    a percentage are taking an oxybate?                                   10:12:01
14    A.       The majority.      I mean, it would be a guess, but          10:12:03
15    it's the majority.                                                    10:12:16
16             (Reporter clarification.)                                    10:12:17
17    Q.       Do you expect to have additional patients                    10:12:17
18    beyond the 10 start taking Lumryz?                                    10:12:55
19    A.       Of course.                                                   10:12:58
20    Q.       Why is that?                                                 10:12:59
21    A.       When I see a patient with narcolepsy, we talk                10:13:00
22    about pathophysiology, and we talk about different                    10:13:07
23    therapeutic options in reference to mechanism of action               10:13:12
24    and dosing, et cetera, potential side effects, and so we              10:13:17
25    introduce our narcolepsy patients to all of the therapy.              10:13:22


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                        Transcript of Richard K. Bogan, M.D., F.C.C.P.
                                Conducted on October 25, 2023            32

1     And then we decide what's best in this particular                       10:13:26
2     patient.                                                                10:13:29
3     Q.         Is the decision for what's best for a                        10:13:29
4     particular patient a decision that is made with input                   10:13:32
5     from the patient?                                                       10:13:37
6     A.         Correct.                                                     10:13:37
7     Q.         For the 10 patients in your practice who are                 10:13:38
8     currently taking Lumryz, did you or one of your                         10:13:47
9     colleagues have a discussion with those patients about                  10:13:52
10    their options for treatment?                                            10:13:54
11    A.         Correct.                                                     10:13:56
12    Q.         And you said for five of those patients you had              10:13:56
13    seen them yourself so far?                                              10:14:04
14    A.         Correct.                                                     10:14:07
15    Q.         For the five patients you have who are taking                10:14:08
16    Lumryz that you've seen personally, did you have a                      10:14:12
17    conversation with those five patients about their                       10:14:14
18    options?                                                                10:14:18
19    A.         Correct.                                                     10:14:18
20    Q.         For those five patients, is -- was there a                   10:14:19
21    reason that spans all five that they ended up making the                10:14:24
22    decision in collaboration with you to choose Lumryz?                    10:14:30
23    A.         Yes.                                                         10:14:33
24    Q.         And what is that?                                            10:14:34
25    A.         Well, I think about, in my practice, maybe 10                10:14:36


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                       Transcript of Richard K. Bogan, M.D., F.C.C.P.
                               Conducted on October 25, 2023            33

1     percent or 15 percent do not want to take twice-nightly                10:14:42
2     dosing.    So the once-nightly dose is appealing.                      10:14:46
3     Q.        Have you had patients in the past before Lumryz              10:14:51
4     was approved who did not want to take twice-nightly                    10:14:58
5     dosing, and so therefore did not take Xyrem or Xywav?                  10:15:03
6     A.        A few.                                                       10:15:08
7     Q.        Have you had patients who started Xyrem or                   10:15:09
8     Xywav who discontinued treatment because they were                     10:15:15
9     unhappy with the twice-nightly dosing?                                 10:15:19
10    A.        Yes.                                                         10:15:22
11    Q.        For the 10 patients that your practice has that              10:15:22
12    are currently taking Lumryz, are any of those patients                 10:15:25
13    who had previously taken an oxybate?                                   10:15:29
14    A.        Yes.                                                         10:15:34
15    Q.        Do you know what fraction?                                   10:15:35
16    A.        I'm not certain.         It's such a small number.           10:15:41
17    But within the practice, not me personally.                            10:15:47
18    Q.        Within the practice?                                         10:16:04
19    A.        Yeah.     Probably 3 new starts, I suspect.                  10:16:07
20    Q.        3 of the 10?                                                 10:16:11
21    A.        3 to 5, something like that.                                 10:16:12
22    Q.        3 to 5 of the 10 Lumryz patients in your                     10:16:15
23    overall practice are new starts; is that right?                        10:16:23
24    A.        Probably.                                                    10:16:25
25    Q.        And the other 5 to 7 are patients who had                    10:16:26


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                     Transcript of Richard K. Bogan, M.D., F.C.C.P.
                             Conducted on October 25, 2023             34

1     previously tried an oxybate?                                          10:16:30
2     A.        Correct.    Or didn't -- wouldn't take it before,           10:16:32
3     so I guess I should have included those in the new                    10:16:36
4     starts.                                                               10:16:40
5               But yes, we have some patients who have been on             10:16:43
6     the oxybate molecule before and for whatever reason                   10:16:46
7     stopped, and then when we restart, they decided to go                 10:16:49
8     with Lumryz.                                                          10:16:56
9     Q.        Is it fair to say then that your Lumryz                     10:16:56
10    patients fall into three buckets:           Patients who had          10:16:59
11    never taken an oxybate, patients who had previously                   10:17:03
12    taken an oxybate but discontinued, and then patients who              10:17:07
13    had never taken an oxybate but who you had discussed an               10:17:14
14    oxybate with previously and they didn't want to take it?              10:17:23
15    A.        I'm having trouble separating bucket 1 from                 10:17:25
16    bucket 3, because they've both -- they've never taken                 10:17:31
17    it.                                                                   10:17:35
18              But there are some patient who decided not to               10:17:36
19    take twice nightly for whatever reason, and of course,                10:17:39
20    decided to take once-nightly.                                         10:17:44
21              And then there are patients who, when they                  10:17:47
22    considered their options, bucket 1, I'm assuming, new                 10:17:51
23    starts.    There are some when you give them their                    10:17:56
24    choices, they chose the once-nightly.                                 10:17:59
25    Q.        So among your patients with new starts, new                 10:18:01


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                        Transcript of Richard K. Bogan, M.D., F.C.C.P.
                                Conducted on October 25, 2023                   35

1     starts on an oxybate -- strike that.                                           10:18:04
2                Among your patients who are new starts for                          10:18:05
3     Lumryz, some of those are patients who had never                               10:18:10
4     considered an oxybate before but some are patients to                          10:18:13
5     whom you have offered an oxybate before, and they didn't                       10:18:17
6     want to take it because it was twice nightly?                                  10:18:21
7     A.         That's correct.                                                     10:18:24
8     Q.         And then you also had patients on Lumryz who                        10:18:25
9     had previously taken an oxybate and stopped taking an                          10:18:28
10    oxybate?                                                                       10:18:34
11    A.         That's correct.                                                     10:18:34
12    Q.         Are you aware of any reason why your patients                       10:18:35
13    who are taking Lumryz who had previously taken an                              10:18:38
14    oxybate, stopped taking the oxybate, other than dislike                        10:18:41
15    of the twice-nightly dosing?                                                   10:18:46
16    A.         Yes.                                                                10:18:48
17    Q.         What are the reasons?                                               10:18:48
18    A.         It's interesting.         The oxybate molecule, when                10:18:50
19    it works, some patients sort of forget how bad they                            10:18:54
20    were, and they are like, I'm doing okay.                 I missed doses        10:18:58
21    and I'm still doing okay.            So maybe I don't need it, and             10:19:03
22    they stopped their medication, and then a few months                           10:19:08
23    later they're back to where they were, so they started                         10:19:08
24    back.                                                                          10:19:08
25               But sometimes it's social, a new baby in the                        10:19:15


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                     Transcript of Richard K. Bogan, M.D., F.C.C.P.
                             Conducted on October 25, 2023             36

1     house or a single mom, or, you know, there are certain                10:19:20
2     circumstances that preclude taking an oxybate molecule,               10:19:23
3     and then when those things change, they may want to                   10:19:27
4     restart.    There's a lot of chaos in life.                           10:19:33
5     Q.         And you've also had patients stop taking an                10:19:36
6     oxybate specifically because it had to be taken twice a               10:19:40
7     night; is that right?                                                 10:19:44
8     A.         That's what I just said, in terms of the social            10:19:45
9     issues, correct.      It's more that rather than I don't              10:19:49
10    want to take two doses.                                               10:19:52
11    Q.         And you mentioned a minute ago you have                    10:19:53
12    patients who sometimes miss a dose and think things are               10:19:59
13    okay with a missed dose.         Can you elaborate on that?           10:20:02
14    A.         It's very interesting.        The molecule is such         10:20:06
15    that one, it takes a while to get an effect, as you                   10:20:09
16    know.   Based on methods of administration, we titrate                10:20:12
17    the dose until we get a biological effect, and it takes               10:20:18
18    a while for the parents.         In fact, the science says, we        10:20:22
19    can see continued improvement two or three months after               10:20:27
20    we reach a stable dose.                                               10:20:31
21               And what we've see clinically, and this                    10:20:33
22    actually has been reported, that when the patients stop               10:20:37
23    the medication or miss a dose, they continue to do okay               10:20:41
24    for a while, particularly in terms of the cataplexy.                  10:20:43
25               So it may take weeks for the cataplexy to get              10:20:47


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                     Transcript of Richard K. Bogan, M.D., F.C.C.P.
                             Conducted on October 25, 2023             37

1     back to baseline state.        Excessive sleepiness comes back        10:20:47
2     a little quicker, is my opinion, based on clinical                    10:20:52
3     experience; but we have patient who skip doses, run out               10:20:57
4     of the medication, don't get it from the pharmacy,                    10:21:02
5     travel on vacation and forget it, and they continue to                10:21:04
6     do okay.                                                              10:21:08
7     Q.         And you attribute that to the fact that the                10:21:12
8     drug -- strike that.                                                  10:21:15
9                Can you say again what you attribute that to?              10:21:18
10    A.         I don't really know.       Some -- I mean there's a        10:21:22
11    lot of speculation about some plasticity of the brain.                10:21:26
12    The molecule affects neuronal signalling so these                     10:21:31
13    individuals continue to be better despite the absence                 10:21:37
14      of the drug.                                                        10:21:40
15               The drug has a short half life.          It's only         10:21:42
16    there four hours, typically.          And yet it has this             10:21:47
17    extended biological effect that we don't really                       10:21:53
18    understand.        We know a lot about mechanism of action,           10:21:53
19    but we don't understand this -- how you relate the short              10:21:55
20    duration of the drug to the biological effect.                        10:21:57
21    Q.         Can you turn in Exhibit 1 to your deposition,              10:22:01
22    which is your opening report, to page 8?                              10:22:05
23    A.         Okay.     I have page 8.                                   10:22:09
24    Q.         Paragraph 20.     And the first sentence:                  10:22:13
25                           "As set forth herein, each of the              10:22:17


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                        Transcript of Richard K. Bogan, M.D., F.C.C.P.
                                Conducted on October 25, 2023            115

1     A.         Those are my words.                                           13:20:45
2     Q.         Did Dr. Courser in his report ever say that he                13:20:47
3     was offering the opinion that Lumryz will necessarily be                 13:20:55
4     safer and more convenient?                                               13:21:01
5     A.         He -- he said, I don't know if he used the word               13:21:05
6     "necessarily," but he did say it was safer and more                      13:21:10
7     effective.                                                               13:21:13
8     Q.         Your point of disagreement with Dr. Courser is                13:21:16
9     that you don't think that Lumryz necessarily, in all                     13:21:24
10    cases, will be safer and more convenient than the                        13:21:27
11    twice-nightly products?                                                  13:21:32
12    A.         I do not believe that.                                        13:21:33
13    Q.         You have not offered the opinion that Lumryz is               13:21:34
14    never safer or more convenient than a twice-nightly                      13:21:41
15    oxybate?                                                                 13:21:49
16    A.         I never say never.         I have patients -- well --         13:21:49
17    Q.         Please go ahead and finish.                                   13:22:01
18    A.         No, that's fine.         I never say never.                   13:22:03
19               I'm sure there are going to be patients who                   13:22:06
20    prefer once-nightly.                                                     13:22:10
21    Q.         Do you think there will be patients who prefer                13:22:12
22    once-nightly, and if Lumryz is not available, they will                  13:22:16
23    not choose to take a twice-nightly product?                              13:22:19
24    A.         Yes.                                                          13:22:21
25    Q.         You, in fact, have some patients like that?                   13:22:21


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                      Transcript of Richard K. Bogan, M.D., F.C.C.P.
                              Conducted on October 25, 2023               116

1     A.       Yes.                                                             13:22:24
2     Q.       And so for a patient like that, if Lumryz is                     13:22:24
3     not available, the patient won't be able to take an                       13:22:27
4     oxybate for their narcolepsy?                                             13:22:33
5     A.       They have it available, and they can take it,                    13:22:34
6     and some do take it.         Some change their mind, but there            13:22:37
7     are some patients who say they are not going to take two                  13:22:41
8     doses.   There are not many, but there are a few.                         13:22:44
9     Q.       Do you think oxybate therapies are the best                      13:22:47
10    treatment available for narcolepsy patients?                              13:22:52
11    A.       Yes.     As a rule -- I mean.         Not for everybody,         13:22:55
12    but in general.                                                           13:23:02
13    Q.       Do you want Lumryz to be available to patients?                  13:23:02
14    A.       Let me put it this way:           I think oxybate is a           13:23:11
15    very effective molecule.          It's one of the most effective          13:23:22
16    that we've seen in the treatment for narcolepsy                           13:23:26
17    patients, and yes, I would like a one-night --                            13:23:30
18    once-nightly oxybate therapy as an option.                                13:23:32
19    Q.       Would you support an effort to prevent Avadel                    13:23:39
20    from selling Lumryz, such that patients could not                         13:23:52
21    receive it?                                                               13:23:57
22    A.       Can I answer it this way:           In that I am a               13:23:57
23    prescriber, and I will prescribe it, so that's not                        13:24:06
24    preventing Avadel from marketing the drug.                                13:24:10
25    Q.       Are you aware that Jazz is asking in this                        13:24:13


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                       Transcript of Richard K. Bogan, M.D., F.C.C.P.
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1     litigation that if it wins, it wants to ask the Court to                         13:24:20
2     take Lumryz off the market until the 2030s?                                      13:24:27
3     A.        Not aware of the specifics.            I'm not aware of                13:24:31
4     the implications of this, actually.                                              13:24:37
5     Q.        So you were not aware that Jazz has asked in                           13:24:39
6     its lawsuit for injunctive relief that would stop all                            13:24:43
7     Lumryz sales to anyone until the 2030s?                                          13:24:51
8     A.        No.                                                                    13:24:54
9     Q.        As a physician, do you support that request by                         13:24:55
10    Jazz?                                                                            13:25:14
11    A.        That's sort of out of the scope of what I was                          13:25:14
12    asked to do when I was asked to look at the patent and                           13:25:20
13    the method of administration and then the reference to                           13:25:24
14    the PI.     So that's what I was asked to do, and render an                      13:25:28
15    opinion on.                                                                      13:25:35
16              As a clinician, I would like to have                                   13:25:36
17    once-nightly oxybate available.                                                  13:25:40
18    Q.        Can you turn in your report to -- actually stay                        13:25:41
19    on page 1, paragraph 3.                                                          13:26:04
20    A.        Okay.                                                                  13:26:09
21    Q.        The second sentence begins "and while."                 Do you         13:26:09
22    see that?                                                                        13:26:21
23    A.        Yes.                                                                   13:26:21
24    Q.        In your report you state:                                              13:26:22
25                           "And while there may be a perceived                       13:26:23


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                    Transcript of Richard K. Bogan, M.D., F.C.C.P.
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1              benefit in Lumryz, based on convenience, there                    13:26:26
2              is no clear evidence in clinical or research                      13:26:29
3              use of an advantage or enhanced efficacy in                       13:26:31
4              Lumryz over Jazz's twice-nightly oxybate                          13:26:35
5              products."                                                        13:26:38
6              Do you see that?                                                  13:26:39
7     A.       I see that.                                                       13:26:39
8     Q.       Now, you're not opining that there never could                    13:26:40
9     be evidence in the future that Lumryz has an advantage                     13:26:43
10    over Jazz's twice-nightly oxybate products; is that                        13:26:50
11    right?                                                                     13:26:56
12    A.       That's correct.      I'm not testifying there's                   13:26:56
13    going to be more disadvantage either.            It's talking              13:26:59
14    about the current state of the art.                                        13:27:05
15             (Reporter Clarification.)                                         13:27:09
16                        THE WITNESS:      Art.                                 13:27:10
17    Q.       Can you turn in your report to page 3 and 4.                      13:27:10
18             This is a section starting on 3.            It says, "A           13:27:34
19    response to Dr. Courser's overview of narcolepsy."              Do         13:27:38
20    you see that?                                                              13:27:42
21    A.       I do.                                                             13:27:42
22    Q.       And then I want to ask you about paragraph 11                     13:27:43
23    on page 4.                                                                 13:27:48
24             Paragraph 11, you reference an article by                         13:27:52
25    R.H. Ben-Joseph.      Do you see that?                                     13:27:59


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1       C E R T I F I C A T E
2     STATE OF NEW YORK          )
3                                       ) ss.:
4     COUNTY OF QUEENS )
5
6                         I, BROOKE E. PERRY, a Notary Public
7              within and for the State of New York, do hereby
8              certify:
9                         That RICHARD K. BOGAN, M.D. FCCP, the
10             witness whose deposition is hereinbefore set
11             forth, was duly sworn by me and that such
12             deposition is a true record of the testimony
13             given by such witness.
14                        I further certify that I am not related
15             to any of the parties to this action by blood
16             or marriage; and that I am in no way interested
17             in the outcome of this matter.
18                        IN WITNESS WHEREOF, I have hereunto set
19             my hand this 25th day of October, 2023.
20
21
22             _______________________________________________
23             BROOKE E. PERRY
24
25


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                                                      Defendant-Appellee2


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    BRIEF OF THE PUBLIC INTEREST PATENT LAW INSTITUTE,
  PROFESSOR ROBIN FELDMAN, NARCOLEPSY PATIENTS, AND THE
      NISKANEN CENTER AS AMICI CURIAE IN SUPPORT OF
                   DEFENDANT-APPELLEE


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                                             Counsel for Amici Curiae



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                              CERTIFICATE OF INTEREST

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  Interest Patent Law Institute, Professor Robin Feldman, Eliana Bookbinder,

  Brian Mahn, and the Niskanen Center2

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  Appellee’s brief2

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                                  Hezmh Fssofmrhiv
                                  Counsel for Amici Curiae




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             zipstqirx erh Yxmpm~exmsr sj Qihmgmriw 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 55
        F2   Oiitmrk xli ×=:7 Texirx mr xli Sverki Fsso Yrhivqmriw xli Fep1
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  MMM2 Ne~~×w Yrywyep Texirx Livi Yrhivqmriw Mrrszexmsr Vexliv Xler Eh1
       zergmrk Mx 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 5;
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             Vipexih Tvshygxw 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 66
  GSRGPYWMSR 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 68
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  Jihivep Jssh0 Hvyk0 erh Gswqixmg Egx ,JJHGE- § 949,f-,5-,E-,zmmm-0
     65 Y2W2G2 § 799 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 560 59
         ÓÓÓ § 949,g-,5- 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 68
         ÓÓÓ § 949,g-,7-,G- 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 68
         ÓÓÓ § 949,g-,7-,H-,mm-,M- 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 5:
  Qihmgevi Tviwgvmtxmsr Hvyk0 Mqtvsziqirx0 erh Qshivrm~exmsr Egx sj
    64470 Tyf2 P2 Rs2 54<15;70 55; Wxex2 64:: 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 570 5:
  Sverki Fsso Xverwtevirg} Egx sj 64640 Tyf2 P2 Rs2 55:16=40 578 Wxex2
     8<<= 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 57

  Other Sources
  Effvizmexih Ri{ Hvyk Ettpmgexmsr Vikypexmsrw0 9= Jih2 Vik2 9477< ,Jssh
     * Hvyk Ehqmr2 Sgx2 70 5==8- 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 5:
  Erw{iv xs Gsqtpemrx jsv Texirx Mrjvmrkiqirx0 Hijirwiw erh Gsyrxivgpemqw0
     Jazz Pharm., Inc. v. Avadel CNS Pharm., LLC0 Rs2 5>651gz1:=5 ,H2
     Hip2 Rsz2 5<0 Nyri 70 6465- ,Hsg2 Rs2 55- 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 55
  Ettpmgexmsrw jsv JHE Ettvszep xs Qevoix e Ri{ Hvyk0 :< Jih2 Vik2 7::;9
     ,Jssh * Hvyk Ehqmr2 Nyri 5<0 6447- 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 59
  Vsfivx L2 Fsvo0 The Antitrust Paradox ,5=;<- 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 5<
  Wywer E2 Gvimklxsr ix ep20 Cheap Exclusion0 ;6 Erxmxvywx P2N2 =;9 ,6449- 2 2 2 5<
  Ekexe Hefvs{woe0 Gsrk2 Viwievgl Wivz20 Report No. R448100 FDA Risk
     Evaluation and Mitigation Strategies (REMS): Description and Effect
     on Generic Drug Development ,Qev2 5:0 645<- 2 2 2 2 2 2 2 2 2 2 2 2 2 2 66
  Wxegi} P2 Hsker * Qevo E2 Piqpi}0 Antitrust Law and Regulatory
     Gaming0 <; Xi|2 P2 Viz2 :<9 ,644<Ò644=- 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 5;Ò5<
  Hvyk Irj×x Ehqmr20 Y2W2 Hit×x sj Nywxmgi0 Drug Fact Sheet ,Etv2 6464-0
     lxxtw>33{{{2hie2ksz3wmxiw3hijeypx3jmpiw3646414:3KLF16464c42thj 2 2 2 2 8
  Glevpiw Hyer0 Mandatory Infringement0 ;9 Jpe2 P2 Viz2 ,jsvxlgsqmrk 6467-0
     lxxtw>33tetivw2wwvr2gsq3wsp73tetivw2gjqCefwxvegxcmhA85=7=8; 2 2 2 2 5;0 5=


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  Jihivep Xvehi Gsqqmwwmsr×w Fvmij ew Amicus Curiae0 Jazz Pharm., Inc. v.
     Avadel CNS Pharm., LLC0 Rs2 5>651gz1:=5 ,H2 Hip2 Rsz2 5<0 Rsz2 590
     6466- ,Hsg2 Rs2 66;- 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 65
  Jssh * Hvyk Ehqmr20 Approved Drug Products with Therapeutic
     Equivalence Evaluations (the Orange Book) ,86h ih2 6466-0 lxxtw>33
     {{{2jhe2ksz3qihme3;58;83hs{rpseh 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 58
  Qmgleip E2 Ksppmr0 Using Intellectual Property to Improve Environmental
     Protection0 8 Levz2 N2P2 * Xigl2 5=7 ,5==5- 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 5<
  Xlsqew N2 Lspqiw ix ep20 Monopoly and the Incentive to Innovate
     When Adoption Involves Switchover Disruptions0 8 Eq2 Igsr2 N2>
     Qmgvsigsrsqmgw 5 ,6456- 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 5=
  Sjjmgi sj Gsqqg×rw * Tyf2 Pmemwsr0 Rex×p Mrwxw2 sj Liepxl0 Narcolepsy
     Fact Sheet ,pewx vizmi{ih Witx2 6;0 6466-0 lxxtw>33{{{2rmrhw2rml2ksz3
     revgspitw}1jegx1wliix 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 9Ò:
  Overdose? Profuse Sweating on Xyrem0 Vihhmx v3Revgspitw} ,Nyp} 690
     6465-0 lxxtw>33{{{2vihhmx2gsq3v3Revgspitw}3gsqqirxw3sv;7tt3
     szivhswictvsjywicw{iexmrkcsrc|}viq3 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 ;
  Risk Evaluation and Mitigation Strategies (REMS)0 Y2W2 Jssh * Hvyk
     Ehqmr2 ,pewx ythexih Hig2 5;0 6465-0 lxxtw>33{{{2jhe2ksz3hvykw3hvyk1
     wejix}1erh1ezempefmpmx}3vmwo1izepyexmsr1erh1qmxmkexmsr1wxvexikmiw1viqw 2 2 7
  Eqiix Wevtex{evm ix ep20 Using a Drug-Safety Tool to Prevent Competition0
    7;4 Ri{ Irk2 N2 Qih2 58;: ,6458- 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 2 65
  [irh} L2 Wgleglx * Nslr V2 Xlsqew0 The Hatch-Waxman Act: A Quarter
    Century Later ,Gsrk2 Viwievgl Wivz20 Vitsvx Rs2 V855580 Qev2 570
    6456-0 lxxtw>33{{{2iziv}gvwvitsvx2gsq3vitsvxw3V855582lxqp 2 2 2 2 2 2 2 58
  Y2W2 Hit×x sj Nywxmgi * Jih2 Xvehi Gsqq×r0 Antitrust Guidelines for the
     Licensing of Intellectual Property ,5==9-0 lxxtw>33{{{2nywxmgi2ksz3
     wmxiw3hijeypx3jmpiw3exv3pikeg}3644:34836;3499<2thj 2 2 2 2 2 2 2 2 2 2 2 2 2 5=




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                         INTEREST OF AMICI CURIAE5

      Xli Tyfpmg Mrxiviwx Texirx Pe{ Mrwxmxyxi ,ÔTMTPMÕ- mw e rsrtvsjmx svkerm~exmsr

  hihmgexih xs irwyvmrk xli texirx w}wxiq tvsqsxiw mrrszexmsr erh eggiww jsv xli

  tyfpmg×w firijmx2 TMTPM gsrhygxw viwievgl sr texirx tspmg} mwwyiw0 vitviwirxw xli

  tyfpmg×w mrxiviwx mr gsyvxw erh ekirgmiw higmhmrk mwwyiw sj texirx pe{0 erh ehzsgexiw

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      Tvsjiwwsv Vsfmr Jiphqer mw xli Evxlyv N2 Ksphfivk Hmwxmrkymwlih Tvsjiwwsv sj

  Pe{0 Epfivx Efveqwsr ×98 Hmwxmrkymwlih Tvsjiwwsv sj Pe{ Glemv0 erh Hmvigxsv sj

  xli Girxiv jsv Mrrszexmsr ex YG Gsppiki sj xli Pe{0 Wer Jvergmwgs26

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  \}viq sv \}{ez27 Xli} lezi firijmxih jvsq xli i|mwxirgi sj xliwi hvykw erh

  evi lett} xlex e xviexqirx jsv xlimv gsrhmxmsr mw ezempefpi2 Ls{iziv0 xli} evi tiv1

  wsrepp} jeqmpmev {mxl xli pskmwxmgep hmjjmgypxmiw ewwsgmexih {mxl xeomrk \}viq erh

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        Tyvwyerx xs Jihivep Vypi sj Ettippexi Tvsgihyvi 6=,e-0 epp tevxmiw vigimzih
  ettvstvmexi rsxmgi sj erh gsrwirxih xs xli jmpmrk sj xlmw fvmij2 Tyvwyerx xs Vypi
  6=,g-,9-0 rs gsyrwip jsv e tevx} eyxlsvih xlmw fvmij mr {lspi sv mr tevx0 erh rs
  gsyrwip sv tevx} qehi e qsrixev} gsrxvmfyxmsr mrxirhih xs jyrh xli tvitevexmsr sv
  wyfqmwwmsr sj xli fvmij2 Rs tivwsr sv irxmx}0 sxliv xler amici0 xlimv qiqfivw0 sv
  xlimv gsyrwip0 qehi e qsrixev} gsrxvmfyxmsr xs xli tvitevexmsr sv wyfqmwwmsr sj
  xlmw fvmij2
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        Ejjmpmexmsrw evi mrgpyhih jsv mhirxmjmgexmsr tyvtswiw srp}2
      7
        Ne~~ vigirxp} mrxvshygih \}{ez0 e ps{1wshmyq jsvqypexmsr sj \}viq? xlmw
  fvmij vijivw xs xliq gsppigxmzip} ew \}viq2

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      Xli Rmwoerir Girxiv mw e rsrtvsjmx0 rsrtevxmwer 945,g-,7- tyfpmg tspmg} xlmro

   xero erh ehzsgeg} svkerm~exmsr {svomrk xs tvsxigx tvmzexi tvstivx} vmklxw0 igs1

   rsqmg pmfivx}0 {ipp1jyrgxmsrmrk qevoixw0 erh xs vspp fego vikviwwmzi vikypexmsrw

   {lmgl viwxvmgx jviihsq sj i|glerki erh mrgviewi mriuyepmx}2 Xli Rmwoerir Girxiv

   fipmiziw xlex xli texirx w}wxiq wlsyph fi e jsvgi jsv tvskviww erh wlsyph rsx fi

   ywih mr e qerriv xlex tvizirxw jvii irxv} erh mrrszexmsr erh xlex Y2W2 jssh erh

   hvyk vikypexmsrw evi rsx ywih ew e xssp xs fpsgo gsqtixmxmsr0 mrrszexmsr0 texmirx

   glsmgi0 erh fixxiv liepxl syxgsqiw jsv xlswi hiepmrk {mxl revgspitw}2




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                            SUMMARY OF ARGUMENT

      Hipmwxmrk sj Y2W2 Texirx Rs2 <0;750=:7 ,Ôxli ×=:7 texirxÕ- jvsq xli Sverki

   Fsso0 ew xli hmwxvmgx gsyvx svhivih0 mw mr xli mrxiviwx sj xli fepergi fympx mrxs xli

   texirx w}wxiq0 xli mrxirx sj xli LexglÒ[e|qer Egx0 erh texmirxw {ls wyjjiv jvsq

   revgspitw}2 Ettipperx Ne~~ Tlevqegiyxmgepw qeoiw e ywijyp tvshygx0 \}viq0 xlex

   liptw tistpi {mxl revgspitw} erh sxliv wivmsyw wpiit hmwsvhivw2 Ettippii Ezehip

   Tlevqegiyxmgepw hizipstih e hmjjivirx hvyk0 Pyqv}~0 xlex mqtvsziw sr \}viq f}

   ehhviwwmrk wsqi sj xli hve{fegow ewwsgmexih {mxl xeomrk \}viq2

      \}viq qywx fi xeoir x{mgi e rmklx> er mrmxmep hswi ex fihxmqi0 erh xlir e wigsrh

   x{s xs jsyv lsyvw pexiv2 Mvsrmgepp}0 \}viq viuymviw texmirxw {mxl wpiit hmwsvhivw xs

   {eoi mr xli qmhhpi sj xli rmklx0 {lmpi wxmpp yrhiv xli mrjpyirgi sj xli jmvwx hswi2

   Srgi1rmklxp} Pyqv}~ ipmqmrexiw texmirxw× riih xs vsywi xliqwipziw jvsq e hvyk1

   mrhygih wpiit mr svhiv xs xeoi e wigsrh hswi2 Xlmw fvmij mrgpyhiw xli jmvwx1lerh

   i|tivmirgiw sj \}viq texmirxw0 wls{mrk xli tviwwmrk erh mqqihmexi riih jsv xlmw

   mqtvszih xviexqirx xs fi ezempefpi sr xli qevoix2

      Xli ×=:7 texirx xlex Ne~~ ewwivxw xs fpsgo mrxvshygxmsr sj Pyqv}~ mw hmvigxih

   rsx xs xli hvyk mxwipj0 fyx xs e gsqtyxiv w}wxiq jsv weji hmwtirwexmsr sj e hvyk28 Xli

   Jssh erh Hvyk Ehqmrmwxvexmsr ,ÔJHEÕ- qerhexih ywi sj wygl e weji hmwtirwexmsr


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        See generally Risk Evaluation and Mitigation Strategies (REMS)0 Y2W2 Jssh
   * Hvyk Ehqmr2 ,pewx ythexih Hig2 5;0 6465-0 available online2 Psgexmsrw sj ey1
   xlsvmxmiw ezempefpi srpmri evi wls{r mr xli Xefpi sj Eyxlsvmxmiw2

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   w}wxiq yrhiv mxw Vmwo Izepyexmsr erh Qmxmkexmsr Wxvexikmiw ,ÔVIQWÕ- eyxlsvmx}0

   figeywi xli egxmzi mrkvihmirx mr fsxl \}viq erh Pyqv}~ mw wshmyq s|}fexi0 e

   gsrxvsppih wyfwxergi29 Wygl texirx ewwivxmsrw i|tpsmxmrk xli vikypexsv} w}wxiq evi

   yrmuyip} tvsfpiqexmg0 ew xli} ytirh xvehmxmsrep i|tigxexmsrw sj ls{ texirxw {svo0

   kmzi vmwi xs wxvsrk qevoix ts{iv0 erh yrhivqmri xli ziv} mrrszexmsr mrgirxmziw

   xlex texirxw evi wyttswih xs gviexi2

      Ne~~ qemrxemrw xlex xli ×=:7 texirx irxmxpiw xli gsqter} xs e wxe} sr xli et1

   tvszep sj Pyqv}~ yrhiv xli Hvyk Tvmgi Gsqtixmxmsr erh Texirx Xivq Viwxsvexmsr

   Egx ,ÔLexglÒ[e|qerÕ- ew eqirhih2 Erh }ix xlex wxexyxi0 tvmqevmp} hiwmkrih xs

   jegmpmxexi xli qevoixmrk sj kirivmg tlevqegiyxmgepw vexliv xler xs mqtihi rszip erh

   mqtvszih tvshygxw0 mw mqtvstivp} ywih livi2 Xs eglmizi xli x{mr ksepw sj texirx

   tvsxigxmsr erh gsqtixmxmsr0 xli wxexyxi tvszmhiw {lex mw ijjigxmzip} e 741qsrxl

   tvipmqmrev} mrnyrgxmsr jsv e pmqmxih gpeww sj texirxw sr egxmzi mrkvihmirxw0 hvyk

   jsvqypexmsrw0 erh qixlshw sj ywiÓrsri sj {lmgl glevegxivm~iw xli ×=:7 texirx2

   Epps{mrk texirx lsphivw pmoi Ne~~Ó{ls lezi rsx gviexih xli omrhw sj mrzirxmsrw

   LexglÒ[e|qer {ew hiwmkrih xs irgsyvekiÓxs ywi xlmw viqih} yrhivqmriw xli

   tyvtswiw sj fsxl LexglÒ[e|qer erh xli texirx w}wxiq szivepp2




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       Xli Hvyk Irjsvgiqirx Ehqmrmwxvexmsr pmwxw wshmyq s|}fexi ew e Wglihypi M
   gsrxvsppih wyfwxergi0 erh \}viq ew e Wglihypi MMM wyfwxergi2 Hvyk Irj×x Ehqmr20
   Y2W2 Hit×x sj Nywxmgi0 Drug Fact Sheet ,Etv2 6464-0 available online2

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                                      ARGUMENT

   I. Jazz Harms Patients by Blocking a Useful Improvement to Their Treat-
      ment

        F} ywmrk xli ×=:7 texirx xs tvizirx Pyqv}~×w mrxvshygxmsr0 Ne~~ levqw xlswi

   mx lew mr xli tewx liptih> xli 5790444 xs 6440444 Eqivmgerw wyjjivmrk jvsq rev1

   gspitw} erh sxliv wivmsyw wpiit hmwsvhivw2: \}viq×w x{mgi1rmklxp} vikmqir qierw

   ywivw xeoi e wpiit1mrhygmrk hvyk xlex viuymviw xliq xs {eoi yt mr xli qmhhpi sj

   xli rmklx mr svhiv xs xeoi e wigsrh hswi hiwmkrih xs kmzi xliq e jypp rmklx×w wpiit2

   \}viq ywivw evi kvexijyp jsv er sjxir ijjigxmzi revgspitw} xviexqirx0 fyx \}viq×w

   61hswi vikmqir geywiw wivmsyw hmwvytxmsrw mr xlimv pmziw xlex Pyqv}~ {mpp lstijypp}

   ipmqmrexi2

        Xs ewwiww xli viep1{svph ijjigxw jsv texmirxw0 amici wtsoi {mxl wizivep sj xliq

   efsyx xlimv i|tivmirgiw {mxl \}viq0 erh epws viwievglih i|mwxmrk srpmri gsqqir1

   xev} f} revgspitw} texmirxw2;


   A.       Xyrem’s Double-Dose Schedule Creates Significant Problems for Pa-
            tients

        Xeomrk \}viq×w wigsrh hswi evsyrh jsyv lsyvw ejxiv xeomrk xli jmvwx sri qierw

   lezmrk xs {eoi yt {lmpi wxmpp yrhiv xli mrjpyirgi sj xli jmvwx hswi2 Xli qswx sfzmsyw
        :
         Sjjmgi sj Gsqqg×rw * Tyf2 Pmemwsr0 Rex×p Mrwxw2 sj Liepxl0 Narcolepsy Fact
   Sheet ,pewx vizmi{ih Witx2 6;0 6466- _livimrejxiv Revgspitw} Jegx Wliixa0 available
   online2
       ;
         Xs qemrxemr xli tvmzeg} sj xlimv wtigmjmg qihmgep gsrhmxmsrw0 texmirxw evi hmw1
   gywwih srp} ersr}qsywp} sv mr xli ekkvikexi fips{2

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   tvsfpiq mw xlex lezmrk fiir orsgoih syx f} xli jmvwx hswi0 texmirxw evi sjxir yrefpi

   xs {eoi jsv xlimv epevqw? texmirxw vitsvxih wixxmrk qypxmtpi fpevmrk epevqw0 sjxir

   yrwyggiwwjypp}0 erh vip}mrk sr wtsywiw erh jeqmp} qiqfivw xs {eoi xliq yt2 Sri

   texmirx vitsvxih xlex izir ejxiv x{s }ievw sj ywmrk \}viq0 xli} qmww xlimv wigsrh

   hswi efsyx srgi e {iio2

      Mj e texmirx hsiw rsx {eoi yt jsv xli wigsrh hswi0 xli} qe} xlir {eoi yt ejxiv

   efsyx jmzi sv wm| lsyvw sj wpiit2 Xlmw gviexiw e hmpiqqe jsv texmirxw2 Xli texmirx ger

   womt xlimv wigsrh hswi erh wyjjiv xli w}qtxsqw sj revgspitw} viwypxmrk jvsq pego

   sj wpiit2 Qmwwmrk xli wigsrh hswi qierw0 mr xli {svhw sj sri texmirx Ô{eo_mrka

   yt xmvih0 egli}0 _erh mr ea feh qssh2Õ Qmwwmrk xli wigsrh hswi ger epws pieh xs

   vetmh1srwix hvs{wmriww erh gexetpi|} exxegowÓxli wyhhir srwix sj Ô{ieoriww erh

   e psww sj zspyrxev} qywgpi gsrxvspÕ2<

      Epxivrexmzip}0 texmirxw {ls lezi rsx {soir yt sr wglihypi ger xeoi xlimv wig1

   srh hswi pexi0 jsvgmrk xliq xs szivwpiit2 [lixliv sv rsx xli texmirx wyggiwwjypp}

   {eoiw yt erh xmqiw xlimv hsweki gsvvigxp}0 e wigsrh tvsfpiq iqivkiw> texmirxw evi

   sjxir kvskk} erh hmwsvmirxihÓmr rs gsrhmxmsr xs qiewyvi syx e tvigmwi zspyqi

   sj xli pmuymh \}viq jsvqypexmsrÓqiermrk xlex xli wigsrh1hswi vsyxmri qywx fi

   gevijypp} svgliwxvexih mr ehzergi2 Sri texmirx qiewyvih syx xli wigsrh hswi fi1

   jsvi fih fyx jievih xlex xli jeqmp} tixw qmklx orsgo sziv xli gsrxemriv? ersxliv


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          Revgspitw} Jegx Wliix0 supra rsxi :2

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   vitsvxih vigimzmrk e gsrgywwmsr jvsq jeppmrk sziv mr xli tvsgiww sj xeomrk xli wig1

   srh hswi2 Ersxliv texmirx vitsvxih jeppmrk ewpiit mr xli fexlvssq {lir ksmrk xs

   xeoi xli wigsrh hswi2

      Izir {svwi mw {lir e texmirx {eoiw yt ievp}0 ew ger lettir {lir xli jmvwx hswi

   mw rsx xmxvexih tvigmwip} sv xli texmirx×w he}xmqi egxmzmxmiw geywi e glerki mr wpiit

   texxivrw2 Mhiepp}0 xli texmirx viepm~iw xli ivvsv erh mw wyfnigxih xs wxe}mrk e{eoi jsv

   lsyvw yrxmp mx mw xli vmklx xmqi xs xeoi xli wigsrh hswi2 Fyx fimrk lepj1ewpiit mr xli

   qmhhpi sj xli rmklx0 wsqi texmirxw vitsvxih rsx viepm~mrk {lex xmqi mx {ew erh xeo1

   mrk xli wigsrh hswi ievp}0 ijjigxmzip} szivhswmrk sr \}viq2 Sri texmirx vigeppih

   viepm~mrk xli} leh xeoir xli wigsrh hswi ievp}0 erh termgoihp} xvmih xs qsrmxsv jsv

   szivhswi w}qtxsqw f} wxe}mrk e{eoi {lmpi sr xli hsyfpi1hswi sj wpiit qihmge1

   xmsr2 Ehhmrk xs xli gsqtpi|mx} sj qmwxmqmrk xli wigsrh ehqmrmwxvexmsr sj \}viq

   mw xli jegx xlex xliwi higmwmsrw evi qehi yrhiv xli mrjpyirgi sj xli jmvwx hswi sj

   \}viq mr xli {ii lsyvw sj xli qsvrmrk2=


   B. The Drug’s Complexity Has Caused Personal and Professional Losses

      Wxvygxyvmrk sri×w pmji evsyrh e x{mgi1rmklxp} hvyk erh jievmrk hsweki ivvsvw0

   yrwyvtvmwmrkp}0 i|egxw e xspp2 Sri texmirx gsqtevih xli pmjiwx}pi glerkiw viuymvih

   xs xeoi \}viq xs xlswi ewwsgmexih {mxl fimrk hmefixmg2 Xli texmirxw amici wtsoi


      =
        See also Overdose? Profuse Sweating on Xyrem0 Vihhmx v3Revgspitw} ,Nyp}
   690 6465-0 available online2

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   xs hmwgywwih ls{ \}viq×w gsqtpmgexih hswmrk vikmqir leh gswx xliq tivwsrepp}

   erh tvsjiwwmsrepp}2

      Jeqmpmiw sj texmirxw fiev er mqqirwi fyvhir2 Sri texmirx vipmih sr xlimv tev1

   irxw xs {eoi xliq yt jsv xlimv wigsrh hswi ,epevqw hmh rsx {svo jsv xliq-? xli

   texmirx wemh xli} {ivi mqqirwip} xlerojyp xs lezi jeqmp} evsyrh xs lipt fyx jipx

   feh jsv qeomrk xliq {eoi yt iziv} rmklx2 Qevvmekiw lezi irhih mr hmzsvgi erh

   wxyhirxw gsyph rsx jmrh vssqqexiw0 {i {ivi xsph0 figeywi sj xli hmwvytxmzi rmklxp}

   wigsrh1hswi vsyxmri2 Sri texmirx {srhivih ls{ e \}viq texmirx gsyph iziv lezi

   glmphvir0 ew xli hvyk×w wxvmgx wglihypi vikmqir {syph wiiq mrgsqtexmfpi {mxl xli

   yrtvihmgxefpi qmhrmklx riihw sj mrjerxw erh xshhpivw2

      Texmirxw× geviivw erh ihygexmsr epws sjxir wyjjivih2 \}viq texmirxw jegi qsvi

   xler xli kirivep mrgsrzirmirgiw ewwsgmexih {mxl szivwpiitmrk> mj xli} evi wxmpp i|1

   tivmirgmrk xli ijjigxw sj \}viq {lir xli} {eoi yt mx mw yrweji xs hvmzi e gev xs kix

   xs {svo sv wglssp2 Hipe}ih wigsrh hswiw qehi texmirxw pexi jsv wglssp sv {svo2

   Sri texmirx {i xepoih xs {ew e gsppiki wxyhirx ex xli xmqi xli} wxevxih xeomrk \}viq

   erh vitsvxih rsx fimrk efpi xs irvspp mr qsvrmrk gsyvwiw figeywi xli} qmklx qmww

   gpeww hyi xs e hipe}ih wigsrh hswi2 Sri texmirx pswx xlimv nsf0 ersxliv gsrxiqtpexih

   hvsttmrk syx sj wglssp0 erh xlmvh gsyph fevip} jmrh xmqi xs hs lsqi{svo2




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   C.    Patients Often Feel Unheard

        Xli sttsvxyrmx} xs xeoi e srgi1rmklxp} jsvqypexmsr i|gmxih xli texmirxw amici

   wtsoi xs0 kmzir xlimv psrkwxerhmrk hmjjmgypxmiw {mxl xli x{mgi1rmklxp} \}viq jsv1

   qypexmsr2 Xliwi texmirxw erxmgmtexih xlex Ezehip×w srgi1rmklxp} jsvqypexmsr {syph

   xviqirhsywp} mqtvszi xlimv uyepmx} sj pmji fi}srh xli firijmxw xli} epvieh} vigimzi

   jvsq lezmrk e hvyk0 \}viq0 xs xviex xlimv revgspitw}2 Sri texmirx qirxmsrih xli

   wmqtpi ns} sj lezmrk qsvrmrkw {livi xli} ger lezi fvieojewx ejxiv e tvihmgxefpi

   rmklx sj wpiit2 Sxlivw erxmgmtexih vipmizmrk fyvhirw sr xlimv jeqmpmiw0 fimrk efpi

   xs {svo0 xvezipmrk jviip}0 erh xlmromrk sj glmphvir erh tixw ew gsqtermsrw vexliv

   xler ew vmwow xs xli qihmgexmsr vikmqir2

        Kmzir xliwi xviqirhsyw firijmxw jsv texmirxw0 sri {syph xlmro xlex Ne~~ {syph

   lezi leh wxvsrk mrgirxmziw xs hizipst mxw tvshygxw xs wexmwj} hiqerh2 Erh }ix

   qer} sj xli texmirxw mrxmqexih ,sv wemh syxvmklx- xlex Ne~~ mrwyjjmgmirxp} tvmsvmxm~ih

   texmirx {ipjevi2 Sri gsqtpemrih xlex Ne~~×w hmwxvmfyxmsr viwxvmgxmsrw leh figsqi

   qsvi fyvhirwsqi sziv xmqi0 qeomrk mx mrgviewmrkp} hmjjmgypx jsv xliq xs vigimzi

   xviexqirx2 Wyvtvmwmrkp}0 sri texmirx0 exxirhmrk e rexmsrep revgspitw} gsrjivirgi0

   jsyrh rs Ne~~ vitviwirxexmziw hipikexih xs qiix {mxl texmirxw xlivi2

        Texmirxw epws vitsvxih hmjjmgypxmiw {mxl ersxliv ewtigx sj \}viq> xli gsqtpi|

   hipmziv} erh hmwxvmfyxmsr tvsgiww viuymvih yrhiv xli VIQW tvskveq2 Texmirxw

   leh xs wxe} lsqi jvsq {svo xs wmkr jsv wlmtqirxw sj xlimv qihmgexmsrw0 erh leh



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   hmjjmgypx} jmrhmrk tvszmhivw erh tlevqegmiw eyxlsvm~ih xs tviwgvmfi erh hmwtirwi

   \}viq2 Ne~~ hmwxvmfyxiw \}viq ywmrk JihI|0 erh viuymviw vigimtx f} wsqisri sziv

   xli eki sj 652 Xlmw mw mrgsrzirmirx jsv xlswi {ls imxliv pmzi epsri0 {mxl wsqisri

   {ls mw syx hyvmrk xli he}0 sv {ls lezi xvsyfpi vigimzmrk wygl wirwmxmzi tegoekiw

   zme xlimv etevxqirx0 {svotpegi0 sv hsvqmxsv} qemp vssq2 Sri sj xli texmirxw jsyrh

   e {svoevsyrh xs xlmw w}wxiq f} ewomrk JihI| xs lsph xli tegoeki ex xlimv jegmpmx}2

   Xlmw {e}0 xli} gsyph tmgo yt \}viq mr xli weqi {e} xli} {syph ks xs e tlevqeg}

   xs tmgo yt e hvyk2 Fyx Ne~~ hsiw rsx sjjiv xlex stxmsr xs texmirxw> mrwxieh0 xli} qywx

   ywi JihI|×w w}wxiq xs ewo jsv xli tegoeki xs fi liph2

      Xli texmirxw {i xepoih xs {ivi gpiev xlex xli} hmh rsx xlmro \}viq {ew e feh

   tvshygx> qer} sj xliq ywih mx wyggiwwjypp} sv ori{ sj sxlivw {ls hmh ws2 Sri

   kezi mx e vmrkmrk irhsvwiqirx {lir xli} hiwgvmfih mx ew Ôeqe~mrkp} ijjigxmziÕ mr

   xli xviexqirx sj revgspitw}2 [lex {ew ypxmqexip} sj gsrgivr xs xliq {ew texmirx

   glsmgi2 Revgspitw} ejjigxih iegl sj xliq hmjjivirxp}0 erh xli pmjiwx}pi glsmgiw mq1

   tswih f} \}viq {svoih jsv wsqi texmirxw erh rsx sxlivw0 {i {ivi xsph2 Lezmrk

   ri{ erh hmjjivirx wshmyq s|}fexi tvshygxw sr xli qevoix0 iwtigmepp} sriw xlex eh1

   hviwwih texmirx hmjjmgypxmiw wygl ew x{mgi1rmklxp} hswmrk0 {ew xli ypxmqexi syxgsqi

   xlex texmirxw lstih {syph fi eglmizih2

      Texmirxw hiwmvi er epxivrexmzi xs \}viq xlex ger epws xviex xlimv revgspitw} {mxl1

   syx xli wmhi ijjigxw sj xlimv gyvvirx qihmgexmsr2 Xli tvegxmgep firijmxw sj mqtvszih



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   glsmgi mr erh eggiww xs qihmgexmsr wlsyph mrjsvq xlmw Gsyvx×w higmwmsr xs ejjmvq

   xli hmwxvmgx gsyvx×w svhiv2


   II. A Healthy Drug Patent System Relies on Judicial Oversight of Orange
       Book Listings

   A.    An Improperly Listed Orange Book Patent Interferes with the Develop-
         ment and Utilization of Medicines

        Fvmrkmrk e ri{ hvyk xs qevoix mw rs qier jiex0 iwtigmepp} mj xlex hvyk ger fi

   efywih erh viuymviw xli JHE xs ettvszi e VIQW jsv mx2 Ezehip wsyklx JHE×w

   ettvszep jsv Pyqv}~0 mrgpyhmrk xli hizipstqirx sj e VIQW2 Ezehip {svoih {mxl

   xli JHE xs hizipst e VIQW qshipih ejxiv sri tvizmsywp} ettvszih jsv Ne~~0

   erh Pyqv}~ {ew xirxexmzip} ettvszih tirhmrk givxmjmgexmsr xlex Pyqv}~ hmh rsx

   mrjvmrki sr er} texirxw mr xli Sverki Fsso2

        Ejxiv vigimzmrk e gsqtpemrx jsv mrjvmrkiqirx sj xli ×=:7 texirx ,erh jsyv sxl1

   ivw-0 Ezehip jmpih e gsyrxivgpemq wiiomrk0 eqsrk sxliv jsvqw sj vipmij0 e viuymvi1

   qirx f} xli hmwxvmgx gsyvx jsv Ne~~ xs hipmwx xli ×=:7 texirx jvsq xli Sverki Fsso ew

   xli ×=:7 texirx Ôsrp} mrgpyhiw gpemqw xs e Ögsqtyxiv1mqtpiqirxih w}wxiq jsv xviex1

   qirx sj e revgspitxmg texmirx {mxl e tviwgvmtxmsr hvyk0× {lmgl evi rimxliv qixlsh

   gpemqw rsv gpemqw xs e hvyk tvshygx sv hvyk wyfwxergi2Õ Erw{iv xs Gsqtpemrx

   jsv Texirx Mrjvmrkiqirx0 Hijirwiw erh Gsyrxivgpemqw ex 850 Jazz Pharm., Inc. v.

   Avadel CNS Pharm., LLC0 Rs2 5>651gz1:=5 ,H2 Hip2 Rsz2 5<0 Nyri 70 6465- ,Hsg2

   Rs2 55-2

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      Xli uyiwxmsr tviwirxih xs xli Gsyvx mw {lixliv sv rsx xs ytlsph xli Hipe{evi

   Hmwxvmgx Gsyvx×w svhiv jsv Ne~~ Tlevqegiyxmgepw xs hipmwx mxw texirx gszivmrk e vi1

   uymvih VIQW figeywi xli texirx gszivw rimxliv e Ôhvyk wyfwxergi ,egxmzi mrkvi1

   hmirx- 2 2 2 e hvyk tvshygx ,jsvqypexmsr gsqtswmxmsr- _sv ea qixlsh sj ywmrk wygl

   hvyk2Õ Jihivep Jssh0 Hvyk0 erh Gswqixmg Egx ,JJHGE- § 949,f-,5-,E-,zmmm-0 65

   Y2W2G2 § 7992 Xli hmwxvmgx gsyvx jsyrh xlex xli ×=:7 texirx Ôhsiw rsx fipsrk mr xli

   Sverki Fsso2Õ Kmzir xli yreqfmkysyw jmrhmrk f} xli hmwxvmgx gsyvx erh xli levq

   sj kverxmrk Ne~~ {lex mw ijjigxmzip} e 741qsrxl tvipmqmrev} mrnyrgxmsr0 xlmw Gsyvx

   wlsyph ejjmvq xli hmwxvmgx gsyvx×w svhiv2

      Mrwxieh sj gszivmrk er mrzirxmsr xlex ger fi wxexyxsvmp} wyfqmxxih xs xli Sverki

   Fsso0 xli ×=:7 texirx gszivw xli ywi sj e VIQW2 Figeywi Ezehip×w tvshygx ex mwwyi

   livi ywiw xli weqi egxmzi mrkvihmirx ew Ne~~×w tvshygx0 wshmyq s|}fexi0 xli JHE

   viuymviw e VIQW jsv xli hvyk2 Xli ×=:7 texirx mw hiwgvmfih ew e Ôwirwmxmzi hvyk

   hmwxvmfyxmsr w}wxiq erh qixlshÕ gpemqmrk0 ÔE computer-implemented w}wxiq jsv

   xviexqirx sj e revgspitxmg texmirx {mxl e tviwgvmtxmsr hvyk xlex lew e tsxirxmep jsv

   qmwywi0 efywi sv hmzivwmsr0 gsqtvmwmrk tviwgvmtxmsrw jsv e wirwmxmzi hvyk2Õ E hvyk0

   egxmzi mrkvihmirx0 jsvqypexmsr0 gsqtswmxmsr0 sv qixlsh sj ywmrk xli hvyk evi rsx

   qirxmsrih2 See id.

      Xli ivvsrisyw pmwxmrk sj xli ×=:7 texirx mr xli Sverki Fsso gviexiw e yrmuyi

   tvsfpiq jsv xlswi pmoi Ezehip xlex {erx xs hizipst rszip xlivetmiw xlex gsqtixi



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   {mxl \}viq f} sjjivmrk e tvshygx0 Pyqv}~0 xlex mw er mqtvsziqirx sziv Ne~~×w2

   Pyqv}~ vitviwirxw e wmkrmjmgerx wxit jsv{evh mr xviexmrk revgspitw} erh xli mrrs1

   zexmsr sjjivw kviexiv glsmgi xs texmirxw {ls wyjjiv jvsq mx2

       Er eyxsqexmg 741qsrxl hipe} ksiw {ipp fi}srh xli rsvqep mrnyrgxmzi vipmij

   ezempefpi xs xlswi gpemqmrk texirx mrjvmrkiqirx2 Ezehip hizipstih e ri{ tvshygx

   xs ehhviww e viep riih f} texmirxw erh xsso epp xli rigiwwev} wxitw xs irwyvi xli

   tvshygx mw ezempefpi wejip}2 Xlmw mw {lex e {ipp1jyrgxmsrmrk tlevqegiyxmgep mrhywxv}

   pssow pmoi2 Xli Gsyvx wlsyph rsx epps{ Ne~~ xs mrxivvytx xlmw tvsgiww f} ywmrk xli

   wtigmep vmklxw kverxih xs mx f} e texirx xlex mw mrgsvvigxp} tpegih mr xli Sverki Fsso2


   B. Keeping the ’963 Patent in the Orange Book Undermines the Balance
      Created in the Hatch-Waxman Act

       Xli texirx w}wxiq i|mwxw xs Ôtvsqsxi xli Tvskviww sj 2 2 2 ywijyp Evxw0Õ f} eyxls1

   vm~mrk xli kverx sj i|gpywmzi vmklxw sziv ri{ mrzirxmsrw2 Y2W2 Gsrwx2 evx2 M0 § <0 gp2 <2

   Xliwi mrzirxmsrw mrgpyhi tlevqegiyxmgep tvshygxw0 er mrhywxv} xlex vipmiw liezmp}

   sr xli texirx w}wxiq2 Tlevqegiyxmgep mrrszexmsrw vip} sr LexglÒ[e|qer254 Xli

   pe{ Ôiwxefpmwlih wizivep tvegxmgiw mrxirhih xs jegmpmxexi xli qevoixmrk sj kirivmg



     54
        Hvyk Tvmgi Gsqtixmxmsr erh Texirx Xivq Viwxsvexmsr Egx ,LexglÒ[e|qer-0
   Tyf2 P2 Rs2 =<185;0 =< Wxex2 59<9 ,5=<8- ,gshmjmih ew eqirhih ex JJHGE § 949-2
   Xlvsyklsyx xlmw fvmij0 ÔLexglÒ[e|qerÕ {mpp vijiv xs xli wxexyxsv} jveqi{svo ew
   wyfwiuyirxp} eqirhih2 See Qihmgevi Tviwgvmtxmsr Hvyk0 Mqtvsziqirx0 erh Qsh1
   ivrm~exmsr Egx sj 64470 Tyf2 P2 Rs2 54<15;70 55; Wxex2 64::? Sverki Fsso Xverw1
   tevirg} Egx sj 64640 Tyf2 P2 Rs2 55:16=40 578 Wxex2 8<<=2

                                              57
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   hvykw {lmpi tivqmxxmrk fverh reqi gsqtermiw xs vigsziv e tsvxmsr sj xlimv mrxip1

   pigxyep tvstivx} vmklxw pswx hyvmrk xli tlevqegiyxmgep ettvszep tvsgiww2Õ55 Eqsrk

   xliwi tvegxmgiw mrxirhih xs wxvmoi e fepergi fix{iir ri{ hvyk irxv} erh tvsxigxmrk

   mrxippigxyep tvstivx} vmklxw mw e wtigmep tvsgiww jsv xviexmrk texirxw ewwsgmexih {mxl

   mqtvszih tlevqegiyxmgepw0 hsgyqirxih mr {lex mw gsqqsrp} geppih xli ÔSverki

   Fsso2Õ56

      Hiwtmxi kverxmrk e xiqtsvev} tivmsh sj i|gpywmzmx} mr i|glerki jsv xli hizipst1

   qirx erh hmwgpswyvi sj er mrzirxmsr0 xli Texirx Egx erh xli pevkiv fsh} sj texirx

   pe{ gsrxemr tvszmwmsrw xs jegmpmxexi gsqtixmxmsr xlvsykl xli tvszmwmsr sj mrnyrg1

   xmzi vipmij rsx eyxsqexmgepp}0 fyx Ômr eggsvhergi {mxl xli kirivep tvmrgmtpiw sj iu1

   ymx}2Õ 79 Y2W2G2 § 6<72 Jspps{mrk xlmw viuymviqirx sj iuymxefpi gsrwmhivexmsrw0

   xlmw Gsyvx lew vitiexihp} liph xlex Ô_ea tpemrxmjj wiiomrk e tvipmqmrev} mrnyrgxmsr

   qywx iwxefpmwl _5a xlex li mw pmoip} xs wyggiih sr xli qivmxw0 _6a xlex li mw pmoip} xs

   wyjjiv mvvitevefpi levq mr xli efwirgi sj tvipmqmrev} vipmij0 _7a xlex xli fepergi sj

   iuymxmiw xmtw mr lmw jezsv0 erh _8a xlex er mrnyrgxmsr mw mr xli tyfpmg mrxiviwx2Õ See

   Takeda Pharm. USA v. Mylan Pharm. Inc.0 =:; J27h 577=0 5789 ,Jih2 Gmv2 6464-

   ,gmxmrk Winter v. Nat. Res. Def. Council, Inc.0 56= W2 Gx2 7:90 64 ,644<--? Titan Tire


     55
         [irh} L2 Wgleglx * Nslr V2 Xlsqew0 The Hatch-Waxman Act: A Quarter
   Century Later 5 ,Gsrk2 Viwievgl Wivz20 Vitsvx Rs2 V855580 Qev2 570 6456-0 avail-
   able online2
      56
         See Jssh * Hvyk Ehqmr20 Approved Drug Products with Therapeutic Equiv-
   alence Evaluations (the Orange Book) ,86h ih2 6466-0 available online2

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   Corp. v. Case New Holland, Inc.0 9:: J27h 57;60 57;9Ò;: ,Jih2 Gmv2 644=-? Apple,

   Inc. v. Samsung Elecs. Co.0 :;< J27h 5758 ,Jih2 Gmv2 6456-2 Xli Jihivep Gmvgymx

   lew epws egors{pihkih xli mqtsvxergi sj hijivirgi xs hmwxvmgx gsyvx mr hixivqmr1

   mrk {lixliv sv rsx xs tvszmhi mrnyrgxmzi vipmij2 See Apple0 :;< J27h ex 5767 ,ÔXli

   higmwmsr xs kverx sv hir} e tvipmqmrev} mrnyrgxmsr pmiw {mxlmr xli wsyrh hmwgvixmsr

   sj xli hmwxvmgx gsyvx0 erh {i {mpp rsx vizivwi mxw nyhkqirx efwirx er efywi sj xlex

   hmwgvixmsr2Õ- ,gmxmrk Titan Tire0 9:: J27h ex 57;9-2

      Xli 741qsrxl wxe} qehi ezempefpi yrhiv LexglÒ[e|qer mw e hitevxyvi jvsq

   xlmw kirivepp} iuymxefpi ettvsegl2 Xli vmklxw ejjsvhih xs xlswi {mxl e texirx mr

   xli Sverki Fsso evi0 f} hiwmkr0 e xssp xs tvsxigx xli i|gpywmzi vmklxw kverxih xs

   texirx lsphivw f} epps{mrk xliq xs fpsgo irxv} f} {syph1fi gsqtixmxsvw fi}srh

   xlswi rsvqepp} ezempefpi mr sxliv gewiw sj eppikih mrjvmrkiqirx2 Wygl vmklxw {ivi

   gsrjivvih ew tevx sj e kirivep tvskveq hiwmkrih xs wtiih ri{ hvyk irxv} erh mw tevx

   sj xli xvehisjjw fympx mrxs xlex w}wxiq2 Fyx ew e xvehisjj0 mx {ew rsx hiwmkrih qivip}

   ew e {e} xs fiij yt mrnyrgxmzi vipmij2 LexglÒ[e|qer viwxvmgxw texirxw ipmkmfpi xs

   vigimzi xlmw tvsxigxmsr xs texirxw sr Ôe hvyk wyfwxergi ,egxmzi mrkvihmirx-_0a e hvyk

   tvshygx ,jsvqypexmsr sv gsqtswmxmsr-_0a sv e qixlsh sj ywmrk wygl e hvyk2Õ JJHGE

   § 949,f-,5-,E-,zmmm-2

      Xli JHE×w vspi mr xli ehqmrmwxvexmsr sj xli Sverki Fsso mw ÔqmrmwxivmepÕ57

     57
       Ettpmgexmsrw jsv JHE Ettvszep xs Qevoix e Ri{ Hvyk0 :< Jih2 Vik2 7::;90
   7::<7 ,Jssh * Hvyk Ehqmr2 Nyri 5<0 6447-2

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   erh Ôhsiw rsx lezi xli i|tivxmwi sv xli hiwmvi xs figsqi mrzspzih mr mwwyiw gsr1

   givrmrk texirx pe{ erh wyjjmgmirg} sj rsxmgi2Õ58 Mx mw xlir pijx xs xli nyhmgmev} xs

   irwyvi xlex texirxw pmwxih mr xli Sverki Fsso fipsrk xlivi2 LexglÒ[e|qer xspiv1

   exiw xlmw lerhw1sjj ettvsegl jvsq xli JHE f} fymphmrk mr e qiglermwq xs viwspzi

   mqtvstivp} pmwxih Sverki Fsso texirxw2 Mr 6447 Gsrkviww tewwih xli Qihmgevi

   Tviwgvmtxmsr Hvyk0 Mqtvsziqirx0 erh Qshivrm~exmsr Egx sj 64472 See Tyf2 P2

   Rs2 54<15;70 55; Wxex2 64::2 Xlmw ythexih xli LexglÒ[e|qer jveqi{svo f} gvi1

   exmrk xli sttsvxyrmx} jsv er ettpmgerx xs jmpi e gsyrxivgpemq erh vigimzi er svhiv

   jvsq e hmwxvmgx gsyvx jsv xli texirx lsphiv xs Ôgsvvigx sv hipixi xli texirx mrjsv1

   qexmsr wyfqmxxih f} xli lsphiv _mja xlex texirx hsiw rsx gpemq imxliv 2 2 2 xli hvyk

   jsv {lmgl xli ettpmgexmsr {ew ettvszih _sva er ettvszih qixlsh sj ettvszmrk xli

   hvyk2Õ JJHGE § 949,g-,7-,H-,mm-,M-2

      Xlmw fepergi {ew gevijypp} gvejxih xs lipt texmirxw f} qeomrk mx tswwmfpi jsv

   hvykw pmoi Pyqv}~ xs irxiv xli qevoix2 Xli viwtsrwmfmpmx} xs tvizirx syxgsqiw

   gsrxvev} xs xli mrxirx sj LexglÒ[e|qer jeppw xs xli hmwxvmgx gsyvx0 e viwtsrwmfmp1

   mx} mx jypjmppih2 Vizivwmrk xli hmwxvmgx gsyvx×w hipmwxmrk svhiv {syph yrhivqmri xli

   fepergi fympx mrxs xli jveqi{svo sj LexglÒ[e|qer2




     58
       Effvizmexih Ri{ Hvyk Ettpmgexmsr Vikypexmsrw0 9= Jih2 Vik2 9477<0 94794
   ,Jssh * Hvyk Ehqmr2 Sgx2 70 5==8-2

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   III. Jazz’s Unusual Patent Here Undermines Innovation Rather Than Ad-
        vancing It

        Xli uyiwxmsr tviwirxih xs xlmw Gsyvx lew wmkrmjmgerx veqmjmgexmsrw jsv xli mr1

   xivegxmsr fix{iir xli Yrmxih Wxexiw× texirx erh vikypexsv} w}wxiqw2 Ne~~×w texirx

   i|tpsmxw xli vikypexsv} w}wxiq mr e {ipp1ors{r fyx hmwxmrgx qerriv0 kmzmrk vmwi xs

   egxyep qsrstsp} ts{iv erh xli mrrszexmsr hmwmrgirxmziw xlex evmwi xlivijvsq2 Xli

   hmwxvmgx gsyvx×w jmrhmrk xlex xli ×=:7 texirx hsiw rsx fipsrk mr xli Sverki Fsso

   wlsyph fi wyjjmgmirx xs ytlsph xli hmwxvmgx gsyvx×w svhiv2 ]ix xlmw gewi lew fvsehiv

   mqtpmgexmsrw xlex xli Gsyvx wlsyph xeoi mrxs gsrwmhivexmsr mr mxw vypmrk2


   A.    Jazz’s Patent Exploits the Regulatory System, Creating a “Mandatory
         Infringement” Situation

        Xs yrhivwxerh {l} xli ×=:7 texirx mw yrmuyip} tvsfpiqexmg xs mrrszexmsr0 gsq1

   tixmxmsr0 erh texmirxw0 mx mw jmvwx rigiwwev} xs sfwivzi xlex mx mw rs svhmrev} texirx2

   Mrwxieh0 mx mw e texirx hiwmkrih xs i|tpsmx vikypexsv} erh tyfpmg wejix} w}wxiqw mr

   e {e} xlex0 yrpmoi xli qmri1vyr sj texirxw0 gsrjivw i|xvesvhmrev} qsrstsp} ts{iv

   ex xli i|tirwi sj tyfpmg liepxl erh {ipjevi2

        Wglspevw lezi glevegxivm~ih texirxw xlex szivpet {mxl xli vikypexsv} w}wxiq ew

   Ôvikypexsv} keqmrkÕ sv0 figeywi gsqtixmxsvw qywx mrjvmrki xli texirx xs gsqtp}

   {mxl xli vikypexmsr0 Ôqerhexsv} mrjvmrkiqirx2Õ See Wxegi} P2 Hsker * Qevo E2

   Piqpi}0 Antitrust Law and Regulatory Gaming0 <; Xi|2 P2 Viz2 :<9 ,644<Ò644=-?

   Glevpiw Hyer0 Mandatory Infringement0 ;9 Jpe2 P2 Viz2 ,jsvxlgsqmrk 6467-0 avail-

                                             5;
              Case: 23-1186
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                          Document      43 05/22/24
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   able online2 X}tmgepp}0 xli kszivrqirx qerhexi lew pmxxpi xs hs {mxl mrrsze1

   xmsr tspmg}0 kirivepp} fimrk hiwmkrih xs tvsqsxi tyfpmg wejix} sv wsgmixep {ipjevi2

   Qerhexsv} mrjvmrkiqirx mrzspziw xli gsppmwmsr sj texirx tspmg} {mxl sxliv0 wmpsih0

   kszivrqirxep tspmgmiw xlex iegl tyvwyi e witevexi tyfpmg mrxiviwx ksep2 Xlmw Gsyvx

   wlsyph xeoi mrxs gsrwmhivexmsr xlmw gsqtpmgexih h}reqmg erh xli mqtswwmfpi wmxy1

   exmsr gsqtermiw pmoi Ezehip jmrh xliqwipziw mr {lir xv}mrk xs rezmkexi fsxl xli

   vikypexsv} wxexi erh xli texirx w}wxiq2


   B. Exploiting the Regulatory System Lets Jazz Engage in Anticompetitive
      Behavior

      Xli qerhexsv}1mrjvmrkiqirx rexyvi sj xli ×=:7 texirx mw gvmxmgep figeywi mx veh1

   mgepp} epxivw xli ywyep vipexmsrwlmt fix{iir texirxw0 gsqtixmxmsr0 erh mrrszexmsr2

   Xli fewmg sfwivzexmsr mr er i|xirwmzi pmxivexyvi mw xlex xli lsphiv sj e texirx sr e

   vikypexsv} qerhexi ksiw jvsq e qivi ehzerxekih gsqtixmxsv mr e pevkiv qevoix xs

   e jypp1fps{r qsrstspmwx2 See, e.g., Hsker * Piqpi}0 supra0 ex :<;Ò<<? Qmgleip

   E2 Ksppmr0 Using Intellectual Property to Improve Environmental Protection0 8

   Levz2 N2P2 * Xigl2 5=70 65= r256< ,5==5- ,hiwgvmfmrk wygl texirxw ew e Ôwytiv1

   qsrstsp}Õ-? see also Vsfivx L2 Fsvo0 The Antitrust Paradox 59= ,5=;<- ,Ôtvi1

   hexmsr f} efywi sj kszivrqirxep tvsgihyviÕ-? Wywer E2 Gvimklxsr ix ep20 Cheap

   Exclusion0 ;6 Erxmxvywx P2N2 =;90 ==4Ò=6 ,6449-2 Xlmw mrgviewi mr qevoix ts{iv

   lettirw figeywi xli vikypexsv} qerhexi gsrwxvemrw xli gsqtixmxmzi qevoix wtegi


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   xs xli wgsti sj xli texirx0 tvigpyhmrk hiwmkr1evsyrh gsqtixmxmsr erh kmzmrk xli

   texirx lsphiv xvyi qevoix ts{iv2 See Hyer0 supra0 ex 74Ò7:259

      Gsrxvewx xlmw {mxl xli h}reqmg xlex ywyepp} i|mwxw mr qevoixw {livi

   mrrszexmsrÓerh xlyw texirxmrkÓmw i|xirwmzi2 Ywyepp}0 Ô_xali sttsvxyrmx} xs

   glevki qsrstsp} tvmgiwÓex piewx jsv e wlsvx tivmshÓmw {lex exxvegxw Öfywmriww

   egyqir× mr xli jmvwx tpegi? mx mrhygiw vmwo xeomrk xlex tvshygiw mrrszexmsr erh igs1

   rsqmg kvs{xl2Õ Verizon Commc’ns Inc. v. Law Offices of Curtis V. Trinko, LLP0

   984 Y2W2 7=<0 84; ,6448-2 Fyx srgi wygl e tswmxmsr lew fiir eglmizih0 xlex mr1

   girxmzi rs psrkiv i|mwxw figeywi xlswi vixyvrw ger epvieh} fi gsyrxih sr0 erh jyv1

   xliv mrziwxqirx {syph rsx eglmizi kviexiv vixyvrw2 See Xlsqew N2 Lspqiw ix ep20

   Monopoly and the Incentive to Innovate When Adoption Involves Switchover Dis-

   ruptions0 8 Eq2 Igsr2 N2> Qmgvsigsrsqmgw 50 7 ,6456- ,Ôe jmvq {mxl e pygvexmzi

   qsrstsp} qe} higmhi rsx xs ehstx e xiglrspsk} xlex0 mr xli wlsvx vyr0 hmwxyvfw mxw

   pygvexmzi tswmxmsr2Õ-2 Xli efmpmx} xs pikepp} fpsgo er} gsqtixmxmsr jvsq vmzepw epws

   irefpiw rsrviwtsrwmziriww xs xli riihw sj gsrwyqivw2




     59
       Xli szivpet {mxl vikypexmsr xlyw hmwxmrkymwliw qerhexsv}1mrjvmrkiqirx
   texirxw jvsq svhmrev} texirxw xlex x}tmgepp} hs rsx gsrjiv qevoix ts{iv0 figeywi
   svhmrevmp} gsqtixmxsvw evi rsx gsrwxvemrih f} vikypexmsr erh ws ger hiwmkr evsyrh
   texirxw xs wexmwj} gsrwyqiv hiqerh2 See Y2W2 Hit×x sj Nywxmgi * Jih2 Xvehi
   Gsqq×r0 Antitrust Guidelines for the Licensing of Intellectual Property 8 ,5==9-0
   available online0 quoted in Ill. Tool Works Inc. v. Indep. Ink, Inc.0 98; Y2W2 6<0 89
   ,644:-2

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      Xli gsrxi|x sj xlmw gewi tvszmhiw wsqi izmhirgi xs wyttsvx xliwi sfwivzexmsrw

   efsyx gsqtixmxmsr erh qevoix ts{iv2 Mr xli gewi sj \}viq0 xli srp} wyfwxerxmep

   mrrszexmsr wmrgi xli mrxvshygxmsr sj xli hvyk geqi mr xli jsvq sj e ps{1wshmyq jsv1

   qypexmsr \}{ezÓer mqtvsziqirx xs fi wyvi0 iwtigmepp} jsv xlswi {ls lezi gev1

   hmeg mwwyiw erh qywx {exgl xlimv wshmyq mrxeoi2 Fyx xlmw mqtvsziqirx mw sri xlex

   epps{ih Ne~~ xs i|terh sr xli extensive qevkmrw erh wipp xs texmirxw {ls gsyphr×x

   xeoi wsqixlmrk {mxl e lmkl wshmyq gsrxirx {mxlsyx ehhviwwmrk xli gsrgivrw sj

   texmirxw jsv {lsq wshmyq gsrxirx {ew rsx e tvmqev} mwwyi2

      Texmirxw× gsqqirxw hiqsrwxvexi wsqi sj xli rsrviwtsrwmziriww xs texmirx

   riihw ewwsgmexih {mxl e jmvq lsphmrk er yrgleppirkih qevoix tswmxmsr2 Mqtvszi1

   qirxw xs xli hvyk mxwipj xs glerki xli hsweki jvsq x{mgi1 xs srgi1rmklxp} {ivi

   fsxl tswwmfpi erh e gpiev evie jsv mqtvsziqirx> }ix Ne~~ jsv{irx xli sttsvxyrmx}

   xs mrziwx mr wygl mqtvsziqirxw2 Xli mrgsrzirmirgiw texmirxw jegi {lir egxyepp}

   eguymvmrk pe{jypp} tviwgvmfih \}viq erh xli pego sj viwtsrwmziriww jvsq Ne~~ xs

   qeoi mx iewmiv jsv texmirxw xs sfxemr xlimv qihmgexmsr mw er i|eqtpi sj fywmriww gsr1

   hygx hmwmrxiviwxih mr mqtvszmrk gywxsqiv wivzmgi2 [lmpi wsqi sj xli jvywxvexmsrw

   i|tviwwih f} texmirxw mr xlimv hiepmrkw {mxl Ne~~ mr wigxmsr M2G sj xlmw fvmij evi yr1

   ezsmhefpi hyi xs xli VIQW viuymviqirx0 xlmw hsiw rsx qier xlex iziv} jiexyvi mw

   iwwirxmep sv Ne~~ lew rs sttsvxyrmxmiw xs mqtvszi mxw gywxsqiv wivzmgi2




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      Xeoir xskixliv0 xlmw gviexiw e wmxyexmsr {livi texmirxw qywx hs {mxlsyx mq1

   tvszih xviexqirx stxmsrw jsv viewsrw mqqexivmep xs xli xiglrmgep sv qexivmep viepm1

   xmiw sj mrrszexmsr2 Mx mw sri irxmvip} gviexih f} erxmgsqtixmxmzi efywi sj xli Sverki

   Fsso w}wxiq f} Ne~~2 Izir e xlmvx}1qsrxl wxe} mw e wivmsyw lmrhvergi0 ew xli Jih1

   ivep Xvehi Gsqqmwwmsr qehi gpiev mr mxw amicus fvmij fijsvi xli hmwxvmgx gsyvx>

         Er mqtvstiv pmwxmrk levqw gsqtixmxmsr erh gsrwyqivw> F} pmwxmrk e
         texirx mr xli Sverki Fsso erh xlir jmpmrk er mrjvmrkiqirx wymx0 e fverh
         ger fpsgo gsqtixmxmsr jsv yt xs x{s1erh1e1lepj }ievw vikevhpiww sj xli
         wgsti sv zepmhmx} sj xli texirx erh vikevhpiww sj {lixliv mx qiixw xli
         wxexyxsv} pmwxmrk gvmxivme 2 2 2 Gsrwyqivw wyjjiv fsxl figeywi xli} evi
         jsvgih xs gsrxmryi te}mrk rsr1gsqtixmxmzi tvmgiw erh figeywi xli} evi
         hitvmzih sj xli efmpmx} xs glsswi fix{iir tvshygxw 2 2 2 _Maj xli ×=:7
         texirx mw mqtvstivp} pmwxih0 mx ettievw xs fi geywmrk wmkrmjmgerx levq
         xs gsqtixmxmsr2

   Jihivep Xvehi Gsqqmwwmsr×w Fvmij ew Amicus Curiae ex 58Ò590 Jazz Pharm.0 Rs2

   5>651gz1:=5 ,Rsz2 590 6466- ,Hsg2 Rs2 66;-2

      Xlmw gewi mw rsx xli jmvwx xmqi xlex tvsgiwwiw vipexih xs VIQW gsqtpmergi lezi

   fiir texirxih erh wyfwiuyirxp} ywih xs fpsgo jvii irxv} sj gsqtixmxsvw2 See Eqiix

   Wevtex{evm ix ep20 Using a Drug-Safety Tool to Prevent Competition0 7;4 Ri{ Irk2

   N2 Qih2 58;: ,6458-2 Xlmw lew fiir mhirxmjmih ew e lmrhvergi xs kirivmg irxv} mr

   xli gsrxi|x sj wlevih VIQW tvskveqw erh rsr1Sverki Fsso texirxw2 [lmpi mrm1

   xmep hizipstqirx sj e VIQW mw rsx e wmqtpi xewo0 mx srp} mrzspziw gsqtp}mrk {mxl

   JHE kymhipmriw erh vikypexmsrw2 Wyfwiuyirx irxverxw {ls evi viuymvih xs ywi xli

   weqi VIQW tvskveq0 f} gsrxvewx0 jegi Ômwwyiw wygl ew gswx1wlevmrk0 gsrjmhirxmep1

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   mx}0 tvshygx pmefmpmx} gsrgivrw0 erxmxvywx gsrgivrw0 erh eggiww xs e pmgirwi jsv ipi1

   qirxw tvsxigxih f} e texirx0 erh kirivmg hvyk gsqtermiw lezi vitsvxih hmjjmgypx}

   mr xv}mrk xs hizipst e wmrkpi0 wlevih w}wxiq {mxl fverh gsqtermiw2Õ5:

         Xli wxeoiw livi evi lmkliv2 Vexliv xler hipe}mrk kirivmg gsqtixmxmsr {mxl er

   i|mwxmrk hvyk0 efywi sj VIQW zme texirx pe{ mw wxsttmrk e ri{ tvshygx2 Erh vexliv

   xler ywmrk xli svhmrev} viqihmiw ezempefpi xs xli s{rivw sj eppikihp} mrjvmrkih

   texirxw0 xli viqih} mw er eyxsqexmg 741qsrxl wxe} sj ettvszep2 E w}wxiq xlex

   epps{w {lex mw ijjigxmzip} er eyxsqexmg tvipmqmrev} mrnyrgxmsr xs wxst ri{ hvykw

   mw sri xlex hmwwivziw fsxl texmirxw erh xli tvskviww sj qihmgep wgmirgi2


   C.        Blocking Patents Discourage Investment in the Development of Related
             Products

         Mj Ne~~ srp} liph texirxw xs e Ôhvyk wyfwxergi ,egxmzi mrkvihmirx- 2 2 2 0 e hvyk

   tvshygx ,jsvqypexmsr gsqtswmxmsr- _sv ea qixlsh sj ywmrk wygl hvykÕ ew viuymvih

   jsv pmwxmrk mr xli Sverki Fsso0 xlir xlivi {syph wxmpp fi sttsvxyrmxmiw jsv irxv}

   erh gsqtixmxmsr f} mrhygmrk gsqtixmxsvw xs Ômrzirx evsyrhÕ xli ri{ texirx f}

   mrzirxmrk0 jsv i|eqtpi0 e ri{ erh hmwxmrgx jsvqypexmsr sj wshmyq s|}fexi2 See

   JJHGE § 949,f-,5-,E-,zmmm-25; Fyx0 ew mw xli gewi livi0 mj Ne~~ lsphw xli i|gpywmzi


        5:
        See Ekexe Hefvs{woe0 Gsrk2 Viwievgl Wivz20 Report No. R448100 FDA Risk
   Evaluation and Mitigation Strategies (REMS): Description and Effect on Generic
   Drug Development 55 ,Qev2 5:0 645<-2
     5;
        Xli egxmzi mrkvihmirx lew fiir ors{r wmrgi xli 5=94w erh mw tpemrp} yr1
   texirxefpi rs{2

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   vmklx xs xli ywi sj e qixlsh viuymvih jsv irxv} at all mrxs xli qevoix jsv wshmyq

   s|}fexi jsvqypexmsrw0 xlir epp irxv} mrxs xli qevoix mw tvizirxih2

      [lex {syph1fi gsqtixmxsv {syph mrziwx viwsyvgiw mr xli hizipstqirx sj e hvyk

   xlex xli} gsyph rsx izir wipp hyi xs e gsqtixmxsv×w texirx sr xli srp} {e} xs gsqtp}

   {mxl vikypexmsrw rigiwwev} jsv tevxmgmtexmsr mr xli qevoixC Xli tvsqmwi sj e wpmgi

   sj xli wytversvqep tvsjmxw gviexih f} e hsqmrerx tswmxmsr irgsyvekiw mrziwxqirx

   erh irxv} f} gsqtixmxsvw {ls sjjiv e tvshygx xlex mw imxliv sj wytivmsv uyepmx} xs xlex

   gsrwyqiv sv ex e ps{iv tvmgi2 Mj xlivi mw rs sttsvxyrmx} xs eggiww wygl tvsjmxw0 xlir

   xlivi {mpp rsx fi mrziwxqirx mr jyvxliv hizipstqirx2 Mx mw yrviewsrefpi xs i|tigx e

   rsr1mrjvmrkmrk gsqtixmxsv xs mrgyv xli Ôgsppexivep mrnyv} xli Lexgl1[e|qer Egx×w

   741qsrxl wxe} mrzevmefp} mrjpmgxw2Õ FTC v. AbbVie Inc.0 =;: J27h 76;0 7:5 ,7h Gmv2

   6464-2


                                       .     .      .


      Pyqv}~ mw e wxsv} sj wyggiwwjyp tlevqegiyxmgep mrrszexmsr qehi tswwmfpi f}

   xli vypiw iwxefpmwlih yrhiv LexglÒ[e|qer2 Ezehip mhirxmjmih e qevoix sj texmirxw

   {ls lezi leh xlimv pmziw mqtvszih f} e hvyk xs xviex xlimv gsrhmxmsr fyx hiepx {mxl

   rikexmzi wmhi ijjigxw jvsq xlimv qihmgexmsr2 Xli} wxittih mr erh hizipstih e ri{

   tvshygx xs fsxl xviex revgspitw} erh ehhviww xli wlsvxgsqmrkw sj xli tvizmsyw w}w1

   xiq2



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      Leh xli ×=:7 texirx rsx fiir pmwxih mr xli Sverki Fsso0 xlir Ezehip {syph

   fi efpi xs sfxemr ettvszep sj mxw srgi1rmklxp} tvshygx0 irefpmrk texmirxw xs irns}

   mxw firijmxw ievpmiv ws psrk ew Ezehip eggitxw xli vmwo sj vixvswtigxmzi mrjvmrkiqirx

   heqekiw2 See JJHGE § 949,g-,5-2 ]ix f} pmwxmrk mx0 Ne~~ lew jsvgih Ezehip xs

   {emx yrxmp xli gsqtpixmsr sj pmxmkexmsr jsv ettvszep0 jsv yt xs 74 qsrxlw2 See id.

   § 949,g-,7-,G-2 Xli mqtvstiv ywi sj xli wxexyxsv} wxe} gsrxveziriw xli tvmrgmtpiw

   sj fepergi mr texirx pe{ erh levqw revgspitw} texmirxw2 Xli hmwxvmgx gsyvx×w svhiv

   xs hipmwx xli texirx wlsyph fi ejjmvqih2



                                    CONCLUSION

      Jsv xli jsviksmrk viewsrw0 xli higmwmsr sj xli hmwxvmgx gsyvx wlsyph fi ejjmvqih2


                                    Viwtigxjypp} wyfqmxxih0


   Hexih> Neryev} 5<0 6467          /s/ David Bookbinder
                                    Hezmh Fssofmrhiv
                                       Counsel of Record
                                    Rmwoerir Girxiv
                                    <64 Jmvwx Wxviix RI0 Wymxi :;9
                                    [ewlmrkxsr0 HG 64446
                                    ,745- ;9514:55
                                    hfssofmrhivDrmwoerirgirxiv2svk
                                    Counsel for Amici Curiae




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                       CERTIFICATE OF COMPLIANCE

      Xlmw hsgyqirx gsqtpmiw {mxl xli x}ti1zspyqi pmqmxexmsr sj xli Jihivep Vypiw

   sj Ettippexi Tvsgihyvi erh xli Gmvgymx Vypiw2 Xli hsgyqirx gsrxemrw 5,479 {svhw0

   i|gpyhmrk xli tevxw sj xli hsgyqirx i|iqtxih f} Jihivep Vypi sj Ettippexi Tvs1

   gihyvi 76,j-2

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                                   Hezmh Fssofmrhiv
                                   Counsel for Amici Curiae




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           EXHIBIT 5
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                                            UNITED STATES OF AMERICA

                                          Federal Trade Commission
                                               WASHINGTON, D.C. 20580




       Office of the Chair




                           Statement of Chair Lina M. Khan at the
                          September Open Commission Meeting on
            Brand Drug Manufacturers’ Improper Listing of Patents in the Orange Book
                                Commission File No. P233900

                                              September 14, 2023

           Drug prices are sky high. Americans pay more for medicines that any other country in the
   world. A striking number of people now report having to ration their medicines or skip them
   altogether because they are too expensive.1 Many factors contribute to this unaffordability
   crisis—including unlawful business practices. We at the FTC are committed to using all of our
   tools to combat corporate conduct that unlawfully inflates drug prices.

            That is why the Commission today is considering a policy statement on how the FTC will
   scrutinize improper “Orange Book” patent listings. The Orange Book is where brand
   manufacturers list their patents for FDA-approved drug products. A brand pharmaceutical
   company can obtain a presumptive 30-month stay of the FDA approving competitors merely by
   listing a patent in the Orange Book and filing a lawsuit against a generic manufacturer,
   regardless of whether the patent it listed is actually valid or infringed by the competing generic
   product. In this way, a pharmaceutical company can weaponize the Orange Book to protect
   monopoly rights to a medical product—even if those monopoly rights are invalid. This practice
   can delay or block generic and innovative drugs from entering the market, keeping prices higher
   for American patients.

           Experience shows that we have good reason to be concerned about improperly listed
   patents in the Orange Book. Last year the FTC filed an amicus brief in a lawsuit that highlighted
   the stakes.2 Avadel, a specialty pharmaceutical company, had developed an extended-release
   version of a narcolepsy drug that allowed patients to avoid having to wake up in the middle of
   the night to take a second dose. The FDA tentatively approved Avadel’s extended-release
   version in 2022, but by that time, Jazz, another pharma company, had sued Avadel for infringing

   1
     MUNIRA Z. GUNJA, ET AL., U.S. HEALTH CARE FROM A GLOBAL PERSPECTIVE, 2022: ACCELERATING SPENDING,
   WORSENING OUTCOMES, THE COMMONWEALTH FUND (2023),
   https://www.commonwealthfund.org/publications/issue-briefs/2023/jan/us-health-care-global-perspective-2022;
   Katie Adams, Rising Costs Force 39% of Americans to Skip Ration Meds, Survey Says, BECKER’S HOSP. REV. (Mar.
   22, 2021), https://www.beckershospitalreview.com/pharmacy/rising-costs-force-39-of-americans-to-skip-ration-
   meds-survey-says.html; Dan Witters, In U.S., An Estimated 18 Million Can’t Pay for Needed Drugs, GALLUP (Sept.
   21, 2021), https://news.gallup.com/poll/ 354833/estimated-million-pay-needed-drugs.aspx; Ken Alltucker, More
   than 1.3M Americans Ration Life-Saving Insulin Due to Cost. That’s ‘Very Worrisome’ to Doctors., USA TODAY
   (Oct. 17, 2022), https://www.usatoday.com/story/news/health/2022/10/17/high-cost-insulin-prompts-1-3- million-
   americans-ration-drug/10498626002/.
   2
     Fed. Trade Comm’n’s Brief as Amicus Curiae, Jazz Pharms., Inc. v. Avadel CNS Pharms., LLC, C.A. No. 21-691-
   GBW (D. Del. Nov. 10, 2022).
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   Jazz’s “Risk Evaluation and Mitigation Strategies” (“REMS”) patent—a patent that had nothing
   to do with the drug itself or an approved method of using the drug. Jazz cited the Orange Book to
   automatically trigger the 30-month stay, blocking Avadel from the market. The Federal Circuit
   court eventually held that the patent was improperly listed in the Orange Book and ordered it to
   be delisted.3 Following this order, the FDA granted final approval of Avadel’s new drug—nearly
   ten months after the original tentative approval. In that intervening period, Jazz continued to rake
   in monopoly profits and patients were deprived of a potentially superior formulation of a critical
   narcolepsy drug.4

           Concerns over improper Orange Book listings have also been raised in the context of
   device patents. For example, in late 2016 direct purchasers of the insulin Lantus brought an
   antitrust lawsuit claiming that certain device patents were improperly listed in the Orange Book,
   resulting in delay of entry of competing insulin products. That case made its way to the First
   Circuit, which agreed with the plaintiffs that device patents that do not claim the drug itself are
   not properly listed in the Orange Book as a matter of law.5 The same concern has been raised
   with regard to brand inhalers for asthma and chronic obstructive pulmonary disease. Even though
   inhalers have been on the market for decades, they have faced relatively limited generic
   competition in recent years.6

           Our laws—and even the Constitution7—enshrine an important role for patents in
   promoting innovation and creativity. But abuse of patent rights can deprive Americans of access
   to more affordable drugs and medical products, and the FTC has a long history of challenging
   these practices when they violate the antitrust laws.8

          The policy statement we’re considering today builds on this important work. This
   statement explains that patents that are improperly listed in the Orange Book can unlawfully
   harm patients, competition, and innovation, and notes that these practices may be an unfair
   method of competition and violate the FTC Act.

            The soaring price of drugs, including essential life-saving medicines, is a real crisis in our
   country, and we at the FTC have an obligation to use all our tools and authorities to combat any
   illegal business practices that may be contributing to the crisis.


   3
     Jazz Pharms., Inc. v. Avadel CNS Pharms., LLC, 60 F.4th 1373, 1380 (Fed. Cir. 2023).
   4
     See Rebecca Robbins, A Drug Company Exploited a Safety Requirement to Make Money, N.Y. TIMES (Feb. 28,
   2023), https://www.nytimes.com/2023/02/28/business/jazz-narcolepsy-avadel-patents.html (noting that Jazz’s
   narcolepsy drug “generat[ed] more than $13 billion in revenue since Jazz acquired it in 2005”).
   5
     In re Lantus Direct Purchaser Antitrust Litig., 950 F.3d 1 (1st Cir. 2020).
   6
     See Brandon J. Demkowicz, et al., Patenting Strategies on Inhaler Delivery Devices, 164 CHEST 450 (2023);
   William B. Feldman, et al., Manufacturer Revenue on Inhalers After Expiration of Primary Patents, 2000-2021, 329
   JAMA 87 (2023).
   7
     U.S. CONST. art. I, § 8, cl. 8.
   8
     See, e.g., FED. TRADE COMM’N, OVERVIEW OF FTC ACTIONS IN PHARMACEUTICAL PRODUCTS AND DISTRIBUTION
   (2022); FTC v. Actavis, Inc., 570 U.S. 136 (2013) (holding that pay-for-delay settlements can violate antitrust laws);
   FTC v. Shkreli, 581 F. Supp. 3d 579, 590 (S.D.N.Y. 2022) (banning Martin Shkreli from the pharmaceutical
   industry); In re Bristol-Myers Squibb Co., FTC File No. 0110046 (May 25, 2004) (settling charges that, among other
   things, respondent purposely made wrongful listings in the Orange Book); Biovail Corp., FTC File No. 0110094
   (Oct. 2, 2002) (same).


                                                             2
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           I am eager for us to continue approaching this work with the enormous urgency that it
   deserves, and I am grateful to the FTC teams whose talent and commitment will allow us to do
   so. Many thanks to the Office of Policy Planning for giving us the opportunity to consider this
   policy statement, including Hillary Green, Sarah Mackey, Anu Sawkar, Marc Lanoue, David
   Barclay, and Brad Vettraino.


                                                 ***




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           EXHIBIT 6
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                                          UNITED STATES
                              SECURITIES AND EXCHANGE COMMISSION
                                                                    WASHINGTON, D.C. 20549



                                                                           FORM 10-Q
(Mark One)

"        Quarterly report pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934
                                                             For the quarterly period ended March 31, 2024

                                                                                        or

!        Transition report pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934
                                                             For the transition period from                  to

                                                                   Commission File Number: 001-33500

                 JAZZ PHARMACEUTICALS PUBLIC LIMITED COMPANY
                                                               (Exact name of registrant as specified in its charter)

                                     Ireland                                                                                   XX-XXXXXXX
                           (State or other jurisdiction of                                                                    (I.R.S. Employer
                          incorporation or organization)                                                                     Identification No.)

                                                                   Fifth Floor, Waterloo Exchange,
                                                              Waterloo Road, Dublin 4, Ireland D04 E5W7
                                                                          011-353-1-634-7800
                              (Address, including zip code, and telephone number, including area code, of registrant’s principal executive offices)


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                                                 JAZZ PHARMACEUTICALS PLC
                              QUARTERLY REPORT ON FORM 10-Q FOR THE QUARTER ENDED MARCH 31, 2024

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PART I – FINANCIAL INFORMATION

Item 1.        Financial Statements



                                                   JAZZ PHARMACEUTICALS PLC
                                             CONDENSED CONSOLIDATED BALANCE SHEETS
                                                           (In thousands)
                                                            (Unaudited)
                                                                                                               March 31,            December 31,
                                                                                                                2024                    2023
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                                                     JAZZ PHARMACEUTICALS PLC
                                        CONDENSED CONSOLIDATED STATEMENTS OF INCOME (LOSS)
                                                  (In thousands, except per share amounts)
                                                                (Unaudited)

                                                                                                                             Three Months Ended
                                                                                                                                  March 31,
                                                                                                                          2024                2023
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  >hl`kp `e cfjj f] `em\jk\\j                                                                                                 /*125               /*..3
G\k `eZfd\ &cfjj'                                                                                                  "        &/2*4/6' "           47*20.

G\k `eZfd\ &cfjj' g\i fi[`eXip j_Xi\8
 ;Xj`Z                                                                                                             "             &.,01' "            /,.7
 =`clk\[                                                                                                           "             &.,01' "            /,.2
P\`^_k\[+Xm\iX^\ fi[`eXip j_Xi\j lj\[ `e g\i j_Xi\ ZXcZlcXk`fej + YXj`Z                                                         40*315           41*272
P\`^_k\[+Xm\iX^\ fi[`eXip j_Xi\j lj\[ `e g\i j_Xi\ ZXcZlcXk`fej + [`clk\[                                                       40*315           51*55/




                            M_\ XZZfdgXep`e^ efk\j Xi\ Xe `ek\^iXc gXik f] k_\j\ Zfe[\ej\[ Zfejfc`[Xk\[ ]`eXeZ`Xc jkXk\d\ekj,



                                                                            2
MXYc\ f] <fek\ekj
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                                             JAZZ PHARMACEUTICALS PLC
                          CONDENSED CONSOLIDATED STATEMENTS OF COMPREHENSIVE INCOME (LOSS)
                                                     (In thousands)
                                                      (Unaudited)

                                                                                                                            Three Months Ended
                                                                                                                                 March 31,
                                                                                                                         2024                2023
G\k `eZfd\ &cfjj'                                                                                                   "      &/2*4/6' "           47*20.
Hk_\i Zfdgi\_\ej`m\ `eZfd\ &cfjj'8
 ?fi\`^e Zlii\eZp kiXejcXk`fe X[aljkd\ekj                                                                                  &22*.46'            /23*057
 Nei\Xc`q\[ ^X`e fe ZXj_ ]cfn _\[^`e^ XZk`m`k`\j* e\k f] `eZfd\ kXo \og\ej\ f] "/*50. Xe[ "w* i\jg\Zk`m\cp                   3*/55                  w
 @X`e fe ZXj_ ]cfn _\[^`e^ XZk`m`k`\j i\ZcXjj`]`\[ ]ifd XZZldlcXk\[ fk_\i Zfdgi\_\ej`m\ `eZfd\ &cfjj' kf `ek\i\jk
 \og\ej\* e\k f] `eZfd\ kXo \og\ej\ f] "23/ Xe[ "w* i\jg\Zk`m\cp                                                            &/*134'                 w
Hk_\i Zfdgi\_\ej`m\ `eZfd\ &cfjj'                                                                                          &2.*025'            /23*057
MfkXc Zfdgi\_\ej`m\ `eZfd\ &cfjj'                                                                                   "      &32*643' "          0/2*477




                           M_\ XZZfdgXep`e^ efk\j Xi\ Xe `ek\^iXc gXik f] k_\j\ Zfe[\ej\[ Zfejfc`[Xk\[ ]`eXeZ`Xc jkXk\d\ekj,



                                                                           3
MXYc\ f] <fek\ekj
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                                                     JAZZ PHARMACEUTICALS PLC
                                     CONDENSED CONSOLIDATED STATEMENTS OF SHAREHOLDERS’ EQUITY
                                                             (In thousands)
                                                              (Unaudited)
                                                                                                                                      Accumulated
                                     Ordinary Shares             Non-voting Euro Deferred         Capital         Additional             Other
                                                                                                Redemption         Paid-in           Comprehensive        Retained            Total
                                   Shares           Amount         Shares         Amount         Reserve           Capital               Loss             Earnings            Equity
 Balance at December 31, 2023        40*033     "            4        2*...   "        33   "           251   "     1*477*732    "          &620*/25'   "    656*434      "   1*514*775
 BjjlXeZ\ f] fi[`eXip j_Xi\j `e
 ZfealeZk`fe n`k_ \o\iZ`j\ f]
 j_Xi\ fgk`fej                              5            w              w              w                 w               272                      w                 w               272
 BjjlXeZ\ f] fi[`eXip j_Xi\j `e
 ZfealeZk`fe n`k_ m\jk`e^ f]
 i\jki`Zk\[ jkfZb le`kj                 464              w              w              w                 w                 w                      w                 w                  w
 BjjlXeZ\ f] fi[`eXip j_Xi\j `e
 ZfealeZk`fe n`k_ m\jk`e^ f]
 g\i]fidXeZ\+YXj\[ i\jki`Zk\[
 jkfZb le`kj                             6.              w              w              w                 w                 w                      w                 w                  w
 L_Xi\j n`k__\c[ ]fi gXpd\ek f]
 \dgcfp\\%j n`k__fc[`e^ kXo
 c`XY`c`kp                               w               w              w              w                 w            &27*074'                    w                 w           &27*074'
 L_Xi\+YXj\[ Zfdg\ejXk`fe                w               w              w              w                 w             41*/1/                     w                 w            41*/1/
 Hk_\i Zfdgi\_\ej`m\ cfjj                w               w              w              w                 w                 w                 &2.*025'               w           &2.*025'
 G\k cfjj                                w               w              w              w                 w                 w                      w            &/2*4/6'         &/2*4/6'
 Balance at March 31, 2024           41*.06     "            4        2*...   "        33   "           251   "     1*5/2*061    "          &660*172'   "      642*.16    "   1*474*24/




                                                                                                                                      Accumulated
                                                                                                  Capital         Additional             Other
                                     Ordinary Shares             Non-voting Euro Deferred       Redemption         Paid-in           Comprehensive          Retained          Total
                                   Shares           Amount         Shares         Amount         Reserve           Capital               Loss               Earnings          Equity
 Balance at December 31, 2022        41*0/2     "            4        2*...   "        33   "           250   "     1*255*/02    "        &/*/03*3.7'   "      511*364    "   1*.63*512
 BjjlXeZ\ f] fi[`eXip j_Xi\j `e
 ZfealeZk`fe n`k_ \o\iZ`j\ f]
 j_Xi\ fgk`fej                          /66              w              w              w                 w             0/*006                     w                 w            0/*006
 BjjlXeZ\ f] fi[`eXip j_Xi\j `e
 ZfealeZk`fe n`k_ m\jk`e^ f]
 i\jki`Zk\[ jkfZb le`kj                 363              w              w              w                 w                 w                      w                 w                  w
 L_Xi\j n`k__\c[ ]fi gXpd\ek f]
 \dgcfp\\%j n`k__fc[`e^ kXo
 c`XY`c`kp                               w               w              w              w                 w            &21*044'                    w                 w           &21*044'
 L_Xi\+YXj\[ Zfdg\ejXk`fe                w               w              w              w                 w             34*424                     w                 w            34*424
 Hk_\i Zfdgi\_\ej`m\ `eZfd\              w               w              w              w                 w                 w                 /23*057                w           /23*057
 G\k `eZfd\                              w               w              w              w                 w                 w                      w             47*20.           47*20.
 Balance at March 31, 2023           41*765     "            4        2*...   "        33   "           250   "     1*3//*510    "          &76.*01.'   "      6.1*..4    "   1*113*.2/




                                  M_\ XZZfdgXep`e^ efk\j Xi\ Xe `ek\^iXc gXik f] k_\j\ Zfe[\ej\[ Zfejfc`[Xk\[ ]`eXeZ`Xc jkXk\d\ekj,



                                                                                            4
MXYc\ f] <fek\ekj
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                                                     JAZZ PHARMACEUTICALS PLC
                                          CONDENSED CONSOLIDATED STATEMENTS OF CASH FLOWS
                                                             (In thousands)
                                                              (Unaudited)
                                                                                                                              Three Months Ended
                                                                                                                                   March 31,
                                                                                                                          2024                 2023
Operating activities
G\k `eZfd\ &cfjj'                                                                                                 "          &/2*4/6' "               47*20.
:[aljkd\ekj kf i\ZfeZ`c\ e\k `eZfd\ &cfjj' kf e\k ZXj_ gifm`[\[ Yp fg\iXk`e^ XZk`m`k`\j8
  BekXe^`Yc\ Xjj\k Xdfik`qXk`fe                                                                                              /33*51.                /27*564
  L_Xi\+YXj\[ Zfdg\ejXk`fe                                                                                                    4/*22/                 34*130
  :Zhl`j`k`fe XZZflek`e^ `em\ekfip ]X`i mXcl\ jk\g+lg X[aljkd\ek                                                              06*721                 4.*236
  :Zhl`i\[ `e+gifZ\jj i\j\XiZ_ Xe[ [\m\cfgd\ek                                                                                /.*...                  /*...
  =\gi\Z`Xk`fe                                                                                                                 5*431                  5*352
  Iifm`j`fe ]fi cfjj\j fe XZZflekj i\Z\`mXYc\ Xe[ `em\ekfip                                                                    5*2.1                  0*1/4
  Gfe+ZXj_ `ek\i\jk \og\ej\                                                                                                    3*766                  2*544
  =\]\ii\[ kXo Y\e\]`k                                                                                                       &44*163'               &44*.4/'
  Hk_\i efe+ZXj_ kiXejXZk`fej                                                                                                 /2*452                 /4*551
  <_Xe^\j `e Xjj\kj Xe[ c`XY`c`k`\j8
     :ZZflekj i\Z\`mXYc\                                                                                                      &6*221'                06*24.
     Bem\ekfi`\j                                                                                                             &/0*622'                &4*044'
     Ii\gX`[ \og\ej\j Xe[ fk_\i Zlii\ek Xjj\kj                                                                                32*725                 20*.10
     Hg\iXk`e^ c\Xj\ Xjj\kj                                                                                                    1*5.1                  2*3.6
     Hk_\i efe+Zlii\ek Xjj\kj                                                                                                 &2*.7.'                &7*32/'
     :ZZflekj gXpXYc\                                                                                                        &/7*375'                12*064
     :ZZil\[ c`XY`c`k`\j                                                                                                      12*455                &74*763'
     BeZfd\ kXo\j gXpXYc\                                                                                                     /2*636                 03*2/1
     =\]\ii\[ i\m\el\                                                                                                             w                    &237'
     Hg\iXk`e^ c\Xj\ c`XY`c`k`\j* c\jj Zlii\ek gfik`fe                                                                        &0*76.'                &2*737'
     Hk_\i efe+Zlii\ek c`XY`c`k`\j                                                                                            &1*61/'                 /*613
G\k ZXj_ gifm`[\[ Yp fg\iXk`e^ XZk`m`k`\j                                                                                    045*007                10.*5.6
Investing activities
  :Zhl`j`k`fe f] `em\jkd\ekj                                                                                                &153*...'                     w
  :Zhl`i\[ `e+gifZ\jj i\j\XiZ_ Xe[ [\m\cfgd\ek                                                                               &/.*...'                 &/*...'
  IliZ_Xj\j f] gifg\ikp* gcXek Xe[ \hl`gd\ek                                                                                  &4*7.2'                 &1*600'
  IifZ\\[j ]ifd dXkli`kp f] `em\jkd\ekj                                                                                      /0.*...                      w
G\k ZXj_ lj\[ `e `em\jk`e^ XZk`m`k`\j                                                                                       &05/*7.2'                 &2*600'
Financing activities
  IXpd\ek f] \dgcfp\\ n`k__fc[`e^ kXo\j i\cXk\[ kf j_Xi\+YXj\[ XnXi[j                                                        &27*074'                &21*044'
  K\gXpd\ekj f] cfe^+k\id [\Yk                                                                                                &5*53.'                 &5*53.'
  IifZ\\[j ]ifd \dgcfp\\ \hl`kp `eZ\ek`m\ Xe[ gliZ_Xj\ gcXej                                                                     272                  0/*006
G\k ZXj_ lj\[ `e ]`eXeZ`e^ XZk`m`k`\j                                                                                        &34*330'                &07*566'
>]]\Zk f] \oZ_Xe^\ iXk\j fe ZXj_ Xe[ ZXj_ \hl`mXc\ekj                                                                         &/*476'                    11/
G\k `eZi\Xj\ &[\Zi\Xj\' `e ZXj_ Xe[ ZXj_ \hl`mXc\ekj                                                                         &40*703'                064*207
<Xj_ Xe[ ZXj_ \hl`mXc\ekj* Xk Y\^`ee`e^ f] g\i`f[                                                                          /*3.4*1/.                 66/*260
Cash and cash equivalents, at end of period                                                                       "        /*221*163 "             /*/45*7//



                              M_\ XZZfdgXep`e^ efk\j Xi\ Xe `ek\^iXc gXik f] k_\j\ Zfe[\ej\[ Zfejfc`[Xk\[ ]`eXeZ`Xc jkXk\d\ekj,



                                                                                 5
MXYc\ f] <fek\ekj
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                                                  JAZZ PHARMACEUTICALS PLC
                                    NOTES TO CONDENSED CONSOLIDATED FINANCIAL STATEMENTS
                                                          (Unaudited)

1. The Company and Summary of Significant Accounting Policies
      CXqq I_XidXZ\lk`ZXcj gcZ `j X ^cfYXc Y`fg_XidXZ\lk`ZXc ZfdgXep n_fj\ gligfj\ `j kf `eefmXk\ kf kiXej]fid k_\ c`m\j f] gXk`\ekj Xe[ k_\`i ]Xd`c`\j,
P\ Xi\ [\[`ZXk\[ kf [\m\cfg`e^ c`]\+Z_Xe^`e^ d\[`Z`e\j ]fi g\fgc\ n`k_ j\i`flj [`j\Xj\j + f]k\e n`k_ c`d`k\[ fi ef k_\iXg\lk`Z fgk`fej, P\ _Xm\ X [`m\ij\
gfik]fc`f f] dXib\k\[ d\[`Z`e\j* `eZcl[`e^ c\X[`e^ k_\iXg`\j ]fi jc\\g [`jfi[\ij Xe[ \g`c\gjp* Xe[ X ^ifn`e^ gfik]fc`f f] ZXeZ\i ki\Xkd\ekj, Hli gXk`\ek+
]fZlj\[ Xe[ jZ`\eZ\+[i`m\e XggifXZ_ gfn\ij g`fe\\i`e^ i\j\XiZ_ Xe[ [\m\cfgd\ek X[mXeZ\d\ekj XZifjj fli ifYljk g`g\c`e\ f] `eefmXk`m\ k_\iXg\lk`Zj `e
feZfcf^p Xe[ e\lifjZ`\eZ\,
      Hli c\X[ dXib\k\[ gif[lZkj* c`jk\[ Y\cfn* Xi\ Xggifm\[ `e Zfleki`\j Xifle[ k_\ nfic[ kf `dgifm\ gXk`\ek ZXi\,
      Neuroscience
     s   Xywav® (calcium, magnesium, potassium, and sodium oxybates) oral solution* X gif[lZk Xggifm\[ Yp k_\ N,L, ?ff[ Xe[ =il^
         :[d`e`jkiXk`fe* fi ?=:* `e Clcp 0.0.* Xe[ cXleZ_\[ `e k_\ N,L, `e Gfm\dY\i 0.0. ]fi k_\ ki\Xkd\ek f] ZXkXgc\op fi \oZ\jj`m\ [Xpk`d\
         jc\\g`e\jj* fi >=L* `e gXk`\ekj j\m\e p\Xij f] X^\ Xe[ fc[\i n`k_ eXiZfc\gjp* Xe[ Xcjf Xggifm\[ Yp ?=: `e :l^ljk 0.0/ ]fi k_\ ki\Xkd\ek f]
         `[`fgXk_`Z _pg\ijfde`X* fi BA* `e X[lckj Xe[ cXleZ_\[ `e k_\ N,L, `e Gfm\dY\i 0.0/, QpnXm ZfekX`ej 70# c\jj jf[`ld k_Xe Qpi\dt, QpnXm `j
         Xcjf Xggifm\[ `e <XeX[X ]fi k_\ ki\Xkd\ek f] ZXkXgc\op `e gXk`\ekj n`k_ eXiZfc\gjp9
     s   Xyrem (sodium oxybate) oral solution* X gif[lZk Xggifm\[ Yp ?=: Xe[ [`jki`Ylk\[ `e k_\ N,L, ]fi k_\ ki\Xkd\ek f] ZXkXgc\op fi >=L `e gXk`\ekj
         j\m\e p\Xij f] X^\ fi fc[\i n`k_ eXiZfc\gjp9 CXqq Xcjf dXib\kj Qpi\d `e <XeX[X ]fi k_\ ki\Xkd\ek f] ZXkXgc\op `e gXk`\ekj n`k_ eXiZfc\gjp,
         Qpi\d `j Xcjf Xggifm\[ Xe[ [`jki`Ylk\[ `e k_\ >lifg\Xe Ne`fe* fi >N &>N dXib\k Xlk_fi`qXk`fej `eZcl[\ Gfik_\ie Bi\cXe['* @i\Xk ;i`kX`e Xe[
         fk_\i dXib\kj k_ifl^_ X c`Z\ej`e^ X^i\\d\ek9 Xe[
     s   Epidiolex® (cannabidiol) oral solution* X gif[lZk Xggifm\[ Yp ?=: Xe[ cXleZ_\[ `e k_\ N,L, `e 0./6 Yp @P I_XidXZ\lk`ZXcj gcZ* fi @P* Xe[
         Zlii\ekcp `e[`ZXk\[ ]fi k_\ ki\Xkd\ek f] j\`qli\j XjjfZ`Xk\[ n`k_ E\eefo+@XjkXlk jpe[ifd\* fi E@L* =iXm\k jpe[ifd\* fi =L* fi klY\iflj
         jZc\ifj`j Zfdgc\o* fi ML<* `e gXk`\ekj fe\ p\Xi f] X^\ fi fc[\i9 `e k_\ >N Xe[ @i\Xk ;i`kX`e &n_\i\ `k `j dXib\k\[ Xj >g`[pfc\ot' Xe[ fk_\i
         dXib\kj* `k `j Xggifm\[ ]fi X[aleZk`m\ ki\Xkd\ek f] j\`qli\j XjjfZ`Xk\[ n`k_ E@L fi =L* `e ZfealeZk`fe n`k_ ZcfYXqXd &>N Xe[ @i\Xk ;i`kX`e
         fecp'* `e gXk`\ekj 0 p\Xij f] X^\ Xe[ fc[\i Xe[ ]fi X[aleZk`m\ ki\Xkd\ek f] j\`qli\j XjjfZ`Xk\[ n`k_ ML< `e gXk`\ekj 0 p\Xij f] X^\ Xe[ fc[\i,
      Oncology
     s   Rylaze® (asparaginase erwinia chrysanthemi (recombinant)-rywn)* X gif[lZk Xggifm\[ Yp ?=: `e Cle\ 0.0/ Xe[ cXleZ_\[ `e k_\ N,L, `e
         Clcp 0.0/ ]fi lj\ Xj X Zfdgfe\ek f] X dlck`+X^\ek Z_\dfk_\iXg\lk`Z i\^`d\e ]fi k_\ ki\Xkd\ek f] XZlk\ cpdg_fYcXjk`Z c\lb\d`X fi cpdg_fYcXjk`Z
         cpdg_fdX `e X[lckj Xe[ g\[`Xki`Z gXk`\ekj X^\[ fe\ dfek_ fi fc[\i n_f _Xm\ [\m\cfg\[ _pg\ij\ej`k`m`kp kf E. coli+[\i`m\[ XjgXiX^`eXj\, Be
         L\gk\dY\i 0.01* k_\ >lifg\Xe <fdd`jj`fe ^iXek\[ dXib\k`e^ Xlk_fi`qXk`fe ]fi k_`j k_\iXgp le[\i k_\ kiX[\ eXd\ >eipcXq\9 Xe[
     s   Zepzelca® (lurbinectedin)* X gif[lZk Xggifm\[ Yp ?=: `e Cle\ 0.0. le[\i ?=:%j XZZ\c\iXk\[ XggifmXc gXk_nXp Xe[ cXleZ_\[ `e k_\ N,L, `e
         Clcp 0.0. ]fi k_\ ki\Xkd\ek f] X[lck gXk`\ekj n`k_ d\kXjkXk`Z jdXcc Z\cc cle^ ZXeZ\i* fi L<E<* n`k_ [`j\Xj\ gif^i\jj`fe fe fi X]k\i gcXk`eld+YXj\[
         Z_\dfk_\iXgp9 `e <XeX[X* S\gq\cZX i\Z\`m\[ Zfe[`k`feXc XggifmXc `e L\gk\dY\i 0.0/ ]fi k_\ ki\Xkd\ek f] X[lckj n`k_ LkX^\ BBB fi d\kXjkXk`Z
         L<E<* n_f _Xm\ gif^i\jj\[ fe fi X]k\i gcXk`eld+ZfekX`e`e^ k_\iXgp,
      M_ifl^_flk k_`j JlXik\icp K\gfik fe ?fid /.+J* lec\jj fk_\in`j\ `e[`ZXk\[ fi k_\ Zfek\ok fk_\in`j\ i\hl`i\j* Xcc i\]\i\eZ\j kf xCXqq
I_XidXZ\lk`ZXcj*y xk_\ i\^`jkiXek*y !k_\ <fdgXep!* xn\*y xlj*y Xe[ xfliy i\]\i kf CXqq I_XidXZ\lk`ZXcj gcZ Xe[ `kj Zfejfc`[Xk\[ jlYj`[`Xi`\j, M_ifl^_flk
k_`j JlXik\icp K\gfik fe ?fid /.+J* Xcc i\]\i\eZ\j kf xfi[`eXip j_Xi\jy i\]\i kf CXqq I_XidXZ\lk`ZXcj gcZ{j fi[`eXip j_Xi\j,

  Basis of Presentation
      M_\j\ leXl[`k\[ Zfe[\ej\[ Zfejfc`[Xk\[ ]`eXeZ`Xc jkXk\d\ekj _Xm\ Y\\e gi\gXi\[ ]fccfn`e^ k_\ i\hl`i\d\ekj f] k_\ N,L, L\Zli`k`\j Xe[ >oZ_Xe^\
<fdd`jj`fe ]fi `ek\i`d i\gfik`e^, :j g\id`kk\[ le[\i k_fj\ ilc\j* Z\ikX`e ]ffkefk\j Xe[ fk_\i ]`eXeZ`Xc `e]fidXk`fe k_Xk Xi\ efidXccp i\hl`i\[ Yp N,L,
^\e\iXccp XZZ\gk\[ XZZflek`e^ gi`eZ`gc\j* fi N,L, @::I* ZXe Y\ Zfe[\ej\[ fi fd`kk\[, M_\ `e]fidXk`fe `eZcl[\[ `e k_`j JlXik\icp K\gfik fe ?fid /."J
j_flc[ Y\ i\X[ `e ZfealeZk`fe n`k_ fli



                                                                             6
MXYc\ f] <fek\ekj
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XeelXc Xl[`k\[ Zfejfc`[Xk\[ ]`eXeZ`Xc jkXk\d\ekj Xe[ XZZfdgXep`e^ efk\j `eZcl[\[ `e fli :eelXc K\gfik fe ?fid /."D ]fi k_\ p\Xi \e[\[
=\Z\dY\i 1/* 0.01,
       Be k_\ fg`e`fe f] dXeX^\d\ek* k_\j\ Zfe[\ej\[ Zfejfc`[Xk\[ ]`eXeZ`Xc jkXk\d\ekj _Xm\ Y\\e gi\gXi\[ fe k_\ jXd\ YXj`j Xj k_\ XeelXc Xl[`k\[
Zfejfc`[Xk\[ ]`eXeZ`Xc jkXk\d\ekj Xe[ `eZcl[\ Xcc X[aljkd\ekj* Zfej`jk`e^ fecp f] efidXc i\Zlii`e^ X[aljkd\ekj* Zfej`[\i\[ e\Z\jjXip ]fi k_\ ]X`i
gi\j\ekXk`fe f] fli ]`eXeZ`Xc gfj`k`fe Xe[ fg\iXk`e^ i\jlckj, M_\ i\jlckj ]fi k_\ k_i\\ dfek_j \e[\[ FXiZ_ 1/* 0.02* Xi\ efk e\Z\jjXi`cp `e[`ZXk`m\ f] k_\
i\jlckj kf Y\ \og\Zk\[ ]fi k_\ p\Xi \e[`e^ =\Z\dY\i 1/* 0.02* ]fi Xep fk_\i `ek\i`d g\i`f[ fi ]fi Xep ]lkli\ g\i`f[,
     Hli j`^e`]`ZXek XZZflek`e^ gfc`Z`\j _Xm\ efk Z_Xe^\[ jlYjkXek`Xccp ]ifd k_fj\ gi\m`fljcp [\jZi`Y\[ `e fli :eelXc K\gfik fe ?fid /."D ]fi k_\ p\Xi
\e[\[ =\Z\dY\i 1/* 0.01,
      M_\j\ Zfe[\ej\[ Zfejfc`[Xk\[ ]`eXeZ`Xc jkXk\d\ekj `eZcl[\ k_\ XZZflekj f] CXqq I_XidXZ\lk`ZXcj gcZ Xe[ fli jlYj`[`Xi`\j* Xe[ `ek\iZfdgXep
kiXejXZk`fej Xe[ YXcXeZ\j _Xm\ Y\\e \c`d`eXk\[,
      Hli fg\iXk`e^ j\^d\ek `j i\gfik\[ `e X dXee\i Zfej`jk\ek n`k_ k_\ `ek\ieXc i\gfik`e^ gifm`[\[ kf k_\ Z_`\] fg\iXk`e^ [\Z`j`fe dXb\i* fi <H=F, Hli
<H=F _Xj Y\\e `[\ek`]`\[ Xj fli Z_`\] \o\Zlk`m\ f]]`Z\i, P\ _Xm\ [\k\id`e\[ k_Xk n\ fg\iXk\ `e fe\ Ylj`e\jj j\^d\ek* n_`Z_ `j k_\ `[\ek`]`ZXk`fe*
[\m\cfgd\ek Xe[ Zfdd\iZ`Xc`qXk`fe f] d\Xe`e^]lc g_XidXZ\lk`ZXc gif[lZkj k_Xk X[[i\jj led\k d\[`ZXc e\\[j,

  Use of Estimates
       M_\ gi\gXiXk`fe f] ]`eXeZ`Xc jkXk\d\ekj `e Zfe]fid`kp n`k_ N,L, @::I i\hl`i\j dXeX^\d\ek kf dXb\ \jk`dXk\j Xe[ Xjjldgk`fej k_Xk X]]\Zk k_\
i\gfik\[ Xdflekj f] Xjj\kj* c`XY`c`k`\j* i\m\el\j Xe[ \og\ej\j* Xe[ i\cXk\[ [`jZcfjli\j `e k_\ Zfe[\ej\[ Zfejfc`[Xk\[ ]`eXeZ`Xc jkXk\d\ekj Xe[ XZZfdgXep`e^
efk\j, FXeX^\d\ek YXj\j `kj \jk`dXk\j fe _`jkfi`ZXc \og\i`\eZ\ Xe[ fe Xjjldgk`fej Y\c`\m\[ kf Y\ i\XjfeXYc\ le[\i k_\ Z`iZldjkXeZ\j, :ZklXc i\jlckj Zflc[
[`]]\i dXk\i`Xccp ]ifd k_fj\ \jk`dXk\j,

  Adoption of New Accounting Standards
       Be Gfm\dY\i 0.01* k_\ ?`eXeZ`Xc :ZZflek`e^ LkXe[Xi[j ;fXi[* fi ?:L;* `jjl\[ :LN 0.01+.5* xL\^d\ek K\gfik`e^ &Mfg`Z 06.' + Bdgifm\d\ekj kf
K\gfikXYc\ L\^d\ek =`jZcfjli\jy* n_`Z_ i\hl`i\j \e_XeZ\[ [`jZcfjli\j XYflk j`^e`]`ZXek j\^d\ek \og\ej\j, M_\ Xd\e[d\ekj Xi\ \]]\Zk`m\ i\kifjg\Zk`m\cp
kf Xcc gi`fi g\i`f[j gi\j\ek\[ `e k_\ ]`eXeZ`Xc jkXk\d\ekj* ]fi ]`jZXc p\Xij Y\^`ee`e^ X]k\i =\Z\dY\i /3* 0.01, M_\ e\n ^l`[XeZ\ `j efk \og\Zk\[ kf _Xm\ X
dXk\i`Xc `dgXZk fe fli ]`eXeZ`Xc jkXk\d\ek [`jZcfjli\j,

  Significant Risks and Uncertainties
      A`jkfi`ZXccp* fli Ylj`e\jj nXj jlYjkXek`Xccp [\g\e[\ek fe Qpi\d Xe[ n_`c\ n\ \og\Zk k_Xk fli Ylj`e\jj n`cc Zfek`el\ kf d\Xe`e^]lccp [\g\e[ fe
fopYXk\ i\m\el\j ]ifd Yfk_ QpnXm Xe[ Qpi\d* k_\i\ `j ef ^lXiXek\\ k_Xk fopYXk\ i\m\el\j n`cc i\dX`e Xk Zlii\ek c\m\cj, Be k_`j i\^Xi[* fli XY`c`kp kf
dX`ekX`e fopYXk\ i\m\el\j Xe[ i\Xc`q\ k_\ Xek`Z`gXk\[ Y\e\]`kj ]ifd fli `em\jkd\ek `e QpnXm Xi\ jlYa\Zk kf X eldY\i f] i`jbj Xe[ leZ\ikX`ek`\j `eZcl[`e^*
n`k_flk c`d`kXk`fe* k_fj\ i\cXk\[ kf k_\ cXleZ_ f] QpnXm ]fi k_\ ki\Xkd\ek f] BA `e X[lckj Xe[ X[fgk`fe `e k_Xk `e[`ZXk`fe9 Zfdg\k`k`fe ]ifd k_\ `ekif[lZk`fe
f] knf Xlk_fi`q\[ ^\e\i`Z* fi :@* m\ij`fej f] _`^_+jf[`ld fopYXk\ Xe[ X YiXe[\[ ]`o\[+[fj\* _`^_+jf[`ld fopYXk\* :mX[\c{j Eldipq* ]fi ki\Xkd\ek f]
ZXkXgc\op Xe[-fi >=L `e eXiZfc\gjp `e k_\ N,L, dXib\k* Xj n\cc Xj gfk\ek`Xc ]lkli\ Zfdg\k`k`fe ]ifd X[[`k`feXc :@ m\ij`fej f] _`^_+jf[`ld fopYXk\ Xe[
]ifd ^\e\i`Z m\ij`fej f] _`^_+jf[`ld fopYXk\ Xe[ ]ifd fk_\i Zfdg\k`kfij9 `eZi\Xj\[ gi`Z`e^ gi\jjli\ ]ifd* Z_Xe^\j `e gfc`Z`\j Yp* fi i\jki`Zk`fej fe
i\`dYlij\d\ek `dgfj\[ Yp* k_`i[ gXikp gXpfij* `eZcl[`e^ fli XY`c`kp kf dX`ekX`e X[\hlXk\ Zfm\iX^\ Xe[ i\`dYlij\d\ek ]fi QpnXm Xe[ Qpi\d9 `eZi\Xj\[
i\YXk\j i\hl`i\[ kf dX`ekX`e XZZ\jj kf fli gif[lZkj9 Z_Xcc\e^\j kf fli `ek\cc\ZklXc gifg\ikp Xifle[ QpnXm Xe[-fi Qpi\d* `eZcl[`e^ ]ifd g\e[`e^ Xek`kiljk
Xe[ `ek\cc\ZklXc gifg\ikp c`k`^Xk`fe9 Xe[ Zfek`el\[ XZZ\gkXeZ\ f] QpnXm Xe[ Qpi\d Yp g_pj`Z`Xej Xe[ gXk`\ekj, : j`^e`]`ZXek [\Zc`e\ `e fopYXk\ i\m\el\j
Zflc[ ZXlj\ lj kf i\[lZ\ fli fg\iXk`e^ \og\ej\j fi j\\b kf iX`j\ X[[`k`feXc ]le[j* n_`Z_ nflc[ _Xm\ X dXk\i`Xc X[m\ij\ \]]\Zk fe fli Ylj`e\jj* ]`eXeZ`Xc
Zfe[`k`fe* i\jlckj f] fg\iXk`fej Xe[ ^ifnk_ gifjg\Zkj* `eZcl[`e^ fe fli XY`c`kp kf XZhl`i\* `e+c`Z\ej\ fi [\m\cfg e\n gif[lZkj kf ^ifn fli Ylj`e\jj,
       Be X[[`k`fe kf i`jbj i\cXk\[ jg\Z`]`ZXccp kf QpnXm Xe[ Qpi\d* n\ Xi\ jlYa\Zk kf fk_\i Z_Xcc\e^\j Xe[ i`jbj i\cXk\[ kf jlZZ\jj]lccp Zfdd\iZ`Xc`q`e^ X
gfik]fc`f f] feZfcf^p gif[lZkj Xe[ fk_\i e\lifjZ`\eZ\ gif[lZkj* Xe[ fk_\i i`jbj jg\Z`]`Z kf fli Ylj`e\jj Xe[ fli XY`c`kp kf \o\Zlk\ fe fli jkiXk\^p* Xj n\cc Xj
i`jbj Xe[ leZ\ikX`ek`\j Zfddfe kf ZfdgXe`\j `e k_\ g_XidXZ\lk`ZXc `e[ljkip n`k_ [\m\cfgd\ek Xe[ Zfdd\iZ`Xc fg\iXk`fej* `eZcl[`e^* n`k_flk c`d`kXk`fe*
i`jbj Xe[ leZ\ikX`ek`\j XjjfZ`Xk\[ n`k_8 fe^f`e^ Zc`e`ZXc i\j\XiZ_ XZk`m`kp Xe[ i\cXk\[ flkZfd\j* fYkX`e`e^ i\^lcXkfip XggifmXc f] fli cXk\+jkX^\ gif[lZk
ZXe[`[Xk\j9 \]]\Zk`m\cp Zfdd\iZ`Xc`q`e^ fli Xggifm\[ fi XZhl`i\[ gif[lZkj jlZ_ Xj >g`[`fc\o* KpcXq\ Xe[ S\gq\cZX9 fYkX`e`e^ Xe[ dX`ekX`e`e^ X[\hlXk\
Zfm\iX^\ Xe[ i\`dYlij\d\ek ]fi fli gif[lZkj9 ZfekiXZk`e^ Xe[ i\YXk\j kf g_XidXZp Y\e\]`k dXeX^\ij Xe[ j`d`cXi fi^Xe`qXk`fej k_Xk i\[lZ\ fli e\k i\m\el\9
`eZi\Xj`e^ jZilk`ep f] g_XidXZ\lk`ZXc gif[lZk gi`Z`e^ Xe[ i\jlck`e^



                                                                              7
MXYc\ f] <fek\ekj
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Z_Xe^\j `e _\Xck_ZXi\ cXnj Xe[ gfc`Zp9 dXib\k XZZ\gkXeZ\9 i\^lcXkfip ZfeZ\iej n`k_ Zfekifcc\[ jlYjkXeZ\j ^\e\iXccp Xe[ k_\ gfk\ek`Xc ]fi XYlj\9 ]lkli\
c\^`jcXk`fe* XZk`fe Yp k_\ N,L, ?\[\iXc @fm\ied\ek Xlk_fi`q`e^ k_\ jXc\* [`jki`Ylk`fe* lj\* Xe[ `ejliXeZ\ i\`dYlij\d\ek f] efe+?=: Xggifm\[ ZXeeXY`ef`[
gif[lZkj9 [\cXpj fi gifYc\dj `e k_\ jlggcp f] fli gif[lZkj* cfjj f] j`e^c\ jfliZ\ jlggc`\ij fi ]X`cli\ kf Zfdgcp n`k_ dXel]XZkli`e^ i\^lcXk`fej9 [\cXpj fi
gifYc\dj n`k_ k_`i[ gXik`\j k_Xk Xi\ gXik f] fli dXel]XZkli`e^ Xe[ jlggcp Z_X`e9 `[\ek`]p`e^* XZhl`i`e^ fi `e+c`Z\ej`e^ X[[`k`feXc gif[lZkj fi gif[lZk
ZXe[`[Xk\j9 fli XY`c`kp kf i\Xc`q\ k_\ Xek`Z`gXk\[ Y\e\]`kj f] XZhl`i\[ fi `e+c`Z\ej\[ gif[lZkj fi gif[lZk ZXe[`[Xk\j* jlZ_ Xj >g`[`fc\o Xe[ qXe`[XkXdXY* Xk
k_\ \og\Zk\[ c\m\cj* n`k_ k_\ \og\Zk\[ Zfjkj Xe[ n`k_`e k_\ \og\Zk\[ k`d\]iXd\9 g_XidXZ\lk`ZXc gif[lZk [\m\cfgd\ek Xe[ k_\ `e_\i\ek leZ\ikX`ekp f]
Zc`e`ZXc jlZZ\jj9 k_\ Z_Xcc\e^\j f] gifk\Zk`e^ Xe[ \e_XeZ`e^ fli `ek\cc\ZklXc gifg\ikp i`^_kj9 Zfdgcp`e^ n`k_ Xggc`ZXYc\ i\^lcXkfip i\hl`i\d\ekj9 Xe[
gfjj`Yc\ i\jki`Zk`fej fe fli XY`c`kp Xe[ ]c\o`Y`c`kp kf glijl\ Z\ikX`e ]lkli\ fggfikle`k`\j Xj X i\jlck f] fli jlYjkXek`Xc flkjkXe[`e^ [\Yk fYc`^Xk`fej,

  Concentrations of Risk
      ?`eXeZ`Xc `ejkild\ekj k_Xk gfk\ek`Xccp jlYa\Zk lj kf ZfeZ\ekiXk`fej f] Zi\[`k i`jb Zfej`jk f] ZXj_* ZXj_ \hl`mXc\ekj* `em\jkd\ekj Xe[ [\i`mXk`m\
ZfekiXZkj, Hli `em\jkd\ek gfc`Zp g\id`kj `em\jkd\ekj `e N,L, ]\[\iXc ^fm\ied\ek Xe[ ]\[\iXc X^\eZp j\Zli`k`\j* ZfigfiXk\ Yfe[j fi Zfdd\iZ`Xc gXg\i
`jjl\[ Yp N,L, ZfigfiXk`fej* dfe\p dXib\k `ejkild\ekj* Z\ikX`e hlXc`]p`e^ dfe\p dXib\k dlklXc ]le[j* Z\ikX`e i\gliZ_Xj\ X^i\\d\ekj* Xe[ kXo+\o\dgk
fYc`^Xk`fej f] N,L, jkXk\j* X^\eZ`\j Xe[ dle`Z`gXc`k`\j Xe[ gcXZ\j i\jki`Zk`fej fe Zi\[`k iXk`e^j* dXkli`k`\j* Xe[ ZfeZ\ekiXk`fe Yp kpg\ Xe[ `jjl\i, P\ Xi\
\ogfj\[ kf Zi\[`k i`jb `e k_\ \m\ek f] X [\]Xlck Yp k_\ ]`eXeZ`Xc `ejk`klk`fej _fc[`e^ fli ZXj_* ZXj_ \hl`mXc\ekj Xe[ `em\jkd\ekj kf k_\ \ok\ek i\Zfi[\[ fe k_\
YXcXeZ\ j_\\k,
      P\ dXeX^\ fli ]fi\`^e Zlii\eZp kiXejXZk`fe i`jb Xe[ `ek\i\jk iXk\ i`jb n`k_`e jg\Z`]`\[ ^l`[\c`e\j k_ifl^_ k_\ lj\ f] [\i`mXk`m\j, :cc f] fli [\i`mXk`m\
`ejkild\ekj Xi\ lk`c`q\[ ]fi i`jb dXeX^\d\ek gligfj\j* Xe[ n\ [f efk lj\ [\i`mXk`m\j ]fi jg\ZlcXk`m\ kiX[`e^ gligfj\j, :j f] FXiZ_ 1/* 0.02* n\ _X[
]fi\`^e \oZ_Xe^\ ]finXi[ ZfekiXZkj n`k_ efk`feXc Xdflekj kfkXc`e^ "315,/ d`cc`fe, :j f] FXiZ_ 1/* 0.02* k_\ flkjkXe[`e^ ]fi\`^e \oZ_Xe^\ ]finXi[
ZfekiXZkj _X[ X e\k Xjj\k ]X`i mXcl\ f] ".,2 d`cc`fe, :j f] FXiZ_ 1/* 0.02* n\ _X[ `ek\i\jk iXk\ jnXg ZfekiXZkj n`k_ efk`feXc Xdflekj kfkXc`e^
"3..,. d`cc`fe, M_\j\ flkjkXe[`e^ `ek\i\jk iXk\ jnXg ZfekiXZkj _X[ Xe Xjj\k ]X`i mXcl\ f] "3,3 d`cc`fe Xj f] FXiZ_ 1/* 0.02, M_\ Zflek\igXik`\j kf k_\j\
ZfekiXZkj Xi\ cXi^\ dlck`eXk`feXc Zfdd\iZ`Xc YXebj* Xe[ n\ Y\c`\m\ k_\ i`jb f] efeg\i]fidXeZ\ `j efk j`^e`]`ZXek,
      P\ Xi\ Xcjf jlYa\Zk kf Zi\[`k i`jb ]ifd fli XZZflekj i\Z\`mXYc\ i\cXk\[ kf fli gif[lZk jXc\j, P\ dfe`kfi fli \ogfjli\ n`k_`e XZZflekj i\Z\`mXYc\ Xe[
i\Zfi[ X i\j\im\ X^X`ejk leZfcc\Zk`Yc\ XZZflekj i\Z\`mXYc\ Xj e\Z\jjXip, P\ \ok\e[ Zi\[`k kf g_XidXZ\lk`ZXc n_fc\jXc\ [`jki`Ylkfij Xe[ jg\Z`Xckp
g_XidXZ\lk`ZXc [`jki`Ylk`fe ZfdgXe`\j* gi`dXi`cp `e k_\ N,L,* Xe[ kf fk_\i `ek\ieXk`feXc [`jki`Ylkfij Xe[ _fjg`kXcj, <ljkfd\i Zi\[`knfik_`e\jj `j dfe`kfi\[
Xe[ ZfccXk\iXc `j efk i\hl`i\[, P\ dfe`kfi \Zfefd`Z Zfe[`k`fej `e Z\ikX`e >lifg\Xe Zfleki`\j n_`Z_ dXp i\jlck `e mXi`XY`c`kp f] k_\ k`d`e^ f] ZXj_ i\Z\`gkj
Xe[ Xe `eZi\Xj\ `e k_\ Xm\iX^\ c\e^k_ f] k`d\ k_Xk `k kXb\j kf Zfcc\Zk XZZflekj i\Z\`mXYc\ flkjkXe[`e^, A`jkfi`ZXccp* n\ _Xm\ efk \og\i`\eZ\[ j`^e`]`ZXek Zi\[`k
cfjj\j fe fli XZZflekj i\Z\`mXYc\ Xe[* Xj f] FXiZ_ 1/* 0.02 Xe[ =\Z\dY\i 1/* 0.01* XccfnXeZ\j fe i\Z\`mXYc\j n\i\ efk dXk\i`Xc, :j f] FXiZ_ 1/* 0.02*
]`m\ Zljkfd\ij XZZflek\[ ]fi 56# f] ^ifjj XZZflekj i\Z\`mXYc\* `eZcl[`e^ >ogi\jj LZi`gkj Lg\Z`Xckp =`jki`Ylk`fe L\im`Z\j* BeZ, Xe[ `kj X]]`c`Xk\j* fi >LL=L*
n_`Z_ XZZflek\[ ]fi 2/# f] ^ifjj XZZflekj i\Z\`mXYc\* FZD\jjfe <figfiXk`fe Xe[ X]]`c`Xk\j* fi FZD\jjfe* n_`Z_ XZZflek\[ ]fi /0# f] ^ifjj XZZflekj
i\Z\`mXYc\ Xe[ :L= Lg\Z`Xckp A\Xck_ZXi\ EE<* fi :L=* n_`Z_ XZZflek\[ ]fi /0# f] ^ifjj XZZflekj i\Z\`mXYc\, :j f] =\Z\dY\i 1/* 0.01* ]`m\ Zljkfd\ij
XZZflek\[ ]fi 57# f] ^ifjj XZZflekj i\Z\`mXYc\* `eZcl[`e^ >LL=L* n_`Z_ XZZflek\[ ]fi 2/# f] ^ifjj XZZflekj i\Z\`mXYc\* :L=* n_`Z_ XZZflek\[ ]fi /1#
f] ^ifjj XZZflekj i\Z\`mXYc\ Xe[ FZD\jjfe* n_`Z_ XZZflek\[ ]fi //# f] ^ifjj XZZflekj i\Z\`mXYc\,
      P\ [\g\e[ fe j`e^c\ jfliZ\ jlggc`\ij ]fi dfjk f] fli gif[lZkj* gif[lZk ZXe[`[Xk\j Xe[ k_\`i XZk`m\ g_XidXZ\lk`ZXc `e^i\[`\ekj* fi :IBj, P`k_ i\jg\Zk
kf fli fopYXk\ gif[lZkj* k_\ :IB `j dXel]XZkli\[ ]fi lj Yp X j`e^c\ jfliZ\ jlggc`\i Xe[ k_\ ]`e`j_\[ gif[lZkj Xi\ dXel]XZkli\[ Yfk_ Yp lj `e fli ]XZ`c`kp `e
:k_cfe\* Bi\cXe[ Xe[ Yp fli N,L,+YXj\[ jlggc`\i,
  Recent Accounting Pronouncements
      Be =\Z\dY\i 0.01* k_\ ?:L; `jjl\[ :LN 0.01+.7* xBeZfd\ MXo\j &Mfg`Z 52.' + Bdgifm\d\ekj kf BeZfd\ MXo =`jZcfjli\jy* n_`Z_ i\hl`i\j
X[[`k`feXc \e_XeZ\[ kXo [`jZcfjli\j, M_\ Xd\e[d\ekj Xi\ \]]\Zk`m\ fe X gifjg\Zk`m\ YXj`j* n`k_ k_\ fgk`fe kf Xggcp `k i\kifjg\Zk`m\cp* ]fi ]`jZXc p\Xij
Y\^`ee`e^ X]k\i =\Z\dY\i /3* 0.02, P\ Xi\ Zlii\ekcp \mXclXk`e^ k_\ `dgXZk f] X[fgk`e^ k_`j e\n XZZflek`e^ ^l`[XeZ\,




                                                                              /.
MXYc\ f] <fek\ekj
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2. Cash and Available-for-Sale Securities
      <Xj_* ZXj_ \hl`mXc\ekj Xe[ `em\jkd\ekj Zfej`jk\[ f] k_\ ]fccfn`e^ &`e k_fljXe[j'8
                                                                                                          March 31, 2024
                                                                                    Gross            Gross                                      Cash and
                                                           Amortized              Unrealized       Unrealized             Estimated              Cash
                                                             Cost                   Gains           Losses                Fair Value           Equivalents         Investments
<Xj_                                                   "       222*/2.        "           w    "           w      "           222*/2.      "       222*/2.     "           w
M`d\ [\gfj`kj                                                  363*...                    w                w                  363*...              0/.*...            153*...
Ffe\p dXib\k ]le[j                                             567*023                    w                w                  567*023              567*023                 w
MfkXcj                                                 "     /*6/6*163        "           w    "           w      "         /*6/6*163      "     /*221*163     "      153*...

                                                                                                         December 31, 2023
                                                                                    Gross            Gross                                      Cash and
                                                           Amortized              Unrealized       Unrealized             Estimated               Cash
                                                             Cost                   Gains           Losses                Fair Value           Equivalents         Investments
<Xj_                                                   "       215*502        "           w    "           w      "           215*502      "       215*502     "           w
M`d\ [\gfj`kj                                                  20.*...                    w                w                  20.*...              1..*...            /0.*...
Ffe\p dXib\k ]le[j                                             546*364                    w                w                  546*364              546*364                 w
MfkXcj                                                 "     /*404*1/.        "           w    "           w      "         /*404*1/.      "     /*3.4*1/.     "      /0.*...

      <Xj_ \hl`mXc\ekj Xe[ `em\jkd\ekj Xi\ Zfej`[\i\[ XmX`cXYc\+]fi+jXc\ j\Zli`k`\j, P\ lj\ k_\ jg\Z`]`Z+`[\ek`]`ZXk`fe d\k_f[ ]fi ZXcZlcXk`e^ i\Xc`q\[ ^X`ej
Xe[ cfjj\j fe j\Zli`k`\j jfc[ Xe[ `eZcl[\ k_\d `e `ek\i\jk \og\ej\* e\k `e k_\ Zfe[\ej\[ Zfejfc`[Xk\[ jkXk\d\ekj f] `eZfd\ &cfjj', Hli `em\jkd\ek YXcXeZ\j
i\gi\j\ek k`d\ [\gfj`kj n`k_ fi`^`eXc dXkli`k`\j f] ^i\Xk\i k_Xe k_i\\ dfek_j Xe[ c\jj k_Xe fe\ p\Xi, Bek\i\jk `eZfd\ ]ifd XmX`cXYc\+]fi+jXc\ j\Zli`k`\j nXj
"01,1 d`cc`fe Xe[ "/.,4 d`cc`fe `e k_\ k_i\\ dfek_j \e[\[ FXiZ_ 1/* 0.02 Xe[ 0.01* i\jg\Zk`m\cp,


3. Fair Value Measurement
     M_\ ]fccfn`e^ kXYc\ jlddXi`q\j* Yp dXafi j\Zli`kp kpg\* fli XmX`cXYc\+]fi+jXc\ j\Zli`k`\j Xe[ [\i`mXk`m\ ZfekiXZkj Xj f] FXiZ_ 1/* 0.02 Xe[
=\Z\dY\i 1/* 0.01* k_Xk n\i\ d\Xjli\[ Xk ]X`i mXcl\ fe X i\Zlii`e^ YXj`j Xe[ n\i\ ZXk\^fi`q\[ lj`e^ k_\ ]X`i mXcl\ _`\iXiZ_p &`e k_fljXe[j'8
                                                                           March 31, 2024                                                  December 31, 2023
                                                         Quoted                                                             Quoted
                                                        Prices in                                                          Prices in
                                                         Active             Significant                                     Active             Significant
                                                       Markets for            Other                                       Markets for            Other
                                                        Identical           Observable               Total                 Identical           Observable              Total
                                                         Assets               Inputs               Estimated                Assets               Inputs              Estimated
                                                        (Level 1)            (Level 2)             Fair Value              (Level 1)            (Level 2)           Fair Value
Assets:
:mX`cXYc\+]fi+jXc\ j\Zli`k`\j8
  Ffe\p dXib\k ]le[j                               "       567*023     "                w      "       567*023        "        546*364     "             w     "        546*364
  M`d\ [\gfj`kj                                                 w                  363*...             363*...                      w               20.*...             20.*...
Bek\i\jk iXk\ ZfekiXZkj                                         w                    3*242               3*242                      w                 1*562               1*562
?fi\`^e \oZ_Xe^\ ]finXi[ ZfekiXZkj                              w                      5.6                 5.6                      w                /6*.13              /6*.13
MfkXcj                                             "       567*023     "           37/*/50     "     /*16.*2/5        "        546*364     "        22/*6/7    "      /*0/.*2.3
Liabilities:
  Bek\i\jk iXk\ ZfekiXZkj                          "             w     "                  w    "             w        "                w   "          1*2/.    "           1*2/.
  ?fi\`^e \oZ_Xe^\ ]finXi[ ZfekiXZkj                             w                       135                135                        w                46/                  46/
MfkXcj                                             "             w     "                 135   "            135       "                w   "          2*.7/    "           2*.7/

       :j f] FXiZ_ 1/* 0.02* fli XmX`cXYc\+]fi+jXc\ j\Zli`k`\j `eZcl[\[ dfe\p dXib\k ]le[j Xe[ k`d\ [\gfj`kj Xe[ k_\`i ZXiip`e^ mXcl\j n\i\ Xggifo`dXk\cp
\hlXc kf k_\`i ]X`i mXcl\j, Ffe\p dXib\k ]le[j n\i\ d\Xjli\[ lj`e^ hlfk\[ gi`Z\j `e XZk`m\ dXib\kj* n_`Z_ i\gi\j\ek E\m\c / `eglkj Xe[ k`d\ [\gfj`kj n\i\
d\Xjli\[ Xk ]X`i mXcl\ lj`e^ E\m\c 0 `eglkj, E\m\c 0 `eglkj Xi\ fYkX`e\[ ]ifd mXi`flj k_`i[ gXikp [XkX gifm`[\ij Xe[ i\gi\j\ek hlfk\[ gi`Z\j ]fi j`d`cXi
Xjj\kj `e XZk`m\ dXib\kj* fi k_\j\ `eglkj n\i\ [\i`m\[ ]ifd fYj\imXYc\ dXib\k [XkX* fi `] efk [`i\Zkcp fYj\imXYc\* n\i\ [\i`m\[ ]ifd fi ZfiifYfiXk\[ Yp fk_\i
fYj\imXYc\ dXib\k [XkX,



                                                                                    //
MXYc\ f] <fek\ekj
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      Hli [\i`mXk`m\ Xjj\kj Xe[ c`XY`c`k`\j `eZcl[\ `ek\i\jk iXk\ Xe[ ]fi\`^e \oZ_Xe^\ [\i`mXk`m\j k_Xk Xi\ d\Xjli\[ Xk ]X`i mXcl\ lj`e^ fYj\imXYc\ dXib\k
`eglkj jlZ_ Xj ]finXi[ iXk\j* `ek\i\jk iXk\j* fli fne Zi\[`k i`jb Xj n\cc Xj Xe \mXclXk`fe f] fli Zflek\igXik`\j{ Zi\[`k i`jbj, ;Xj\[ fe k_\j\ `eglkj* k_\
[\i`mXk`m\ Xjj\kj Xe[ c`XY`c`k`\j Xi\ ZcXjj`]`\[ n`k_`e E\m\c 0 f] k_\ ]X`i mXcl\ _`\iXiZ_p,
      M_\i\ n\i\ ef kiXej]\ij Y\kn\\e k_\ [`]]\i\ek c\m\cj f] k_\ ]X`i mXcl\ _`\iXiZ_p `e 0.02 fi 0.01,
       :j f] FXiZ_ 1/* 0.02 Xe[ =\Z\dY\i 1/* 0.01* k_\ ZXiip`e^ Xdflek f] `em\jkd\ekj d\Xjli\[ lj`e^ k_\ d\Xjli\d\ek Xck\ieXk`m\ ]fi \hl`kp
`em\jkd\ekj n`k_flk X i\X[`cp [\k\id`eXYc\ ]X`i mXcl\ nXj "2,1 d`cc`fe, M_\ ZXiip`e^ Xdflek* n_`Z_ `j i\Zfi[\[ n`k_`e fk_\i efe+Zlii\ek Xjj\kj* `j YXj\[ fe
k_\ cXk\jk fYj\imXYc\ kiXejXZk`fe gi`Z\,
      :j f] FXiZ_ 1/* 0.02* k_\ \jk`dXk\[ ]X`i mXcl\j f] k_\ /,3.# \oZ_Xe^\XYc\ j\e`fi efk\j [l\ 0.02* fi 0.02 Gfk\j* k_\ 0,..# \oZ_Xe^\XYc\ j\e`fi
efk\j [l\ 0.04* fi 0.04 Gfk\j* n_`Z_ n\ i\]\i kf Zfcc\Zk`m\cp Xj k_\ >oZ_Xe^\XYc\ L\e`fi Gfk\j* k_\ 2,153# j\e`fi j\Zli\[ efk\j* [l\ 0.07* fi k_\ L\Zli\[
Gfk\j* Xe[ k_\ j\m\e+p\Xi "1,/ Y`cc`fe k\id cfXe ; ]XZ`c`kp* fi k_\ =fccXi M\id EfXe n\i\ Xggifo`dXk\cp "344 d`cc`fe* "/,. Y`cc`fe* "/,2 Y`cc`fe Xe[
"0,5 Y`cc`fe i\jg\Zk`m\cp, M_\ ]X`i mXcl\j f] \XZ_ f] k_\j\ [\Yk ]XZ`c`k`\j nXj \jk`dXk\[ lj`e^ hlfk\[ dXib\k gi`Z\j fYkX`e\[ ]ifd Yifb\ij &E\m\c 0',


4. Derivative Instruments and Hedging Activities
       P\ Xi\ \ogfj\[ kf Z\ikX`e i`jbj Xi`j`e^ ]ifd fg\iXk`e^ `ek\ieXk`feXccp* `eZcl[`e^ ]clZklXk`fej `e ]fi\`^e \oZ_Xe^\ iXk\j gi`dXi`cp i\cXk\[ kf k_\
kiXejcXk`fe f] jk\ic`e^ Xe[ \lif+[\efd`eXk\[ e\k dfe\kXip c`XY`c`k`\j* `eZcl[`e^ `ek\iZfdgXep YXcXeZ\j* _\c[ Yp jlYj`[`Xi`\j n`k_ X N,L, [fccXi ]leZk`feXc
Zlii\eZp Xe[ ]clZklXk`fej `e `ek\i\jk iXk\j fe fli flkjkXe[`e^ k\id cfXe Yfiifn`e^j, P\ dXeX^\ k_\j\ \ogfjli\j n`k_`e jg\Z`]`\[ ^l`[\c`e\j k_ifl^_ k_\ lj\
f] [\i`mXk`m\j, :cc f] fli [\i`mXk`m\ `ejkild\ekj Xi\ lk`c`q\[ ]fi i`jb dXeX^\d\ek gligfj\j* Xe[ n\ [f efk lj\ [\i`mXk`m\j ]fi jg\ZlcXk`m\ kiX[`e^ gligfj\j,
      P\ \ek\i `ekf ]fi\`^e \oZ_Xe^\ ]finXi[ ZfekiXZkj* n`k_ [liXk`fej f] lg kf /0 dfek_j* [\j`^e\[ kf c`d`k k_\ \ogfjli\ kf ]clZklXk`fej `e ]fi\`^e
\oZ_Xe^\ iXk\j i\cXk\[ kf k_\ kiXejcXk`fe f] Z\ikX`e efe+N,L, [fccXi [\efd`eXk\[ c`XY`c`k`\j* `eZcl[`e^ `ek\iZfdgXep YXcXeZ\j, A\[^\ XZZflek`e^ `j efk
Xggc`\[ kf k_\j\ [\i`mXk`m\ `ejkild\ekj Xj ^X`ej Xe[ cfjj\j fe k_\j\ _\[^\ kiXejXZk`fej Xi\ [\j`^e\[ kf f]]j\k ^X`ej Xe[ cfjj\j fe le[\icp`e^ YXcXeZ\ j_\\k
\ogfjli\j, :j f] FXiZ_ 1/* 0.02 Xe[ =\Z\dY\i 1/* 0.01* k_\ efk`feXc Xdflek f] ]fi\`^e \oZ_Xe^\ ZfekiXZkj n_\i\ _\[^\ XZZflek`e^ `j efk Xggc`\[ nXj
"315,/ d`cc`fe Xe[ "3//,5 d`cc`fe* i\jg\Zk`m\cp,
      M_\ ]fi\`^e \oZ_Xe^\ ^X`e &cfjj' `e fli Zfe[\ej\[ Zfejfc`[Xk\[ jkXk\d\ekj f] `eZfd\ &cfjj' `eZcl[\[ k_\ ]fccfn`e^ ^X`e &cfjj\j' XjjfZ`Xk\[ n`k_
]fi\`^e \oZ_Xe^\ ZfekiXZkj efk [\j`^eXk\[ Xj _\[^`e^ `ejkild\ekj &`e k_fljXe[j'8
                                                                                                                                Three Months Ended
                                                                                                                                     March 31,
Foreign Exchange Forward Contracts:                                                                                         2024                  2023
@X`e &cfjj' i\Zf^e`q\[ `e ]fi\`^e \oZ_Xe^\ ^X`e &cfjj'                                                               "           &2*.64' "               2*053

       Mf XZ_`\m\ X [\j`i\[ d`o f] ]cfXk`e^ Xe[ ]`o\[ `ek\i\jk iXk\j fe fli mXi`XYc\ iXk\ [\Yk* n\ \ek\i\[ `ekf `ek\i\jk iXk\ jnXg X^i\\d\ekj `e :gi`c 0.01*
n_`Z_ Xi\ \]]\Zk`m\ lek`c :gi`c 0.04, M_\j\ X^i\\d\ekj _\[^\ ZfekiXZklXc k\id cfXe `ek\i\jk iXk\j, :j f] FXiZ_ 1/* 0.02* k_\ `ek\i\jk iXk\ jnXg X^i\\d\ekj
_X[ X efk`feXc Xdflek f] "3..,. d`cc`fe, :j X i\jlck f] k_\j\ X^i\\d\ekj* k_\ `ek\i\jk iXk\ fe X gfik`fe f] fli k\id cfXe Yfiifn`e^j `j ]`o\[ Xk 1,7.64#*
gclj k_\ Yfiifn`e^ jgi\X[* lek`c :gi`c 1.* 0.04,
      M_\ `dgXZk fe XZZldlcXk\[ fk_\i Zfdgi\_\ej`m\ `eZfd\ &cfjj' Xe[ \Xie`e^j ]ifd [\i`mXk`m\ `ejkild\ekj k_Xk hlXc`]`\[ Xj ZXj_ ]cfn _\[^\j ]fi k_\
k_i\\ dfek_j \e[\[ FXiZ_ 1/* 0.02 nXj Xj ]fccfnj &`e k_fljXe[j'8
                                                                                                                                           Three Months Ended
Interest Rate Contracts:                                                                                                                     March 31, 2024
@X`e i\Zf^e`q\[ `e XZZldlcXk\[ fk_\i Zfdgi\_\ej`m\ `eZfd\ &cfjj'* e\k f] kXo                                                              "               3*/55
@X`e i\ZcXjj`]`\[ ]ifd XZZldlcXk\[ fk_\i Zfdgi\_\ej`m\ `eZfd\ &cfjj' kf `ek\i\jk \og\ej\* e\k f] kXo                                                     &/*134'

      :jjld`e^ ef Z_Xe^\ `e k_\ N,L [fccXi L\Zli\[ Hm\ie`^_k ?`eXeZ`e^ KXk\* fi M\id LH?K* YXj\[ `ek\i\jk iXk\j ]ifd dXib\k iXk\j Xj f]
FXiZ_ 1/* 0.02* "1,5 d`cc`fe f] ^X`ej* e\k f] kXo* i\Zf^e`q\[ `e XZZldlcXk\[ fk_\i Zfdgi\_\ej`m\ `eZfd\ &cfjj' n`cc Y\ i\ZcXjj`]`\[ kf \Xie`e^j fm\i k_\
e\ok /0 dfek_j,
      M_\ ZXj_ ]cfn \]]\Zkj f] fli [\i`mXk`m\ ZfekiXZkj ]fi k_\ k_i\\ dfek_j \e[\[ FXiZ_ 1/* 0.02 Xe[ 0.01 Xi\ `eZcl[\[ n`k_`e e\k ZXj_ gifm`[\[ Yp
fg\iXk`e^ XZk`m`k`\j `e k_\ Zfe[\ej\[ Zfejfc`[Xk\[ jkXk\d\ekj f] ZXj_ ]cfnj,



                                                                              /0
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      M_\ ]fccfn`e^ kXYc\j jlddXi`q\ k_\ ]X`i mXcl\ f] flkjkXe[`e^ [\i`mXk`m\j &`e k_fljXe[j'8
                                                                                                                               March 31,             December 31,
                                                                        Classification                                           2024                    2023
Assets
=\i`mXk`m\j [\j`^eXk\[ Xj _\[^`e^ `ejkild\ekj8
 Bek\i\jk iXk\ ZfekiXZkj                                                Hk_\i Zlii\ek Xjj\kj                            "              3*.2/     "             1*562
                                                                        Hk_\i efe+Zlii\ek Xjj\kj                                         201                      w
=\i`mXk`m\j efk [\j`^eXk\[ Xj _\[^`e^ `ejkild\ekj8
 ?fi\`^e \oZ_Xe^\ ]finXi[ ZfekiXZkj                                     Hk_\i Zlii\ek Xjj\kj                                             5.6                  /6*.13
MfkXc ]X`i mXcl\ f] [\i`mXk`m\ Xjj\k `ejkild\ekj                                                                        "              4*/50     "            0/*6/7

Liabilities
=\i`mXk`m\j [\j`^eXk\[ Xj _\[^`e^ `ejkild\ekj8
 Bek\i\jk iXk\ ZfekiXZkj                                                Hk_\i efe+Zlii\ek c`XY`c`k`\j                   "                  w     "             1*2/.
=\i`mXk`m\j efk [\j`^eXk\[ Xj _\[^`e^ `ejkild\ekj8
 ?fi\`^e \oZ_Xe^\ ]finXi[ ZfekiXZkj                                     :ZZil\[ c`XY`c`k`\j                                                135                   46/
MfkXc ]X`i mXcl\ f] [\i`mXk`m\ c`XY`c`kp `ejkild\ekj                                                                    "                  135   "             2*.7/

       :ck_fl^_ n\ [f efk f]]j\k [\i`mXk`m\ Xjj\kj Xe[ c`XY`c`k`\j n`k_`e fli Zfe[\ej\[ Zfejfc`[Xk\[ YXcXeZ\ j_\\kj* fli Bek\ieXk`feXc LnXg Xe[ =\i`mXk`m\j
:jjfZ`Xk`fe X^i\\d\ekj gifm`[\ ]fi e\k j\kkc\d\ek f] kiXejXZk`fej k_Xk Xi\ [l\ kf fi ]ifd k_\ jXd\ Zflek\igXikp lgfe \Xicp k\id`eXk`fe f] k_\ X^i\\d\ek
[l\ kf Xe \m\ek f] [\]Xlck fi fk_\i k\id`eXk`fe \m\ek, M_\ ]fccfn`e^ kXYc\ jlddXi`q\j k_\ gfk\ek`Xc \]]\Zk fe fli Zfe[\ej\[ Zfejfc`[Xk\[ YXcXeZ\ j_\\kj f]
f]]j\kk`e^ fli `ek\i\jk iXk\ Xe[ ]fi\`^e \oZ_Xe^\ ]finXi[ ZfekiXZkj jlYa\Zk kf jlZ_ gifm`j`fej &`e k_fljXe[j'8
                                                                                                      March 31, 2024
                                                                                                                Gross Amounts Not Offset in the Consolidated Balance
                                                                                                                                      Sheet
                                                                                           Net Amounts of
                                                                        Gross Amounts     Assets/ Liabilities
                                                  Gross Amounts of       Offset in the    Presented in the        Derivative       Cash Collateral
                                                     Recognized          Consolidated       Consolidated          Financial           Received
Description                                       Assets/ Liabilities   Balance Sheet       Balance Sheet        Instruments         (Pledged)           Net Amount
=\i`mXk`m\ Xjj\kj                                 "          4*/50 "                  w   "          4*/50 "                &03.' "              w   "         3*700
=\i`mXk`m\ c`XY`c`k`\j                                        &135'                   w               &135'                  03.                 w              &/.5'



                                                                                                    December 31, 2023
                                                                                                                Gross Amounts Not Offset in the Consolidated Balance
                                                                                                                                      Sheet
                                                                                           Net Amounts of
                                                                        Gross Amounts     Assets/ Liabilities
                                                  Gross Amounts of       Offset in the    Presented in the        Derivative       Cash Collateral
                                                     Recognized          Consolidated       Consolidated          Financial           Received
Description                                       Assets/ Liabilities   Balance Sheet       Balance Sheet        Instruments         (Pledged)           Net Amount
=\i`mXk`m\ Xjj\kj                                 "        0/*6/7 "                   w   "        0/*6/7 "             &2*.7/' "                w   "        /5*506
=\i`mXk`m\ c`XY`c`k`\j                                     &2*.7/'                    w            &2*.7/'               2*.7/                   w                w




                                                                                 /1
MXYc\ f] <fek\ekj
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5. Inventories
      Bem\ekfi`\j Zfej`jk\[ f] k_\ ]fccfn`e^ &`e k_fljXe[j'8
                                                                                                                     March 31,                  December 31,
                                                                                                                      2024                          2023
KXn dXk\i`Xcj                                                                                                 "             /5*547        "              03*373
Pfib `e gifZ\jj                                                                                                            17.*660                      21/*510
?`e`j_\[ ^ff[j                                                                                                             /46*45.                      /17*5/0
MfkXc `em\ekfi`\j                                                                                             "            355*10/        "             375*.17

     :j f] FXiZ_ 1/* 0.02 Xe[ =\Z\dY\i 1/* 0.01 `em\ekfi`\j `eZcl[\[ "075,1 d`cc`fe Xe[ "106,. d`cc`fe* i\jg\Zk`m\cp* i\cXk\[ kf k_\ gliZ_Xj\
XZZflek`e^ `em\ekfip ]X`i mXcl\ jk\g+lg fe `em\ekfip XZhl`i\[ Xj gXik f] fli XZhl`j`k`fe f] @P* n_`Z_ n\ i\]\i kf Xj k_\ @P :Zhl`j`k`fe,


6. Goodwill and Intangible Assets
      M_\ ^ifjj ZXiip`e^ Xdflek f] ^ff[n`cc nXj Xj ]fccfnj &`e k_fljXe[j'8

;XcXeZ\ Xk =\Z\dY\i 1/* 0.01                                                                                                              "           /*531*/1.
?fi\`^e \oZ_Xe^\                                                                                                                                        &/1*413'
;XcXeZ\ Xk FXiZ_ 1/* 0.02                                                                                                                 "           /*517*273




      M_\ ^ifjj ZXiip`e^ Xdflekj Xe[ e\k Yffb mXcl\j f] fli `ekXe^`Yc\ Xjj\kj n\i\ Xj ]fccfnj &`e k_fljXe[j'8
                                                               March 31, 2024                                              December 31, 2023
                                   Remaining
                                   Weighted-
                                 Average Useful        Gross                                                   Gross
                                      Life            Carrying             Accumulated       Net Book         Carrying           Accumulated         Net Book
                                   (In years)         Amount               Amortization       Value           Amount             Amortization         Value
:Zhl`i\[ [\m\cfg\[
k\Z_efcf^`\j                          6,3         "    5*521*200       "     &0*3.5*704' "    3*013*274   "    5*563*273   "       &0*145*234' "      3*2/6*.17
FXel]XZkli`e^ ZfekiXZkj               w                   //*350                &//*350'             w            //*606              &//*606'               w
MiX[\dXibj                            w                    0*657                 &0*657'             w             0*664               &0*664'               w
MfkXc ]`e`k\+c`m\[ `ekXe^`Yc\
Xjj\kj                                            "    5*535*651       "     &0*300*155' "    3*013*274   "    5*6..*0.7   "       &0*160*/5.' "      3*2/6*.17

       M_\ [\Zi\Xj\ `e k_\ ^ifjj ZXiip`e^ Xdflek f] `ekXe^`Yc\ Xjj\kj Xj f] FXiZ_ 1/* 0.02 ZfdgXi\[ kf =\Z\dY\i 1/* 0.01 i\cXk\j kf k_\ e\^Xk`m\ `dgXZk
f] ]fi\`^e Zlii\eZp kiXejcXk`fe X[aljkd\ekj gi`dXi`cp [l\ kf k_\ n\Xb\e`e^ f] jk\ic`e^ X^X`ejk k_\ N,L, [fccXi,
      M_\ Xjjldgk`fej Xe[ \jk`dXk\j lj\[ kf [\k\id`e\ ]lkli\ ZXj_ ]cfnj Xe[ i\dX`e`e^ lj\]lc c`m\j f] fli `ekXe^`Yc\ Xe[ fk_\i cfe^+c`m\[ Xjj\kj Xi\
Zfdgc\o Xe[ jlYa\Zk`m\, M_\p ZXe Y\ X]]\Zk\[ Yp mXi`flj ]XZkfij* `eZcl[`e^ \ok\ieXc ]XZkfij* jlZ_ Xj `e[ljkip Xe[ \Zfefd`Z ki\e[j* Xe[ `ek\ieXc ]XZkfij jlZ_
Xj Z_Xe^\j `e fli Ylj`e\jj jkiXk\^p Xe[ fli ]fi\ZXjkj ]fi jg\Z`]`Z gif[lZk c`e\j,



                                                                                 /2
MXYc\ f] <fek\ekj
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     ;Xj\[ fe ]`e`k\+c`m\[ `ekXe^`Yc\ Xjj\kj i\Zfi[\[ Xj f] FXiZ_ 1/* 0.02* Xe[ Xjjld`e^ k_\ le[\icp`e^ Xjj\kj n`cc efk Y\ `dgX`i\[ Xe[ k_Xk n\ n`cc efk
Z_Xe^\ k_\ \og\Zk\[ c`m\j f] k_\ Xjj\kj* ]lkli\ Xdfik`qXk`fe \og\ej\j n\i\ \jk`dXk\[ Xj ]fccfnj &`e k_fljXe[j'8
                                                                                                                                    Estimated Amortization
Year Ending December 31,                                                                                                                   Expense
0.02 &i\dX`e[\i'                                                                                                                   "             244*..6
0.03                                                                                                                                             40/*122
0.04                                                                                                                                             40/*122
0.05                                                                                                                                             40/*122
0.06                                                                                                                                             40.*./0
M_\i\X]k\i                                                                                                                                     0*063*222
MfkXc                                                                                                                              "           3*013*274


7. Certain Balance Sheet Items
      Iifg\ikp* gcXek Xe[ \hl`gd\ek Zfej`jk\[ f] k_\ ]fccfn`e^ &`e k_fljXe[j'8
                                                                                                                  March 31,             December 31,
                                                                                                                   2024                     2023
FXel]XZkli`e^ \hl`gd\ek Xe[ dXZ_`e\ip                                                                      "             63*5/5 "                 60*675
EXe[ Xe[ Yl`c[`e^j                                                                                                       47*53.                   5.*7/0
E\Xj\_fc[ `dgifm\d\ekj                                                                                                   47*4..                   45*500
<fdglk\i jf]knXi\                                                                                                        16*/37                   16*/12
<fejkilZk`fe+`e+gif^i\jj                                                                                                 /5*052                   /6*44/
<fdglk\i \hl`gd\ek                                                                                                       /4*5.2                   /3*176
?lie`kli\ Xe[ ]`okli\j                                                                                                    7*075                    7*051
 LlYkfkXc                                                                                                               1.4*3./                  1.0*775
E\jj XZZldlcXk\[ [\gi\Z`Xk`fe Xe[ Xdfik`qXk`fe                                                                         &/2.*043'                &/11*13/'
Iifg\ikp* gcXek Xe[ \hl`gd\ek* e\k                                                                         "            /44*014 "                /47*424

      Hk_\i Zlii\ek Xjj\kj Zfej`jk\[ f] k_\ ]fccfn`e^ &`e k_fljXe[j'8
                                                                                                                  March 31,             December 31,
                                                                                                                   2024                     2023
=\]\ii\[ Z_Xi^\ ]fi `eZfd\ kXo\j fe `ek\iZfdgXep gif]`k                                                    "            /56*462    "             /5/*3.5
Hk_\i                                                                                                                   /13*63/                  /27*1.0
MfkXc fk_\i Zlii\ek Xjj\kj                                                                                 "            1/2*313    "             10.*6.7




                                                                            /3
MXYc\ f] <fek\ekj
   Case 1:21-cv-00691-GBW Document 619 Filed 05/22/24 Page 145 of 247 PageID #: 33290

      :ZZil\[ c`XY`c`k`\j Zfej`jk\[ f] k_\ ]fccfn`e^ &`e k_fljXe[j'8
                                                                                                                   March 31,               December 31,
                                                                                                                    2024                       2023
K\YXk\j Xe[ fk_\i jXc\j [\[lZk`fej                                                                           "            147*1./    "             103*5//
>dgcfp\\ Zfdg\ejXk`fe Xe[ Y\e\]`kj                                                                                        //6*744                  /0/*0.7
<fejlck`e^ Xe[ gif]\jj`feXc j\im`Z\j                                                                                       17*317                   /7*316
<c`e`ZXc ki`Xc XZZilXcj                                                                                                    16*2.4                   22*535
:ZZil\[ ifpXck`\j                                                                                                          07*014                   1.*5.4
L\cc`e^ Xe[ dXib\k`e^ XZZilXcj                                                                                             03*67.                   /2*521
:ZZil\[ ZfccXYfiXk`fe \og\ej\j                                                                                             02*404                   /.*/36
:ZZil\[ `ek\i\jk                                                                                                           01*170                   14*221
LXc\j i\klie i\j\im\                                                                                                       00*/15                   0.*213
<lii\ek gfik`fe f] c\Xj\ c`XY`c`k`\j                                                                                       /6*135                   /7*225
Bem\ekfip+i\cXk\[ XZZilXcj                                                                                                 /3*7.0                   /1*755
:ZZil\[ ZfejkilZk`fe+`e+gif^i\jj                                                                                            5*.33                    3*/2/
:ZZil\[ ]XZ`c`k`\j \og\ej\j                                                                                                 3*111                   33*233
=\i`mXk`m\ `ejkild\ek c`XY`c`k`\j                                                                                             135                      46/
Hk_\i                                                                                                                      66*.11                   53*3/1
MfkXc XZZil\[ c`XY`c`k`\j                                                                                    "            604*31.    "             571*7/2


8. Debt
      M_\ ]fccfn`e^ kXYc\ jlddXi`q\j k_\ ZXiip`e^ Xdflek f] fli `e[\Yk\[e\jj &`e k_fljXe[j'8
                                                                                                                   March 31,               December 31,
                                                                                                                    2024                       2023
0.02 Gfk\j                                                                                                   "            353*... "                353*...
NeXdfik`q\[ + [\Yk `jjlXeZ\ Zfjkj                                                                                            &402'                  &/*.24'
0.02 Gfk\j* e\k                                                                                                           352*154                  351*732

0.04 Gfk\j                                                                                                              /*...*...                /*...*...
NeXdfik`q\[ + [\Yk `jjlXeZ\ Zfjkj                                                                                          &3*560'                  &4*2..'
0.04 Gfk\j* e\k                                                                                                           772*0/6                  771*4..

L\Zli\[ Gfk\j                                                                                                           /*26/*.//                /*26.*0/2

M\id EfXe                                                                                                               0*44.*66/                0*443*/52
MfkXc [\Yk                                                                                                              3*5/.*264                3*5/0*720
E\jj Zlii\ek gfik`fe                                                                                                      4.3*153                  4.2*732
MfkXc cfe^+k\id [\Yk                                                                                         "          3*/.3*///    "           3*/.5*766


  Credit Agreement
       He FXp 3* 0.0/* k_\ <fdgXep* CXqq ?`eXeZ`e^ Elo L,r,i,c,* fi CXqq Elo* Xe[ Z\ikX`e f] fli fk_\i jlYj`[`Xi`\j* Xj Yfiifn\ij* fi* Zfcc\Zk`m\cp n`k_ k_\
<fdgXep Xe[ CXqq Elo* k_\ x;fiifn\ijy* \ek\i\[ `ekf k_\ <i\[`k :^i\\d\ek Yp Xe[ Xdfe^ k_\ ;fiifn\ij* k_\ c\e[\ij Xe[ `jjl`e^ YXebj ]ifd k`d\ kf k`d\
gXikp k_\i\kf* ;Xeb f] :d\i`ZX* G,:,* Xj X[d`e`jkiXk`m\ X^\ek Xe[ N,L, ;Xeb Miljk <fdgXep* GXk`feXc :jjfZ`Xk`fe* Xj ZfccXk\iXc kiljk\\* fi k_\ <i\[`k
:^i\\d\ek* k_Xk gifm`[\[ ]fi &`' k_\ =fccXi M\id EfXe n_`Z_ nXj [iXne Yp CXqq Elo fe k_\ <cfj`e^ =Xk\ `e N,L, [fccXij &``' k_\ >lif M\id EfXe n_`Z_
nXj [iXne Yp CXqq Elo fe k_\ <cfj`e^ =Xk\ `e >lifj Xe[ &```' k_\ K\mfcm`e^ <i\[`k ?XZ`c`kp,



                                                                             /4
MXYc\ f] <fek\ekj
   Case 1:21-cv-00691-GBW Document 619 Filed 05/22/24 Page 146 of 247 PageID #: 33291

       Be CXelXip 0.02* CXqq Elo \ek\i\[ `ekf Xe Xd\e[d\ek* fi K\gi`Z`e^ :d\e[d\ek* kf k_\ <i\[`k :^i\\d\ek, Ngfe \ekip `ekf k_\ K\gi`Z`e^
:d\e[d\ek* Z\ikX`e \o`jk`e^ c\e[\ij Zfem\ik\[ flkjkXe[`e^ =fccXi M\id EfXej `ekf X e\n kiXeZ_\ f] N,L, [fccXi k\id cfXej* fi k_\ MiXeZ_\ ;+/ =fccXi
M\id EfXej* Xe[ CXqq Elo Yfiifn\[ "0./,7 d`cc`fe X^^i\^Xk\ gi`eZ`gXc Xdflek f] X[[`k`feXc MiXeZ_\ ;+/ =fccXi M\id EfXej* k_\ gifZ\\[j f] n_`Z_ n\i\
lj\[ kf i\gXp k_\ flkjkXe[`e^ =fccXi M\id EfXej k_Xk n\i\ efk Zfem\ik\[, M_\ MiXeZ_\ ;+/ =fccXi M\id EfXej Xi\ X j\gXiXk\ ZcXjj f] k\id cfXej le[\i k_\
<i\[`k :^i\\d\ek n`k_ k_\ jXd\ dXk\i`Xc k\idj &`eZcl[`e^ n`k_ i\jg\Zk kf dXkli`kp* gi\gXpd\ek* j\Zli`kp* Zfm\eXekj Xe[ \m\ekj f] [\]Xlck' Xj k_\ gi\m`fljcp
flkjkXe[`e^ =fccXi M\id EfXej* n`k_ k_\ `ek\i\jk iXk\ Xd\e[\[ Xj [\jZi`Y\[ Y\cfn, M_\ gi`eZ`gXc Xdflek f] =fccXi M\id EfXej flkjkXe[`e^ `dd\[`Xk\cp
gi`fi kf k_\ K\gi`Z`e^ :d\e[d\ek Xe[ k_\ flkjkXe[`e^ gi`eZ`gXc Xdflek f] MiXeZ_\ ;+/ =fccXi M\id EfXej `dd\[`Xk\cp ]fccfn`e^ k_\ K\gi`Z`e^
:d\e[d\ek* \XZ_ kfkXc\[ "0,501 Y`cc`fe, M_\ MiXeZ_\ ;+/ =fccXi M\id EfXej Y\Xi `ek\i\jk Xk X iXk\ \hlXc kf \`k_\i &X' M\id LH?K* fi &Y' k_\ gi`d\ c\e[`e^
iXk\* `e \XZ_ ZXj\* gclj Xe Xggc`ZXYc\ dXi^`e, M_\ Xggc`ZXYc\ dXi^`e ]fi k_\ MiXeZ_\ ;+/ =fccXi M\id EfXej `j 1,..# &`e k_\ ZXj\ f] M\id LH?K
Yfiifn`e^j' Xe[ 0,..# &`e k_\ ZXj\ f] Yfiifn`e^j Xk k_\ gi`d\ c\e[`e^ iXk\'* X [\Zi\Xj\ f] 3. YXj`j gf`ekj ]ifd k_\ Xggc`ZXYc\ dXi^`e fe k_\ Be`k`Xc =fccXi
M\id EfXej, M_\ MiXeZ_\ ;+/ =fccXi M\id EfXej Xi\ jlYa\Zk kf X M\id LH?K ]cffi f] .,3.#, M_\ Xggc`ZXYc\ dXi^`e ]fi k_\ K\mfcm`e^ <i\[`k ?XZ`c`kp
iXe^\j ]ifd 1,03# kf 0,53# &`e k_\ ZXj\ f] M\id LH?K Yfiifn`e^j' Xe[ 0,03# kf /,53# &`e k_\ ZXj\ f] Yfiifn`e^j Xk k_\ gi`d\ c\e[`e^ iXk\'* [\g\e[`e^
fe fli ]`ijk c`\e j\Zli\[ e\k c\m\iX^\ iXk`f c\m\c, M_\ MiXeZ_\ ;+/ =fccXi M\id EfXe `j jlYa\Zk kf X M\id LH?K ]cffi f] .,3.# Xe[ cfXej le[\i k_\
K\mfcm`e^ <i\[`k ?XZ`c`kp Xi\ efk jlYa\Zk kf X ]cffi, M_\ K\mfcm`e^ <i\[`k ?XZ`c`kp _Xj X Zfdd`kd\ek ]\\ gXpXYc\ fe k_\ le[iXne Xdflek iXe^`e^ ]ifd
.,3.# kf .,2.# g\i Xeeld YXj\[ lgfe fli ]`ijk c`\e j\Zli\[ e\k c\m\iX^\ iXk`f, :j f] FXiZ_ 1/* 0.02* k_\ `ek\i\jk iXk\ Xe[ \]]\Zk`m\ `ek\i\jk iXk\ fe k_\
MiXeZ_\ ;+/ =fccXi M\id EfXej n\i\ 6,22# Xe[ 7,.2#* i\jg\Zk`m\cp, :j f] FXiZ_ 1/* 0.02* n\ _X[ Xe le[iXne K\mfcm`e^ <i\[`k ?XZ`c`kp kfkXc`e^
"3..,. d`cc`fe,

  Exchangeable Senior Notes
       M_\ >oZ_Xe^\XYc\ L\e`fi Gfk\j n\i\ `jjl\[ Yp CXqq Bem\jkd\ekj B E`d`k\[* fi k_\ Bjjl\i* X /..#+fne\[ ]`eXeZ\ jlYj`[`Xip f] CXqq I_XidXZ\lk`ZXcj
gcZ, M_\ >oZ_Xe^\XYc\ L\e`fi Gfk\j Xi\ j\e`fi lej\Zli\[ fYc`^Xk`fej f] k_\ Bjjl\i Xe[ Xi\ ]lccp Xe[ leZfe[`k`feXccp ^lXiXek\\[ fe X j\e`fi lej\Zli\[ YXj`j
Yp CXqq I_XidXZ\lk`ZXcj gcZ, Gf jlYj`[`Xip f] CXqq I_XidXZ\lk`ZXcj gcZ ^lXiXek\\[ k_\ >oZ_Xe^\XYc\ L\e`fi Gfk\j, LlYa\Zk kf Z\ikX`e cfZXc cXn i\jki`Zk`fej
fe gXpd\ek f] [`m`[\e[j* Xdfe^ fk_\i k_`e^j* Xe[ gfk\ek`Xc e\^Xk`m\ kXo Zfej\hl\eZ\j* n\ Xi\ efk XnXi\ f] Xep j`^e`]`ZXek i\jki`Zk`fej fe k_\ XY`c`kp f]
CXqq I_XidXZ\lk`ZXcj gcZ kf fYkX`e ]le[j ]ifd k_\ Bjjl\i fi CXqq I_XidXZ\lk`ZXcj gcZ{j fk_\i jlYj`[`Xi`\j Yp [`m`[\e[ fi cfXe* fi Xep c\^Xc fi \Zfefd`Z
i\jki`Zk`fej fe k_\ XY`c`kp f] k_\ Bjjl\i fi CXqq I_XidXZ\lk`ZXcj gcZ{j fk_\i jlYj`[`Xi`\j kf kiXej]\i ]le[j kf CXqq I_XidXZ\lk`ZXcj gcZ `e k_\ ]fid f] ZXj_
[`m`[\e[j* cfXej fi X[mXeZ\j, M_\i\ `j ef XjjliXeZ\ k_Xk `e k_\ ]lkli\ jlZ_ i\jki`Zk`fej n`cc efk Y\ X[fgk\[,
       M_\ kfkXc c`XY`c`kp f] k_\ 0.04 Gfk\j `j i\]c\Zk\[ e\k f] `jjlXeZ\ Zfjkj f] "/3,1 d`cc`fe n_`Z_ n`cc Y\ Xdfik`q\[ fm\i k_\ k\id f] k_\ 0.04 Gfk\j, M_\
\]]\Zk`m\ `ek\i\jk iXk\ f] k_\ 0.04 Gfk\j `j 0,04#, =li`e^ k_\ k_i\\ dfek_j \e[\[ FXiZ_ 1/* 0.02 Xe[ 0.01* n\ i\Zf^e`q\[ `ek\i\jk \og\ej\ f]
"3,3 d`cc`fe* f] n_`Z_ "3,. d`cc`fe i\cXk\[ kf k_\ ZfekiXZklXc Zflgfe iXk\ Xe[ ".,3 d`cc`fe i\cXk\[ kf k_\ Xdfik`qXk`fe f] [\Yk `jjlXeZ\ Zfjkj* i\jg\Zk`m\cp,
       M_\ kfkXc c`XY`c`kp f] k_\ 0.02 Gfk\j `j i\]c\Zk\[ e\k f] `jjlXeZ\ Zfjkj f] "//,2 d`cc`fe n_`Z_ n`cc Y\ Xdfik`q\[ fm\i k_\ k\id f] k_\ 0.02 Gfk\j, M_\
\]]\Zk`m\ `ek\i\jk iXk\ f] k_\ 0.02 Gfk\j `j /,57#, =li`e^ k_\ k_i\\ dfek_j \e[\[ FXiZ_ 1/* 0.02 Xe[ 0.01* n\ i\Zf^e`q\[ `ek\i\jk \og\ej\ f]
"0,3 d`cc`fe* f] n_`Z_ "0,/ d`cc`fe i\cXk\[ kf k_\ ZfekiXZklXc Zflgfe iXk\ Xe[ ".,2 d`cc`fe i\cXk\[ kf k_\ Xdfik`qXk`fe f] [\Yk `jjlXeZ\ Zfjkj* i\jg\Zk`m\cp,

  Maturities
      LZ_\[lc\[ dXkli`k`\j n`k_ i\jg\Zk kf fli cfe^+k\id [\Yk gi`eZ`gXc YXcXeZ\j flkjkXe[`e^ Xj f] FXiZ_ 1/* 0.02 n\i\ Xj ]fccfnj &`e k_fljXe[j'8
                                                                                                                                           Scheduled Long-Term
Year Ending December 31,                                                                                                                      Debt Maturities
0.02 &i\dX`e[\i'                                                                                                                       "              376*03.
0.03                                                                                                                                                   1/*...
0.04                                                                                                                                                /*.1/*...
0.05                                                                                                                                                   1/*...
0.06                                                                                                                                                0*376*3..
M_\i\X]k\i                                                                                                                                          /*3..*...
MfkXc                                                                                                                                  "            3*567*53.




                                                                              /5
MXYc\ f] <fek\ekj
   Case 1:21-cv-00691-GBW Document 619 Filed 05/22/24 Page 147 of 247 PageID #: 33292

9. Commitments and Contingencies

  Indemnification
      Be k_\ efidXc Zflij\ f] Ylj`e\jj* n\ \ek\i `ekf X^i\\d\ekj k_Xk ZfekX`e X mXi`\kp f] i\gi\j\ekXk`fej Xe[ nXiiXek`\j Xe[ gifm`[\ ]fi ^\e\iXc
`e[\de`]`ZXk`fe* `eZcl[`e^ `e[\de`]`ZXk`fe XjjfZ`Xk\[ n`k_ gif[lZk c`XY`c`kp fi `e]i`e^\d\ek f] `ek\cc\ZklXc gifg\ikp i`^_kj, Hli \ogfjli\ le[\i k_\j\
X^i\\d\ekj `j lebefne Y\ZXlj\ `k `emfcm\j ]lkli\ ZcX`dj k_Xk dXp Y\ dX[\ Ylk _Xm\ efk p\k Y\\e dX[\ X^X`ejk lj, Mf [Xk\* n\ _Xm\ efk gX`[ Xep ZcX`dj fi
Y\\e i\hl`i\[ kf [\]\e[ Xep XZk`fe i\cXk\[ kf k_\j\ `e[\de`]`ZXk`fe fYc`^Xk`fej,
       P\ _Xm\ X^i\\[ kf `e[\de`]p fli \o\Zlk`m\ f]]`Z\ij* [`i\Zkfij Xe[ Z\ikX`e fk_\i \dgcfp\\j ]fi cfjj\j Xe[ Zfjkj `eZlii\[ `e Zfee\Zk`fe n`k_ Z\ikX`e
\m\ekj fi fZZlii\eZ\j* `eZcl[`e^ X[mXeZ`e^ dfe\p kf Zfm\i Z\ikX`e Zfjkj* jlYa\Zk kf Z\ikX`e c`d`kXk`fej, M_\ dXo`dld gfk\ek`Xc Xdflek f] ]lkli\ gXpd\ekj
n\ Zflc[ Y\ i\hl`i\[ kf dXb\ le[\i k_\ `e[\de`]`ZXk`fe fYc`^Xk`fej `j lec`d`k\[9 _fn\m\i* n\ dX`ekX`e `ejliXeZ\ gfc`Z`\j k_Xk dXp c`d`k fli \ogfjli\ Xe[
dXp \eXYc\ lj kf i\Zfm\i X gfik`fe f] Xep ]lkli\ Xdflekj gX`[, :jjld`e^ k_\ Xggc`ZXY`c`kp f] Zfm\iX^\* k_\ n`cc`e^e\jj f] k_\ `ejli\i kf Xjjld\ Zfm\iX^\*
Xe[ jlYa\Zk kf Z\ikX`e i\k\ek`fe* cfjj c`d`kj Xe[ fk_\i gfc`Zp gifm`j`fej* n\ Y\c`\m\ k_\ ]X`i mXcl\ f] k_\j\ `e[\de`]`ZXk`fe fYc`^Xk`fej `j efk j`^e`]`ZXek,
:ZZfi[`e^cp* n\ [`[ efk i\Zf^e`q\ Xep c`XY`c`k`\j i\cXk`e^ kf k_\j\ fYc`^Xk`fej Xj f] FXiZ_ 1/* 0.02 Xe[ =\Z\dY\i 1/* 0.01, Gf XjjliXeZ\j ZXe Y\ ^`m\e
k_Xk k_\ Zfm\i`e^ `ejli\ij n`cc efk Xkk\dgk kf [`jglk\ k_\ mXc`[`kp* Xggc`ZXY`c`kp* fi Xdflek f] Zfm\iX^\ n`k_flk \og\ej`m\ c`k`^Xk`fe X^X`ejk k_\j\ `ejli\ij* `e
n_`Z_ ZXj\ n\ dXp `eZli jlYjkXek`Xc c`XY`c`k`\j Xj X i\jlck f] k_\j\ `e[\de`]`ZXk`fe fYc`^Xk`fej,

  Legal Proceedings
      P\ Xi\ `emfcm\[ `e c\^Xc gifZ\\[`e^j* `eZcl[`e^ k_\ ]fccfn`e^ dXkk\ij8
      Xyrem Antitrust Litigation
       ?ifd Cle\ 0.0. kf FXp 0.00* X eldY\i f] cXnjl`kj n\i\ ]`c\[ fe Y\_Xc] f] gligfik\[ [`i\Zk Xe[ `e[`i\Zk Qpi\d gliZ_Xj\ij* Xcc\^`e^ k_Xk k_\ gXk\ek
c`k`^Xk`fe j\kkc\d\ek X^i\\d\ekj n\ \ek\i\[ n`k_ ^\e\i`Z [il^ dXel]XZkli\ij n_f _X[ ]`c\[ :YYi\m`Xk\[ G\n =il^ :ggc`ZXk`fej* fi :G=:* m`fcXk\ jkXk\
Xe[ ]\[\iXc Xek`kiljk Xe[ Zfejld\i gifk\Zk`fe cXnj* Xj ]fccfnj8
      He Cle\ /5* 0.0.* X ZcXjj XZk`fe cXnjl`k nXj ]`c\[ `e k_\ Ne`k\[ LkXk\j =`jki`Zk <flik ]fi k_\ Gfik_\ie =`jki`Zk f] Bcc`ef`j Yp ;cl\ <ifjj Xe[ ;cl\
L_`\c[ :jjfZ`Xk`fe* fi ;<;L* X^X`ejk CXqq I_XidXZ\lk`ZXcj gcZ* CXqq I_XidXZ\lk`ZXcj* BeZ,* Xe[ CXqq I_XidXZ\lk`ZXcj Bi\cXe[ E`d`k\[* fi* Zfcc\Zk`m\cp* k_\
<fdgXep =\]\e[Xekj &_\i\`eX]k\i i\]\ii\[ kf Xj k_\ ;<;L EXnjl`k', M_\ ;<;L EXnjl`k Xcjf eXd\j KfoXe\ EXYfiXkfi`\j* BeZ,* A`bdX I_XidXZ\lk`ZXcj
NL: BeZ,* >lif_\Xck_ &NL:'* BeZ,* A`bdX I_XidXZ\lk`ZXcj gcZ* :de\Xc I_XidXZ\lk`ZXcj EE<* IXi I_XidXZ\lk`ZXc* BeZ,* Elg`e Ek[,* Elg`e
I_XidXZ\lk`ZXcj BeZ,* Xe[ Elg`e BeZ,* fi* Zfcc\Zk`m\cp* k_\ ;<;L =\]\e[Xekj,
      He Cle\ /6 Xe[ Cle\ 01* 0.0.* i\jg\Zk`m\cp* knf X[[`k`feXc ZcXjj XZk`fe cXnjl`kj n\i\ ]`c\[ X^X`ejk k_\ <fdgXep =\]\e[Xekj Xe[ k_\ ;<;L
=\]\e[Xekj8 fe\ Yp k_\ G\n Rfib LkXk\ M\Xdjk\ij <fleZ`c A\Xck_ Xe[ Afjg`kXc ?le[ `e k_\ Ne`k\[ LkXk\j =`jki`Zk <flik ]fi k_\ Gfik_\ie =`jki`Zk f]
<Xc`]fie`X* Xe[ Xefk_\i Yp k_\ @fm\ied\ek >dgcfp\\j A\Xck_ :jjfZ`Xk`fe BeZ, `e k_\ Ne`k\[ LkXk\j =`jki`Zk <flik ]fi k_\ Gfik_\ie =`jki`Zk f] Bcc`ef`j
&_\i\`eX]k\i i\]\ii\[ kf Xj k_\ @>A: EXnjl`k',
      He Cle\ /6* 0.0.* X ZcXjj XZk`fe cXnjl`k nXj ]`c\[ `e k_\ Ne`k\[ LkXk\j =`jki`Zk <flik ]fi k_\ Gfik_\ie =`jki`Zk f] <Xc`]fie`X Yp k_\ <`kp f]
Iifm`[\eZ\* K_f[\ BjcXe[* fe Y\_Xc] f] `kj\c] Xe[ Xcc fk_\ij j`d`cXicp j`klXk\[* X^X`ejk CXqq I_XidXZ\lk`ZXcj gcZ* Xe[ KfoXe\ EXYfiXkfi`\j* BeZ,* P\jk+PXi[
I_XidXZ\lk`ZXcj <fig,* A`bdX EXYj BeZ,* A`bdX I_XidXZ\lk`ZXcj NL: BeZ,* Xe[ A`bdX I_XidXZ\lk`ZXcj gcZ* fi* Zfcc\Zk`m\cp* k_\ <`kp f] Iifm`[\eZ\
=\]\e[Xekj,
      He Cle\ 1.* 0.0.* X ZcXjj XZk`fe cXnjl`k nXj ]`c\[ `e k_\ Ne`k\[ LkXk\j =`jki`Zk <flik ]fi k_\ Gfik_\ie =`jki`Zk f] Bcc`ef`j Yp N?<P EfZXc /3..
P\c]Xi\ ?le[ fe Y\_Xc] f] `kj\c] Xe[ Xcc fk_\ij j`d`cXicp j`klXk\[* X^X`ejk CXqq I_XidXZ\lk`ZXcj Bi\cXe[ Ek[,* CXqq I_XidXZ\lk`ZXcj* BeZ,* KfoXe\
EXYfiXkfi`\j* BeZ,* A`bdX I_XidXZ\lk`ZXcj gcZ* >lif_\Xck_ &NL:'* BeZ, Xe[ P\jk+PXi[ I_XidXZ\lk`ZXcj <fig,* fi Zfcc\Zk`m\cp k_\ N?<P =\]\e[Xekj
&_\i\`eX]k\i i\]\ii\[ kf Xj k_\ N?<P EXnjl`k',
       He Clcp /1* 0.0.* k_\ gcX`ek`]]j `e k_\ ;<;L EXnjl`k Xe[ k_\ @>A: EXnjl`k [`jd`jj\[ k_\`i ZfdgcX`ekj `e k_\ Ne`k\[ LkXk\j =`jki`Zk <flik ]fi k_\
Gfik_\ie =`jki`Zk f] Bcc`ef`j Xe[ i\]`c\[ k_\`i i\jg\Zk`m\ cXnjl`kj `e k_\ Ne`k\[ LkXk\j =`jki`Zk <flik ]fi k_\ Gfik_\ie =`jki`Zk f] <Xc`]fie`X, He Clcp /2* 0.0.*
k_\ gcX`ek`]]j `e k_\ N?<P EXnjl`k [`jd`jj\[ k_\`i ZfdgcX`ek `e k_\ Ne`k\[ LkXk\j =`jki`Zk <flik ]fi k_\ Gfik_\ie =`jki`Zk f] Bcc`ef`j Xe[ fe Clcp /3* 0.0.*
i\]`c\[ k_\`i cXnjl`k `e k_\ Ne`k\[ LkXk\j =`jki`Zk <flik ]fi k_\ Gfik_\ie =`jki`Zk f] <Xc`]fie`X,
      He Clcp 1/* 0.0.* X ZcXjj XZk`fe cXnjl`k nXj ]`c\[ `e k_\ Ne`k\[ LkXk\j =`jki`Zk <flik ]fi k_\ Lflk_\ie =`jki`Zk f] G\n Rfib Yp k_\ :,?, f] E,+:,@,<,
;l`c[`e^ MiX[\j P\c]Xi\ IcXe fe Y\_Xc] f] `kj\c] Xe[ Xcc fk_\ij j`d`cXicp j`klXk\[* X^X`ejk CXqq I_XidXZ\lk`ZXcj gcZ &_\i\`eX]k\i i\]\ii\[ kf Xj k_\ :?E IcXe
EXnjl`k', M_\ :?E IcXe EXnjl`k Xcjf eXd\j KfoXe\ EXYfiXkfi`\j BeZ,* P\jk+PXi[ I_XidXZ\lk`ZXcj <fig,* A`bdX EXYj BeZ,* A`bdX I_XidXZ\lk`ZXcj gcZ*
:de\Xc I_XidXZ\lk`ZXcj EE<* IXi I_XidXZ\lk`ZXc* BeZ,* Elg`e Ek[,* Elg`e I_XidXZ\lk`ZXcj* BeZ,* Xe[ Elg`e BeZ,



                                                                               /6
MXYc\ f] <fek\ekj
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      He :l^ljk /2* 0.0.* Xe X[[`k`feXc ZcXjj XZk`fe cXnjl`k nXj ]`c\[ `e k_\ Ne`k\[ LkXk\j =`jki`Zk <flik ]fi k_\ Lflk_\ie =`jki`Zk f] G\n Rfib Yp k_\ L\c]+
Bejli\[ LZ_ffcj f] <Xc`]fie`X fe Y\_Xc] f] `kj\c] Xe[ Xcc fk_\ij j`d`cXicp j`klXk\[* X^X`ejk k_\ <fdgXep =\]\e[Xekj* Xj n\cc Xj A`bdX I_XidXZ\lk`ZXcj gcZ*
>lif_\Xck_ &NL:' BeZ,* A`bdX I_XidXZ\lk`ZXcj NL:* BeZ,* P\jk+PXi[ I_XidXZ\lk`ZXcj <fig,* KfoXe\ EXYfiXkfi`\j* BeZ,* :de\Xc I_XidXZ\lk`ZXcj EE<*
>e[f Bek\ieXk`feXc* gcZ* >e[f I_XidXZ\lk`ZXcj EE<* IXi I_XidXZ\lk`ZXc* BeZ,* Elg`e Ek[,* Elg`e I_XidXZ\lk`ZXcj BeZ,* Elg`e BeZ,* Lle I_XidXZ\lk`ZXc
Be[ljki`\j Ek[,* Lle I_XidXZ\lk`ZXc Afc[`e^j NL:* BeZ,* Lle I_XidXZ\lk`ZXc Be[ljki`\j* BeZ,* KXeYXop EXYfiXkfi`\j Ek[,* M\mX I_XidXZ\lk`ZXc Be[ljki`\j
Ek[,* PXkjfe EXYfiXkfi`\j* BeZ,* PfZb_Xi[k Ek[,* Ffikfe @ifm\ I_XidXZ\lk`ZXcj* BeZ,* PfZb_Xi[k NL: EE<* FXcc`eZbif[k gcZ* Xe[ FXcc`eZbif[k EE<
&_\i\`eX]k\i i\]\ii\[ kf Xj k_\ L\c]+Bejli\[ LZ_ffcj EXnjl`k',
     He L\gk\dY\i /4* 0.0.* Xe X[[`k`feXc ZcXjj XZk`fe cXnjl`k nXj ]`c\[ `e k_\ Ne`k\[ LkXk\j =`jki`Zk <flik ]fi k_\ Gfik_\ie =`jki`Zk f] <Xc`]fie`X* Yp
Klk_ AfccdXe fe Y\_Xc] f] _\ij\c] Xe[ Xcc fk_\ij j`d`cXicp j`klXk\[* X^X`ejk k_\ jXd\ [\]\e[Xekj eXd\[ `e k_\ L\c]+Bejli\[ LZ_ffcj EXnjl`k,
     Be =\Z\dY\i 0.0.* k_\ XYfm\ ZXj\j n\i\ Z\ekiXc`q\[ Xe[ kiXej]\ii\[ kf k_\ Ne`k\[ LkXk\j =`jki`Zk <flik ]fi k_\ Gfik_\ie =`jki`Zk f] <Xc`]fie`X* n_\i\
k_\ dlck`[`jki`Zk c`k`^Xk`fe n`cc gifZ\\[ ]fi k_\ gligfj\ f] [`jZfm\ip Xe[ gi\+ki`Xc gifZ\\[`e^j,
     He FXiZ_ /6* 0.0/* Ne`k\[ A\Xck_ZXi\ L\im`Z\j* BeZ, ]`c\[ X cXnjl`k `e k_\ Ne`k\[ LkXk\j =`jki`Zk <flik ]fi k_\ =`jki`Zk f] F`ee\jfkX X^X`ejk k_\
<fdgXep =\]\e[Xekj* A`bdX I_XidXZ\lk`ZXcj gcZ* KfoXe\ EXYfiXkfi`\j* BeZ,* A`bdX I_XidXZ\lk`ZXcj NL: BeZ,* >lif_\Xck_ &NL:' BeZ,* :de\Xc
I_XidXZ\lk`ZXcj EE<* IXi I_XidXZ\lk`ZXc* BeZ,* Elg`e Ek[,* Xe[ Elg`e I_XidXZ\lk`ZXcj* BeZ,* iX`j`e^ j`d`cXi Xcc\^Xk`fej* fi k_\ NAL EXnjl`k, He
FXiZ_ 02* 0.0/* k_\ N,L, Cl[`Z`Xc IXe\c fe Flck`[`jki`Zk E`k`^Xk`fe Zfe[`k`feXccp kiXej]\ii\[ k_\ NAL EXnjl`k kf k_\ Ne`k\[ LkXk\j =`jki`Zk <flik ]fi k_\
Gfik_\ie =`jki`Zk f] <Xc`]fie`X* n_\i\ `k nXj Zfejfc`[Xk\[ ]fi [`jZfm\ip Xe[ gi\+ki`Xc gifZ\\[`e^j n`k_ k_\ fk_\i ZXj\j,
     He :l^ljk /1* 0.0/* k_\ Ne`k\[ LkXk\j =`jki`Zk <flik ]fi k_\ Gfik_\ie =`jki`Zk f] <Xc`]fie`X ^iXek\[ `e gXik Xe[ [\e`\[ `e gXik k_\ <fdgXep
=\]\e[Xekj% dfk`fe kf [`jd`jj k_\ ZfdgcX`ekj `e k_\ ZXj\j i\]\i\eZ\[ XYfm\,
     He HZkfY\i 6* 0.0/* AldXeX BeZ, ]`c\[ X cXnjl`k `e k_\ Ne`k\[ LkXk\j =`jki`Zk <flik ]fi k_\ Gfik_\ie =`jki`Zk f] <Xc`]fie`X X^X`ejk k_\ <fdgXep
=\]\e[Xekj* A`bdX I_XidXZ\lk`ZXcj gcZ* A`bdX I_XidXZ\lk`ZXcj NL: BeZ,* A`bdX EXYj* BeZ,* >lif_\Xck_ &NL:'* BeZ,* :de\Xc I_XidXZ\lk`ZXcj EE<* IXi
I_XidXZ\lk`ZXc* BeZ,* Elg`e Ek[,* Elg`e I_XidXZ\lk`ZXcj* BeZ,* Xe[ Elg`e BeZ* iX`j`e^ j`d`cXi Xcc\^Xk`fej,
     He HZkfY\i 6* 0.0/* Ffc`eX A\Xck_ZXi\ BeZ, ]`c\[ X cXnjl`k `e k_\ Ne`k\[ LkXk\j =`jki`Zk <flik ]fi k_\ Gfik_\ie =`jki`Zk f] <Xc`]fie`X X^X`ejk k_\
<fdgXep =\]\e[Xekj* A`bdX I_XidXZ\lk`ZXcj gcZ* A`bdX I_XidXZ\lk`ZXcj NL: BeZ,* A`bdX EXYj* BeZ,* >lif_\Xck_ &NL:'* BeZ,* :de\Xc I_XidXZ\lk`ZXcj
EE<* IXi I_XidXZ\lk`ZXc* BeZ,* Elg`e Ek[,* Elg`e I_XidXZ\lk`ZXcj* BeZ,* Xe[ Elg`e BeZ* iX`j`e^ j`d`cXi Xcc\^Xk`fej,
      He ?\YilXip /5* 0.00* A\Xck_ <Xi\ L\im`Z\ <figfiXk`fe ]`c\[ X cXnjl`k `e k_\ Ne`k\[ LkXk\j =`jki`Zk <flik ]fi k_\ Gfik_\ie =`jki`Zk f] <Xc`]fie`X
X^X`ejk k_\ <fdgXep =\]\e[Xekj* A`bdX I_XidXZ\lk`ZXcj gcZ* A`bdX I_XidXZ\lk`ZXcj NL: BeZ,* A`bdX EXYj* BeZ,* >lif_\Xck_ &NL:'* BeZ,* :de\Xc
I_XidXZ\lk`ZXcj EE<* IXi I_XidXZ\lk`ZXc* BeZ,* Elg`e Ek[,* Elg`e I_XidXZ\lk`ZXcj* BeZ,* Xe[ Elg`e BeZ* iX`j`e^ j`d`cXi Xcc\^Xk`fej,
       He :gi`c /7* 0.01* k_\ <flik _\c[ X _\Xi`e^ fe ZcXjj Z\ik`]`ZXk`fe `e k_\ Zfejfc`[Xk\[ dlck`+[`jki`Zk c`k`^Xk`fe i\]\i\eZ\[ XYfm\, He FXp /0* 0.01* k_\
<flik ^iXek\[ k_\ gcX`ek`]]j{ dfk`fe Xe[ gi\c`d`eXi`cp Z\ik`]`\[ ZcXjj\j f] Qpi\d gliZ_Xj\ij j\\b`e^ dfe\kXip Xe[ `ealeZk`m\ i\c`\], M_\ <flik \oZcl[\[
QpnXm gliZ_Xj\ij ]ifd k_\ ZcXjj\j, He :gi`c 04* 0.02* n\* A`bdX* Xe[ k_\ gcX`ek`]]j ]`c\[ dfk`fej ]fi jlddXip al[^d\ek, M_\ <flik jZ_\[lc\[ X _\Xi`e^
]fi k_\j\ dfk`fej fe Clcp /7* 0.02, Mi`Xc `e k_`j dXkk\i `j jZ_\[lc\[ ]fi HZkfY\i 06* 0.02,
       He CXelXip /1* 0.01* :de\Xc I_XidXZ\lk`ZXcj EE<* Elg`e Ek[,* Elg`e I_XidXZ\lk`ZXcj* BeZ,* Xe[ Elg`e BeZ* efk`]`\[ k_\ <flik k_Xk k_\p _X[ i\XZ_\[
X j\kkc\d\ek+`e+gi`eZ`gc\ n`k_ k_\ ZcXjj XZk`fe gcX`ek`]]j, He :gi`c /7* 0.01* k_\ <flik _\c[ X _\Xi`e^ fe X dfk`fe ]fi gi\c`d`eXip XggifmXc f] k_`j gifgfj\[
j\kkc\d\ek, He FXp /0* 0.01* k_\ <flik ^iXek\[ k_\ dfk`fe ]fi gi\c`d`eXip XggifmXc f] k_\ gifgfj\[ j\kkc\d\ek, He CXelXip //* 0.02* k_\ <flik _\c[ X
_\Xi`e^ fe k_\ dfk`fe ]fi ]`eXc XggifmXc f] k_\ gifgfj\[ j\kkc\d\ek, M_\ <flik [\]\ii\[ ilc`e^ Xe[ jZ_\[lc\[ X ]lik_\i _\Xi`e^ ]fi ]`eXc XggifmXc f] k_\
gifgfj\[ j\kkc\d\ek fe :gi`c /5* 0.02, =li`e^ ?\YilXip Xe[ FXiZ_ 0.02* k_\ gXik`\j efk`]`\[ k_\ <flik f] j\kkc\d\ekj Y\kn\\e Z\ikX`e efe+ZcXjj XZk`fe
gcX`ek`]]j Xe[ \XZ_ f] :de\Xc Xe[ Elg`e* Xe[ k_\ <flik [`jd`jj\[ k_fj\ gcX`ek`]]j{ ZcX`dj X^X`ejk k_\ Xggc`ZXYc\ gXik`\j, He :gi`c /5* 0.02* k_\ <flik `jjl\[
Xe fi[\i ^iXek`e^ k_\ dfk`fe ]fi ]`eXc XggifmXc f] k_\ j\kkc\d\ek Y\kn\\e k_\ ZcXjj XZk`fe gcX`ek`]]j* :de\Xc* Xe[ Elg`e,
      He =\Z\dY\i //* 0.01* ;cl\ <ifjj Xe[ ;cl\ L_`\c[ f] ?cfi`[X* BeZ, Xe[ A\Xck_ Hgk`fej* BeZ, ]`c\[ X cXnjl`k `e k_\ Ne`k\[ LkXk\j =`jki`Zk <flik ]fi k_\
F`[[c\ =`jki`Zk f] ?cfi`[X X^X`ejk k_\ <fdgXep =\]\e[Xekj* A`bdX I_XidXZ\lk`ZXcj gcZ* A`bdX I_XidXZ\lk`ZXcj NL: BeZ,* A`bdX EXYj* BeZ,* Xe[
>lif_\Xck_ &NL:'* BeZ,* iX`j`e^ j`d`cXi Xcc\^Xk`fej, He CXelXip 01* 0.02* k_\ ;cl\ <ifjj ?cfi`[X ZXj\ nXj kiXej]\ii\[ kf k_\ Ne`k\[ LkXk\j =`jki`Zk <flik ]fi
k_\ Gfik_\ie =`jki`Zk f] <Xc`]fie`X Xe[ Zfejfc`[Xk\[ n`k_ k_\ XYfm\ i\]\i\eZ\[ dlck`[`jki`Zk c`k`^Xk`fe ]fi gi\ki`Xc gligfj\j,



                                                                              /7
MXYc\ f] <fek\ekj
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       He FXp 7* 0.00* :\keX BeZ,* fi :\keX* ]`c\[ X cXnjl`k `e k_\ Llg\i`fi <flik f] <Xc`]fie`X ]fi k_\ <flekp f] :cXd\[X X^X`ejk k_\ <fdgXep
=\]\e[Xekj* A`bdX I_XidXZ\lk`ZXcj gcZ* A`bdX I_XidXZ\lk`ZXcj NL: BeZ,* A`bdX EXYj* BeZ,* >lif_\Xck_ &NL:'* BeZ,* :de\Xc I_XidXZ\lk`ZXcj EE<* IXi
I_XidXZ\lk`ZXc* BeZ,* Elg`e Ek[,* Elg`e I_XidXZ\lk`ZXcj* BeZ,* Xe[ Elg`e BeZ* iX`j`e^ j`d`cXi Xcc\^Xk`fej, He =\Z\dY\i 05* 0.00* k_\ <flik ^iXek\[ `e gXik
Xe[ [\e`\[ `e gXik fli dfk`fe kf [`jd`jj :\keX{j ZfdgcX`ek, :j X i\jlck f] k_Xk ilc`e^* k_\ ^\e\i`Z [\]\e[Xekj _Xm\ Y\\e [`jd`jj\[ ]ifd k_\ ZXj\* Xe[
Z\ikX`e f] :\keX{j ZcX`dj X^X`ejk CXqq _Xm\ Y\\e [`jd`jj\[, He CXelXip 05* 0.01* :\keX ]`c\[ Xe Xd\e[\[ ZfdgcX`ek X^X`ejk CXqq, He FXiZ_ 00* 0.01* n\
]`c\[ dfk`fej kf [`jd`jj Xe[ kf jki`b\ gfik`fej f] k_\ Xd\e[\[ ZfdgcX`ek, He Cle\ 04* 0.01* k_\ <flik ^iXek\[ fli dfk`fej* Xe[ ^iXek\[ :\keX c\Xm\ kf
]lik_\i Xd\e[ `kj ZfdgcX`ek, He Gfm\dY\i /5* 0.01* :\keX ]`c\[ `kj j\Zfe[ Xd\e[\[ ZfdgcX`ek, He ?\YilXip 0* 0.02* n\ ]`c\[ fli Xejn\i kf k_\ j\Zfe[
Xd\e[\[ ZfdgcX`ek Xe[ A`bdX ]`c\[ X dfk`fe kf hlXj_ j\im`Z\, M_Xk dfk`fe i\dX`ej g\e[`e^,
       M_\ gcX`ek`]]j `e Z\ikX`e f] k_\j\ cXnjl`kj Xi\ j\\b`e^ kf i\gi\j\ek X ZcXjj f] [`i\Zk gliZ_Xj\ij f] Qpi\d* Xe[ k_\ gcX`ek`]]j `e k_\ i\dX`e`e^ cXnjl`kj
Xi\ j\\b`e^ kf i\gi\j\ek X ZcXjj f] `e[`i\Zk gliZ_Xj\ij f] Qpi\d, >XZ_ f] k_\ cXnjl`kj ^\e\iXccp Xcc\^\j m`fcXk`fej f] N,L, ]\[\iXc Xe[ jkXk\ Xek`kiljk*
Zfejld\i gifk\Zk`fe* Xe[ le]X`i Zfdg\k`k`fe cXnj `e Zfee\Zk`fe n`k_ k_\ <fdgXep =\]\e[Xekj{ Zfe[lZk i\cXk\[ kf Qpi\d* `eZcl[`e^ XZk`fej c\X[`e^ lg kf*
Xe[ \ek\i`e^ `ekf* gXk\ek c`k`^Xk`fe j\kkc\d\ek X^i\\d\ekj n`k_ \XZ_ f] k_\ fk_\i eXd\[ [\]\e[Xekj, >XZ_ f] k_\ cXnjl`kj j\\bj dfe\kXip [XdX^\j*
\o\dgcXip [XdX^\j* \hl`kXYc\ i\c`\] X^X`ejk k_\ Xcc\^\[ lecXn]lc Zfe[lZk* `eZcl[`e^ [`j^fi^\d\ek f] gif]`kj Xe[ i\jk`klk`fe* Xe[ `ealeZk`m\ i\c`\], Bk `j
gfjj`Yc\ k_Xk X[[`k`feXc cXnjl`kj n`cc Y\ ]`c\[ X^X`ejk k_\ <fdgXep =\]\e[Xekj dXb`e^ j`d`cXi fi i\cXk\[ Xcc\^Xk`fej, B] k_\ gcX`ek`]]j n\i\ kf Y\ jlZZ\jj]lc
`e k_\`i ZcX`dj* k_\p dXp Y\ \ek`kc\[ kf `ealeZk`m\ i\c`\] fi n\ dXp Y\ i\hl`i\[ kf gXp j`^e`]`ZXek dfe\kXip [XdX^\j* n_`Z_ Zflc[ _Xm\ X dXk\i`Xc X[m\ij\
\]]\Zk fe fli Ylj`e\jj* ]`eXeZ`Xc Zfe[`k`fe* i\jlckj f] fg\iXk`fej Xe[ ^ifnk_ gifjg\Zkj,
      GW Acquisition Litigation
     He FXiZ_ /3* 0.0/* @P ]`c\[ X [\]`e`k`m\ gifop jkXk\d\ek* fi Iifop LkXk\d\ek* n`k_ k_\ L\Zli`k`\j Xe[ >oZ_Xe^\ <fdd`jj`fe `e Zfee\Zk`fe n`k_
k_\ @P :Zhl`j`k`fe,
      L`eZ\ k_\ ]`c`e^ f] k_\ Iifop LkXk\d\ek* CXqq I_XidXZ\lk`ZXcj gcZ _Xj Y\\e eXd\[ `e knf cXnjl`kj ]`c\[ `e jkXk\ Xe[ ]\[\iXc Zflikj `e G\n Rfib fe
FXiZ_ /5* 0.0/ Yp gligfik\[ @P j_Xi\_fc[\ij `e Zfee\Zk`fe n`k_ k_\ @P :Zhl`j`k`fe, M_\ ]`ijk nXj ]`c\[ `e k_\ Ne`k\[ LkXk\j =`jki`Zk <flik ]fi k_\
Lflk_\ie =`jki`Zk f] G\n Rfib Yp CXd\j ?Xii\cc &_\i\`eX]k\i i\]\ii\[ kf Xj k_\ ?Xii\cc EXnjl`k' Xe[ Xe X[[`k`feXc jl`k nXj ]`c\[ `e G\n Rfib jkXk\ Zflik Yp
;i`Xe E\mp &_\i\`eX]k\i i\]\ii\[ kf Xj k_\ E\mp EXnjl`k', Be X[[`k`fe kf CXqq I_XidXZ\lk`ZXcj gcZ* CXqq I_XidXZ\lk`ZXcj N,D, Afc[`e^j Ek[,* @P
I_XidXZ\lk`ZXcj gcZ* Xe[ k_\ @P YfXi[ f] [`i\Zkfij Xi\ eXd\[ Xj [\]\e[Xekj `e k_\ ?Xii\cc EXnjl`k, Be k_\ E\mp EXnjl`k* @P I_XidXZ\lk`ZXcj gcZ* k_\ @P
YfXi[ f] [`i\Zkfij* <\ek\im`\n IXike\ij EE<* Xe[ @fc[dXe LXZ_j $ <f, EE< Xi\ eXd\[ Xj [\]\e[Xekj, Be X[[`k`fe kf k_\ ?Xii\cc EXnjl`k Xe[ k_\ E\mp
EXnjl`k* k\e X[[`k`feXc jl`kj _Xm\ Y\\e ]`c\[ `e G\n Rfib* <Xc`]fie`X* Xe[ I\eejpcmXe`X ]\[\iXc Zflikj Yp gligfik\[ @P j_Xi\_fc[\ij X^X`ejk @P
I_XidXZ\lk`ZXcj gcZ Xe[ `kj YfXi[ f] [`i\Zkfij* Ylk n_`Z_ [f efk eXd\ Xep CXqq I_XidXZ\lk`ZXcj gXik`\j &_\i\`eX]k\i i\]\ii\[ kf Xj k_\ @P E`k`^Xk`fe* Xe[
Zfcc\Zk`m\cp n`k_ k_\ ?Xii\cc EXnjl`k Xe[ k_\ E\mp EXnjl`k* Xj k_\ MiXejXZk`fe E`k`^Xk`fe', Be k_\ MiXejXZk`fe E`k`^Xk`fe* k_\ gcX`ek`]]j Xcc\^\ k_Xk k_\ Iifop
LkXk\d\ek fd`kk\[ dXk\i`Xc `e]fidXk`fe Xe[ ZfekX`e\[ d`ji\gi\j\ekXk`fej* Xe[ k_Xk k_\ `e[`m`[lXc d\dY\ij f] k_\ @P YfXi[ f] [`i\Zkfij Yi\XZ_\[ k_\`i
]`[lZ`Xip [lk`\j* `e m`fcXk`fe f] jkXk\ Xe[ ]\[\iXc cXnj* `eZcl[`e^ k_\ L\Zli`k`\j >oZ_Xe^\ :Zk f] /712, M_\ gcX`ek`]]j `e k_\ MiXejXZk`fe E`k`^Xk`fe jfl^_k
mXi`flj i\d\[`\j* `eZcl[`e^ `ealeZk`m\ i\c`\] kf gi\m\ek k_\ ZfejlddXk`fe f] k_\ @P :Zhl`j`k`fe lec\jj Z\ikX`e Xcc\^\[cp dXk\i`Xc `e]fidXk`fe nXj
[`jZcfj\[* fi `e k_\ Xck\ieXk`m\* i\jZ`jj`fe fi [XdX^\j,
      He :gi`c /2* 0.0/* @P ]`c\[ X ?fid 6+D ZfekX`e`e^ jlggc\d\ekXc [`jZcfjli\j i\cXk\[ kf k_\ @P :Zhl`j`k`fe, IlijlXek kf X d\dfiXe[ld f]
le[\ijkXe[`e^ Y\kn\\e k_\ gXik`\j* k_\ E\mp EXnjl`k nXj [`jd`jj\[ fe :gi`c /2* 0.0/,
      He FXp 05* 0.0/* X ZcXjj XZk`fe cXnjl`k nXj ]`c\[ `e k_\ Ne`k\[ LkXk\j =`jki`Zk <flik ]fi k_\ Lflk_\ie =`jki`Zk f] <Xc`]fie`X Yp gcX`ek`]] Dlik S`\^c\i
X^X`ejk @P Xe[ `kj ]fid\i =`i\Zkfij Xjj\ik`e^ ZcX`dj le[\i L\Zk`fej /2&X' Xe[ 0.&X' f] k_\ L\Zli`k`\j >oZ_Xe^\ :Zk f] /712* i\]\ii\[ kf Xj k_\ S`\^c\i
EXnjl`k, M_\ Xcc\^Xk`fej `e k_\ S`\^c\i EXnjl`k Xi\ j`d`cXi kf k_fj\ `e k_\ gi\m`fljcp [`jd`jj\[ MiXejXZk`fe E`k`^Xk`fe,
       He Cle\ 1* 0.00* n\ ]`c\[ X dfk`fe kf [`jd`jj k_\ S`\^c\i EXnjl`k, P_`c\ k_\ dfk`fe kf [`jd`jj nXj g\e[`e^* `e =\Z\dY\i 0.00* k_\ gXik`\j
gXik`Z`gXk\[ `e X d\[`Xk`fe Xe[ i\XZ_\[ X k\ekXk`m\ j\kkc\d\ek* n_`Z_ i\dX`ej jlYa\Zk kf Zflik XggifmXc, He FXiZ_ 0.* 0.01* k_\ gcX`ek`]]j `e k_\ S`\^c\i
EXnjl`k ]`c\[ X dfk`fe ]fi gi\c`d`eXip XggifmXc f] k_\ j\kkc\d\ek, He Clcp 06* 0.01* k_\ <flik ^iXek\[ k_\ dfk`fe ]fi gi\c`d`eXip XggifmXc* n_`Z_
Zfe[`k`feXccp Z\ik`]`\[ X ZcXjj ]fi j\kkc\d\ek gligfj\j, He =\Z\dY\i //* 0.01* k_\ <flik _\c[ X _\Xi`e^ i\^Xi[`e^ ]`eXc XggifmXc f] k_\ gifgfj\[ j\kkc\d\ek
Xe[ kffb k_\ dXkk\i le[\i X[m`j\d\ek, He FXiZ_ 03* 0.02* k_\ <flik `jjl\[ Xe fi[\i ]`eXccp Xggifm`e^ k_\ j\kkc\d\ek Xe[ X al[^d\ek [`jd`jj`e^ k_\ ZXj\,
He :gi`c 2* 0.02* k_\ <flik `jjl\[ Xd\e[\[ m\ij`fej f] k_\ fi[\i Xe[ al[^d\ek,



                                                                              0.
MXYc\ f] <fek\ekj
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      Patent Infringement Litigation
      Avadel Litigation
      He FXp /1* 0.0/* n\ ]`c\[ X gXk\ek `e]i`e^\d\ek jl`k X^X`ejk :mX[\c I_XidXZ\lk`ZXcj gcZ* fi :mX[\c* Xe[ j\m\iXc f] `kj ZfigfiXk\ X]]`c`Xk\j `e k_\
Ne`k\[ LkXk\j =`jki`Zk <flik ]fi k_\ =`jki`Zk f] =\cXnXi\, M_\ jl`k Xcc\^\j k_Xk :mX[\c{j Eldipq n`cc `e]i`e^\ ]`m\ f] fli gXk\ekj i\cXk\[ kf Zfekifcc\[ i\c\Xj\
]fidlcXk`fej f] fopYXk\ Xe[ k_\ jX]\ Xe[ \]]\Zk`m\ [`jki`Ylk`fe f] fopYXk\, M_\ jl`k j\\bj Xe `ealeZk`fe kf gi\m\ek :mX[\c ]ifd cXleZ_`e^ X gif[lZk k_Xk
nflc[ `e]i`e^\ k_\j\ gXk\ekj* Xe[ Xe XnXi[ f] dfe\kXip [XdX^\j `] :mX[\c [f\j cXleZ_ Xe `e]i`e^`e^ gif[lZk, :mX[\c ]`c\[ Xe Xejn\i kf k_\ ZfdgcX`ek Xe[
Zflek\iZcX`dj Xjj\ik`e^ k_Xk k_\ gXk\ekj Xi\ `emXc`[ fi efk \e]fiZ\XYc\* Xe[ k_Xk `kj gif[lZk n`cc efk `e]i`e^\ fli gXk\ekj, :mX[\c ]`c\[ X dfk`fe ]fi gXik`Xc
al[^d\ek fe k_\ gc\X[`e^j fe `kj Zflek\iZcX`d k_Xk fe\ f] fli gXk\ekj j_flc[ Y\ [\c`jk\[ ]ifd k_\ HiXe^\ ;ffb, He Gfm\dY\i /6* 0.00* k_\ <flik `jjl\[
Xe fi[\i k_Xk n\ [\c`jk k_\ gXk\ek ]ifd k_\ HiXe^\ ;ffb, He Gfm\dY\i 00* 0.00* n\ ]`c\[ X efk`Z\ f] Xgg\Xc kf k_\ Ne`k\[ LkXk\j <flik f] :gg\Xcj ]fi k_\
?\[\iXc <`iZl`k, M_\ ?\[\iXc <`iZl`k k\dgfiXi`cp jkXp\[ k_\ =`jki`Zk <flik{j [\c`jk`e^ fi[\i, He ?\YilXip 02* 0.01* k_\ ?\[\iXc <`iZl`k X]]`id\[ k_\ =`jki`Zk
<flik{j [\c`jk`e^ fi[\i* c`]k\[ k_\ k\dgfiXip jkXp* Xe[ ^Xm\ CXqq /2 [Xpj kf i\hl\jk k_Xk ?=: [\c`jk k_\ gXk\ek ]ifd k_\ HiXe^\ ;ffb, CXqq Zfdgc`\[ n`k_ k_\
?\[\iXc <`iZl`k{j fi[\i Xe[ i\hl\jk\[ [\c`jk`e^ fe ?\YilXip 06* 0.01, He FXiZ_ 1* 0.01* n\ Xe[ :mX[\c jk`glcXk\[ kf k_\ [`jd`jjXc n`k_flk gi\al[`Z\ f] k_\
ZcX`dj Xe[ Zflek\iZcX`dj i\cXk\[ kf `e]i`e^\d\ek Xe[ mXc`[`kp f] k_\ [\c`jk\[ gXk\ek `e Yfk_ k_`j jl`k Xe[ X cXk\i+]`c\[ jl`k [\jZi`Y\[ Y\cfn i\cXk\[ kf k_\
jXd\ gXk\ek,
       He :l^ljk 2* 0.0/* n\ ]`c\[ Xe X[[`k`feXc gXk\ek `e]i`e^\d\ek jl`k X^X`ejk :mX[\c `e k_\ Ne`k\[ LkXk\j =`jki`Zk <flik ]fi k_\ =`jki`Zk f] =\cXnXi\,
M_\ j\Zfe[ jl`k Xcc\^\j k_Xk :mX[\c{j Eldipq n`cc `e]i`e^\ X e\ncp+`jjl\[ gXk\ek i\cXk\[ kf jljkX`e\[+i\c\Xj\ ]fidlcXk`fej f] fopYXk\, M_\ jl`k j\\bj Xe
`ealeZk`fe kf gi\m\ek :mX[\c ]ifd cXleZ_`e^ X gif[lZk k_Xk nflc[ `e]i`e^\ k_`j gXk\ek* Xe[ Xe XnXi[ f] dfe\kXip [XdX^\j `] :mX[\c [f\j cXleZ_ Xe
`e]i`e^`e^ gif[lZk, :mX[\c ]`c\[ Xe Xejn\i kf k_\ ZfdgcX`ek Xe[ Zflek\iZcX`dj Xjj\ik`e^ k_Xk k_\ gXk\ekj Xi\ `emXc`[ fi efk \e]fiZ\XYc\* Xe[ k_Xk `kj gif[lZk
n`cc efk `e]i`e^\ fli gXk\ekj,
      He Gfm\dY\i /.* 0.0/* n\ ]`c\[ Xe X[[`k`feXc gXk\ek `e]i`e^\d\ek jl`k X^X`ejk :mX[\c `e k_\ Ne`k\[ LkXk\j =`jki`Zk <flik ]fi k_\ =`jki`Zk f]
=\cXnXi\, M_\ k_`i[ jl`k Xcc\^\j k_Xk :mX[\c{j Eldipq n`cc `e]i`e^\ X e\ncp+`jjl\[ gXk\ek i\cXk\[ kf jljkX`e\[+i\c\Xj\ ]fidlcXk`fej f] fopYXk\, M_\ jl`k
j\\bj Xe `ealeZk`fe kf gi\m\ek :mX[\c ]ifd cXleZ_`e^ X gif[lZk k_Xk nflc[ `e]i`e^\ k_`j gXk\ek* Xe[ Xe XnXi[ f] dfe\kXip [XdX^\j `] :mX[\c [f\j cXleZ_
Xe `e]i`e^`e^ gif[lZk, :mX[\c ]`c\[ Xe Xejn\i kf k_\ ZfdgcX`ek Xe[ Zflek\iZcX`dj Xjj\ik`e^ k_Xk k_\ gXk\ekj Xi\ `emXc`[ fi efk \e]fiZ\XYc\* Xe[ k_Xk `kj
gif[lZk n`cc efk `e]i`e^\ fli gXk\ekj,
       He :gi`c /2* 0.00* :mX[\c jl\[ lj `e k_\ Ne`k\[ LkXk\j =`jki`Zk <flik ]fi k_\ =`jki`Zk f] =\cXnXi\, :mX[\c{j e\n jl`k Xcc\^\j k_Xk n\ d`jXggifgi`Xk\[
kiX[\ j\Zi\kj i\cXk\[ kf :mX[\c{j feZ\+e`^_kcp jf[`ld fopYXk\ [\m\cfgd\ek gif^iXd Xe[ Yi\XZ_\[ Z\ikX`e ZfekiXZkj Y\kn\\e k_\ gXik`\j, :mX[\c j\\bj
dfe\kXip [XdX^\j* Xe `ealeZk`fe gi\m\ek`e^ lj ]ifd lj`e^ :mX[\c{j Zfe]`[\ek`Xc `e]fidXk`fe* Xe[ Xe fi[\i [`i\Zk`e^ k_\ Ne`k\[ LkXk\j IXk\ek Xe[
MiX[\dXib H]]`Z\ kf df[`]p k_\ `em\ekfij_`g f] fe\ f] fli fopYXk\ gXk\ekj, He Clcp 6* 0.00* n\ ]`c\[ X dfk`fe ]fi al[^d\ek fe k_\ gc\X[`e^j* n_`Z_ k_\
<flik [\e`\[ fe Clcp /6* 0.01, M_\ [\e`Xc `j efk X ilc`e^ k_Xk CXqq d`jXggifgi`Xk\[ :mX[\czj kiX[\ j\Zi\kj fi Yi\XZ_\[ Xep ZfekiXZk, M_\ ZXj\ n`cc ^f
]finXi[ `e [`jZfm\ip Xe[ k_\ <flik `ejkilZk\[ k_\ gXik`\j kf jlYd`k X gifgfj\[ jZ_\[lc`e^ fi[\i,
       He Cle\ 5* 0.00* n\ i\Z\`m\[ efk`Z\ ]ifd :mX[\c k_Xk `k _X[ ]`c\[ X !gXiX^iXg_ BO Z\ik`]`ZXk`fe! i\^Xi[`e^ fe\ gXk\ek c`jk\[ `e k_\ HiXe^\ ;ffb ]fi
Qpi\d, : gXiX^iXg_ BO Z\ik`]`ZXk`fe `j X Z\ik`]`ZXk`fe Yp X ^\e\i`Z Xggc`ZXek k_Xk Xcc\^\j k_Xk gXk\ekj Zfm\i`e^ k_\ YiXe[\[ gif[lZk Xi\ `emXc`[*
le\e]fiZ\XYc\* Xe[-fi n`cc efk Y\ `e]i`e^\[ Yp k_\ dXel]XZkli\* lj\ fi jXc\ f] k_\ ^\e\i`Z gif[lZk, He Clcp /3* 0.00* n\ ]`c\[ Xe X[[`k`feXc cXnjl`k X^X`ejk
:mX[\c Xjj\ik`e^ `e]i`e^\d\ek f] k_Xk gXk\ek, M_\ jl`k Xcc\^\j k_Xk k_\ ]`c`e^ f] :mX[\c{j Xggc`ZXk`fe ]fi XggifmXc f] ?M0/6 `j Xe XZk f] `e]i`e^\d\ek* Xe[ k_Xk
:mX[\c{j gif[lZk nflc[ `e]i`e^\ k_\ gXk\ek `] cXleZ_\[, M_\ jl`k j\\bj Xe `ealeZk`fe kf gi\m\ek :mX[\c ]ifd cXleZ_`e^ X gif[lZk k_Xk nflc[ `e]i`e^\ k_\
gXk\ek* Xe[ Xe XnXi[ f] [XdX^\j `] :mX[\c [f\j cXleZ_ Xe `e]i`e^`e^ gif[lZk, :mX[\c ]`c\[ Xe Xejn\i kf k_\ ZfdgcX`ek Xe[ Zflek\iZcX`dj Xjj\ik`e^ k_Xk k_\
gXk\ek `j `emXc`[* k_Xk `kj gif[lZk nflc[ efk `e]i`e^\* Xe[ k_Xk Yp c`jk`e^ k_\ gXk\ek `e k_\ HiXe^\ ;ffb* n\ \e^X^\[ `e lecXn]lc dfefgfc`qXk`fe `e m`fcXk`fe
f] k_\ L_\idXe :Zk, He =\Z\dY\i 7* 0.00* n\ ]`c\[ X dfk`fe kf [`jd`jj :mX[\c{j Zflek\iZcX`dj, He Cle\ 07* 0.01* n\ ]`c\[ X dfk`fe j\\b`e^ c\Xm\ kf
jlggc\d\ek fli dfk`fe kf [`jd`jj* Xj n\cc Xj X dfk`fe kf jkXp [`jZfm\ip g\e[`e^ i\jfclk`fe f] k_\ dfk`fe kf [`jd`jj, M_\ <flik _Xj efk p\k ilc\[ fe k_\j\
dfk`fej, :j efk\[ XYfm\* fe FXiZ_ 1* 0.01* n\ Xe[ :mX[\c jk`glcXk\[ kf k_\ [`jd`jjXc n`k_flk gi\al[`Z\ f] k_\ ZcX`dj Xe[ Zflek\iZcX`dj i\cXk\[ kf
`e]i`e^\d\ek Xe[ mXc`[`kp f] k_\ [\c`jk\[ gXk\ek,
      He Gfm\dY\i /* 0.01* k_\ <flik _\c[ X ZcX`d ZfejkilZk`fe _\Xi`e^ i\cXk`e^ kf [`jglk\[ k\idj `e k_\ Xjj\ik\[ gXk\ekj, He =\Z\dY\i /3* 0.01* k_\
<flik `jjl\[ X ni`kk\e fg`e`fe Xe[ fi[\i i\jfcm`e^ k_\ gXik`\j{ i\dX`e`e^ ZcX`d ZfejkilZk`fe [`jglk\j, He Gfm\dY\i 0.* 0.01* n\ Xe[ :mX[\c \XZ_ ]`c\[
dfk`fej ]fi jlddXip al[^d\ek, He ?\YilXip /2* 0.02* k_\ <flik `jjl\[ X ni`kk\e fg`e`fe Xe[ fi[\i [\ep`e^ Yfk_ gXik`\j{ dfk`fej ]fi jlddXip al[^d\ek,
      Mi`Xc i\^Xi[`e^ fli gXk\ek `e]i`e^\d\ek ZcX`dj X^X`ejk :mX[\c Y\^Xe fe ?\YilXip 04* 0.02 Xe[ ZfeZcl[\[ fe FXiZ_ 2* 0.02* n`k_ k_\ alip ]`e[`e^
Yfk_ f] fli Xjj\ik\[ gXk\ekj mXc`[* Xe[ XnXi[`e^ lj [XdX^\j ]fi `e]i`e^\d\ek ]fi :mX[\c{j



                                                                              0/
MXYc\ f] <fek\ekj
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gXjk jXc\j f] Eldipq, He :gi`c /0* 0.02* n\ ]`c\[ X dfk`fe ]fi X g\idXe\ek `ealeZk`fe Xe[ fe^f`e^ ifpXck`\j, M_\ <flik jZ_\[lc\[ X _\Xi`e^ fe k_Xk dfk`fe
]fi Cle\ 2* 0.02,
       M_\ <flik jZ_\[lc\[ X ki`Xc i\^Xi[`e^ :mX[\c{j Zflek\iZcX`dj ]fi lecXn]lc dfefgfc`qXk`fe ]fi Gfm\dY\i 1* 0.03 Xe[ X ki`Xc i\^Xi[`e^ :mX[\c{j kiX[\
j\Zi\k d`jXggifgi`Xk`fe ZcX`dj ]fi =\Z\dY\i /3* 0.03, He FXiZ_ /1* 0.02 Xe[ FXiZ_ /7* 0.02* n\ ]`c\[ dfk`fej kf jkXp :mX[\c{j lecXn]lc
dfefgfc`qXk`fe Zflek\iZcX`d Xe[ kiX[\ j\Zi\k ZcX`dj* i\jg\Zk`m\cp* g\e[`e^ i\jfclk`fe f] gfjk+ki`Xc dfk`fej Xe[ gfk\ek`Xc Xgg\Xcj `e k_\ gXk\ek `e]i`e^\d\ek
jl`k, ;fk_ dfk`fej kf jkXp i\dX`e g\e[`e^,
      He Clcp 0/* 0.00* :mX[\c ]`c\[ X cXnjl`k X^X`ejk ?=: `e k_\ Ne`k\[ LkXk\j =`jki`Zk <flik ]fi k_\ =`jki`Zk f] <fcldY`X* Z_Xcc\e^`e^ ?=:{j
[\k\id`eXk`fe k_Xk :mX[\c nXj i\hl`i\[ kf ]`c\ X gXiX^iXg_ BO Z\ik`]`ZXk`fe i\^Xi[`e^ fe\ f] fli HiXe^\ ;ffb c`jk\[ gXk\ekj, :mX[\c ]`c\[ X dfk`fe ]fi
gi\c`d`eXip `ealeZk`fe* fi `e k_\ Xck\ieXk`m\* jlddXip al[^d\ek* j\\b`e^ i\c`\] `eZcl[`e^ X [\ZcXiXk`fe k_Xk ?=:{j [\Z`j`fe i\hl`i`e^ gXk\ek Z\ik`]`ZXk`fe
nXj lecXn]lc* Xe fi[\i j\kk`e^ Xj`[\ k_Xk [\Z`j`fe* Xe `ealeZk`fe gif_`Y`k`e^ ?=: ]ifd i\hl`i`e^ jlZ_ Z\ik`]`ZXk`fe Xj X gi\Zfe[`k`fe kf XggifmXc f] `kj
Xggc`ZXk`fe ]fi ?M0/6* Xe[ Xe fi[\i i\hl`i`e^ ?=: kf kXb\ ]`eXc XZk`fe fe :mX[\c{j Xggc`ZXk`fe ]fi XggifmXc f] ?M0/6 n`k_`e /2 [Xpj f] k_\ <flik{j ilc`e^,
He Clcp 05* 0.00* n\ ]`c\[ X dfk`fe kf `ek\im\e\ `e k_Xk ZXj\* n_`Z_ k_\ <flik ^iXek\[, M_\ <flik _\c[ X _\Xi`e^ fe k_\ gXik`\j{ i\jg\Zk`m\ dfk`fej ]fi
jlddXip al[^d\ek fe HZkfY\i 5* 0.00, He Gfm\dY\i 1* 0.00* k_\ <flik ^iXek\[ fli Xe[ ?=:{j dfk`fej ]fi jlddXip al[^d\ek Xe[ [\e`\[ :mX[\c{j
dfk`fe,
      Xywav Patent Litigation
      Be Cle\ 0.0/* n\ i\Z\`m\[ efk`Z\ ]ifd Elg`e BeZ,* fi Elg`e* k_Xk `k _Xj ]`c\[ n`k_ ?=: Xe :G=:* ]fi X ^\e\i`Z m\ij`fe f] QpnXm, M_\ efk`Z\ ]ifd
Elg`e `eZcl[\[ X gXiX^iXg_ BO Z\ik`]`ZXk`fe n`k_ i\jg\Zk kf k\e f] fli gXk\ekj c`jk\[ `e ?=:{j HiXe^\ ;ffb ]fi QpnXm fe k_\ [Xk\ f] fli i\Z\`gk f] k_\
efk`Z\, M_\ Xjj\ik\[ gXk\ekj i\cXk\ ^\e\iXccp kf k_\ Zfdgfj`k`fe Xe[ d\k_f[ f] lj\ f] QpnXm* Xe[ d\k_f[j f] ki\Xkd\ek n_\e QpnXm `j X[d`e`jk\i\[
ZfeZfd`kXekcp n`k_ Z\ikX`e fk_\i d\[`ZXk`fej,
      Be Clcp 0.0/* n\ ]`c\[ X gXk\ek `e]i`e^\d\ek jl`k X^X`ejk Elg`e `e k_\ Ne`k\[ LkXk\j =`jki`Zk <flik ]fi k_\ =`jki`Zk f] G\n C\ij\p, M_\ ZfdgcX`ek
Xcc\^\j k_Xk Yp ]`c`e^ `kj :G=:* Elg`e _Xj `e]i`e^\[ k\e f] fli HiXe^\ ;ffb c`jk\[ gXk\ekj, P\ Xi\ j\\b`e^ X g\idXe\ek `ealeZk`fe kf gi\m\ek Elg`e ]ifd
`ekif[lZ`e^ X ^\e\i`Z m\ij`fe f] QpnXm k_Xk nflc[ `e]i`e^\ fli gXk\ekj, :j X i\jlck f] k_`j cXnjl`k* n\ \og\Zk k_Xk X jkXp f] XggifmXc f] lg kf 1. dfek_j
n`cc Y\ `dgfj\[ Yp ?=: fe Elg`e%j :G=:, Be Cle\ 0.0/* ?=: i\Zf^e`q\[ j\m\e p\Xij f] Hig_Xe =il^ >oZclj`m`kp ]fi QpnXm k_ifl^_ Clcp 0/* 0.05, He
HZkfY\i 2* 0.0/* Elg`e ]`c\[ Xe Xejn\i kf k_\ ZfdgcX`ek Xe[ Zflek\iZcX`dj Xjj\ik`e^ k_Xk k_\ gXk\ekj Xi\ `emXc`[ fi efk \e]fiZ\XYc\* Xe[ k_Xk `kj gif[lZk* `]
Xggifm\[* n`cc efk `e]i`e^\ fli gXk\ekj,
       Be :gi`c 0.00* n\ i\Z\`m\[ efk`Z\ ]ifd Elg`e k_Xk `k _X[ ]`c\[ X gXiX^iXg_ BO Z\ik`]`ZXk`fe i\^Xi[`e^ X e\ncp+`jjl\[ gXk\ek c`jk\[ `e k_\ HiXe^\ ;ffb
]fi QpnXm, He FXp //* 0.00* n\ ]`c\[ Xe X[[`k`feXc cXnjl`k X^X`ejk Elg`e `e k_\ Ne`k\[ LkXk\j =`jki`Zk <flik ]fi k_\ =`jki`Zk f] G\n C\ij\p Xcc\^`e^ k_Xk Yp
]`c`e^ `kj :G=:* Elg`e `e]i`e^\[ k_\ e\ncp+`jjl\[ gXk\ek i\cXk\[ kf X d\k_f[ f] ki\Xkd\ek n_\e QpnXm `j X[d`e`jk\i\[ ZfeZfd`kXekcp n`k_ Z\ikX`e fk_\i
d\[`ZXk`fej, M_\ jl`k j\\bj X g\idXe\ek `ealeZk`fe kf gi\m\ek Elg`e ]ifd `ekif[lZ`e^ X ^\e\i`Z m\ij`fe f] QpnXm k_Xk nflc[ `e]i`e^\ fli gXk\ek, He
Cle\ 00* 0.00* k_\ <flik Zfejfc`[Xk\[ k_\ knf cXnjl`kj n\ ]`c\[ X^X`ejk Elg`e,
       Be Gfm\dY\i 0.00* n\ i\Z\`m\[ efk`Z\ ]ifd Elg`e k_Xk `k _X[ ]`c\[ X gXiX^iXg_ BO Z\ik`]`ZXk`fe i\^Xi[`e^ X e\ncp+`jjl\[ gXk\ek c`jk\[ `e k_\ HiXe^\
;ffb ]fi QpnXm, He CXelXip /7* 0.01* n\ ]`c\[ Xe X[[`k`feXc cXnjl`k X^X`ejk Elg`e `e k_\ Ne`k\[ LkXk\j =`jki`Zk <flik ]fi k_\ =`jki`Zk f] G\n C\ij\p
Xcc\^`e^ k_Xk Yp ]`c`e^ `kj :G=:* Elg`e `e]i`e^\[ k_\ e\ncp+`jjl\[ gXk\ek i\]\i\eZ\[ `e `kj Gfm\dY\i 0.00 gXiX^iXg_ BO Z\ik`]`ZXk`fe* Xj n\cc Xj Xefk_\i
gXk\ek k_Xk `jjl\[ `e CXelXip 0.01, M_\ jl`k j\\bj X g\idXe\ek `ealeZk`fe kf gi\m\ek Elg`e ]ifd `ekif[lZ`e^ X ^\e\i`Z m\ij`fe f] QpnXm k_Xk nflc[ `e]i`e^\
k_\ knf gXk\ekj `e jl`k, He ?\YilXip /3* 0.01* k_\ <flik Zfejfc`[Xk\[ k_\ e\n cXnjl`k n`k_ k_\ knf jl`kj n\ gi\m`fljcp ]`c\[ X^X`ejk Elg`e, Gf ki`Xc [Xk\ _Xj
Y\\e j\k `e k_\ Zfejfc`[Xk\[ ZXj\ X^X`ejk Elg`e,
       Be ?\YilXip 0.01* n\ i\Z\`m\[ efk`Z\ ]ifd M\mX I_XidXZ\lk`ZXcj* BeZ,* fi M\mX* k_Xk `k _X[ ]`c\[ n`k_ ?=: Xe :G=: ]fi X ^\e\i`Z m\ij`fe f] QpnXm,
M_\ efk`Z\ ]ifd M\mX `eZcl[\[ X gXiX^iXg_ BO Z\ik`]`ZXk`fe n`k_ i\jg\Zk kf k_`ik\\e f] fli gXk\ekj c`jk\[ `e ?=:{j HiXe^\ ;ffb ]fi QpnXm fe k_\ [Xk\ f]
k_\ i\Z\`gk f] k_\ efk`Z\, M_\ Xjj\ik\[ gXk\ekj i\cXk\ ^\e\iXccp kf k_\ Zfdgfj`k`fe Xe[ d\k_f[ f] lj\ f] QpnXm* Xe[ d\k_f[j f] ki\Xkd\ek n_\e QpnXm `j
X[d`e`jk\i\[ ZfeZfd`kXekcp n`k_ Z\ikX`e fk_\i d\[`ZXk`fej,
      Be FXiZ_ 0.01* n\ ]`c\[ X gXk\ek `e]i`e^\d\ek jl`k X^X`ejk M\mX `e k_\ Ne`k\[ LkXk\j =`jki`Zk <flik ]fi k_\ =`jki`Zk f] G\n C\ij\p, M_\ ZfdgcX`ek
Xcc\^\j k_Xk Yp ]`c`e^ `kj :G=:* M\mX _Xj `e]i`e^\[ k_`ik\\e f] fli HiXe^\ ;ffb c`jk\[ gXk\ekj, P\ Xi\ j\\b`e^ X g\idXe\ek `ealeZk`fe kf gi\m\ek M\mX ]ifd
`ekif[lZ`e^ X ^\e\i`Z m\ij`fe f] QpnXm k_Xk nflc[ `e]i`e^\ fli gXk\ekj, :j X i\jlck f] k_`j cXnjl`k* n\ \og\Zk k_Xk X jkXp f] XggifmXc f] lg kf 1. dfek_j
n`cc Y\ `dgfj\[ Yp ?=: fe M\mX{j :G=:, He FXp 01* 0.01* M\mX ]`c\[ Xe Xejn\i kf k_\ ZfdgcX`ek Xe[ Zflek\iZcX`dj Xjj\ik`e^ k_Xk k_\ gXk\ekj Xi\ `emXc`[
fi efk \e]fiZ\XYc\* Xe[ k_Xk `kj gif[lZk* `] Xggifm\[* n`cc efk `e]i`e^\ fli gXk\ekj,
      He =\Z\dY\i /3* 0.01* YXj\[ fe X jk`glcXk`fe Y\kn\\e Xcc gXik`\j* k_\ <flik Zfejfc`[Xk\[ k_\ Elg`e cXnjl`kj Xe[ k_\ M\mX cXnjl`k ]fi Xcc gligfj\j,
Gf ki`Xc [Xk\ _Xj Y\\e j\k `e k_\ Zfejfc`[Xk\[ ZXj\,



                                                                             00
MXYc\ f] <fek\ekj
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      Be :gi`c 0.01* n\ i\Z\`m\[ efk`Z\ ]ifd :cb\d EXYfiXkfi`\j Ek[,* fi :cb\d* k_Xk `k _Xj ]`c\[ n`k_ ?=: Xe :G=:* ]fi X ^\e\i`Z m\ij`fe f] Qpi\d,
M_\ efk`Z\ ]ifd :cb\d `eZcl[\[ X gXiX^iXg_ BO Z\ik`]`ZXk`fe n`k_ i\jg\Zk kf j`o f] fli gXk\ekj c`jk\[ `e ?=:{j HiXe^\ ;ffb ]fi Qpi\d fe k_\ [Xk\ f] fli
i\Z\`gk f] k_\ efk`Z\, M_\ Xjj\ik\[ gXk\ekj i\cXk\ ^\e\iXccp kf d\k_f[j f] ki\Xkd\ek n_\e Qpi\d `j X[d`e`jk\i\[ ZfeZfd`kXekcp n`k_ Z\ikX`e fk_\i
d\[`ZXk`fej,
      Be Cle\ 0.01* n\ ]`c\[ X gXk\ek `e]i`e^\d\ek jl`k X^X`ejk :cb\d `e k_\ Ne`k\[ LkXk\j =`jki`Zk <flik ]fi k_\ =`jki`Zk f] G\n C\ij\p, M_\ ZfdgcX`ek
Xcc\^\j k_Xk Yp ]`c`e^ `kj :G=:* :cb\d _Xj `e]i`e^\[ j`o f] fli HiXe^\ ;ffb c`jk\[ gXk\ekj, P\ Xi\ j\\b`e^ X g\idXe\ek `ealeZk`fe kf gi\m\ek :cb\d ]ifd
`ekif[lZ`e^ X ^\e\i`Z m\ij`fe f] Qpi\d k_Xk nflc[ `e]i`e^\ fli gXk\ekj, :j X i\jlck f] k_`j cXnjl`k* n\ \og\Zk k_Xk X jkXp f] XggifmXc f] lg kf 1. dfek_j n`cc
Y\ `dgfj\[ Yp ?=: fe :cb\d{j :G=:,
      He HZkfY\i 2* 0.01* n\ \ek\i\[ `ekf X j\kkc\d\ek X^i\\d\ek n`k_ :cb\d k_Xk i\jfcm\j fli gXk\ek c`k`^Xk`fe, Ne[\i k_\ j\kkc\d\ek X^i\\d\ek* n\
^iXek\[ :cb\d X c`Z\ej\ kf dXel]XZkli\* dXib\k* Xe[ j\cc `kj ^\e\i`Z m\ij`fe f] Qpi\d fe fi X]k\i =\Z\dY\i 1/* 0.03* fi \Xic`\i le[\i Z\ikX`e
Z`iZldjkXeZ\j* `eZcl[`e^ Z`iZldjkXeZ\j n_\i\ A`bdX cXleZ_\j `kj fne ^\e\i`Z jf[`ld fopYXk\ gif[lZk,
      Epidiolex Patent Litigation
        Be Gfm\dY\i Xe[ =\Z\dY\i 0.00* n\ i\Z\`m\[ efk`Z\j ]ifd M\mX I_XidXZ\lk`ZXcj* BeZ,9 IX[X^`j NL EE<9 :gfk\o BeZ,9 :IB I_XidX M\Z_ EE< Xe[
BemX@\e I_XidXZ\lk`ZXcj* BeZ,9 Elg`e E`d`k\[9 MXif I_XidXZ\lk`ZXc Be[ljki`\j Ek[,9 S\eXiX I_XidX Ii`mXk\ E`d`k\[ Xe[ ;`fg_fi\ I_XidX* BeZ,9 FLG
EXYfiXkfi`\j Imk, Ek[, Xe[ FLG I_XidXZ\lk`ZXcj* BeZ,9 :cb\d EXYfiXkfi`\j Ek[,9 Xe[ :jZ\ek I_XidXZ\lk`ZXcj* BeZ, &_\i\`eX]k\i i\]\ii\[ kf Xj k_\
x>g`[`fc\o :G=: ?`c\ijy'* k_Xk k_\p _Xm\ \XZ_ ]`c\[ n`k_ ?=: Xe :G=: ]fi X ^\e\i`Z m\ij`fe f] >g`[`fc\o &ZXeeXY`[`fc' fiXc jfclk`fe, :j f] k_\ [Xk\ f]
k_`j ]`c`e^* n\ Xi\ efk XnXi\ f] fk_\i :G=: ]`c\ij, M_\ efk`Z\j ]ifd k_\ >g`[`fc\o :G=: ?`c\ij \XZ_ `eZcl[\[ X xgXiX^iXg_ BO Z\ik`]`ZXk`fey n`k_ i\jg\Zk
kf Z\ikX`e f] fli gXk\ekj c`jk\[ `e ?=:{j HiXe^\ ;ffb ]fi >g`[`fc\o fe k_\ [Xk\ f] k_\ i\Z\`gk f] k_\ efk`Z\, M_\ c`jk\[ gXk\ekj i\cXk\ ^\e\iXccp kf k_\
Zfdgfj`k`fe Xe[ d\k_f[ f] lj\ f] >g`[`fc\o* Xe[ d\k_f[j f] ki\Xkd\ek lj`e^ >g`[`fc\o, : gXiX^iXg_ BO Z\ik`]`ZXk`fe `j X Z\ik`]`ZXk`fe Yp X ^\e\i`Z
Xggc`ZXek k_Xk Xcc\^\j k_Xk gXk\ekj Zfm\i`e^ k_\ YiXe[\[ gif[lZk Xi\ `emXc`[* le\e]fiZ\XYc\* Xe[-fi n`cc efk Y\ `e]i`e^\[ Yp k_\ dXel]XZkli\* lj\ fi jXc\ f]
k_\ ^\e\i`Z gif[lZk,
      He CXelXip 1* 0.01* n\ ]`c\[ X gXk\ek `e]i`e^\d\ek jl`k X^X`ejk k_\ >g`[`fc\o :G=: ?`c\ij `e k_\ Ne`k\[ LkXk\j =`jki`Zk <flik ]fi k_\ =`jki`Zk f] G\n
C\ij\p, M_\ ZfdgcX`ek Xcc\^\j k_Xk Yp ]`c`e^ k_\`i :G=:j* k_\ >g`[`fc\o :G=: ?`c\ij _Xm\ `e]i`e^\[ Z\ikX`e f] fli HiXe^\ ;ffb c`jk\[ gXk\ekj* Xe[ j\\bj
Xe fi[\i k_Xk k_\ \]]\Zk`m\ [Xk\ f] ?=: XggifmXc f] k_\ :G=:j j_Xcc Y\ X [Xk\ ef \Xic`\i k_Xe k_\ \og`iXk`fe f] k_\ cXjk kf \og`i\ f] k_\ Xjj\ik\[ gXk\ekj, :j
X i\jlck f] k_`j cXnjl`k* n\ \og\Zk k_Xk X jkXp f] XggifmXc f] lg kf 1. dfek_j n`cc Y\ `dgfj\[ Yp ?=: fe k_\ >g`[`fc\o :G=: ?`c\ij{ :G=:j,
      ?ifd FXiZ_ 0.01 k_ifl^_ FXp 0.01* n\ i\Z\`m\[ k_\ >g`[`fc\o :G=: ?`c\ij{ Xejn\ij kf k_\ ZfdgcX`ek, M_\ Xejn\ij `eZcl[\ [\]\ej\j Xe[
Zflek\iZcX`dj Xjj\ik`e^ k_Xk k_\ >g`[`fc\o :G=: ?`c\ij{ gif[lZkj* `] cXleZ_\[* nflc[ efk `e]i`e^\ fli gXk\ekj* k_Xk fli gXk\ekj Xi\ `emXc`[ Xe[* `e fe\
`ejkXeZ\* Zflek\iZcX`dj i\cXk\[ kf Xcc\^Xk`fej f] `e\hl`kXYc\ Zfe[lZk Xe[ `dgifg\i c`jk`e^ f] gXk\ekj `e k_\ HiXe^\ ;ffb, He FXp 03* 0.01* n\ ]`c\[ X
dfk`fe kf [`jd`jj Z\ikX`e f] k_\ Zflek\iZcX`dj, He CXelXip //* 0.02* k_\ <flik `jjl\[ Xe fi[\i ^iXek`e^ `e gXik Xe[ [\ep`e^ `e gXik fli dfk`fe kf [`jd`jj,
      M_\ <flik `e k_\ >g`[`fc\o IXk\ek E`k`^Xk`fe jZ_\[lc\[ ki`Xc ]fi L\gk\dY\i 0.03,
      Be Cle\ Xe[ Clcp 0.01* n\ i\Z\`m\[ efk`Z\ ]ifd Z\ikX`e f] k_\ >g`[`fc\o :G=: ?`c\ij k_Xk k_\p _X[ \XZ_ ]`c\[ X gXiX^iXg_ BO Z\ik`]`ZXk`fe i\^Xi[`e^
X e\ncp+`jjl\[ gXk\ek c`jk\[ `e k_\ HiXe^\ ;ffb ]fi >g`[`fc\o, He Clcp 0/* 0.01* n\ ]`c\[ Xe X[[`k`feXc cXnjl`k X^X`ejk Xcc f] k_\ >g`[`fc\o :G=: ?`c\ij `e
k_\ Ne`k\[ LkXk\j =`jki`Zk <flik ]fi k_\ =`jki`Zk f] G\n C\ij\p Xcc\^`e^ k_Xk* Yp ]`c`e^ `kj :G=:* \XZ_ >g`[`fc\o :G=: ?`c\i `e]i`e^\[ k_\ e\ncp+`jjl\[
gXk\ek i\cXk\[ kf X d\k_f[ f] ki\Xkd\ek lj`e^ >g`[`fc\o, M_\ jl`k j\\bj Xe fi[\i k_Xk k_\ \]]\Zk`m\ [Xk\ f] ?=: XggifmXc f] \XZ_ >g`[`fc\o :G=: ?`c\i{j
Xggc`ZXk`fe j_Xcc Y\ X [Xk\ ef \Xic`\i k_Xe k_\ \og`iXk`fe f] k_\ e\ncp+`jjl\[ gXk\ek,
       He HZkfY\i 02* 0.01* n\ \ek\i\[ `ekf X j\kkc\d\ek X^i\\d\ek n`k_ IX[X^`j NL EE<* fi IX[X^`j* k_Xk i\jfcm\[ fli gXk\ek c`k`^Xk`fe n`k_ IX[X^`j
i\cXk\[ kf >g`[`fc\o, Ne[\i k_\ j\kkc\d\ek X^i\\d\ek* n\ ^iXek\[ IX[X^`j X c`Z\ej\ kf dXel]XZkli\* dXib\k* Xe[ j\cc `kj ^\e\i`Z m\ij`fe f] >g`[`fc\o fe X
[Xk\ k_Xk [\g\e[j fe k_\ fZZlii\eZ\ f] Z\ikX`e fk_\i \m\ekj, M_\ jg\Z`]`Z k\idj f] k_\ IX[X^`j j\kkc\d\ek X^i\\d\ek Xi\ Zfe]`[\ek`Xc,
      He Gfm\dY\i 0.* 0.01* n\ \ek\i\[ `ekf X j\kkc\d\ek X^i\\d\ek n`k_ M\mX I_XidXZ\lk`ZXcj* BeZ,* fi M\mX* k_Xk i\jfcm\[ fli gXk\ek c`k`^Xk`fe n`k_
M\mX i\cXk\[ kf >g`[`fc\o, Ne[\i k_\ j\kkc\d\ek X^i\\d\ek* n\ ^iXek\[ M\mX X c`Z\ej\ kf dXel]XZkli\* dXib\k Xe[ j\cc `kj ^\e\i`Z m\ij`fe f] >g`[`fc\o fe X
[Xk\ n_`Z_ i\dX`ej Zfe]`[\ek`Xc, M_\ jg\Z`]`Z k\idj f] k_\ M\mX j\kkc\d\ek X^i\\d\ek Xi\ Zfe]`[\ek`Xc,
      He =\Z\dY\i 2* 0.01* n\ \ek\i\[ `ekf X j\kkc\d\ek X^i\\d\ek n`k_ :cb\d EXYfiXkfi`\j Ek[,* fi :cb\d* k_Xk i\jfcm\[ fli gXk\ek c`k`^Xk`fe n`k_
:cb\d i\cXk\[ kf >g`[`fc\o, Ne[\i k_\ j\kkc\d\ek X^i\\d\ek* n\ ^iXek\[ :cb\d X c`Z\ej\ kf dXel]XZkli\* dXib\k* Xe[ j\cc `kj ^\e\i`Z m\ij`fe f] >g`[`fc\o
fe X [Xk\ n_`Z_ i\dX`ej Zfe]`[\ek`Xc, M_\ jg\Z`]`Z k\idj f] k_\ :cb\d j\kkc\d\ek Xi\ Zfe]`[\ek`Xc,



                                                                              01
MXYc\ f] <fek\ekj
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      M_\ j\kkc\d\ekj n`k_ IX[X^`j* M\mX Xe[ :cb\d [f efk i\jfcm\ k_\ c`k`^Xk`fe X^X`ejk k_\ fk_\i j\m\e >g`[`fc\o :G=: ?`c\ij* n_`Z_ `j fe^f`e^, P\
ZXeefk gi\[`Zk k_\ jg\Z`]`Z k`d`e^ fi flkZfd\ f] \m\ekj `e k_\j\ dXkk\ij n`k_ i\jg\Zk kf k_\ i\dX`e`e^ [\]\e[Xekj fi k_\ `dgXZk f] [\m\cfgd\ekj `emfcm`e^
Xep jg\Z`]`Z gXik`\j fi gXk\ekj fe fk_\i fe^f`e^ gifZ\\[`e^j n`k_ Xep jg\Z`]`Z >g`[`fc\o :G=: ?`c\i,
       Be L\gk\dY\i Xe[ HZkfY\i 0.01* n\ i\Z\`m\[ efk`Z\ ]ifd Z\ikX`e f] k_\ >g`[`fc\o :G=: ]`c\ij k_Xk k_\p _X[ \XZ_ ]`c\[ X gXiX^iXg_ BO Z\ik`]`ZXk`fe
i\^Xi[`e^ fe\ fi dfi\ e\ncp+`jjl\[ gXk\ekj c`jk\[ `e k_\ HiXe^\ ;ffb ]fi >g`[`fc\o, He =\Z\dY\i /3* 0.01* n\ ]`c\[ Xe X[[`k`feXc cXnjl`k X^X`ejk j\m\e
f] k_\ fi`^`eXc >g`[`fc\o :G=: ?`c\ij n`k_ n_fd n\ _Xm\ efk gi\m`fljcp j\kkc\[, P\ ]`c\[ k_`j cXnjl`k `e k_\ Ne`k\[ LkXk\j =`jki`Zk <flik ]fi k_\ =`jki`Zk
f] G\n C\ij\p Xcc\^`e^ k_Xk* Yp ]`c`e^ `kj :G=:* \XZ_ >g`[`fc\o :G=: ?`c\i `e]i`e^\[ k_\ e\ncp+`jjl\[ gXk\ekj i\cXk\[ kf d\k_f[j f] ki\Xkd\ek lj`e^
>g`[`fc\o, M_\ jl`k j\\bj Xe fi[\i k_Xk k_\ \]]\Zk`m\ [Xk\ f] ?=: XggifmXc f] \XZ_ >g`[`fc\o :G=: ?`c\i{j Xggc`ZXk`fe j_Xcc Y\ X [Xk\ ef \Xic`\i k_Xe k_\
\og`iXk`fe f] k_\ e\ncp+`jjl\[ gXk\ekj,
      >g`[`fc\o Xcjf _Xj fig_Xe [il^ \oZclj`m`kp* fi H=>* ]fi k_\ ki\Xkd\ek f] j\`qli\j XjjfZ`Xk\[ n`k_ E@L fi =L `e gXk`\ekj 0 p\Xij f] X^\ Xe[ fc[\i
k_ifl^_ L\gk\dY\i 06* 0.03* Xe[ ]fi k_\ ki\Xkd\ek f] j\`qli\j XjjfZ`Xk\[ n`k_ E@L fi =L `e gXk`\ekj Y\kn\\e / Xe[ 0 p\Xij f] X^\ Xe[ ]fi k_\ ki\Xkd\ek f]
j\`qli\j XjjfZ`Xk\[ n`k_ ML< k_ifl^_ Clcp 1/* 0.05,
      M_\ <fdgXep m`^fifljcp \e]fiZ\j `kj `ek\cc\ZklXc gifg\ikp i`^_kj Ylk ZXeefk gi\[`Zk k_\ flkZfd\ f] k_\j\ dXkk\ij,
      MSP Litigation
       He :gi`c 1* 0.01* FLI K\Zfm\ip <cX`dj* L\i`\j EE<* fi FLI* ]`c\[ X ZcXjj XZk`fe cXnjl`k fe Y\_Xc] `kj\c] Xe[ fk_\ij j`d`cXicp j`klXk\[ X^X`ejk CXqq
I_XidXZ\lk`ZXcj gcZ* CXqq I_XidXZ\lk`ZXcj* BeZ,* Xe[ CXqq I_XidXZ\lk`ZXcj Bi\cXe[ E`d`k\[* &Zfcc\Zk`m\cp* k_\ <fdgXep =\]\e[Xekj'* >ogi\jj LZi`gkj* BeZ,*
>ogi\jj LZi`gkj Afc[`e^ <fdgXep* >ogi\jj LZi`gkj Lg\Z`Xckp =`jki`Ylk`fe L\im`Z\j* BeZ,* <liXjZi`gk* BeZ, [-Y-X <liXjZi`gk* L,=,* Ii`fi`kp A\Xck_ZXi\
=`jki`Ylk`fe* BeZ, [-Y-X <liXjZi`gk L= Xe[ <liXjZi`gk Lg\Z`Xckp =`jki`Ylk`fe L=* <Xi`e^ Of`Z\ <fXc`k`fe* Xe[ :[`iX ?fle[Xk`fe &Zfcc\Zk`m\cp n`k_ k_\
<fdgXep =\]\e[Xekj* i\]\ii\[ kf Xj k_\ =\]\e[Xekj' `e k_\ Ne`k\[ LkXk\j =`jki`Zk <flik ]fi k_\ Gfik_\ie =`jki`Zk f] <Xc`]fie`X, M_\ FLI ZfdgcX`ek Xcc\^\j
k_Xk k_\ =\]\e[Xekj Zfejg`i\[ kf `eZi\Xj\ k_\ gi`Z\ Xe[ hlXek`kp [`jg\ej\[ f] Qpi\d Xe[ Ii`Xck* `e m`fcXk`fe f] k_\ KXZb\k\\i Be]cl\eZ\[ Xe[ <fiilgk
Hi^Xe`qXk`fej :Zk Xe[ j\m\iXc jkXk\ cXnj, M_\ Xcc\^Xk`fej i\cXk\ ^\e\iXccp kf k_\ Zfe[lZk Xk `jjl\ `e k_\ `em\jk`^Xk`fe Zfe[lZk\[ Yp k_\ Ne`k\[ LkXk\j
=\gXikd\ek f] Cljk`Z\ ]ifd 0./4+0./7* `emfcm`e^ k_\ <fdgXep{j Zfeki`Ylk`fej kf Z\ikX`e Z_Xi`kXYc\ ]fle[Xk`fej, FLI j\\bj dfe\kXip [XdX^\j* i\jk`klk`fe*
[`j^fi^\d\ek* Xe[ X [\ZcXiXk`fe k_Xk k_\ Zfe[lZk Xcc\^\[ `j lecXn]lc,
      He Clcp 03* 0.01* n\ Xe[ Z\ikX`e fk_\i [\]\e[Xekj ]`c\[ dfk`fej kf [`jd`jj FLI%j ZfdgcX`ek* n_`Z_ k_\ <flik ^iXek\[ fe =\Z\dY\i /0* 0.01, He
CXelXip 3* 0.02* k_\ FLI ]`c\[ Xe Xd\e[\[ ZfdgcX`ek, He ?\YilXip 0.* 0.02* n\ ]`c\[ X dfk`fe kf [`jd`jj FLI{j Xd\e[\[ ZfdgcX`ek, M_\ <flik
jZ_\[lc\[ X _\Xi`e^ fe k_\ dfk`fe ]fi Cle\ /1* 0.02, Gf ki`Xc [Xk\ _Xj Y\\e j\k ]fi k_`j dXkk\i,
      FDA Litigation
       He Cle\ 00* 0.01* n\ ]`c\[ X ZfdgcX`ek `e k_\ Ne`k\[ LkXk\j =`jki`Zk <flik ]fi k_\ =`jki`Zk f] <fcldY`X j\\b`e^ X [\ZcXiXk`fe k_Xk ?=:{j XggifmXc fe
FXp /* 0.01 f] k_\ G\n =il^ :ggc`ZXk`fe* fi G=:* ]fi :mX[\c%j Eldipq nXj lecXn]lc, Be k_\ ZfdgcX`ek* n\ Xcc\^\ k_Xk ?=: XZk\[ flkj`[\ `kj Xlk_fi`kp
le[\i k_\ Hig_Xe =il^ :Zk* n_\e* [\jg`k\ H=> gifk\Zk`e^ CXqq{j cfn+jf[`ld fopYXk\ gif[lZk QpnXm* ?=: Xggifm\[ k_\ Eldipq G=: Xe[ ^iXek\[
Eldipq H=> YXj\[ fe ?=:{j ]`e[`e^ k_Xk Eldipq dXb\j X dXafi Zfeki`Ylk`fe kf gXk`\ek ZXi\ Xe[ `j k_\i\]fi\ Zc`e`ZXccp jlg\i`fi kf QpnXm Xe[ Qpi\d,
CXqq ]lik_\i Xcc\^\j k_Xk `e [f`e^ jf* ?=: ]X`c\[ kf ]fccfn `kj fne i\^lcXk`fej* ]X`c\[ kf ]fccfn \jkXYc`j_\[ X^\eZp gfc`Zp n`k_flk gifm`[`e^ X i\Xjfe\[
\ogcXeXk`fe ]fi k_\ [\gXikli\* i\m\ij\[ gi`fi [\Z`j`fej Yp `kj fne jkX]] Xe[ \og\ikj n`k_flk X i\Xjfe\[ \ogcXeXk`fe* Xe[ [`ji\^Xi[\[ k_\ i\c\mXek jZ`\ek`]`Z
c`k\iXkli\ Xe[ [XkX, M_\ ZfdgcX`ek* ]`c\[ glijlXek kf k_\ :[d`e`jkiXk`m\ IifZ\[li\ :Zk* j\\bj kf _Xm\ k_\ <flik mXZXk\ Xe[ j\k Xj`[\ ?=:{j XggifmXc f] k_\
Eldipq G=: Xe[ j\\bj X [\ZcXiXk`fe k_Xk ?=:{j XggifmXc f] k_\ Eldipq G=: nXj XiY`kiXip* ZXgi`Z`flj* Xe XYlj\ f] [`jZi\k`fe Xe[ fk_\in`j\ efk `e
XZZfi[XeZ\ n`k_ cXn9 Xe[ k_Xk XggifmXc f] k_\ Eldipq G=: nXj `e \oZ\jj f] ?=:{j jkXklkfip Xlk_fi`kp Xe[ nXj dX[\ n`k_flk fYj\imXeZ\ f] gifZ\[li\
i\hl`i\[ Yp cXn,
     He L\gk\dY\i /3* 0.01* n\ ]`c\[ X dfk`fe ]fi jlddXip al[^d\ek, He HZkfY\i 0.* 0.01* :mX[\c Xe[ ?=: ]`c\[ Zifjj dfk`fej ]fi jlddXip
al[^d\ek, HiXc Xi^ld\ek fe k_\j\ dfk`fej `j Zlii\ekcp jZ_\[lc\[ ]fi FXp /.* 0.02,
      ?ifd k`d\ kf k`d\ n\ Xi\ `emfcm\[ `e c\^Xc gifZ\\[`e^j Xi`j`e^ `e k_\ fi[`eXip Zflij\ f] Ylj`e\jj, P\ Y\c`\m\ k_\i\ `j ef fk_\i c`k`^Xk`fe g\e[`e^ k_Xk
Zflc[ _Xm\* `e[`m`[lXccp fi `e k_\ X^^i\^Xk\* X dXk\i`Xc X[m\ij\ \]]\Zk fe fli i\jlckj f] fg\iXk`fej fi ]`eXeZ`Xc Zfe[`k`fe,




                                                                             02
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10. Shareholders’ Equity

  Share Repurchase Program
       Be Gfm\dY\i 0./4* fli YfXi[ f] [`i\Zkfij Xlk_fi`q\[ X j_Xi\ i\gliZ_Xj\ gif^iXd Xe[* Xj f] FXiZ_ 1/* 0.02* _X[ Xlk_fi`q\[ k_\ i\gliZ_Xj\ f]
fi[`eXip j_Xi\j _Xm`e^ Xe X^^i\^Xk\ gliZ_Xj\ gi`Z\ f] lg kf "/,3 Y`cc`fe* \oZclj`m\ f] Xep Yifb\iX^\ Zfdd`jj`fej, Ne[\i k_`j gif^iXd* n_`Z_ _Xj ef
\og`iXk`fe [Xk\* n\ dXp i\gliZ_Xj\ fi[`eXip j_Xi\j ]ifd k`d\ kf k`d\ fe k_\ fg\e dXib\k, M_\ k`d`e^ Xe[ Xdflek f] i\gliZ_Xj\j n`cc [\g\e[ fe X mXi`\kp
f] ]XZkfij* `eZcl[`e^ k_\ gi`Z\ f] fli fi[`eXip j_Xi\j* Xck\ieXk`m\ `em\jkd\ek fggfikle`k`\j* i\jki`Zk`fej le[\i k_\ FXp 0.0/ Zi\[`k X^i\\d\ek* ZfigfiXk\ Xe[
i\^lcXkfip i\hl`i\d\ekj Xe[ dXib\k Zfe[`k`fej, M_\ j_Xi\ i\gliZ_Xj\ gif^iXd dXp Y\ df[`]`\[* jljg\e[\[ fi [`jZfek`el\[ Xk Xep k`d\ n`k_flk gi`fi
efk`Z\, =li`e^ k_\ k_i\\ dfek_j \e[\[ FXiZ_ 1/* 0.02* ef j_Xi\j n\i\ i\gliZ_Xj\[, :j f] FXiZ_ 1/* 0.02* k_\ i\dX`e`e^ Xdflek Xlk_fi`q\[ le[\i k_\
j_Xi\ i\gliZ_Xj\ gif^iXd nXj "/4/,2 d`cc`fe* \oZclj`m\ f] Xep Yifb\iX^\ Zfdd`jj`fej,

  Accumulated Other Comprehensive Loss
      M_\ Zfdgfe\ekj f] XZZldlcXk\[ fk_\i Zfdgi\_\ej`m\ cfjj Xj f] FXiZ_ 1/* 0.02 Xe[ =\Z\dY\i 1/* 0.01 n\i\ Xj ]fccfnj &`e k_fljXe[j'8
                                                                                                                                                 Total
                                                                                                                          Foreign             Accumulated
                                                                                                   Net Unrealized        Currency                Other
                                                                                                    Gain From           Translation          Comprehensive
                                                                                                  Hedging Activities    Adjustments              Loss
;XcXeZ\ Xk =\Z\dY\i 1/* 0.01                                                                  "                 013 "        &620*160' "           &620*/25'
  Hk_\i Zfdgi\_\ej`m\ `eZfd\ &cfjj' Y\]fi\ i\ZcXjj`]`ZXk`fej                                                  3*/55           &22*.46'              &16*67/'
  :dflekj i\ZcXjj`]`\[ ]ifd XZZldlcXk\[ fk_\i Zfdgi\_\ej`m\ `eZfd\ &cfjj'                                    &/*134'               w                 &/*134'
  Hk_\i Zfdgi\_\ej`m\ `eZfd\ &cfjj'* e\k                                                                      1*60/           &22*.46'              &2.*025'
;XcXeZ\ Xk FXiZ_ 1/* 0.02                                                                     "               2*.34 "        &664*23.' "           &660*172'

     =li`e^ k_\ k_i\\ dfek_j \e[\[ FXiZ_ 1/* 0.02* fk_\i Zfdgi\_\ej`m\ `eZfd\ &cfjj' gi`dXi`cp i\]c\Zkj ]fi\`^e Zlii\eZp kiXejcXk`fe X[aljkd\ekj*
gi`dXi`cp [l\ kf k_\ n\Xb\e`e^ f] jk\ic`e^ Xe[ k_\ \lif X^X`ejk k_\ N,L, [fccXi,




                                                                             03
MXYc\ f] <fek\ekj
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11. Net Income (Loss) per Ordinary Share
      ;Xj`Z e\k `eZfd\ &cfjj' g\i fi[`eXip j_Xi\ `j YXj\[ fe k_\ n\`^_k\[+Xm\iX^\ eldY\i f] fi[`eXip j_Xi\j flkjkXe[`e^, =`clk\[ e\k `eZfd\ &cfjj' g\i
fi[`eXip j_Xi\ `j YXj\[ fe k_\ n\`^_k\[+Xm\iX^\ eldY\i f] fi[`eXip j_Xi\j flkjkXe[`e^ Xe[ gfk\ek`Xccp [`clk`m\ fi[`eXip j_Xi\j flkjkXe[`e^,
      ;Xj`Z Xe[ [`clk\[ e\k `eZfd\ &cfjj' g\i fi[`eXip j_Xi\ n\i\ Zfdglk\[ Xj ]fccfnj &`e k_fljXe[j* \oZ\gk g\i j_Xi\ Xdflekj'8
                                                                                                                             Three Months Ended
                                                                                                                                  March 31,
                                                                                                                         2024                  2023
Gld\iXkfi8
 G\k `eZfd\ &cfjj'                                                                                                "         &/2*4/6' "                47*20.
 >]]\Zk f] `ek\i\jk fe Xjjld\[ Zfem\ij`fej f] >oZ_Xe^\XYc\ L\e`fi Gfk\j* e\k f] kXo                                              w                     4*741
G\k `eZfd\ &cfjj' ]fi [`clk`m\ e\k `eZfd\ &cfjj' g\i fi[`eXip j_Xi\                                               "         &/2*4/6' "                54*161

=\efd`eXkfi8
 P\`^_k\[+Xm\iX^\ fi[`eXip j_Xi\j lj\[ `e g\i j_Xi\ ZXcZlcXk`fej + YXj`Z                                                        40*315                41*272
 =`clk`m\ \]]\Zk f] >oZ_Xe^\XYc\ L\e`fi Gfk\j                                                                                       w                  7*.22
 =`clk`m\ \]]\Zk f] \dgcfp\\ \hl`kp `eZ\ek`m\ Xe[ gliZ_Xj\ gcXej                                                                    w                  /*011
P\`^_k\[+Xm\iX^\ fi[`eXip j_Xi\j lj\[ `e g\i j_Xi\ ZXcZlcXk`fej + [`clk\[                                                       40*315                51*55/

G\k `eZfd\ &cfjj' g\i fi[`eXip j_Xi\8
 ;Xj`Z                                                                                                            "              &.,01' "               /,.7
 =`clk\[                                                                                                          "              &.,01' "               /,.2

       Ifk\ek`Xccp [`clk`m\ fi[`eXip j_Xi\j ]ifd fli \dgcfp\\ \hl`kp `eZ\ek`m\ Xe[ gliZ_Xj\ gcXej Xi\ [\k\id`e\[ Yp Xggcp`e^ k_\ ki\Xjlip jkfZb d\k_f[ kf
k_\ Xjjld\[ m\jk`e^ f] flkjkXe[`e^ i\jki`Zk\[ jkfZb le`kj* fi KLNj* Xe[ g\i]fidXeZ\+YXj\[ i\jki`Zk\[ jkfZb le`kj* fi IKLNj* k_\ Xjjld\[ \o\iZ`j\ f] j_Xi\
fgk`fej Xe[ k_\ Xjjld\[ `jjlXeZ\ f] fi[`eXip j_Xi\j le[\i fli \dgcfp\\ jkfZb gliZ_Xj\ gcXe* fi >LII, Ifk\ek`Xccp [`clk`m\ fi[`eXip j_Xi\j ]ifd k_\
>oZ_Xe^\XYc\ L\e`fi Gfk\j Xi\ [\k\id`e\[ Yp Xggcp`e^ k_\ `]+Zfem\ik\[ d\k_f[ kf k_\ Xjjld\[ `jjlXeZ\ f] fi[`eXip j_Xi\j lgfe \oZ_Xe^\ f] k_\
>oZ_Xe^\XYc\ L\e`fi Gfk\j, Be :l^ljk 0.01* n\ dX[\ Xe `ii\mfZXYc\ \c\Zk`fe kf ]`o k_\ j\kkc\d\ek d\k_f[ ]fi \oZ_Xe^\j f] k_\ 0.02 Gfk\j kf X
ZfdY`eXk`fe f] ZXj_ Xe[ fi[`eXip j_Xi\j f] k_\ <fdgXep n`k_ X jg\Z`]`\[ ZXj_ Xdflek g\i "/*... gi`eZ`gXc Xdflek f] k_\ 0.02 Gfk\j f] "/*..., :j X
i\jlck* k_\ Xjjld\[ `jjlXeZ\ f] fi[`eXip j_Xi\j lgfe \oZ_Xe^\ f] k_\ 0.02 Gfk\j _Xj fecp Y\\e `eZcl[\[ `e k_\ ZXcZlcXk`fe f] [`clk\[ e\k `eZfd\ g\i
fi[`eXip j_Xi\ `e k_\ k_i\\ dfek_j \e[\[ FXiZ_ 1/* 0.01, M_\ gfk\ek`Xc `jjl\ f] fi[`eXip j_Xi\j lgfe \oZ_Xe^\ f] k_\ 0.04 Gfk\j nXj Xek`+[`clk`m\ Xe[
_X[ ef `dgXZk fe [`clk\[ e\k cfjj g\i fi[`eXip j_Xi\ ]fi k_\ k_i\\ dfek_j \e[\[ FXiZ_ 1/* 0.02,
      M_\ ]fccfn`e^ kXYc\ i\gi\j\ekj k_\ n\`^_k\[+Xm\iX^\ fi[`eXip j_Xi\j k_Xk n\i\ \oZcl[\[ ]ifd k_\ ZXcZlcXk`fe f] [`clk\[ e\k `eZfd\ &cfjj' g\i fi[`eXip
j_Xi\ ]fi k_\ g\i`f[j gi\j\ek\[ Y\ZXlj\ `eZcl[`e^ k_\d nflc[ _Xm\ Xe Xek`+[`clk`m\ \]]\Zk &`e k_fljXe[j'8
                                                                                                                             Three Months Ended
                                                                                                                                  March 31,
                                                                                                                         2024                  2023
>oZ_Xe^\XYc\ L\e`fi Gfk\j                                                                                                        4*2/6                    w
>dgcfp\\ \hl`kp `eZ\ek`m\ Xe[ gliZ_Xj\ gcXej                                                                                     1*3..                 /*.50




                                                                            04
MXYc\ f] <fek\ekj
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12. Revenues
     M_\ ]fccfn`e^ kXYc\ gi\j\ekj X jlddXip f] kfkXc i\m\el\j &`e k_fljXe[j'8
                                                                                                                           Three Months Ended
                                                                                                                                March 31,
                                                                                                                       2024                  2023
QpnXm                                                                                                            "          1/3*1..    "            055*54/
Qpi\d                                                                                                                        42*010                 /56*/1.
>g`[`fc\o->g`[pfc\o                                                                                                         /76*5/4                 /66*7.7
LXk`m\o                                                                                                                       0*513                   5*.76
 MfkXc G\lifjZ`\eZ\                                                                                                         36.*761                 43/*676
KpcXq\->eipcXq\                                                                                                             /.0*53.                  63*705
S\gq\cZX                                                                                                                     53*/..                  45*/6/
=\]`k\c`f-[\]`Yifk`[\                                                                                                        25*454                  17*.57
Opo\fj                                                                                                                       10*.01                  14*5..
 MfkXc HeZfcf^p                                                                                                             035*327                 006*665
Hk_\i                                                                                                                         1*35.                   1*212
 Iif[lZk jXc\j* e\k                                                                                                         620*/.0                 662*0/7
A`^_+jf[`ld fopYXk\ :@ ifpXckp i\m\el\                                                                                       27*725                   0*.74
Hk_\i ifpXckp Xe[ ZfekiXZk i\m\el\j                                                                                           7*712                   4*275
MfkXc i\m\el\j                                                                                                   "          7./*761    "            670*6/0


     M_\ ]fccfn`e^ kXYc\ gi\j\ekj X jlddXip f] kfkXc i\m\el\j Xkki`Ylk\[ kf ^\f^iXg_`Z jfliZ\j &`e k_fljXe[j'8
                                                                                                                             Three Months Ended
                                                                                                                                  March 31,
                                                                                                                       2024                      2023
Ne`k\[ LkXk\j                                                                                                    "          6.6*0/2    "            6/.*//4
>lifg\                                                                                                                       5/*133                  43*7..
:cc fk_\i                                                                                                                    00*2/2                  /4*574
MfkXc i\m\el\j                                                                                                   "          7./*761    "            670*6/0

     M_\ ]fccfn`e^ kXYc\ gi\j\ekj X jlddXip f] k_\ g\iZ\ekX^\ f] kfkXc i\m\el\j ]ifd Zljkfd\ij k_Xk i\gi\j\ek\[ dfi\ k_Xe /.# f] fli kfkXc i\m\el\j8
                                                                                                                            Three Months Ended
                                                                                                                                 March 31,
                                                                                                                     2024                        2023
>LL=L                                                                                                                         20 #                      3/ #
FZD\jjfe                                                                                                                      /0 #                      /0 #
<Xi[`eXc A\Xck_* BeZ,                                                                                                          6#                       /. #


  Financing and payment
     Hli gXpd\ek k\idj mXip Yp k_\ kpg\ Xe[ cfZXk`fe f] fli Zljkfd\i Ylk gXpd\ek `j ^\e\iXccp i\hl`i\[ `e X k\id iXe^`e^ ]ifd 1. kf 43 [Xpj,




                                                                           05
MXYc\ f] <fek\ekj
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13. Share-Based Compensation
      L_Xi\+YXj\[ Zfdg\ejXk`fe \og\ej\ i\cXk\[ kf KLNj* IKLNj* ^iXekj le[\i fli >LII Xe[ j_Xi\ fgk`fej nXj Xj ]fccfnj &`e k_fljXe[j'8
                                                                                                                               Three Months Ended
                                                                                                                                    March 31,
                                                                                                                           2024                  2023
L\cc`e^* ^\e\iXc Xe[ X[d`e`jkiXk`m\                                                                                 "             2.*0/1 "              15*2.0
K\j\XiZ_ Xe[ [\m\cfgd\ek                                                                                                          /6*61/                /3*270
<fjk f] gif[lZk jXc\j                                                                                                              0*175                 1*236
  MfkXc j_Xi\+YXj\[ Zfdg\ejXk`fe \og\ej\* gi\+kXo                                                                                 4/*22/                34*130
BeZfd\ kXo Y\e\]`k ]ifd j_Xi\+YXj\[ Zfdg\ejXk`fe \og\ej\                                                                          &1*177'               &6*4/7'
MfkXc j_Xi\+YXj\[ Zfdg\ejXk`fe \og\ej\* e\k f] kXo                                                                  "             36*.20 "              25*511


  Restricted Stock Units
     M_\ kXYc\ Y\cfn j_fnj k_\ eldY\i f] KLNj ^iXek\[ Zfm\i`e^ Xe \hlXc eldY\i f] fli fi[`eXip j_Xi\j Xe[ k_\ n\`^_k\[+Xm\iX^\ ^iXek [Xk\ ]X`i mXcl\
f] KLNj ^iXek\[8
                                                                                                                               Three Months Ended
                                                                                                                                    March 31,
                                                                                                                           2024                  2023
KLNj ^iXek\[ &`e k_fljXe[j'                                                                                                        /*733                 /*35/
@iXek [Xk\ ]X`i mXcl\                                                                                               "             //6,67   "            /24,0.

     M_\ ]X`i mXcl\ f] KLNj `j [\k\id`e\[ fe k_\ [Xk\ f] ^iXek YXj\[ fe k_\ dXib\k gi`Z\ f] fli fi[`eXip j_Xi\j fe k_Xk [Xk\, M_\ ]X`i mXcl\ f] KLNj `j
\og\ej\[ iXkXYcp fm\i k_\ m\jk`e^ g\i`f[* ^\e\iXccp fm\i ]fli p\Xij,

  Performance-Based Restricted Stock Units
       M_\ <fdg\ejXk`fe $ FXeX^\d\ek =\m\cfgd\ek <fdd`kk\\ f] fli YfXi[ f] [`i\Zkfij Xe[* `e k_\ ZXj\ f] fli <_`\] >o\Zlk`m\ H]]`Z\i* k_\
`e[\g\e[\ek d\dY\ij f] fli YfXi[ f] [`i\Zkfij* Xggifm\[ XnXi[j f] IKLNj kf Z\ikX`e \dgcfp\\j f] k_\ <fdgXep* jlYa\Zk kf m\jk`e^ fe k_\ XZ_`\m\d\ek f]
Z\ikX`e Zfdd\iZ`Xc Xe[ g`g\c`e\ g\i]fidXeZ\ Zi`k\i`X kf Y\ Xjj\jj\[ fm\i X g\i]fidXeZ\ g\i`f[ ]ifd k_\ [Xk\ f] k_\ ^iXek kf =\Z\dY\i 1/* 0.02*
=\Z\dY\i 1/* 0.03 Xe[ =\Z\dY\i 1/* 0.04* i\jg\Zk`m\cp, M_\ eldY\i f] j_Xi\j k_Xk n`cc Y\ XnXi[\[ `j [\k\id`e\[ YXj\[ fe k_\ <fdgXep{j XZ_`\m\d\ek
n`k_ i\jg\Zk kf k_\ g\i]fidXeZ\ Zi`k\i`X, ?fi IKLNj ^iXek\[ gi`fi kf 0.02* k_\ Xdflek f] j_Xi\j XnXi[\[ n`cc Y\ jlYa\Zk kf X[aljkd\ek YXj\[ fe k_\
Xggc`ZXk`fe f] X i\cXk`m\ kfkXc j_Xi\_fc[\i i\klie* fi MLK* df[`]`\i, ?fi IKLNj ^iXek\[ `e 0.02* k_\ i\cXk`m\ MLK i\gi\j\ekj fe\ f] k_\ g\i]fidXeZ\ d\ki`Zj,
Be Yfk_ ZXj\j* k_\ eldY\i f] j_Xi\j k_Xk dXp Y\ \Xie\[ iXe^\j Y\kn\\e .# Xe[ 0..# f] k_\ kXi^\k eldY\i f] IKLNj ^iXek\[,
      M_\ kXYc\ Y\cfn j_fnj k_\ eldY\i f] IKLNj ^iXek\[ Zfm\i`e^ Xe \hlXc eldY\i f] fli fi[`eXip j_Xi\j Xe[ k_\ n\`^_k\[+Xm\iX^\ ^iXek [Xk\ ]X`i
mXcl\ f] IKLNj ^iXek\[8
                                                                                                                              Three Months Ended
                                                                                                                                   March 31,
                                                                                                                           2024                 2023
IKLNj ^iXek\[ &`e k_fljXe[j'                                                                                                        075                  030
@iXek [Xk\ ]X`i mXcl\                                                                                              "              /14,/7   "           /36,/1

      :j k_\ IKLNj ^iXek\[ `e \XZ_ p\Xi Xi\ jlYa\Zk kf X dXib\k Zfe[`k`fe* k_\ ^iXek [Xk\ ]X`i mXcl\ ]fi jlZ_ IKLNj nXj YXj\[ fe X Ffek\ <Xicf
j`dlcXk`fe df[\c, M_\ <fdgXep \mXclXk\[ k_\ g\i]fidXeZ\ kXi^\kj `e k_\ Zfek\ok f] `kj Zlii\ek cfe^+iXe^\ ]`eXeZ`Xc gcXe Xe[ `kj gif[lZk ZXe[`[Xk\
[\m\cfgd\ek g`g\c`e\ Xe[ i\Zf^e`q\[ \og\ej\ YXj\[ fe k_\ gifYXYc\ eldY\i f] XnXi[j k_Xk n`cc lck`dXk\cp m\jk,
      :j f] FXiZ_ 1/* 0.02* Zfdg\ejXk`fe Zfjk efk p\k i\Zf^e`q\[ i\cXk\[ kf lem\jk\[ KLNj* IKLNj* >LII Xe[ j_Xi\ fgk`fej nXj "213,7 d`cc`fe*
"3/,3 d`cc`fe* "6,1 d`cc`fe Xe[ ".,1 d`cc`fe* i\jg\Zk`m\cp* n_`Z_ `j \og\Zk\[ kf Y\ i\Zf^e`q\[ fm\i X n\`^_k\[+Xm\iX^\ g\i`f[ f] 1,. p\Xij* /,6 p\Xij* /,/
p\Xij Xe[ .,3 p\Xij* i\jg\Zk`m\cp,




                                                                             06
MXYc\ f] <fek\ekj
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14. Income Taxes
      Hli `eZfd\ kXo \og\ej\ nXj "//,5 d`cc`fe ]fi k_\ k_i\\ dfek_j \e[\[ FXiZ_ 1/* 0.02* i\jlck`e^ gi`dXi`cp ]ifd kXo [\]`Z`\eZ`\j ]ifd j_Xi\ YXj\[
Zfdg\ejXk`fe, Hli `eZfd\ kXo Y\e\]`k nXj "/3,1 d`cc`fe ]fi k_\ jXd\ g\i`f[ `e 0.01* i\cXk`e^ kf kXo Xi`j`e^ fe `eZfd\ fi cfjj\j `e Bi\cXe[* k_\ N,D,* k_\
N,L, Xe[ Z\ikX`e fk_\i ]fi\`^e ali`j[`Zk`fej* f]]j\k Yp [\[lZk`fej fe jlYj`[`Xip \hl`kp* ]fi\`^e [\i`m\[ `ekXe^`Yc\ `eZfd\* fi ?=BB* Xe[ gXk\ek Yfo Y\e\]`kj,
       Hli e\k [\]\ii\[ kXo c`XY`c`kp `j gi`dXi`cp i\cXk\[ kf XZhl`i\[ `ekXe^`Yc\ Xjj\kj* Xe[ `j e\k f] [\]\ii\[ kXo Xjj\kj i\cXk\[ kf N,L, ]\[\iXc Xe[ jkXk\ kXo
Zi\[`kj* N,L, ]\[\iXc Xe[ jkXk\ Xe[ ]fi\`^e e\k fg\iXk`e^ cfjj ZXiip]finXi[j Xe[ fk_\i k\dgfiXip [`]]\i\eZ\j, P\ dX`ekX`e X mXclXk`fe XccfnXeZ\ X^X`ejk
Z\ikX`e [\]\ii\[ kXo Xjj\kj, >XZ_ i\gfik`e^ g\i`f[* n\ \mXclXk\ k_\ e\\[ ]fi X mXclXk`fe XccfnXeZ\ fe fli [\]\ii\[ kXo Xjj\kj Yp ali`j[`Zk`fe Xe[ X[aljk fli
\jk`dXk\j Xj dfi\ `e]fidXk`fe Y\Zfd\j XmX`cXYc\,
       P\ Xi\ i\hl`i\[ kf i\Zf^e`q\ k_\ ]`eXeZ`Xc jkXk\d\ek \]]\Zkj f] X kXo gfj`k`fe n_\e `k `j dfi\ c`b\cp k_Xe efk* YXj\[ fe k_\ k\Z_e`ZXc d\i`kj* k_Xk k_\
gfj`k`fe n`cc Y\ jljkX`e\[ lgfe \oXd`eXk`fe, :j X i\jlck* n\ _Xm\ i\Zfi[\[ Xe lei\Zf^e`q\[ kXo Y\e\]`k ]fi Z\ikX`e kXo Y\e\]`kj n_`Z_ n\ al[^\ dXp efk Y\
jljkX`e\[ lgfe \oXd`eXk`fe, P\ ]`c\ `eZfd\ kXo i\kliej `e dlck`gc\ kXo ali`j[`Zk`fej* k_\ dfjk j`^e`]`ZXek f] n_`Z_ Xi\ Bi\cXe[* k_\ N,D, Xe[ k_\ N,L, &Yfk_
Xk k_\ ]\[\iXc c\m\c Xe[ `e mXi`flj jkXk\ ali`j[`Zk`fej', ?fi Bi\cXe[* n\ Xi\ ef cfe^\i jlYa\Zk kf `eZfd\ kXo \oXd`eXk`fej Yp kXo`e^ Xlk_fi`k`\j ]fi k_\ p\Xij
gi`fi kf 0./7, ?fi k_\ N,D,* n\ Xi\ ef cfe^\i jlYa\Zk kf `eZfd\ kXo \oXd`eXk`fej Yp kXo`e^ Xlk_fi`k`\j ]fi k_\ p\Xij gi`fi kf 0./4, M_\ N,L, ali`j[`Zk`fej
^\e\iXccp _Xm\ jkXklk\ f] c`d`kXk`fej k_i\\ kf ]fli p\Xij ]ifd k_\ cXk\i f] k_\ i\klie [l\ [Xk\ fi k_\ [Xk\ n_\e k_\ i\klie nXj ]`c\[, Afn\m\i* `e k_\ N,L, &Xk
k_\ ]\[\iXc c\m\c Xe[ `e dfjk jkXk\j'* ZXiip]finXi[j k_Xk n\i\ ^\e\iXk\[ `e 0./7 Xe[ \Xic`\i dXp jk`cc Y\ X[aljk\[ lgfe \oXd`eXk`fe Yp k_\ kXo`e^ Xlk_fi`k`\j,
He\ f] fli jlYj`[`Xi`\j `j Zlii\ekcp le[\i \oXd`eXk`fe Yp k_\ Elo\dYfli^ kXo`e^ Xlk_fi`k`\j ]fi k_\ p\Xij \e[\[ =\Z\dY\i 1/* 0./5* 0./6 Xe[ 0./7, Be
HZkfY\i 0.00 Xe[ `e CXelXip 0.01* n\ i\Z\`m\[ kXo Xjj\jjd\ek efk`Z\j ]ifd k_\ Elo\dYfli^ kXo`e^ Xlk_fi`k`\j ]fi Xcc p\Xij le[\i \oXd`eXk`fe i\cXk`e^ kf
Z\ikX`e kiXej]\i gi`Z`e^ Xe[ fk_\i X[aljkd\ekj, M_\ efk`Z\j gifgfj\ X[[`k`feXc Elo\dYfli^ `eZfd\ kXo f] Xggifo`dXk\cp "02,0 d`cc`fe* kiXejcXk\[ Xk k_\
]fi\`^e \oZ_Xe^\ iXk\ Xj FXiZ_ 1/* 0.02, P\ [`jX^i\\ n`k_ k_\ gifgfj\[ Xjj\jjd\ekj Xe[ Xi\ Zfek\jk`e^ k_\d m`^fifljcp,
       M_\ @fm\ied\ek f] Bi\cXe[* k_\ ali`j[`Zk`fe `e n_`Z_ CXqq I_XidXZ\lk`ZXcj IcZ `j `eZfigfiXk\[* kiXejgfj\[ k_\ @cfYXc F`e`dld MXo I`ccXi Mnf ilc\j
`ekf [fd\jk`Z c\^`jcXk`fe Xj gXik f] k_\ ?`eXeZ\ &Gf, 0' :Zk 0.01 &k_\ !?`eXeZ\ :Zk!', M_\ ?`eXeZ\ :Zk Zcfj\cp ]fccfnj k_\ >N F`e`dld MXo =`i\Zk`m\ Xe[
H><= @l`[XeZ\ i\c\Xj\[ kf [Xk\, M_\ <fdgXep `j n`k_`e k_\ jZfg\ f] k_\j\ ilc\j* n_`Z_ kffb \]]\Zk ]ifd CXelXip /* 0.02, Ne[\i k_\ e\n c\^`jcXk`fe* n\
Xi\ c`XYc\ kf gXp X kfg+lg kXo ]fi k_\ [`]]\i\eZ\ Y\kn\\e k_\ I`ccXi Mnf \]]\Zk`m\ kXo iXk\ g\i ali`j[`Zk`fe Xe[ k_\ /3# d`e`dld iXk\, M_\ ilc\j fe _fn kf
ZXcZlcXk\ k_\ /3# \]]\Zk`m\ kXo iXk\ Xi\ [\kX`c\[ Xe[ _`^_cp Zfdgc\o Xe[ jg\Z`]`Z X[aljkd\ekj \em`jX^\[ `e k_\ I`ccXi Mnf c\^`jcXk`fe ZXe ^`m\ i`j\ kf
[`]]\i\ek \]]\Zk`m\ kXo iXk\j ZfdgXi\[ kf k_fj\ ZXcZlcXk\[ ]fi XZZflek`e^ gligfj\j, P\ n`cc XZZflek ]fi `k Xj X Zlii\ek kXo n_\e `k `j `eZlii\[, P\ \og\Zk kf
Y\ jlYa\Zk kf k_\ kfg+lg kXo `e i\cXk`fe kf fli fg\iXk`fej `e Bi\cXe[* n_\i\ k_\ kiX[`e^ jkXklkfip kXo iXk\ `j /0,3#* k_fl^_ k_\ `dgXZk `e 0.02 `j efk
j`^e`]`ZXek, M_\ gifgfik`fe f] fli gif]`k Y\]fi\ kXo n_`Z_ `j jlYa\Zk kf k_\ kfg+lg kXo Xe[ fli \ogfjli\ kf I`ccXi Mnf `eZfd\ kXo\j `e ]lkli\ p\Xij n`cc
[\g\e[ fe ]XZkfij jlZ_ Xj ]lkli\ i\m\el\j* Zfjkj Xe[ ]fi\`^e Zlii\eZp \oZ_Xe^\ iXk\j, P\ n`cc Zfek`el\ kf dfe`kfi Z_Xe^\j `e cXn Xe[ ^l`[XeZ\ `e i\cXk`fe
kf I`ccXi Mnf,




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Item 2.          Management’s Discussion and Analysis of Financial Condition and Results of Operations
       The following discussion of our financial condition and results of operations should be read in conjunction with the condensed consolidated financial
statements and the notes to condensed consolidated financial statements included elsewhere in this Quarterly Report on Form 10 Q. This discussion
contains forward-looking statements that involve risks and uncertainties. When reviewing the discussion below, you should keep in mind the substantial
risks and uncertainties that could impact our business. In particular, we encourage you to review the risks and uncertainties described in “Risk Factors” in
Part I, Item 1A of our Annual Report on Form 10-K for the year ended December 31, 2023, as supplemented by the risks and uncertainties described in
"Risk Factors" Item 1A. Risk Factors in Part II of this Quarterly Report on Form 10-Q. These risks and uncertainties could cause actual results to differ
materially from those projected in forward-looking statements contained in this report or implied by past results and trends. Forward-looking statements
are statements that attempt to forecast or anticipate future developments in our business, financial condition or results of operations. See the “Cautionary
Note Regarding Forward-Looking Statements” that appears at the end of this discussion. These statements, like all statements in this report, speak only as
of the date of this Quarterly Report on Form 10 Q (unless another date is indicated), and we undertake no obligation to update or revise these statements
in light of future developments.
        Overview
      CXqq I_XidXZ\lk`ZXcj gcZ `j X ^cfYXc Y`fg_XidXZ\lk`ZXc ZfdgXep n_fj\ gligfj\ `j kf `eefmXk\ kf kiXej]fid k_\ c`m\j f] gXk`\ekj Xe[ k_\`i ]Xd`c`\j,
P\ Xi\ [\[`ZXk\[ kf [\m\cfg`e^ c`]\+Z_Xe^`e^ d\[`Z`e\j ]fi g\fgc\ n`k_ j\i`flj [`j\Xj\j + f]k\e n`k_ c`d`k\[ fi ef k_\iXg\lk`Z fgk`fej, P\ _Xm\ X [`m\ij\
gfik]fc`f f] dXib\k\[ d\[`Z`e\j* `eZcl[`e^ c\X[`e^ k_\iXg`\j ]fi jc\\g [`jfi[\ij Xe[ \g`c\gjp* Xe[ X ^ifn`e^ gfik]fc`f f] ZXeZ\i ki\Xkd\ekj, Hli gXk`\ek+
]fZlj\[ Xe[ jZ`\eZ\+[i`m\e XggifXZ_ gfn\ij g`fe\\i`e^ i\j\XiZ_ Xe[ [\m\cfgd\ek X[mXeZ\d\ekj XZifjj fli ifYljk g`g\c`e\ f] `eefmXk`m\ k_\iXg\lk`Zj `e
feZfcf^p Xe[ e\lifjZ`\eZ\,
       Hli jkiXk\^p ]fi ^ifnk_ `j iffk\[ `e \o\Zlk`e^ Zfdd\iZ`Xc cXleZ_\j Xe[ fe^f`e^ Zfdd\iZ`Xc`qXk`fe `e`k`Xk`m\j* X[mXeZ`e^ ifYljk i\j\XiZ_ Xe[
[\m\cfgd\ek* fi K$=* gif^iXdj Xe[ [\c`m\i`e^ `dgXZk]lc Zc`e`ZXc i\jlckj* \]]\Zk`m\cp [\gcfp`e^ ZXg`kXc kf jki\e^k_\e k_\ gifjg\Zkj f] XZ_`\m`e^ fli j_fik+
Xe[ cfe^+k\id ^fXcj k_ifl^_ jkiXk\^`Z ZfigfiXk\ [\m\cfgd\ek* Xe[ [\c`m\i`e^ jkife^ ]`eXeZ`Xc g\i]fidXeZ\, P\ ]fZlj fe gXk`\ek gfglcXk`fej n`k_ _`^_
led\k e\\[j, P\ `[\ek`]p Xe[ [\m\cfg [`]]\i\ek`Xk\[ k_\iXg`\j ]fi k_\j\ gXk`\ekj k_Xk n\ \og\Zk n`cc Y\ cfe^+c`m\[ Xjj\kj Xe[ k_Xk n\ ZXe jlggfik n`k_ Xe
\]]`Z`\ek Zfdd\iZ`Xc`qXk`fe df[\c, Be X[[`k`fe* n\ c\m\iX^\ fli \]]`Z`\ek* jZXcXYc\ fg\iXk`e^ df[\c Xe[ `ek\^iXk\[ ZXgXY`c`k`\j XZifjj fli ^cfYXc
`e]iXjkilZkli\ kf \]]\Zk`m\cp i\XZ_ gXk`\ekj Xifle[ k_\ nfic[,
       Be CXelXip 0.00* n\ XeefleZ\[ fli O`j`fe 0.03* n_`Z_ X`dj kf [\c`m\i jljkX`eXYc\ ^ifnk_ Xe[ \e_XeZ\[ mXcl\* [i`m`e^ fli Zfek`el\[ kiXej]fidXk`fe
kf Xe `eefmXk`m\* _`^_+^ifnk_ ^cfYXc g_XidXZ\lk`ZXc c\X[\i, M_\ k_i\\ Zfi\ Zfdgfe\ekj f] fli O`j`fe 0.03 ]fZlj fe Zfdd\iZ`Xc \o\Zlk`fe* g`g\c`e\
gif[lZk`m`kp Xe[ fg\iXk`feXc \oZ\cc\eZ\,
        Hli jkiXk\^p kf [\c`m\i jljkX`eXYc\ ^ifnk_ Xe[ \e_XeZ\[ mXcl\ `j ]fZlj\[ fe8
    s     Lkife^ Zfdd\iZ`Xc \o\Zlk`fe kf [i`m\ [`m\ij`]`\[ i\m\el\ ^ifnk_ Xe[ X[[i\jj led\k d\[`ZXc e\\[j f] fli gXk`\ekj XZifjj fli gif[lZk gfik]fc`f*
          n_`Z_ ]fZlj\j fe e\lifjZ`\eZ\ Xe[ feZfcf^p d\[`Z`e\j9
    s     >ogXe[`e^ Xe[ X[mXeZ`e^ fli g`g\c`e\ kf XZ_`\m\ X mXclXYc\ gfik]fc`f f] [liXYc\* _`^_cp [`]]\i\ek`Xk\[ gif[lZkj9
    s     <fek`el`e^ kf Yl`c[ X ]c\o`Yc\* \]]`Z`\ek Xe[ gif[lZk`m\ [\m\cfgd\ek \e^`e\ ]fi kXi^\k\[ k_\iXg\lk`Z Xi\Xj kf `[\ek`]p Xe[ gif^i\jj \Xicp+* d`[+ Xe[
          cXk\+jkX^\ Xjj\kj9
    s     B[\ek`]p`e^ Xe[ XZhl`i`e^ efm\c gif[lZk ZXe[`[Xk\j Xe[ Xggifm\[ k_\iXg`\j kf Zfdgc\d\ek fli \o`jk`e^ g`g\c`e\ Xe[ Zfdd\iZ`Xc gfik]fc`f9
    s     Bem\jk`e^ `e Xe \]]`Z`\ek* jZXcXYc\ fg\iXk`e^ df[\c Xe[ [`]]\i\ek`Xk\[ ZXgXY`c`k`\j kf \eXYc\ ^ifnk_9 Xe[
    s     NecfZb`e^ ]lik_\i mXcl\ k_ifl^_ `e[`ZXk`fe \ogXej`fe Xe[ \ekip `ekf ^cfYXc dXib\kj,
      Be 0.02* Zfej`jk\ek n`k_ fli jkiXk\^p* n\ Xi\ Zfek`el`e^ kf ]fZlj fe i\j\XiZ_ Xe[ [\m\cfgd\ek XZk`m`k`\j n`k_`e fli e\lifjZ`\eZ\ Xe[ feZfcf^p
k_\iXg\lk`Z Xi\Xj,




                                                                               1.
MXYc\ f] <fek\ekj
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     Hli c\X[ dXib\k\[ gif[lZkj* c`jk\[ Y\cfn* Xi\ Xggifm\[ `e Zfleki`\j Xifle[ k_\ nfic[ kf `dgifm\ gXk`\ek ZXi\,

Product                            Indications                            Initial Approval Date                 Markets
NEUROSCIENCE
                                   Mi\Xkd\ek f] ZXkXgc\op fi \oZ\jj`m\ Clcp 0.0.                                N,L,
                                   [Xpk`d\ jc\\g`e\jj* fi >=L* `e
                                   gXk`\ekj j\m\e p\Xij f] X^\ Xe[ fc[\i
                                   n`k_ eXiZfc\gjp,
QpnXmt &ZXcZ`ld* dX^e\j`ld*
gfkXjj`ld* Xe[ jf[`ld fopYXk\j'
                                   Mi\Xkd\ek f] `[`fgXk_`Z _pg\ijfde`X* :l^ljk 0.0/                             N,L,
                                   fi BA* `e X[lckj,
                                   Mi\Xkd\ek f] ZXkXgc\op `e gXk`\ekj    FXp 0.01                               <XeX[X
                                   n`k_ eXiZfc\gjp,
                                   Mi\Xkd\ek f] ZXkXgc\op fi >=L `e      Clcp 0..0                              N,L,
                                   gXk`\ekj j\m\e p\Xij f] X^\ Xe[ fc[\i
                                   n`k_ eXiZfc\gjp,
                                   Mi\Xkd\ek f] ZXkXgc\op `e gXk`\ekj    :l^ljk 0..3                            <XeX[X
Qpi\dt &jf[`ld fopYXk\'            n`k_ eXiZfc\gjp,
                                   Mi\Xkd\ek f] eXiZfc\gjp n`k_          HZkfY\i 0..3                           >lifg\Xe Ne`fe* fi >N* @i\Xk
                                   ZXkXgc\op `e X[lck gXk`\ekj*                                                 ;i`kX`e* fk_\i dXib\kj &k_ifl^_
                                   X[fc\jZ\ekj Xe[ Z_`c[i\e ]ifd X^\ f]                                         c`Z\ej`e^ X^i\\d\ek'
                                   5 p\Xij,
                                   Mi\Xkd\ek f] j\`qli\j XjjfZ`Xk\[ n`k_ Cle\ 0./6                              N,L,
                                   E\eefo+@XjkXlk jpe[ifd\* fi E@L*
>g`[`fc\ot &ZXeeXY`[`fc'           =iXm\k jpe[ifd\* fi =L* fi klY\iflj
                                   jZc\ifj`j Zfdgc\o* fi ML<* `e gXk`\ekj
                                   / p\Xi f] X^\ Xe[ fc[\i,
                                   ?fi X[aleZk`m\ k_\iXgp f] j\`qli\j     L\gk\dY\i 0./7                        >N* @i\Xk ;i`kX`e* >>:0* BjiX\c*
                                   XjjfZ`Xk\[ n`k_ E@L fi =L* `e                                                Ln`kq\icXe[* :ljkiXc`X Xe[ G\n
                                   ZfealeZk`fe n`k_ ZcfYXqXd* ]fi                                               S\XcXe[
                                   gXk`\ekj 0 p\Xij f] X^\ Xe[ fc[\i,/
>g`[pfc\ot &ZXeeXY`[`fc'
                                   ?fi X[aleZk`m\ k_\iXgp f] j\`qli\j     :gi`c 0.0/                            >N* @i\Xk ;i`kX`e* BjiX\c Xe[
                                   XjjfZ`Xk\[ n`k_ ML< ]fi gXk`\ekj 0                                           Ln`kq\icXe[
                                   p\Xij f] X^\ Xe[ fc[\i,

                                   ?fi X[aleZk`m\ k_\iXgp f] j\`qli\j Gfm\dY\i 0.01                             <XeX[X
>g`[`fc\ot &ZXeeXY`[`fc'           XjjfZ`Xk\[ n`k_ E@L* =L fi ML< ]fi
                                   gXk`\ekj 0 p\Xij f] X^\ Xe[ fc[\i,
ONCOLOGY
                                   : Zfdgfe\ek f] X dlck`+X^\ek           Cle\ 0.0/                             N,L,
                                   Z_\dfk_\iXg\lk`Z i\^`d\e ]fi k_\
KpcXq\t &XjgXiX^`eXj\ \in`e`X      ki\Xkd\ek f] XZlk\ cpdg_fYcXjk`Z
Z_ipjXek_\d` &i\ZfdY`eXek'+        c\lb\d`X* fi :EE* Xe[ cpdg_fYcXjk`Z
                                   cpdg_fdX* fi E;E* `e X[lck Xe[
ipne'
                                   g\[`Xki`Z gXk`\ekj / dfek_ fi fc[\i
                                   n_f _Xm\ [\m\cfg\[ _pg\ij\ej`k`m`kp
                                   kf >, Zfc`+[\i`m\[ XjgXiX^`eXj\,
                                   : Zfdgfe\ek f] X dlck`+X^\ek           L\gk\dY\i 0.00                        <XeX[X
                                   Z_\dfk_\iXg\lk`Z i\^`d\e ]fi k_\
KpcXq\t &Zi`jXekXjgXj\             ki\Xkd\ek f] :EE Xe[ E;E* `e X[lckj
i\ZfdY`eXek'                       Xe[ g\[`Xki`Z gXk`\ekj / p\Xi fi fc[\i
                                   n_f _Xm\ [\m\cfg\[ _pg\ij\ej`k`m`kp
                                   kf
                                   >, Zfc`+[\i`m\[ XjgXiX^`eXj\,



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MXYc\ f] <fek\ekj
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Product                               Indications                             Initial Approval Date   Markets
                                      : Zfdgfe\ek f] X dlck`+X^\ek            L\gk\dY\i 0.01          >N* @i\Xk ;i`kX`e
                                      Z_\dfk_\iXg\lk`Z i\^`d\e ]fi k_\
>eipcXq\t &i\ZfdY`eXek                ki\Xkd\ek f] :EE Xe[ E;E `e X[lck
Zi`jXekXjgXj\'                        Xe[ g\[`Xki`Z gXk`\ekj &/ dfek_ Xe[
                                      fc[\i' n_f _Xm\ [\m\cfg\[
                                      _pg\ij\ej`k`m`kp fi j`c\ek `eXZk`mXk`fe
                                      kf >, Zfc`+[\i`m\[ XjgXiX^`eXj\,
                                      Mi\Xkd\ek f] X[lck gXk`\ekj n`k_        Cle\ 0.0.               N,L, &c`Z\ej\[ ]ifd I_XidX FXi L,:,*
                                      d\kXjkXk`Z jdXcc Z\cc cle^ ZXeZ\i* fi                           fi I_XidXFXi'1
                                      L<E<* n`k_ [`j\Xj\ gif^i\jj`fe fe fi
                                      X]k\i gcXk`eld+YXj\[ Z_\dfk_\iXgp,

S\gq\cZXt &cliY`e\Zk\[`e'
                                      Mi\Xkd\ek f] X[lckj n`k_ LkX^\ BBB fi L\gk\dY\i 0.0/            <XeX[X &c`Z\ej\[ ]ifd I_XidXFXi'2
                                      d\kXjkXk`Z L<E< n_f _Xm\
                                      gif^i\jj\[ fe fi X]k\i gcXk`eld+
                                      ZfekX`e`e^ k_\iXgp,

=\]`k\c`ft &[\]`Yifk`[\'           Mi\Xkd\ek f] j\m\i\ _\gXk`Z m\ef+  HZkfY\i 0./1                    >N* @i\Xk ;i`kX`e* >>:0*
                                   fZZclj`m\ [`j\Xj\* fi OH=* Xcjf                                    Ln`kq\icXe[* BjiX\c* :ljkiXc`X* Lflk_
                                   befne Xj j`eljf`[Xc fYjkilZk`fe                                    Dfi\X* LXl[` :iXY`X
                                   jpe[ifd\* fi LHL* ]fccfn`e^
                                   _\dXkfgf`\k`Z jk\d Z\cc
                                   kiXejgcXekXk`fe* fi AL<M* k_\iXgp,
=\]`k\c`ft &[\]`Yifk`[\ jf[`ld'    Mi\Xkd\ek f] X[lck Xe[ g\[`Xki`Z   FXiZ_ 0./4                      N,L,
                                   gXk`\ekj n`k_ _\gXk`Z OH=* Xcjf
                                   befne Xj LHL* n`k_ i\eXc fi
                                   glcdfeXip [pj]leZk`fe ]fccfn`e^
                                   AL<M,
=\]`k\c`ft &[\]`Yifk`[\ jf[`ld'    Mi\Xkd\ek f] j\m\i\ _\gXk`Z OH=*   Clcp 0./5                       <XeX[X* ;iXq`c
                                   Xcjf befne Xj LHL* ]fccfn`e^ AL<M
                                   k_\iXgp,
=\]`k\c`ft &[\]`Yifk`[\'           Mi\Xkd\ek f] _\gXk`Z LHL &_\gXk`Z  Cle\ 0./7                       CXgXe
                                   OH=',
Opo\fjt &[XlefilY`Z`e Xe[          Mi\Xkd\ek f] e\ncp+[`X^efj\[       :l^ljk 0./5                     N,L,
ZpkXiXY`e\' c`gfjfd\ ]fi `ea\Zk`fe k_\iXgp+i\cXk\[ XZlk\ dp\cf`[
                                   c\lb\d`X* fi k+:FE* fi :FE n`k_
                                   dp\cf[pjgcXj`X+i\cXk\[ Z_Xe^\j* fi
                                   :FE+FK<* `e X[lckj Xe[ g\[`Xki`Z
                                   gXk`\ekj fe\ p\Xi Xe[ fc[\i,
Opo\fjt c`gfjfdXc                  Mi\Xkd\ek f] X[lckj n`k_ e\ncp+    :l^ljk 0./6                     >N* @i\Xk ;i`kX`e* Ln`kq\icXe[* BjiX\c*
22 d^-/.. d^ gfn[\i ]fi            [`X^efj\[ k+:FE fi :FE+FK<,                                        :ljkiXc`X* Lflk_ Dfi\X* LXl[` :iXY`X
ZfeZ\ekiXk\ ]fi jfclk`fe ]fi
`e]lj`fe
Opo\fjt =XlefilY`Z`e Xe[           Mi\Xkd\ek f] X[lckj n`k_ e\ncp     :gi`c 0.0/                      <XeX[X
ZpkXiXY`e\ c`gfjfd\ ]fi `ea\Zk`fe [`X^efj\[ k_\iXgp+i\cXk\[ k+:FE fi
Ifn[\i* 22 d^ [XlefilY`Z`e Xe[ :FE n`k_ :FE+FK<,
/.. d^ ZpkXiXY`e\ g\i m`Xc*
`ekiXm\eflj* fi BO* `e]lj`fe
Opo\fjt <fdY`eXk`fe ]fi B,O,       A`^_+i`jb :FE                      FXiZ_ 0.02                      CXgXe &k_ifl^_ c`Z\ej`e^ X^i\\d\ek'3
Bea\Zk`fe
/
    M_\ ZcfYXqXd i\jki`Zk`fe c`d`k\[ kf >N Xe[ @i\Xk ;i`kX`e
0 >lifg\Xe >Zfefd`Z :i\X
1
  :ZZ\c\iXk\[ XggifmXc i\Z\`m\[ ]ifd N,L, ?ff[ Xe[ =il^ :[d`e`jkiXk`fe* fi ?=:
2
  <fe[`k`feXc XggifmXc i\Z\`m\[ ]ifd A\Xck_ <XeX[X
3 =\m\cfgd\ek Xe[ Zfdd\iZ`Xc`qXk`fe i`^_kj _\c[ Yp G`ggfe L_`epXbl <f, Ek[, `e CXgXe




                                                                             10
MXYc\ f] <fek\ekj
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      Neuroscience
       P\ Xi\ k_\ ^cfYXc c\X[\i `e k_\ [\m\cfgd\ek Xe[ Zfdd\iZ`Xc`qXk`fe f] fopYXk\ k_\iXgp ]fi gXk`\ekj n`k_ jc\\g [`jfi[\ij, Qpi\d nXj Xggifm\[ Yp
?=: `e 0..0 ]fi ki\Xkd\ek f] ZXkXgc\op Xe[ `e 0..3 ]fi ki\Xkd\ek f] >=L `e eXiZfc\gjp, Be 0.0.* n\ i\Z\`m\[ ?=: XggifmXc ]fi QpnXm ]fi k_\ ki\Xkd\ek
f] ZXkXgc\op fi >=L* `e gXk`\ekj j\m\e p\Xij f] X^\ Xe[ fc[\i n`k_ eXiZfc\gjp, Be :l^ljk 0.0/* QpnXm Y\ZXd\ k_\ ]`ijk Xe[ fecp k_\iXgp Xggifm\[ Yp ?=:
]fi k_\ ki\Xkd\ek f] BA `e X[lckj, QpnXm `j Xe fopYXk\ k_\iXgp k_Xk ZfekX`ej 70# c\jj jf[`ld k_Xe Qpi\d, QpnXm _Xj Y\Zfd\ X jkXe[Xi[ f] ZXi\ ]fi
gXk`\ekj n`k_ eXiZfc\gjp Xe[ BA,
      L`eZ\ k_\i\ `j ef Zli\ ]fi eXiZfc\gjp Xe[ cfe^+k\id [`j\Xj\ dXeX^\d\ek `j e\\[\[* n\ Y\c`\m\ k_Xk QpnXm i\gi\j\ekj Xe `dgfikXek k_\iXg\lk`Z fgk`fe
]fi gXk`\ekj n`k_ k_`j jc\\g [`jfi[\i, Hli Zfdd\iZ`Xc \]]fikj Xi\ ]fZlj\[ fe \[lZXk`e^ gXk`\ekj Xe[ g_pj`Z`Xej XYflk k_\ c`]\cfe^ `dgXZk f] _`^_ jf[`ld
`ekXb\* Xe[ _fn k_\ lj\ f] QpnXm \eXYc\j k_\d kf X[[i\jj n_Xk `j X df[`]`XYc\ i`jb ]XZkfi, P\ m`\n k_\ X[fgk`fe f] QpnXm `e eXiZfc\gjp Xj X gfj`k`m\
`e[`ZXk`fe k_Xk g_pj`Z`Xej Xe[ gXk`\ekj Xggi\Z`Xk\ k_\ Y\e\]`kj f] X cfn+jf[`ld fopYXk\ fgk`fe,
       Be Cle\ 0.0/* ?=: i\Zf^e`q\[ j\m\e p\Xij f] Hig_Xe =il^ >oZclj`m`kp* fi H=>* ]fi QpnXm `e eXiZfc\gjp, H=> \ok\e[j k_ifl^_ Clcp 0.05,
G\m\ik_\c\jj* Eldipq* X ]`o\[+[fj\* _`^_+jf[`ld fopYXk\* nXj Xggifm\[ Yp ?=: fe FXp /* 0.01* ]fi k_\ ki\Xkd\ek f] ZXkXgc\op fi >=L `e X[lckj n`k_
eXiZfc\gjp, ?=: Zfek`el\j kf i\Zf^e`q\ j\m\e p\Xij f] H=> ]fi QpnXm `e eXiZfc\gjp, Be Zfee\Zk`fe n`k_ ^iXek`e^ H=>* ?=: jkXk\[ k_Xk !QpnXm `j
Zc`e`ZXccp jlg\i`fi kf Qpi\d Yp d\Xej f] ^i\Xk\i jX]\kp Y\ZXlj\ QpnXm gifm`[\j X ^i\Xkcp i\[lZ\[ Z_ife`Z jf[`ld Yli[\e ZfdgXi\[ kf Qpi\d,y ?=:%j
jlddXip Xcjf jkXk\[ k_Xk !k_\ [`]]\i\eZ\j `e k_\ jf[`ld Zfek\ek f] k_\ knf gif[lZkj Xk k_\ i\Zfdd\e[\[ [fj\j n`cc Y\ Zc`e`ZXccp d\Xe`e^]lc `e i\[lZ`e^
ZXi[`fmXjZlcXi dfiY`[`kp `e X jlYjkXek`Xc gifgfik`fe f] gXk`\ekj ]fi n_fd k_\ [il^ `j `e[`ZXk\[,! ?=: _Xj Xcjf i\Zf^e`q\[ k_Xk k_\ [`]]\i\eZ\ `e jf[`ld
Zfek\ek Y\kn\\e QpnXm Xe[ Eldipq `j c`b\cp kf Y\ Zc`e`ZXccp d\Xe`e^]lc `e Xcc gXk`\ekj n`k_ eXiZfc\gjp Xe[ k_Xk QpnXm `j jX]\i k_Xe Eldipq `e Xcc jlZ_
gXk`\ekj, Eldipq _Xj k_\ jXd\ jf[`ld Zfek\ek Xj Qpi\d, QpnXm `j k_\ fecp Xggifm\[ fopYXk\ k_\iXgp k_Xk [f\j efk ZXiip X nXie`e^ Xe[ gi\ZXlk`fe i\cXk\[
kf _`^_ jf[`ld `ekXb\,
      He :l^ljk /0* 0.0/* ?=: Xggifm\[ QpnXm ]fi k_\ ki\Xkd\ek f] BA `e X[lckj, QpnXm i\dX`ej k_\ ]`ijk Xe[ fecp ?=:+Xggifm\[ k_\iXgp kf ki\Xk BA,
P\ `e`k`Xk\[ k_\ N,L, Zfdd\iZ`Xc cXleZ_ f] QpnXm ]fi k_\ ki\Xkd\ek f] BA `e X[lckj `e Gfm\dY\i 0.0/, Be CXelXip 0.00* ?=: i\Zf^e`q\[ j\m\e p\Xij f]
H=> ]fi QpnXm `e BA k_Xk \ok\e[j k_ifl^_ :l^ljk 0.06, BA `j X [\Y`c`kXk`e^ e\lifcf^`Z jc\\g [`jfi[\i Z_XiXZk\i`q\[ Yp Z_ife`Z >=L &k_\ `eXY`c`kp kf jkXp
XnXb\ Xe[ Xc\ik [li`e^ k_\ [Xp i\jlck`e^ `e k_\ `ii\gi\jj`Yc\ e\\[ kf jc\\g fi legcXee\[ cXgj\j `ekf jc\\g fi [ifnj`e\jj'* j\m\i\ jc\\g `e\ik`X* Xe[ gifcfe^\[
Xe[ efe+i\jkfiXk`m\ e`^_kk`d\ jc\\g, :e \jk`dXk\[ 15*... g\fgc\ `e k_\ N,L, _Xm\ Y\\e [`X^efj\[ n`k_ BA Xe[ Xi\ XZk`m\cp j\\b`e^ _\Xck_ZXi\,
     P\ _Xm\ X^i\\d\ekj `e gcXZ\ ]fi QpnXm n`k_ Xcc k_i\\ dXafi g_XidXZp Y\e\]`k dXeX^\ij* fi I;Fj* `e k_\ N,L, Mf [Xk\* n\ _Xm\ \ek\i\[ `ekf
X^i\\d\ekj n`k_ mXi`flj \ek`k`\j Xe[ _Xm\ XZ_`\m\[ Y\e\]`k Zfm\iX^\ ]fi QpnXm `e Yfk_ eXiZfc\gjp Xe[ BA `e[`ZXk`fej ]fi Xggifo`dXk\cp 7.# f]
Zfdd\iZ`Xc c`m\j,
      P\ _Xm\ j\\e jkife^ X[fgk`fe f] QpnXm `e eXiZfc\gjp j`eZ\ `kj cXleZ_ `e Gfm\dY\i 0.0.* Xe[ `eZi\Xj`e^ X[fgk`fe `e BA j`eZ\ `kj cXleZ_ `e
Gfm\dY\i 0.0/, >o`k`e^ k_\ ]`ijk hlXik\i f] 0.02* k_\i\ n\i\ Xggifo`dXk\cp /0*73. gXk`\ekj kXb`e^ QpnXm* `eZcl[`e^ Xggifo`dXk\cp 7*7.. gXk`\ekj n`k_
eXiZfc\gjp Xe[ Xggifo`dXk\cp 1*.3. gXk`\ekj n`k_ BA,
      P\ XZhl`i\[ >g`[`fc\o &>g`[pfc\o flkj`[\ k_\ N,L,' `e FXp 0.0/ Xj gXik f] k_\ XZhl`j`k`fe f] @P I_XidXZ\lk`ZXcj gcZ* fi @P* n_`Z_ n\ i\]\i kf Xj
k_\ @P :Zhl`j`k`fe* n_`Z_ \ogXe[\[ fli ^ifn`e^ e\lifjZ`\eZ\ Ylj`e\jj n`k_ X ^cfYXc* _`^_+^ifnk_ Z_`c[_ff[+fej\k \g`c\gjp ]iXeZ_`j\, >g`[`fc\o nXj
Xggifm\[ `e k_\ N,L, `e Cle\ 0./6 ]fi k_\ ki\Xkd\ek f] j\`qli\j XjjfZ`Xk\[ n`k_ knf iXi\ Xe[ j\m\i\ ]fidj f] \g`c\gjp* E@L Xe[ =L* `e gXk`\ekj knf p\Xij f]
X^\ Xe[ fc[\i* Xe[ jlYj\hl\ekcp Xggifm\[ `e Clcp 0.0. ]fi k_\ ki\Xkd\ek f] j\`qli\j XjjfZ`Xk\[ n`k_ ML< `e gXk`\ekj fe\ p\Xi f] X^\ Xe[ fc[\i, ?=: Xcjf
Xggifm\[ k_\ \ogXej`fe f] Xcc \o`jk`e^ `e[`ZXk`fej* E@L Xe[ =L* kf gXk`\ekj fe\ p\Xi f] X^\ Xe[ fc[\i, M_\ ifcc`e^ >lifg\Xe cXleZ_ f] >g`[pfc\o `j Xcjf
le[\inXp ]fccfn`e^ >lifg\Xe <fdd`jj`fe* fi ><* XggifmXc `e L\gk\dY\i 0./7 ]fi lj\ Xj X[aleZk`m\ k_\iXgp f] j\`qli\j XjjfZ`Xk\[ n`k_ E@L fi =L* `e
ZfealeZk`fe n`k_ ZcfYXqXd* ]fi gXk`\ekj knf p\Xij f] X^\ Xe[ fc[\i, >g`[pfc\o `j efn cXleZ_\[ `e Xcc ]`m\ b\p >lifg\Xe dXib\kj8 Ne`k\[ D`e^[fd*
@\idXep* BkXcp* LgX`e Xe[ ?iXeZ\, M_\ ZcfYXqXd i\jki`Zk`fe `j c`d`k\[ kf k_\ >N Xe[ @i\Xk ;i`kX`e, >g`[pfc\o nXj Xcjf Xggifm\[ ]fi X[aleZk`m\ k_\iXgp f]
j\`qli\j XjjfZ`Xk\[ n`k_ ML< ]fi gXk`\ekj 0 p\Xij f] X^\ Xe[ fc[\i `e k_\ >N `e :gi`c 0.0/ Xe[ @i\Xk ;i`kX`e `e :l^ljk 0.0/* Xe[ `j Xggifm\[ fi le[\i
i\m`\n ]fi k_`j `e[`ZXk`fe `e fk_\i dXib\kj, Hlkj`[\ k_\ N,L, Xe[ >lifg\* >g`[`fc\o->g`[pfc\o `j Xggifm\[ `e BjiX\c* <XeX[X* :ljkiXc`X* G\n S\XcXe[ Xe[
MX`nXe,
      Oncology
       KpcXq\ nXj Xggifm\[ Yp ?=: `e Cle\ 0.0/ le[\i k_\ K\Xc+M`d\ HeZfcf^p K\m`\n gif^iXd* Xe[ nXj cXleZ_\[ `e k_\ N,L, `e Clcp 0.0/ ]fi lj\ Xj X
Zfdgfe\ek f] X dlck`+X^\ek Z_\dfk_\iXg\lk`Z i\^`d\e ]fi k_\ ki\Xkd\ek f] gXk`\ekj n`k_ :EE fi E;E `e g\[`Xki`Z Xe[ X[lck gXk`\ekj fe\ dfek_ Xe[ fc[\i
n_f _Xm\ [\m\cfg\[ _pg\ij\ej`k`m`kp kf >, Zfc`+[\i`m\[ XjgXiX^`eXj\, KpcXq\ `j k_\ fecp i\ZfdY`eXek \in`e`X XjgXiX^`eXj\ dXel]XZkli\[ gif[lZk Xggifm\[
`e k_\ N,L, k_Xk dX`ekX`ej X Zc`e`ZXccp d\Xe`e^]lc c\m\c f] XjgXiX^`eXj\ XZk`m`kp k_ifl^_flk k_\ \ek`i\ Zflij\ f] ki\Xkd\ek, P\ [\m\cfg\[ KpcXq\ kf X[[i\jj
k_\ e\\[j



                                                                              11
MXYc\ f] <fek\ekj
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f] gXk`\ekj Xe[ _\Xck_ ZXi\ gifm`[\ij ]fi Xe `eefmXk`m\* _`^_+hlXc`kp \in`e`X XjgXiX^`eXj\ n`k_ i\c`XYc\ jlggcp, M_\ `e`k`Xc Xggifm\[ i\Zfdd\e[\[ [fjX^\ f]
KpcXq\ nXj ]fi Xe `ekiXdljZlcXi* fi BF* X[d`e`jkiXk`fe f] 03 d^-d0 \m\ip 26 _flij, Be Gfm\dY\i 0.00* ?=: Xggifm\[ X jlggc\d\ekXc ;`fcf^`Zj E`Z\ej\
:ggc`ZXk`fe* fi j;E:* ]fi X Ffe[Xp-P\[e\j[Xp-?i`[Xp 03-03-3. d^-d0 BF [fj`e^ jZ_\[lc\, Be :gi`c 0.00* n\ jlYd`kk\[ X j\gXiXk\ j;E: ]fi BO
X[d`e`jkiXk`fe, Be ?\YilXip 0.01* n\ i\Z\`m\[ X Zfdgc\k\ i\jgfej\ c\kk\i ]ifd ?=: i\hl\jk`e^ X[[`k`feXc Zc`e`ZXc [XkX fe k_\ BO X[d`e`jkiXk`fe f] KpcXq\,
M_\i\ `j ef `dgXZk fe k_\ Xggifm\[ gif[lZk cXY\c`e^ ]fi KpcXq\ BF X[d`e`jkiXk`fe, Be L\gk\dY\i 0.01* k_\ >< ^iXek\[ dXib\k`e^ Xlk_fi`qXk`fe ]fi CSI236
le[\i k_\ kiX[\ eXd\ >eipcXq\ Xe[ k_\ ifcc`e^ cXleZ_ `e >lifg\ `j fe^f`e^, M_`j gif[lZk _Xj Xcjf Y\\e Xggifm\[ `e k_\ Ne`k\[ D`e^[fd Xe[ <XeX[X,
      P\ XZhl`i\[ N,L, [\m\cfgd\ek Xe[ Zfdd\iZ`Xc`qXk`fe i`^_kj kf S\gq\cZX `e \Xicp 0.0.* Xe[ cXleZ_\[ j`o dfek_j k_\i\X]k\i* n`k_ Xe `e[`ZXk`fe ]fi
ki\Xkd\ek f] gXk`\ekj n`k_ L<E< n`k_ [`j\Xj\ gif^i\jj`fe fe fi X]k\i gcXk`eld+YXj\[ Z_\dfk_\iXgp, Hli \[lZXk`fe Xe[ gifdfk`feXc \]]fikj Xi\ ]fZlj\[ fe
L<E<+ki\Xk`e^ g_pj`Z`Xej, P\ Xi\ Zfek`el`e^ kf iX`j\ XnXi\e\jj f] S\gq\cZX XZifjj XZX[\d`Z Xe[ Zfddle`kp ZXeZ\i Z\ek\ij, Be ZfccXYfiXk`fe n`k_ ?,
Af]]dXee+EX KfZ_\ Ek[* fi KfZ_\* n\ _Xm\ Xe fe^f`e^ I_Xj\ 1 g`mfkXc Zc`e`ZXc ki`Xc `e ]`ijk+c`e\ \ok\ej`m\ jkX^\ L<E< f] S\gq\cZX `e ZfdY`eXk`fe n`k_
M\Z\eki`ht &Xk\qfc`qldXY',
      =\]`k\c`f `j k_\ ]`ijk Xe[ fecp Xggifm\[ ki\Xkd\ek ]fi gXk`\ekj n`k_ OH=* j\m\i\ OH=* fi jOH=* fi OH= n`k_ i\eXc fi glcdfeXip [pj]leZk`fe
]fccfn`e^ AL<M Yp i\^lcXkfip Xlk_fi`k`\j `e k_\ N,L,* >lifg\* CXgXe Xe[ fk_\i dXib\kj, M_\i\ nXj X j`^e`]`ZXek [\Zc`e\ `e k_\ eldY\i f] gXk`\ekj i\Z\`m`e^
AL<M [l\ kf k_\ \]]\Zkj f] k_\ <HOB=+/7 gXe[\d`Z, Ffm`e^ ]finXi[* n_`c\ AL<M gifZ\[li\j Xi\ ^iX[lXccp i\klie`e^ kf gi\+gXe[\d`Z eldY\ij* n\
\og\Zk Z_Xe^\j `e Z_\dfk_\iXgp i\^`d\ej Xe[ k_\ `eZi\Xj`e^ lj\ f] Z\cc k_\iXg`\j kf gfk\ek`Xccp cfn\i k_\ `eZ`[\eZ\ f] jOH=9 X[[`k`feXccp* k_\i\ _Xj Y\\e X
i\[lZk`fe f] gifg_pcXZk`Z lj\ f] =\]`k\c`f `e >lifg\,
       Opo\fj `j X ki\Xkd\ek ]fi X[lckj n`k_ e\ncp+[`X^efj\[ k+:FE* fi :FE+FK<, Be FXiZ_ 0.0/* ?=: Xggifm\[ X i\m`j\[ cXY\c kf `eZcl[\ X e\n
`e[`ZXk`fe kf ki\Xk e\ncp+[`X^efj\[ k+:FE* fi :FE+FK<* `e g\[`Xki`Z gXk`\ekj X^\[ fe\ p\Xi Xe[ fc[\i, P\ _Xm\ X eldY\i f] fe^f`e^ [\m\cfgd\ek
XZk`m`k`\j Xe[ Zfek`el\ kf \ogXe[ `ekf e\n dXib\kj `ek\ieXk`feXccp, P`k_ fe^f`e^ ki\e[j `e k_\ N,L, kfnXi[j cfn\i+`ek\ej`kp ki\Xkd\ekj Xe[ XnXp ]ifd
`ek\ej`m\ Z_\dfk_\iXgp i\^`d\ej ]fi :FE* n\ _Xm\ j\\e `eZi\Xj`e^ Zfdg\k`k`fe ]ifd fk_\i k_\iXg\lk`Z fgk`fej,

  Research and Development Progress
       Hli i\j\XiZ_ Xe[ [\m\cfgd\ek XZk`m`k`\j \eZfdgXjj Xcc jkX^\j f] [\m\cfgd\ek Xe[ Zlii\ekcp `eZcl[\ Zc`e`ZXc k\jk`e^ f] e\n gif[lZk ZXe[`[Xk\j Xe[
XZk`m`k`\j i\cXk\[ kf Zc`e`ZXc `dgifm\d\ekj f]* fi X[[`k`feXc `e[`ZXk`fej fi e\n Zc`e`ZXc [XkX ]fi* fli \o`jk`e^ dXib\k\[ gif[lZkj, P\ Xcjf _Xm\ XZk`m\
gi\Zc`e`ZXc gif^iXdj ]fi efm\c k_\iXg`\j* `eZcl[`e^ e\lifjZ`\eZ\ Xe[ gi\Z`j`fe d\[`Z`e\j `e feZfcf^p, P\ Xi\ `eZi\Xj`e^cp c\m\iX^`e^ fli ^ifn`e^ `ek\ieXc
i\j\XiZ_ Xe[ [\m\cfgd\ek ]leZk`fe* Xe[ n\ _Xm\ Xcjf \ek\i\[ `ekf ZfccXYfiXk`fej n`k_ k_`i[ gXik`\j ]fi k_\ i\j\XiZ_ Xe[ [\m\cfgd\ek f] `eefmXk`m\ \Xicp+
jkX^\ gif[lZk ZXe[`[Xk\j Xe[ _Xm\ jlggfik\[ X[[`k`feXc `em\jk`^Xkfi+jgfejfi\[ ki`Xcj k_Xk Xi\ Xek`Z`gXk\[ kf ^\e\iXk\ X[[`k`feXc [XkX i\cXk\[ kf fli gif[lZkj,
P\ Xcjf j\\b flk `em\jkd\ek fggfikle`k`\j `e jlggfik f] k_\ [\m\cfgd\ek f] \Xicp+ Xe[ d`[+jkX^\ k\Z_efcf^`\j `e fli k_\iXg\lk`Z Xi\Xj Xe[ X[aXZ\eZ`\j, P\
_Xm\ X eldY\i f] c`Z\ej`e^ Xe[ ZfccXYfiXk`fe X^i\\d\ekj n`k_ k_`i[ gXik`\j* `eZcl[`e^ Y`fk\Z_efcf^p ZfdgXe`\j* XZX[\d`Z `ejk`klk`fej Xe[ i\j\XiZ_+YXj\[
ZfdgXe`\j Xe[ `ejk`klk`fej* i\cXk\[ kf gi\Zc`e`ZXc Xe[ Zc`e`ZXc i\j\XiZ_ Xe[ [\m\cfgd\ek XZk`m`k`\j `e _\dXkfcf^p Xe[ `e gi\Z`j`fe feZfcf^p* Xj n\cc Xj `e
e\lifjZ`\eZ\,
       P`k_`e fli feZfcf^p K$= gif^iXd* `e HZkfY\i 0.00* n\ XeefleZ\[ Xe \oZclj`m\ c`Z\ej`e^ Xe[ ZfccXYfiXk`fe X^i\\d\ek n`k_ Spd\nfibj BeZ,* fi
Spd\nfibj* gifm`[`e^ lj k_\ i`^_k kf XZhl`i\ [\m\cfgd\ek Xe[ Zfdd\iZ`Xc`qXk`fe i`^_kj kf Spd\nfibj% qXe`[XkXdXY XZifjj Xcc `e[`ZXk`fej `e k_\ Ne`k\[
LkXk\j* >lifg\* CXgXe Xe[ Xcc fk_\i k\ii`kfi`\j \oZ\gk ]fi k_fj\ :j`X-IXZ`]`Z k\ii`kfi`\j gi\m`fljcp c`Z\ej\[ Yp Spd\nfibj, Be =\Z\dY\i 0.00* n\ \o\iZ`j\[
k_\ fgk`fe kf Zfek`el\ n`k_ k_\ \oZclj`m\ [\m\cfgd\ek Xe[ Zfdd\iZ`Xc`qXk`fe i`^_kj kf qXe`[XkXdXY, Ne[\i k_\ k\idj f] k_\ X^i\\d\ek* Spd\nfibj
i\Z\`m\[ Xe lg]ifek gXpd\ek f] "3.,. d`cc`fe* Xe[ ]fccfn`e^ k_\ \o\iZ`j\ f] fli fgk`fe kf Zfek`el\ k_\ ZfccXYfiXk`fe* X j\Zfe[* fe\+k`d\ gXpd\ek f] "103
d`cc`fe, Spd\nfibj `j Xcjf \c`^`Yc\ kf i\Z\`m\ i\^lcXkfip Xe[ Zfdd\iZ`Xc d`c\jkfe\ gXpd\ekj f] lg kf "/,2 Y`cc`fe* ]fi kfkXc gfk\ek`Xc gXpd\ekj f] "/,54
Y`cc`fe, I\e[`e^ XggifmXc* Spd\nfibj `j \c`^`Yc\ kf i\Z\`m\ k`\i\[ ifpXck`\j Y\kn\\e /.# Xe[ 0.# fe fli e\k jXc\j, SXe`[XkXdXY `j X Y`jg\Z`]`Z Xek`Yf[p
k_Xk ZXe j`dlckXe\fljcp Y`e[ knf efe+fm\icXgg`e^ \g`kfg\j f] A>K0* befne Xj Y`gXiXkfg`Z Y`e[`e^, SXe`[XkXdXY `j Zlii\ekcp Y\`e^ \mXclXk\[ `e dlck`gc\
Zc`e`ZXc ki`Xcj Xj X ki\Xkd\ek ]fi gXk`\ekj n`k_ A>K0+\ogi\jj`e^ ZXeZ\ij, ?fccfn`e^ gfj`k`m\ [XkX ]ifd X g`mfkXc I_Xj\ 0 Zc`e`ZXc ki`Xc \mXclXk`e^ qXe`[XkXdXY
dfefk_\iXgp `e gXk`\ekj n`k_ gi\m`fljcp ki\Xk\[ X[mXeZ\[ fi d\kXjkXk`Z A>K0+Xdgc`]`\[ Y`c`Xip kiXZk ZXeZ\i* fi ;M<* n\ `e`k`Xk\[ X ifcc`e^ ;E:
jlYd`jj`fe ]fi XZZ\c\iXk\[ XggifmXc `e j\Zfe[+c`e\ ;M< n_`Z_ nXj Zfdgc\k\[ `e FXiZ_ 0.02, Be X[[`k`fe* n\ _Xm\ Xe fe^f`e^ I_Xj\ 1 iXe[fd`q\[
Zc`e`ZXc ki`Xc \mXclXk`e^ qXe`[XkXdXY `e ZfdY`eXk`fe n`k_ Z_\dfk_\iXgp gclj fi d`elj k`jc\c`qldXY Xj X ]`ijk+c`e\ ki\Xkd\ek ]fi A>K0+\ogi\jj`e^
^Xjkif\jfg_X^\Xc X[\efZXiZ`efdX* fi @>:* Xe[ Xe fe^f`e^ I_Xj\ 0 ki`Xc \oXd`e`e^ qXe`[XkXdXY `e ZfdY`eXk`fe n`k_ Z_\dfk_\iXgp `e ]`ijk+c`e\ gXk`\ekj
n`k_ A>K0+\ogi\jj`e^ d\kXjkXk`Z @>:, M_\i\ Xi\ Xcjf dlck`gc\ fe^f`e^ Zc`e`ZXc ki`Xcj \ogcfi`e^ qXe`[XkXdXY `e Yi\Xjk ZXeZ\i Xe[ fk_\i A>K0+\ogi\jj`e^
kldfi kpg\j,



                                                                              12
MXYc\ f] <fek\ekj
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      Hli [\m\cfgd\ek gcXe ]fi S\gq\cZX Zfek`el\j kf gif^i\jj, P\ Xi\ ZfccXYfiXk`e^ n`k_ KfZ_\ fe X g`mfkXc I_Xj\ 1 Zc`e`ZXc ki`Xc \mXclXk`e^ S\gq\cZX `e
ZfdY`eXk`fe n`k_ M\Z\eki`h `e ]`ijk+c`e\ \ok\ej`m\ jkX^\ L<E<, Be =\Z\dY\i 0.0/* fli c`Z\ejfi I_XidXFXi `e`k`Xk\[ X Zfe]`idXkfip ki`Xc `e j\Zfe[+c`e\
L<E<, M_`j fe^f`e^ k_i\\+Xid ki`Xc `j ZfdgXi`e^ S\gq\cZX Xj \`k_\i dfefk_\iXgp fi `e ZfdY`eXk`fe n`k_ `i`efk\ZXe kf `em\jk`^Xkfi%j Z_f`Z\ f] `i`efk\ZXe fi
kfgfk\ZXe, =XkX ]ifd \`k_\i k_\ ]`ijk+c`e\ ki`Xc f] S\gq\cZX `e ZfdY`eXk`fe n`k_ M\Z\eki`h fi k_\ I_XidXFXi ki`Xc Zflc[ j\im\ kf Zfe]`id Zc`e`ZXc Y\e\]`k f]
S\gq\cZX Xe[ j\Zli\ ]lcc XggifmXc `e k_\ N,L,
      Be X[[`k`fe* n\ _Xm\ Xe fe^f`e^ I_Xj\ 2 fYj\imXk`feXc jkl[p kf Zfcc\Zk i\Xc nfic[ jX]\kp Xe[ flkZfd\ [XkX `e X[lck S\gq\cZX dfefk_\iXgp gXk`\ekj
n`k_ L<E< n_f gif^i\jj fe fi X]k\i gi`fi gcXk`eld+ZfekX`e`e^ Z_\dfk_\iXgp,
      Be Cle\ 0.00* n\ XeefleZ\[ k_\ ?=: _X[ Zc\Xi\[ fli Bem\jk`^Xk`feXc G\n =il^ Xggc`ZXk`fe ]fi CSI6/3 Xe[* `e HZkfY\i 0.00* n\ \eifcc\[ k_\ ]`ijk
gXk`\ek `e X I_Xj\ / ki`Xc, CSI6/3 `j Xe `em\jk`^Xk`feXc jkX^\ gXe+K:? b`eXj\ `e_`Y`kfi k_Xk kXi^\kj jg\Z`]`Z Zfdgfe\ekj f] k_\ d`kf^\e+XZk`mXk\[ gifk\`e
b`eXj\ gXk_nXp k_Xk* n_\e XZk`mXk\[ Yp feZf^\e`Z dlkXk`fej* ZXe Y\ X ]i\hl\ek [i`m\i f] _ldXe ZXeZ\i,
       Be :gi`c 0.00* n\ XeefleZ\[ k_Xk n\ _X[ \ek\i\[ `ekf X c`Z\ej`e^ Xe[ ZfccXYfiXk`fe X^i\\d\ek n`k_ P\i\nfc] M_\iXg\lk`Zj* BeZ,* fi P\i\nfc]* kf
XZhl`i\ \oZclj`m\ ^cfYXc [\m\cfgd\ek Xe[ Zfdd\iZ`Xc`qXk`fe i`^_kj kf P\i\nfc]%j `em\jk`^Xk`feXc PMQ+4/1* efn i\]\ii\[ kf Xj CSI676, Ne[\i k_\ k\idj f]
k_\ X^i\\d\ek* n\ dX[\ Xe lg]ifek gXpd\ek f] "/3,. d`cc`fe kf P\i\nfc]* Xe[ P\i\nfc] `j \c`^`Yc\ kf i\Z\`m\ [\m\cfgd\ek* i\^lcXkfip Xe[ Zfdd\iZ`Xc
d`c\jkfe\ gXpd\ekj f] lg kf "/,04 Y`cc`fe, B] Xggifm\[* P\i\nfc] `j \c`^`Yc\ kf i\Z\`m\ X k`\i\[* d`[+j`e^c\+[`^`k g\iZ\ekX^\ ifpXckp fe e\k jXc\j f] CSI676,
M_`j kiXejXZk`fe le[\ijZfi\j fli Zfdd`kd\ek kf \e_XeZ`e^ fli g`g\c`e\ kf [\c`m\i efm\c feZfcf^p k_\iXg`\j kf gXk`\ekj* Xe[ Xcjf gifm`[\j lj n`k_ Xe
fggfikle`kp kf \ogXe[ `ekf `ddlef+feZfcf^p, CSI676 `j X [`]]\i\ek`Xk\[* Zfe[`k`feXccp+XZk`mXk\[ `ek\i]\ife Xcg_X* fi B?G•* BG=NDBG>u dfc\Zlc\, P\
`e`k`Xk\[ X I_Xj\ / Zc`e`ZXc ki`Xc f] CSI676 `e cXk\ 0.01,
      Hli e\lifjZ`\eZ\ K$= \]]fikj `eZcl[\ Xe fe^f`e^ I_Xj\ 1 ki`Xc f] >g`[pfc\o ]fi E@L* =L Xe[ ML< `e CXgXe `e`k`Xk\[ `e HZkfY\i 0.00,
       Be =\Z\dY\i 0.0/* n\ `e`k`Xk\[ I_Xj\ 0 Zc`e`ZXc ki`Xcj ]fi jlm\ZXckXd`[\ &CSI163'* ]fi \jj\ek`Xc ki\dfi* fi >M, :[[`k`feXccp* `e Gfm\dY\i 0.00* n\
`e`k`Xk\[ X I_Xj\ 0 ki`Xc f] jlm\ZXckXd`[\ `e gXk`\ekj n`k_ IXib`ejfe%j [`j\Xj\ ki\dfi, Be =\Z\dY\i 0.01* n\ XeefleZ\[ k_Xk fli I_Xj\ 0 Zc`e`ZXc ki`Xc ]fi
CSI/3. ]fi ki\Xkd\ek f] gfjk+kiXldXk`Z jki\jj [`jfi[\i* fi IML=* [`[ efk d\\k k_\ gi`dXip \e[gf`ek, P\ gcXe kf ]lccp \mXclXk\ k_\j\ [XkX9 _fn\m\i* YXj\[
fe kfg+c`e\ i\jlckj n\ [f efk Xek`Z`gXk\ dfm`e^ ]finXi[ n`k_ X[[`k`feXc CSI/3. [\m\cfgd\ek `e IML=, P\ Xi\ Xcjf glijl`e^ \Xicp+jkX^\ XZk`m`k`\j i\cXk\[ kf
k_\ [\m\cfgd\ek f] CSI102* Xe \ok\e[\[+i\c\Xj\ cfn jf[`ld* fopYXk\ ]fidlcXk`fe k_Xk n\ Y\c`\m\ Zflc[ gifm`[\ X Zc`e`ZXccp d\Xe`e^]lc fgk`fe ]fi
eXiZfc\gjp gXk`\ekj,
       Be FXp 0.00* n\ XeefleZ\[ k_Xk n\ _X[ \ek\i\[ `ekf X c`Z\ej`e^ X^i\\d\ek n`k_ Lld`kfdf I_XidX <f,* Ek[* fi Lld`kfdf* kf XZhl`i\ \oZclj`m\
[\m\cfgd\ek Xe[ Zfdd\iZ`Xc`qXk`fe i`^_kj `e k_\ Ne`k\[ LkXk\j* >lifg\ Xe[ fk_\i k\ii`kfi`\j ]fi CSI22/* Xcjf befne Xj =LI+./65* X gfk\ek* _`^_cp
j\c\Zk`m\ fiXc fi\o`e+0 i\Z\gkfi X^fe`jk n`k_ gfk\ek`Xc Xggc`ZXk`fe ]fi k_\ ki\Xkd\ek f] eXiZfc\gjp* BA Xe[ fk_\i jc\\g [`jfi[\ij, Ne[\i k_\ k\idj f] k_\
X^i\\d\ek* n\ dX[\ Xe lg]ifek gXpd\ek f] "3. d`cc`fe kf Lld`kfdf* Xe[ Lld`kfdf `j \c`^`Yc\ kf i\Z\`m\ [\m\cfgd\ek* i\^lcXkfip Xe[ Zfdd\iZ`Xc
d`c\jkfe\ gXpd\ekj f] lg kf "/,.7 Y`cc`fe, B] Xggifm\[* Lld`kfdf `j \c`^`Yc\ kf i\Z\`m\ X k`\i\[* cfn [flYc\+[`^`k ifpXckp fe fli e\k jXc\j f] CSI22/, Be
Gfm\dY\i 0.01* n\ XeefleZ\[ k_Xk n\ XZ_`\m\[ `e`k`Xc giff]+f]+ZfeZ\gk `e fli I_Xj\ / Zc`e`ZXc ki`Xc gif^iXd `e _\Xck_p mfclek\\ij Xj [\dfejkiXk\[ Yp k_\
FX`ek\eXeZ\ f] PXb\]lce\jj M\jk &FPM', :k k_Xk k`d\* n\ Xcjf efk\[ k_\ gif^iXd nXj Y\`e^ gXlj\[ Xj n\ XeXcpq\ jX]\kp ]`e[`e^j i\cXk\[ kf m`jlXc
[`jkliYXeZ\j Xe[ ZXi[`fmXjZlcXi \]]\Zkj9 ef c`m\i kfo`Z`kp j`^eXcj n\i\ fYj\im\[, P\ Xi\ Zfdd`kk\[ kf fi\o`e+0 X^fe`jk [\m\cfgd\ek Xe[ _Xm\ X YXZblg
fi\o`e+0 i\Z\gkfi X^fe`jk gif^iXd,



                                                                             13
MXYc\ f] <fek\ekj
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      ;\cfn `j X jlddXip f] fli b\p fe^f`e^ Xe[ gcXee\[ [\m\cfgd\ek gifa\Zkj i\cXk\[ kf fli gif[lZkj Xe[ g`g\c`e\ Xe[ k_\`i Zfii\jgfe[`e^ Zlii\ek
jkX^\j f] [\m\cfgd\ek8

Product Candidates                                          Description
ONCOLOGY
Regulatory Review
 SXe`[XkXdXY                                                Ii\m`fljcp ki\Xk\[* X[mXeZ\[ A>K0+\ogi\jj`e^ ;M< &fe^f`e^ ki`Xc' &g`mfkXc ki`Xc'
Phase 3
 SXe`[XkXdXY                                                ?`ijk+c`e\ A>K0+gfj`k`m\ @>: &fe^f`e^ ki`Xc'
 SXe`[XkXdXY                                                ?`ijk+c`e\ A>K0+gfj`k`m\ ;M< &fe^f`e^ ki`Xc'
 S\gq\cZX                                                   ?`ijk+c`e\ \ok\ej`m\ jkX^\ L<E< `e ZfdY`eXk`fe n`k_ M\Z\eki`h &ZfccXYfiXk`fe n`k_ KfZ_\'
                                                            &fe^f`e^ ki`Xc'
                                                            <fe]`idXkfip j\Zfe[+c`e\ ki`Xc &I_XidXFXi jkl[p' &fe^f`e^ ki`Xc'
 Opo\fj                                                     :FE fi _`^_+i`jb Fp\cf[pjgcXjk`Z Lpe[ifd\* fi F=L &:FE/6' &Zffg\iXk`m\ ^iflg
                                                            jkl[`\j' &fe^f`e^ ki`Xc'
                                                            G\ncp [`X^efj\[ X[lckj n`k_ jkXe[Xi[+ Xe[ _`^_+i`jb :FE &:FE Lkl[p @iflg Zffg\iXk`m\
                                                            ^iflg jkl[p' &fe^f`e^ ki`Xc'
                                                            G\ncp [`X^efj\[ g\[`Xki`Z gXk`\ekj n`k_ :FE &<_`c[i\e{j HeZfcf^p @iflg Zffg\iXk`m\
                                                            ^iflg jkl[p' &fe^f`e^ ki`Xc'
Phase 2
 SXe`[XkXdXY                                                A>K0+\ogi\jj`e^ @>:* ;M< fi Zfcfi\ZkXc ZXeZ\i `e ZfdY`eXk`fe n`k_ jkXe[Xi[ ]`ijk+c`e\
                                                            Z_\dfk_\iXgp &fe^f`e^ ki`Xc'
 Opo\fj                                                     A`^_+i`jb F=L &>lifg\Xe Fp\cf[pjgcXjk`Z Lpe[ifd\j' &Zffg\iXk`m\ ^iflg jkl[p'
                                                            &fe^f`e^ ki`Xc'
                                                            G\ncp [`X^efj\[ leki\Xk\[ gXk`\ekj n`k_ `ek\id\[`Xk\+ Xe[ _`^_+i`jb :FE &Zffg\iXk`m\
                                                            ^iflg jkl[p' &fe^f`e^ ki`Xc'
 Opo\fj ) fk_\i Xggifm\[ k_\iXg`\j                          K\cXgj\[-i\]iXZkfip* fi K-K :FE fi _pgfd\k_pcXk`e^ X^\ek ]X`cli\ F=L &F= :e[\ijfe
                                                            ZfccXYfiXk`fe jkl[p' &fe^f`e^ ki`Xc'
                                                            =\ efmf fi K-K :FE &F= :e[\ijfe ZfccXYfiXk`fe jkl[p' &fe^f`e^ ki`Xc'
Phase 2a
 SXe`[XkXdXY                                                Ii\m`fljcp ki\Xk\[ A>K0)AK) Yi\Xjk ZXeZ\i `e ZfdY`eXk`fe n`k_ gXcYfZ`Zc`Y &fe^f`e^
                                                            ki`Xc'
Phase 1b/2
 SXe`[XkXdXY                                                ?`ijk+c`e\ Yi\Xjk ZXeZ\i Xe[ @>: &;\`@\e\ ki`Xc' &fe^f`e^ ki`Xc'
 SXe`[XkXdXY                                                A>K0+\ogi\jj`e^ Yi\Xjk ZXeZ\i `e ZfdY`eXk`fe n`k_ :EQ/26 &fe^f`e^ ki`Xc'
Phase 1
 CSI6/3                                                     KX] Xe[ KXj dlkXek kldfij &XZhl`i\[ ]ifd K\[o I_XidX gcZ* fi K\[o' &fe^f`e^ ki`Xc'
 SXe`[XkXdXY                                                Ii\m`fljcp ki\Xk\[ d\kXjkXk`Z A>K0+\ogi\jj`e^ ZXeZ\ij `e ZfdY`eXk`fe n`k_ j\c\Zk
                                                            Xek`e\fgcXjk`Z k_\iXg`\j &fe^f`e^ ki`Xc'
 CSI12/ &cfe^+XZk`e^ Erwinia XjgXiX^`eXj\'                  Lfc`[ kldfij &c`Z\ej\[ ]ifd E`^Xe[ I_XidXZ\lk`ZXcj BeZfigfiXk\[* fi E`^Xe[' &fe^f`e^
                                                            ki`Xc'
 CSI676                                                     <fe[`k`feXccp+XZk`mXk\[ B?G• BG=NDBG>u dfc\Zlc\ `e jfc`[ kldfij &fe^f`e^ ki`Xc'
 Opo\fj                                                     Efn `ek\ej`kp [fj`e^ ]fi _`^_\i i`jb F=L &F= :e[\ijfe ZfccXYfiXk`fe jkl[p' &fe^f`e^
                                                            ki`Xc'
Preclinical
 DK:L `e_`Y`kfi kXi^\kj                                     @/0= j\c\Zk`m\ Xe[ gXe+DK:L dfc\Zlc\j &XZhl`i\[ ]ifd K\[o'
 Ne[`jZcfj\[ kXi^\k                                         KXj-KX]-F:I b`eXj\ gXk_nXp &ZfccXYfiXk`fe n`k_ K\[o'
 Ne[`jZcfj\[ kXi^\kj                                        HeZfcf^p
 <fdY`Ic\ot                                                 A\dXkfcf^p-feZfcf^p \ogcfiXkfip XZk`m`k`\j
NEUROSCIENCE
Phase 3
 >g`[pfc\o                                                  E@L* ML< Xe[ =L &fe^f`e^ ki`Xc `e CXgXe'



                                                                          14
MXYc\ f] <fek\ekj
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Phase 2b
 Llm\ZXckXd`[\ &CSI163'                                        >M &fe^f`e^ ki`Xc'
Phase 2
 Llm\ZXckXd`[\ &CSI163'                                        IXib`ejfe%j [`j\Xj\ ki\dfi &fe^f`e^ ki`Xc'
Phase 1
 CSI102                                                        HopYXk\ \ok\e[\[+i\c\Xj\ ]fidlcXk`fe &gcXee\[ ki`Xc'
 CSI22/(                                                       Ifk\ek* _`^_cp j\c\Zk`m\ fiXc fi\o`e+0 i\Z\gkfi X^fe`jk &gXlj\['
 Ne[`jZcfj\[ ZXeeXY`ef`[j                                      Hk_\i e\lifjZ`\eZ\ &fe^f`e^ ki`Xcj'
Preclinical
 Ne[`jZcfj\[ kXi^\kj                                           Lc\\g
                                                               >g`c\gjp
                                                               Hk_\i G\lifjZ`\eZ\

(:cjf befne Xj =LI+./65

  Operational Excellence
      P\ i\dX`e ]fZlj\[ fe Zfek`el`e^ kf Yl`c[ \oZ\cc\eZ\ `e Xi\Xj k_Xk n\ Y\c`\m\ n`cc ^`m\ lj X Zfdg\k`k`m\ X[mXekX^\* `eZcl[`e^ dX`ekX`e`e^ Xe
`eZi\Xj`e^cp X^`c\ Xe[ X[XgkXYc\ Zfdd\iZ`Xc`qXk`fe \e^`e\ Xe[ jki\e^k_\e`e^ fli Zljkfd\i+]fZlj\[ dXib\k \og\ik`j\ XZifjj gXk`\ekj* gifm`[\ij Xe[ gXpfij,
P\ Xi\ Zfek`elfljcp i\]`e`e^ fli XggifXZ_ kf \e^X^\ Zljkfd\ij Yp jki\e^k_\e`e^ Xc`^ed\ek Xe[ `ek\^iXk`fe XZifjj ]leZk`fej Xe[ XZifjj i\^`fej, M_`j
`eZcl[\j [\gcfp`e^ X d`o f] `e+g\ijfe Xe[ [`^`kXc `e`k`Xk`m\j Xk jZ`\ek`]`Z Zfe^i\jj\j [\j`^e\[ kf gifm`[\ gifdfk`feXc Xe[ efe+gifdfk`feXc `ek\iXZk`fej Xj
n\cc Xj jlggfik`e^ fli ]`\c[+YXj\[ k\Xdj n`k_ [`^`kXc Zljkfd\i `ek\iXZk`fe kffcj* kiX`e`e^ Xe[ Zfek\ek, M_\j\ `e`k`Xk`m\j Xi\ i\gi\j\ekXk`m\ f] fli \ek\igi`j\
fg\iXk`e^ df[\c \mfclk`fe k_Xk `j [`i\Zkcp c`eb\[ kf fli ZfigfiXk\ jkiXk\^p Xe[ Xi\ [\j`^e\[ kf Y\kk\i \eXYc\ fli k\Xdj kf nfib ZfccXYfiXk`m\cp fe Xe Xc`^e\[
Xe[ j_Xi\[ X^\e[X k_ifl^_ Yfk_ `e+g\ijfe Xe[ [`^`kXc `ek\iXZk`fej, Be dfjk ^\f^iXg_`\j* d\[`ZXc Zfe^i\jj\j Xe[ _\Xck_ZXi\ giXZk`Z\j _Xm\ i\jld\[ gi\+
gXe[\d`Z c\m\cj f] `e+g\ijfe XZk`m`k`\j,

  Other Challenges, Risks and Trends Related to Our Business
      A`jkfi`ZXccp* fli Ylj`e\jj nXj jlYjkXek`Xccp [\g\e[\ek fe Qpi\d Xe[ fli ]`eXeZ`Xc i\jlckj n\i\ j`^e`]`ZXekcp `e]cl\eZ\[ Yp jXc\j f] Qpi\d, Hli
fg\iXk`e^ gcXe Xjjld\j k_Xk QpnXm* n`k_ 70# cfn\i jf[`ld ZfdgXi\[ kf _`^_+jf[`ld fopYXk\j* [\g\e[`e^ fe k_\ [fj\* XYj\eZ\ f] X jf[`ld nXie`e^ Xe[
[fj`e^ k`kiXk`fe fgk`fe* n`cc i\dX`e k_\ ki\Xkd\ek f] Z_f`Z\ ]fi gXk`\ekj n_f ZXe Y\e\]`k ]ifd fopYXk\ ki\Xkd\ek, Be Cle\ 0.0/* ?=: i\Zf^e`q\[ j\m\e p\Xij
f] H=> ]fi QpnXm `e eXiZfc\gjp k_ifl^_ Clcp 0/* 0.05* jkXk`e^ k_Xk QpnXm `j Zc`e`ZXccp jlg\i`fi kf Qpi\d Yp d\Xej f] ^i\Xk\i jX]\kp [l\ kf i\[lZ\[
Z_ife`Z jf[`ld Yli[\e, P_`c\ n\ \og\Zk k_Xk fli Ylj`e\jj n`cc Zfek`el\ kf d\Xe`e^]lccp [\g\e[ fe fopYXk\ i\m\el\j* k_\i\ `j ef ^lXiXek\\ k_Xk fopYXk\
i\m\el\j n`cc i\dX`e Xk Zlii\ek c\m\cj,
     Hli XY`c`kp kf jlZZ\jj]lccp Zfdd\iZ`Xc`q\ QpnXm n`cc [\g\e[ fe* Xdfe^ fk_\i k_`e^j* fli XY`c`kp kf dX`ekX`e X[\hlXk\ gXpfi Zfm\iX^\ Xe[
i\`dYlij\d\ek ]fi QpnXm Xe[ XZZ\gkXeZ\ f] QpnXm Yp g_pj`Z`Xej Xe[ gXk`\ekj* `eZcl[`e^ f] QpnXm ]fi k_\ ki\Xkd\ek f] BA `e X[lckj, Be Xe \]]fik kf
jlggfik jkife^ X[fgk`fe f] QpnXm* n\ Xi\ ]fZlj\[ fe gifm`[`e^ ifYljk gXk`\ek ZfgXp Xe[ jXm`e^j gif^iXdj Xe[ ]XZ`c`kXk`e^ gXpfi Zfm\iX^\ ]fi QpnXm,
      QpnXm Xe[ Qpi\d ]XZ\ Zfdg\k`k`fe ]ifd X YiXe[\[ gif[lZk ]fi ki\Xkd\ek f] ZXkXgc\op Xe[-fi >=L `e eXiZfc\gjp, :mX[\c{j Eldipq nXj cXleZ_\[ `e
k_\ N,L, dXib\k `e Cle\ 0.01, He Cle\ 00* 0.01* n\ ]`c\[ X ZfdgcX`ek `e k_\ Ne`k\[ LkXk\j =`jki`Zk <flik ]fi k_\ =`jki`Zk f] <fcldY`X j\\b`e^ X [\ZcXiXk`fe
k_Xk ?=:{j XggifmXc f] k_\ G\n =il^ :ggc`ZXk`fe* fi G=:* ]fi :mX[\c%j Eldipq nXj lecXn]lc, Be k_\ ZfdgcX`ek* n\ Xcc\^\ k_Xk ?=: XZk\[ flkj`[\ `kj
Xlk_fi`kp le[\i k_\ Hig_Xe =il^ :Zk* n_\e* [\jg`k\ H=> gifk\Zk`e^ QpnXm* ?=: Xggifm\[ k_\ Eldipq G=: Xe[ ^iXek\[ Eldipq H=> YXj\[ fe ?=:{j
]`e[`e^ k_Xk Eldipq dXb\j X dXafi Zfeki`Ylk`fe kf gXk`\ek ZXi\ Xe[ `j k_\i\]fi\ Zc`e`ZXccp jlg\i`fi kf QpnXm Xe[ Qpi\d, P\ ZXeefk Xk k_`j k`d\ gi\[`Zk k_\
k`d`e^ fi lck`dXk\ flkZfd\ f] k_`j c`k`^Xk`fe fi k_\ `dgXZk f] k_`j c`k`^Xk`fe fe fli Ylj`e\jj,
      Be X[[`k`fe* `e CXelXip 0.01* fli fopYXk\ gif[lZkj Y\^Xe kf ]XZ\ Zfdg\k`k`fe ]ifd Xe Xlk_fi`q\[ ^\e\i`Z* fi :@* m\ij`fe f] _`^_+jf[`ld fopYXk\
glijlXek kf X j\kkc\d\ek X^i\\d\ek n\ \ek\i\[ `ekf n`k_ Xe XYYi\m`Xk\[ e\n [il^ Xggc`ZXk`fe* fi :G=:* ]`c\i, Be Clcp 0.01* X mfcld\+c`d`k\[ :G=: ]`c\i
cXleZ_\[ Xe :@ m\ij`fe f] _`^_+jf[`ld fopYXk\, M_\j\ :@ gif[lZkj _Xm\ e\^Xk`m\cp `dgXZk\[ Xe[ Xi\ \og\Zk\[ kf Zfek`el\ kf e\^Xk`m\cp `dgXZk Qpi\d
Xe[ QpnXm jXc\j ]fi gXk`\ekj n`k_ eXiZfc\gjp, Lg\Z`]`ZXccp* X n_fccp fne\[ jlYj`[`Xip f] A`bdX I_XidXZ\lk`ZXcj IE<* fi A`bdX* cXleZ_\[ `kj :@ m\ij`fe
f] jf[`ld fopYXk\ `e CXelXip 0.01 Xe[ :de\Xc I_XidXZ\lk`ZXcj EE<* fi :de\Xc* cXleZ_\[ `kj :@ m\ij`fe f] jf[`ld fopYXk\ `e Clcp 0.01, A`bdX _Xj
\c\Zk\[ kf Zfek`el\ kf j\cc k_\ A`bdX :@ gif[lZk* n`k_ ifpXck`\j kf Y\ gX`[ kf lj* ]fi X kfkXc f] lg kf ]fli p\Xij Y\^`ee`e^ `e CXelXip 0.02* n_`Z_ \c\Zk`fe
dXp Y\ k\id`eXk\[ Yp A`bdX `e XZZfi[XeZ\ n`k_ k_\ efk`Z\ gifm`j`fej `e k_\ X^i\\d\ekj Y\kn\\e k_\ gXik`\j, P\ _Xm\ k_\ i`^_k kf i\Z\`m\ X d\Xe`e^]lc
ifpXckp ]ifd A`bdX fe e\k jXc\j f] k_\ A`bdX :@



                                                                              15
MXYc\ f] <fek\ekj
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gif[lZk9 k_\ ifpXckp iXk\ nXj ]`o\[ ]fi k_\ j\Zfe[ _Xc] f] 0.01, M_\i\ nXj X jlYjkXek`Xc `eZi\Xj\ `e k_\ ifpXckp iXk\ Y\^`ee`e^ `e CXelXip 0.02* n_`Z_ n`cc
i\dX`e ]`o\[ ]fi k_\ [liXk`fe f] k_\ X^i\\d\ek%j k\id, P\ Xi\ Xcjf gX`[ ]fi jlggcp f] k_\ A`bdX :@ gif[lZk Xe[ i\`dYlij\[ Yp A`bdX ]fi X gfik`fe f] k_\
j\im`Z\j Zfjkj XjjfZ`Xk\[ n`k_ k_\ fg\iXk`fe f] k_\ QpnXm Xe[ Qpi\d i`jb \mXclXk`fe Xe[ d`k`^Xk`fe jkiXk\^p* fi K>FL* Xe[ [`jki`Ylk`fe f] k_\ A`bdX :@
gif[lZk, P\ Xcjf ^iXek\[ A`bdX X c`Z\ej\ kf cXleZ_ `kj fne ^\e\i`Z jf[`ld fopYXk\ gif[lZk Ylk* `] `k \c\Zkj kf cXleZ_ `kj fne ^\e\i`Z gif[lZk* A`bdX n`cc
ef cfe^\i _Xm\ k_\ i`^_k kf j\cc k_\ A`bdX :@ gif[lZk, Be X[[`k`fe* A`bdX nflc[ e\\[ kf j\k lg `kj fne K>FL* n_`Z_ dljk Y\ fg\e kf Xep fk_\i ZfdgXep
j\\b`e^ kf Zfdd\iZ`Xc`q\ X jf[`ld fopYXk\ gif[lZk, Be fli j\kkc\d\ekj n`k_ :de\Xc* Elg`e BeZ,* fi Elg`e* Xe[ IXi I_XidXZ\lk`ZXc* BeZ,* fi IXi* n\ ^iXek\[
\XZ_ gXikp k_\ i`^_k kf j\cc X c`d`k\[ mfcld\ f] Xe :@ gif[lZk `e k_\ N,L, Y\^`ee`e^ fe Clcp /* 0.01 Xe[ \e[`e^ fe =\Z\dY\i 1/* 0.03* n`k_ ifpXck`\j kf Y\
gX`[ kf lj, :de\Xc cXleZ_\[ `kj :@ m\ij`fe f] jf[`ld fopYXk\ `e Clcp 0.01, :k k_`j k`d\* :de\Xc _Xj i`^_kj kf j\cc X cfn+j`e^c\+[`^`k g\iZ\ekX^\ f]
_`jkfi`ZXc Qpi\d jXc\j fm\i \XZ_ 4+dfek_ jXc\j g\i`f[, :k k_`j k`d\* Elg`e Xe[ IXi _Xm\ \c\Zk\[ efk kf cXleZ_ Xe :@ gif[lZk, :@ gif[lZkj n`cc Y\
[`jki`Ylk\[ k_ifl^_ k_\ jXd\ K>FL Xj QpnXm Xe[ Qpi\d, P\ Xcjf ^iXek\[ \XZ_ f] :de\Xc* Elg`e Xe[ IXi X c`Z\ej\ kf cXleZ_ `kj fne ^\e\i`Z jf[`ld
fopYXk\ gif[lZk le[\i `kj :G=: fe fi X]k\i =\Z\dY\i 1/* 0.03* fi \Xic`\i le[\i Z\ikX`e Z`iZldjkXeZ\j* `eZcl[`e^ k_\ Z`iZldjkXeZ\ n_\i\ A`bdX \c\Zkj kf
cXleZ_ `kj fne ^\e\i`Z gif[lZk, B] :de\Xc* Elg`e fi IXi \c\Zkj kf cXleZ_ `kj fne ^\e\i`Z gif[lZk le[\i jlZ_ Z`iZldjkXeZ\* `k n`cc ef cfe^\i _Xm\ k_\ i`^_k kf
j\cc Xe :@ gif[lZk, Be X[[`k`fe* Xep ZfdgXep Zfdd\iZ`Xc`q`e^ X ^\e\i`Z m\ij`fe f] _`^_+jf[`ld fopYXk\ nflc[ e\\[ kf \jkXYc`j_ `kj fne K>FL* fi af`e Xe
\o`jk`e^ K>FL fg\iXk\[ Yp Xefk_\i ZfdgXep,
       Be k_\ ]lkli\* n\ \og\Zk fli fopYXk\ gif[lZkj kf Zfek`el\ kf ]XZ\ Zfdg\k`k`fe ]ifd ^\e\i`Z m\ij`fej f] _`^_+jf[`ld fopYXk\ glijlXek kf j\kkc\d\ek
X^i\\d\ekj n\ \ek\i\[ `ekf n`k_ dlck`gc\ :G=: ]`c\ij, Be X[[`k`fe* n\ i\Z\`m\[ efk`Z\j `e Cle\ 0.0/ Xe[ ?\YilXip 0.01* k_Xk Elg`e Xe[ M\mX*
i\jg\Zk`m\cp* ]`c\[ :G=:j ]fi ^\e\i`Z m\ij`fej f] QpnXm, He HZkfY\i /1* 0.01* Elg`e XeefleZ\[ k_Xk `k _Xj i\Z\`m\[ k\ekXk`m\ XggifmXc ]fi `kj Xggc`ZXk`fe
kf dXib\k X ^\e\i`Z m\ij`fe f] QpnXm, @\e\i`Z Zfdg\k`k`fe ZXe [\Zi\Xj\ k_\ e\k gi`Z\j Xk n_`Z_ YiXe[\[ gif[lZkj* jlZ_ Xj QpnXm Xe[ Qpi\d Xi\ jfc[* Xj
ZXe Zfdg\k`k`fe ]ifd fk_\i YiXe[\[ gif[lZkj, Be X[[`k`fe* n\ _Xm\ `eZi\Xj`e^cp \og\i`\eZ\[ gi\jjli\ ]ifd k_`i[ gXikp gXpfij kf X^i\\ kf [`jZflekj* i\YXk\j
fi i\jki`Zk`m\ gi`Z`e^ k\idj* Xe[ n\ ZXeefk ^lXiXek\\ n\ n`cc Y\ XYc\ kf X^i\\ kf Zfdd\iZ`Xccp i\XjfeXYc\ k\idj n`k_ I;Fj* fi j`d`cXi fi^Xe`qXk`fej Xe[
fk_\i k_`i[ gXikp gXpfij* fi k_Xk n\ n`cc Y\ XYc\ kf \ejli\ gXk`\ek XZZ\jj Xe[ XZZ\gkXeZ\ fe ]fidlcXi`\j, >ek\i`e^ `ekf X^i\\d\ekj n`k_ I;Fj fi j`d`cXi
fi^Xe`qXk`fej Xe[ gXpfij kf \ejli\ gXk`\ek XZZ\jj _Xj Xe[ dXp Zfek`el\ kf i\jlck `e [\Zi\Xj\[ e\k gi`Z\j ]fi jfd\ f] fli gif[lZkj, Ffi\fm\i* ^\e\i`Z fi :@
_`^_+jf[`ld fopYXk\ gif[lZkj fi YiXe[\[ _`^_+jf[`ld fopYXk\ \ekiXekj `e eXiZfc\gjp* jlZ_ Xj :mX[\c{j Eldipq* _Xm\ _X[ Xe[ dXp Zfek`el\ kf _Xm\ k_\
\]]\Zk f] Z_Xe^`e^ gXpfi fi ]fidlcXip Zfm\iX^\ f] QpnXm fi Qpi\d `e ]Xmfi f] fk_\i gif[lZkj* Xe[ `e[`i\Zkcp X[m\ij\cp X]]\Zk jXc\j f] QpnXm Xe[ Qpi\d,
      Hli ]`eXeZ`Xc Zfe[`k`fe* i\jlckj f] fg\iXk`fej Xe[ ^ifnk_ gifjg\Zkj Xi\ Xcjf [\g\e[\ek fe fli XY`c`kp kf dX`ekX`e fi `eZi\Xj\ jXc\j f]
>g`[`fc\o->g`[pfc\o `e k_\ N,L, Xe[ >lifg\* n_`Z_ `j jlYa\Zk kf dXep i`jbj Xe[ k_\i\ `j ef ^lXiXek\\ k_Xk n\ n`cc Y\ XYc\ kf Zfek`el\ kf jlZZ\jj]lccp
Zfdd\iZ`Xc`q\ >g`[`fc\o->g`[pfc\o ]fi `kj Xggifm\[ `e[`ZXk`fej, M_\ Zfdd\iZ`Xc jlZZ\jj f] >g`[`fc\o->g`[pfc\o [\g\e[j fe k_\ \ok\ek kf n_`Z_ gXk`\ekj
Xe[ g_pj`Z`Xej XZZ\gk Xe[ X[fgk >g`[`fc\o->g`[pfc\o Xj X ki\Xkd\ek ]fi j\`qli\j XjjfZ`Xk\[ n`k_ E@L* =L Xe[ ML<* Xe[ n\ [f efk befn n_\k_\i fli fi
fk_\ij{ \jk`dXk\j `e k_`j i\^Xi[ n`cc Y\ XZZliXk\, I_pj`Z`Xej dXp efk gi\jZi`Y\ >g`[`fc\o Xe[ gXk`\ekj dXp Y\ len`cc`e^ kf lj\ >g`[`fc\o->g`[pfc\o `]
Zfm\iX^\ `j efk gifm`[\[ fi i\`dYlij\d\ek `j `eX[\hlXk\ kf Zfm\i X j`^e`]`ZXek gfik`fe f] k_\ Zfjk, :[[`k`feXccp* Xep e\^Xk`m\ [\m\cfgd\ek ]fi
>g`[`fc\o->g`[pfc\o `e k_\ dXib\k* `e Zc`e`ZXc [\m\cfgd\ek ]fi X[[`k`feXc `e[`ZXk`fej* fi `e i\^lcXkfip gifZ\jj\j `e fk_\i ali`j[`Zk`fej* dXp X[m\ij\cp
`dgXZk k_\ Zfdd\iZ`Xc i\jlckj Xe[ gfk\ek`Xc f] >g`[`fc\o->g`[pfc\o, Ffi\fm\i* n\ \og\Zk k_Xk >g`[`fc\o n`cc ]XZ\ Zfdg\k`k`fe ]ifd ^\e\i`Z gif[lZkj `e k_\
]lkli\, ?fi \oXdgc\* `e Gfm\dY\i Xe[ =\Z\dY\i 0.00* n\ i\Z\`m\[ efk`Z\j ]ifd k\e :G=: ]`c\ij k_Xk k_\p _Xm\ \XZ_ ]`c\[ n`k_ ?=: Xe :G=: ]fi X
^\e\i`Z m\ij`fe f] >g`[`fc\o, Be X[[`k`fe* k_\i\ Xi\ efe+?=: Xggifm\[ ZXeeXY`[`fc gi\gXiXk`fej Y\`e^ dX[\ XmX`cXYc\ ]ifd ZfdgXe`\j k_ifl^_ k_\ jkXk\+
\eXYc\[ d\[`ZXc dXi`alXeX `e[ljkip* n_`Z_ d`^_k Xkk\dgk kf Zfdg\k\ n`k_ >g`[`fc\o, M_lj* j`^e`]`ZXek leZ\ikX`ekp i\dX`ej i\^Xi[`e^ k_\ Zfdd\iZ`Xc
gfk\ek`Xc f] >g`[`fc\o->g`[pfc\o,
      Be X[[`k`fe kf fli e\lifjZ`\eZ\ gif[lZkj Xe[ gif[lZk ZXe[`[Xk\j* n\ Xi\ Zfdd\iZ`Xc`q`e^ X gfik]fc`f f] feZfcf^p gif[lZkj* `eZcl[`e^ KpcXq\*
S\gq\cZX* =\]`k\c`f Xe[ Opo\fj, :e `eXY`c`kp kf \]]\Zk`m\cp Zfdd\iZ`Xc`q\ KpcXq\* S\gq\cZX* =\]`k\c`f Xe[ Opo\fj Xe[ kf dXo`d`q\ k_\`i gfk\ek`Xc n_\i\
gfjj`Yc\ k_ifl^_ jlZZ\jj]lc i\j\XiZ_ Xe[ [\m\cfgd\ek XZk`m`k`\j Zflc[ _Xm\ X dXk\i`Xc X[m\ij\ \]]\Zk fe fli Ylj`e\jj* ]`eXeZ`Xc Zfe[`k`fe* i\jlckj f]
fg\iXk`fej Xe[ ^ifnk_ gifjg\Zkj,
       : b\p Xjg\Zk f] fli ^ifnk_ jkiXk\^p `j fli Zfek`el\[ `em\jkd\ek `e fli \mfcm`e^ Xe[ \ogXe[`e^ K$= XZk`m`k`\j, B] n\ Xi\ efk jlZZ\jj]lc `e k_\
Zc`e`ZXc [\m\cfgd\ek f] fli gif[lZk ZXe[`[Xk\j* `] n\ Xi\ leXYc\ kf fYkX`e i\^lcXkfip XggifmXc ]fi fli gif[lZk ZXe[`[Xk\j `e X k`d\cp dXee\i* fi Xk Xcc* fi `]
jXc\j f] Xe Xggifm\[ gif[lZk [f efk i\XZ_ k_\ c\m\cj n\ \og\Zk* fli Xek`Z`gXk\[ i\m\el\ ]ifd fli gif[lZk ZXe[`[Xk\j nflc[ Y\ e\^Xk`m\cp X]]\Zk\[* n_`Z_
Zflc[ _Xm\ X dXk\i`Xc X[m\ij\ \]]\Zk fe fli Ylj`e\jj* ]`eXeZ`Xc Zfe[`k`fe* i\jlckj f] fg\iXk`fej Xe[ ^ifnk_ gifjg\Zkj,
      Be X[[`k`fe kf Zfek`el\[ `em\jkd\ek `e fli K$= g`g\c`e\* n\ `ek\e[ kf Zfek`el\ kf ^ifn fli Ylj`e\jj Yp XZhl`i`e^ fi `e+c`Z\ej`e^* Xe[ [\m\cfg`e^*
`eZcl[`e^ n`k_ ZfccXYfiXk`fe gXike\ij* X[[`k`feXc gif[lZkj Xe[ gif[lZk ZXe[`[Xk\j k_Xk n\ Y\c`\m\ Xi\ _`^_cp [`]]\i\ek`Xk\[ Xe[ _Xm\ j`^e`]`ZXek Zfdd\iZ`Xc
gfk\ek`Xc, ?X`cli\ kf `[\ek`]p Xe[ XZhl`i\* `e+c`Z\ej\ fi [\m\cfg X[[`k`feXc



                                                                              16
MXYc\ f] <fek\ekj
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gif[lZkj fi gif[lZk ZXe[`[Xk\j* jlZZ\jj]lccp dXeX^\ k_\ i`jbj XjjfZ`Xk\[ n`k_ `ek\^iXk`e^ Xep gif[lZkj fi gif[lZk ZXe[`[Xk\j `ekf fli gfik]fc`f fi k_\ i`jbj
Xi`j`e^ ]ifd Xek`Z`gXk\[ Xe[ leXek`Z`gXk\[ gifYc\dj `e Zfee\Zk`fe n`k_ Xe XZhl`j`k`fe fi `e+c`Z\ej`e^* jlZ_ Xj k_\ @P :Zhl`j`k`fe* Zflc[ _Xm\ X dXk\i`Xc
X[m\ij\ \]]\Zk fe fli Ylj`e\jj* i\jlckj f] fg\iXk`fej Xe[ ]`eXeZ`Xc Zfe[`k`fe,
       M_\ jlZZ\jj f] k_\ @P :Zhl`j`k`fe n`cc [\g\e[* `e gXik* fe fli XY`c`kp kf i\Xc`q\ k_\ Xek`Z`gXk\[ Y\e\]`kj ]ifd k_\ ZfdY`eXk`fe f] fli Xe[ @P{j
_`jkfi`ZXc Ylj`e\jj\j, Gfe\k_\c\jj* >g`[`fc\o Xe[ k_\ fk_\i gif[lZkj Xe[ k\Z_efcf^`\j XZhl`i\[ dXp efk Y\ jlZZ\jj]lc fi Zfek`el\ kf ^ifn Xk k_\ jXd\ iXk\
Xj `] fli ZfdgXe`\j fg\iXk\[ `e[\g\e[\ekcp fi k_\p dXp i\hl`i\ j`^e`]`ZXekcp ^i\Xk\i i\jfliZ\j Xe[ `em\jkd\ekj k_Xe fi`^`eXccp Xek`Z`gXk\[, ?fi \oXdgc\* `e
k_\ k_`i[ hlXik\i f] 0.00* n\ i\Zfi[\[ X "/11,4 d`cc`fe Xjj\k `dgX`id\ek Z_Xi^\ Xj X i\jlck f] k_\ [\Z`j`fe kf [`jZfek`el\ k_\ eXY`o`dfcj gif^iXd, :j X
i\jlck* k_\ Xek`Z`gXk\[ Y\e\]`kj f] k_\ @P :Zhl`j`k`fe dXp efk Y\ i\Xc`q\[ Xk k_\ \og\Zk\[ c\m\c* n`k_`e k_\ \og\Zk\[ k`d\]iXd\ fi Xk Xcc fi dXp kXb\ cfe^\i
kf i\Xc`q\ fi Zfjk dfi\ k_Xe \og\Zk\[* n_`Z_ Zflc[ dXk\i`Xccp Xe[ X[m\ij\cp X]]\Zk fli Ylj`e\jj* ]`eXeZ`Xc Zfe[`k`fe* i\jlckj f] fg\iXk`fej Xe[ ^ifnk_
gifjg\Zkj,
       Hli `e[ljkip _Xj Y\\e* Xe[ `j \og\Zk\[ kf Zfek`el\ kf Y\* jlYa\Zk kf _\Xck_ZXi\ Zfjk ZfekX`ed\ek Xe[ [il^ gi`Z`e^ jZilk`ep Yp i\^lcXkfip X^\eZ`\j `e
k_\ N,L, Xe[ `ek\ieXk`feXccp, B] e\n _\Xck_ZXi\ gfc`Z`\j fi i\]fidj `ek\e[\[ kf ZliY _\Xck_ZXi\ Zfjkj Xi\ X[fgk\[ fi `] n\ \og\i`\eZ\ e\^Xk`m\ glYc`Z`kp n`k_
i\jg\Zk kf gi`Z`e^ f] fli gif[lZkj fi k_\ gi`Z`e^ f] g_XidXZ\lk`ZXc [il^j ^\e\iXccp* k_\ gi`Z\j k_Xk n\ Z_Xi^\ ]fi fli gif[lZkj dXp Y\ X]]\Zk\[* fli
Zfdd\iZ`Xc fggfikle`kp dXp Y\ c`d`k\[ Xe[-fi fli i\m\el\j ]ifd jXc\j f] fli gif[lZkj dXp Y\ e\^Xk`m\cp `dgXZk\[, ?fi \oXdgc\* k_\ Be]cXk`fe K\[lZk`fe
:Zk f] 0.00 Xdfe^ fk_\i k_`e^j* i\hl`i\j k_\ N,L, =\gXikd\ek f] A\Xck_ Xe[ AldXe L\im`Z\j L\Zi\kXip kf e\^fk`Xk\* n`k_ i\jg\Zk kf F\[`ZXi\ le`kj Xe[
jlYa\Zk kf X jg\Z`]`\[ ZXg* k_\ gi`Z\ f] X j\k eldY\i f] Z\ikX`e _`^_ F\[`ZXi\ jg\e[ [il^j Xe[ Y`fcf^`ZXcj g\i p\Xi jkXik`e^ `e 0.04* g\eXc`q\j dXel]XZkli\ij
f] Z\ikX`e F\[`ZXi\ IXikj ; Xe[ = [il^j ]fi gi`Z\ `eZi\Xj\j XYfm\ `e]cXk`fe* Xe[ dXb\j j\m\iXc Z_Xe^\j kf k_\ F\[`ZXi\ IXik = Y\e\]`k* `eZcl[`e^ X c`d`k fe
XeelXc flk+f]+gfZb\k Zfjkj* Xe[ X Z_Xe^\ `e dXel]XZkli\i c`XY`c`kp le[\i k_\ gif^iXd* k_Xk Zflc[ e\^Xk`m\cp X]]\Zk fli Ylj`e\jj Xe[ ]`eXeZ`Xc Zfe[`k`fe, Be
X[[`k`fe* le[\i k_\ F\[`ZX`[ =il^ K\YXk\ Iif^iXd* i\YXk\j fn\[ Yp dXel]XZkli\ij Xi\ ef cfe^\i jlYa\Zk kf X ZXg fe k_\ i\YXk\ Xdflek* n_`Z_ Zflc[
X[m\ij\cp X]]\Zk fli i\YXk\ c`XY`c`kp, P\ Xi\ Xcjf jlYa\Zk kf `eZi\Xj`e^ gi`Z`e^ gi\jjli\ Xe[ i\jki`Zk`fej fe i\`dYlij\d\ek `dgfj\[ Yp gXpfij, B] n\ ]X`c kf
fYkX`e Xe[ dX`ekX`e X[\hlXk\ ]fidlcXip gfj`k`fej Xe[ `ejk`klk`feXc XZZ\jj ]fi fli Zlii\ek gif[lZkj Xe[ ]lkli\ Xggifm\[ gif[lZkj* n\ n`cc efk Y\ XYc\ kf
XZ_`\m\ X i\klie fe fli `em\jkd\ek Xe[ fli Ylj`e\jj* ]`eXeZ`Xc Zfe[`k`fe* i\jlckj f] fg\iXk`fej Xe[ ^ifnk_ gifjg\Zkj nflc[ Y\ dXk\i`Xccp X[m\ij\cp X]]\Zk\[,
      P_`c\ Z\ikX`e gi\gXiXk`fej f] ZXeeXY`j i\dX`e LZ_\[lc\ B Zfekifcc\[ jlYjkXeZ\j* `] jlZ_ gif[lZkj Xi\ Xggifm\[ Yp ?=: ]fi d\[`ZXc lj\ `e k_\ N,L,
k_\p Xi\ i\jZ_\[lc\[ kf LZ_\[lc\j BB+O* j`eZ\ XggifmXc Yp ?=: jXk`j]`\j k_\ xXZZ\gk\[ d\[`ZXc lj\y i\hl`i\d\ek9 fi jlZ_ gif[lZkj dXp Y\ i\dfm\[ ]ifd
Zfekifc le[\i k_\ <fekifcc\[ LlYjkXeZ\j :Zk \ek`i\cp, B] Xep f] fli gif[lZk ZXe[`[Xk\j i\Z\`m\ ?=: XggifmXc* k_\ =\gXikd\ek f] A\Xck_ Xe[ AldXe
L\im`Z\j Xe[ k_\ N,L, =il^ >e]fiZ\d\ek :[d`e`jkiXk`fe n`cc dXb\ X jZ_\[lc`e^ [\k\id`eXk`fe, N,L, fi ]fi\`^e i\^lcXkfip X^\eZ`\j dXp i\hl\jk X[[`k`feXc
`e]fidXk`fe i\^Xi[`e^ k_\ XYlj\ gfk\ek`Xc f] fli gif[lZkj n_`Z_ dXp i\hl`i\ lj kf ^\e\iXk\ dfi\ Zc`e`ZXc fi fk_\i [XkX k_Xe n\ Zlii\ekcp Xek`Z`gXk\ kf
\jkXYc`j_ n_\k_\i fi kf n_Xk \ok\ek k_\ jlYjkXeZ\ _Xj Xe XYlj\ gfk\ek`Xc* n_`Z_ Zflc[ `eZi\Xj\ k_\ Zfjk* [\cXp k_\ XggifmXc Xe[-fi [\cXp k_\ cXleZ_ f] k_Xk
gif[lZk,
       ?`eXccp* Ylj`e\jj giXZk`Z\j Yp g_XidXZ\lk`ZXc ZfdgXe`\j* `eZcl[`e^ gif[lZk ]fidlcXk`fe `dgifm\d\ekj* gXk\ek c`k`^Xk`fe j\kkc\d\ekj* Xe[ K>FL
gif^iXdj* _Xm\ `eZi\Xj`e^cp [iXne glYc`Z jZilk`ep ]ifd c\^`jcXkfij Xe[ i\^lcXkfip X^\eZ`\j* n`k_ Xcc\^Xk`fej k_Xk jlZ_ gif^iXdj Xi\ lj\[ Xj X d\Xej f]
`dgifg\icp YcfZb`e^ fi [\cXp`e^ Zfdg\k`k`fe, @fm\ied\ek `em\jk`^Xk`fej n`k_ i\jg\Zk kf fli Ylj`e\jj giXZk`Z\j* `eZcl[`e^ Xj k_\p i\cXk\ kf k_\ QpnXm Xe[
Qpi\d K>FL* k_\ cXleZ_ f] QpnXm* fli Qpi\d gXk\ek c`k`^Xk`fe j\kkc\d\ek X^i\\d\ekj fi fk_\in`j\* Zflc[ ZXlj\ lj kf `eZli j`^e`]`ZXek dfe\kXip Z_Xi^\j
kf i\jfcm\ k_\j\ dXkk\ij Xe[ Zflc[ [`jkiXZk lj ]ifd k_\ fg\iXk`fe f] fli Ylj`e\jj Xe[ \o\Zlk`fe f] fli jkiXk\^p, ?fi \oXdgc\* `e Clcp 0.00* n\ i\Z\`m\[ X
jlYgf\eX ]ifd k_\ N,L, :kkfie\p{j H]]`Z\ ]fi k_\ =`jki`Zk f] FXjjXZ_lj\kkj i\hl\jk`e^ [fZld\ekj i\cXk\[ kf Qpi\d Xe[ N,L, IXk\ek Gf, 6*550*1.4
&xF\k_f[ f] :[d`e`jkiXk`fe f] @XddX Ap[ifopYlkpiXk\ n`k_ FfefZXiYfopcXk\ MiXejgfik\ijy'* gif[lZk cXY\c`e^ Z_Xe^\j ]fi Qpi\d* Zfddle`ZXk`fej n`k_
?=: Xe[ k_\ N,L, IXk\ek Xe[ MiX[\dXib H]]`Z\* gi`Z`e^ f] Qpi\d* Xe[ fk_\i i\cXk\[ [fZld\ekj, P\ dXp Xcjf Y\Zfd\ jlYa\Zk kf j`d`cXi `em\jk`^Xk`fej Yp
fk_\i jkXk\ fi ]\[\iXc ^fm\ied\ekXc X^\eZ`\j, M_\ `em\jk`^Xk`fe Yp k_\ N,L, :kkfie\p{j H]]`Z\ Xe[ Xep X[[`k`feXc `em\jk`^Xk`fej fi c`k`^Xk`fe i\cXk\[ kf k_\
jlYa\Zk dXkk\i f] k_`j `em\jk`^Xk`fe dXp i\jlck `e [XdX^\j* ]`e\j* g\eXck`\j* ]`eXeZ`Xc Z_Xi^\j kf i\jfcm\ k_\ dXkk\i fi X[d`e`jkiXk`m\ jXeZk`fej X^X`ejk lj*
e\^Xk`m\ glYc`Z`kp fi fk_\i e\^Xk`m\ XZk`fej k_Xk Zflc[ _Xid fli i\glkXk`fe* i\[lZ\ [\dXe[ ]fi Qpi\d Xe[-fi i\[lZ\ Zfm\iX^\ f] Qpi\d* `eZcl[`e^ Yp
]\[\iXc _\Xck_ ZXi\ gif^iXdj Xe[ jkXk\ _\Xck_ ZXi\ gif^iXdj, Be X[[`k`fe* ]ifd Cle\ 0.0. kf FXp 0.00* X eldY\i f] cXnjl`kj n\i\ ]`c\[ fe Y\_Xc] f]
gligfik\[ [`i\Zk Xe[ `e[`i\Zk Qpi\d gliZ_Xj\ij* Xcc\^`e^ k_Xk k_\ gXk\ek c`k`^Xk`fe j\kkc\d\ek X^i\\d\ekj n\ \ek\i\[ n`k_ Z\ikX`e ^\e\i`Z ZfdgXe`\j m`fcXk\
jkXk\ Xe[ ]\[\iXc Xek`kiljk Xe[ Zfejld\i gifk\Zk`fe cXnj, ?fi X[[`k`feXc `e]fidXk`fe fe k_\j\ cXnjl`kj Xe[ fk_\i c\^Xc dXkk\ij* j\\ Gfk\ 7* <fdd`kd\ekj
Xe[ <fek`e^\eZ`\jwE\^Xc IifZ\\[`e^j f] k_\ Gfk\j kf <fe[\ej\[ <fejfc`[Xk\[ ?`eXeZ`Xc LkXk\d\ekj* `eZcl[\[ `e IXik B* Bk\d / f] k_`j JlXik\icp K\gfik fe
?fid /."J, Bk `j gfjj`Yc\ k_Xk X[[`k`feXc cXnjl`kj n`cc Y\ ]`c\[ X^X`ejk lj dXb`e^ j`d`cXi fi i\cXk\[ Xcc\^Xk`fej, P\ ZXeefk gi\[`Zk k_\ flkZfd\ f] k_\j\ fi
gfk\ek`Xc X[[`k`feXc cXnjl`kj9 _fn\m\i* `] k_\ gcX`ek`]]j n\i\ kf Y\ jlZZ\jj]lc `e k_\`i ZcX`dj X^X`ejk lj* k_\p dXp Y\ \ek`kc\[ kf `ealeZk`m\ i\c`\] fi n\ dXp
Y\ i\hl`i\[ kf gXp j`^e`]`ZXek dfe\kXip [XdX^\j, Ffi\fm\i* n\ Xi\* Xe[ \og\Zk kf Zfek`el\ kf Y\* k_\ jlYa\Zk f] mXi`flj ZcX`dj* c\^Xc gifZ\\[`e^j*



                                                                              17
MXYc\ f] <fek\ekj
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Xe[ ^fm\ied\ek `em\jk`^Xk`fej XgXik ]ifd k_fj\ j\k ]fik_ XYfm\ k_Xk _Xm\ Xi`j\e `e k_\ fi[`eXip Zflij\ f] Ylj`e\jj k_Xk _Xm\ efk p\k Y\\e ]lccp i\jfcm\[ Xe[
k_Xk Zflc[ X[m\ij\cp X]]\Zk fli Ylj`e\jj Xe[ k_\ \o\Zlk`fe f] fli jkiXk\^p, :ep f] k_\ ]fi\^f`e^ i`jbj Xe[ leZ\ikX`ek`\j Zflc[ _Xm\ X dXk\i`Xc X[m\ij\ \]]\Zk
fe fli Ylj`e\jj* ]`eXeZ`Xc Zfe[`k`fe* i\jlckj f] fg\iXk`fej Xe[ ^ifnk_ gifjg\Zkj,
      M_\j\ i`jbj Xe[ leZ\ikX`ek`\j Xi\ [`jZljj\[ `e ^i\Xk\i [\kX`c* Xcfe^ n`k_ fk_\i i`jbj Xe[ leZ\ikX`ek`\j* `e xK`jb ?XZkfijy `e IXik B* Bk\d /: f] fli
:eelXc K\gfik fe ?fid /.+D ]fi k_\ p\Xi \e[\[ =\Z\dY\i 1/* 0.01* Xj jlggc\d\ek\[ Yp k_\ i`jbj Xe[
leZ\ikX`ek`\j [\jZi`Y\[ `e !K`jb ?XZkfij! `e IXik BB* Bk\d /: f] k_`j JlXik\icp K\gfik fe ?fid /.+J,

Results of Operations
      M_\ ]fccfn`e^ kXYc\ gi\j\ekj fli i\m\el\j Xe[ \og\ej\j &`e k_fljXe[j* \oZ\gk g\iZ\ekX^\j'8
                                                                                                                   Three Months Ended
                                                                                                                        March 31,                   Increase/
                                                                                                                 2024               2023            (Decrease)
Iif[lZk jXc\j* e\k                                                                                         "      620*/.0     "      662*0/7               &3'#
KfpXck`\j Xe[ ZfekiXZk i\m\el\j                                                                                    37*66/              6*371             G-:&/'
<fjk f] gif[lZk jXc\j &\oZcl[`e^ Xdfik`qXk`fe f] XZhl`i\[ [\m\cfg\[ k\Z_efcf^`\j'                                  73*265            /06*422              &04'#
L\cc`e^* ^\e\iXc Xe[ X[d`e`jkiXk`m\                                                                               13/*5/0            075*7/5               /6 #
K\j\XiZ_ Xe[ [\m\cfgd\ek                                                                                          000*625            /67*2/.               /6 #
BekXe^`Yc\ Xjj\k Xdfik`qXk`fe                                                                                     /33*51.            /27*564                2#
:Zhl`i\[ `e+gifZ\jj i\j\XiZ_ Xe[ [\m\cfgd\ek                                                                       /.*...              /*...             G-:&/'
Bek\i\jk \og\ej\* e\k                                                                                              44*//4             52*/25              &//'#
?fi\`^e \oZ_Xe^\ &^X`e' cfjj                                                                                        /*471             &1*/71'            &/31'#
BeZfd\ kXo \og\ej\ &Y\e\]`k'                                                                                       //*447            &/3*102'            &/54'#
>hl`kp `e cfjj f] `em\jk\\j                                                                                         /*125              /*..3               12 #
VVVVVVVVVVVVVVVVVVVVVVVVVVVV
&/' <fdgXi`jfe kf gi`fi g\i`f[ efk d\Xe`e^]lc,

Revenues
      M_\ ]fccfn`e^ kXYc\ gi\j\ekj fli e\k gif[lZk jXc\j* ifpXck`\j Xe[ ZfekiXZk i\m\el\j* Xe[ kfkXc i\m\el\j &`e k_fljXe[j* \oZ\gk g\iZ\ekX^\j'8
                                                                                                                   Three Months Ended
                                                                                                                        March 31,                   Increase/
                                                                                                                 2024               2023            (Decrease)
QpnXm                                                                                                      "      1/3*1..     "      055*54/               /2 #
Qpi\d                                                                                                              42*010            /56*/1.             &42'#
>g`[`fc\o->g`[pfc\o                                                                                               /76*5/4            /66*7.7                3#
LXk`m\o                                                                                                             0*513              5*.76             &4/'#
 MfkXc G\lifjZ`\eZ\                                                                                               36.*761            43/*676              &//'#
KpcXq\->eipcXq\                                                                                                   /.0*53.             63*705               0. #
S\gq\cZX                                                                                                           53*/..             45*/6/               /0 #
=\]`k\c`f-[\]`Yifk`[\                                                                                              25*454             17*.57               00 #
Opo\fj                                                                                                             10*.01             14*5..             &/1'#
 MfkXc HeZfcf^p                                                                                                   035*327            006*665               /1 #
Hk_\i                                                                                                               1*35.              1*212                2#
 Iif[lZk jXc\j* e\k                                                                                               620*/.0            662*0/7               &3'#
A`^_+jf[`ld fopYXk\ :@ ifpXckp i\m\el\                                                                             27*725              0*.74             G-:&/'
Hk_\i ifpXckp Xe[ ZfekiXZk i\m\el\j                                                                                 7*712              4*275               31 #
MfkXc i\m\el\j                                                                                             "      7./*761     "      670*6/0                /#
VVVVVVVVVVVVVVVVVVVVVVVVVVV
&/' <fdgXi`jfe kf gi`fi g\i`f[ efk d\Xe`e^]lc,



                                                                               2.
MXYc\ f] <fek\ekj
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Product Sales, Net
       QpnXm gif[lZk jXc\j `eZi\Xj\[ `e k_\ k_i\\ dfek_j \e[\[ FXiZ_ 1/* 0.02* ZfdgXi\[ kf k_\ jXd\ g\i`f[ `e 0.01* gi`dXi`cp [l\ kf `eZi\Xj\[ jXc\j
mfcld\j f] /4# Xe[* kf X c\jj\i \ok\ek* X _`^_\i j\cc`e^ gi`Z\* f]]j\k Yp _`^_\i ^ifjj kf e\k [\[lZk`fej, P\ Zfek`el\ kf j\\ QpnXm X[fgk`fe `e gXk`\ekj n`k_
eXiZfc\gjp [i`m\e Yp \[lZXk`feXc `e`k`Xk`m\j Xifle[ \]]`ZXZp Xe[ k_\ Y\e\]`k f] cfn\i`e^ jf[`ld `ekXb\, Be X[[`k`fe* QpnXm gif[lZk jXc\j n\i\ gfj`k`m\cp
`dgXZk\[ Yp X[fgk`fe `e BA9 QpnXm `j k_\ fecp fopYXk\ k_\iXgp Xggifm\[ kf ki\Xk BA Xe[ n\ j\\ Zfek`el\[ ^ifnk_ f] e\n gi\jZi`Y\ij, >o`k`e^ k_\ hlXik\i*
k_\i\ n\i\ 7*7.. gXk`\ekj kXb`e^ QpnXm ]fi eXiZfc\gjp Xe[ 1*.3. kXb`e^ QpnXm ]fi BA* Xe `eZi\Xj\ f] Xggifo`dXk\cp 7# Xe[ 31#* i\jg\Zk`m\cp* ZfdgXi\[
kf k_\ jXd\ g\i`f[ `e 0.01, Qpi\d gif[lZk jXc\j [\Zi\Xj\[ `e k_\ k_i\\ dfek_j \e[\[ FXiZ_ 1/* 0.02* ZfdgXi\[ kf k_\ jXd\ g\i`f[ `e 0.01* gi`dXi`cp [l\
kf [\Zi\Xj\[ jXc\j mfcld\j f] 41#* [l\ kf k_\ X[fgk`fe f] QpnXm Yp \o`jk`e^ Qpi\d gXk`\ekj* k_\ XmX`cXY`c`kp f] _`^_+jf[`ld fopYXk\ Zfdg\k`k`fe*
Z_Xe^\j kf ]fidlcXip Zfm\iX^\ `dgXZk`e^ eXiZfc\gjp gXk`\ekj* Xe[ _`^_\i ^ifjj kf e\k [\[lZk`fej* f]]j\k Yp X _`^_\i j\cc`e^ gi`Z\, >g`[`fc\o->g`[pfc\o
gif[lZk jXc\j `eZi\Xj\[ `e k_\ k_i\\ dfek_j \e[\[ FXiZ_ 1/* 0.02* ZfdgXi\[ kf k_\ jXd\ g\i`f[ `e 0.01* gi`dXi`cp [l\ kf `eZi\Xj\[ jXc\j mfcld\j f] 3#*
[l\ kf `eZi\Xj\[ [\dXe[ Xe[ ^\f^iXg_`Z \ogXej`fe* Xe[ X _`^_\i Xm\iX^\ j\cc`e^ gi`Z\* gXik`Xccp f]]j\k Yp _`^_\i ^ifjj kf e\k [\[lZk`fej,
       KpcXq\->eipcXq\ gif[lZk jXc\j `eZi\Xj\[ `e k_\ k_i\\ dfek_j \e[\[ FXiZ_ 1/* 0.02* ZfdgXi\[ kf k_\ jXd\ g\i`f[ `e 0.01* gi`dXi`cp [l\ kf `eZi\Xj\[
jXc\j mfcld\j f] /7# Xe[* kf X c\jj\i \ok\ek* X _`^_\i j\cc`e^ gi`Z\* f]]j\k Yp _`^_\i ^ifjj kf e\k [\[lZk`fej, M_\ `eZi\Xj\[ mfcld\j i\]c\Zk k_\ jkife^
[\dXe[ ]fi KpcXq\ [i`m\e Yp ifYljk X[fgk`fe `e g\[`Xki`Z XjgXiX^`eXj\+YXj\[ feZfcf^p gifkfZfcj `e k_\ N,L* X[fgk`fe f] k_\ Ffe[Xp-P\[e\j[Xp-?i`[Xp
[fj`e^ i\^`d\e* Xcfe^ n`k_ lj\ f] KpcXq\ `e k_\ ]`ijk c`e\ j\kk`e^ Xe[ `e k_\ ki\Xkd\ek f] X[fc\jZ\ekj Xe[ pfle^ X[lckj, S\gq\cZX gif[lZk jXc\j `eZi\Xj\[ `e
k_\ k_i\\ dfek_j \e[\[ FXiZ_ 1/* 0.02* ZfdgXi\[ kf k_\ jXd\ g\i`f[ `e 0.01* gi`dXi`cp [l\ kf `eZi\Xj\[ jXc\j mfcld\j Xe[ X _`^_\i j\cc`e^ gi`Z\,
=\]`k\c`f-[\]`Yifk`[\ gif[lZk jXc\j `eZi\Xj\[ `e k_\ k_i\\ dfek_j \e[\[ FXiZ_ 1/* 0.02* ZfdgXi\[ kf k_\ jXd\ g\i`f[ `e 0.01* gi`dXi`cp [l\ kf `eZi\Xj\[
jXc\j mfcld\j Xe[ X _`^_\i Xm\iX^\ j\cc`e^ gi`Z\, Opo\fj gif[lZk jXc\j [\Zi\Xj\[ `e k_\ k_i\\ dfek_j \e[\[ FXiZ_ 1/* 0.02* gi`dXi`cp [l\ kf X [\Zi\Xj\ `e
jXc\j mfcld\j Xe[ _`^_\i ^ifjj kf e\k [\[lZk`fej* gXik`Xccp f]]j\k Yp X _`^_\i Xm\iX^\ j\cc`e^ gi`Z\,
      P\ \og\Zk kfkXc gif[lZk jXc\j n`cc `eZi\Xj\ `e 0.02 fm\i 0.01* gi`dXi`cp [l\ kf fli b\p ^ifnk_ [i`m\ij9 QpnXm* k_ifl^_ Zfek`el\[ ^ifnk_ `e k_\ BA
dXib\k* >g`[`fc\o k_ifl^_ ^ifnk_ `e Zlii\ek dXib\kj Xe[ \ogXej`fe `ekf e\n dXib\kj Xe[ KpcXq\ k_ifl^_ [\dXe[* f]]j\k Yp X [\Zi\Xj\ `e jXc\j f] Qpi\d
[l\ kf k_\ `dgXZk f] _`^_+jf[`ld fopYXk\ Zfdg\k`k`fe,

Royalties and Contract Revenues
       KfpXck`\j Xe[ ZfekiXZk i\m\el\j `eZi\Xj\[ `e k_\ k_i\\ dfek_j \e[\[ FXiZ_ 1/* 0.02* ZfdgXi\[ kf k_\ jXd\ g\i`f[ `e 0.01* gi`dXi`cp [l\ kf ifpXckp
i\m\el\ i\Z\`m\[ ]ifd A`bdX I_XidXZ\lk`ZXcj gcZ fe e\k jXc\j f] k_\`i _`^_ jf[`ld
fopYXk\ :@, P\ \og\Zk ifpXck`\j Xe[ ZfekiXZk i\m\el\j kf `eZi\Xj\ `e 0.02 ZfdgXi\[ kf 0.01* gi`dXi`cp [l\ kf `eZi\Xj\[ ifpXckp i\m\el\j Xi`j`e^ ]ifd e\k
jXc\j f] _`^_+jf[`ld fopYXk\ :@* gi`dXi`cp [l\ kf _`^_\i ifpXckp iXk\j `e 0.02,

Cost of Product Sales
       <fjk f] gif[lZk jXc\j [\Zi\Xj\[ `e k_\ k_i\\ dfek_j \e[\[ FXiZ_ 1/* 0.02* ZfdgXi\[ kf k_\ jXd\ g\i`f[ `e 0.01* gi`dXi`cp [l\ kf X i\[lZk`fe `e k_\
XZhl`j`k`fe XZZflek`e^ `em\ekfip ]X`i mXcl\ jk\g+lg \og\ej\* fi ]X`i mXcl\ jk\g+lg \og\ej\, @ifjj dXi^`e Xj X g\iZ\ekX^\ f] e\k gif[lZk jXc\j nXj 66,5# ]fi
k_\ k_i\\ dfek_j \e[\[ FXiZ_ 1/* 0.02 ZfdgXi\[ kf 63,3# ]fi k_\ jXd\ g\i`f[ `e 0.01* [l\ kf X i\[lZk`fe `e ]X`i mXcl\ jk\g+lg \og\ej\, P\ \og\Zk fli
Zfjk f] gif[lZk jXc\j kf `eZi\Xj\ `e 0.02 ZfdgXi\[ kf 0.01* gi`dXi`cp [i`m\e Yp X Z_Xe^\ `e gif[lZk d`o,

Selling, General and Administrative Expenses
      L\cc`e^* ^\e\iXc Xe[ X[d`e`jkiXk`m\ \og\ej\j `eZi\Xj\[ `e k_\ k_i\\ dfek_j \e[\[ FXiZ_ 1/* 0.02* ZfdgXi\[ kf k_\ jXd\ g\i`f[ `e 0.01* gi`dXi`cp
[l\ kf Xe `eZi\Xj\ `e Zfdg\ejXk`fe+i\cXk\[ \og\ej\j f] "/6,1 d`cc`fe gi`dXi`cp [i`m\e Yp _`^_\i _\X[Zflek `e jlggfik f] fli b\p ^ifnk_ [i`m\ij* `eZi\Xj\[
dXib\k`e^ `em\jkd\ek `e fli gi`fi`kp gif^iXdj f] "7,4 d`cc`fe Xe[ c`k`^Xk`fe Zfjkj f] "6,0 d`cc`fe,
     P\ \og\Zk j\cc`e^* ^\e\iXc Xe[ X[d`e`jkiXk`m\ \og\ej\j `e 0.02 kf `eZi\Xj\ ZfdgXi\[ kf 0.01* gi`dXi`cp [l\ kf Zfek`el\[ `em\jkd\ek `e fli b\p
^ifnk_ [i`m\ij* jlZ_ Xj QpnXm `e BA* >g`[`fc\o Xe[ KpcXq\ Xcfe^ n`k_ `eZi\Xj\[ \dgcfp\\ \og\ej\j,

Research and Development Expenses
      K\j\XiZ_ Xe[ [\m\cfgd\ek \og\ej\j Zfej`jk gi`dXi`cp f] Zfjkj i\cXk\[ kf Zc`e`ZXc jkl[`\j Xe[ flkj`[\ j\im`Z\j* g\ijfee\c \og\ej\j Xe[ fk_\i i\j\XiZ_
Xe[ [\m\cfgd\ek Zfjkj, <c`e`ZXc jkl[p Xe[ flkj`[\ j\im`Z\j Zfjkj i\cXk\ gi`dXi`cp kf j\im`Z\j g\i]fid\[ Yp Zc`e`ZXc i\j\XiZ_ fi^Xe`qXk`fej* dXk\i`Xcj Xe[
jlggc`\j* Xe[ fk_\i k_`i[ gXikp ]\\j, I\ijfee\c \og\ej\j i\cXk\ gi`dXi`cp kf jXcXi`\j* Y\e\]`kj Xe[ j_Xi\+YXj\[ Zfdg\ejXk`fe, Hk_\i i\j\XiZ_ Xe[
[\m\cfgd\ek \og\ej\j gi`dXi`cp `eZcl[\



                                                                             2/
MXYc\ f] <fek\ekj
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fm\i_\X[ XccfZXk`fej Zfej`jk`e^ f] mXi`flj jlggfik Xe[ ]XZ`c`k`\j+i\cXk\[ Zfjkj, P\ [f efk kiXZb ]lccp+Yli[\e\[ i\j\XiZ_ Xe[ [\m\cfgd\ek \og\ej\j fe X
gifa\Zk+Yp+gifa\Zk YXj`j, P\ dXeX^\ fli i\j\XiZ_ Xe[ [\m\cfgd\ek \og\ej\j Yp `[\ek`]p`e^ k_\ i\j\XiZ_ Xe[ [\m\cfgd\ek XZk`m`k`\j k_Xk n\ Xek`Z`gXk\ n`cc
Y\ g\i]fid\[ [li`e^ X ^`m\e g\i`f[ Xe[ k_\e gi`fi`k`q`e^ \]]fikj YXj\[ fe fli Xjj\jjd\ek f] n_`Z_ [\m\cfgd\ek XZk`m`k`\j Xi\ `dgfikXek kf fli Ylj`e\jj Xe[
_Xm\ X i\XjfeXYc\ gifYXY`c`kp f] jlZZ\jj* Xe[ Yp [peXd`ZXccp XccfZXk`e^ i\jfliZ\j XZZfi[`e^cp, P\ Xcjf Zfek`elXccp i\m`\n fli [\m\cfgd\ek g`g\c`e\
gifa\Zkj Xe[ k_\ jkXklj f] k_\`i [\m\cfgd\ek Xe[* Xj e\Z\jjXip* i\XccfZXk\ i\jfliZ\j Xdfe^ fli [\m\cfgd\ek g`g\c`e\ gifa\Zkj k_Xk n\ Y\c`\m\ n`cc Y\jk
jlggfik k_\ ]lkli\ ^ifnk_ f] fli Ylj`e\jj,
      M_\ ]fccfn`e^ kXYc\ gifm`[\j X Yi\Xbflk f] fli i\j\XiZ_ Xe[ [\m\cfgd\ek \og\ej\j Yp dXafi ZXk\^fi`\j f] \og\ej\ &`e k_fljXe[j'8
                                                                                                                                 Three Months Ended
                                                                                                                                      March 31,
                                                                                                                             2024                  2023
<c`e`ZXc jkl[`\j Xe[ flkj`[\ j\im`Z\j                                                                                "          /1/*244    "          /.4*123
I\ijfee\c \og\ej\j                                                                                                               50*774                4.*17/
Hk_\i                                                                                                                            /6*163                00*452
MfkXc                                                                                                                "          000*625    "          /67*2/.

      K\j\XiZ_ Xe[ [\m\cfgd\ek \og\ej\j `eZi\Xj\[ Yp "11,2 d`cc`fe `e k_\ k_i\\ dfek_j \e[\[ FXiZ_ 1/* 0.02* ZfdgXi\[ kf k_\ jXd\ g\i`f[ `e 0.01,
<c`e`ZXc jkl[`\j Xe[ flkj`[\ j\im`Z\j Zfjkj `eZi\Xj\[ `e k_\ k_i\\ dfek_j \e[\[ FXiZ_ 1/* 0.02* ZfdgXi\[ kf k_\ jXd\ g\i`f[ `e 0.01* gi`dXi`cp [l\ kf
_`^_\i Zfjkj i\cXk\[ kf qXe`[XkXdXY gif^iXdj* Xe[* kf X c\jj\i \ok\ek* CSI163, I\ijfee\c \og\ej\j `eZi\Xj\[ `e k_\ k_i\\ dfek_j \e[\[ FXiZ_ 1/* 0.02*
ZfdgXi\[ kf k_\ jXd\ g\i`f[ `e 0.01* gi`dXi`cp [i`m\e Yp `eZi\Xj\[ Zfdg\ejXk`fe Zfjkj Xe[ _`^_\i _\X[Zflek `e jlggfik f] fli [\m\cfgd\ek gif^iXdj,
       ?fi 0.02* n\ \og\Zk k_Xk fli i\j\XiZ_ Xe[ [\m\cfgd\ek \og\ej\j n`cc Zfek`el\ kf `eZi\Xj\ ZfdgXi\[ kf 0.01 Xj n\ gi\gXi\ ]fi Xek`Z`gXk\[ [XkX i\X[+
flkj ]ifd Zc`e`ZXc ki`Xcj* `e`k`Xk\ Xe[ le[\ikXb\ X[[`k`feXc Zc`e`ZXc ki`Xcj Xe[ i\cXk\[ [\m\cfgd\ek nfib gi`dXi`cp i\cXk`e^ kf qXe`[XkXdXY,

Intangible Asset Amortization
       BekXe^`Yc\ Xjj\k Xdfik`qXk`fe `eZi\Xj\[ `e k_\ k_i\\ dfek_j \e[\[ FXiZ_ 1/* 0.02* ZfdgXi\[ kf k_\ jXd\ g\i`f[ `e 0.01* gi`dXi`cp [l\ kf k_\ `dgXZk
f] ]fi\`^e Zlii\eZp kiXejcXk`fe X[aljkd\ekj, BekXe^`Yc\ Xjj\k Xdfik`qXk`fe ]fi 0.02 `j \og\Zk\[ kf Y\ `e c`e\ n`k_ 0.01,

Acquired In-Process Research and Development
       :Zhl`i\[ `e+gifZ\jj i\j\XiZ_ Xe[ [\m\cfgd\ek* fi BIK$=* \og\ej\ `e k_\ k_i\\ dfek_j \e[\[ FXiZ_ 1/* 0.02* i\cXk\[ kf k_\ lg]ifek gXpd\ek
f] "/.,. d`cc`fe dX[\ `e Zfee\Zk`fe n`k_ fli Xjj\k gliZ_Xj\ Xe[ ZfccXYfiXk`fe X^i\\d\ek n`k_ K\[o kf XZhl`i\ ^cfYXc i`^_kj kf k_\ D`ijk\e iXk jXiZfdX
m`ilj* fi DK:L* Be_`Y`kfi Iif^iXd,

Interest Expense, Net
      Bek\i\jk \og\ej\* e\k [\Zi\Xj\[ Yp "6,. d`cc`fe `e k_\ k_i\\ dfek_j \e[\[ FXiZ_ 1/* 0.02* ZfdgXi\[ kf k_\ jXd\ g\i`f[ `e 0.01* gi`dXi`cp [i`m\e Yp
_`^_\i `ek\i\jk `eZfd\ fe `em\jkd\ekj, P\ \og\Zk `ek\i\jk \og\ej\* e\k kf [\Zi\Xj\ `e 0.02 ZfdgXi\[ kf 0.01* gi`dXi`cp [l\ kf cfn\i `ek\i\jk \og\ej\
]fccfn`e^ k_\ i\gi`Z`e^ f] k_\ j\m\e+p\Xi "1,/ Y`cc`fe k\id cfXe ; ]XZ`c`kp* fi k_\ =fccXi M\id EfXe* ]fi ]lik_\i `e]fidXk`fe fe k_`j gc\Xj\ i\]\i kf E`hl`[`kp
Xe[ <Xg`kXc K\jfliZ\j,

Foreign Exchange (Gain) Loss
      M_\ ]fi\`^e \oZ_Xe^\ &^X`e' cfjj `j gi`dXi`cp i\cXk\[ kf k_\ kiXejcXk`fe f] jk\ic`e^ Xe[ \lif+[\efd`eXk\[ e\k dfe\kXip c`XY`c`k`\j* gi`dXi`cp
`ek\iZfdgXep YXcXeZ\j* _\c[ Yp jlYj`[`Xi`\j n`k_ X N,L, [fccXi ]leZk`feXc Zlii\eZp Xe[ i\cXk\[ ]fi\`^e \oZ_Xe^\ ]finXi[ ZfekiXZkj efk [\j`^eXk\[ Xj
_\[^`e^ `ejkild\ekj,

Income Tax Expense (Benefit)
      Hli `eZfd\ kXo \og\ej\ nXj "//,5 d`cc`fe ]fi k_\ k_i\\ dfek_j \e[\[ FXiZ_ 1/* 0.02* i\jlck`e^ gi`dXi`cp ]ifd kXo [\]`Z`\eZ`\j ]ifd j_Xi\+YXj\[
Zfdg\ejXk`fe, Hli `eZfd\ kXo Y\e\]`k nXj "/3,1 d`cc`fe ]fi k_\ jXd\ g\i`f[ `e 0.01* i\cXk`e^ kf kXo Xi`j`e^ fe `eZfd\ fi cfjj\j `e Bi\cXe[* k_\ N,D,* k_\
N,L, Xe[ Z\ikX`e fk_\i ]fi\`^e ali`j[`Zk`fej* f]]j\k Yp [\[lZk`fej fe jlYj`[`Xip \hl`kp* ]fi\`^e [\i`m\[ `ekXe^`Yc\ `eZfd\* fi ?=BB* Xe[ gXk\ek Yfo Y\e\]`kj,




                                                                              20
MXYc\ f] <fek\ekj
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Liquidity and Capital Resources
      :j f] FXiZ_ 1/* 0.02* n\ _X[ ZXj_* ZXj_ \hl`mXc\ekj Xe[ `em\jkd\ekj f] "/,6 Y`cc`fe* Yfiifn`e^ XmX`cXY`c`kp le[\i fli ]`m\+p\Xi "3..,. d`cc`fe
i\mfcm`e^ Zi\[`k ]XZ`c`kp* fi k_\ K\mfcm`e^ <i\[`k ?XZ`c`kp* f] "3..,. d`cc`fe Xe[ cfe^+k\id [\Yk gi`eZ`gXc YXcXeZ\ f] "3,6 Y`cc`fe, Hli cfe^+k\id [\Yk
`eZcl[\[ "0,5 Y`cc`fe X^^i\^Xk\ gi`eZ`gXc Xdflek f] k_\ =fccXi M\id EfXe* "/,3 Y`cc`fe `e X^^i\^Xk\ gi`eZ`gXc Xdflek f] 2,153# j\e`fi j\Zli\[ efk\j* [l\
0.07* fi k_\ L\Zli\[ Gfk\j* "/,. Y`cc`fe gi`eZ`gXc Xdflek fe fli 0,..# \oZ_Xe^\XYc\ j\e`fi efk\j [l\ 0.04 Xe[ "353,. d`cc`fe gi`eZ`gXc Xdflek fe fli
/,3.# \oZ_Xe^\XYc\ j\e`fi efk\j [l\ 0.02* fi 0.02 Gfk\j, P\ ^\e\iXk\[ ZXj_ ]cfnj ]ifd fg\iXk`fej f] "045,0 d`cc`fe [li`e^ k_\ k_i\\ dfek_j \e[\[
FXiZ_ 1/* 0.02* Xe[ n\ \og\Zk kf Zfek`el\ kf ^\e\iXk\ gfj`k`m\ ZXj_ ]cfnj ]ifd fg\iXk`fej n_`Z_ n`cc \eXYc\ lj kf fg\iXk\ fli Ylj`e\jj Xe[ [\+c\m\i fli
YXcXeZ\ j_\\k fm\i k`d\,
      L`eZ\ k_\ Zcfj`e^ f] k_\ XZhl`j`k`fe f] @P `e FXp 0.0/* n\ _Xm\ ]lccp i\gX`[ fli >lif M\id EfXe |403,. d`cc`fe* fi "531,. d`cc`fe Xe[ dX[\
mfclekXip Xe[ dXe[Xkfip i\gXpd\ekj f] "1..,. d`cc`fe Xe[ "63,1 d`cc`fe* i\jg\Zk`m\cp* i\cXk`e^ kf k_\ =fccXi M\id EfXe,
      P\ _Xm\ X j`^e`]`ZXek Xdflek f] [\Yk flkjkXe[`e^ fe X Zfejfc`[Xk\[ YXj`j, ?fi X dfi\ [\kX`c\[ [\jZi`gk`fe f] fli [\Yk XiiXe^\d\ekj* `eZcl[`e^
`e]fidXk`fe i\cXk`e^ kf fli jZ_\[lc\[ dXkli`k`\j n`k_ i\jg\Zk kf fli cfe^+k\id [\Yk* j\\ Gfk\ 6* =\Yk* f] k_\ efk\j kf k_\ Zfe[\ej\[ Zfejfc`[Xk\[ ]`eXeZ`Xc
jkXk\d\ekj* `eZcl[\[ `e IXik B* Bk\d / f] k_`j JlXik\icp K\gfik fe ?fid /."J, M_`j jlYjkXek`Xc c\m\c f] [\Yk Zflc[ _Xm\ `dgfikXek Zfej\hl\eZ\j kf fli
Ylj`e\jj* `eZcl[`e^* Ylk efk c`d`k\[ kf k_\ ]XZkfij j\k ]fik_ `e xK`jb ?XZkfijy f] fli :eelXc K\gfik fe ?fid /.+D ]fi k_\ p\Xi \e[\[ =\Z\dY\i 1/* 0.01*
le[\i k_\ _\X[`e^ xP\ _Xm\ `eZlii\[ jlYjkXek`Xc [\Yk* n_`Z_ Zflc[ `dgX`i fli ]c\o`Y`c`kp Xe[ XZZ\jj kf ZXg`kXc Xe[ X[m\ij\cp X]]\Zk fli ]`eXeZ`Xc gfj`k`fe*
Xe[ fli Ylj`e\jj nflc[ Y\ X[m\ij\cp X]]\Zk\[ `] n\ Xi\ leXYc\ kf j\im`Z\ fli [\Yk fYc`^Xk`fej,y
       P\ Y\c`\m\ k_Xk fli \o`jk`e^ ZXj_* ZXj_ \hl`mXc\ekj Xe[ `em\jkd\ekj YXcXeZ\j* ZXj_ n\ \og\Zk kf ^\e\iXk\ ]ifd fg\iXk`fej Xe[ ]le[j XmX`cXYc\ le[\i
fli K\mfcm`e^ <i\[`k ?XZ`c`kp n`cc Y\ jl]]`Z`\ek kf ]le[ fli fg\iXk`fej Xe[ kf d\\k fli \o`jk`e^ fYc`^Xk`fej ]fi k_\ ]fi\j\\XYc\ ]lkli\, M_\ X[\hlXZp f] fli
ZXj_ i\jfliZ\j [\g\e[j fe dXep Xjjldgk`fej* `eZcl[`e^ gi`dXi`cp fli Xjjldgk`fej n`k_ i\jg\Zk kf gif[lZk jXc\j Xe[ \og\ej\j* Xj n\cc Xj k_\ fk_\i ]XZkfij
j\k ]fik_ `e !K`jb ?XZkfij! le[\i k_\ _\X[`e^ !K`jbj K\cXk\[ kf fli E\X[ Iif[lZkj Xe[ Iif[lZk <Xe[`[Xk\jy `e IXik B* Bk\d /: f] fli :eelXc K\gfik fe
?fid /.+D ]fi k_\ p\Xi \e[\[ =\Z\dY\i 1/* 0.01* Xj jlggc\d\ek\[ Yp k_\ i`jbj [\jZi`Y\[ `e xK`jb ?XZkfij! le[\i k_\ _\X[`e^ x=\cXpj fi gifYc\dj `e k_\
jlggcp f] fli gif[lZkj ]fi jXc\ fi ]fi lj\ `e Zc`e`ZXc ki`Xcj* cfjj f] fli j`e^c\ jfliZ\ jlggc`\ij fi ]X`cli\ kf Zfdgcp n`k_ dXel]XZkli`e^ i\^lcXk`fej Zflc[
dXk\i`Xccp Xe[ X[m\ij\cp X]]\Zk fli Ylj`e\jj* ]`eXeZ`Xc Zfe[`k`fe* i\jlckj f] fg\iXk`fej Xe[ ^ifnk_ gifjg\Zkjy `e IXik BB* Bk\d /: f] k_`j JlXik\icp K\gfik fe
?fid /.+J* Xj n\cc Xj k_fj\ ]XZkfij j\k ]fik_ `e xK`jb ?XZkfij! le[\i k_\ _\X[`e^ Xe[ xMf Zfek`el\ kf ^ifn fli Ylj`e\jj* n\ n`cc e\\[ kf Zfdd`k
jlYjkXek`Xc i\jfliZ\j* n_`Z_ Zflc[ i\jlck `e ]lkli\ cfjj\j fi fk_\in`j\ c`d`k fli fggfikle`k`\j fi X]]\Zk fli XY`c`kp kf fg\iXk\ Xe[ ^ifn fli Ylj`e\jjy`e IXik B*
Bk\d /: f] fli :eelXc K\gfik fe ?fid /.+D ]fi k_\ p\Xi \e[\[ =\Z\dY\i 1/* 0.01,
       Hli Xjjldgk`fej dXp gifm\ kf Y\ nife^ fi fk_\i ]XZkfij dXp X[m\ij\cp X]]\Zk fli Ylj`e\jj* Xe[ Xj X i\jlck n\ Zflc[ \o_Xljk fi j`^e`]`ZXekcp [\Zi\Xj\
fli XmX`cXYc\ ZXj_ i\jfliZ\j* Xe[ n\ dXp efk Y\ XYc\ kf ^\e\iXk\ jl]]`Z`\ek ZXj_ kf j\im`Z\ fli [\Yk fYc`^Xk`fej n_`Z_ Zflc[* Xdfe^ fk_\i k_`e^j* ]fiZ\ lj kf
iX`j\ X[[`k`feXc ]le[j Xe[-fi ]fiZ\ lj kf i\[lZ\ fli \og\ej\j* \`k_\i f] n_`Z_ Zflc[ _Xm\ X dXk\i`Xc X[m\ij\ \]]\Zk fe fli Ylj`e\jj,
       Mf Zfek`el\ kf ^ifn fli Ylj`e\jj fm\i k_\ cfe^\i k\id* n\ gcXe kf Zfdd`k jlYjkXek`Xc i\jfliZ\j kf gif[lZk XZhl`j`k`fe Xe[ `e+c`Z\ej`e^* gif[lZk
[\m\cfgd\ek* Zc`e`ZXc ki`Xcj f] gif[lZk ZXe[`[Xk\j Xe[ \ogXej`fe f] fli Zfdd\iZ`Xc* [\m\cfgd\ek* dXel]XZkli`e^ Xe[ fk_\i fg\iXk`fej, Be k_`j i\^Xi[* n\
_Xm\ \mXclXk\[ Xe[ \og\Zk kf Zfek`el\ kf \mXclXk\ X n`[\ XiiXp f] jkiXk\^`Z kiXejXZk`fej Xj gXik f] fli jkiXk\^p kf XZhl`i\ fi `e+c`Z\ej\ Xe[ [\m\cfg
X[[`k`feXc gif[lZkj Xe[ gif[lZk ZXe[`[Xk\j, :Zhl`j`k`fe fggfikle`k`\j k_Xk n\ glijl\ Zflc[ dXk\i`Xccp X]]\Zk fli c`hl`[`kp Xe[ ZXg`kXc i\jfliZ\j Xe[ dXp
i\hl`i\ lj kf `eZli X[[`k`feXc `e[\Yk\[e\jj* j\\b \hl`kp ZXg`kXc fi Yfk_, P\ i\^lcXicp \mXclXk\ k_\ g\i]fidXeZ\ f] fli gif[lZkj Xe[ gif[lZk ZXe[`[Xk\j kf
\ejli\ ]`k n`k_`e fli gfik]fc`f Xe[ jlggfik \]]`Z`\ek XccfZXk`fe f] ZXg`kXc, Be X[[`k`fe* n\ dXp glijl\ e\n fg\iXk`fej fi Zfek`el\ k_\ \ogXej`fe f] fli
\o`jk`e^ fg\iXk`fej, :ZZfi[`e^cp* n\ \og\Zk kf Zfek`el\ kf fggfikle`jk`ZXccp j\\b XZZ\jj kf X[[`k`feXc ZXg`kXc kf c`Z\ej\ fi XZhl`i\ X[[`k`feXc gif[lZkj*
gif[lZk ZXe[`[Xk\j fi ZfdgXe`\j kf \ogXe[ fli fg\iXk`fej fi ]fi ^\e\iXc ZfigfiXk\ gligfj\j, KX`j`e^ X[[`k`feXc ZXg`kXc Zflc[ Y\ XZZfdgc`j_\[ k_ifl^_ fe\
fi dfi\ glYc`Z fi gi`mXk\ [\Yk fi \hl`kp ]`eXeZ`e^j* ZfccXYfiXk`fej fi gXike\i`e^ XiiXe^\d\ekj, Afn\m\i* fli XY`c`kp kf iX`j\ X[[`k`feXc ZXg`kXc dXp Y\
X[m\ij\cp `dgXZk\[ Yp nfij\e`e^ ^cfYXc \Zfefd`Z Zfe[`k`fej Xe[ k_\ i\Z\ek [`jilgk`fej kf* Xe[ mfcXk`c`kp `e* k_\ Zi\[`k Xe[ ]`eXeZ`Xc dXib\kj `e k_\ N,L,
Xe[ nfic[n`[\ i\jlck`e^ ]ifd k_\ \]]\Zkj f] `e]cXk`feXip gi\jjli\j* gfk\ek`Xc ]lkli\ YXeb ]X`cli\j* fi fk_\in`j\, :ZZfi[`e^cp* n\ Zflc[ \og\i`\eZ\ Xe
`eXY`c`kp kf XZZ\jj X[[`k`feXc ZXg`kXc fi fli c`hl`[`kp Zflc[ fk_\in`j\ Y\ `dgXZk\[* n_`Z_ Zflc[ `e k_\ ]lkli\ e\^Xk`m\cp X]]\Zk fli ZXgXZ`kp ]fi Z\ikX`e
ZfigfiXk\ [\m\cfgd\ek kiXejXZk`fej fi fli XY`c`kp kf dXb\ fk_\i `dgfikXek* fggfikle`jk`Z `em\jkd\ekj, Be X[[`k`fe* le[\i Bi`j_ cXn n\ dljk _Xm\ Xlk_fi`kp
]ifd fli j_Xi\_fc[\ij kf `jjl\ Xep fi[`eXip j_Xi\j* `eZcl[`e^ fi[`eXip j_Xi\j k_Xk Xi\ gXik f] fli Xlk_fi`q\[ Ylk le`jjl\[ j_Xi\ ZXg`kXc* Xe[ n\ Zlii\ekcp
_Xm\ jlZ_ Xlk_fi`qXk`fe, Ffi\fm\i* Xj X dXkk\i f] Bi`j_ cXn* n_\e Xe Bi`j_ glYc`Z c`d`k\[ ZfdgXep `jjl\j fi[`eXip j_Xi\j kf e\n j_Xi\_fc[\ij ]fi ZXj_* k_\
ZfdgXep dljk ]`ijk f]]\i k_fj\ j_Xi\j fe k_\ jXd\ fi dfi\ ]XmfiXYc\ k\idj kf \o`jk`e^ j_Xi\_fc[\ij fe X gif iXkX YXj`j* lec\jj k_`j jkXklkfip gi\+\dgk`fe
fYc`^Xk`fe `j [`j+Xggc`\[* fi fgk\[+flk f]* Yp XggifmXc f] `kj j_Xi\_fc[\ij, :k fli XeelXc ^\e\iXc d\\k`e^ f] j_Xi\_fc[\ij `e :l^ljk 0.01* fli j_Xi\_fc[\ij
mfk\[ kf Xggifm\ fli gifgfjXc kf



                                                                               21
MXYc\ f] <fek\ekj
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[`j+Xggcp k_\ jkXklkfip gi\+\dgk`fe fYc`^Xk`fe fe k\idj k_Xk Xi\ jlYjkXek`Xccp dfi\ c`d`k\[ k_Xe fli ^\e\iXc gi\+\dgk`fe fgk+flk Xlk_fi`kp k_Xk _X[ Y\\e `e
\]]\Zk gi`fi kf :l^ljk 2* 0.0/, M_`j Zlii\ek gi\+\dgk`fe fgk+flk Xlk_fi`kp `j [l\ kf \og`i\ `e ?\YilXip 0.03, B] n\ Xi\ leXYc\ kf fYkX`e ]lik_\i gi\+\dgk`fe
Xlk_fi`k`\j ]ifd fli j_Xi\_fc[\ij `e k_\ ]lkli\* fi fk_\in`j\ Zfek`el\ kf Y\ c`d`k\[ Yp k_\ k\idj f] e\n gi\+\dgk`fe Xlk_fi`k`\j Xggifm\[ Yp fli
j_Xi\_fc[\ij `e k_\ ]lkli\* fli XY`c`kp kf lj\ fli le`jjl\[ j_Xi\ ZXg`kXc kf ]le[ `e+c`Z\ej`e^* XZhl`j`k`fe fi fk_\i Ylj`e\jj fggfikle`k`\j* fi kf fk_\in`j\ iX`j\
ZXg`kXc Zflc[ Y\ X[m\ij\cp X]]\Zk\[, Be Xep \m\ek* Xe `eXY`c`kp kf Yfiifn fi iX`j\ X[[`k`feXc ZXg`kXc `e X k`d\cp dXee\i Xe[ fe XkkiXZk`m\ k\idj Zflc[ gi\m\ek
lj ]ifd \ogXe[`e^ fli Ylj`e\jj fi kXb`e^ X[mXekX^\ f] XZhl`j`k`fe fggfikle`k`\j* Xe[ Zflc[ fk_\in`j\ _Xm\ X dXk\i`Xc X[m\ij\ \]]\Zk fe fli Ylj`e\jj Xe[
^ifnk_ gifjg\Zkj, Be X[[`k`fe* `] n\ lj\ X jlYjkXek`Xc Xdflek f] fli ]le[j kf XZhl`i\ fi `e+c`Z\ej\ gif[lZkj fi gif[lZk ZXe[`[Xk\j* n\ dXp efk _Xm\
jl]]`Z`\ek X[[`k`feXc ]le[j kf Zfe[lZk Xcc f] fli fg\iXk`fej `e k_\ dXee\i n\ nflc[ fk_\in`j\ Z_ffj\, ?lik_\idfi\* Xep \hl`kp ]`eXeZ`e^ nflc[ Y\ [`clk`m\
kf fli j_Xi\_fc[\ij* Xe[ Zflc[ i\hl`i\ k_\ Zfej\ek f] k_\ c\e[\ij le[\i fli Zi\[`k X^i\\d\ek* fi k_\ <i\[`k :^i\\d\ek* k_Xk gifm`[\j ]fi &`' k_\ =fccXi M\id
EfXe* &``' k_\ >lif M\id EfXe Xe[* kf^\k_\i n`k_ k_\ =fccXi M\id EfXe* Zfcc\Zk`m\cp befne Xj k_\ M\id EfXe Xe[ &```' k_\ K\mfcm`e^ <i\[`k ?XZ`c`kp* Xe[
k_\ `e[\ekli\ ]fi k_\ L\Zli\[ Gfk\j ]fi Z\ikX`e ]`eXeZ`e^j,
       Be Gfm\dY\i 0./4* fli YfXi[ f] [`i\Zkfij Xlk_fi`q\[ X j_Xi\ i\gliZ_Xj\ gif^iXd Xe[ Xj f] FXiZ_ 1/* 0.02 _X[ Xlk_fi`q\[ k_\ i\gliZ_Xj\ f] fi[`eXip
j_Xi\j _Xm`e^ Xe X^^i\^Xk\ gliZ_Xj\ gi`Z\ f] lg kf "/,3 Y`cc`fe* \oZclj`m\ f] Xep Yifb\iX^\ Zfdd`jj`fej, Ne[\i k_`j gif^iXd* n_`Z_ _Xj ef \og`iXk`fe
[Xk\* n\ dXp i\gliZ_Xj\ fi[`eXip j_Xi\j ]ifd k`d\ kf k`d\ fe k_\ fg\e dXib\k, M_\ k`d`e^ Xe[ Xdflek f] i\gliZ_Xj\j n`cc [\g\e[ fe X mXi`\kp f] ]XZkfij*
`eZcl[`e^ k_\ gi`Z\ f] fli fi[`eXip j_Xi\j* Xck\ieXk`m\ `em\jkd\ek fggfikle`k`\j* i\jki`Zk`fej le[\i k_\ FXp 0.0/ Zi\[`k X^i\\d\ek* ZfigfiXk\ Xe[ i\^lcXkfip
i\hl`i\d\ekj Xe[ dXib\k Zfe[`k`fej, M_\ j_Xi\ i\gliZ_Xj\ gif^iXd dXp Y\ df[`]`\[* jljg\e[\[ fi [`jZfek`el\[ Xk Xep k`d\ n`k_flk gi`fi efk`Z\, =li`e^
k_\ k_i\\ dfek_j \e[\[ FXiZ_ 1/* 0.02* ef j_Xi\j n\i\ i\gliZ_Xj\[, :j f] FXiZ_ 1/* 0.02* k_\ i\dX`e`e^ Xdflek Xlk_fi`q\[ le[\i k_\ j_Xi\ i\gliZ_Xj\
gif^iXd nXj "/4/,2 d`cc`fe* \oZclj`m\ f] Xep Yifb\iX^\ Zfdd`jj`fej,
        M_\ ]fccfn`e^ kXYc\ gi\j\ekj X jlddXip f] fli ZXj_ ]cfnj ]fi k_\ g\i`f[j `e[`ZXk\[ &`e k_fljXe[j'8
                                                                                                                                 Three Months Ended
                                                                                                                                      March 31,
                                                                                                                          2024                        2023
G\k ZXj_ gifm`[\[ Yp fg\iXk`e^ XZk`m`k`\j                                                                       "             045*007 "                      10.*5.6
G\k ZXj_ lj\[ `e `em\jk`e^ XZk`m`k`\j                                                                                        &05/*7.2'                        &2*600'
G\k ZXj_ lj\[ `e ]`eXeZ`e^ XZk`m`k`\j                                                                                         &34*330'                       &07*566'
>]]\Zk f] \oZ_Xe^\ iXk\j fe ZXj_ Xe[ ZXj_ \hl`mXc\ekj                                                                          &/*476'                           11/
G\k `eZi\Xj\ &[\Zi\Xj\' `e ZXj_ Xe[ ZXj_ \hl`mXc\ekj                                                            "             &40*703' "                     064*207


Operating activities
      G\k ZXj_ gifm`[\[ Yp fg\iXk`e^ XZk`m`k`\j [\Zi\Xj\[ Yp "31,3 d`cc`fe `e k_\ k_i\\ dfek_j \e[\[ FXiZ_ 1/* 0.02* ZfdgXi\[ kf k_\ jXd\ g\i`f[ `e
0.01* gi`dXi`cp [l\ kf k_\ gXpd\ek f] XZZil\[ ]XZ`c`kp \og\ej\j f] "30,0 d`cc`fe `e k_\ k_i\\ dfek_j \e[\[ FXiZ_ 1/* 0.02,

Investing activities
     G\k ZXj_ lj\[ `e `em\jk`e^ XZk`m`k`\j `eZi\Xj\[ Yp "045,/ d`cc`fe `e k_\ k_i\\ dfek_j \e[\[ FXiZ_ 1/* 0.02* ZfdgXi\[ kf k_\ jXd\ g\i`f[ `e 0.01*
gi`dXi`cp [l\ kf k_\ ]fccfn`e^8
    s     "033,. d`cc`fe e\k `eZi\Xj\ `e k_\ XZhl`j`k`fe f] `em\jkd\ekj* [i`m\e Yp k`d\ [\gfj`kj9 Xe[
    s     "/.,. d`cc`fe lg]ifek gXpd\ek kf K\[o i\cXk\[ kf fli Xjj\k gliZ_Xj\ Xe[ ZfccXYfiXk`fe X^i\\d\ek `e k_\ k_i\\ dfek_j \e[\[ FXiZ_ 1/* 0.02,

Financing activities
     G\k ZXj_ lj\[ `e ]`eXeZ`e^ XZk`m`k`\j `eZi\Xj\[ Yp "04,6 d`cc`fe `e k_\ k_i\\ dfek_j \e[\[ FXiZ_ 1/* 0.02* ZfdgXi\[ kf k_\ jXd\ g\i`f[ `e 0.01*
gi`dXi`cp [l\ kf8
    s     : [\Zi\Xj\ f] "0.,5 d`cc`fe `e gifZ\\[j ]ifd \dgcfp\\ \hl`kp `eZ\ek`m\ Xe[ gliZ_Xj\ gcXej9 Xe[
    s     :e `eZi\Xj\ f] "4,. d`cc`fe `e gXpd\ek f] \dgcfp\\ n`k__fc[`e^ kXo\j i\cXk\[ kf j_Xi\+YXj\[ XnXi[j,



                                                                               22
MXYc\ f] <fek\ekj
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Debt
       M_\ jlddXip f] fli flkjkXe[`e^ `e[\Yk\[e\jj Xe[ jZ_\[lc\[ dXkli`k`\j n`k_ i\jg\Zk kf fli cfe^+k\id [\Yk gi`eZ`gXc YXcXeZ\j `j `eZcl[\[ `e Gfk\ 6*
=\Yk* f] k_\ efk\j kf Zfe[\ej\[ Zfejfc`[Xk\[ ]`eXeZ`Xc jkXk\d\ekj `eZcl[\[ `e IXik B* Bk\d / f] k_`j JlXik\icp K\gfik fe ?fid /.+J, Be CXelXip 0.02* n\
\ek\i\[ `ekf Xe Xd\e[d\ek kf k_\ <i\[`k :^i\\d\ek* Xj [\jZi`Y\[ Y\cfn, =li`e^ k_\ k_i\\ dfek_j \e[\[ FXiZ_ 1/* 0.02* k_\i\ n\i\ ef fk_\i Z_Xe^\j kf
fli ]`eXeZ`e^ XiiXe^\d\ekj* Xj j\k ]fik_ `e Gfk\ /0* =\Yk* f] k_\ Gfk\j kf <fejfc`[Xk\[ ?`eXeZ`Xc LkXk\d\ekj `eZcl[\[ `e fli :eelXc K\gfik fe ?fid /.+D
]fi k_\ p\Xi \e[\[ =\Z\dY\i 1/* 0.01,

  Credit Agreement
       He FXp 3* 0.0/* k_\ <fdgXep* CXqq ?`eXeZ`e^ Elo L,r,i,c,* fi CXqq Elo* Xe[ Z\ikX`e f] fli fk_\i jlYj`[`Xi`\j* Xj Yfiifn\ij* fi* Zfcc\Zk`m\cp n`k_ k_\
<fdgXep Xe[ CXqq Elo* k_\ x;fiifn\ijy* \ek\i\[ `ekf k_\ <i\[`k :^i\\d\ek Yp Xe[ Xdfe^ k_\ ;fiifn\ij* k_\ c\e[\ij Xe[ `jjl`e^ YXebj ]ifd k`d\ kf k`d\
gXikp k_\i\kf* ;Xeb f] :d\i`ZX* G,:,* Xj X[d`e`jkiXk`m\ X^\ek Xe[ N,L, ;Xeb Miljk <fdgXep* GXk`feXc :jjfZ`Xk`fe* Xj ZfccXk\iXc kiljk\\* fi k_\ <i\[`k
:^i\\d\ek* k_Xk gifm`[\[ ]fi &`' k_\ =fccXi M\id EfXe n_`Z_ nXj [iXne Yp CXqq Elo fe k_\ <cfj`e^ =Xk\ `e N,L, [fccXij &``' k_\ >lif M\id EfXe n_`Z_
nXj [iXne Yp CXqq Elo fe k_\ <cfj`e^ =Xk\ `e >lifj Xe[ &```' k_\ K\mfcm`e^ <i\[`k ?XZ`c`kp,
       Be CXelXip 0.02* CXqq Elo \ek\i\[ `ekf Xe Xd\e[d\ek* fi K\gi`Z`e^ :d\e[d\ek* kf k_\ <i\[`k :^i\\d\ek, Ngfe \ekip `ekf k_\ K\gi`Z`e^
:d\e[d\ek* Z\ikX`e \o`jk`e^ c\e[\ij Zfem\ik\[ flkjkXe[`e^ =fccXi M\id EfXej `ekf X e\n kiXeZ_\ f] N,L, [fccXi k\id cfXej* fi k_\ MiXeZ_\ ;+/ =fccXi
M\id EfXej* Xe[ CXqq Elo Yfiifn\[ "0./,7 d`cc`fe X^^i\^Xk\ gi`eZ`gXc Xdflek f] X[[`k`feXc MiXeZ_\ ;+/ =fccXi M\id EfXej* k_\ gifZ\\[j f] n_`Z_ n\i\
lj\[ kf i\gXp k_\ flkjkXe[`e^ =fccXi M\id EfXej k_Xk n\i\ efk Zfem\ik\[, M_\ MiXeZ_\ ;+/ =fccXi M\id EfXej Xi\ X j\gXiXk\ ZcXjj f] k\id cfXej le[\i k_\
<i\[`k :^i\\d\ek n`k_ k_\ jXd\ dXk\i`Xc k\idj &`eZcl[`e^ n`k_ i\jg\Zk kf dXkli`kp* gi\gXpd\ek* j\Zli`kp* Zfm\eXekj Xe[ \m\ekj f] [\]Xlck' Xj k_\ gi\m`fljcp
flkjkXe[`e^ =fccXi M\id EfXej* n`k_ k_\ `ek\i\jk iXk\ Xd\e[\[ Xj [\jZi`Y\[ Y\cfn, M_\ gi`eZ`gXc Xdflek f] =fccXi M\id EfXej flkjkXe[`e^ `dd\[`Xk\cp
gi`fi kf k_\ K\gi`Z`e^ :d\e[d\ek Xe[ k_\ flkjkXe[`e^ gi`eZ`gXc Xdflek f] MiXeZ_\ ;+/ =fccXi M\id EfXej `dd\[`Xk\cp ]fccfn`e^ k_\ K\gi`Z`e^
:d\e[d\ek* \XZ_ kfkXc\[ "0,501 Y`cc`fe, M_\ MiXeZ_\ ;+/ =fccXi M\id EfXej Y\Xi `ek\i\jk Xk X iXk\ \hlXc kf \`k_\i &X' N,L [fccXi L\Zli\[ Hm\ie`^_k
?`eXeZ`e^ KXk\* fi M\id LH?K* fi &Y' k_\ gi`d\ c\e[`e^ iXk\* `e \XZ_ ZXj\* gclj Xe Xggc`ZXYc\ dXi^`e, M_\ Xggc`ZXYc\ dXi^`e ]fi k_\ MiXeZ_\ ;+/ =fccXi
M\id EfXej `j 1,..# &`e k_\ ZXj\ f] M\id LH?K Yfiifn`e^j' Xe[ 0,..# &`e k_\ ZXj\ f] Yfiifn`e^j Xk k_\ gi`d\ c\e[`e^ iXk\'* X [\Zi\Xj\ f] 3. YXj`j gf`ekj
]ifd k_\ Xggc`ZXYc\ dXi^`e fe k_\ Be`k`Xc =fccXi M\id EfXej, M_\ MiXeZ_\ ;+/ =fccXi M\id EfXej Xi\ jlYa\Zk kf X M\id LH?K ]cffi f] .,3.#, M_\
Xggc`ZXYc\ dXi^`e ]fi k_\ K\mfcm`e^ <i\[`k ?XZ`c`kp iXe^\j ]ifd 1,03# kf 0,53# &`e k_\ ZXj\ f] M\id LH?K Yfiifn`e^j' Xe[ 0,03# kf /,53# &`e k_\ ZXj\
f] Yfiifn`e^j Xk k_\ gi`d\ c\e[`e^ iXk\'* [\g\e[`e^ fe fli ]`ijk c`\e j\Zli\[ e\k c\m\iX^\ iXk`f c\m\c, M_\ MiXeZ_\ ;+/ =fccXi M\id EfXe `j jlYa\Zk kf X
M\id LH?K ]cffi f] .,3.# Xe[ cfXej le[\i k_\ K\mfcm`e^ <i\[`k ?XZ`c`kp Xi\ efk jlYa\Zk kf X ]cffi, M_\ K\mfcm`e^ <i\[`k ?XZ`c`kp _Xj X Zfdd`kd\ek ]\\
gXpXYc\ fe k_\ le[iXne Xdflek iXe^`e^ ]ifd .,3.# kf .,2.# g\i Xeeld YXj\[ lgfe fli ]`ijk c`\e j\Zli\[ e\k c\m\iX^\ iXk`f, :j f] FXiZ_ 1/* 0.02* k_\
`ek\i\jk iXk\ Xe[ \]]\Zk`m\ `ek\i\jk iXk\ fe k_\ MiXeZ_\ ;+/ =fccXi M\id EfXej n\i\ 6,22# Xe[ 7,.2#* i\jg\Zk`m\cp, :j f] FXiZ_ 1/* 0.02* n\ _X[ Xe
le[iXne K\mfcm`e^ <i\[`k ?XZ`c`kp kfkXc`e^ "3..,. d`cc`fe,


Contractual Obligations
     =li`e^ k_\ k_i\\ dfek_j \e[\[ FXiZ_ 1/* 0.02* k_\i\ n\i\ ef dXk\i`Xc Z_Xe^\j kf fli ZfekiXZklXc fYc`^Xk`fej Xj j\k ]fik_ `e IXik BB* Bk\d 5
xFXeX^\d\ek{j =`jZljj`fe Xe[ :eXcpj`j f] ?`eXeZ`Xc <fe[`k`fe Xe[ K\jlckj f] Hg\iXk`fejy `e fli :eelXc K\gfik fe ?fid /.+D ]fi k_\ p\Xi \e[\[
=\Z\dY\i 1/* 0.01,


Critical Accounting Estimates
       Mf le[\ijkXe[ fli ]`eXeZ`Xc jkXk\d\ekj* `k `j `dgfikXek kf le[\ijkXe[ fli Zi`k`ZXc XZZflek`e^ \jk`dXk\j, M_\ gi\gXiXk`fe f] fli ]`eXeZ`Xc jkXk\d\ekj `e
Zfe]fid`kp n`k_ N,L, ^\e\iXccp XZZ\gk\[ XZZflek`e^ gi`eZ`gc\j i\hl`i\j lj kf dXb\ \jk`dXk\j Xe[ Xjjldgk`fej k_Xk X]]\Zk k_\ i\gfik\[ Xdflekj f] Xjj\kj Xe[
c`XY`c`k`\j Xe[ [`jZcfjli\ f] Zfek`e^\ek Xjj\kj Xe[ c`XY`c`k`\j Xk k_\ [Xk\ f] k_\ ]`eXeZ`Xc jkXk\d\ekj Xe[ k_\ i\gfik\[ Xdflekj f] i\m\el\j Xe[ \og\ej\j [li`e^
k_\ i\gfik`e^ g\i`f[, L`^e`]`ZXek \jk`dXk\j Xe[ Xjjldgk`fej Xi\ i\hl`i\[ `e [\k\id`e`e^ k_\ Xdflekj kf Y\ [\[lZk\[ ]ifd ^ifjj i\m\el\j Xe[ Xcjf n`k_
i\jg\Zk kf k_\ XZhl`j`k`fe Xe[ mXclXk`fe f] `ekXe^`Yc\j Xe[ `eZfd\ kXo\j, Lfd\ f] k_\j\ al[^d\ekj ZXe Y\ jlYa\Zk`m\ Xe[ Zfdgc\o* Xe[* Zfej\hl\ekcp* XZklXc
i\jlckj dXp [`]]\i ]ifd k_\j\ \jk`dXk\j, ?fi Xep ^`m\e `e[`m`[lXc \jk`dXk\ fi Xjjldgk`fe n\ dXb\* k_\i\ dXp Xcjf Y\ fk_\i \jk`dXk\j fi Xjjldgk`fej k_Xk
Xi\ i\XjfeXYc\, :ck_fl^_ n\ Y\c`\m\ fli \jk`dXk\j Xe[ Xjjldgk`fej Xi\ i\XjfeXYc\* k_\p Xi\ YXj\[ lgfe `e]fidXk`fe XmX`cXYc\ Xk k_\ k`d\ k_\ \jk`dXk\j Xe[
Xjjldgk`fej n\i\ dX[\,
      Hli Zi`k`ZXc XZZflek`e^ gfc`Z`\j Xe[ j`^e`]`ZXek \jk`dXk\j Xi\ [\kX`c\[ `e fli :eelXc K\gfik fe ?fid /."D ]fi k_\ p\Xi \e[\[ =\Z\dY\i 1/* 0.01,
Hli Zi`k`ZXc XZZflek`e^ gfc`Z`\j Xe[ j`^e`]`ZXek \jk`dXk\j _Xm\ efk Z_Xe^\[ jlYjkXek`Xccp ]ifd k_fj\ gi\m`fljcp [`jZcfj\[ `e fli :eelXc K\gfik fe
?fid /."D ]fi k_\ p\Xi \e[\[ =\Z\dY\i 1/* 0.01,



                                                                              23
MXYc\ f] <fek\ekj
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Cautionary Note Regarding Forward-Looking Statements
      M_`j JlXik\icp K\gfik fe ?fid /."J ZfekX`ej ]finXi[+cffb`e^ jkXk\d\ekj n`k_`e k_\ d\Xe`e^ f] L\Zk`fe 05: f] k_\ L\Zli`k`\j :Zk f] /711* Xj
Xd\e[\[* Xe[ L\Zk`fe 0/> f] k_\ L\Zli`k`\j >oZ_Xe^\ :Zk f] /712* Xj Xd\e[\[* n_`Z_ Xi\ jlYa\Zk kf k_\ xjX]\ _XiYfiy Zi\Xk\[ Yp k_fj\ j\Zk`fej, ?finXi[+
cffb`e^ jkXk\d\ekj Xi\ YXj\[ fe fli dXeX^\d\ek{j Zlii\ek gcXej* fYa\Zk`m\j* \jk`dXk\j* \og\ZkXk`fej Xe[ `ek\ek`fej Xe[ fe `e]fidXk`fe Zlii\ekcp XmX`cXYc\
kf fli dXeX^\d\ek, Be jfd\ ZXj\j* pfl ZXe `[\ek`]p ]finXi[+cffb`e^ jkXk\d\ekj Yp k\idj jlZ_ Xj xdXp*y xn`cc*y xj_flc[*y xZflc[*y xnflc[*y x\og\Zk*y
xgcXe*y xXek`Z`gXk\*y xY\c`\m\*y x\jk`dXk\*y xgifa\Zk*y xgi\[`Zk*y xgifgfj\*y x`ek\e[*y xZfek`el\*y xgfk\ek`Xc*y xgfjj`Yc\*y x]fi\j\\XYc\*y xc`b\cp*y
xle]fi\j\\ey Xe[ j`d`cXi \ogi\jj`fej `ek\e[\[ kf `[\ek`]p ]finXi[+cffb`e^ jkXk\d\ekj, M_\j\ jkXk\d\ekj `emfcm\ befne Xe[ lebefne i`jbj* leZ\ikX`ek`\j
Xe[ fk_\i ]XZkfij n_`Z_ dXp ZXlj\ fli XZklXc i\jlckj* g\i]fidXeZ\* k`d\ ]iXd\j fi XZ_`\m\d\ekj kf Y\ dXk\i`Xccp [`]]\i\ek ]ifd Xep ]lkli\ i\jlckj*
g\i]fidXeZ\* k`d\ ]iXd\j fi XZ_`\m\d\ekj \ogi\jj\[ fi `dgc`\[ Yp k_\ ]finXi[+cffb`e^ jkXk\d\ekj, M_\j\ befne Xe[ lebefne i`jbj* leZ\ikX`ek`\j Xe[
fk_\i ]XZkfij `eZcl[\* n`k_flk c`d`kXk`fe8
    s   Hli `eXY`c`kp kf dX`ekX`e fi `eZi\Xj\ jXc\j ]ifd fli fopYXk\ ]iXeZ_`j\ nflc[ _Xm\ X dXk\i`Xc X[m\ij\ \]]\Zk fe fli Ylj`e\jj* ]`eXeZ`Xc Zfe[`k`fe*
        i\jlckj f] fg\iXk`fej Xe[ ^ifnk_ gifjg\Zkj,
    s   M_\ `ekif[lZk`fe f] e\n gif[lZkj `e k_\ N,L, dXib\k k_Xk Zfdg\k\ n`k_* fi fk_\in`j\ [`jilgk k_\ dXib\k ]fi* fli fopYXk\ gif[lZkj Xe[ gif[lZk
        ZXe[`[Xk\j _Xj X[m\ij\cp X]]\Zk\[ Xe[ dXp Zfek`el\ kf X[m\ij\cp X]]\Zk jXc\j f] fli fopYXk\ gif[lZkj Xe[ gif[lZk ZXe[`[Xk\j,
    s   M_\ [`jki`Ylk`fe Xe[ jXc\ f] fli fopYXk\ gif[lZkj Xi\ jlYa\Zk kf j`^e`]`ZXek i\^lcXkfip i\jki`Zk`fej* `eZcl[`e^ k_\ i\hl`i\d\ekj f] X i`jb \mXclXk`fe
        Xe[ d`k`^Xk`fe jkiXk\^p Xe[ jX]\kp i\gfik`e^ i\hl`i\d\ekj* Xe[ k_\j\ i\^lcXkfip Xe[ jX]\kp i\hl`i\d\ekj jlYa\Zk lj kf i`jbj Xe[ leZ\ikX`ek`\j* Xep f]
        n_`Z_ Zflc[ e\^Xk`m\cp `dgXZk jXc\j f] QpnXm Xe[ Qpi\d,
    s   P_`c\ n\ \og\Zk fli fopYXk\ gif[lZkj Xe[ >g`[`fc\o->g`[pfc\o kf i\dX`e fli cXi^\jk gif[lZkj* fli jlZZ\jj Xcjf [\g\e[j fe fli XY`c`kp kf
        \]]\Zk`m\cp Zfdd\iZ`Xc`q\ fli fk_\i \o`jk`e^ gif[lZkj Xe[ gfk\ek`Xc ]lkli\ gif[lZkj,
    s   P\ ]XZ\ jlYjkXek`Xc Zfdg\k`k`fe ]ifd fk_\i ZfdgXe`\j* `eZcl[`e^ ZfdgXe`\j n`k_ cXi^\i jXc\j fi^Xe`qXk`fej Xe[ dfi\ \og\i`\eZ\ nfib`e^ n`k_
        cXi^\ Xe[ [`m\ij\ gif[lZk gfik]fc`fj* Xe[ Zfdg\k`k`fe ]ifd ^\e\i`Z [il^j,
    s   :[\hlXk\ Zfm\iX^\ Xe[ i\`dYlij\d\ek ]ifd k_`i[ gXikp gXpfij dXp efk Y\ XmX`cXYc\ ]fi fli gif[lZkj Xe[ n\ dXp Y\ leXYc\ kf jlZZ\jj]lccp
        ZfekiXZk ]fi Zfm\iX^\ ]ifd g_XidXZp Y\e\]`k dXeX^\ij Xe[ fk_\i fi^Xe`qXk`fej9 Zfem\ij\cp* kf j\Zli\ Zfm\iX^\ ]ifd k_\j\ fi^Xe`qXk`fej* n\ dXp
        Y\ i\hl`i\[ kf gXp i\YXk\j fi fk_\i [`jZflekj fi fk_\i i\jki`Zk`fej kf i\`dYlij\d\ek* \`k_\i f] n_`Z_ Zflc[ [`d`e`j_ fli jXc\j fi X[m\ij\cp X]]\Zk
        fli XY`c`kp kf j\cc fli gif[lZkj gif]`kXYcp,
    s   M_\ gi`Z`e^ f] g_XidXZ\lk`ZXc gif[lZkj _Xj Zfd\ le[\i `eZi\Xj`e^ jZilk`ep Xj gXik f] X ^cfYXc ki\e[ kfnXi[ _\Xck_ZXi\ Zfjk ZfekX`ed\ek Xe[
        i\jlck`e^ Z_Xe^\j `e _\Xck_ZXi\ cXn Xe[ gfc`Zp* `eZcl[`e^ Z_Xe^\j kf F\[`ZXi\* dXp `dgXZk fli Ylj`e\jj `e nXpj k_Xk n\ ZXeefk Zlii\ekcp gi\[`Zk*
        n_`Z_ Zflc[ _Xm\ X dXk\i`Xc X[m\ij\ \]]\Zk fe fli Ylj`e\jj Xe[ ]`eXeZ`Xc Zfe[`k`fe,
    s   Be X[[`k`fe kf XZZ\jj* Zfm\iX^\ Xe[ i\`dYlij\d\ek* k_\ Zfdd\iZ`Xc jlZZ\jj f] fli gif[lZkj [\g\e[j lgfe k_\`i dXib\k XZZ\gkXeZ\ Yp g_pj`Z`Xej*
        gXk`\ekj* k_`i[ gXikp gXpfij Xe[ k_\ d\[`ZXc Zfddle`kp,
    s   =\cXpj fi gifYc\dj `e k_\ jlggcp f] fli gif[lZkj ]fi jXc\ fi ]fi lj\ `e Zc`e`ZXc ki`Xcj* cfjj f] fli j`e^c\ jfliZ\ jlggc`\ij fi ]X`cli\ kf Zfdgcp n`k_
        dXel]XZkli`e^ i\^lcXk`fej Zflc[ dXk\i`Xccp Xe[ X[m\ij\cp X]]\Zk fli Ylj`e\jj* ]`eXeZ`Xc Zfe[`k`fe* i\jlckj f] fg\iXk`fej Xe[ ^ifnk_ gifjg\Zkj,
    s   Hli ]lkli\ jlZZ\jj [\g\e[j fe fli XY`c`kp kf jlZZ\jj]lccp [\m\cfg Xe[ fYkX`e Xe[ dX`ekX`e i\^lcXkfip XggifmXcj ]fi fli cXk\+jkX^\ gif[lZk
        ZXe[`[Xk\j Xe[* `] Xggifm\[* kf jlZZ\jj]lccp cXleZ_ Xe[ Zfdd\iZ`Xc`q\ k_fj\ gif[lZk ZXe[`[Xk\j,
    s   P\ dXp efk Y\ XYc\ kf jlZZ\jj]lccp `[\ek`]p Xe[ XZhl`i\ fi `e+c`Z\ej\ X[[`k`feXc gif[lZkj fi gif[lZk ZXe[`[Xk\j kf ^ifn fli Ylj`e\jj* Xe[* \m\e `]
        n\ Xi\ XYc\ kf [f jf* n\ dXp fk_\in`j\ ]X`c kf i\Xc`q\ k_\ Xek`Z`gXk\[ Y\e\]`kj f] k_\j\ kiXejXZk`fej,
    s   <fe[lZk`e^ Zc`e`ZXc ki`Xcj `j Zfjkcp Xe[ k`d\+Zfejld`e^* Xe[ k_\ flkZfd\j Xi\ leZ\ikX`e, : ]X`cli\ kf gifm\ k_Xk fli gif[lZk ZXe[`[Xk\j Xi\ jX]\ Xe[
        \]]\Zk`m\ `e Zc`e`ZXc ki`Xcj* fi kf ^\e\iXk\ [XkX `e Zc`e`ZXc ki`Xcj kf jlggfik \ogXej`fe f] k_\ k_\iXg\lk`Z lj\j ]fi fli \o`jk`e^ gif[lZkj* Zflc[
        dXk\i`Xccp Xe[ X[m\ij\cp X]]\Zk fli Ylj`e\jj* ]`eXeZ`Xc Zfe[`k`fe* i\jlckj f] fg\iXk`fej Xe[ ^ifnk_ gifjg\Zkj,
    s   Bk `j [`]]`Zlck Xe[ Zfjkcp kf gifk\Zk fli gifgi`\kXip i`^_kj* Xe[ n\ dXp efk Y\ XYc\ kf \ejli\ k_\`i gifk\Zk`fe,



                                                                               24
MXYc\ f] <fek\ekj
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    s     P\ _Xm\ `eZlii\[ Xe[ dXp `e k_\ ]lkli\ `eZli jlYjkXek`Xc Zfjkj Xj X i\jlck f] c`k`^Xk`fe fi fk_\i gifZ\\[`e^j i\cXk`e^ kf gXk\ekj* fk_\i `ek\cc\ZklXc
          gifg\ikp i`^_kj Xe[ i\cXk\[ dXkk\ij* Xe[ n\ dXp Y\ leXYc\ kf gifk\Zk fli i`^_kj kf* fi Zfdd\iZ`Xc`q\* fli gif[lZkj,
    s     L`^e`]`ZXek [`jilgk`fej f] `e]fidXk`fe k\Z_efcf^p jpjk\dj fi [XkX j\Zli`kp Yi\XZ_\j Zflc[ X[m\ij\cp X]]\Zk fli Ylj`e\jj,
    s     P\ Xi\ jlYa\Zk kf j`^e`]`ZXek fe^f`e^ i\^lcXkfip fYc`^Xk`fej Xe[ fm\ij`^_k* n_`Z_ dXp jlYa\Zk lj kf Z`m`c fi Zi`d`eXc gifZ\\[`e^j* `em\jk`^Xk`fej*
          fi g\eXck`\j Xe[ dXp i\jlck `e j`^e`]`ZXek X[[`k`feXc \og\ej\ Xe[ c`d`k fli XY`c`kp kf Zfdd\iZ`Xc`q\ fli gif[lZkj,
    s     B] n\ ]X`c kf Zfdgcp n`k_ fli i\gfik`e^ Xe[ gXpd\ek fYc`^Xk`fej le[\i k_\ F\[`ZX`[ =il^ K\YXk\ gif^iXd fi fk_\i ^fm\ied\ekXc gi`Z`e^
          gif^iXdj* n\ Zflc[ Y\ jlYa\Zk kf X[[`k`feXc i\`dYlij\d\ek i\hl`i\d\ekj* g\eXck`\j* jXeZk`fej Xe[ ]`e\j* n_`Z_ Zflc[ _Xm\ X dXk\i`Xc X[m\ij\
          \]]\Zk fe fli Ylj`e\jj* ]`eXeZ`Xc Zfe[`k`fe* i\jlckj f] fg\iXk`fej Xe[ ^ifnk_ gifjg\Zkj,
    s     P\ _Xm\ `eZlii\[ jlYjkXek`Xc [\Yk* n_`Z_ Zflc[ `dgX`i fli ]c\o`Y`c`kp Xe[ XZZ\jj kf ZXg`kXc Xe[ X[m\ij\cp X]]\Zk fli ]`eXeZ`Xc gfj`k`fe* Xe[ fli
          Ylj`e\jj nflc[ Y\ X[m\ij\cp X]]\Zk\[ `] n\ Xi\ leXYc\ kf j\im`Z\ fli [\Yk fYc`^Xk`fej,
    s     Mf Zfek`el\ kf ^ifn fli Ylj`e\jj* n\ n`cc e\\[ kf Zfdd`k jlYjkXek`Xc i\jfliZ\j* n_`Z_ Zflc[ i\jlck `e ]lkli\ cfjj\j fi fk_\in`j\ c`d`k fli
          fggfikle`k`\j fi X]]\Zk fli XY`c`kp kf fg\iXk\ Xe[ ^ifn fli Ylj`e\jj,
      :[[`k`feXc [`jZljj`fe f] k_\ i`jbj* leZ\ikX`ek`\j Xe[ fk_\i ]XZkfij [\jZi`Y\[ XYfm\* Xj n\cc Xj fk_\i i`jbj dXk\i`Xc kf fli Ylj`e\jj* ZXe Y\ ]fle[ le[\i
xK`jb ?XZkfijy `e IXik B* Bk\d /: f] fli :eelXc K\gfik fe ?fid /.+D ]fi k_\ p\Xi \e[\[ =\Z\dY\i 1/* 0.01* Xj jlggc\d\ek\[ Yp k_\ i`jbj Xe[
leZ\ikX`ek`\j [\jZi`Y\[ `e !K`jb ?XZkfij! IXik BB* Bk\d /:,`e k_`j JlXik\icp K\gfik fe ?fid /.+J,
       @`m\e k_\j\ i`jbj* leZ\ikX`ek`\j Xe[ fk_\i ]XZkfij* pfl j_flc[ efk gcXZ\ le[l\ i\c`XeZ\ fe k_\j\ ]finXi[+cffb`e^ jkXk\d\ekj, :cjf* k_\j\ ]finXi[+
cffb`e^ jkXk\d\ekj i\gi\j\ek fli gcXej* fYa\Zk`m\j* \jk`dXk\j* \og\ZkXk`fej Xe[ `ek\ek`fej fecp Xj f] k_\ [Xk\ f] k_`j ]`c`e^, Rfl j_flc[ i\X[ k_`j JlXik\icp
K\gfik fe ?fid /."J Zfdgc\k\cp Xe[ n`k_ k_\ le[\ijkXe[`e^ k_Xk fli XZklXc ]lkli\ i\jlckj Xe[ k_\ k`d`e^ f] \m\ekj dXp Y\ dXk\i`Xccp [`]]\i\ek ]ifd n_Xk
n\ \og\Zk, P\ _\i\Yp hlXc`]p fli ]finXi[+cffb`e^ jkXk\d\ekj Yp fli ZXlk`feXip jkXk\d\ekj, >oZ\gk Xj i\hl`i\[ Yp cXn* n\ le[\ikXb\ ef fYc`^Xk`fe kf
lg[Xk\ fi jlggc\d\ek Xep ]finXi[+cffb`e^ jkXk\d\ekj glYc`Zcp* fi kf lg[Xk\ fi jlggc\d\ek k_\ i\Xjfej k_Xk XZklXc i\jlckj Zflc[ [`]]\i dXk\i`Xccp ]ifd k_fj\
Xek`Z`gXk\[ `e k_\j\ ]finXi[+cffb`e^ jkXk\d\ekj* \m\e `] e\n `e]fidXk`fe Y\Zfd\j XmX`cXYc\ `e k_\ ]lkli\,


Item 3.        Quantitative and Qualitative Disclosures About Market Risk
    =li`e^ k_\ k_i\\ dfek_j \e[\[ FXiZ_ 1/* 0.02* k_\i\ n\i\ ef dXk\i`Xc Z_Xe^\j kf fli dXib\k i`jb [`jZcfjli\j Xj j\k ]fik_ `e IXik BB* Bk\d
5:xJlXek`kXk`m\ Xe[ JlXc`kXk`m\ =`jZcfjli\j :Yflk FXib\k K`jby `e fli :eelXc K\gfik fe ?fid /.+D ]fi k_\ p\Xi \e[\[ =\Z\dY\i 1/* 0.01,


Item 4.        Controls and Procedures
      Evaluation of Disclosure Controls and Procedures, P\ _Xm\ ZXii`\[ flk Xe \mXclXk`fe le[\i k_\ jlg\im`j`fe Xe[ n`k_ k_\ gXik`Z`gXk`fe f]
dXeX^\d\ek* `eZcl[`e^ fli gi`eZ`gXc \o\Zlk`m\ f]]`Z\i Xe[ gi`eZ`gXc ]`eXeZ`Xc f]]`Z\i* f] fli [`jZcfjli\ Zfekifcj Xe[ gifZ\[li\j &Xj [\]`e\[ `e Klc\ /1X+
/3&\' Xe[ /3[+/3&\' f] k_\ >oZ_Xe^\ :Zk' Xj f] k_\ \e[ f] k_\ g\i`f[ Zfm\i\[ Yp k_`j JlXik\icp K\gfik fe ?fid /."J, ;Xj\[ fe k_\`i \mXclXk`fe* fli
gi`eZ`gXc \o\Zlk`m\ f]]`Z\i Xe[ gi`eZ`gXc ]`eXeZ`Xc f]]`Z\i ZfeZcl[\[ k_Xk fli [`jZcfjli\ Zfekifcj Xe[ gifZ\[li\j n\i\ \]]\Zk`m\ Xj f] FXiZ_ 1/* 0.02,
      Limitations on the Effectiveness of Controls, : Zfekifc jpjk\d* ef dXkk\i _fn n\cc ZfeZ\`m\[ Xe[ fg\iXk\[* ZXe gifm`[\ fecp i\XjfeXYc\* efk
XYjfclk\* XjjliXeZ\ k_Xk k_\ fYa\Zk`m\j f] k_\ Zfekifc jpjk\d Xi\ d\k, ;\ZXlj\ f] `e_\i\ek c`d`kXk`fej `e Xcc Zfekifc jpjk\dj* ef \mXclXk`fe f] Zfekifcj ZXe
gifm`[\ XYjfclk\ XjjliXeZ\ k_Xk Xcc Zfekifc `jjl\j* `] Xep* n`k_`e Xe fi^Xe`qXk`fe _Xm\ Y\\e [\k\Zk\[, :ZZfi[`e^cp* fli [`jZcfjli\ Zfekifcj Xe[ gifZ\[li\j Xi\
[\j`^e\[ kf gifm`[\ i\XjfeXYc\* efk XYjfclk\* XjjliXeZ\ k_Xk k_\ fYa\Zk`m\j f] fli [`jZcfjli\ Zfekifc jpjk\d Xi\ d\k Xe[* Xj j\k ]fik_ XYfm\* fli gi`eZ`gXc
\o\Zlk`m\ f]]`Z\i Xe[ gi`eZ`gXc ]`eXeZ`Xc f]]`Z\i _Xm\ ZfeZcl[\[* YXj\[ fe k_\`i \mXclXk`fe Xj f] k_\ \e[ f] k_\ g\i`f[ Zfm\i\[ Yp k_`j i\gfik* k_Xk fli
[`jZcfjli\ Zfekifcj Xe[ gifZ\[li\j n\i\ \]]\Zk`m\ kf gifm`[\ i\XjfeXYc\ XjjliXeZ\ k_Xk k_\ fYa\Zk`m\j f] fli [`jZcfjli\ Zfekifc jpjk\d n\i\ d\k,
      Changes in Internal Control over Financial Reporting, =li`e^ k_\ hlXik\i \e[\[ FXiZ_ 1/* 0.02* k_\i\ n\i\ ef Z_Xe^\j kf fli `ek\ieXc Zfekifc fm\i
]`eXeZ`Xc i\gfik`e^ k_Xk _Xm\ dXk\i`Xccp X]]\Zk\[* fi Xi\ i\XjfeXYcp c`b\cp kf dXk\i`Xccp X]]\Zk* fli `ek\ieXc Zfekifc fm\i ]`eXeZ`Xc i\gfik`e^,



                                                                                25
MXYc\ f] <fek\ekj
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PART II – OTHER INFORMATION


Item 1.         Legal Proceedings
     M_\ `e]fidXk`fe i\hl`i\[ kf Y\ j\k ]fik_ le[\i k_`j Bk\d / `j `eZfigfiXk\[ Yp i\]\i\eZ\ kf Gfk\ 7* <fdd`kd\ekj Xe[ <fek`e^\eZ`\jwE\^Xc
IifZ\\[`e^j f] k_\ efk\j kf Zfe[\ej\[ Zfejfc`[Xk\[ ]`eXeZ`Xc jkXk\d\ekj `eZcl[\[ `e IXik B* Bk\d / f] k_`j JlXik\icp K\gfik fe ?fid /."J,


Item 1A.        Risk Factors
      ;\cfn n\ Xi\ gifm`[`e^* `e jlggc\d\ekXc ]fid* Z_Xe^\j kf fli i`jb ]XZkfij ]ifd k_fj\ gi\m`fljcp [`jZcfj\[ `e IXik B* Bk\d /: f] fli :eelXc K\gfik
fe ?fid /.+D ]fi k_\ p\Xi \e[\[ =\Z\dY\i 1/* 0.01, Hli i`jb ]XZkfij [`jZcfj\[ `e IXik B* Bk\d /: f] fli :eelXc K\gfik fe ?fid /.+D ]fi k_\ p\Xi \e[\[
=\Z\dY\i 1/* 0.01 gifm`[\ X[[`k`feXc [`jZljj`fe i\^Xi[`e^ k_\j\ jlggc\d\ekXc i`jbj Xe[ n\ \eZfliX^\ pfl kf i\X[ Xe[ ZXi\]lccp Zfej`[\i Xcc f] k_\ i`jb
]XZkfij [`jZcfj\[ `e IXik B* Bk\d /: f] fli :eelXc K\gfik fe ?fid /.+D ]fi k_\ p\Xi \e[\[ =\Z\dY\i 1/* 0.01* kf^\k_\i n`k_ k_\ Y\cfn* ]fi X dfi\
Zfdgc\k\ le[\ijkXe[`e^ f] k_\ i`jbj Xe[ leZ\ikX`ek`\j dXk\i`Xc kf fli Ylj`e\jj,
Delays or problems in the supply of our products for sale or for use in clinical trials, loss of our single source suppliers or failure to comply with
manufacturing regulations could materially and adversely affect our business, financial condition, results of operations and growth prospects.
       M_\ dXel]XZkli\ f] g_XidXZ\lk`ZXc gif[lZkj i\hl`i\j j`^e`]`ZXek \og\ik`j\ Xe[ ZXg`kXc `em\jkd\ek* `eZcl[`e^ k_\ [\m\cfgd\ek f] gifZ\jj Zfekifcj
i\hl`i\[ kf Zfej`jk\ekcp gif[lZ\ k_\ :IB Xe[ k_\ ]`e`j_\[ gif[lZk `e jl]]`Z`\ek hlXek`k`\j n_`c\ d\\k`e^ [\kX`c\[ gif[lZk jg\Z`]`ZXk`fej fe X i\g\Xk\[ YXj`j,
P\ Xe[ fli jlggc`\ij dXp \eZflek\i [`]]`Zlck`\j `e gif[lZk`fe* `eZcl[`e^ [`]]`Zlck`\j n`k_ k_\ jlggcp f] dXel]XZkli`e^ dXk\i`Xcj* gif[lZk`fe Zfjkj Xe[
p`\c[j* gifZ\jj Zfekifcj* hlXc`kp Zfekifc Xe[ hlXc`kp XjjliXeZ\* `eZcl[`e^ k\jk`e^ f] jkXY`c`kp* `dgli`k`\j Xe[ `dgli`kp c\m\cj Xe[ fk_\i gif[lZk jg\Z`]`ZXk`fej
Yp mXc`[Xk\[ k\jk d\k_f[j* Xe[ Zfdgc`XeZ\ n`k_ jki`Zkcp \e]fiZ\[ N,L,* jkXk\ Xe[ efe+N,L, i\^lcXk`fej, Be X[[`k`fe* n\ Xe[ fli jlggc`\ij Xi\ jlYa\Zk kf
?=:{j Zlii\ek @ff[ FXel]XZkli`e^ IiXZk`Z\j* fi Z@FI* i\hl`i\d\ekj* ]\[\iXc Xe[ jkXk\ Zfekifcc\[ jlYjkXeZ\j fYc`^Xk`fej Xe[ \hl`mXc\ek ilc\j Xe[
i\^lcXk`fej gi\jZi`Y\[ Yp efe+N,L, i\^lcXkfip Xlk_fi`k`\j, B] n\ fi Xep f] fli jlggc`\ij \eZflek\i dXel]XZkli`e^* hlXc`kp fi Zfdgc`XeZ\ [`]]`Zlck`\j n`k_
i\jg\Zk kf Xep f] fli gif[lZkj* n_\k_\i [l\ kf k_\ fe^f`e^ d`c`kXip Zfe]c`Zk `e NbiX`e\ Xe[ i\cXk\[ jXeZk`fej `dgfj\[ X^X`ejk Kljj`X &`eZcl[`e^ Xj X i\jlck
f] [`jilgk`fej f] ^cfYXc j_`gg`e^* k_\ kiXejgfik f] gif[lZkj* \e\i^p jlggcp* ZpY\ij\Zli`kp `eZ`[\ekj Xe[ YXeb`e^ jpjk\dj Xj n\cc Xj f] fli XY`c`kp kf Zfekifc
`eglk Zfjkj' fi fk_\in`j\* n\ dXp Y\ leXYc\ kf fYkX`e fi dX`ekX`e i\^lcXkfip XggifmXc fi d\\k Zfdd\iZ`Xc [\dXe[ ]fi jlZ_ gif[lZkj* n_`Z_ Zflc[
X[m\ij\cp X]]\Zk fli Ylj`e\jj* ]`eXeZ`Xc Zfe[`k`fe* i\jlckj f] fg\iXk`fej Xe[ ^ifnk_ gifjg\Zkj, Be X[[`k`fe* n\ Zflc[ Y\ jlYa\Zk kf \e]fiZ\d\ek XZk`fe Yp
i\^lcXkfip Xlk_fi`k`\j ]fi fli ]X`cli\ kf Zfdgcp n`k_ Z@FI n`k_ i\jg\Zk kf k_\ gif[lZkj n\ dXel]XZkli\ `e fli ]XZ`c`k`\j Xj n\cc Xj ]fi fli ]X`cli\ kf
X[\hlXk\cp fm\ij\\ Zfdgc`XeZ\ n`k_ Z@FI Yp Xep f] fli k_`i[ gXikp jlggc`\ij fg\iXk`e^ le[\i ZfekiXZk, Ffi\fm\i* ]X`cli\ kf Zfdgcp n`k_ Xggc`ZXYc\ c\^Xc
Xe[ i\^lcXkfip i\hl`i\d\ekj jlYa\Zkj lj Xe[ fli jlggc`\ij kf gfjj`Yc\ i\^lcXkfip XZk`fe* `eZcl[`e^ i\jki`Zk`fej fe jlggcp fi j_lk[fne* n_`Z_ dXp X[m\ij\cp
X]]\Zk fli fi X jlggc`\i{j XY`c`kp kf jlggcp k_\ `e^i\[`\ekj fi ]`e`j_\[ gif[lZkj n\ e\\[,
       P\ _Xm\ X dXel]XZkli`e^ Xe[ [\m\cfgd\ek ]XZ`c`kp `e :k_cfe\* Bi\cXe[ n_\i\ n\ dXel]XZkli\ QpnXm Xe[ Qpi\d* X dXel]XZkli`e^ gcXek `e O`ccX
@lXi[`X* BkXcp n_\i\ n\ gif[lZ\ k_\ [\]`Yifk`[\ [il^ jlYjkXeZ\ Xe[ X dXel]XZkli`e^ Xe[ [\m\cfgd\ek ]XZ`c`kp `e k_\ N,D, Xk D\ek LZ`\eZ\ IXib* n_\i\ n\
gif[lZ\ >g`[`fc\o->g`[pfc\o Xe[ _Xm\ ZXgXY`c`kp kf [\m\cfg gif[lZk ZXe[`[Xk\j, P\ Zlii\ekcp [f efk _Xm\ fli fne Zfdd\iZ`Xc dXel]XZkli`e^ fi
gXZbX^`e^ ZXgXY`c`kp ]fi fli fk_\i gif[lZkj* k_\`i :IBj fi gif[lZk ZXe[`[Xk\j flkj`[\ f] k_fj\ [\m\cfg\[ Xk D\ek LZ`\eZ\ IXib, :j X i\jlck* fli XY`c`kp kf
[\m\cfg Xe[ jlggcp gif[lZkj `e X k`d\cp Xe[ Zfdg\k`k`m\ dXee\i [\g\e[j gi`dXi`cp fe k_`i[ gXikp jlggc`\ij Y\`e^ XYc\ kf d\\k fli fe^f`e^ Zfdd\iZ`Xc Xe[
Zc`e`ZXc ki`Xc e\\[j ]fi :IB* fk_\i iXn dXk\i`Xcj* gXZbX^`e^ dXk\i`Xcj Xe[ ]`e`j_\[ gif[lZkj,
       Be gXik [l\ kf k_\ c`d`k\[ dXib\k j`q\ ]fi fli gif[lZkj Xe[ gif[lZk ZXe[`[Xk\j* n\ _Xm\ X j`e^c\ jfliZ\ f] jlggcp ]fi dfjk f] fli dXib\k\[ gif[lZkj*
gif[lZk ZXe[`[Xk\j Xe[ k_\`i :IBj, L`e^c\ jfliZ`e^ glkj lj Xk i`jb f] `ek\iilgk`fe `e jlggcp `e k_\ \m\ek f] dXel]XZkli`e^* hlXc`kp fi Zfdgc`XeZ\ [`]]`Zlck`\j,
B] fe\ f] fli jlggc`\ij ]X`cj fi i\]lj\j kf jlggcp lj ]fi Xep i\Xjfe* `k nflc[ kXb\ X j`^e`]`ZXek Xdflek f] k`d\ Xe[ \og\ej\ kf `dgc\d\ek Xe[ \o\Zlk\ k_\
e\Z\jjXip k\Z_efcf^p kiXej]\i kf* Xe[ kf hlXc`]p* X e\n jlggc`\i, ?=: Xe[ j`d`cXi `ek\ieXk`feXc fi eXk`feXc i\^lcXkfip Yf[`\j dljk Xggifm\ dXel]XZkli\ij f]
k_\ XZk`m\ Xe[ `eXZk`m\ g_XidXZ\lk`ZXc `e^i\[`\ekj Xe[ Z\ikX`e gXZbX^`e^ dXk\i`Xcj lj\[ `e fli gif[lZkj, B] k_\i\ Xi\ [\cXpj `e hlXc`]p`e^ e\n jlggc`\ij fi
]XZ`c`k`\j fi X e\n jlggc`\i `j leXYc\ kf d\\k ?=:{j fi j`d`cXi `ek\ieXk`feXc i\^lcXkfip Yf[p{j i\hl`i\d\ekj ]fi XggifmXc* k_\i\ Zflc[ Y\ X j_fikX^\ f] k_\
X]]\Zk\[ gif[lZkj ]fi k_\ dXib\kgcXZ\ fi ]fi lj\ `e Zc`e`ZXc jkl[`\j* fi Yfk_* n_`Z_ Zflc[ e\^Xk`m\cp `dgXZk fli Xek`Z`gXk\[ i\m\el\j Xe[ Zflc[ gfk\ek`Xccp
ZXlj\ lj kf Yi\XZ_ ZfekiXZklXc fYc`^Xk`fej n`k_ Zljkfd\ij fi kf m`fcXk\ cfZXc cXnj i\hl`i`e^ lj kf [\c`m\i k_\ gif[lZk kf k_fj\ `e e\\[,
       P\ Xi\ i\jgfej`Yc\ ]fi k_\ dXel]XZkli\ Xe[ jlggcp f] >g`[`fc\o->g`[pfc\o Xe[ fk_\i ZXeeXY`ef`[ gif[lZk ZXe[`[Xk\j ]fi Zfdd\iZ`Xc lj\ Xe[ ]fi lj\
`e Zc`e`ZXc ki`Xcj, M_\ dXel]XZkli`e^ f] >g`[`fc\o->g`[pfc\o Xe[ fli gif[lZk ZXe[`[Xk\j



                                                                               26
MXYc\ f] <fek\ekj
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e\Z\jj`kXk\j Zfdgc`XeZ\ n`k_ @ff[ FXel]XZkli`e^ IiXZk`Z\* fi @FI* Xe[ fk_\i i\^lcXkfip i\hl`i\d\ekj `e ali`j[`Zk`fej `ek\ieXk`feXccp, Hli XY`c`kp kf
jlZZ\jj]lccp dXel]XZkli\ >g`[`fc\o->g`[pfc\o Xe[ fk_\i ZXeeXY`ef`[ gif[lZk ZXe[`[Xk\j `emfcm\j Zlck`mXk`fe f] YfkXe`ZXc iXn dXk\i`Xc ]ifd jg\Z`]`Z
ZXeeXY`ef`[ gcXekj* \okiXZk`fe Xe[ gli`]`ZXk`fe gifZ\jj\j* dXel]XZkli\ f] ]`e`j_\[ gif[lZkj Xe[ cXY\c`e^ Xe[ gXZbX^`e^* n_`Z_ `eZcl[\j gif[lZk
`e]fidXk`fe* kXdg\i \m`[\eZ\ Xe[ Xek`+Zflek\i]\`k ]\Xkli\j* le[\i k`^_kcp Zfekifcc\[ gifZ\jj\j Xe[ gifZ\[li\j, Be X[[`k`fe* n\ dljk \ejli\ Z_\d`ZXc
Zfej`jk\eZp Xdfe^ fli YXkZ_\j* `eZcl[`e^ Zc`e`ZXc YXkZ_\j Xe[* `] Xggifm\[* dXib\k`e^ YXkZ_\j, =\dfejkiXk`e^ jlZ_ Zfej`jk\eZp dXp i\hl`i\ kpg`ZXc
dXel]XZkli`e^ Zfekifcj Xj n\cc Xj Zc`e`ZXc [XkX, P\ dljk Xcjf \ejli\ k_Xk fli YXkZ_\j Zfe]fid kf Zfdgc\o i\c\Xj\ jg\Z`]`ZXk`fej, P\ _Xm\ X j\Zfe[ j`k\ Xk
n_`Z_ n\ ZXe ^ifn k_\ jg\Z`]`Z ZXeeXY`ef`[ gcXekj k_Xk gif[lZ\ k_\ <;= lj\[ `e >g`[`fc\o->g`[pfc\o Xe[ X j\Zfe[ j`k\ Xk n_`Z_ n\ ZXe ZipjkXcc`q\ k_\
gli`]`\[ <;= ]ifd k_\ c`hl`[ gcXek \okiXZk, : eldY\i f] fli gif[lZk ZXe[`[Xk\j &\oZcl[`e^ >g`[`fc\o->g`[pfc\o' Zfej`jk f] X Zfdgc\o d`okli\
dXel]XZkli\[ ]ifd gcXek dXk\i`Xcj* Xe[ Y\ZXlj\ k_\ i\c\Xj\ jg\Z`]`ZXk`fej dXp efk Y\ `[\ek`ZXc `e Xcc Zfleki`\j* Z\ikX`e YXkZ_\j dXp ]X`c i\c\Xj\ k\jk`e^ Xe[
efk Y\ XYc\ kf Y\ Zfdd\iZ`Xc`q\[, B] n\ Xi\ leXYc\ kf dXel]XZkli\ >g`[`fc\o->g`[pfc\o fi fk_\i gif[lZk ZXe[`[Xk\j `e XZZfi[XeZ\ n`k_ i\^lcXkfip
jg\Z`]`ZXk`fej* `eZcl[`e^ @FI fi `] k_\i\ Xi\ [`jilgk`fej `e fli dXel]XZkli`e^ gifZ\jj [l\ kf [XdX^\* cfjj fi fk_\in`j\* fi ]X`cli\ kf gXjj i\^lcXkfip
`ejg\Zk`fej f] fli dXel]XZkli`e^ ]XZ`c`k`\j* n\ dXp efk Y\ XYc\ kf d\\k Zlii\ek [\dXe[ fi jlggcp jl]]`Z`\ek gif[lZk ]fi lj\ `e Zc`e`ZXc ki`Xcj* Xe[ k_`j dXp
Xcjf _Xid fli XY`c`kp kf Zfdd\iZ`Xc`q\ >g`[`fc\o->g`[pfc\o Xe[ fli gif[lZk ZXe[`[Xk\j fe X k`d\cp fi Zfjk+Zfdg\k`k`m\ YXj`j* `] Xk Xcc, Hli dXel]XZkli`e^
gif^iXd i\hl`i\j j`^e`]`ZXek k`d\ Xe[ i\jfliZ\j Xe[ dXp efk Y\ jlZZ\jj]lc* dXp c\X[ kf [\cXpj* `ek\iilgk`fej kf jlggcp fi dXp gifm\ kf Y\ dfi\ Zfjkcp k_Xe
Xek`Z`gXk\[,
      Opo\fj `j dXel]XZkli\[ Yp L`dkiX ;`fg_XidX Lfclk`fej* n_`Z_ `j X jfc\ jfliZ\ jlggc`\i ]ifd X j`e^c\ j`k\ cfZXk`fe, Ffi\fm\i* k_\ gifgi`\kXip
k\Z_efcf^p k_Xk jlggfikj k_\ dXel]XZkli\ f] Opo\fj `j efk \Xj`cp kiXej]\iXYc\, <fej\hl\ekcp* \e^X^`e^ Xe Xck\ieXk\ dXel]XZkli\i dXp Y\ [`]]`Zlck* Zfjkcp
Xe[ k`d\+Zfejld`e^, B] n\ ]X`c kf fYkX`e X jl]]`Z`\ek jlggcp f] Opo\fj `e XZZfi[XeZ\ n`k_ Xggc`ZXYc\ jg\Z`]`ZXk`fej fe X k`d\cp YXj`j* fli jXc\j f] Opo\fj*
fli ]lkli\ dX`ek\eXeZ\ Xe[ gfk\ek`Xc ^ifnk_ f] k_\ dXib\k ]fi k_`j gif[lZk* fli XY`c`kp kf Zfe[lZk fe^f`e^ Xe[ ]lkli\ Zc`e`ZXc ki`Xcj f] Opo\fj* Xe[ fli
Ylj`e\jj* ]`eXeZ`Xc Zfe[`k`fe* i\jlckj f] fg\iXk`fej Xe[ ^ifnk_ gifjg\Zkj Zflc[ Y\ dXk\i`Xccp X[m\ij\cp X]]\Zk\[,
      KpcXq\ [il^ jlYjkXeZ\ `j dXel]XZkli\[ Yp :@< ;`fcf^`Zj :-L Xk `kj ]XZ`c`kp `e <fg\e_X^\e* =\edXib Xe[ k_\ [il^ gif[lZk `j dXel]XZkli\[ Xe[
gXZbX^\[ Yp IXk_\fe Xk `kj ]XZ`c`kp `e @i\\em`cc\* Gfik_ <Xifc`eX, ;fk_ j`k\j _Xm\ Xdgc\ ZXgXZ`kp kf jlggfik ]fi\ZXjk [\dXe[ Xe[ n\ _Xm\ j\Zli\[ jlggcp
]fi dfi\ k_Xe fe\ p\Xi%j ]fi\ZXjk [\dXe[, Mf jlZZ\jj]lccp dXel]XZkli\ KpcXq\* k_\ dXel]XZkli\i dljk _Xm\ Xe X[\hlXk\ dXjk\i Xe[ nfib`e^ Z\cc YXeb, B]
n\ ]X`c kf fYkX`e X jl]]`Z`\ek jlggcp f] KpcXq\ `e XZZfi[XeZ\ n`k_ Xggc`ZXYc\ jg\Z`]`ZXk`fej fe X k`d\cp YXj`j* fli jXc\j f] KpcXq\* fli ]lkli\ dX`ek\eXeZ\
Xe[ gfk\ek`Xc ^ifnk_ f] k_\ dXib\k ]fi k_`j gif[lZk* fli Zfdg\k`k`m\ X[mXekX^\ fm\i Zfdg\k`e^ gif[lZkj k_Xk _Xm\ jlggcp ZfejkiX`ekj* Xe[ fli Ylj`e\jj*
]`eXeZ`Xc Zfe[`k`fe* i\jlckj f] fg\iXk`fej Xe[ ^ifnk_ gifjg\Zkj Zflc[ Y\ dXk\i`Xccp X[m\ij\cp X]]\Zk\[,
       Be X[[`k`fe* `e fi[\i kf Zfe[lZk fli fe^f`e^ Xe[ Xep ]lkli\ Zc`e`ZXc ki`Xcj f]* Zfdgc\k\ dXib\k`e^ Xlk_fi`qXk`fe jlYd`jj`fej ]fi* Xe[ gfk\ek`Xccp
cXleZ_ fli fk_\i gif[lZk ZXe[`[Xk\j* n\ Xcjf e\\[ kf _Xm\ jl]]`Z`\ek hlXek`k`\j f] gif[lZk dXel]XZkli\[, P\ Zlii\ekcp i\cp fe PlQ` ;`fcf^`Zj <f,* Ek[,* fi
PlQ`* X ZfdgXep YXj\[ `e k_\ I\fgc\%j K\glYc`Z f] <_`eX* fi IK<* Xj k_\ jfc\ jlggc`\i f] fli gif[lZk ZXe[`[Xk\* qXe`[XkXdXY, :ZZfi[`e^cp* k_\i\ `j X i`jb
k_Xk jlggc`\j f] fli gif[lZk ZXe[`[Xk\ dXp Y\ j`^e`]`ZXekcp [\cXp\[ Yp* fi dXp Y\Zfd\ leXmX`cXYc\ Xj X i\jlck f]* dXel]XZkli`e^* \hl`gd\ek* gifZ\jj*
i\^lcXkfip fi Ylj`e\jj+i\cXk\[ `jjl\j X]]\Zk`e^ k_Xk ZfdgXep, P\ dXp Xcjf ]XZ\ X[[`k`feXc dXel]XZkli`e^ Xe[ jlggcp+Z_X`e i`jbj [l\ kf k_\ i\^lcXkfip Xe[
gfc`k`ZXc jkilZkli\ f] k_\ IK<* fi Xj X i\jlck f] k_\ `ek\ieXk`feXc i\cXk`fej_`g Y\kn\\e k_\ IK< Xe[ k_\ N,L,* `eZcl[`e^ Ylk efk c`d`k\[ kf gfk\ek`Xc jXeZk`fej
`dgfj\[ Yp k_\ N,L, ^fm\ied\ek fe PlQ`, :ck_fl^_ kf [Xk\ k_\i\ _Xj Y\\e ef `dgXZk fe fli XY`c`kp kf fYkX`e jlggcp f] qXe`[XkXdXY* k_\i\ ZXe Y\ ef
XjjliXeZ\ k_Xk fg\iXk`fej nflc[ efk Y\ `dgXZk\[ `e k_\ ]lkli\ n`k_ X e\^Xk`m\ `dgXZk fe jlggcp f] fli gif[lZk ZXe[`[Xk\,
      Ffi\fm\i* kf fYkX`e XggifmXc ]ifd ?=: fi X j`d`cXi `ek\ieXk`feXc fi eXk`feXc i\^lcXkfip Yf[p f] Xep gif[lZk ZXe[`[Xk\* `eZcl[`e^ qXe`[XkXdXY* n\ fi
fli jlggc`\ij ]fi k_Xk gif[lZk dljk fYkX`e XggifmXc Yp k_\ Xggc`ZXYc\ i\^lcXkfip Yf[p kf dXel]XZkli\ Xe[ jlggcp gif[lZk* `e jfd\ ZXj\j YXj\[ fe
hlXc`]`ZXk`fe [XkX gifm`[\[ kf k_\ Xggc`ZXYc\ Yf[p Xj gXik f] fli i\^lcXkfip jlYd`jj`fe, :ep [\cXp `e ^\e\iXk`e^* fi ]X`cli\ kf ^\e\iXk\* [XkX i\hl`i\[ `e
Zfee\Zk`fe n`k_ jlYd`jj`fe f] k_\ Z_\d`jkip* dXel]XZkli`e^ Xe[ Zfekifcj gfik`fej f] Xep i\^lcXkfip jlYd`jj`fe Zflc[ e\^Xk`m\cp `dgXZk fli XY`c`kp kf d\\k
fli Xek`Z`gXk\[ jlYd`jj`fe [Xk\j* Xe[ k_\i\]fi\ fli Xek`Z`gXk\[ k`d`e^ ]fi fYkX`e`e^ ?=: fi j`d`cXi `ek\ieXk`feXc fi eXk`feXc i\^lcXkfip Yf[p XggifmXc* fi
fli XY`c`kp kf fYkX`e i\^lcXkfip XggifmXc Xk Xcc, Be X[[`k`fe* Xep ]X`cli\ f] lj fi X jlggc`\i kf fYkX`e XggifmXc Yp k_\ Xggc`ZXYc\ i\^lcXkfip Yf[p kf
dXel]XZkli\ Xe[ jlggcp gif[lZk fi Xep [\cXp `e i\Z\`m`e^* fi ]X`cli\ kf i\Z\`m\* X[\hlXk\ jlggc`\j f] X gif[lZk fe X k`d\cp YXj`j fi `e XZZfi[XeZ\ n`k_
Xggc`ZXYc\ jg\Z`]`ZXk`fej Zflc[ e\^Xk`m\cp `dgXZk fli XY`c`kp kf jlZZ\jj]lccp cXleZ_ Xe[ Zfdd\iZ`Xc`q\ gif[lZkj Xe[ ^\e\iXk\ jXc\j f] gif[lZkj Xk k_\ c\m\cj
n\ \og\Zk,




                                                                              27
MXYc\ f] <fek\ekj
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Item 2.         Unregistered Sales of Equity Securities and Use of Proceeds

Gfe\


Item 5.         Other Information

Insider Trading Arrangements
      M_\ ]fccfn`e^ `j X jlddXip f] k_\ dXk\i`Xc k\idj f] k_\ ZfekiXZkj* `ejkilZk`fej fi ni`kk\e gcXej ]fi k_\ gliZ_Xj\ fi jXc\ f] k_\ <fdgXep{j j\Zli`k`\j
X[fgk\[ fi k\id`eXk\[ Yp fli f]]`Z\ij &Xj [\]`e\[ `e Klc\ /4X+/&]' le[\i k_\ L\Zli`k`\j >oZ_Xe^\ :Zk f] /712* Xj Xd\e[\[' Xe[ [`i\Zkfij [li`e^ k_\ hlXik\i
\e[\[ FXiZ_ 1/* 0.028
                                                               Type of Trading Arrangement
                                                                                                                                        Total Ordinary Shares
               Name and Position                        Date                   Action           Rule 10b5-1*       Expiration Date            to be Sold
KfY\ik BXeefe\                                     FXiZ_ 5* 0.02           Ff[`]`ZXk`fe              Q            FXiZ_ 5* 0.03               /.*46/
>o\Zlk`m\ O`Z\ Ii\j`[\ek* @cfYXc A\X[ f]
K\j\XiZ_ Xe[ =\m\cfgd\ek



( <fekiXZk* `ejkilZk`fe fi ni`kk\e gcXe `ek\e[\[ kf jXk`j]p k_\ X]]`idXk`m\ [\]\ej\ Zfe[`k`fej f] Klc\ /.Y3+/&Z' le[\i k_\ L\Zli`k`\j >oZ_Xe^\ :Zk f] /712*
Xj Xd\e[\[,




                                                                             3.
MXYc\ f] <fek\ekj
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Item 6.        Exhibits
Exhibit
Number         Description of Document
0,/}           MiXejXZk`fe :^i\\d\ek* [Xk\[ Xj f] ?\YilXip 1* 0.0/* Yp Xe[ Xdfe^ CXqq I_XidXZ\lk`ZXcj ND Afc[`e^j E`d`k\[* CXqq I_XidXZ\lk`ZXcj
               IlYc`Z E`d`k\[ <fdgXep Xe[ @P I_XidXZ\lk`ZXcj IE< &`eZfigfiXk\[ _\i\`e Yp i\]\i\eZ\ kf >o_`Y`k 0,/ `e CXqq I_XidXZ\lk`ZXcj gcZ{j
               <lii\ek K\gfik fe ?fid 6+D &?`c\ Gf, ../+113..'* Xj ]`c\[ n`k_ k_\ L>< fe ?\YilXip 2* 0.0/',
1,/            :d\e[\[ Xe[ K\jkXk\[ F\dfiXe[ld Xe[ :ik`Zc\j f] :jjfZ`Xk`fe f] CXqq I_XidXZ\lk`ZXcj gcZ* Xj Xd\e[\[ fe :l^ljk 2* 0./4
               &`eZfigfiXk\[ _\i\`e Yp i\]\i\eZ\ kf >o_`Y`k 1,/ `e CXqq I_XidXZ\lk`ZXcj gcZ{j JlXik\icp K\gfik fe ?fid /.+J &?`c\ Gf, ../+113..' ]fi k_\
               g\i`f[ \e[\[ Cle\ 1.* 0./4* Xj ]`c\[ n`k_ k_\ L>< fe :l^ljk 7* 0./4',
2,/            K\]\i\eZ\ `j dX[\ kf >o_`Y`k 1,/,
2,0            Be[\ekli\* [Xk\[ Xj f] :gi`c 07* 0.0/* Xdfe^ CXqq L\Zli`k`\j =\j`^eXk\[ :Zk`m`kp <fdgXep* k_\ ^lXiXekfij gXikp k_\i\kf* N,L, ;Xeb
               GXk`feXc :jjfZ`Xk`fe* Xj kiljk\\ Xe[ XZbefnc\[^\[ Yp N,L, ;Xeb GXk`feXc :jjfZ`Xk`fe* Xj ZfccXk\iXc kiljk\\, &`eZfigfiXk\[ _\i\`e Yp
               i\]\i\eZ\ kf >o_`Y`k 2,/ `e CXqq I_XidXZ\lk`ZXcj gcZ{j <lii\ek K\gfik fe ?fid 6+D &?`c\ Gf, ../+.113..'* Xj ]`c\[ n`k_ k_\ L>< fe :gi`c
               07* 0.0/',
/.,/)          H]]\i E\kk\i ]ifd CXqq I_XidXZ\lk`ZXcj* BeZ, kf I_`c`g Cf_ejfe [Xk\[ Xj f] CXelXip 1.* 0.02,
/.,0)          :d\e[\[ Xe[ K\jkXk\[ Gfe+>dgcfp\\ =`i\Zkfi <fdg\ejXk`fe Ifc`Zp &Xggifm\[ :gi`c 03* 0.02',
1/,/           <\ik`]`ZXk`fe f] <_`\] >o\Zlk`m\ H]]`Z\i glijlXek kf Klc\j /1X+/2&X' Xe[ /3[+/2&X' gifdlc^Xk\[ le[\i k_\ L\Zli`k`\j >oZ_Xe^\ :Zk f]
               /712* Xj Xd\e[\[,
1/,0           <\ik`]`ZXk`fe f] <_`\] ?`eXeZ`Xc H]]`Z\i glijlXek kf Klc\j /1X+/2&X' Xe[ /3[+/2&X' gifdlc^Xk\[ le[\i k_\ L\Zli`k`\j >oZ_Xe^\ :Zk f]
               /712* Xj Xd\e[\[,
10,/(          <\ik`]`ZXk`fej f] <_`\] >o\Zlk`m\ H]]`Z\i Xe[ <_`\] ?`eXeZ`Xc H]]`Z\i glijlXek kf /6 N,L,<, L\Zk`fe /13.* Xj X[fgk\[ glijlXek kf L\Zk`fe
               7.4 f] k_\ LXiYXe\j+Hoc\p :Zk f] 0..0,
/./,BGL        Q;KE BejkXeZ\ =fZld\ek + M_\ `ejkXeZ\ [fZld\ek [f\j efk Xgg\Xi `e k_\ Bek\iXZk`m\ =XkX ?`c\ Y\ZXlj\ `kj Q;KE kX^j Xi\ \dY\[[\[
               n`k_`e k_\ Bec`e\ Q;KE [fZld\ek
/./,L<A        Bec`e\ Q;KE MXofefdp >ok\ej`fe LZ_\dX =fZld\ek
/./,<:E        Bec`e\ Q;KE MXofefdp >ok\ej`fe <XcZlcXk`fe E`ebYXj\ =fZld\ek
/./,=>?        Bec`e\ Q;KE MXofefdp >ok\ej`fe =\]`e`k`fe E`ebYXj\ =fZld\ek
/./,E:;        Bec`e\ Q;KE MXofefdp >ok\ej`fe EXY\cj E`ebYXj\ =fZld\ek
/./,IK>        Bec`e\ Q;KE MXofefdp >ok\ej`fe Ii\j\ekXk`fe E`ebYXj\ =fZld\ek
/.2            <fm\i IX^\ Bek\iXZk`m\ =XkX ?`c\ &]fidXkk\[ Xj Bec`e\ Q;KE Xe[ ZfekX`e\[ `e >o_`Y`k /./'
VVVVVVVVVVVVVVVVVV

} <\ikX`e gfik`fej f] k_`j \o_`Y`k _Xm\ Y\\e fd`kk\[ glijlXek kf Bk\d 4./&Y'&0' f] K\^lcXk`fe L+D,
( M_\ Z\ik`]`ZXk`fe XkkXZ_\[ Xj >o_`Y`k 10,/ XZZfdgXe`\j k_`j JlXik\icp K\gfik fe ?fid /."J glijlXek kf /6 N,L,<, L\Zk`fe /13.* Xj X[fgk\[ glijlXek kf
    L\Zk`fe 7.4 f] k_\ LXiYXe\j+Hoc\p :Zk f] 0..0* Xe[ j_Xcc efk Y\ [\\d\[ x]`c\[y Yp k_\ K\^`jkiXek ]fi gligfj\j f] L\Zk`fe /6 f] k_\ L\Zli`k`\j
    >oZ_Xe^\ :Zk f] /712* Xj Xd\e[\[,


                                                                          3/
MXYc\ f] <fek\ekj
   Case 1:21-cv-00691-GBW Document 619 Filed 05/22/24 Page 181 of 247 PageID #: 33326

                                                                      SIGNATURES

      IlijlXek kf k_\ i\hl`i\d\ekj f] k_\ L\Zli`k`\j >oZ_Xe^\ :Zk f] /712* k_\ i\^`jkiXek _Xj [lcp ZXlj\[ k_`j i\gfik kf Y\ j`^e\[ fe `kj Y\_Xc] Yp k_\
le[\ij`^e\[ k_\i\lekf [lcp Xlk_fi`q\[,

=Xk\8 FXp 0* 0.02

                                                                       JAZZ PHARMACEUTICALS PUBLIC LIMITED COMPANY
                                                                       &K\^`jkiXek'

                                                                       -j- ;ilZ\ <, <fqX[[
                                                                       ;ilZ\ <, <fqX[[
                                                                       Chairman and Chief Executive Officer and Director
                                                                       (Principal Executive Officer)

                                                                       -j- I_`c`g E, Cf_ejfe
                                                                       I_`c`g E, Cf_ejfe
                                                                       Executive Vice President and Chief Financial Officer
                                                                       (Principal Financial Officer)

                                                                       -j- IXki`Z`X <Xii
                                                                       IXki`Z`X <Xii
                                                                       Senior Vice President, Chief Accounting Officer
                                                                       (Principal Accounting Officer)



                                                                             30
                                                                                                                        Exhibit 10.1
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                                                TCXqq I_XidXZ\lk`ZXcj E\kk\i_\X[U

CXelXip 1.* 0.02

I_`c`g Cf_ejfe
TX[[i\jj fe ]`c\U

Re: Offer of employment with Jazz Pharmaceuticals

=\Xi I_`c`g*
:j [`jZljj\[* B Xd m\ip gc\Xj\[ kf `em`k\ pfl kf af`e k_\ CXqq I_XidXZ\lk`ZXcj ^iflg, M_`j c\kk\i j\kj flk k_\ k\idj f] pfli
\dgcfpd\ek n`k_ CXqq I_XidXZ\lk`ZXcj* BeZ, &xJazz Pharmaceuticalsy fi k_\ xCompanyy',

       1. Position, Location and Responsibilities. Rfli `e`k`Xc Xjj`^ed\ek n`cc Y\ Xj >o\Zlk`m\ O`Z\ Ii\j`[\ek Xe[ <_`\]
?`eXeZ`Xc H]]`Z\i* i\gfik`e^ kf d\, M_`j f]]\i `j ]fi X ]lcc k`d\ gfj`k`fe* Xe[ `j X _fd\+YXj\[ ifc\ cfZXk\[ `e k_\ Ne`k\[ LkXk\j, Be
k_`j gfj`k`fe* pfl n`cc g\i]fid Xcc [lk`\j Xe[ i\jgfej`Y`c`k`\j f] pfli gfj`k`fe* Xe[ pfl n`cc Y\ X d\dY\i f] k_\ >o\Zlk`m\
<fdd`kk\\, M_`j gfj`k`fe n`cc i\hl`i\ g\i`f[`Z [fd\jk`Z Xe[ `ek\ieXk`feXc Ylj`e\jj kiXm\c Xj e\Z\jjXip kf ]lc]`cc pfli
i\jgfej`Y`c`k`\j, :j gXik f] pfli \dgcfpd\ek i\cXk`fej_`g* pfl X^i\\ kf Zfdgcp n`k_ CXqq I_XidXZ\lk`ZXcj{ gfc`Z`\j Xe[
gifZ\[li\j `e \]]\Zk [li`e^ pfli \dgcfpd\ek,
        2. Base Salary, Sign-On Bonus and Annual Bonus. Rfli `e`k`Xc XeelXc YXj\ jXcXip iXk\ n`cc Y\ "5..*...,..* c\jj Xcc
Xggc`ZXYc\ [\[lZk`fej Xe[ n`k__fc[`e^j Xe[ gXpXYc\ `e XZZfi[XeZ\ n`k_ CXqq I_XidXZ\lk`ZXcj{ ZljkfdXip gXpifcc giXZk`Z\j, :j Xe
\o\dgk \dgcfp\\* pfl n`cc Y\ gX`[ fe X jXcXi`\[ YXj`j Xe[ pfl n`cc Y\ \og\Zk\[ kf nfib k_\ eldY\i f] _flij i\hl`i\[ kf [f pfli
afY n\cc Xe[ pfl Xi\ efk \c`^`Yc\ ]fi fm\ik`d\ Zfdg\ejXk`fe, LXcXip `j jlYa\Zk kf g\i`f[`Z i\m`\n Xe[ X[aljkd\ek Yp CXqq
I_XidXZ\lk`ZXcj* `e XZZfi[XeZ\ n`k_ `kj efidXc giXZk`Z\j9 n\ _Xm\ X <fdgXep+n`[\ g\i]fidXeZ\ i\m`\n gifZ\jj k_Xk kXb\j gcXZ\
\Xicp `e \XZ_ ZXc\e[Xi p\Xi,

       Rfl n`cc Y\ \c`^`Yc\ kf i\Z\`m\ X ZXj_ j`^e+fe Yfelj `e k_\ Xdflek f] NL= "/3.*...,.. jlYa\Zk kf Xggc`ZXYc\ kXo
n`k__fc[`e^j Xe[ gX`[ n`k_`e 1. [Xpj f] pfli [Xk\ f] _`i\, K\Z\`gk f] pfli j`^e+fe Yfelj n`cc Y\ Zfek`e^\ek lgfe pfl j`^e`e^ X
L`^e+He ;felj K\gXpd\ek :^i\\d\ek le[\i n_`Z_ pfl n`cc Y\ i\hl`i\[ kf i\gXp k_\ ]lcc j`^e+fe Yfelj `] pfli \dgcfpd\ek
k\id`eXk\j gi`fi kf pfli 02+dfek_ Xee`m\ijXip f] pfli jkXik [Xk\ le[\i k_\ k\idj Xe[ Zfe[`k`fej j\k ]fik_ `e k_\ L`^e+He ;felj
K\gXpd\ek :^i\\d\ek, M_\ L`^e+He ;felj K\gXpd\ek :^i\\d\ek n`cc Y\ i\m`\n\[ Xe[ j`^e\[ `e k_\ HeYfXi[`e^ IfikXc,

        Rfl n`cc Y\ \c`^`Yc\ ]fi Zfej`[\iXk`fe f] Xe XeelXc Yfelj* Xe[ `e k_`j gfj`k`fe* pfli XeelXc kXi^\k Yfelj n`cc Y\ j`okp
g\iZ\ek &4.#' f] pfli XeelXc YXj\ jXcXip iXk\* glijlXek kf k_\ CXqq I_XidXZ\lk`ZXcj @cfYXc <Xj_ ;felj IcXe, M_\ Xdflek f] pfli
Yfelj n`cc Y\ YXj\[ fe k_\ <fdgXep{j c\m\c f] XZ_`\m\d\ek f] `kj XeelXc fYa\Zk`m\j* Xe[ fe pfli c\m\c f] XZ_`\m\d\ek f] pfli
fYa\Zk`m\j, ;felj\j Xi\ efk ^lXiXek\\[* Xe[ n_\k_\i k_\i\ n`cc Y\ X Yfelj `e Xep p\Xi* Xe[ k_\ Xdflek f] Xep Yfelj* `j n`k_`e k_\
[`jZi\k`fe f] k_\ ;fXi[ f] =`i\Zkfij f] CXqq I_XidXZ\lk`ZXcj gcZ, M_\ @cfYXc <Xj_ ;felj IcXe p\Xi ilej CXelXip k_ifl^_
=\Z\dY\i* Xe[ XeelXc Yfelj XnXi[j Xi\ kpg`ZXccp gX`[ `e k_\ ]`ijk hlXik\i f] k_\ ]fccfn`e^ p\Xi, Rfli Yfelj ]fi 0.02 n`cc Y\
gifiXk\[ [l\ kf pfli gXik`Xc p\Xi f] \dgcfpd\ek Xe[ `e XZZfi[XeZ\ n`k_ pfli jkXik [Xk\,
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        3. Employee Benefits. Rfl ^\e\iXccp n`cc Y\ \c`^`Yc\ kf gXik`Z`gXk\ `e Xcc \dgcfp\\ Y\e\]`kj n_`Z_ Xi\ \ok\e[\[ kf fk_\i
j`d`cXicp+j`klXk\[ \dgcfp\\j Xk CXqq I_XidXZ\lk`ZXcj* `eZcl[`e^ d\[`ZXc Xe[ [\ekXc Y\e\]`kj* c`]\ `ejliXeZ\ Xe[ fk_\i Y\e\]`kj
f]]\i\[ kf i\^lcXi \dgcfp\\j* jlYa\Zk kf k_\ k\idj Xe[ Zfe[`k`fej f] k_\ Y\e\]`k gcXej, Rfl n`cc Y\ \c`^`Yc\ ]fi gX`[ k`d\ f]] Xe[
_fc`[Xpj `e XZZfi[XeZ\ n`k_ CXqq I_XidXZ\lk`ZXcj{ gfc`Z`\j* Xe[ pfl n`cc Y\ [\\d\[ X gXik`Z`gXek `e k_\ CXqq I_XidXZ\lk`ZXcj
:d\e[\[ Xe[ K\jkXk\[ >o\Zlk`m\ <_Xe^\ `e <fekifc Xe[ L\m\iXeZ\ ;\e\]`k IcXe,

        4. New Hire Equity Awards. Rfli f]]\i `eZcl[\j \c`^`Y`c`kp kf i\Z\`m\ X e\n _`i\ \hl`kp XnXi[ n`k_ X ^iXek [Xk\ mXcl\ f]
"2*...*...,..* f] n_`Z_ "0*...*...,.. n`cc Y\ `e k_\ ]fid f] K\jki`Zk\[ LkfZb Ne`kj &xRSUs”' Xe[ "0*...*...,.. n`cc Y\ `e k_\
]fid f] I\i]fidXeZ\ LkfZb Ne`kj &xPSUsy'* ^`m`e^ pfl X i`^_k kf i\Z\`m\ CXqq I_XidXZ\lk`ZXcj gcZ fi[`eXip j_Xi\j Xk X ]lkli\
[Xk\* jlYa\Zk kf XggifmXc Yp k_\ <fdg\ejXk`fe Xe[ FXeX^\d\ek =\m\cfgd\ek <fdd`kk\\ &xCMDCy'* k_\ k\idj Xe[ Zfe[`k`fej
f] k_\ CXqq I_XidXZ\lk`ZXcj gcZ 0.// >hl`kp BeZ\ek`m\ IcXe* Xe[ k_\ k\idj Xe[ Zfe[`k`fej f] k_\ Xggc`ZXYc\ XnXi[ X^i\\d\ekj,
Rfli e\n _`i\ KLNj n`cc m\jk `e ]fli \hlXc XeelXc `ejkXccd\ekj* jlYa\Zk kf pfli Zfek`el\[ \dgcfpd\ek k_ifl^_ \XZ_ m\jk`e^ [Xk\,
Rfli e\n _`i\ ILNj n`cc m\jk YXj\[ fe k_\ XZ_`\m\d\ek f] Z\ikX`e gi\+\jkXYc`j_\[ ]`eXeZ`Xc Xe[-fi jkiXk\^`Z g\i]fidXeZ\ ^fXcj Xj
[\k\id`e\[ Xk k_\ \e[ f] k_\ Xggc`ZXYc\ g\i]fidXeZ\ g\i`f[ &kpg`ZXccp* k_i\\ p\Xij' Yp k_\ CXqq ;fXi[ f] =`i\Zkfij,
        M_\ KLNj Xe[ ILNj n`cc Y\ ^iXek\[ fe k_\ j\Zfe[ kiX[`e^ [Xp ]fccfn`e^ k_\ ]`c`e^ [Xk\ f] k_\ <fdgXep{j e\ok hlXik\icp
fi XeelXc i\gfik ]`c\[ n`k_ k_\ N,L, L\Zli`k`\j Xe[ >oZ_Xe^\ <fdd`jj`fe ]fccfn`e^ pfli jkXik [Xk\ `e XZZfi[XeZ\ n`k_ k_\
<fdgXep{j >hl`kp BeZ\ek`m\ @iXek Ifc`Zp, >XZ_ f] pfli e\n _`i\ KLNj Xe[ ILNj n`cc Y\ Zfem\ik\[ ]ifd k_\ [fccXi mXcl\ j_fne
XYfm\ kf X eldY\i f] le`kj YXj\[ fe k_\ Xm\iX^\ Zcfj`e^ gi`Z\ f] CXqq gcZ Zfddfe j_Xi\j ]fi k_\ 1.+[Xp g\i`f[ \e[`e^ k_\ [Xp
gi`fi kf k_\ ^iXek [Xk\,
    Be X[[`k`fe* Xj gXik f] k_\ XeelXc Zfdg\ejXk`fe i\m`\n* pfl dXp i\Z\`m\ XeelXc \hl`kp XnXi[j jlYa\Zk kf XggifmXc Yp k_\
<F=<,
        5. Confidential Information and Inventions Agreement, Outside Employment. Mf \eXYc\ CXqq I_XidXZ\lk`ZXcj kf
jX]\^lXi[ `kj gifgi`\kXip Xe[ Zfe]`[\ek`Xc `e]fidXk`fe* `k `j X Zfe[`k`fe f] \dgcfpd\ek k_Xk pfl j`^e Xe[ Zfdgcp n`k_ CXqq
I_XidXZ\lk`ZXcj{ jkXe[Xi[ ]fid f] x>dgcfp\\ <fe]`[\ek`Xc Be]fidXk`fe Xe[ Bem\ek`fej :^i\\d\ek,y P\ le[\ijkXe[ k_Xk pfl Xi\
c`b\cp kf _Xm\ j`^e\[ j`d`cXi X^i\\d\ekj n`k_ gi`fi \dgcfp\ij* Xe[ n`j_ kf `dgi\jj lgfe pfl k_Xk CXqq I_XidXZ\lk`ZXcj [f\j efk
nXek kf i\Z\`m\ k_\ Zfe]`[\ek`Xc fi gifgi`\kXip `e]fidXk`fe f] fk_\ij* Xe[ [f\j efk nXek pfl kf lj\ jlZ_ `e]fidXk`fe `e k_\ Zflij\
f] pfli \dgcfpd\ek n`k_ lj* Xe[ CXqq I_XidXZ\lk`ZXcj n`cc jlggfik pfl `e i\jg\Zk`e^ pfli cXn]lc fYc`^Xk`fej kf gi`fi \dgcfp\ij,
;p XZZ\gk`e^ k_`j f]]\i* pfl Xi\ i\gi\j\ek`e^ kf CXqq I_XidXZ\lk`ZXcj k_Xk pfli \dgcfpd\ek n`k_ CXqq I_XidXZ\lk`ZXcj Xe[ k_\
g\i]fidXeZ\ f] pfli [lk`\j n`cc efk m`fcXk\ Xep X^i\\d\ekj pfl dXp _Xm\ n`k_* fi kiX[\ j\Zi\kj f]* Xep k_`i[ gXik`\j, Rfl X^i\\
k_Xk* [li`e^ pfli \dgcfpd\ek n`k_ CXqq I_XidXZ\lk`ZXcj Xe[ `e XZZfi[XeZ\ n`k_ fli Hlkj`[\ >dgcfpd\ek gfc`Zp* pfl n`cc efk
\e^X^\ `e Xep Ylj`e\jj XZk`m`kp k_Xk Zfdg\k\j n`k_ CXqq I_XidXZ\lk`ZXcj* Xe[ pfl n`cc efk`]p d\ &]fi i\m`\n Xe[ XggifmXc' `] pfl
Xi\ Zfej`[\i`e^ XZZ\gk`e^ fi Zfek`el`e^ flkj`[\ nfib* `eZcl[`e^ j\c]+\dgcfpd\ek* Zfejlck`e^ XiiXe^\d\ekj* fi Xep ifc\j fe Xep
;fXi[j f] =`i\Zkfij,
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        6. Code of Conduct. CXqq I_XidXZ\lk`ZXcj `j Zfdd`kk\[ kf `ek\^i`kp Xe[ k_\ glijl`k f] \oZ\cc\eZ\ `e Xcc n\ [f, P\ ]lc]`cc
k_\j\ Zfdd`kd\ekj n_`c\ lg_fc[`e^ X _`^_ c\m\c f] \k_`ZXc Zfe[lZk, M_\ <f[\ f] <fe[lZk `j fe\ \c\d\ek f] CXqq
I_XidXZ\lk`ZXcj{ \]]fikj kf \ejli\ cXn]lc Xe[ \k_`ZXc Zfe[lZk Yp k_\ <fdgXep Xe[ `kj jlYj`[`Xi`\j Xe[ k_\`i \dgcfp\\j* f]]`Z\ij
Xe[ [`i\Zkfij, Bk `j X Zfe[`k`fe f] \dgcfpd\ek k_Xk pfl i\X[* X^i\\ kf Xe[ j`^e CXqq I_XidXZ\lk`ZXcj{ <f[\ f] <fe[lZk `e k_\ ]`ijk
n\\b f] \dgcfpd\ek, B] pfl _Xm\ hl\jk`fej XYflk k_\ <f[\ f] <fe[lZk* gc\Xj\ c\k AldXe K\jfliZ\j befn Xe[ n\ n`cc \ejli\
k_Xk pfl i\Z\`m\ Xejn\ij kf pfli `ehl`i`\j Xj hl`Zbcp Xj gfjj`Yc\,
        7. At-Will Employment Status. L_flc[ pfl [\Z`[\ kf XZZ\gk fli f]]\i* pfl n`cc Y\ Xe xXk+n`ccy \dgcfp\\ f] CXqq
I_XidXZ\lk`ZXcj, M_`j d\Xej k_Xk \`k_\i pfl fi CXqq I_XidXZ\lk`ZXcj dXp k\id`eXk\ k_\ \dgcfpd\ek i\cXk`fej_`g Xk Xep k`d\*
n`k_ fi n`k_flk ZXlj\* Xe[ n`k_ fi n`k_flk X[mXeZ\ efk`Z\, =l\ kf pfli Xk+n`cc \dgcfpd\ek jkXklj* CXqq I_XidXZ\lk`ZXcj Xcjf
i\kX`ej k_\ [`jZi\k`fe kf df[`]p k_\ k\idj Xe[ Zfe[`k`fej f] pfli \dgcfpd\ek &n`k_ \oZ\gk`fe f] pfli Xk+n`cc jkXklj'* `eZcl[`e^
Ylk efk c`d`k\[ kf pfli jXcXip* `eZ\ek`m\ Zfdg\ejXk`fe Xe[ Y\e\]`kj* Xj n\cc Xj pfli afY k`kc\* cfZXk`fe* [lk`\j* i\jgfej`Y`c`k`\j*
Xjj`^ed\ekj Xe[ i\gfik`e^ i\cXk`fej_`gj, IXik`Z`gXk`fe `e Xep Y\e\]`k* Zfdg\ejXk`fe fi Yfelj gif^iXd [f\j efk Z_Xe^\ k_\ eXkli\
f] k_\ \dgcfpd\ek i\cXk`fej_`g* n_`Z_ i\dX`ej xXk+n`ccy,
        8. Authorization To Work. ?\[\iXc ^fm\ied\ek i\^lcXk`fej i\hl`i\ k_Xk Xcc \dgcfp\\j gi\j\ek [fZld\ekXk`fe m\i`]p`e^
k_\`i `[\ek`kp Xe[ [\dfejkiXk`e^ k_Xk k_\p Xi\ Xlk_fi`q\[ kf nfib `e k_\ Ne`k\[ LkXk\j, Rfli \dgcfpd\ek `j Zfek`e^\ek fe pfli
XY`c`kp kf gifm\ pfli `[\ek`kp Xe[ Xlk_fi`qXk`fe kf nfib `e k_\ Ne`k\[ LkXk\j* Xe[ pfli Zfdgc`XeZ\ n`k_ k_\ ^fm\ied\ek{j
\dgcfpd\ek m\i`]`ZXk`fe i\hl`i\d\ekj,
       9. Offer Contingencies. M_`j f]]\i `j Zfek`e^\ek lgfe jXk`j]XZkfip Zfdgc\k`fe &Xj [\k\id`e\[ Yp k_\ <fdgXep' f] pfli
YXZb^ifle[ Xe[ i\]\i\eZ\ Z_\Zbj* `eZcl[`e^ Ylk efk c`d`k\[ kf m\i`]`ZXk`fe f] gi\m`flj \dgcfpd\ek i\Zfi[* XZX[\d`Z
XZ_`\m\d\ek Xe[ Zi`d`eXc YXZb^ifle[,
        10. Complete Offer and Agreement. M_`j c\kk\i* `eZcl[`e^ k_\ >dgcfp\\ <fe]`[\ek`Xc Be]fidXk`fe Xe[ Bem\ek`fej
:^i\\d\ek i\]\i\eZ\[ _\i\`e* ZfekX`ej fli Zfdgc\k\ le[\ijkXe[`e^ Xe[ X^i\\d\ek i\^Xi[`e^ k_\ k\idj f] pfli \dgcfpd\ek n`k_
CXqq I_XidXZ\lk`ZXcj* Xe[ `k `j \ek\i\[ `ekf n`k_flk i\c`XeZ\ fe Xep gifd`j\ fi i\gi\j\ekXk`fe* ni`kk\e fi fiXc* fk_\i k_Xe k_fj\
\ogi\jjcp ZfekX`e\[ _\i\`e* Xe[ `k jlg\ij\[\j Xep fk_\i jlZ_ gifd`j\j* nXiiXek`\j fi i\gi\j\ekXk`fej, M_\i\ Xi\ ef fk_\i* [`]]\i\ek
fi gi`fi X^i\\d\ekj fi le[\ijkXe[`e^j fe k_`j fi i\cXk\[ jlYa\Zkj,
        11. Start Date, Acceptance of Offer. E\k{j Zfek`el\ kf [`jZljj pfli jkXik [Xk\ n`k_ k_\ X`d kf ]`eXc`q\ pfli jkXik [Xk\ Yp
\e[ f] k_`j n\\b, Mf XZZ\gk fli f]]\i f] \dgcfpd\ek* gc\Xj\ j`^e k_\ \eZcfj\[ Zfgp f] k_`j c\kk\i `e k_\ jgXZ\ gifm`[\[ Y\cfn Yp
k_\ Zcfj\ f] Ylj`e\jj fe ?i`[Xp ?\YilXip 0* 0.02,
I_`c`g* n\ Xi\ `dgi\jj\[ Yp pfli XZZfdgc`j_d\ekj Xe[ gfk\ek`Xc* Xe[ n\ Xi\ \ek_lj`Xjk`Z Xk k_\ gifjg\Zk f] pfl af`e`e^ lj, B cffb
]finXi[ kf pfli \Xicp XZZ\gkXeZ\ f] k_`j f]]\i* Xe[ kf pfli Zfeki`Ylk`fej kf k_\ ^ifnk_ Xe[ jlZZ\jj f] CXqq I_XidXZ\lk`ZXcj,
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B] pfl _Xm\ Xep hl\jk`fej XYflk k_`j c\kk\i* gc\Xj\ c\k d\ befn fi ]\\c ]i\\ kf ZfekXZk A\`[` FXeeX* fli <_`\] I\fgc\ H]]`Z\i,


L`eZ\i\cp*


-j- ;ilZ\ <, <fqX[[
;ilZ\ <fqX[[
<_X`idXe $ <>H



ACCEPTANCE OF EMPLOYMENT OFFER:

B _\i\Yp XZZ\gk k_\ f]]\i f] \dgcfpd\ek Yp CXqq I_XidXZ\lk`ZXcj fe k_\ k\idj j\k ]fik_ `e k_`j c\kk\i,


L`^eXkli\8 -j- I_`c`g E, Cf_ejfe

=Xk\8   .4 ?\YilXip 0.02
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                                                                                33331  10.2



                                                    JAZZ PHARMACEUTICALS PLC

                                      NON-EMPLOYEE DIRECTOR COMPENSATION POLICY

         Gfe+\dgcfp\\ d\dY\ij f] k_\ YfXi[ f] [`i\Zkfij &k_\ xBoardy' f] CXqq I_XidXZ\lk`ZXcj gcZ &k_\ xCompanyy' j_Xcc Y\ \c`^`Yc\ kf
i\Z\`m\ ZXj_ Xe[ \hl`kp Zfdg\ejXk`fe Xj j\k ]fik_ `e k_`j Gfe+>dgcfp\\ =`i\Zkfi <fdg\ejXk`fe Ifc`Zp &k_`j xPolicyy', M_\ ZXj_
Zfdg\ejXk`fe Xe[ \hl`kp ^iXekj [\jZi`Y\[ `e k_`j Ifc`Zp j_Xcc Y\ gX`[ fi Y\ dX[\* Xj Xggc`ZXYc\* XlkfdXk`ZXccp Xe[ n`k_flk ]lik_\i XZk`fe f]
k_\ ;fXi[* kf \XZ_ d\dY\i f] k_\ ;fXi[ n_f `j efk Xe \dgcfp\\ f] k_\ <fdgXep fi Xep gXi\ek fi jlYj`[`Xip f] k_\ <fdgXep &\XZ_* X xNon-
Employee Directory' n_f dXp Y\ \c`^`Yc\ kf i\Z\`m\ jlZ_ ZXj_ Zfdg\ejXk`fe fi \hl`kp ^iXekj* lec\jj jlZ_ Gfe+>dgcfp\\ =`i\Zkfi [\Zc`e\j
k_\ i\Z\`gk f] jlZ_ ZXj_ Zfdg\ejXk`fe fi \hl`kp ^iXekj Yp ni`kk\e efk`Z\ kf k_\ <fdgXep, M_`j Ifc`Zp j_Xcc i\dX`e `e \]]\Zk lek`c `k `j i\m`j\[
fi i\jZ`e[\[ Yp ]lik_\i XZk`fe f] k_\ ;fXi[,

/, <Xj_ <fdg\ejXk`fe,

       &X' LlYa\Zk kf L\Zk`fe /&Y' Xe[ L\Zk`fe 1 Y\cfn* \XZ_ Gfe+>dgcfp\\ =`i\Zkfi j_Xcc Y\ \c`^`Yc\ kf i\Z\`m\ ZXj_ Zfdg\ejXk`fe f]
"53*... ]fi j\im`Z\ fe k_\ ;fXi[, Be X[[`k`fe* X Gfe+>dgcfp\\ =`i\Zkfi j\im`e^ Xj8

                &`' c\X[ `e[\g\e[\ek [`i\Zkfi f] k_\ ;fXi[ j_Xcc Y\ \c`^`Yc\ kf i\Z\`m\ X[[`k`feXc ZXj_ Zfdg\ejXk`fe f] "3.*... g\i p\Xi ]fi
                          jlZ_ j\im`Z\9

                &``' Z_X`ig\ijfe f] k_\ :l[`k <fdd`kk\\ j_Xcc Y\ \c`^`Yc\ kf i\Z\`m\ X[[`k`feXc ZXj_ Zfdg\ejXk`fe f] "03*... g\i p\Xi ]fi
                         jlZ_ j\im`Z\9

                &```' d\dY\ij &fk_\i k_Xe k_\ Z_X`ig\ijfe' f] k_\ :l[`k <fdd`kk\\ j_Xcc Y\ \c`^`Yc\ kf i\Z\`m\ X[[`k`feXc ZXj_ Zfdg\ejXk`fe
                        f] "/3*... g\i p\Xi ]fi jlZ_ j\im`Z\9

                &`m' Z_X`ig\ijfe f] k_\ <fdg\ejXk`fe $ FXeX^\d\ek =\m\cfgd\ek <fdd`kk\\ &k_\ xCompensation Committeey' j_Xcc Y\
                         \c`^`Yc\ kf i\Z\`m\ X[[`k`feXc ZXj_ Zfdg\ejXk`fe f] "03*... g\i p\Xi ]fi jlZ_ j\im`Z\9

                &m' d\dY\ij &fk_\i k_Xe k_\ Z_X`ig\ijfe' f] k_\ <fdg\ejXk`fe <fdd`kk\\ j_Xcc Y\ \c`^`Yc\ kf i\Z\`m\ X[[`k`feXc ZXj_
                       Zfdg\ejXk`fe f] "/0*3.. g\i p\Xi ]fi jlZ_ j\im`Z\9

                &m`' Z_X`ig\ijfe f] k_\ Gfd`eXk`e^ Xe[ <figfiXk\ @fm\ieXeZ\ <fdd`kk\\ j_Xcc Y\ \c`^`Yc\ kf i\Z\`m\ X[[`k`feXc ZXj_
                         Zfdg\ejXk`fe f] "0.*... g\i p\Xi ]fi jlZ_ j\im`Z\9

                &m``' d\dY\ij &fk_\i k_Xe k_\ Z_X`ig\ijfe' f] k_\ Gfd`eXk`e^ Xe[ <figfiXk\ @fm\ieXeZ\ <fdd`kk\\ j_Xcc Y\ \c`^`Yc\ kf
                        i\Z\`m\ X[[`k`feXc ZXj_ Zfdg\ejXk`fe f] "/.*... g\i p\Xi ]fi jlZ_ j\im`Z\9

                &m```' Z_X`ig\ijfe f] k_\ LZ`\eZ\ $ F\[`Z`e\ <fdd`kk\\ j_Xcc Y\ \c`^`Yc\ kf i\Z\`m\ X[[`k`feXc ZXj_ Zfdg\ejXk`fe f] "03*...
                         g\i p\Xi ]fi jlZ_ j\im`Z\9

                &`o' d\dY\ij &fk_\i k_Xe k_\ Z_X`ig\ijfe f] k_\ LZ`\eZ\ $ F\[`Z`e\ <fdd`kk\\' j_Xcc Y\ \c`^`Yc\ kf i\Z\`m\ X[[`k`feXc ZXj_
                       Zfdg\ejXk`fe f] "/0*3.. g\i p\Xi ]fi jlZ_ j\im`Z\9
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                &o' Z_X`ig\ijfe f] k_\ MiXejXZk`fe <fdd`kk\\ j_Xcc Y\ \c`^`Yc\ kf i\Z\`m\ X[[`k`feXc ZXj_ Zfdg\ejXk`fe f] "3*... g\i d\\k`e^
                         lg kf "0.*... g\i p\Xi ]fi jlZ_ j\im`Z\9 Xe[

                &o`' d\dY\ij &fk_\i k_Xe k_\ Z_X`ig\ijfe' f] k_\ MiXejXZk`fe <fdd`kk\\ j_Xcc Y\ \c`^`Yc\ kf i\Z\`m\ X[[`k`feXc ZXj_
                       Zfdg\ejXk`fe f] "0*3.. g\i d\\k`e^ lg kf "/.*... g\i p\Xi ]fi jlZ_ j\im`Z\,

         M_\ X[[`k`feXc ZXj_ Zfdg\ejXk`fe ]fi k_\ Gfe+>dgcfp\\ =`i\Zkfi{j j\im`Z\ fe k_\ <fdd`kk\\j fk_\i k_Xe k_\ MiXejXZk`fe <fdd`kk\\
j_Xcc Y\ gX`[ `e ]fli \hlXc hlXik\icp `ejkXccd\ekj* \Xie\[ lgfe k_\ Zfdgc\k`fe f] j\im`Z\ `e \XZ_ ZXc\e[Xi hlXik\i, M_\ X[[`k`feXc ZXj_
Zfdg\ejXk`fe ]fi k_\ Gfe+>dgcfp\\ =`i\Zkfi{j j\im`Z\ fe k_\ MiXejXZk`fe <fdd`kk\\ j_Xcc Y\ gX`[ `e ]fli hlXik\icp `ejkXccd\ekj* \Xie\[
lgfe k_\ Zfdgc\k`fe f] j\im`Z\j `e \XZ_ ZXc\e[Xi hlXik\i,

         &Y' >XZ_ g\ijfe n_f `j \c\Zk\[ fi Xggf`ek\[ kf Y\ X Gfe+>dgcfp\\ =`i\Zkfi fi n_f `j Xggf`ek\[ kf j\im\ Xj c\X[ `e[\g\e[\ek [`i\Zkfi
fi X d\dY\i fi Z_X`ig\ijfe f] fe\ f] k_\ <fdd`kk\\j [\jZi`Y\[ XYfm\* `e \XZ_ ZXj\ fk_\i k_Xe fe k_\ ]`ijk ZXc\e[Xi [Xp f] X ZXc\e[Xi hlXik\i*
j_Xcc Y\ \c`^`Yc\ kf i\Z\`m\ X gif iXkX Xdflek f] k_\ XeelXc i\kX`e\ij [\jZi`Y\[ XYfm\ n`k_ i\jg\Zk kf k_\ ZXc\e[Xi hlXik\i `e n_`Z_ jlZ_ g\ijfe
Y\Zfd\j X Gfe+>dgcfp\\ =`i\Zkfi* c\X[ `e[\g\e[\ek [`i\Zkfi fi X d\dY\i fi Z_X`ig\ijfe f] fe\ f] k_\ <fdd`kk\\j* Xj Xggc`ZXYc\* n_`Z_ gif
iXkX Xdflek i\]c\Zkj X i\[lZk`fe ]fi \XZ_ ZXc\e[Xi [Xp [li`e^ k_\ ZXc\e[Xi hlXik\i gi`fi kf k_\ [Xk\ f] jlZ_ \c\Zk`fe fi Xggf`ekd\ek,

         &Z' >XZ_ Gfe+>dgcfp\\ =`i\Zkfi n`cc Y\ \ek`kc\[ kf i\`dYlij\d\ek ]ifd k_\ <fdgXep ]fi _`j fi _\i i\XjfeXYc\ kiXm\c &`eZcl[`e^
X`i]Xi\ Xe[ ^ifle[ kiXejgfikXk`fe'* cf[^`e^ Xe[ d\Xc \og\ej\j `eZ`[\ekXc kf d\\k`e^j f] k_\ ;fXi[ fi Zfdd`kk\\j k_\i\f], B] Xep
i\`dYlij\d\ek gXpd\ek `j jlYa\Zk kf kXo `dgfj\[ Yp k_\ Bi`j_ K\m\el\ <fdd`jj`fe\ij &xRevenuey'* \XZ_ Gfe+>dgcfp\\ =`i\Zkfi n`cc Y\
\ek`kc\[ kf X gXpd\ek* lg kf Xe Xdflek &xTax Reimbursement Paymenty' jlZ_ k_Xk X]k\i k_\ [\[lZk`fe f] Xcc kXo\j &`eZcl[`e^* n`k_flk
c`d`kXk`fe* Xep `eZfd\ kXo\j ZXcZlcXk\[ Xk k_\ iXk\ Xggc`ZXYc\ kf \XZ_ Gfe+>dgcfp\\ =`i\Zkfi ]fi k_\ p\Xi `e n_`Z_ k_\ \og\ej\j n\i\
`eZlii\[' fe k_\ MXo K\`dYlij\d\ek IXpd\ek* k_\ Gfe+>dgcfp\\ =`i\Zkfi n`cc i\kX`e Xe Xdflek \hlXc kf k_\ ]lcc i\`dYlij\d\ek gXpd\ek,
:cc kXo\j [l\ n`cc Y\ gX`[ Yp k_\ <fdgXep kf K\m\el\,

0, >hl`kp <fdg\ejXk`fe, M_\ i\jki`Zk\[ jkfZb le`k &xRSUy' XnXi[j [\jZi`Y\[ Y\cfn j_Xcc Y\ ^iXek\[ le[\i Xe[ j_Xcc Y\ jlYa\Zk kf k_\ k\idj
Xe[ gifm`j`fej f] k_\ <fdgXep{j :d\e[\[ Xe[ K\jkXk\[ 0..5 Gfe+>dgcfp\\ =`i\Zkfij LkfZb :nXi[ IcXe &k_\ xNEDSAPy',

         &X' >c`^`Y`c`kp, LlYa\Zk kf L\Zk`fe 1 Y\cfn* Y\^`ee`e^ n`k_ k_\ XeelXc ^\e\iXc d\\k`e^ f] k_\ <fdgXep{j j_Xi\_fc[\ij &Xe xAGMy'
_\c[ `e 0.0/* \XZ_ g\ijfe n_f `j X Gfe+>dgcfp\\ =`i\Zkfi Xk Xe :@F Xe[ n_f Zfek`el\j Xj X Gfe+>dgcfp\\ =`i\Zkfi ]fccfn`e^ jlZ_
d\\k`e^ XlkfdXk`ZXccp j_Xcc Y\ ^iXek\[ Xe KLN XnXi[ &Xe xAnnual Granty' fe k_\ ^iXek [Xk\ j\k ]fik_ `e L\Zk`fe 0&Y' Y\cfn, Be X[[`k`fe*
jlYa\Zk kf L\Zk`fe 1 Y\cfn* \XZ_ g\ijfe n_f `j \c\Zk\[ fi Xggf`ek\[ kf Y\ X Gfe+>dgcfp\\ =`i\Zkfi ]fi k_\ ]`ijk k`d\ fk_\i k_Xe Xk Xe :@F
Xe[ X]k\i k_\ :@F _\c[ `e 0.0/* XlkfdXk`ZXccp j_Xcc Y\ ^iXek\[ X gifiXk\[ KLN XnXi[ &X xProrated Annual Granty' fe k_\ ^iXek [Xk\ j\k
]fik_ `e L\Zk`fe 0&Y' Y\cfn* gifm`[\[ k_Xk jlZ_ g\ijfe `j X Gfe+>dgcfp\\ =`i\Zkfi fe jlZ_ ^iXek [Xk\,

        &Y' @iXek =Xk\, M_\ ^iXek [Xk\ f] \XZ_ :eelXc @iXek j_Xcc Y\ k_\ [Xp f] k_\ Xggc`ZXYc\ :@F* Xe[ k_\ ^iXek [Xk\ f] \XZ_ IifiXk\[
:eelXc @iXek j_Xcc Y\ k_\ j\Zfe[ kiX[`e^ [Xp ]fccfn`e^ k_\ ]`c`e^ [Xk\ f] k_\ <fdgXep{j e\ok hlXik\icp fi XeelXc i\gfik ]`c\[ le[\i k_\
L\Zli`k`\j >oZ_Xe^\ :Zk f] /712* Xj Xd\e[\[* k_Xk fZZlij X]k\i k_\ [Xk\ f] k_\ Gfe+>dgcfp\\ =`i\Zkfi{j `e`k`Xc \c\Zk`fe fi Xggf`ekd\ek,

        &Z' @iXek =Xk\ OXcl\, M_\ ^iXek [Xk\ mXcl\ f] \XZ_ :eelXc @iXek j_Xcc Y\ \hlXc kf Xggifo`dXk\cp "2..*..., M_\ ^iXek [Xk\ mXcl\ f]
\XZ_ IifiXk\[ :eelXc @iXek j_Xcc Y\ gifiXk\[ kf i\]c\Zk k_\ j_fik\e\[
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g\i`f[ f] j\im`Z\ &Yp dlck`gcp`e^ "2..*... Yp k_\ hlfk`\ek &ifle[\[ kf k_\ e\Xi\jk _le[i\[k_' fYkX`e\[ Yp [`m`[`e^ k_\ eldY\i f] ZXc\e[Xi
[Xpj ]ifd Xe[ `eZcl[`e^ k_\ [Xk\ f] k_\ Gfe+>dgcfp\\ =`i\Zkfi{j `e`k`Xc \c\Zk`fe fi Xggf`ekd\ek kf Xe[ `eZcl[`e^ k_\ [Xk\ k_Xk `j k_\ ]`ijk
Xee`m\ijXip f] k_\ gi`fi :@F Yp 143',

        &[' GldY\i f] Hi[`eXip L_Xi\j, M_\ eldY\i f] fi[`eXip j_Xi\j f] k_\ <fdgXep &xOrdinary Sharesy' jlYa\Zk kf \XZ_ :eelXc @iXek
Xe[ IifiXk\[ :eelXc @iXek j_Xcc Y\ [\k\id`e\[ Yp [`m`[`e^ k_\ ^iXek [Xk\ mXcl\* `e \XZ_ ZXj\ Xj j\k ]fik_ `e L\Zk`fe 0&Z' XYfm\* Yp k_\
Xm\iX^\ f] k_\ [X`cp Zcfj`e^ gi`Z\j g\i j_Xi\ f] k_\ Hi[`eXip L_Xi\j [li`e^ k_\ 1. ZXc\e[Xi [Xp g\i`f[ \e[`e^ fe Xe[ `eZcl[`e^ k_\ ^iXek [Xk\*
ifle[\[ kf k_\ e\Xi\jk j_Xi\ Yp Xggc`ZXk`fe f] i\^lcXi ifle[`e^,

         &\' O\jk`e^, >XZ_ :eelXc @iXek ^iXek\[ kf X Gfe+>dgcfp\\ =`i\Zkfi j_Xcc m\jk `e ]lcc fe k_\ ]`ijk Xee`m\ijXip f] k_\ :@F `e k_\ p\Xi
f] ^iXek Xe[ \XZ_ IifiXk\[ :eelXc @iXek ^iXek\[ kf X Gfe+>dgcfp\\ =`i\Zkfi j_Xcc m\jk `e ]lcc fe k_\ ]`ijk Xee`m\ijXip f] k_\ :@F _\c[ gi`fi
kf k_\ Gfe+>dgcfp\\ =`i\Zkfi{j `e`k`Xc \c\Zk`fe fi Xggf`ekd\ek* `e \XZ_ ZXj\ jlYa\Zk kf k_\ Gfe+>dgcfp\\ =`i\Zkfi{j <fek`elflj L\im`Z\ &Xj
[\]`e\[ `e k_\ G>=L:I' k_ifl^_ jlZ_ m\jk`e^ [Xk\, Gfkn`k_jkXe[`e^ k_\ ]fi\^f`e^* `] X Gfe+>dgcfp\\ =`i\Zkfi [f\j efk jkXe[ ]fi i\\c\Zk`fe
Xk Xe :@F `e k_\ p\Xi `e n_`Z_ _`j fi _\i k\id \og`i\j fi fk_\in`j\ i\j`^ej \]]\Zk`m\ Xk Xe :@F Xe[* `e \`k_\i ZXj\* k_\ Gfe+>dgcfp\\
=`i\Zkfi{j <fek`elflj L\im`Z\ k\id`eXk\j Xk jlZ_ :@F* k_\e \]]\Zk`m\ Xj f] k_\ [Xk\ f] jlZ_ :@F* k_\ lem\jk\[ gfik`fe* `] Xep* f] jlZ_ Gfe+
>dgcfp\\ =`i\Zkfi{j :eelXc @iXek fi IifiXk\[ :eelXc @iXek j_Xcc Y\Zfd\ m\jk\[ `e ]lcc,

       &]' M\idj Xe[ <fe[`k`fej, M_\ k\idj Xe[ Zfe[`k`fej Xggc`ZXYc\ kf \XZ_ :eelXc @iXek Xe[ IifiXk\[ :eelXc @iXek ^iXek\[ kf Gfe+
>dgcfp\\ =`i\Zkfij glijlXek kf k_`j Ifc`Zp j_Xcc Y\ jlYa\Zk kf k_\ k\idj Xe[ Zfe[`k`fej `e k_\ ]fidj f] KLN efk`Z\ f] ^iXek Xe[ KLN XnXi[
X^i\\d\ek gi\m`fljcp Xggifm\[ Yp k_\ ;fXi[ fi k_\ <fdg\ejXk`fe <fdd`kk\\* Xj Xggc`ZXYc\* Xe[ k_\ G>=L:I,

1, Gfe+>dgcfp\\ =`i\Zkfi <fdg\ejXk`fe E`d`k, M_\ X^^i\^Xk\ mXcl\ f] Xcc Zfdg\ejXk`fe ^iXek\[ fi gX`[* Xj Xggc`ZXYc\* Yp k_\ <fdgXep kf
Xep `e[`m`[lXc ]fi j\im`Z\ Xj X Gfe+>dgcfp\\ =`i\Zkfi n`k_ i\jg\Zk kf Xep g\i`f[ Zfdd\eZ`e^ fe k_\ [Xk\ f] k_\ :@F ]fi X gXik`ZlcXi p\Xi
Xe[ \e[`e^ fe k_\ ZXc\e[Xi [Xp `dd\[`Xk\cp gi`fi kf k_\ [Xk\ f] k_\ :@F ]fi k_\ jlYj\hl\ek p\Xi &k_\ xAnnual Periody'* `eZcl[`e^ \hl`kp
XnXi[j ^iXek\[ Xe[ ZXj_ ]\\j gX`[ Yp k_\ <fdgXep kf jlZ_ Gfe+>dgcfp\\ =`i\Zkfi* n`cc efk \oZ\\[ &`' "53.*... `e kfkXc mXcl\ fi &``' `e k_\
\m\ek jlZ_ Gfe+>dgcfp\\ =`i\Zkfi `j ]`ijk Xggf`ek\[ fi \c\Zk\[ kf k_\ ;fXi[ [li`e^ jlZ_ :eelXc I\i`f[* "/*13.*... `e kfkXc mXcl\* `e \XZ_
ZXj\ ZXcZlcXk`e^ k_\ mXcl\ f] Xep \hl`kp XnXi[j YXj\[ fe k_\ ^iXek [Xk\ ]X`i mXcl\ f] jlZ_ \hl`kp XnXi[j ]fi ]`eXeZ`Xc i\gfik`e^ gligfj\j,



                                                                    *****
Adopted by the Board of Directors of Jazz Pharmaceuticals plc on 2 May 2013.

Amended and restated by the Board of Directors of Jazz Pharmaceuticals plc on 1 August 2013.

Amended and restated by the Board of Directors of Jazz Pharmaceuticals plc on 1 May 2014.

Amended and restated by the Board of Directors of Jazz Pharmaceuticals plc on 30 October 2014.

Amended and restated by the Board of Directors of Jazz Pharmaceuticals plc on 30 April 2015.

Amended and restated by the Board of Directors of Jazz Pharmaceuticals plc on 4 May 2016.

Amended and restated by the Board of Directors of Jazz Pharmaceuticals plc on 3 May 2018.
  Case 1:21-cv-00691-GBW Document 619 Filed 05/22/24 Page 189 of 247 PageID #: 33334



Amended and restated by the Board of Directors of Jazz Pharmaceuticals plc on 21 July 2020.

Amended and restated by the Board of Directors of Jazz Pharmaceuticals plc on 28 April 2021.

Amended and restated by the Board of Directors of Jazz Pharmaceuticals plc on 29 July 2021.

Amended and restated by the Board of Directors of Jazz Pharmaceuticals plc on 28 April 2022.

Amended and restated by the Board of Directors of Jazz Pharmaceuticals plc on 4 May 2023.

Amended and restated by the Board of Directors of Jazz Pharmaceuticals plc on 25 April 2024.
     Case 1:21-cv-00691-GBW Document 619 Filed 05/22/24 Page 190 of 247 PageID #: 33335

                                                                                                                                                       Exhibit 31.1

                                                                       CERTIFICATION

B* ;ilZ\ <, <fqX[[* Z\ik`]p k_Xk8


/,   B _Xm\ i\m`\n\[ k_`j JlXik\icp K\gfik fe ?fid /.+J f] CXqq I_XidXZ\lk`ZXcj glYc`Z c`d`k\[ ZfdgXep9

0,   ;Xj\[ fe dp befnc\[^\* k_`j i\gfik [f\j efk ZfekX`e Xep lekil\ jkXk\d\ek f] X dXk\i`Xc ]XZk fi fd`k kf jkXk\ X dXk\i`Xc ]XZk e\Z\jjXip kf dXb\ k_\
     jkXk\d\ekj dX[\* `e c`^_k f] k_\ Z`iZldjkXeZ\j le[\i n_`Z_ jlZ_ jkXk\d\ekj n\i\ dX[\* efk d`jc\X[`e^ n`k_ i\jg\Zk kf k_\ g\i`f[ Zfm\i\[ Yp k_`j
     i\gfik9

1,   ;Xj\[ fe dp befnc\[^\* k_\ ]`eXeZ`Xc jkXk\d\ekj* Xe[ fk_\i ]`eXeZ`Xc `e]fidXk`fe `eZcl[\[ `e k_`j i\gfik* ]X`icp gi\j\ek `e Xcc dXk\i`Xc i\jg\Zkj k_\
     ]`eXeZ`Xc Zfe[`k`fe* i\jlckj f] fg\iXk`fej Xe[ ZXj_ ]cfnj f] k_\ i\^`jkiXek Xj f]* Xe[ ]fi* k_\ g\i`f[j gi\j\ek\[ `e k_`j i\gfik9

2,   M_\ i\^`jkiXek{j fk_\i Z\ik`]p`e^ f]]`Z\i&j' Xe[ B Xi\ i\jgfej`Yc\ ]fi \jkXYc`j_`e^ Xe[ dX`ekX`e`e^ [`jZcfjli\ Zfekifcj Xe[ gifZ\[li\j &Xj [\]`e\[ `e
     >oZ_Xe^\ :Zk Klc\j /1X+/3&\' Xe[ /3[+/3&\'' Xe[ `ek\ieXc Zfekifc fm\i ]`eXeZ`Xc i\gfik`e^ &Xj [\]`e\[ `e >oZ_Xe^\ :Zk Klc\j /1X+/3&]' Xe[ /3[+/3&]''
     ]fi k_\ i\^`jkiXek Xe[ _Xm\8

      X' =\j`^e\[ jlZ_ [`jZcfjli\ Zfekifcj Xe[ gifZ\[li\j* fi ZXlj\[ jlZ_ [`jZcfjli\ Zfekifcj Xe[ gifZ\[li\j kf Y\ [\j`^e\[ le[\i fli jlg\im`j`fe* kf
         \ejli\ k_Xk dXk\i`Xc `e]fidXk`fe i\cXk`e^ kf k_\ i\^`jkiXek* `eZcl[`e^ `kj Zfejfc`[Xk\[ jlYj`[`Xi`\j* `j dX[\ befne kf lj Yp fk_\ij n`k_`e k_fj\
         \ek`k`\j* gXik`ZlcXicp [li`e^ k_\ g\i`f[ `e n_`Z_ k_`j i\gfik `j Y\`e^ gi\gXi\[9

      Y' =\j`^e\[ jlZ_ `ek\ieXc Zfekifc fm\i ]`eXeZ`Xc i\gfik`e^* fi ZXlj\[ jlZ_ `ek\ieXc Zfekifc fm\i ]`eXeZ`Xc i\gfik`e^ kf Y\ [\j`^e\[ le[\i fli
         jlg\im`j`fe* kf gifm`[\ i\XjfeXYc\ XjjliXeZ\ i\^Xi[`e^ k_\ i\c`XY`c`kp f] ]`eXeZ`Xc i\gfik`e^ Xe[ k_\ gi\gXiXk`fe f] ]`eXeZ`Xc jkXk\d\ekj ]fi
         \ok\ieXc gligfj\j `e XZZfi[XeZ\ n`k_ ^\e\iXccp XZZ\gk\[ XZZflek`e^ gi`eZ`gc\j9
      Z' >mXclXk\[ k_\ \]]\Zk`m\e\jj f] k_\ i\^`jkiXek{j [`jZcfjli\ Zfekifcj Xe[ gifZ\[li\j Xe[ gi\j\ek\[ `e k_`j i\gfik fli ZfeZclj`fej XYflk k_\
         \]]\Zk`m\e\jj f] k_\ [`jZcfjli\ Zfekifcj Xe[ gifZ\[li\j* Xj f] k_\ \e[ f] k_\ g\i`f[ Zfm\i\[ Yp k_`j i\gfik YXj\[ fe jlZ_ \mXclXk`fe9 Xe[

      [' =`jZcfj\[ `e k_`j i\gfik Xep Z_Xe^\ `e k_\ i\^`jkiXek{j `ek\ieXc Zfekifc fm\i ]`eXeZ`Xc i\gfik`e^ k_Xk fZZlii\[ [li`e^ k_\ i\^`jkiXek{j dfjk i\Z\ek
         ]`jZXc hlXik\i &k_\ i\^`jkiXek{j ]flik_ ]`jZXc hlXik\i `e k_\ ZXj\ f] Xe XeelXc i\gfik' k_Xk _Xj dXk\i`Xccp X]]\Zk\[* fi `j i\XjfeXYcp c`b\cp kf dXk\i`Xccp
         X]]\Zk* k_\ i\^`jkiXek{j `ek\ieXc Zfekifc fm\i ]`eXeZ`Xc i\gfik`e^9 Xe[

3,   M_\ i\^`jkiXek{j fk_\i Z\ik`]p`e^ f]]`Z\i&j' Xe[ B _Xm\ [`jZcfj\[* YXj\[ fe fli dfjk i\Z\ek \mXclXk`fe f] `ek\ieXc Zfekifc fm\i ]`eXeZ`Xc i\gfik`e^* kf k_\
     i\^`jkiXek{j Xl[`kfij Xe[ k_\ Xl[`k Zfdd`kk\\ f] k_\ i\^`jkiXek{j YfXi[ f] [`i\Zkfij &fi g\ijfej g\i]fid`e^ k_\ \hl`mXc\ek ]leZk`fej'8

      X' :cc j`^e`]`ZXek [\]`Z`\eZ`\j Xe[ dXk\i`Xc n\Xbe\jj\j `e k_\ [\j`^e fi fg\iXk`fe f] `ek\ieXc Zfekifc fm\i ]`eXeZ`Xc i\gfik`e^ n_`Z_ Xi\ i\XjfeXYcp
         c`b\cp kf X[m\ij\cp X]]\Zk k_\ i\^`jkiXek{j XY`c`kp kf i\Zfi[* gifZ\jj* jlddXi`q\ Xe[ i\gfik ]`eXeZ`Xc `e]fidXk`fe9 Xe[
      Y' :ep ]iXl[* n_\k_\i fi efk dXk\i`Xc* k_Xk `emfcm\j dXeX^\d\ek fi fk_\i \dgcfp\\j n_f _Xm\ X j`^e`]`ZXek ifc\ `e k_\ i\^`jkiXek{j `ek\ieXc Zfekifc
         fm\i ]`eXeZ`Xc i\gfik`e^,

=Xk\8 FXp 0* 0.02                                                                 ;p8                              -j- ;ilZ\ <, <fqX[[
                                                                                                                     Bruce C. Cozadd
                                                                                                       Chairman and Chief Executive Officer and Director
     Case 1:21-cv-00691-GBW Document 619 Filed 05/22/24 Page 191 of 247 PageID #: 33336

                                                                                                                                                          Exhibit 31.2

                                                                       CERTIFICATION

B* I_`c`g E, Cf_ejfe* Z\ik`]p k_Xk8

/,   B _Xm\ i\m`\n\[ k_`j JlXik\icp K\gfik fe ?fid /.+J f] CXqq I_XidXZ\lk`ZXcj glYc`Z c`d`k\[ ZfdgXep9

0,   ;Xj\[ fe dp befnc\[^\* k_`j i\gfik [f\j efk ZfekX`e Xep lekil\ jkXk\d\ek f] X dXk\i`Xc ]XZk fi fd`k kf jkXk\ X dXk\i`Xc ]XZk e\Z\jjXip kf dXb\ k_\
     jkXk\d\ekj dX[\* `e c`^_k f] k_\ Z`iZldjkXeZ\j le[\i n_`Z_ jlZ_ jkXk\d\ekj n\i\ dX[\* efk d`jc\X[`e^ n`k_ i\jg\Zk kf k_\ g\i`f[ Zfm\i\[ Yp k_`j
     i\gfik9

1,   ;Xj\[ fe dp befnc\[^\* k_\ ]`eXeZ`Xc jkXk\d\ekj* Xe[ fk_\i ]`eXeZ`Xc `e]fidXk`fe `eZcl[\[ `e k_`j i\gfik* ]X`icp gi\j\ek `e Xcc dXk\i`Xc i\jg\Zkj k_\
     ]`eXeZ`Xc Zfe[`k`fe* i\jlckj f] fg\iXk`fej Xe[ ZXj_ ]cfnj f] k_\ i\^`jkiXek Xj f]* Xe[ ]fi* k_\ g\i`f[j gi\j\ek\[ `e k_`j i\gfik9

2,   M_\ i\^`jkiXek{j fk_\i Z\ik`]p`e^ f]]`Z\i&j' Xe[ B Xi\ i\jgfej`Yc\ ]fi \jkXYc`j_`e^ Xe[ dX`ekX`e`e^ [`jZcfjli\ Zfekifcj Xe[ gifZ\[li\j &Xj [\]`e\[ `e
     >oZ_Xe^\ :Zk Klc\j /1X+/3&\' Xe[ /3[+/3&\'' Xe[ `ek\ieXc Zfekifc fm\i ]`eXeZ`Xc i\gfik`e^ &Xj [\]`e\[ `e >oZ_Xe^\ :Zk Klc\j /1X+/3&]' Xe[ /3[+/3&]''
     ]fi k_\ i\^`jkiXek Xe[ _Xm\8

      X' =\j`^e\[ jlZ_ [`jZcfjli\ Zfekifcj Xe[ gifZ\[li\j* fi ZXlj\[ jlZ_ [`jZcfjli\ Zfekifcj Xe[ gifZ\[li\j kf Y\ [\j`^e\[ le[\i fli jlg\im`j`fe* kf
         \ejli\ k_Xk dXk\i`Xc `e]fidXk`fe i\cXk`e^ kf k_\ i\^`jkiXek* `eZcl[`e^ `kj Zfejfc`[Xk\[ jlYj`[`Xi`\j* `j dX[\ befne kf lj Yp fk_\ij n`k_`e k_fj\
         \ek`k`\j* gXik`ZlcXicp [li`e^ k_\ g\i`f[ `e n_`Z_ k_`j i\gfik `j Y\`e^ gi\gXi\[9

      Y' =\j`^e\[ jlZ_ `ek\ieXc Zfekifc fm\i ]`eXeZ`Xc i\gfik`e^* fi ZXlj\[ jlZ_ `ek\ieXc Zfekifc fm\i ]`eXeZ`Xc i\gfik`e^ kf Y\ [\j`^e\[ le[\i fli
         jlg\im`j`fe* kf gifm`[\ i\XjfeXYc\ XjjliXeZ\ i\^Xi[`e^ k_\ i\c`XY`c`kp f] ]`eXeZ`Xc i\gfik`e^ Xe[ k_\ gi\gXiXk`fe f] ]`eXeZ`Xc jkXk\d\ekj ]fi
         \ok\ieXc gligfj\j `e XZZfi[XeZ\ n`k_ ^\e\iXccp XZZ\gk\[ XZZflek`e^ gi`eZ`gc\j9
      Z' >mXclXk\[ k_\ \]]\Zk`m\e\jj f] k_\ i\^`jkiXek{j [`jZcfjli\ Zfekifcj Xe[ gifZ\[li\j Xe[ gi\j\ek\[ `e k_`j i\gfik fli ZfeZclj`fej XYflk k_\
         \]]\Zk`m\e\jj f] k_\ [`jZcfjli\ Zfekifcj Xe[ gifZ\[li\j* Xj f] k_\ \e[ f] k_\ g\i`f[ Zfm\i\[ Yp k_`j i\gfik YXj\[ fe jlZ_ \mXclXk`fe9 Xe[

      [' =`jZcfj\[ `e k_`j i\gfik Xep Z_Xe^\ `e k_\ i\^`jkiXek{j `ek\ieXc Zfekifc fm\i ]`eXeZ`Xc i\gfik`e^ k_Xk fZZlii\[ [li`e^ k_\ i\^`jkiXek{j dfjk i\Z\ek
         ]`jZXc hlXik\i &k_\ i\^`jkiXek{j ]flik_ ]`jZXc hlXik\i `e k_\ ZXj\ f] Xe XeelXc i\gfik' k_Xk _Xj dXk\i`Xccp X]]\Zk\[* fi `j i\XjfeXYcp c`b\cp kf dXk\i`Xccp
         X]]\Zk* k_\ i\^`jkiXek{j `ek\ieXc Zfekifc fm\i ]`eXeZ`Xc i\gfik`e^9 Xe[

3,   M_\ i\^`jkiXek{j fk_\i Z\ik`]p`e^ f]]`Z\i&j' Xe[ B _Xm\ [`jZcfj\[* YXj\[ fe fli dfjk i\Z\ek \mXclXk`fe f] `ek\ieXc Zfekifc fm\i ]`eXeZ`Xc i\gfik`e^* kf k_\
     i\^`jkiXek{j Xl[`kfij Xe[ k_\ Xl[`k Zfdd`kk\\ f] k_\ i\^`jkiXek{j YfXi[ f] [`i\Zkfij &fi g\ijfej g\i]fid`e^ k_\ \hl`mXc\ek ]leZk`fej'8

      X' :cc j`^e`]`ZXek [\]`Z`\eZ`\j Xe[ dXk\i`Xc n\Xbe\jj\j `e k_\ [\j`^e fi fg\iXk`fe f] `ek\ieXc Zfekifc fm\i ]`eXeZ`Xc i\gfik`e^ n_`Z_ Xi\ i\XjfeXYcp
         c`b\cp kf X[m\ij\cp X]]\Zk k_\ i\^`jkiXek{j XY`c`kp kf i\Zfi[* gifZ\jj* jlddXi`q\ Xe[ i\gfik ]`eXeZ`Xc `e]fidXk`fe9 Xe[

      Y' :ep ]iXl[* n_\k_\i fi efk dXk\i`Xc* k_Xk `emfcm\j dXeX^\d\ek fi fk_\i \dgcfp\\j n_f _Xm\ X j`^e`]`ZXek ifc\ `e k_\ i\^`jkiXek{j `ek\ieXc Zfekifc
         fm\i ]`eXeZ`Xc i\gfik`e^,



=Xk\8 FXp 0* 0.02                                                                 ;p8                               -j- I_`c`g E, Cf_ejfe
                                                                                                                        Philip L. Johnson
                                                                                                       Executive Vice President and Chief Financial Officer
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                                                                                                                                                   Exhibit 32.1
                                                                                         (1)
                                                                   CERTIFICATION
IlijlXek kf k_\ i\hl`i\d\ek j\k ]fik_ `e Klc\ /1X+/2&Y' f] k_\ L\Zli`k`\j >oZ_Xe^\ :Zk f] /712* Xj Xd\e[\[ &k_\ x>oZ_Xe^\ :Zky'* Xe[ L\Zk`fe /13. f]
<_Xgk\i 41 f] M`kc\ /6 f] k_\ Ne`k\[ LkXk\j <f[\ &/6 N,L,<, L\Zk`fe /13.'* ;ilZ\ <, <fqX[[* <_`\] >o\Zlk`m\ H]]`Z\i f] CXqq I_XidXZ\lk`ZXcj glYc`Z
c`d`k\[ ZfdgXep &k_\ x<fdgXepy'* Xe[ I_`c`g E, Cf_ejfe* >o\Zlk`m\ O`Z\ Ii\j`[\ek Xe[ <_`\] ?`eXeZ`Xc H]]`Z\i f] k_\ <fdgXep* \XZ_ _\i\Yp Z\ik`]`\j k_Xk*
kf k_\ Y\jk f] _`j befnc\[^\8

     /,   M_\ <fdgXep{j JlXik\icp K\gfik fe ?fid /.+J ]fi k_\ g\i`f[ \e[\[ FXiZ_ 1/* 0.02* kf n_`Z_ k_`j <\ik`]`ZXk`fe `j XkkXZ_\[ Xj >o_`Y`k 10,/ &k_\
          xI\i`f[`Z K\gfiky'* ]lccp Zfdgc`\j n`k_ k_\ i\hl`i\d\ekj f] L\Zk`fe /1&X' fi L\Zk`fe /3&[' f] k_\ >oZ_Xe^\ :Zk9 Xe[

     0,   M_\ `e]fidXk`fe ZfekX`e\[ `e k_\ I\i`f[`Z K\gfik ]X`icp gi\j\ekj* `e Xcc dXk\i`Xc i\jg\Zkj* k_\ ]`eXeZ`Xc Zfe[`k`fe Xe[ i\jlckj f] fg\iXk`fej f] k_\
          <fdgXep,



=Xk\8 FXp 0* 0.02

                        -j- ;ilZ\ <, <fqX[[
                           Bruce C. Cozadd
  Chairman and Chief Executive Officer and Director (Principal Executive
                                Officer)


                        -j- I_`c`g E, Cf_ejfe
                            Philip L. Johnson
           Executive Vice President and Chief Financial Officer
                     (Principal Accounting Officer)


VVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVV
 &/' M_`j Z\ik`]`ZXk`fe XZZfdgXe`\j k_\ JlXik\icp K\gfik fe ?fid /.+J kf n_`Z_ `k i\cXk\j* `j efk [\\d\[ ]`c\[ n`k_ k_\ L\Zli`k`\j Xe[ >oZ_Xe^\
     <fdd`jj`fe Xe[ `j efk kf Y\ `eZfigfiXk\[ Yp i\]\i\eZ\ `ekf Xep ]`c`e^ f] CXqq I_XidXZ\lk`ZXcj glYc`Z c`d`k\[ ZfdgXep le[\i k_\ L\Zli`k`\j :Zk f]
     /711* Xj Xd\e[\[* fi k_\ >oZ_Xe^\ :Zk &n_\k_\i dX[\ Y\]fi\ fi X]k\i k_\ [Xk\ f] k_\ ?fid /.+J'* `ii\jg\Zk`m\ f] Xep ^\e\iXc `eZfigfiXk`fe cXe^lX^\
     ZfekX`e\[ `e jlZ_ ]`c`e^, : j`^e\[ fi`^`eXc f] k_`j ni`kk\e jkXk\d\ek i\hl`i\[ Yp L\Zk`fe 7.4 f] k_\ LXiYXe\j+Hoc\p :Zk f] 0..0 _Xj Y\\e gifm`[\[ kf
     CXqq I_XidXZ\lk`ZXcj glYc`Z c`d`k\[ ZfdgXep Xe[ n`cc Y\ i\kX`e\[ Yp CXqq I_XidXZ\lk`ZXcj glYc`Z c`d`k\[ ZfdgXep Xe[ ]lie`j_\[ kf k_\ L\Zli`k`\j
     Xe[ >oZ_Xe^\ <fdd`jj`fe fi `kj jkX]] lgfe i\hl\jk,
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           EXHIBIT 7
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  Q1 2024 Earnings Call           (Corrected version)



   Event Details
  ;TgX5 -+-/)+0)+,
  :b`cTal5 ATmm G[Te`TVXhg\VT_f G_V
  K\V^Xe5 A8QQ)LJ

   Company Participants
  8aWeXT E* =_laa ) ATmm G[Te`TVXhg\VT_f G_V( M\VX GeXf\WXag $ ?XTW)@aiXfgbe IX_Tg\baf
  9ehVX :* :bmTWW ) ATmm G[Te`TVXhg\VT_f G_V( :[T\ecXefba $ :[\XY <kXVhg\iX FVXe
  IXatX ;* >T_s ) ATmm G[Te`TVXhg\VT_f G_V( GeXf\WXag $ :[\XY FcXeTg\aZ FVXe
  IbUXeg @TaabaX ) ATmm G[Te`TVXhg\VT_f G_V( <kXVhg\iX M\VX GeXf\WXag $ >_bUT_ ?XTW)IXfXTeV[ TaW
  ;XiX_bc`Xag
  G[\_\c C* Ab[afba ) ATmm G[Te`TVXhg\VT_f G_V( :[\XY =\aTaV\T_ FVXe $ <kXVhg\iX M\VX GeXf\WXag

   Other Participants
  AXff\VT =lX ) 8aT_lfg
  ATfba >XeUXeel ) 8aT_lfg
  DTeV >bbW`Ta ) 8aT_lfg
  8aaTUX_ JT`\`l ) 8aT_lfg
  8^Tf[ KXjTe\ ) 8aT_lfg
  8`\ =TW\T ) 8aT_lfg
  AbfXc[ K[b`X ) 8aT_lfg
  8f[jTa\ MXe`T ) 8aT_lfg
  Abba CXX ) 8aT_lfg
  >eXZbel IXamT ) 8aT_lfg
  ;Ti\W 8`fX__X` ) 8aT_lfg
  >Tel ETV[`Ta ) 8aT_lfg
  :[Te_Xf :* ;haVTa ) 8aT_lfg
  9T_T]\ GeTfTW ) 8aT_lfg



  MANAGEMENT DISCUSSION SECTION
             Operator


  ++5++5+0   K[Ta^ lbh Ybe fgTaW\aZ)Ul* Dl aT`X \f :[e\fgT( TaW @ j\__ UX lbhe VbaYXeXaVX bcXeTgbe gbWTl* 8g
             g[\f g\`X( @ jbh_W _\^X gb jX_Vb`X XiXelbaX gb g[X ATmm G[Te`TVXhg\VT_f =\efg HhTegXe -+-/
             <Tea\aZf :baYXeXaVX :T__* 8__ _\aXf [TiX UXXa c_TVXW ba `hgX gb ceXiXag Tal UTV^ZebhaW ab\fX*
             8YgXe g[X fcXT^Xef% eX`Te^f( g[XeX j\__ UX T dhXfg\ba)TaW)TafjXe fXff\ba* K[Ta^ lbh*


  ++5++5.0   @ jbh_W abj _\^X gb ghea g[X VbaYXeXaVX biXe gb 8aWeXT =_laa( M\VX GeXf\WXag( ?XTW bY @aiXfgbe
             IX_Tg\baf* 8aWeXT( lbh `Tl UXZ\a lbhe VbaYXeXaVX*


             Andrea N. Flynn




                                                                                 GTZX , bY -+
              n-+-/( 8_c[TJXafX( @aV* 8__ I\Z[gf IXfXeiXW* 8_c[TJXafX \f T fXei\VX `Te^ bY 8_c[TJXafX( @aV* 8__ bg[Xe geTWX`Te^f `Xag\baXW UX_baZ gb g[X\e eXfcXVg\iX bjaXef*
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  ++5++5/1   K[Ta^ lbh( bcXeTgbe( TaW ZbbW TYgXeabba( XiXelbaX* KbWTl( ATmm G[Te`TVXhg\VT_f eXcbegXW \gf ~efg
             dhTegXe -+-/ ~aTaV\T_ eXfh_g* K[X f_\WX ceXfXagTg\ba TVVb`cTal\aZ g[\f jXUVTfg \f TiT\_TU_X ba g[X
             @aiXfgbef fXVg\ba bY bhe jXUf\gX* @aiXfgbef `Tl T_fb eXYXe gb g[X ceXff eX_XTfX jX \ffhXW XTe_\Xe
             gbWTl( j[\V[ \f T_fb cbfgXW gb bhe jXUf\gX*


  ++5+,5+/   Fa g[X VT__ gbWTl TeX 9ehVX :bmTWW( :[T\e`Ta TaW :[\XY <kXVhg\iX FVXe6 IXatX >T_s( GeXf\WXag
             TaW :[\XY FcXeTg\aZ FVXe6 IbU @TaabaX( <kXVhg\iX M\VX GeXf\WXag TaW >_bUT_ ?XTW bY I$;6 TaW
             G[\_ Ab[afba( <kXVhg\iX M\VX GeXf\WXag TaW :[\XY =\aTaV\T_ FVXe*


  ++5+,5,4   Fa f_\WX -( @%W _\^X gb eX`\aW lbh g[Tg gbWTl%f jXUVTfg \aV_hWXf YbejTeW)_bb^\aZ fgTgX`Xag fhV[ Tf
             g[bfX eX_TgXW gb bhe YhgheX ~aTaV\T_ TaW bcXeTg\aZ eXfh_gf( Zebjg[ cbgXag\T_ TaW Tag\V\cTgXW
             WXiX_bc`Xag TaW Vb``XeV\T_\mTg\ba `\_XfgbaXf TaW ZbT_f( j[\V[ \aib_iX e\f^f TaW haVXegT\ag\Xf
             g[Tg Vbh_W VThfX TVghT_ XiXagf( cXeYbe`TaVX TaW eXfh_gf gb W\}Xe `TgXe\T__l Yeb` g[bfX VbagT\aXW
             \a g[XfX YbejTeW)_bb^\aZ fgTgX`Xag*


  ++5+,5/+   NX XaVbheTZX lbh gb eXi\Xj g[X fgTgX`Xagf VbagT\aXW \a gbWTl%f ceXff eX_XTfX( \a bhe f_\WX WXV^(
             TaW g[X e\f^f TaW haVXegT\ag\Xf WXfVe\UXW \a bhe J<: ~_\aZf( j[\V[ \WXag\Yl VXegT\a YTVgbef g[Tg `Tl
             VThfX g[X Vb`cTal%f TVghT_ XiXagf( cXeYbe`TaVX TaW eXfh_gf gb W\}Xe `TgXe\T__l Yeb` g[bfX
             VbagT\aXW \a g[X YbejTeW)_bb^\aZ fgTgX`Xagf `TWX ba gbWTl%f jXUVTfg* NX haWXegT^X ab Whgl be
             bU_\ZTg\ba gb hcWTgX bhe YbejTeW)_bb^\aZ fgTgX`Xag*


  ++5+-5+.   8f abgXW ba f_\WX .( jX j\__ W\fVhff aba)>88G ~aTaV\T_ `XTfheXf ba g[\f jXUVTfg* ;XfVe\cg\baf bY
             g[XfX aba)>88G ~aTaV\T_ `XTfheXf TaW eXVbaV\_\Tg\baf bY >88G gb aba)>88G ~aTaV\T_ `XTfheXf
             TeX \aV_hWXW \a gbWTl%f ceXff eX_XTfX TaW g[X f_\WX ceXfXagTg\ba TiT\_TU_X ba g[X @aiXfgbef fXVg\ba
             bY bhe jXUf\gX*


  ++5+-5-+   @%__ abj ghea g[X VT__ biXe gb 9ehVX*


             Bruce C. Cozadd


  ++5+-5-.   K[Ta^f( 8aWeXT* >bbW TYgXeabba( XiXelbaX( TaW g[Ta^ lbh Ybe ]b\a\aZ hf gbWTl gb eXi\Xj bhe ~efg
             dhTegXe eXfh_gf*


  ++5+-5-4   @ jTag gb UXZ\a Ul jX_Vb`\aZ G[\_ Ab[afba( j[b ]b\aXW ATmm \a DTeV[ Tf bhe :[\XY =\aTaV\T_ FVXe*
             NX%eX iXel XkV\gXW gb [TiX G[\_ ba bhe XkXVhg\iX gXT`( TaW _bb^ YbejTeW gb [\f Vbage\Uhg\baf gb
             WX_\iXe\aZ iT_hX Ybe cTg\Xagf TaW f[TeX[b_WXef*


  ++5+-5//   9XZ\aa\aZ ba f_\WX 0( jX `TWX \`cbegTag cebZeXff Whe\aZ g[X ~efg dhTegXe( \aV_hW\aZ lXTe)biXe)
             lXTe Vb`U\aXW WbhU_X)W\Z\g eXiXahX Zebjg[ Yeb` bhe ^Xl Zebjg[ We\iXef6 OljTi( <c\W\b_Xk TaW
             Il_TmX( T_baZ j\g[ `XTa\aZYh_ TWiTaVXf \a bhe c\cX_\aX* @%` T_fb c_XTfXW gb eXcbeg g[Tg jX TeX
             Te`\aZ bhe -+-/ ~aTaV\T_ Zh\WTaVX*


  ++5+.5+1   Fa g[X Vb``XeV\T_ Yebag( jX ZXaXeTgXW `beX g[Ta "4++ `\__\ba \a gbgT_ eXiXahXf TVebff bhe
             Zebj\aZ TaW W\iXef\~XW cbegYb_\b bY `XW\V\aXf* OljTi eXiXahXf \aVeXTfXW ,/# lXTe)biXe)lXTe(
             eX\aYbeV\aZ bhe Vba~WXaVX \a \gf geT]XVgbel TaW WheTU\_\gl* <c\W\b_Xk WX`TaW eX`T\aXW fgebaZ( TaW
             jX Vbag\ahX gb UX Vba~WXag \a \gf U_bV^UhfgXe cbgXag\T_* Fhe baVb_bZl g[XeTcXhg\V TeXT WX_\iXeXW
             Tabg[Xe fgebaZ dhTegXe j\g[ ,.# lXTe)biXe)lXTe eXiXahX Zebjg[* K[\f Vbag\ahXf g[X `b`Xagh`
             jX XfgTU_\f[XW _Tfg lXTe j[Xa jX fhecTffXW ", U\__\ba \a TaahT_ baVb_bZl eXiXahX Ybe g[X ~efg
             g\`X*




                                                                                GTZX - bY -+
             n-+-/( 8_c[TJXafX( @aV* 8__ I\Z[gf IXfXeiXW* 8_c[TJXafX \f T fXei\VX `Te^ bY 8_c[TJXafX( @aV* 8__ bg[Xe geTWX`Te^f `Xag\baXW UX_baZ gb g[X\e eXfcXVg\iX bjaXef*
Case 1:21-cv-00691-GBW Document 619 Filed 05/22/24 Page 196 of 247 PageID #: 33341
  ++5+.5/0   Dbi\aZ gb bhe I$; TaW c\cX_\aX X}begf* -+-/ \f Ta \`cbegTag lXTe Ybe ATmm j\g[ `h_g\c_X _TgX)fgTZX
             VTgT_lfgf Ybe g[XeTc\Xf gTeZXg\aZ fhUfgTag\T_ `Te^Xg bccbegha\g\Xf* NX TV[\XiXW T f\Za\~VTag
             `\_XfgbaX Ybe mTa\WTgT`TU \a DTeV[( j\g[ g[X Vb`c_Xg\ba bY bhe eb__\aZ 9C8 fhU`\ff\ba Ybe g[X
             geXTg`Xag bY ?<I-)cbf\g\iX U\_\Tel geTVg VTaVXe be 9K:( TaW jX XkcXVg Vb``XeV\T_ _ThaV[ \a -+-0 be
             XTe_\Xe*


  ++5+/5,.   @Y TccebiXW( mTa\WTgT`TU jbh_W UX g[X ~efg ?<I-)gTeZXgXW geXTg`Xag fcXV\~VT__l Ybe 9K: \a g[X
             LJ* NX T_fb XkcXVg \`cbegTag V_\a\VT_ WTgT eXTWbhgf \a g[X aXTe YhgheX Ybe fhiXVT_gT`\WX \a
             XffXag\T_ geX`be( mTa\WTgT`TU \a ZTfgebXfbc[TZXT_ VTaVXe( <c\W\b_Xk \a ATcTa( TaW QXcmX_VT \a ~efg
             _\aX f`T__ VX__ _haZ VTaVXe*


  ++5+/5.1   Fa g[X bcXeTg\baT_ Yebag( jX TeX `T\agT\a\aZ bhe YbVhf ba W\fV\c_\aXW VTc\gT_ T__bVTg\ba* Fhe
             ~aTaV\T_ fgeXaZg[( \aV_hW\aZ [XT_g[l bcXeTg\aZ VTf[ •bj( XaTU_Xf hf gb \aiXfg \a g[X Vbag\ahXW
             Zebjg[ bY bhe Vb``XeV\T_ cbegYb_\b TaW c\cX_\aX( j[\_X T_fb cbf\g\ba\aZ hf gb XkXVhgX ba VbecbeTgX
             WXiX_bc`Xag bccbegha\g\Xf*


  ++5+/500   Khea\aZ gb f_\WX 1* NX eX`T\a YbVhfXW ba TWiTaV\aZ g[X g[eXX VbeX gXaXgf bY M\f\ba -+-0* K[\f
             \aV_hWXf TWiTaV\aZ _XTW\aZ g[XeTc\Xf \a f_XXc W\fbeWXef TaW Xc\_Xcfl( T_baZ j\g[ T Zebj\aZ
             baVb_bZl cbegYb_\b( \aiXfg\aZ \a I$; gb XkcTaW bhe VTcTU\_\g\Xf TaW c\cX_\aX( TaW `T^\aZ
             W\fV\c_\aXW VTc\gT_ T__bVTg\ba WXV\f\baf gb Xa[TaVX iT_hX gb f[TeX[b_WXef Tf jX eXT_\mX bhe T`U\g\ba
             gb UX T [\Z[)Zebjg[ Z_bUT_ U\bc[Te`T _XTWXe*


  ++5+05-.   @%__ abj ghea g[X VT__ biXe gb IXatX gb eXi\Xj bhe Vb``XeV\T_ cXeYbe`TaVX( TYgXe j[\V[ IbU j\__
             f[TeX Ta hcWTgX ba bhe I$; cebZeXff* G[\_ j\__ cebi\WX T ~aTaV\T_ biXei\Xj( TaW g[Xa jX%__ bcXa
             g[X VT__ gb H$8*


  ++5+05.1   IXatX7


             Renée D. Galá


  ++5+05.2   K[Ta^f( 9ehVX* @%` XkV\gXW gb eXcbeg ba g[X Vbag\ahXW cebZeXff TVebff bhe Vb``XeV\T_ cbegYb_\b*
             NX WX_\iXeXW fgebaZ ~efg dhTegXe eXiXahX( Zebj\aZ Vb`U\aXW eXiXahX Yeb` bhe ^Xl Zebjg[
             We\iXef( OljTi( <c\W\b_Xk TaW Il_TmX( Ul ,-# Vb`cTeXW gb g[X fT`X cXe\bW \a -+-.* 8f \f glc\VT_ bY
             g[X ~efg dhTegXe bY g[X lXTe( eXiXahX jTf \`cTVgXW Ul fXTfbaT_ [XTWj\aWf Yeb` cTlXe
             eXThg[be\mTg\baf TaW \aiXagbel WeTjWbja*


  ++5+15+1   CXg%f ZXg \agb g[X WXgT\_f fgTeg\aZ ba f_\WX 3 j\g[ bhe f_XXc YeTaV[\fX* KbgT_ eXiXahX Yeb` f_XXc(
             j[\V[ \aV_hWXf OljTi TaW OleX` aXg fT_Xf c_hf eblT_g\Xf Yeb` [\Z[)fbW\h` bklUTgX 8hg[be\mXW
             >XaXe\Vf be 8>f( jTf "/.+ `\__\ba \a g[X ~efg dhTegXe bY -+-/( TaW jX eX`T\a Vba~WXag \a g[X
             Zebjg[ TaW WheTU\_\gl bY OljTi* @a g[X ~efg dhTegXe bY -+-/( OljTi eXiXahX ZeXj ,/# lXTe)biXe)
             lXTe gb ".,0 `\__\ba* @%__ gT^X T YXj `\ahgXf gb W\fVhff bhe i\Xj bY g[X biXeT__ bklUTgX `Te^Xg( Tf
             jX__ Tf fXiXeT_ \gX`f bY abgX Yeb` g[X dhTegXe*


  ++5+15/2   @a -+-.( jX fTj g[X ~efg Vb`cXg\g\iX XageTag gb g[X bklUTgX `Te^Xg j\g[ g[X Vb``XeV\T_
             TiT\_TU\_\gl bY Ubg[ [\Z[)fbW\h` 8> TaW UeTaWXW ~kXW WbfX [\Z[)fbW\h` bklUTgX* NX jXeX
             c_XTfXW gb WX_\iXe OljTi eXiXahX Zebjg[ g[ebhZ[ g[\f cXe\bW( TaW Vbag\ahX gb XkcXVg OljTi gb
             eX`T\a g[X bklUTgX bY V[b\VX( \aV_hW\aZ g[X ah`UXe baX geXTg`Xag Ybe aTeVb_Xcfl*


  ++5+25,-   8f XkcXVgXW( Tg g[X fgTeg bY -+-/( OleX` jTf XkV_hWXW Yeb` VXegT\a Vb``XeV\T_ Ybe`h_Te\Xf( UTfXW
             ba g[X TiT\_TU\_\gl bY `h_g\c_X aXjXe bklUTgX cebWhVgf( \aV_hW\aZ OljTi* DTal bY g[XfX cTg\Xagf




                                                                                GTZX . bY -+
             n-+-/( 8_c[TJXafX( @aV* 8__ I\Z[gf IXfXeiXW* 8_c[TJXafX \f T fXei\VX `Te^ bY 8_c[TJXafX( @aV* 8__ bg[Xe geTWX`Te^f `Xag\baXW UX_baZ gb g[X\e eXfcXVg\iX bjaXef*
Case 1:21-cv-00691-GBW Document 619 Filed 05/22/24 Page 197 of 247 PageID #: 33342
             TaW g[X\e c[lf\V\Taf eXVbZa\mX g[X UXaX~gf bY _bj fbW\h`( TaW V[bfX gb \a\g\TgX geXTg`Xag j\g[
             OljTi* @ jTag gb VT__ bhg fXiXeT_ WbjafgeXT` WlaT`\Vf bY g[\f geTaf\g\ba*


  ++5+25.4   =\efg( jX fTj T f\Za\~VTag \aVeXTfX \a g[X ah`UXe bY TVg\iX aTeVb_Xcfl cTg\Xagf UXaX~g\aZ Yeb`
             OljTi Tg g[X XaW bY g[X ~efg dhTegXe bY -+-/ Vb`cTeXW gb g[X Ybheg[ dhTegXe bY -+-.*


  ++5+250-   JXVbaW( jX fTj Ta \aVeXTfX \a hg\_\mTg\ba bY bhe cTg\Xag fhccbeg cebZeT`f \a g[X ~efg dhTegXe( Tf
             cTg\Xagf aTi\ZTgXW g[X geTaf\g\ba Yeb` OleX` gb OljTi j\g[ g[X\e \afheTaVX cebi\WXef* K[XfX
             cebZeT`f cebi\WX YeXX cebWhVg Ybe T _\`\gXW WheTg\ba( [X_c\aZ gb XafheX cTg\Xagf [TiX
             ha\agXeehcgXW TVVXff gb g[XeTcl Tf g[Xl bUgT\a OljTi VbiXeTZX*


  ++5+35,1   8f T eX`\aWXe( jX [TiX TV[\XiXW UXaX~g VbiXeTZX \a Ubg[ aTeVb_Xcfl TaW @? \aW\VTg\baf Ybe
             Tccebk\`TgX_l 4+# bY Vb``XeV\T_ _\iXf* N[\_X jX Tag\V\cTgX g[Tg bg[Xe c_Taf `Tl XkV_hWX OleX`
             Yeb` Ybe`h_Tel Zb\aZ YbejTeW( jX XkcXVg g[XfX V[TaZXf j\__ UX _Xff VbaVXageTgXW TaW fceXTW bhg
             biXe g\`X* NX i\Xj g[X _TeZX ah`UXe bY cTg\Xag geTaf\g\baf g[Tg bVVheeXW Yeb` g[X Ybheg[ dhTegXe
             bY -+-. gb g[X ~efg dhTegXe bY -+-/ Tf T baX)g\`X XiXag*


  ++5+35/4   =\aT__l( g[\f geTaf\g\ba eXfh_gXW \a T f\Za\~VTag WXVeXTfX \a OleX` UeTaWXW eXiXahXf* @%__ abgX g[Tg T__
             bY g[XfX WlaT`\Vf jXeX TVVbhagXW Ybe \a bhe -+-/ aXhebfV\XaVX eXiXahX Zh\WTaVX*


  ++5+45+.   Cbb^\aZ Tg bhe dhTegXe_l cTg\Xag `Xge\Vf( g[XeX jXeX Tccebk\`TgX_l 4(4++ aTeVb_Xcfl cTg\Xagf
             gT^\aZ OljTi Xk\g\aZ g[X ~efg dhTegXe( Ta \aVeXTfX bY .20 cTg\Xagf Yeb` g[X ce\be dhTegXe* >\iXa g[X
             \aVeXTfXW hfX bY cTg\Xag fhccbeg cebZeT`f( eXiXahXf Ybe g[X dhTegXe Wb abg Yh__l eX•XVg g[XfX
             cTg\Xag TWW\g\baf* NX UX_\XiX cTg\Xag ah`UXef TeX g[X UXfg \aW\VTgbe bY g[X _baZ)gXe` iT_hX TaW
             WheTU\_\gl bY g[\f cebWhVg( TaW XkcXVg g[Tg eXiXahXf j\__ UX `beX T_\ZaXW j\g[ cTg\Xag ah`UXef
             Zb\aZ YbejTeW Tf aXj_l geTaf\g\baXW cTg\Xagf eXiXeg gb UX\aZ Yh__l VbiXeXW Ul g[X\e \afheTaVX
             cebi\WXef*


  ++5+45/.   Khea\aZ gb @?* K[X geTaf\g\ba WlaT`\Vf TffbV\TgXW j\g[ VbiXeTZX Ybe aTeVb_Xcfl cTg\Xagf W\W abg
             \`cTVg g[X @? `Te^Xg* NX Vbag\ahX gb i\Xj @? Tf g[X fgebaZXfg Zebjg[ bccbegha\gl Ybe OljTi6 TaW
             Xk\g\aZ g[X dhTegXe( g[XeX jXeX Tccebk\`TgX_l .(+0+ TVg\iX @? cTg\Xagf ba OljTi( Ta \aVeXTfX bY -20
             Yeb` g[X ce\be dhTegXe* NX TeX ce\be\g\m\aZ \aiXfg`Xagf gb Yheg[Xe Uh\_W g[X `Te^Xg( TaW bhe
             XkcTaWXW ~X_W YbeVX \f abj Yh__l WXc_blXW* K[XfX TWW\g\baT_ ~X_W cXefbaaX_ TeX YbVhfXW ba
             \aVeXTf\aZ g[X WXcg[ TaW UeXTWg[ bY @? ceXfVe\UXef*


  ++5,+5-.   Fhgf\WX bY g[X UeTaWXW bklUTgX Uhf\aXff( jX eXVbZa\mXW Tccebk\`TgX_l "0+ `\__\ba \a 8> eblT_gl
             eXiXahX( j[\V[ jTf We\iXa Ul Ubg[ cTg\Xag geTaf\g\ba TaW bhe \aVeXTfXW eblT_gl eTgX* >\iXa bhe
             eXfh_gf Ybe g[X dhTegXe TaW \aVeXTfXW i\f\U\_\gl \agb bklUTgX `Te^Xg WlaT`\Vf f\aVX g[X Xagel bY
             [\Z[)fbW\h` bklUTgXf( jX eX`T\a Vba~WXag \a g[X WheTU\_\gl bY OljTi TaW UX_\XiX g[Tg jX TeX jX__)
             cbf\g\baXW gb TV[\XiX bhe M\f\ba -+-0 ZbT_ bY "- U\__\ba \a f_XXc eXiXahX*


  ++5,+502   Dbi\aZ gb f_\WX 4* NX TeX c_XTfXW j\g[ g[X Vbag\ahXW Zebjg[ bY <c\W\b_Xk j\g[ aXg cebWhVg fT_Xf bY
             Tccebk\`TgX_l "-++ `\__\ba \a g[X ~efg dhTegXe( eXceXfXag\aZ T 0# \aVeXTfX Vb`cTeXW gb g[X fT`X
             dhTegXe \a -+-.* 8f T eX`\aWXe( j\g[ <c\W\b_Xk( jX glc\VT__l fXX T Uh\_W \a \aiXagbel g[ebhZ[bhg g[X
             fXVbaW [T_Y bY g[X lXTe( j[\V[ g[Xa Uheaf b} \a g[X ~efg [T_Y bY g[X Yb__bj\aZ lXTe( ce\`Te\_l \a g[X
             ~efg dhTegXe* NX XkcXVg YhgheX Zebjg[ gb UX We\iXa Ul haWXe_l\aZ WX`TaW TaW ZXbZeTc[\V
             XkcTaf\ba( TaW eX`T\a Vba~WXag \a g[X U_bV^UhfgXe cbgXag\T_ bY <c\W\b_Xk*


  ++5,,5.2   BXl We\iXef bY \aVeXTfXW WX`TaW \a g[X LJ \aV_hWXW g[X cbf\g\iX eXfcbafX gb WTgT ba g[X UXaX~gf
             bY <c\W\b_Xk UXlbaW fX\mheX Vbageb_( fhV[ Tf _TaZhTZX TaW Vb``ha\VTg\ba( VbZa\g\ba( XkXVhg\iX
             YhaVg\ba( TaW X`bg\baT_ TaW fbV\T_ YhaVg\ba( Tf jX__ Tf flaXeZ\Xf Yeb` geXTg`Xag j\g[ <c\W\b_Xk
             c_hf V_bUTmT`* NX%eX T_fb Vbag\ah\aZ gb fXX \aVeXTfXW cXaXgeTg\ba \a g[X TWh_g cTg\Xag fXgg\aZ(



                                                                                GTZX / bY -+
             n-+-/( 8_c[TJXafX( @aV* 8__ I\Z[gf IXfXeiXW* 8_c[TJXafX \f T fXei\VX `Te^ bY 8_c[TJXafX( @aV* 8__ bg[Xe geTWX`Te^f `Xag\baXW UX_baZ gb g[X\e eXfcXVg\iX bjaXef*
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             j[\V[ \f fhccbegXW \a cTeg Ul WTgT f[bj\aZ g[Tg `Tal cTg\Xagf `Tl eXTV[ TWh_g[bbW j\g[bhg T
             fcXV\~V C>J W\TZabf\f TaW Ul cebi\W\aZ ?:Gf j\g[ V_XTe W\TZabfg\V gbb_f Ybe TWh_g cTg\Xagf*


  ++5,-5,4   =heg[Xe bccbegha\g\Xf Ybe Zebjg[ \aV_hWX Vbag\ahXW XWhVTg\ba gb fhccbeg bcg\`T_ Wbf\aZ( YbVhfXW
             WTgT ZXaXeTg\ba TaW ZXbZeTc[\V XkcTaf\ba UXlbaW g[X `beX g[Ta .0 Vbhage\Xf j[XeX <c\W\b_Xk \f
             VheeXag_l TccebiXW( j\g[ TWW\g\baT_ _ThaV[Xf TaW `Te^Xg eX\`UhefX`Xag XkcXVgXW \a -+-/*


  ++5,-5.4   J[\Yg\aZ gb bhe baVb_bZl Uhf\aXff ba f_\WX ,+* KbgT_ baVb_bZl eXiXahX Ybe g[X dhTegXe jTf
             Tccebk\`TgX_l "-03 `\__\ba( _XW Ul Il_TmX TaW QXcmX_VT* Il_TmX WX_\iXeXW Tabg[Xe fgebaZ dhTegXe
             j\g[ aXg cebWhVg fT_Xf bY ",+. `\__\ba( eXceXfXag\aZ T -+# \aVeXTfX Yeb` g[X ~efg dhTegXe bY -+-.*


  ++5,.5+.   JgebaZ WX`TaW Ybe Il_TmX Vbag\ahXf gb UX We\iXa Ul fXiXeT_ YTVgbef( \aV_hW\aZ \gf aXTe ha\iXefT_
             TWbcg\ba TaW cXW\Tge\V TfcTeTZ\aTfX)UTfXW baVb_bZl cebgbVb_f \a g[X LJ( TaW TWbcg\ba bY g[X
             DbaWTl( NXWaXfWTl( =e\WTl Wbf\aZ eXZ\`Xa* NX TeX T_fb fXX\aZ hfTZX bY Il_TmX \a g[X ~efg _\aX
             fXgg\aZ UTfXW ba g[X UXaX~gf bY \gf f[beg)TVg\aZ ceb~_X eX_Tg\iX gb VheeXag ~efg _\aX TfcTeTZ\aTfX
             g[XeTc\Xf* @a TWW\g\ba( jX eX`T\a YbVhfXW ba Vbag\ahXW Zebjg[ bY Il_TmX \a g[X geXTg`Xag bY
             TWb_XfVXagf TaW lbhaZ TWh_gf( be g[X 8P8 `Te^Xg*


  ++5,.5/-   Khea\aZ gb f_\WX ,, TaW QXcmX_VT* EXg cebWhVg fT_Xf Ybe g[X ~efg dhTegXe \aVeXTfXW ,-# lXTe)biXe)
             lXTe gb "20 `\__\ba* NX [TiX XfgTU_\f[XW QXcmX_VT Tf g[X ah`UXe baX geXTg`Xag Ybe fXVbaW _\aX
             f`T__ VX__ _haZ VTaVXe cTg\Xagf( TaW jX Vbag\ahX gb [XTe cbf\g\iX YXXWUTV^ Yeb` [XT_g[VTeX
             cebi\WXef ba \gf V_\a\VT_ UXaX~g Tf jX__ Tf g[X XTfX bY hfX TaW TW`\a\fgeTg\ba Ybe cTg\Xagf TaW g[X\e
             [XT_g[VTeX ceTVg\VXf*


  ++5,/5,+   @a TWW\g\ba gb g[X fXVbaW _\aX fXgg\aZ( g[XeX eX`T\af Ta ha`Xg aXXW Ybe f`T__ VX__ _haZ VTaVXe
             cTg\Xagf \a XTe_\Xe _\aXf bY g[XeTcl* NX UX_\XiX cbf\g\iX WTgT Yeb` g[X baZb\aZ G[TfX . ge\T_ \a ~efg
             _\aX f`T__ VX__ _haZ VTaVXe \f g[X U\ZZXfg bccbegha\gl gb We\iX f\Za\~VTag Zebjg[ TaW( `bfg
             \`cbegTag_l( jbh_W cebi\WX T Yheg[Xe bccbegha\gl gb \`cebiX cTg\Xag _\iXf TaW bhgVb`Xf* NX
             XkcXVg WTgT Yeb` g[Tg ge\T_ \a _TgX -+-/ be XTe_l -+-0*


  ++5,/5/-   N\g[ g[Tg( @%__ ghea \g biXe gb IbU Ybe Ta hcWTgX ba bhe c\cX_\aX TaW hcVb`\aZ `\_XfgbaXf* IbU7


             Robert Iannone


  ++5,/5/4   K[Ta^ lbh( IXatX* -+-/ eXceXfXagf Ta XkV\g\aZ g\`X Ybe bhe c\cX_\aX* 8aW jX Tag\V\cTgX `h_g\c_X
             `XTa\aZYh_ VTgT_lfgf TVebff baVb_bZl TaW aXhebfV\XaVX*


  ++5,05++   Fa f_\WX ,.( jX cebi\WXW Ta biXei\Xj bY g[X ^Xl V_\a\VT_ cebZeT`f \a bhe W\iXef\~XW c\cX_\aX* 8aW
             @%__ [\Z[_\Z[g fXiXeT_ `\_XfgbaXf jX XkcXVg gb eXTV[ \a g[X aXTe gXe`*


  ++5,05,.   JgTeg\aZ j\g[ baVb_bZl TaW mTa\WTgT`TU( jX [TiX Vb`c_XgXW bhe 9C8 fhU`\ff\ba Ybe fXVbaW)_\aX
             U\_\Tel geTVg VTaVXe be 9K:( \a g[X LJ j\g[ cbgXag\T_ Ybe TVVX_XeTgXW TccebiT_* 8WW\g\baT__l( jX TeX
             gTeZXg\aZ _TgX g[\f lXTe gb eXcbeg gbc_\aX WTgT Yeb` g[X baZb\aZ G[TfX . ~efg)_\aX ZTfgebXfbc[TZXT_
             TWXabVTeV\ab`T( be ><8 ge\T_* @Y cbf\g\iX( jX XkcXVg g[\f ge\T_ jbh_W fhccbeg eXZ\fgeTg\ba* @%__ fcXT^
             `beX gb bhe mTa\WTgT`TU WXiX_bc`Xag c_Ta \a ]hfg T `b`Xag*




                                                                                GTZX 0 bY -+
             n-+-/( 8_c[TJXafX( @aV* 8__ I\Z[gf IXfXeiXW* 8_c[TJXafX \f T fXei\VX `Te^ bY 8_c[TJXafX( @aV* 8__ bg[Xe geTWX`Te^f `Xag\baXW UX_baZ gb g[X\e eXfcXVg\iX bjaXef*
Case 1:21-cv-00691-GBW Document 619 Filed 05/22/24 Page 199 of 247 PageID #: 33344
  ++5,05/4   NX%eX T_fb c_XTfXW j\g[ g[X cebZeXff bY g[X QXcmX_VT ~efg)_\aX ge\T_( j[\V[ Vb`c_XgXW Xaeb__`Xag \a
             ATahTel* Kbc_\aX cebZeXff\ba)YeXX fhei\iT_ WTgT Ybe QXcmX_VT \a Vb`U\aTg\ba j\g[ KXVXage\d \a ~efg)
             _\aX XkgXaf\iX)fgTZX f`T__ VX__ _haZ VTaVXe \f XkcXVgXW Tg g[X XaW bY -+-/ be XTe_l -+-0* @Y
             TccebiXW( g[\f aXj \aW\VTg\ba jbh_W XaTU_X `beX cTg\Xagf j\g[ f`T__ VX__ _haZ VTaVXe gb cbgXag\T__l
             UXaX~g Yeb` _baZXe WheTg\ba bY g[XeTcl j\g[ QXcmX_VT*


  ++5,15--   Khea\aZ gb aXhebfV\XaVX* NX XkcXVg gbc_\aX WTgT Yeb` bhe G[TfX . ge\T_ bY <c\W\b_Xk \a ATcTa \a g[X
             fXVbaW [T_Y bY -+-/* NX T_fb [TiX baZb\aZ ge\T_f Ybe fhiXVT_gT`\WX( be AQG.30 \a Ubg[ XffXag\T_
             geX`be be <K( TaW GTe^\afba%f W\fXTfX geX`be( j\g[ gbc_\aX WTgT Yeb` g[X <K ge\T_ XkcXVgXW _TgX \a
             g[X ~efg [T_Y bY -+-/* @Y ge\T_ ~aW\aZf TeX cbf\g\iX( jX UX_\XiX g[\f ge\T_ Vbh_W fXeiX Tf cTeg bY g[X
             c\ibgT_ eXZh_Tgbel cTV^TZX*


  ++5,1502   @%W T_fb _\^X gb cebi\WX Ta hcWTgX ba AQG//,( bhe V_\a\VT_ fgTZX beXk\a)- eXVXcgbe TZba\fg* NX
             cThfXW g[X AQG//, G[TfX , ge\T_ _Tfg EbiX`UXe( TYgXe bUfXei\aZ T f\ZaT_ Ybe HKV \agXeiT_
             ceb_baZTg\ba ba Thgb`TgXW <:> eXVbeW\aZf* J\aVX g[Tg g\`X( jX XaZTZXW XkgXeaT_ XkcXegf gb
             cXeYbe` `TahT_ eXTWf bY <:>f*


  ++5,25-/   K[Tg jbe^ jTf eXVXag_l Vb`c_XgXW j\g[ g[X \a\g\T_ eXcbeg \aW\VTg\aZ g[XeX `Tl UX T g[XeTcXhg\V
             \aWXk gb XkcbfheXf ceXW\VgXW gb UX XVTV\bhf \a aTeVb_Xcfl KlcX , cTg\Xagf* NX TeX eXi\Xj\aZ g[\f
             \aYbe`Tg\ba j\g[ bhe T__\TaVX cTegaXe( Jh`\gb`b G[Te`T( TaW ATmm j\__ g[Xa `T^X T WXV\f\ba ba
             aXkg fgXcf( \Y Tal* @ XkcXVg gb UX \a T cbf\g\ba gb cebi\WX Ta hcWTgX ba bhe -H XTea\aZf VT__*


  ++5,250,   IXghea\aZ gb mTa\WTgT`TU( f_\WX ,/ cebi\WXf `beX WXgT\_ ba bhe WXiX_bc`Xag c_Ta* NX [TiX
             `XTa\aZYh__l cebZeXffXW mTa\WTgT`TU WXiX_bc`Xag TVebff `h_g\c_X \aW\VTg\baf f\aVX Ue\aZ\aZ \g gb
             ATmm* 8aW UTfXW ba X`XeZ\aZ fgebaZ WTgT TVebff \aW\VTg\baf( jX eX`T\a XkV\gXW TUbhg g[X cbgXag\T_
             bY mTa\WTgT`TU gb geTafYbe` g[X VheeXag fgTaWTeW bY VTeX \a `h_g\c_X ?<I-)XkceXff\aZ VTaVXef*


  ++5,35,3   8f jTf abgXW XTe_\Xe( jX Vb`c_XgXW bhe 9C8 fhU`\ff\ba Ybe fXVbaW)_\aX 9K: Tg g[X XaW bY DTeV[
             TaW Tag\V\cTgX T eXfcbafX Yeb` =;8 j\g[\a g[X hfhT_ 1+)WTl j\aWbj* Lcba TVVXcgTaVX( =;8 jbh_W
             T_fb XfgTU_\f[ g[X ce\be\gl bY eXi\Xj TaW G;L=8 g\`X_\aX* @%__ T_fb abgX jX TeX c_Taa\aZ gb ceXfXag
             `beX `TgheX WTgT Yeb` g[X baZb\aZ 9K: ge\T_ Tg 8J:F g[\f lXTe( \aV_hW\aZ biXeT__ fhei\iT_*


  ++5,35/4   Fhe WXiX_bc`Xag c_Ta eXceXfXagf T ebUhfg \aiXfg\ZTg\ba bY g[\f `b_XVh_X \a `h_g\c_X gh`be glcXf(
             \aV_hW\aZ Ta baZb\aZ ge\T_ \a ><8 g[Tg jX UX_\XiX jbh_W fhccbeg eXZ\fgeTg\ba \a g[Tg \aW\VTg\ba \a
             fXiXeT_ ge\T_f \a UeXTfg VTaVXe* NX%iX eXVXag_l TaabhaVXW c_Taf gb \a\g\TgX g[X G[TfX . <DGFN?<I
             ge\T_ \a g[X fXVbaW [T_Y bY g[\f lXTe( j[\V[ j\__ XiT_hTgX mTa\WTgT`TU \a Vb`U\aTg\ba j\g[
             V[X`bg[XeTcl TYgXe cebZeXff\ba ba <a[Xegh( j[XeX jX [TiX g[X bccbegha\gl gb UX g[X ~efg ?<I-)
             gTeZXgXW g[XeTcl gb WX`bafgeTgX XVTVl TaW fTYXgl \a UeXTfg VTaVXe cTg\Xagf cbfg <a[Xegh*


  ++5,45.,   @a fh``Tel( jX%eX XkXVhg\aZ T eXZh_Tgbel fgeTgXZl g[Tg jX UX_\XiX j\__ XaTU_X hf gb Ue\aZ
             mTa\WTgT`TU gb g[X `Te^Xg \a g[X aXTe gXe` j\g[ Ta \a\g\T_ \aW\VTg\ba \a fXVbaW)_\aX 9K: TaW g[X
             bccbegha\gl gb eTc\W_l TWiTaVX bg[Xe \aW\VTg\baf*


  ++5,45/3   @a gbgT_( jX UX_\XiX bhe WXiX_bc`Xag cebZeT` VTa WX_\iXe Ybe cTg\Xagf \a aXXW TaW ZXaXeTgX T
             f\Za\~VTag Vb``XeV\T_ bccbegha\gl bY `beX g[Ta "- U\__\ba* @ jbh_W XaVbheTZX _\fgXaXef gb Zb gb
             bhe @I jXUf\gX TaW TVVXff g[X I$; ;Tl jXUVTfg jX [bfgXW ba mTa\WTgT`TU \a DTeV[( j[\V[
             \aV_hWXW T WXgT\_XW biXei\Xj bY WTgT WX`bafgeTg\aZ mTa\WTgT`TU%f W\}XeXag\Tg\ba Yeb` bg[Xe
             ?<I-)gTeZXgXW TZXagf( [bj \g jbh_W ~g \a g[X ?<I- geXTg`Xag _TaWfVTcX TaW cXefcXVg\iXf Yeb`
             XkgXeaT_ g[bhZ[g _XTWXef ba g[X cbgXag\T_ bY mTa\WTgT`TU gb \`cebiX g[X dhT_\gl bY VTeX Ybe
             cTg\Xagf j\g[ ?<I-)XkceXff\aZ gh`bef*




                                                                                GTZX 1 bY -+
             n-+-/( 8_c[TJXafX( @aV* 8__ I\Z[gf IXfXeiXW* 8_c[TJXafX \f T fXei\VX `Te^ bY 8_c[TJXafX( @aV* 8__ bg[Xe geTWX`Te^f `Xag\baXW UX_baZ gb g[X\e eXfcXVg\iX bjaXef*
Case 1:21-cv-00691-GBW Document 619 Filed 05/22/24 Page 200 of 247 PageID #: 33345
  ++5-+5-4   Khea\aZ gb f_\WX ,0* N\g[ g[X gbc_\aX WTgT eXTWbhg Yeb` g[X XffXag\T_ geX`be ge\T_ Tag\V\cTgXW \a g[X
             fXVbaW dhTegXe bY g[\f lXTe( @%W _\^X gb [\Z[_\Z[g fhiXVT_gT`\WX( j[\V[ \f T [\Z[_l fX_XVg\iX TaW fgTgX)
             WXcXaWXag `bWh_Tgbe bY K)glcX VT_V\h` V[TaaX_f \a V_\a\VT_ WXiX_bc`Xag Ybe g[X geXTg`Xag bY <K
             TaW GTe^\afba%f W\fXTfX geX`be*


  ++5-+50-   K[XeX \f T [\Z[ ha`Xg aXXW Ybe <K geXTg`Xag j\g[ ab aXj `XW\V\aXf TccebiXW \a `beX g[Ta 0+
             lXTef* <K VTa UX [\Z[_l WXU\_\gTg\aZ j\g[ f\Za\~VTag aXZTg\iX X}XVgf ba T cTg\Xag%f dhT_\gl bY _\YX TaW
             TVg\i\g\Xf bY WT\_l _\i\aZ( fhV[ Tf XTg\aZ( We\a^\aZ( WeXff\aZ( f[Ti\aZ( TaW je\g\aZ TaW VTa _XTW gb
             fhUfgTag\T_ \`cT\e`Xag \a c[lf\VT_ YhaVg\ba\aZ* Jb`X cTg\Xagf T_fb XkcXe\XaVX VbZa\g\iX WX~V\gf(
             Tak\Xgl( fbV\T_ c[bU\T( WXceXff\ba( TaW f_XXc W\fgheUTaVX* @a g[X LJ TaW ^Xl <hebcXTa `Te^Xgf(
             g[XeX TeX Tccebk\`TgX_l - `\__\ba W\TZabfXW cTg\Xagf j\g[ g[X ceXiT_XaVX Xfg\`TgXW Tg
             Tccebk\`TgX_l ,, `\__\ba cTg\Xagf*


  ++5-,5.2   Dbi\aZ gb f_\WX ,1* @ jTag gb gbhV[ ba fhiXVT_gT`\WX%f W\}XeXag\TgXW `XV[Ta\f` bY TVg\ba* N[\_X
             g[X XkTVg haWXe_l\aZ cTg[bc[lf\b_bZl bY <K \f abg V_XTe( g[XeX \f fgebaZ Xi\WXaVX gb fhccbeg g[X eb_X
             bY K)glcX VT_V\h` V[TaaX_f* K)glcX VT_V\h` V[TaaX_f eXZh_TgX g[X UT_TaVX bY VT_V\h` \baf TVg\aZ Tf
             T ZTgX^XXcXe gb [X_c \baf Ubg[ XagXe TaW _XTiX g[X VX__ `X`UeTaX* @a fb`X cTg[b_bZ\VT_ fgTgXf
             fhV[ Tf <K( \aVeXTfXW TVg\iTg\ba bY g[XfX V[TaaX_f _XTWf gb XkVXff\iX e[lg[`\V f\ZaT_f g[Tg ceb`cg
             geX`be*


  ++5--5-+   K[X [\Z[ fX_XVg\i\gl bY fhiXVT_gT`\WX Ybe K)glcX VT_V\h` V[TaaX_f `T^Xf \g T ceb`\f\aZ VTaW\WTgX
             Ybe g[X geXTg`Xag bY <K( j[\V[ jTf WX`bafgeTgXW \a g[X G[TfX - K):8CD ge\T_* @`cbegTag_l(
             fhiXVT_gT`\WX \f W\}XeXag\TgXW Yeb` bg[Xe K)glcX VT_V\h` V[TaaX_ U_bV^Xef \a WXiX_bc`Xag Tf \g \f
             fgTgX)WXcXaWXag( `XTa\aZ g[Tg \g gTeZXgf V[TaaX_f haWXe VbaW\g\baf bY [lcXeXkV\gTU\_\gl( j[\_X
             fcTe\aZ g[X Ybe` bY g[X V[TaaX_( \`cbegTag Ybe abe`T_ aXhebaT_ f\ZaT_\aZ


  ++5--50,   Ebj @ j\__ ghea g[X VT__ biXe gb G[\_ Ybe ~aTaV\T_ hcWTgX* G[\_7


             Philip L. Johnson


  ++5--500   K[Ta^f( IbU* =\efg( @%W _\^X gb XkceXff [bj XkV\gXW @ T` gb ]b\a ATmm* @ VT`X gb g[X Vb`cTal UXVThfX
             bY \gf [\fgbel bY fhVVXff \aabiTg\aZ gb geTafYbe` g[X _\iXf bY cTg\Xagf TaW g[X\e YT`\_\Xf* 8aW
             UXVThfX bY g[X dhT_\gl( \agXZe\gl TaW Xag[hf\Tf` bY \gf cXbc_X( j[\V[ ATmm [Tf TVVb`c_\f[XW f\aVX
             \gf YbhaW\aZ( \f \`ceXff\iX( TaW jX [TiX ZeXTg bccbegha\g\Xf T[XTW bY hf gb Xa[TaVX bhe \`cTVg ba
             g[X _\iXf bY g[X cTg\Xagf jX fXeiX TaW gb VeXTgX f\Za\~VTag f[TeX[b_WXe iT_hX*


  ++5-.5,3   Khea\aZ abj gb bhe ~efg dhTegXe -+-/ ~aTaV\T_ cXeYbe`TaVX* J_\WX ,3 fh``Te\mXf g[X [\Z[_\Z[gf*
             8f T eX`\aWXe( `beX \aYbe`Tg\ba ba bhe ~aTaV\T_ eXfh_gf \f TiT\_TU_X \a bhe ceXff eX_XTfX TaW ,+)H*
             NX fTj Vbag\ahXW gbc_\aX Zebjg[ \a g[X ~efg dhTegXe bY -+-/ j\g[ "4+- `\__\ba \a gbgT_ eXiXahXf(
             eXceXfXag\aZ T ,# \aVeXTfX biXe g[X fT`X cXe\bW \a -+-.* 8f IXatX abgXW( bhe ~efg dhTegXe
             eXiXahXf [TiX [\fgbe\VT__l UXXa T}XVgXW Ul fXiXeT_ YTVgbef( \aV_hW\aZ eXThg[be\mTg\baf( j[\V[ We\iX
             g[X hfX bY cTg\Xag fhccbeg cebZeT`f TaW \aiXagbel Uh\_W \a g[X _TggXe cTeg bY g[X ce\be lXTe( j[\V[
             _XTWf gb \aiXagbel Uhea \a H,*


  ++5-/5+-   Fhe H, eXfh_gf TeX \a _\aX j\g[ bhe XkcXVgTg\baf TaW jX TeX Te`\aZ bhe Yh__ lXTe eXiXahX
             Zh\WTaVX bY "/*+ U\__\ba gb "/*- U\__\ba( \aV_hW\aZ bhe XkcXVgTg\ba Ybe Vb`U\aXW WbhU_X)W\Z\g Zebjg[
             Yeb` bhe ^Xl Zebjg[ We\iXef( OljTi( <c\W\b_Xk TaW Il_TmX( TaW WbhU_X)W\Z\g Zebjg[ \a bhe baVb_bZl
             g[XeTcXhg\V TeXT*


  ++5-/5-.   Dbi\aZ gb f_\WX ,4* Eba)>88G TW]hfgXW J>$8 eX•XVg g[X \aiXfg`Xagf WXW\VTgXW gb bhe ^Xl Zebjg[
             We\iXef( \aV_hW\aZ g[X OljTi @? Vb``XeV\T_ \a\g\Tg\iXf( Vb``XeV\T_ fhccbeg Ybe <c\W\b_Xk \a g[X LJ




                                                                                GTZX 2 bY -+
             n-+-/( 8_c[TJXafX( @aV* 8__ I\Z[gf IXfXeiXW* 8_c[TJXafX \f T fXei\VX `Te^ bY 8_c[TJXafX( @aV* 8__ bg[Xe geTWX`Te^f `Xag\baXW UX_baZ gb g[X\e eXfcXVg\iX bjaXef*
Case 1:21-cv-00691-GBW Document 619 Filed 05/22/24 Page 201 of 247 PageID #: 33346
             j[XeX g[X `Te^Xg \f ceb`bg\baT__l fXaf\g\iX( ZXbZeTc[\V XkcTaf\ba bY <c\W\b_Xk bhgf\WX g[X LJ TaW
             XWhVTg\baT_ X}begf Ybe Il_TmX TaW 8P8*


  ++5-/5/2   Eba)>88G TW]hfgXW I$; XkcXafX Ybe g[X dhTegXe jTf We\iXa Ul \aiXfg`Xag \a `h_g\c_X _TgX)fgTZX
             cebZeT`f( j[\V[ jX i\Xj Tf Ve\g\VT_ gb Xa[TaV\aZ g[X YhgheX iT_hX bY bhe c\cX_\aX* NX TeX XkXVhg\aZ
             ba T ebUhfg WXiX_bc`Xag c_Ta Ybe mTa\WTgT`TU j\g[ ge\T_f TVebff `h_g\c_X gh`be glcXf( Tf jX__ Tf
             G[TfX - ge\T_f Ybe fhiXVT_gT`\WX \a gjb W\}XeXag W\fXTfX TeXTf TaW cebZeT`f Ybe <c\W\b_Xk TaW
             QXcmX_VT g[Tg [TiX g[X cbgXag\T_ gb XkcTaW g[bfX cebWhVgf \agb aXj ZXbZeTc[\Xf TaW cTg\Xag
             cbch_Tg\baf( eXfcXVg\iX_l*


  ++5-05,3   @%__ abgX g[Tg bhe bcXeTg\aZ `TeZ\a TaW XkcXafXf TeX abg _\aXTe TaW jX \aVhe fcXaW Tg g[X g\`X gb
             UXfg fhccbeg fgeTgXZ\V \a\g\Tg\iXf Ybe bhe Vb``XeV\T_ Uhf\aXff TaW c\cX_\aX* @aiXfg`Xagf \a bhe
             Vb``XeV\T_ Uhf\aXff gb fhccbeg bhe ^Xl Zebjg[ We\iXef eT`cXW hc \a g[X Ybheg[ dhTegXe bY -+-.
             TaW XkgXaWXW \agb g[X ~efg dhTegXe bY -+-/* NX XkcXVg g[XfX \aiXfg`Xagf gb cbf\g\iX_l \`cTVg
             eXiXahX Tf g[X lXTe cebZeXffXf*


  ++5-05//   J>$8 XkcXafXf \a ,H -+-/ T_fb \aV_hWXW T UTW WXUg XkcXafX TaW [\Z[Xe _\g\ZTg\ba Vbfgf( ce\`Te\_l
             eX_TgXW gb g[X 8iTWX_ cTgXag \aYe\aZX`Xag ge\T_* Fhe I$; XkcXafXf( T_baZ j\g[ V_\a\VT_ ge\T_ TVg\i\gl
             eT`cXW hc \a -+-.( TaW jX XkcXVg g[XfX XkcXafXf gb eX`T\a Tg eX_Tg\iX_l Vbaf\fgXag _XiX_f
             g[ebhZ[bhg -+-/* K[XeXYbeX( jX TeX Te`\aZ bhe Yh__ lXTe -+-/ J>$8 TaW I$; Zh\WTaVX*


  ++5-15,.   @%W T_fb cb\ag bhg g[Tg jX eXVbeWXW T W\fVeXgX gTk XkcXafX eX_TgXW gb Xkc\eXW fgbV^ bcg\baf* N[\_X
             g[\f f\Za\~VTag_l \aVeXTfXW bhe aba)>88G X}XVg\iX gTk eTgX Ybe g[X dhTegXe( jX XkcXVg bhe Yh__ lXTe
             -+-/ aba)>88G X}XVg\iX gTk eTgX gb eX`T\a \a g[X eTaZX bY ,+# gb ,.#* NX Vbag\ahX gb ZXaXeTgX
             f\Za\~VTag VTf[ Yeb` bhe Uhf\aXff( We\iXa Ul g[X fgeXaZg[ TaW W\iXef\gl bY bhe cbegYb_\b* NX
             eXVbeWXW Tccebk\`TgX_l "-12*- `\__\ba bY VTf[ Yeb` bcXeTg\baf \a g[X ~efg dhTegXe TaW XaWXW g[X
             dhTegXe j\g[ ",*3 U\__\ba \a VTf[ ba [TaW* Fhe fgebaZ ~aTaV\T_ cbf\g\ba TaW bcXeTg\aZ VTf[ •bj
             cebi\WX •Xk\U\_\gl gb \aiXfg \a ce\be\gl Vb``XeV\T_ TaW I$; cebZeT`f( Tf jX__ Tf VbecbeTgX
             WXiX_bc`Xag bccbegha\g\Xf*


  ++5-25++   Eba)>88G TW]hfgXW aXg \aVb`X bY ",3- `\__\ba TaW aba)>88G TW]hfgXW <GJ bY "-*13 jXeX We\iXa
             Ul bhe gbc_\aX Zebjg[( T_baZ j\g[ f\Za\~VTag \aiXfg`Xag \a bhe ^Xl Zebjg[ We\iXef TaW c\cX_\aX(
             \aV_hW\aZ `h_g\c_X _TgX)fgTZX V_\a\VT_ cebZeT`f Ybe mTa\WTgT`TU( <c\W\b_Xk( fhiXVT_gT`\WX TaW
             QXcmX_VT( T__ bY j[\V[ [TiX g[X cbgXag\T_ gb ZXaXeTgX f\Za\~VTag _baZ)gXe` iT_hX* 9TfXW ba bhe
             eXfh_gf Yeb` g[X dhTegXe TaW Vbag\ahXW YbVhf ba W\fV\c_\aXW TaW fgeTgXZ\V VTc\gT_ T__bVTg\ba( jX TeX
             Te`\aZ bhe aba)>88G TW]hfgXW aXg \aVb`X Zh\WTaVX bY ",*-20 U\__\ba gb ",*.0 U\__\ba*


  ++5-25.4   J\aVX ]b\a\aZ ATmm( @%iX fcXag Vbaf\WXeTU_X g\`X fcXT^\aZ j\g[ \aiXfgbef TaW TaT_lfgf TaW ZeXTg_l
             TcceXV\TgX g[X cXefcXVg\iX TaW \achg g[Xl f[TeXW* @a g[XfX VbaiXefTg\baf( @ [XTeW T VbaVXea g[Tg
             ATmm j\__ biXecTl Ybe Ta TVdh\f\g\ba gb `XXg bhe ZbT_ bY VbecbeTgX WXiX_bc`Xag( Vbage\Uhg\aZ "0++
             `\__\ba gb -+-0 eXiXahX*


  ++5-2502   ?XeX%f [bj jX%eX g[\a^\aZ TUbhg g[\f* =\efg( TVdh\e\aZ be _\VXaf\aZ \aabiTg\ba Yeb` bhgf\WX bhe jT__f
             \f VXageT_ gb [bj jX%__ TV[\XiX bhe checbfX bY geTafYbe`\aZ g[X _\iXf bY cTg\Xagf TaW g[X\e YT`\_\Xf*


  ++5-35+4   JXVbaW( Tf jX T__bVTgX VTc\gT_ gb \agXeaT_ ceb]XVgf TaW gb VbecbeTgX WXiX_bc`Xag( jX TeX YbVhfXW
             ba `T^\aZ \aiXfg`Xagf g[Tg VTa WX_\iXe fhfgT\aTU_X eXiXahXf TaW VeXTgX iT_hX Ybe f[TeX[b_WXef*
             NX j\__ eX`T\a W\fV\c_\aXW ba ce\VX TaW j\__ abg `T^X Ta TVdh\f\g\ba ]hfg gb `XXg bhe M\f\ba -+-0
             ZbT_*




                                                                                GTZX 3 bY -+
             n-+-/( 8_c[TJXafX( @aV* 8__ I\Z[gf IXfXeiXW* 8_c[TJXafX \f T fXei\VX `Te^ bY 8_c[TJXafX( @aV* 8__ bg[Xe geTWX`Te^f `Xag\baXW UX_baZ gb g[X\e eXfcXVg\iX bjaXef*
Case 1:21-cv-00691-GBW Document 619 Filed 05/22/24 Page 202 of 247 PageID #: 33347
  ++5-35-1   @%__ V_bfX Ul abg\aZ g[Tg j[\_X @%` fg\__ ZXgg\aZ hc gb fcXXW( @%` \aVeXW\U_l XkV\gXW TUbhg g[X YhgheX bY
             g[\f Vb`cTal TaW g[X bccbegha\g\Xf jX [TiX gb WX_\iXe iT_hX gb Ubg[ cTg\Xagf TaW \aiXfgbef*


  ++5-35.1   N\g[ g[Tg( @%__ ghea g[X VT__ UTV^ gb 9ehVX Ybe V_bf\aZ eX`Te^f*


             Bruce C. Cozadd


  ++5-35/+   @%__ VbaV_hWX bhe ceXcTeXW eX`Te^f ba f_\WX -,* NX%iX `TWX \`cbegTag cebZeXff gbjTeWf WX_\iXe\aZ
             ba bhe -+-/ Zh\WTaVX TaW bU]XVg\iXf TaW TeX c_XTfXW gb UX Te`\aZ bhe Zh\WTaVX gbWTl* Fa g[X
             Vb``XeV\T_ f\WX( jX XkcXVg Vbag\ahXW Zebjg[ bY bhe ^Xl cebWhVgf \a -+-/*


  ++5-3502   8aW ba g[X I$; Yebag( jX Vbag\ahX gb TWiTaVX bhe c\cX_\aX TaW gb \aiXfg \a _baZ)gXe` Zebjg[* NX
             fXX `h_g\c_X VTgT_lfgf \a g[X aXTe gXe`( \aV_hW\aZ WTgT eXTWbhgf Ybe fhiXVT_gT`\WX( mTa\WTgT`TU(
             <c\W\b_Xk( TaW QXcmX_VT*


  ++5-45./   K[Tg VbaV_hWXf bhe ceXcTeXW eX`Te^f* @ jbh_W abj _\^X gb ghea g[X VT__ biXe gb g[X bcXeTgbe gb
             bcXa g[X _\aX Ybe H$8*



  QUESTION AND ANSWER SECTION
             Operator


  ++5-45/1   K[Ta^ lbh* NX j\__ abj UXZ\a g[X dhXfg\ba)TaW)TafjXe fXff\ba* Pbhe ~efg dhXfg\ba Vb`Xf Yeb`
             g[X _\aX bY AXff\VT =lX j\g[ AGDbeZTa* G_XTfX Zb T[XTW*


             Analyst:AXff\VT =lX


  ++5-450.   Question – Jessica Fye: ?Xl Zhlf* >bbW TYgXeabba* K[Ta^f Ybe gT^\aZ `l gjb)cTeg dhXfg\ba ba g[X
             bklUTgX)aTeVb_Xcfl WlaT`\Vf \a g[X dhTegXe* =\efg VTa lbh dhTag\Yl g[X [XTWj\aWf gb ,H Yeb` g[X
             \aVeXTfX \a hfXe cTg\Xagf cXe cebZeT`f( Tf g[bfX OleX` cTg\Xagf geTaf\g\ba gb OljTi7 8aW fXVbaW(
             Wb lbh [TiX Ta haWXefgTaW\aZ bY [bj `Tal OleX` cTg\Xagf _bf\aZ VbiXeTZX geTaf\g\ba gb ZXaXe\V
             OleX` be baVX)a\Z[g_l TaW abg gb OljTi7 K[Ta^ lbh*


  ++5.+5-.   Answer – Bruce C. Cozadd: K[Ta^f AXff Ybe g[X dhXfg\ba TaW IXatX( `TlUX @%__ _Xg lbh gT^X Ubg[
             cTegf bY g[Tg*


  ++5.+5-3   Answer – Renée D. Galá: JheX* Jb AXff( \a gXe`f bY g[X u @%__ gT^X g[X fXVbaW dhXfg\ba ~efg* NX%eX
             abg W\fV_bf\aZ T UeXT^Wbja bY g[bfX cTg\Xagf \a cTeg UXVThfX g[Tg 8> WTgT \f abg bhe WTgT gb f[TeX*
             9hg j\g[ eXfcXVg gb UX\aZ TU_X gb dhTag\Yl [bj `Tal cTg\Xagf VT`X biXe( @ jbh_W fTl g[XeX jTf T
             ZbbW cbeg\ba bY cTg\Xagf g[Tg `TWX g[X WXV\f\ba T_baZ j\g[ g[X\e ?:Gf gb TWbcg _bj fbW\h`f
             OljTi* 8aW jX W\W fXX TaW XfgTU_\f[ g[bfX cTg\Xag fhccbeg cebZeT`f gb XafheX g[Tg jX [TiX
             ha\agXeehcgXW TVVXff Ybe g[bfX cTg\Xagf gb UX TU_X gb Zb Yeb` OleX` W\eXVg_l gb OljTi* Jb j[Tg
             jX%__ fXX \a YhgheX dhTegXef \f lbh f[bh_W fXX T UXggXe eXceXfXagTg\ba bY g[bfX cTg\Xagf \a g[X
             eXiXahX TaW g[X aXg fT_Xf g[Tg Vb`X Yeb` OljTi*


             Operator


  ++5.,5.2   Pbhe aXkg dhXfg\ba Vb`Xf Yeb` ATfba >XeUXeel j\g[ 9Ta^ bY 8`Xe\VT* G_XTfX Zb T[XTW*




                                                                                GTZX 4 bY -+
             n-+-/( 8_c[TJXafX( @aV* 8__ I\Z[gf IXfXeiXW* 8_c[TJXafX \f T fXei\VX `Te^ bY 8_c[TJXafX( @aV* 8__ bg[Xe geTWX`Te^f `Xag\baXW UX_baZ gb g[X\e eXfcXVg\iX bjaXef*
Case 1:21-cv-00691-GBW Document 619 Filed 05/22/24 Page 203 of 247 PageID #: 33348
             Analyst:ATfba >XeUXeel


  ++5.,5/.   Question – Jason Gerberry: ?\( Zhlf* K[Ta^f Ybe gT^\aZ `l dhXfg\ba* Dl dhXfg\ba \f TUbhg lbhe
             G[TfX -U XffXag\T_ geX`be fghWl* Jb \Y g[\f ge\T_ \f fhVVXffYh_( @%` jbaWXe\aZ [bj lbh%eX g[\a^\aZ
             TUbhg g[X fhUfXdhXag fXVbaW Vba~e`Tgbel ge\T_* Nbh_W \g _bb^ fb`Xg[\aZ _\^X g[\f ge\T_( j[\V[ gbb^
             ebhZ[_l gjb)TaW)T)[T_Y lXTef Yeb` fgTeg gb WTgT7 Fe Vbh_W g[XeX UX fb`X fbeg bY `beX TUUeXi\TgXW
             eTaWb`\mXW j\g[WeTjT_ fghWl g[Tg lbh Vbh_W eha gb ZXg lbhefX_Y gb ZbT_ _\aX \a T `beX XkcXW\g\bhf
             `TaaXe7 K[Ta^f*


  ++5.-5--   Answer – Bruce C. Cozadd: IbU( lbh jTag gb ]h`c \a ba g[Tg7


  ++5.-5-/   Answer – Robert Iannone: PXT[( [Tccl gb* Jb ~efg bY T__( ATfba( eX`X`UXe( g[\f \f T G[TfX -U ge\T_*
             @g jbh_W Vbhag( jX UX_\XiX( be Vbage\UhgX gb g[X c\ibgT_ eXZh_Tgbel cTV^TZX* 9hg jX VT__ \g g[X G[TfX
             -U UXVThfX jX \aV_hWXW g[eXX WbfX _XiX_f bY fhiXVT_gT`\WX* 8aW j[Xa jX jbh_W `biX gb( _Xg%f VT__
             \g g[X Vba~e`Tgbel G[TfX . ge\T_( jX jbh_Wa%g aXVXffTe\_l [TiX gb Ue\aZ T__ g[bfX WbfX _XiX_f
             YbejTeW TaW \WXT__l( jX XkcXVg jX jbh_W V[bbfX baX WbfX _XiX_* Jb g[Tg VeXTgXf T `beX
             fgeXT`_\aXW WXf\Za* 8aW gb lbhe cb\ag( j[Xa jX [TiX WTgT \a [TaW TaW jX XaZTZX eXZh_Tgbel
             Thg[be\g\Xf( jX VXegT\a_l( j\g[ Vb`cX__\aZ WTgT( jbh_W UX _bb^\aZ Ybe g[X YTfgXfg cTg[ gb TccebiT_
             TaW _bb^ Tg T__ cbff\U_X ge\T_ WXf\Zaf gb fhccbeg g[Tg*


             Operator


  ++5..5,1   Pbhe aXkg dhXfg\ba Vb`Xf Yeb` g[X _\aX bY DTeV >bbW`Ta j\g[ CXXe\a^* G_XTfX Zb T[XTW*


             Analyst:DTeV >bbW`Ta


  ++5..5-.   Question – Marc Goodman: 9ehVX [TW T _bg bY W\fVhff\baf j\g[ \aiXfgbef biXe g[X cTfg f\k `bag[f
             TUbhg j[Tg ATmm jTagf gb UX TaW j[Tg \g%f geTaf\g\ba\aZ Yeb` TaW gb TaW ]hfg g[X j[b_X U\Z c\VgheX
             W\fVhff\ba TaW T _bg bY \aiXfgbef UX_\XiX lbh jTag gb UXVb`X Ta baVb_bZl Vb`cTal( Tg _XTfg g[Tg%f
             g[X cXeVXcg\ba bhg g[XeX* Ahfg Vhe\bhf( VTa lbh gT_^ TUbhg ]hfg j[Tg \f \g g[Tg lbh XkcXVg ATmm gb
             UXVb`X( j[Tg lbh%eX _bb^\aZ Ybe ATmm gb UX \a ~iX lXTef( f\k lXTef( fXiXa lXTef( ]hfg UXVThfX T__ g[X
             \aiXfg`Xagf lbh%eX `T^\aZ gbWTl TeX bUi\bhf_l Zb\aZ gb UX eX•XVgXW \a ~iX be f\k lXTef TaW ]hfg
             gT_^ TUbhg g[Tg TaW [bj `TlUX \g%f Xib_iXW f\aVX j[Tg ATmm jTf 0( ,+ lXTef TZb7 K[Ta^f*


  ++5./5+0   Answer – Bruce C. Cozadd: PXT[* K[Ta^f( DTeV* Jb jX%eX \a T a\VX cbf\g\ba bY [Ti\aZ Zebj\aZ
             TffXgf ba g[X aXhebfV\XaVX f\WX bY bhe Uhf\aXff \a OljTi TaW <c\W\b_Xk j\g[( jX UX_\XiX( ceb`\fX
             \a Yebag bY hf( \aV_hW\aZ c\cX_\aX cebZeT`f _\^X g[X AQG.30 cebZeT`( jX jXeX ]hfg gT_^\aZ TUbhg*
             NX%eX T_fb XkV\gXW TUbhg j[Tg%f Zb\aZ ba( ba g[X baVb_bZl f\WX bY g[X Uhf\aXff j\g[ WbhU_X)W\Z\g
             Zebjg[ Vb`\aZ Yeb` bhe VheeXag cbegYb_\b( _XW Ul Il_TmX Uhg T_fb bccbegha\g\Xf \a Yebag bY hf j\g[
             mTa\WTgT`TU( j[XeX jX%iX T_eXTWl Zbg g[X fhU`\ff\ba Vb`c_XgX TaW _bb^\aZ YbejTeW gb T _ThaV[
             \a -+-0 be XTe_\Xe( QXcmX_VT WTgT hcVb`\aZ( Uhg T_fb Ta XTe_\Xe fgTZX c\cX_\aX( \aV_hW\aZ cTeg\Vh_Te
             XkcTaf\ba bccbegha\g\Xf j\g[ mTa\WTgT`TU TaW UXlbaW* Jb jX%eX XkV\gXW TUbhg Ubg[ g[bfX
             YeTaV[\fXf* N[\_X g[XeX [Tf UXXa T _bg bY YbVhf ba baVb_bZl TaW VXegT\a_l g[X f\aZ_X _TeZXfg
             cebZeT` \a bhe I$; c\cX_\aX e\Z[g abj \f mTa\WTgT`TU( @ jbh_W abg fTl jX%eX gel\aZ gb ghea g[X
             Vb`cTal \agb Ta baVb_bZl Vb`cTal* NX%W _\^X gb [TiX fgeXaZg[ \a Ubg[ bY bhe YeTaV[\fXf*


  ++5.05,/   K[X \aiXfg`Xagf jX%eX `T^\aZ( TaW @ g[\a^ G[\_ WXfVe\UXW \g a\VX_l \a [\f Vb``Xagf TeX WXf\ZaXW gb
             Ubg[ [X_c g[X f[beg gXe`( cTeg\Vh_Te_l fb`X bY bhe Vb``XeV\T_ \aiXfg`Xagf g[Tg jX g[\a^ VTa
             Vbag\ahX gb ZXaXeTgX ZeXTg Zebjg[ Yeb` bhe Vb``XeV\T_ cbegYb_\b* 8aW I$; \aiXfg`Xagf g[Tg j\__
             Vbag\ahX gb UebTWXa g[Tg c\cX_\aX TaW cebi\WX Zebjg[ biXe Ubg[ g[X aXTe gXe` TaW g[X `XW\h`
             TaW _baZ gXe`( Uhg g[Xa T_fb g[bfX VbecbeTgX WXiX_bc`Xag bccbegha\g\Xf( YhX_XW Ul bhe fgebaZ



                                                                               GTZX ,+ bY -+
             n-+-/( 8_c[TJXafX( @aV* 8__ I\Z[gf IXfXeiXW* 8_c[TJXafX \f T fXei\VX `Te^ bY 8_c[TJXafX( @aV* 8__ bg[Xe geTWX`Te^f `Xag\baXW UX_baZ gb g[X\e eXfcXVg\iX bjaXef*
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             VTf[ •bj( UT_TaVX f[XXg( TaW T [\fgbel bY Wb\aZ geTafTVg\baf g[Tg Vbag\ahX gb TWW gb bhe cbegYb_\b
             T__bj hf gb \`cTVg `beX cTg\Xagf \a `beX W\fXTfXf( \a `beX gXee\gbe\Xf TebhaW g[X jbe_W* Jb @ g[\a^
             TUbhg \g Tf [Ti\aZ gb `T^X f`Teg \aiXfg`Xag WXV\f\baf( j[\V[ jX%eX \a T cbf\g\ba gb Wb Z\iXa g[X
             ~aTaV\T_ fgeXaZg[ bY g[X Vb`cTal gb YhX_ Ubg[ g[X f[beg TaW g[X _baZ gXe` gb VeXTgX iT_hX Ybe bhe
             f[TeX[b_WXef* Jb XkXVhg\ba \a g[X f[beg gXe` \`cbegTag( \aiXfg`Xag WXV\f\baf TeX T_jTlf
             \`cbegTag( Uhg @ g[\a^ g[Tg f[bh_W Z\iX lbh T UXggXe fXafX Ybe j[XeX jX%eX [XTWXW*


             Operator


  ++5.15--   Pbhe aXkg dhXfg\ba Vb`Xf Yeb` g[X _\aX bY 8aaTUX_ JT`\`l j\g[ Jg\YX_* G_XTfX Zb T[XTW*


             Analyst:8aaTUX_ JT`\`l


  ++5.15-4   Question – Annabel Samimy: ?\* K[Ta^f Ybe gT^\aZ `l dhXfg\ba* @ [TW T gjb)cTeg \a ba mTa\* @
             ZhXff g[X ~efg \f( [bj f[bh_W jX g[\a^ TUbhg g[X bccbegha\gl Ybe mTa\ \a ><8 \a _\Z[g bY g[X UXggXe
             B<PEFK< WTgT( FJ g[Tg g[Xl TaabhaVXW gbWTl ba B<PKIL;87 8aW @ ZhXff( fXVbaW_l( j[XeX jbh_W
             mTa\ f\g \agb g[\f cTeTW\Z`* JXcTeTgX_l( Ybe _ThaV[ bY mTa\ TaW Tf jX g[\a^ TUbhg T__ g[XfX
             \aW\VTg\baf( [bj f[bh_W jX g[\a^ TUbhg [bj eTc\W_l aXj VTaVXe WehZf j\g[ fhcXe\be XVTVl
             ceb~_Xf VTa W\fehcg `T\afgTl fgTaWTeW bY VTeX7 @ ZhXff( \a bg[Xe jbeWf( TeX g[XfX eT`cf Zb\aZ gb
             UX `beX eTc\W be ]hfg Tf V[T__XaZ\aZ Tf( fTl( \a bg[Xe abaYTgT_ VbaW\g\baf* Jb @ ]hfg jTagXW gb ZXg
             fb`X V[TeTVgXe\mTg\ba g[XeX* K[Ta^f*


  ++5.25--   Answer – Bruce C. Cozadd: PXf( 8aaTUX_( g[Ta^f Ybe g[X dhXfg\ba* 8aW ba g[X mTa\WTgT`TU( ~efg
             dhXfg\ba( ><8( jX [TW UXXa XkcXVg\aZ cbf\g\iX FJ eXfh_gf Tg fb`X cb\ag bhg bY g[Tg ge\T_( @ g[\a^
             `bfg cXbc_X [TW* Jb @ Wba%g g[\a^ g[Tg V[TaZXf g[X _TaWfVTcX( Uhg @%__ _Xg IbU Vb``Xag ba j[XeX
             mTa\ Vbh_W ~g \agb g[X ><8 _TaWfVTcX* 8aW g[Xa ba lbhe fXVbaW dhXfg\ba( \g%f T__ TUbhg eXfh_gf TaW
             ha\dhXaXff bY `XV[Ta\f` bY TVg\ba TaW UXaX~g eX_Tg\iX gb bg[Xe g[XeTc\Xf g[Tg WXgXe`\aX [bj YTfg
             lbh VTa `T^X cebZeXff Yeb` _ThaV[* 8aW j[Xa jX [TiX g[X bccbegha\gl gb Ue\aZ fb`Xg[\aZ eXT__l
             aXj gb cTg\Xagf \a gXe`f bY UXaX~g( cTeg\Vh_Te_l \a g[X baVb_bZl fcTVX( j[XeX @ g[\a^ g[\aZf VTa
             `biX fb`Xg\`Xf XiXa T[XTW bY T eXZh_Tgbel TccebiT_( \Y g[XeX%f fgebaZ WTgT g[Tg%f UXXa ceXfXagXW
             g[Tg%f c\V^XW hc \a g[X E::E Zh\WX_\aXf TaW T__bjf Ybe eX\`UhefX`Xag( lbh VTa ZXg YT\e_l eTc\W
             geTVg\ba j\g[ T UXggXe bcg\ba* IbU( lbh jTag gb gT_^ TUbhg g[X _TaWfVTcX \a ><87


  ++5.35-3   Answer – Robert Iannone: PXf* Jb \a g[X VbagXkg bY ?<I- cbf\g\iX biXe XkceXffXW
             ZTfgebXfbc[TZXT_ TWXabVTeV\ab`T( jX g[\a^ mTa\WTgT`TU [Tf g[X cbgXag\T_ gb UX g[X ?<I-
             TagTZba\fg bY V[b\VX UXVThfX bY \gf W\}XeXag\TgXW `XV[Ta\f` bY TVg\ba TaW UXVThfX bY g[X
             W\}XeXag\TgXW XVTVl TaW fTYXgl ceb~_X* :XegT\a_l \a g[X G;)C, aXZTg\iX cbch_Tg\ba( j[\V[ jX
             g[\a^ \f f\mTU_X( g[XeX \f ab TccebiXW G;), TZXagf* 8aW fb g[X Vb`cTeTgbe g[XeX \f ?XeVXcg\a
             V[X`bg[XeTcl* 9hg XiXa \a g[X G;)C, cbf\g\iX cbch_Tg\ba( j[XeX jX g[\a^ G;), TZXagf TeX
             XffXag\T__l \agXeV[TaZXTU_X( jX [TiX g[X bccbegha\gl \a Vb`U\aTg\ba j\g[ g\f_X_\mh`TU gb f[bj g[X
             UXaX~g bY mTa\WTgT`TU( TZT\a( [Tf T W\}XeXag\TgXW ?<I- TagTZba\fg \a Vb`U\aTg\ba j\g[ UTV^UbaX
             V[X`bg[XeTcl TaW T G;), TagTZba\fg*


             Operator


  ++5.45-1   Pbhe aXkg dhXfg\ba Vb`Xf Yeb` g[X _\aX bY 8^Tf[ KXjTe\ j\g[ AX}Xe\Xf* G_XTfX Zb T[XTW*


             Analyst:8^Tf[ KXjTe\


  ++5.45..   Question – Akash Tewari: ?Xl( g[Ta^f fb `hV[* Ahfg Zb\aZ ba g[X ?<I@QFE)><8 fghWl( [bj
             f[bh_W jX eXT__l \agXeceXg g[X A8:F9 ge\T_7 ?XeX( jX fTj g[X TWW\g\ba bY G<IA<K8 W\Wa%g cebi\WX Tal


                                                                               GTZX ,, bY -+
             n-+-/( 8_c[TJXafX( @aV* 8__ I\Z[gf IXfXeiXW* 8_c[TJXafX \f T fXei\VX `Te^ bY 8_c[TJXafX( @aV* 8__ bg[Xe geTWX`Te^f `Xag\baXW UX_baZ gb g[X\e eXfcXVg\iX bjaXef*
Case 1:21-cv-00691-GBW Document 619 Filed 05/22/24 Page 205 of 247 PageID #: 33350
             FJ UXaX~g \a ><8 ba gbc bY geTf V[X`b( TaW g[\f \f T _TeZX fVT_X G[TfX .* N[Tg Z\iXf lbhe gXT`
             Vba~WXaVX g[Tg QN-0%f XTe_l WTgT j\__ [b_W hc \a g[\f fXgg\aZ7


  ++5.450.   8aW g[Xa `TlUX ]hfg ba XffXag\T_ geX`be( AQG.03 &f\V' RAQG.30S X}XVg\iX_l f[bjXW ab UXaX~g ba Ta
             TVVX_Xeb`XgXe `XTfheX`Xag \a \gf G[TfX - ge\T_* ;b lbh YXX_ _\^X g[XeX jTf fb`Xg[\aZ TUbhg [bj
             g[X ^\gf jXeX TW`\a\fgXeXW \a g[Tg fghWl g[Tg `Tl [TiX f^XjXW g[bfX eXfh_gf TaW [bj Vba~WXag Wb
             lbh YXX_ \a lbhe TU\_\gl gb f[bj T f\ZaT_ ba g[X TVVX_Xeb`XgXe XaWcb\ag j\g[ lbhe hcVb`\aZ WTgT7
             K[Ta^ lbh*


  ++5/+5-,   Answer – Bruce C. Cozadd: PXf( 8^Tf[( g[Ta^f Ybe g[X gjb dhXfg\baf* DTlUX @%__ fgTeg ba g[X
             XffXag\T_ geX`be TaW g[Xa _Xg IbU TWW Talg[\aZ [X%W _\^X ba g[X baZb\aZ ge\T_ TaW g[Xa Vb``Xag
             ba lbhe mTa\ dhXfg\ba* Ahfg gb eX`X`UXe g[Tg g[X ce\be K):8CD fghWl Ybe XffXag\T_ geX`be W\W
             WX`bafgeTgX T a\VX UXaX~g ba K<KI8J TVg\i\g\Xf bY WT\_l _\i\aZ( j[\V[ jX UX_\XiX \f T `XTfheX g[Tg%f
             TVghT__l `beX \`cbegTag gb cTg\Xagf g[Ta g[X `XTfheX`Xag bY g[X dhTag\gl bY geX`be* N[Tg
             cTg\Xagf jTag \f gb UX TU_X gb _\iX g[X\e _\YX gb Wb g[X g[\aZf g[Xl aXXW gb Wb gb UX TU_X gb We\a^ bhg
             bY T Vhc( gb UX TU_X gb Uhggba TaW haUhggba V_bg[Xf( gb UX TU_X gb Tcc_l `T^Xhc( gb Wb g[X g[\aZf
             g[Xl VTeX TUbhg*


  ++5/,5,.   8aW jX jXeX iXel c_XTfXW g[Tg g[Tg UXVT`X `beX bY T YbVhf Ybe g[X c\ibgT_ XaWcb\agf \a _TgXe)
             fgTZX ge\T_f* @ g[\a^ =;8 gbb haWXefgTaWf lbh jTag gb Wb j[Tg%f eXT__l Zb\aZ gb cebi\WX T UXaX~g gb
             cTg\Xagf* IbU( lbh jTag gb gT_^ T _\gg_X U\g TUbhg bhe baZb\aZ ge\T_ TaW g[Xa c\ibg gb mTa\*


  ++5/,5..   Answer – Robert Iannone: PXf( [Tccl gb* 8aW fb @ jbh_W TZeXX( 9ehVX( g[Tg g[X XaWcb\agf g[Tg jX
             ce\be\g\mX Tf ce\`Tel TeX abg ba_l g[X `bfg `XTa\aZYh_ gb cTg\Xagf( Uhg XaWbefXW Ul =;8* 8aW ba
             g[bfX XaWcb\agf( jX [TiX Vba~WXaVX Yeb` g[X K):8CD ge\T_* 8aW @ jbh_W ]hfg TWW gb g[Tg( \a g[X
             VheeXag G[TfX -U ge\T_ j\g[ T aXj baVX)WT\_l Ybe`h_Tg\ba( jX%iX UXXa TU_X gb chf[ g[Tg WbfX gb
             XkcbfheXf g[Tg jbh_W UX [\Z[Xe g[Ta \a g[X K):8CD ge\T_ \gfX_Y UXVThfX jX [TiX ,+( -+ TaW .+
             `\__\ZeT` WbfXf \a g[Tg ge\T_* Jb jX g[\a^ UTfXW ba g[Tg( jX%eX cbf\g\baXW Ybe fhVVXff*


  ++5/-5,.   8aW g[Xa Vb`\aZ UTV^ gb g[X dhXfg\ba ba A8:F9 TaW ><8( g[X ^Xl cb\ag @%W _\^X gb `T^X \f jX eXT__l
             UX_\XiX g[Tg mTa\WTgT`TU \f W\}XeXag\TgXW Yeb` XiXa g[X Vb`U\aTg\ba bY ?XeVXcg\a TaW G<IA<K8* 8f
             jX ceXfXagXW Tg bhe I$; ;Tl( jX fgXccXW g[ebhZ[ fb`X \`cbegTag WTgT g[Tg jXeX chU_\f[XW \a
             ETgheX :b``ha\VTg\baf( f[bj\aZ [bj mTa\WTgT`TU \f W\}XeXag\TgXW*


  ++5/-5.0   N\g[ gjb Xc\gbcXf aXVXffTe\_l U\aW\aZ gjb W\fg\aVg eXVXcgbef( VThf\aZ `beX X}XVg\iX eXVXcgbe
             V_hfgXe\aZ TaW \agXeaT_\mTg\ba TaW [TiX WX`bafgeTgXW UXggXe \``haX YhaVg\ba( Ybe XkT`c_X(
             Vb`c_X`Xag ~kTg\ba* 8aW fb \a g[Tg cTcXe [XTW)gb)[XTW TaW ceXV_\a\VT_ XkcXe\`Xagf UXggXe g[Ta
             ?XeVXcg\a TaW G<IA<K8 TaW g[X V_\a\VT_ WTgT UXTe g[Tg bhg j\g[bhg Zb\aZ \agb ZeXTg WXgT\_( \Y lbh
             _bb^ Tg g[X 9K: WTgT( j[XeX g[X eXfcbafX eTgXf TeX biXe /+# TaW WheTg\ba bY eXfcbafX ZeXTgXe
             g[Ta ,- `bag[f* K[Tg Vb`cTeXf iXel YTibeTU_l gb ce\be WTgT j\g[ g[X Vb`U\aTg\ba bY ?XeVXcg\a TaW
             G<IA<K8* 8aW( bY VbhefX( jX [TiX WTgT \a UeXTfg VTaVXe f[bj\aZ TVg\i\gl bY mTa\WTgT`TU XiXa TYgXe
             cTg\Xagf [TiX YT\_XW Yebag_\aX g[XeTcl j\g[ ?XeVXcg\a TaW G<IA<K8 Tf cTeg bY T :C<FG8KI8 eXZ\`Xa*


  ++5/.5-3   Jb g[Tg \a Vb`U\aTg\ba j\g[ g[X WTgT g[Tg lbh eXYXeeXW gb( mTa\ TaW V[X`b TaW g[Xa fXcTeTgX_l T
             Vb[beg bY mTa\( V[X`b( g\f_X_\mh`TU f[bj\aZ iXel ceb`\f\aZ abg ba_l eXfcbafX eTgXf( Uhg iXel( iXel
             WheTU_X eXfcbafXf* K[Tg%f j[Tg Z\iXf hf Vba~WXaVX g[Tg bhe G[TfX . ge\T_ j\__ UX fhVVXffYh_*


             Operator


  ++5/.5/4   Pbhe aXkg dhXfg\ba Vb`Xf Yeb` g[X _\aX bY 8`\ =TW\T j\g[ EXXW[T` $ :b`cTal* G_XTfX Zb T[XTW*




                                                                               GTZX ,- bY -+
             n-+-/( 8_c[TJXafX( @aV* 8__ I\Z[gf IXfXeiXW* 8_c[TJXafX \f T fXei\VX `Te^ bY 8_c[TJXafX( @aV* 8__ bg[Xe geTWX`Te^f `Xag\baXW UX_baZ gb g[X\e eXfcXVg\iX bjaXef*
Case 1:21-cv-00691-GBW Document 619 Filed 05/22/24 Page 206 of 247 PageID #: 33351
             Analyst:8`\ =TW\T


  ++5/.501   Question – Ami Fadia: ?\( ZbbW XiXa\aZ* K[Ta^f Ybe gT^\aZ `l dhXfg\ba* GXe[Tcf @ [TW T dhXfg\ba
             Ybe G[\_( ]hfg j\g[ eXZTeWf gb [\f Vb``Xagf TebhaW Uhf\aXff WXiX_bc`Xag* 8aW g[Tg%f T dhXfg\ba
             g[Tg jX ZXg bYgXa Yeb` \aiXfgbef Tf jX__* :Ta lbh gT_^ TUbhg fb`X bY g[X `Xge\Vf g[Tg lbh jbh_W
             hfX gb eXT__l XiT_hTgX cbgXag\T_ WXT_f \a gXe`f bY ^\aW bY j[Tg eXT__l jbh_W `XXg g[X UTe \a gXe`f bY
             j[Tg ATmm jbh_W UX \agXeXfgXW \a XkXVhg\aZ ba7 8aW T_fb( VTa lbh gT_^ TUbhg hfX bY VTc\gT_ TVebff
             I$;( Uhf\aXff WXiX_bc`Xag( Uhg T_fb cXe[Tcf UhlUTV^ bY f[TeXf7 K[Ta^ lbh*


  ++5//5/-   Answer – Bruce C. Cozadd: K[Ta^f( 8`\* G[\_( Zb T[XTW TaW ]h`c e\Z[g \a*


  ++5//5/0   Answer – Philip L. Johnson: >eXTg( 8`\* K[Ta^ lbh Ybe g[X dhXfg\ba* Dl ~efg baX ba T ATmm
             XTea\aZf VT__ TaW XiXa @%iX UXXa TebhaW Ybe T j[\_X `l `b` fg\__ _\fgXa gb g[XfX* Jb g[Ta^f Ybe
             Z\i\aZ [Xe XTe_l Dbg[Xe%f ;Tl ceXfXag*


  ++5//50/   @a gXe`f bY bhe VbecbeTgX WXiX_bc`Xag XiT_hTg\ba( ~efg TaW YbeX`bfg( g[XeX TeX T ah`UXe bY aba)
             ~aTaV\T_ Ve\gXe\T g[Tg jX jbh_W _bb^ Tg* Ge\`Te\_l( g[X g[\aZf _\^X \f g[XeX Ta TeXT j\g[ f\Za\~VTag
             ha`Xg aXXW j\g[ g[X `XW\V\aX g[Tg jX%eX _bb^\aZ Tg TVdh\e\aZ TeX `XW\V\aXf eXT__l `XTa\aZYh__l
             \`cTVg cTg\Xagf( \f g[XeX Ta XV\Xag Vb``XeV\T_ VT__ cb\ag* NX Wb [TiX T eX_Tg\iX_l YbVhfXW
             Uhf\aXff TaW jTag gb `T^X fheX g[Tg jX%eX fXg hc Ybe fhVVXff gb Vb``XeV\T_\mX g[X TffXgf g[Tg
             jX%eX Ue\aZ\aZ \a( j\__ T__bj hf gb _XiXeTZX g[X XkcXeg\fX jX%iX Zbg \a)[bhfX( g[X Vb``XeV\T_
             Ybbgce\ag jX%iX Uh\_g bhg TaW Vbag\ahX gb Uh\_W bhg( Ybe XkT`c_X( j\g[ ATcTa Vb`\aZ fbba*


  ++5/05./   8aW jX%__ fgTl _TeZX_l YbVhfXW( Tf jX gT_^XW \a g[X cTfg( \a aXhebfV\XaVX Tf jX__ Tf baVb_bZl* 9hg jX
             [TiX _bb^XW Tg g[\aZf \a g[X eTeX bec[Ta fcTVX Tf jX__ Z\iXa g[X ^\aWf bY VTcTU\_\g\Xf g[Tg jX Uh\_g
             hc fX__\aZ cebWhVgf j\g[ g[XfX glcXf bY _\`\gXW cTg\Xag cbch_Tg\baf*


  ++5/050-   =eb` T ~aTaV\T_ cXefcXVg\iX( \g eXT__l( \f @ g[\a^( fb`X bY g[X geTW\g\baT_ g[\aZf g[Tg lbh jbh_W
             XkcXVg* NX Wb jTag gb [TiX _\aX bY f\Z[g gb ZXgg\aZ T ZbbW eXghea ba g[X \aiXfg`Xag* NX%__ _bb^ Tg
             g[\aZf g[Tg jbh_W iTel fb`X bY g[X ^Xl Tffh`cg\baf( abg ba_l WeTYg _ThaV[ _TUX_ TaW Vb`cXg\g\iX
             _TaWfVTcX( Uhg T_fb g\`X_\aX gb Vbag\ahX gb `T^X T eXghea ba \aiXfg`Xag \a g[X `Te^Xgc_TVX(
             W\}XeXag bcg\baf Ybe XkV_hf\i\gl( UX g[Tg g[ebhZ[ bec[Ta WehZ XkV_hf\i\gl( g[ebhZ[ cTgXag _\YX be
             bg[Xe XkgXaf\baf*


  ++5/15-1   Jb jX ~aW abg[\aZ hahfhT_ \a gXe`f bY g[X ~aTaV\T_ XiT_hTg\ba g[Tg jX%W [TiX g[XeX* 9hg ~efg TaW
             YbeX`bfg( jX aXXW gb ~ZheX bhg \f g[\f T ATmm TffXg TaW baX j[XeX g[XeX VTa UX T f\Za\~VTag iT_hX
             cebcbf\g\ba Ybe cTg\Xagf*


  ++5/15.4   @a gXe`f bY VTc\gT_ ce\be\g\Xf( @%W fTl( ~efg TaW YbeX`bfg( iXel Vbaf\fgXag j[Tg lbh%iX [XTeW \a g[X
             cTfg Yeb` 9ehVX( IXatX TaW g[X gXT`( jX%eX YbVhfXW ba We\i\aZ g[X Vb``XeV\T_ bccbegha\g\Xf Ybe
             g[X \a)`Te^Xg cebWhVgf g[Tg jX [TiX TeX WXW\VTg\aZ f\Za\~VTag `ba\Xf gb ZXg g[bfX gb Tf `Tal
             cTg\Xagf Tf cbff\U_X g[Tg VTa UXaX~g Yeb` g[bfX `XW\V\aXf*


  ++5/25++   NX g[Xa TeX _bb^\aZ gb eTc\W_l cebZeXff g[X Xk\fg\aZ c\cX_\aX g[Tg jX [TiX* FUi\bhf_l( jX%eX
             `T^\aZ f\Za\~VTag \aiXfg`Xagf UX[\aW mTa\WTgT`TU( Z\iXa g[X WTgT g[Tg jX ZXaXeTgXW cbfg g[X
             _\VXaf\aZ WXT_ TaW g[Xa _bb^\aZ Tg Uhf\aXff WXiX_bc`Xag gb Yheg[Xe ThZ`Xag bhe Zebjg[ cebfcXVgf
             Ybe g[X YhgheX* FaVX jX%iX Xk[ThfgXW g[bfX cbff\U\_\g\Xf( g[Xa jX _bb^ gb eXghea XkVXff VTf[ gb
             f[TeX[b_WXef* Jb @ [bcX g[Tg Z\iXf lbh T fXafX Ybe [bj jX%eX _bb^\aZ Tg ce\be\g\m\aZ VTc\gT_ Zb\aZ
             YbejTeW*


             Operator




                                                                               GTZX ,. bY -+
             n-+-/( 8_c[TJXafX( @aV* 8__ I\Z[gf IXfXeiXW* 8_c[TJXafX \f T fXei\VX `Te^ bY 8_c[TJXafX( @aV* 8__ bg[Xe geTWX`Te^f `Xag\baXW UX_baZ gb g[X\e eXfcXVg\iX bjaXef*
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  ++5/25.,   Pbhe aXkg dhXfg\ba Vb`Xf Yeb` g[X _\aX bY AbfXc[ K[b`X j\g[ K; :bjXa* G_XTfX Zb T[XTW*




             Analyst:AbfXc[ K[b`X


  ++5/25.3   Question – Joseph Thome: ?\( g[XeX* >bbW TYgXeabba TaW g[Ta^ lbh Ybe gT^\aZ `l dhXfg\ba*
             DTlUX baX ba g[X hcVb`\aZ XffXag\T_ geX`be eXTWbhg* N[Tg \f fbeg bY g[X UTe Ybe V_\a\VT_
             `XTa\aZYh_aXff ba g[X K<KI8J XaWcb\ag7 Fe @ ZhXff j[Tg \f lbhe \agXeaT_ UTe( lbh g[\a^( Ybe ^\aW
             bY gT^\aZ g[X cebZeT` YbejTeW7


  ++5/250-   8aW g[Xa baX ]hfg cb\ag bY V_Te\~VTg\ba UXVThfX @ g[\a^ \a eXfcbafX gb baX bY g[X XTe_\Xe dhXfg\baf(
             g[X G[TfX . Ybe XffXag\T_ geX`be jTf eXYXeeXW gb Tf T Vba~e`Tgbel ge\T_* Jb @ ]hfg jTag gb `T^X fheX
             g[Tg jTf TVghT__l Vba~e`\aZ g[X WbfX TaW abg g[Tg( g[Tg G[TfX -U Vbh_W cbgXag\T__l UX hfXW Ybe
             TccebiT_ TaW g[Xa lbh jbh_W Wb T G[TfX . Vba~e`Tgbel fghWl7 K[Ta^f*


  ++5/35,-   Answer – Robert Iannone: PXf* K[Ta^f Ybe Z\i\aZ `X g[X bccbegha\gl gb V_Te\Yl* @ W\Wa%g `XTa gb
             \`c_l g[Tg jX jbh_W ZXg TccebiT_ UTfXW ba g[X G[TfX -U ]hfg g[Tg \g j\__ UX cTeg bY T cTV^TZX TaW
             glc\VT__l \a g[X fcTVX( =;8 j\__ UX _bb^\aZ Ybe \aWXcXaWXag fghW\Xf gb Vba~e` XVTVl* @ W\W jTag gb
             cb\ag bhg g[Tg j[Xa jX Zb gb g[Tg fXVbaW XVTVl fghWl jX%eX _\^X_l gb ba_l hfX baX WbfX( j[\V[
             jbh_W UX T fgeXT`_\aXW WXf\Za UXVThfX @ g[\a^ g[X XTe_\Xe dhXfg\ba [TW gb Wb j\g[( Vbh_W lbh `biX
             `beX dh\V^_l g[Ta lbh W\W j\g[ g[X G[TfX -U fghWl*


  ++5/35/0   NX [TiXa%g fT\W( \a cTeg\Vh_Te be fcXV\~VT__l( j[Tg _XiX_ bY W\}XeXaVX ba g[X 8;J be g[X
             cXeYbe`TaVX fVT_X g[Tg jbh_W UX `XTa\aZYh_ XabhZ[ Ybe TccebiT_ be Ybe cTg\Xagf* 9hg @ jbh_W ]hfg
             [\Z[_\Z[g g[Tg g[XeX eXT__l [Tfa%g UXXa Tal g[XeTc\Xf Ybe g[\f W\fXTfX T_`bfg XiXe( XiXa g[bhZ[
             g[\aZf _\^X cebceTab_b_ TaW ce\`\WbaX TeX hfXW* K[Xl eXT__l [TiX `\a\`T_ XVTVl*


  ++5/45,-   Jb g[XeX%f T fhUfgTag\T_ ha`Xg aXXW* 8aW @ jbh_W ]hfg fTl( UTfXW ba j[Tg jX fTj Yeb` g[X K):8CD
             fghWl( jX g[\a^ g[Tg fhiXVT_gT`\WX eXT__l [Tf Ta bccbegha\gl gb `T^X T `XTa\aZYh_ W\}XeXaVX ba
             g[X XaWcb\agf g[Tg `TggXe gb cTg\Xagf* 8aW biXeT__( \a gXe`f bY \gf cebiTU\_\gl( \g j\__ UX UTfXW ba
             g[Tg( g[X X}XVg f\mX bY g[bfX ce\`Tel TaW fXVbaWTel XaWcb\agf Tf jX__ Tf g[X biXeT__ gb_XeTU\_\gl(
             j[\V[ jX g[\a^ j\__ UX ZbbW Z\iXa g[X baVX)WT\_l XkgXaWXW eX_XTfX TaW g[X g\geTg\ba g[Tg jX W\W \a
             g[X ge\T_*


             Operator


  ++5/45/2   Pbhe aXkg dhXfg\ba Vb`Xf Yeb` g[X _\aX bY 8f[ MXe`T j\g[ L9J* G_XTfX Zb T[XTW*


             Analyst:8f[jTa\ MXe`T


  ++5/450.   Question – Ashwani Verma: ?\( g[XeX* PXf* K[Ta^f Ybe gT^\aZ `l dhXfg\ba* @ ]hfg jTagXW gb ZXg T
             fXafX _\^X \a g[X _baZ gXe` Ybe aTeVb_Xcfl* @ haWXefgTaW Yeb` lbhe cXefcXVg\iX g[Tg lbh UX_\XiX
             g[Tg OljTi j\__ eX`T\a Ta bklUTgX bY V[b\VX* 9hg \a lbhe i\Xj( _\^X j[Tg cXeVXagTZX bY cTg\Xagf Wb
             lbh g[\a^ `Tl h_g\`TgX_l fj\gV[ gb T baVX)a\Z[g_l be ZXaXe\V OleX`7 8aW g[Xa Tf lbh%eX gel\aZ gb
             XkgXaW lbhe _XTWXef[\c \a g[X f_XXc TeXaT( TeX lbh Vb``\ggXW gb cbgXag\T__l chefh\aZ Tabg[Xe
             beXk\a be gel gb \agXeaT__l WXiX_bc T baVX)a\Z[g_l VTaW\WTgX7 K[Ta^f*


  ++50+5-3   Answer – Bruce C. Cozadd: PXf* 8f[( `TlUX @%__ gT^X g[X fXVbaW cTeg bY lbhe dhXfg\ba ~efg* 8aW
             g[Xa( IXatX( `TlUX lbh VTa [bc \a ba g[X aTeVb_Xcfl f\WX* IbU ZTiX lbh T _\gg_X U\g bY Ta hcWTgX



                                                                               GTZX ,/ bY -+
             n-+-/( 8_c[TJXafX( @aV* 8__ I\Z[gf IXfXeiXW* 8_c[TJXafX \f T fXei\VX `Te^ bY 8_c[TJXafX( @aV* 8__ bg[Xe geTWX`Te^f `Xag\baXW UX_baZ gb g[X\e eXfcXVg\iX bjaXef*
Case 1:21-cv-00691-GBW Document 619 Filed 05/22/24 Page 208 of 247 PageID #: 33353
             ba g[X //, cebZeT`* NX%eX Wb\aZ T _\gg_X `beX jbe^ g[XeX TaW VbaYXee\aZ j\g[ bhe cTegaXe UXYbeX
             jX TaabhaVX aXkg fgXcf* NX [TiX ceXi\bhf_l fT\W jX [TiX bg[Xe UTV^hc cebZeT`f UX[\aW g[Tg Tf
             jX__* NX ~aW g[\f Ta \agXeXfg\aZ TeXT( VXegT\a_l j\g[ T _bg bY ceb`\fX( g[bhZ[ WXiX_bc`Xag eX`T\af
             XTe_l \a g[X beXk\a fcTVX* 9hg \a gXe`f bY T aXj `XV[Ta\f` bY TVg\ba( \g T_eXTWl [Tf cebbY bY
             VbaVXcg( TaW jX%eX WX~a\gX_l \agXeXfgXW \a g[X UXaX~g g[Tg VTa Ue\aZ gb cTg\Xagf* IXatX7


  ++50,5,1   Answer – Renée D. Galá: PXT[* K[Ta^f( 9ehVX* Jb @ jbh_W fTl j\g[ eXfcXVg gb OljTi( V_XTe_l jX
             fTj Ubg[ fgebaZ cTg\Xag Zebjg[ TaW aXg fT_Xf Zebjg[ lXTe)biXe)lXTe( g[Tg jTf ,/# \a gXe`f bY aXg
             fT_Xf Zebjg[* 8aW jX UX_\XiX g[Tg eX•XVgf OljTi Tf UX\aZ T W\}XeXag\TgXW g[XeTcl( g[X ba_l _bj)
             fbW\h` bklUTgX ba g[X `Te^Xg TaW g[X ah`UXe baX geXTg`Xag Ybe aTeVb_Xcfl*


  ++50,5/-   @ jbh_W fTl( j\g[ eXfcXVg gb cXbc_X gel\aZ T ~kXW WbfX [\Z[)fbW\h` bklUTgX( jX fT\W jX Wb XkcXVg
             fb`X cTg\Xagf gb gel g[Tg UeTaWXW g[XeTcl* NX Wb XkcXVg g[Tg VXegT\a cTg\Xagf TaW ?:Gf j\__ jTag
             gb ZXg XkcXe\XaVX j\g[ T ~kXW WbfX eXZ\`Xa* N[Tg jX TeX [XTe\aZ TaXVWbg\VT__l TaW T_fb fXX\aZ
             j\g[ eXfcXVg gb cTg\Xagf \f g[Tg jX TeX fXX\aZ fb`X cTg\Xagf abg ZXg T Yh__ a\Z[g%f VbiXeTZX* NX
             UX_\XiX g[Tg g[XeX \f UXaX~g gb UX\aZ TU_X gb [TiX T Yh__ a\Z[g%f VbiXeTZX \a gXe`f bY f_XXc TaW g[X
             •Xk\U\_\gl g[Tg Vb`Xf j\g[ g[X gj\VX)a\Z[g_l Wbf\aZ*


  ++50-5.,   9hg `beX \`cbegTag_l( Tf g[X ba_l _bj)fbW\h` bklUTgX ba g[X `Te^Xg( jX TeX fXX\aZ g[Tg
             XWhVTg\aZ ba g[X UXaX~gf bY _bj fbW\h`( chU_\f[\aZ TaW \aiXfg\aZ \a Xi\WXaVX ZXaXeTg\ba ba g[\f
             Yebag( g[Tg `XffTZX \f eXfbaTg\aZ j\g[ ?:Gf( jX [TiX fXXa WTgT f[bj\aZ g[X YTfgXe)g[Ta)XkcXVgXW
             aXZTg\iX \`cTVg Yeb` T VTeW\biTfVh_Te cXefcXVg\iX g[Tg cTg\Xagf [TiX j[Xa g[Xl fgTeg T [\Z[)
             fbW\h` bklUTgX g[XeTcl( TaW jX UX_\XiX g[Tg cTg\Xagf TaW ?:Gf j\__ h_g\`TgX_l Vbag\ahX gb
             ce\be\g\mX _baZ)gXe` [XT_g[ j[Xa \g Vb`Xf gb g[X\e bklUTgX g[XeTcl j\g[ eXfcXVg gb aTeVb_Xcfl
             &++50.5-.'* K[XfX TeX Ubg[ V[eba\V VbaW\g\baf( TaW g[Tg Z\iXf hf Vbag\ahXW Vba~WXaVX \a g[X _baZ)
             gXe` Zebjg[ TaW WheTU\_\gl bY OljTi*


             Operator


  ++50.5.2   Pbhe EXkg dhXfg\ba Vb`Xf Yeb` Abba CXX j\g[ Keh\fg JXVhe\g\Xf* G_XTfX Zb T[XTW*


             Analyst:Abba CXX


  ++50.5//   Question – Joon Lee: ?Xl* K[Ta^f Ybe g[X hcWTgXf TaW Ybe gT^\aZ bhe dhXfg\baf* Pbh [TW T _bg bY
             ceXfXagTg\baf Tg 88E( TaW baX \a cTeg\Vh_Te jTf ba g[X XVTVl bY <c\W\b_Xk \a YbVT_)bafXg fX\mheXf
             \a g[X VbagXkg bY Ta <kcTaWXW 8VVXff GebZeT`* 8aW g[X fghWl f[bjXW \``XW\TgX &++50.502'
             fX\mheX eXWhVg\ba \a g[X `\W)2# eTaZX* ?bj ceXiT_Xag \f g[X b})_TUX_ hfX bY <c\W\b_Xk TaW j[Tg
             fbeg bY Zebjg[ bccbegha\g\Xf Wb lbh g[\a^ lbh [TiX g[XeX7 K[XeX%f T _bg bY \aiXfgbe \agXeXfg \a YbVT_)
             bafXg fX\mheXf g[XfX WTlf* K[Ta^ lbh*


  ++50/5,0   Answer – Bruce C. Cozadd: IXatX( lbh jTag gb gT^X g[Tg7


  ++50/5,4   Answer – Renée D. Galá: JheX* NX__( V_XTe_l j\g[ eXfcXVg gb bhe ceb`bg\baT_ TVg\i\g\Xf( jX YbVhf
             bhe ceb`bg\baT_ TVg\i\g\Xf ba g[bfX \aW\VTg\baf j[XeX jX TeX TccebiXW( g[Tg UX\aZ C>J( ;eTiXg TaW
             KJ:* ?bjXiXe( jX Wb fXX Vbag\ahXW hfX UTfXW ba fX\mheX glcX* 8aW jX Wb fXX Vbag\ahXW hfX \a
             bg[Xe eXYeTVgbel Xc\_Xcf\Xf( TaW g[Tg \f Ta TeXT g[Tg jX Tffh`X j\__ Vbag\ahX gb cebi\WX Zebjg[ Ybe
             <c\W\b_Xk* K[X eXT_\gl( j[Xa lbh g[\a^ TUbhg g[X biXeT__ UXaX~gf bY <c\W\b_Xk \a gXe`f bY UX\aZ T
             [\Z[_l)W\}XeXag\TgXW geXTg`Xag( \g [Tf UebTW fcXVgeh` XVTVl( jbe^\aZ g[ebhZ[ T abiX_ DC8
             &++5005+4'*


  ++5005,,



                                                                               GTZX ,0 bY -+
             n-+-/( 8_c[TJXafX( @aV* 8__ I\Z[gf IXfXeiXW* 8_c[TJXafX \f T fXei\VX `Te^ bY 8_c[TJXafX( @aV* 8__ bg[Xe geTWX`Te^f `Xag\baXW UX_baZ gb g[X\e eXfcXVg\iX bjaXef*
Case 1:21-cv-00691-GBW Document 619 Filed 05/22/24 Page 209 of 247 PageID #: 33354
             8aW \a Ta TeXT j[\V[ \f V[TeTVgXe\mXW Ul cb_lc[Te`TVl( [Ti\aZ T YTibeTU_X TaW jX__)V[TeTVgXe\mXW
             fTYXgl ceb~_X `XTaf g[Tg g[X cebWhVg _XaWf \gfX_Y jX__ gb UX\aZ Vb`U\aXW j\g[ `h_g\c_X bg[Xe
             g[XeTc\Xf( \a cTeg\Vh_Te( Ybe c[lf\V\Taf g[Tg fXX cTg\Xagf g[Tg TeX eXYeTVgbel j\g[ eXfcXVg gb fX\mheXf*
             8aW ba gbc bY g[Tg( g[Xl%eX eXT__l fgTeg\aZ gb TcceXV\TgX XiXa `beX UTfXW ba g[X WTgT g[Tg jX
             Vbag\ahX gb ZXaXeTgX TaW ceXfXag TebhaW g[X UXaX~gf UXlbaW fX\mheXf( TaW T_fb haWXec\af bhe
             Yheg[Xe \aiXfg`Xag \a ZXaXeTg\aZ TWW\g\baT_ WTgT fhV[ Tf g[X <c\:b` fghWl g[Tg jX%eX ZXgg\aZ
             haWXejTl*


  ++500503   Jb jX Wb UX_\XiX jX%__ Vbag\ahX gb fXX Zebjg[ j\g[ <c\W\b_Xk( Ubg[ \a bhe TccebiXW \aW\VTg\baf TaW
             T_fb \a bg[Xe eXYeTVgbel Xc\_Xcfl( j[\V[( TZT\a( jX Wb abg ceb`bgX Ybe* K[\f \f T _baZ)_\iXW WheTU_X
             TffXg Ybe hf g[Tg jX j\__ Vbag\ahX gb _bb^ Tg Tf T Z_bUT_ Zebjg[ cebWhVg j\g[ TWW\g\baT_ Zebjg[
             bccbegha\g\Xf bhgf\WX g[X LJ*


             Operator


  ++5015-1   Pbhe aXkg dhXfg\ba Vb`Xf Yeb` g[X _\aX bY >eXZbel IXamT j\g[ I9: :Tc\gT_ DTe^Xgf* G_XTfX Zb
             T[XTW*


             Analyst:>eXZbel IXamT


  ++5015..   Question – Gregory Renza: ?Xl( ZbbW TYgXeabba( 9ehVX TaW gXT`* K[Ta^f Ybe gT^\aZ `l dhXfg\ba*
             9ehVX( jX VXegT\a_l TcceXV\TgX T__ g[X Vb_be lbh TaW G[\_\c cebi\WXW ba g[X fgeTgXZ\V g[\a^\aZ( Tf
             jX__ Tf VTc\gT_ T__bVTg\ba( XfcXV\T__l j[Xa \g Vb`Xf gb \agXeaT_ \aiXfg`Xagf* 8aW ]hfg Tf\WX Yeb` g[X
             W\iXef\~VTg\ba bY gbc _\aX j[Xa \g Vb`Xf gb aXhebfV\XaVX TaW f_XXc( Tf jX__ Tf g[X baVb_bZl
             cbegYb_\bf( VTa lbh ]hfg fcXT^ gb g[X flaXeZ\Xf( g[X UXaX~gf TaW XiXa g[X Vebff)gT_^ g[Tg lbh g[\a^
             \f \`cbegTag Ybe hf gb ^abj j[Xa \g Vb`Xf gb ^XXc\aZ Ubg[ cbegYb_\bf haWXe g[X ATmm h`UeX__T7
             K[Ta^f fb `hV[*


  ++5025+3   Answer – Bruce C. Cozadd: PXT[* NX__( >eXZ( jX%eX YbeghaTgX gb [TiX Zebjg[ bccbegha\g\Xf ba
             Ubg[ f\WXf( c_TVXf g[Tg TeX jbeg[ \aiXfg\aZ( j[Xg[Xe g[Tg%f Vb``XeV\T_ be I$;* 8aW @ T_fb UX_\XiX
             g[XeX \f UXaX~g \a UX\aZ TU_X gb _bb^ TVebff g[XfX gjb g[XeTcXhg\V TeXTf ba g[X VbecbeTgX
             WXiX_bc`Xag f\WX* 8f jX%iX T__ fXXa biXe g[X cTfg YXj WXVTWXf( g[XeX TeX g\`Xf j[Xa Ta TeXT [XTgf
             hc TaW iT_hTg\baf ZXg [\Z[* 8aW \Y lbh VTa _bb^ `beX UebTW_l TVebff g[XeTcXhg\V VTgXZbe\Xf TaW
             TVebff fgTZXf bY WXiX_bc`Xag( @ g[\a^ lbh%eX bYgXa `beX _\^X_l gb ~aW Ta bccbegha\gl g[Tg%f Ubg[ T
             fgeTgXZ\V ~g( Uhg T_fb b}Xef T a\VX eXghea ceb~_X*


  ++50250+   K[XeX TeX T ah`UXe bY fXei\VXf jX cebi\WX TVebff g[X Vb`cTal g[Tg TeX VXageT_\mXW TaW `Tl
             cebi\WX fb`X `TeZ\aT_ UXaX~g Ul abg [Ti\aZ gb eXcebWhVX g[\aZf TVebff `h_g\c_X g[XeTcXhg\V
             TeXTf* @ jbh_W fTl g[Tg%f g[X fgeTgXZ\V We\iXe* 9hg TZT\a( jX%eX \a T cbf\g\ba j[XeX jX%iX Zbg a\VX
             bccbegha\g\Xf \a Yebag bY hf( f[beg TaW _baZ gXe`( ba Ubg[ f\WXf bY g[X Uhf\aXff*


             Operator


  ++5035,3   Pbhe aXkg dhXfg\ba Vb`Xf Yeb` g[X _\aX bY ;Ti\W 8`fX__X` j\g[ G\cXe JTaW_Xe* G_XTfX Zb T[XTW*


             Analyst:;Ti\W 8`fX__X`


  ++5035-1   Question – David Amsellem: ?Xl* Ahfg [TiX T dh\V^ dhXfg\ba ba g[X UT_TaVX f[XXg TaW g[X VTc
             fgehVgheX* :Ta lbh gT_^ gb Tal cbgXag\T_ _baZ)gXe` _XiXeTZX gTeZXgf g[Tg lbh [TiX7 Pbh%iX WbaX T
             _bg bY WX_XiXeTZ\aZ \a g[X lXTe f\aVX g[X >N geTafTVg\ba* FUi\bhf_l( lbh%eX TVg\iX ba 9\m ;Xi* 9hg



                                                                               GTZX ,1 bY -+
             n-+-/( 8_c[TJXafX( @aV* 8__ I\Z[gf IXfXeiXW* 8_c[TJXafX \f T fXei\VX `Te^ bY 8_c[TJXafX( @aV* 8__ bg[Xe geTWX`Te^f `Xag\baXW UX_baZ gb g[X\e eXfcXVg\iX bjaXef*
Case 1:21-cv-00691-GBW Document 619 Filed 05/22/24 Page 210 of 247 PageID #: 33355
             TeX lbh g[\a^\aZ TUbhg cXe[Tcf TVVX_XeTg\aZ WXUg cTlWbja Tf T `XTaf bY cbgXag\T__l fhccbeg\aZ
             g[X Xdh\gl7 @f g[Tg fb`Xg[\aZ lbh%eX VbagX`c_Tg\aZ7 8aW ]hfg [X_c hf UXggXe haWXefgTaW [bj
             lbh%eX g[\a^\aZ TUbhg _XiXeTZX eTg\bf biXe g\`X* K[Ta^ lbh*


  ++5045,,   Answer – Bruce C. Cozadd: G[\_( lbh jTag gb ]h`c \a ba g[Tg7


  ++5045,.   Answer – Philip L. Johnson: PXT[( [Tccl gb* Jb( ;Ti\W( Tf lbh `Xag\baXW( j[Xa jX [TW g[X >N
             TVdh\f\g\ba( g[XeX jTf T eXT__l fgebaZ \agXeXfg \a Vb``ha\VTg\ba g[Tg jX jbh_W eTc\W_l WX_XiXe
             Wbja gb TUbhg .*0 gheaf Ul g[X XaW -+--* Pbh fTj hf TVghT__l UXTg g[Tg Ul TUbhg f\k `bag[f* NX
             VheeXag_l f\g j\g[ TUbhg -*0 g\`Xf aXg _XiXeTZX* @ g[\a^ fg\__ T iXel fgebaZ cbf\g\ba Tg g[\f cb\ag \a
             g\`X* NX YXX_ iXel ZbbW TUbhg g[X biXeT__ WXUg Vb`c_Xk g[Tg jX%iX Zbg j\g[ TUbhg 1+# bY g[Tg
             UX\aZ ~kXW TaW TUbhg /+# bY g[Tg UX\aZ iTe\TU_X( XkcbfXW gb \agXeXfg eTgX `biX`Xagf( TaW j\g[ T
             jX\Z[gXW TiXeTZX Vbfg bY WXUg bY fbhg[ bY 0*0# Tg g[\f cb\ag \a g\`X*


  ++504502   8f lbh%eX cebUTU_l TjTeX( jX Wb [TiX Ta hcVb`\aZ `Tghe\gl bY bhe -+-/ VbaiXeg* NX%eX \a TVg\iX
             c_Taa\aZ Tf lbh%W XkcXVg( _bb^\aZ Tg fb`X T_gXeaTg\iXf Ybe [bj jX `\Z[g TccebTV[ g[Tg cTeg\Vh_Te
             ~aTaV\aZ bccbegha\gl be eXcTl`Xag bccbegha\gl*


  +,5++5,-   @ jbh_W fTl( \Y jX jXeX gb XaZTZX \a TWW\g\baT_ Uhf\aXff WXiX_bc`Xag( jX [TiX g[X WXUg \aVeXTfX
             \a g[X aXTe gXe`( @ g[\a^( _\^X jX W\W j\g[ >N* NX [TiX T fgebaZ c_Ta gb eXWhVX g[Tg dh\V^_l gb ZXg
             UTV^ \agb g[X ^\aW bY _XiX_f g[Tg jX VheeXag_l Zbg be UX_bj j[XeX jX%iX Zbg f\Za\~VTag •Xk\U\_\gl gb
             Vbag\ahX gb _bb^ Tg jTlf gb Uh\_W g[X Uhf\aXff g[ebhZ[ Uhf\aXff WXiX_bc`Xag be Vbec WXi
             bccbegha\g\Xf*


  +,5++5.2   Kb WTgX( jX [TiX abg fcXV\~XW Tal ^\aW bY T fcXV\~V gTeZXg UX_bj j[XeX jX%eX VheeXag_l f\gg\aZ TaW
             j[XeX jX%W _\^X gb ZXg gb( Uhg g[\f j\__ UX TVg\iX_l W\fVhffXW TaW jbe^ g[ebhZ[ Tf jX `biX YbejTeW(
             _bb^\aZ Tg g[X \aiXfg`Xag bccbegha\g\Xf \a Yebag bY hf( Ubg[ \agXeaT_ Tf jX__ Tf XkgXeaT_*


  +,5++50/   Jb( 9ehVX( Wb lbh jTag gb Vb``Xag TWW\g\baT__l7 Eb7


  +,5++503   Answer – Bruce C. Cozadd: Eb( G[\_* @ g[\a^ lbh VbiXeXW \g jX__* @ g[\a^ jX%iX fXXa fb`X eXVXag
             cbf\g\iX Vb``XagTel Yeb` g[X eTg\aZ TZXaV\Xf \a ZXaXeT_ TUbhg g[X ~aTaV\T_ ceb~_X bY g[X
             Vb`cTal* NX%iX hfXW _XiXeTZX gb Wb geTafTVg\baf j[Xa jX g[bhZ[g g[Tg jTf g[X UXfg g[\aZ Ybe
             f[TeX[b_WXef* 9hg Tf G[\_ fT\W( jX%iX T_jTlf ge\XW gb WX_XiXe eTc\W_l TYgXe g[Tg*


             Operator


  +,5+,5-,   Pbhe aXkg dhXfg\ba Vb`Xf Yeb` g[X _\aX bY >Tel ETV[`Ta j\g[ ITl`baW AT`Xf* G_XTfX Zb T[XTW*


             Analyst:>Tel ETV[`Ta


  +,5+,5-4   Question – Gary Nachman: K[Ta^f* >bbW TYgXeabba* Jb( ba OljTi( haWXefgTaW\aZ g[Tg g[X
             cTg\Xag fhccbeg cebZeT` jTf g[X ^Xl YTVgbe Ybe g[X _bjXe eXiXahX \a ,H* @f OljTi T_fb fg\__ ZXgg\aZ
             T _bg bY g[X bklUTgX)aT\iX cTg\Xagf \a aTeVb_Xcfl7 8aW \f g[Tg T YTVgbe g[Tg VTa \`cTVg eXiXahX \a
             Vb`\aZ dhTegXef gb Vbaf\WXe7




                                                                               GTZX ,2 bY -+
             n-+-/( 8_c[TJXafX( @aV* 8__ I\Z[gf IXfXeiXW* 8_c[TJXafX \f T fXei\VX `Te^ bY 8_c[TJXafX( @aV* 8__ bg[Xe geTWX`Te^f `Xag\baXW UX_baZ gb g[X\e eXfcXVg\iX bjaXef*
Case 1:21-cv-00691-GBW Document 619 Filed 05/22/24 Page 211 of 247 PageID #: 33356
  +,5+,50-   8aW g[Xa \a @?* 8eX c[lf\V\Taf fgTl\aZ fge\Vg_l ba _TUX_7 Fe TeX lbh [XTe\aZ g[XeX Vbh_W UX fb`X
             b})_TUX_ hfX j\g[ CLDIPQ \Y \g%f j\g[ lbhaZXe cTg\Xagf( @ ZhXff( \a cTeg\Vh_Te7 8aW `TlUX gT_^ TUbhg
             g[X Vb`cXg\g\iX WlaT`\Vf \a @? Zb\aZ YbejTeW f\aVX g[Tg fcTVX \f Zb\aZ gb ZXg T _bg `beX VebjWXW(
             @ ZhXff( \a g[X Vb`\aZ lXTef* K[Ta^ lbh*


  +,5+-5,1   Answer – Renée D. Galá: PXT[* K[Ta^f Ybe g[X dhXfg\ba* @%__ [bc e\Z[g \a g[XeX* Jb( j\g[ eXfcXVg gb
             bklUTgX)aT\iX cTg\Xagf fgTeg\aZ ba OljTi Ybe aTeVb_Xcfl( j[\_X jX Wba%g [TiX Yh__ i\f\U\_\gl \agb g[X
             aXj)gb)bklUTgX cTg\Xag ah`UXef( UTfXW ba bhe Xfg\`TgXf jX Wb UX_\XiX jX Vbag\ahX gb VTcgheX
             `beX bY g[bfX aXj)gb)bklUTgX aTeVb_Xcfl cTg\Xagf &+,5+-5/+' Tal bg[Xe TiT\_TU_X g[XeTcl* 8aW @
             jbh_W fTl g[Tg fcXT^f gb g[X W\}XeXag\Tg\ba bY g[X cebWhVg* @g fcXT^f gb bhe [bfg bY cTg\Xag fhccbeg
             fXei\VXf `beX UebTW_l( TaW UX\aZ T &+,5+-502' _XTWXe \a f_XXc( g[X [\Z[ biXe_Tc j[Xa jX%eX _bb^\aZ
             Tg aTeVb_Xcfl TaW @? bY UX\aZ \a Yebag bY c[lf\V\Taf TaW Vbag\ah\aZ gb UX TU_X gb XWhVTgX g[X` ba
             g[X UXaX~gf bY _bj fbW\h`*


  +,5+.5,2   N\g[ eXfcXVg gb @?( jX Wba%g u jX%eX abg eXT__l fXX\aZ `hV[( \Y Tal( b})_TUX_ hfX j\g[ CLDIPQ( Z\iXa
             g[X cTlXe eXfge\Vg\baf ba g[XfX cebWhVgf TaW g[X aXXW Ybe T iT_\WTgXW jXX^ gXfg Ybe X\g[Xe
             aTeVb_Xcfl be Ybe @?* NX gXaW gb fXX g[Tg UX\aZ eXdh\eXW \a beWXe gb eXVX\iX T ceXfVe\cg\ba* 8aW fb
             \g jbh_W UX ceXggl hahfhT_ gb UX TU_X gb fXX T ceXfVe\cg\ba Ybe g[X 8> be Ybe CLDIPQ Ybe \W\bcTg[\V
             [lcXefb`a\T*


  +,5+/5+-   8aW g[Xa j\g[ eXfcXVg gb Vb`cXg\g\iX WlaT`\Vf( @ g[\a^ jX%__ Vbag\ahX gb cebUTU_l fXX jT^X)
             ceb`bg\aZ TZXagf fghW\XW Ybe \W\bcTg[\V [lcXefb`a\T* BXXc \a `\aW( jX [TW T eTg[Xe _TeZX
             cXeVXagTZX bY cTg\Xagf g[Tg VT`X \agb bhe \W\bcTg[\V [lcXefb`a\T fghWl ba jT^X)ceb`bg\aZ
             TZXagf TaW Vbag\ahX gb fXX `XTa\aZYh_ UXaX~g j[\_X ba g[XeTcl j\g[ OljTi( \a TWW\g\ba gb UX\aZ
             ba g[Tg jT^X)ceb`bg\aZ TZXag Tf cTeg bY g[X\e UTfX_\aX* MXel `hV[ _\^X jX%iX fXXa g[X jT^X)
             ceb`bg\aZ TZXagf XaW hc UX\aZ Vb`c_X`XagTel gb OljTi \a aTeVb_Xcfl( jX jbh_W XkcXVg T iXel
             f\`\_Te WlaT`\V \a \W\bcTg[\V [lcXefb`a\T( Ybe XkT`c_X( j\g[ N8B@O Vb`\aZ ba gb g[X `Te^Xg Ybe
             aTeVb_Xcfl* NX fTj _\gg_X gb ab \`cTVg gb bhe bklUTgX YeTaV[\fX( TaW jbh_W XkcXVg g[X _TeZX_l g[X
             fT`X WlaT`\V j\g[ eXfcXVg gb @?*


             Operator


  +,5+05,/   Pbhe aXkg dhXfg\ba Vb`Xf Yeb` g[X _\aX bY :[Te_Xf ;haVTa j\g[ :Tagbe =\gmZXeT_W* G_XTfX Zb
             T[XTW*


             Analyst::[Te_Xf :* ;haVTa


  +,5+05-,   Question – Charles C. Duncan: K[Ta^ lbh* >bbW TYgXeabba( 9ehVX TaW gXT`* K[Ta^f Ybe gT^\aZ
             bhe dhXfg\ba( TaW VbaZeTgf ba g[X 9C8 fhU`\ff\ba UX\aZ Vb`c_XgXW j\g[ mTa\* K[Tg fT\W( g[X aXkg
             WTgT eXTW \f TVghT__l aXheb j\g[ fhiXVT_gT`\WX \a XffXag\T_ geX`be* 8aW fb @%` Zb\aZ gb Tf^ Ybe T
             _\gg_X U\g `beX ZeTah_Te\gl* @ ^abj bg[Xef [TiX ge\XW( Uhg @%` eXT__l jbaWXe\aZ j[Tg jbh_W lbh _\^X
             gb fXX bhg bY g[X G[TfX -U gb `biX YbejTeW7 @Y \g%f fhccbeg\iX bY T eXZ\fgeTg\baT_ fgeTgXZl( WX~a\gX_l
             fXX`f _\^X &+,5+050-' \f \`cbegTag( Uhg j\__ lbh UX _bb^\aZ Tg VXegT\a X}XVg f\mXf TaW eXfcbaWXe
             TaT_lf\f7 8aW bY g[X gjb Vb`cbf\gXf( j[\V[ bY g[X gjb TeX \`cbegTag gb lbh7 K[Ta^f*


  +,5+15+3   Answer – Bruce C. Cozadd: PXT[* :[Te_Xf( @%__ fgTeg j\g[ g[X WTaZXebhf_l ZXaXeT_ Vb``Xagf( TaW
             g[Xa _Xg IbU ]h`c \a \Y [X jTagf gb cebi\WX `beX fcXV\~Vf*


  +,5+15,2   N[Tg jX jTag Tf\WX Yeb` T cTV^TZX g[Tg jbh_W ZXaXeTgX T eXZh_Tgbel TccebiT_ \f fb`Xg[\aZ g[Tg
             eXT__l TWWf iT_hX( fb`Xg[\aZ g[Tg \f bY iT_hX gb cTg\Xagf( g[Tg cTg\Xagf TaW ceXfVe\UXef TaW cTlXef
             j\__ T__ fXX Tf cebi\W\aZ T eXT__l `XTa\aZYh_ UXaX~g* 8aW VXegT\a_l( bhe ge\T_f TeX WXf\ZaXW j\g[



                                                                               GTZX ,3 bY -+
             n-+-/( 8_c[TJXafX( @aV* 8__ I\Z[gf IXfXeiXW* 8_c[TJXafX \f T fXei\VX `Te^ bY 8_c[TJXafX( @aV* 8__ bg[Xe geTWX`Te^f `Xag\baXW UX_baZ gb g[X\e eXfcXVg\iX bjaXef*
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             cebfcXVg\iX ^Xl XaWcb\agf g[Tg jX aXXW gb [\g* 9hg jX `XTfheX _bgf bY g[\aZf \a g[XfX ge\T_f g[Tg
             eXT__l Zb gb XfgTU_\f[\aZ g[Tg UXaX~g ceb~_X Ybe cTg\Xagf TZT\afg g[X UTV^Webc( Tf IbU fT\W( bY eXT__l
             abg[\aZ g[Tg%f VheeXag_l TiT\_TU_X g[Tg%f cebi\W\aZ g[Tg ^\aW bY UXaX~g*


  +,5+25+.   IbU( Wb lbh jTag gb gT_^ TUbhg Talg[\aZ fcXV\~V7


  +,5+25+2   Answer – Robert Iannone: 8ZT\a( @ Wba%g jTag gb aXVXffTe\_l fcXV\Yl Ta X}XVg f\mX g[Tg jX g[\a^ \f
             `XTa\aZYh_ UXVThfX \g eXT__l \f g[X [b_\fg\V c\VgheX g[Tg `TggXef* 9hg j[Tg @ jbh_W fTl \f j[Xa lbh
             _bb^ Tg g[X K:FD &+,5+25,2' WTgT( jX g[bhZ[g g[XeX jTf Ta \`cbegTag X}XVg g[XeX* NX%iX
             bcg\`\mXW bhe ge\T_ \a `Tal eXfcXVgf( [ba\aZ g[X ce\`Tel XaWcb\ag \a TZeXX`Xag j\g[ =;8(
             bcg\`\mXW g[X WbfX( `TWX fb`X V[TaZXf gb [bj jX `XTfheX gb UX fheX jX ZXg `beX TVVheTgX
             `XTfheX`Xagf* 8aW @ g[\a^ T__ bY g[Tg jbh_W UbWX jX__ Ybe g[X ge\T_*


  +,5+25/-   @ g[\a^ g[X bg[Xe eXYXeXaVX cb\ag lbh [TiX \f bg[Xe K)glcX VT_V\h` V[TaaX_ \a[\U\gbef \a
             WXiX_bc`Xag* NX VXegT\a_l g[\a^ fhiXVT_gT`\WX \f W\}XeXag\TgXW \a T Vbhc_X bY eXfcXVgf* @g%f T fgTgX)
             WXcXaWXag \a[\U\gbe( j[\V[ `XTaf \g eXT__l gTeZXgf g[X [lcXeTVg\iX \eba V[TaaX_f g[Tg TeX
             cTg[b_bZ\V \a g[X XffXag\T_ geX`be VbaW\g\ba* 8aW j\g[ g[Tg( jX g[\a^ \g cbgXag\T__l Z\iXf hf T UXggXe
             g[XeTcXhg\V \aWXk( j[\V[ \f j[l jX%iX UXXa TU_X gb chf[ g[X WbfX XiXa gb WbfXf TaW XkcbfheXf
             g[Tg TeX [\Z[Xe g[Ta jX jbh_W [TiX TV[\XiXW \a K:FD &+,5+35,/'* Jb( TZT\a( \g%f g[X gbgT_\gl bY g[X
             WTgT TebhaW g[X ce\`Tel TaW fXVbaWTel XaWcb\agf g[Tg jX%iX \aV_hWXW g[Tg j\__ UX `XTa\aZYh_ gb
             cTg\Xagf TaW jX ^abj TeX TVVXcgTU_X gb =;8*


             Operator


  +,5+35-2   Pbhe aXkg dhXfg\ba Vb`Xf Yeb` 9T_T]\ GeTfTW j\g[ 9TeV_Tlf* G_XTfX Zb T[XTW*


             Analyst:9T_T]\ GeTfTW


  +,5+35.0   Question – Balaji Prasad: ?\( ZbbW XiXa\aZ( XiXelbaX* Ahfg T Vbhc_X Ybe `X* Fa <c\W\b_Xk( VTa lbh
             Vb``Xag ba g[X TWh_g bccbegha\gl( X\g[Xe dhTag\Yl \g be dhT_\Yl \g( ce\`Te\_l Tf^\aZ UXVThfX @%`
             Vhe\bhf Tg `bfg( @ g[bhZ[g g[X ce\`Tel \aW\VTg\baf TccebiXW jXeX V[\_W[bbW W\fXTfXf g[Tg cTg\Xagf
             gXaW gb bhgZebj7 8aW T_fb( j[Xa Wb lbh XkcXVg gb fXX g[\f TWW\g\baT_ WTgT TaW j[Tg \f g[X WTgT
             g[Tg lbh%eX XkcXVg\aZ7


  +,5+3503   JXVbaW_l( ba g[X -+-/ Zh\WX( VTa lbh [X_c hf haWXefgTaW g[X WbhU_X)W\Z\g cXe fgTZX Zebjg[ g[Tg
             lbh cebi\WXW Ybe OljTi( <c\W\b_Xk TaW Il_TmX Vb`U\aXW7 J\aVX T__ g[eXX TeX \a W\}XeXag VTgXZbe\Xf(
             \g jbh_W UX [X_cYh_ \Y lbh Vbh_W W\ffXVg g[\f Yheg[Xe* K[Ta^f*


  +,5+45,0   Answer – Bruce C. Cozadd: PXT[* 9T_T]\( ba g[X ~efg cTeg bY lbhe dhXfg\ba( jX bYgXa eXYXe gb g[XfX
             V[\_W[bbW)bafXg fX\mheX W\fbeWXef gb cb\ag bhg g[Xl%eX abg ba_l V[\_W[bbW W\fbeWXef* K[Xl Wb
             cXef\fg \agb TWh_g[bbW( TaW jX g[\a^ g[XeX%f fhUfgTag\T_ bccbegha\gl g[XeX g[Tg @%` Zb\aZ gb _Xg
             IXatX ]h`c \a ba \Y f[X jTagf gb*


  +,5+45.0   9hg _Xg `X T_fb [\g g[X fXVbaW cTeg bY lbhe dhXfg\ba TaW fTl( jX jXeX X`c[Tf\m\aZ g[X WbhU_X)
             W\Z\g Vb`U\aXW Zebjg[ bY bhe ^Xl Zebjg[ We\iXef( OljTi( <c\W\b_Xk TaW Il_TmX ]hfg UXVThfX jX
             Wba%g cebi\WX f\aZ_X cebWhVg Zh\WTaVX Ybe g[X lXTe( Tf lbh ^abj( TaW g[Tg%f abg W\}XeXag g[\f lXTe
             Yeb` Tal bg[Xe lXTe* K[Tg%f j[l jX Wb \g ba g[Tg UTf\f* FUi\bhf_l( XTV[ dhTegXe jX%eX eXcbeg\aZ
             TVghT_ eXfh_gf Ybe XTV[ bY g[bfX cebWhVgf*


  +,5,+5+.   IXatX( Talg[\aZ lbh jTag gb TWW ba TWh_g bccbegha\gl Ybe <c\W\b_Xk7




                                                                               GTZX ,4 bY -+
             n-+-/( 8_c[TJXafX( @aV* 8__ I\Z[gf IXfXeiXW* 8_c[TJXafX \f T fXei\VX `Te^ bY 8_c[TJXafX( @aV* 8__ bg[Xe geTWX`Te^f `Xag\baXW UX_baZ gb g[X\e eXfcXVg\iX bjaXef*
Case 1:21-cv-00691-GBW Document 619 Filed 05/22/24 Page 213 of 247 PageID #: 33358
  +,5,+5,+   Answer – Renée D. Galá: PXT[* @%` abg fheX \Y jX%__ dhTag\Yl \g [XeX( 9T_T]\( Uhg @ jbh_W ]hfg fTl g[Tg
             Tf jX _bb^ Tg g[X UebTWXe Zebjg[ We\iXef( jX Wb fXX g[X TWh_g cbch_Tg\ba( g[X _baZ)gXe` VTeX
             Xai\eba`Xag( baX g[Tg \f VheeXag_l haWXefXeiXW* N\g[ eXfcXVg gb <c\W\b_Xk* <c\W\b_Xk \f jX\Z[g)
             UTfXW Wbf\aZ( fb lbh Wb XaW hc j\g[ [\Z[Xe Wbf\aZ j[Xa \g Vb`Xf gb g[Tg cbch_Tg\ba* 9hg Tg g\`Xf(
             j[Xa lbh `biX Yeb` Ta Xai\eba`Xag bY cXW\Tge\V VTeX \agb _baZ)gXe` VTeX( g[XeX \f( @ jbh_W fTl(
             cXe[Tcf _Xff TggXag\ba c_TVXW ba g[X TVghT_ \aW\VTg\ba bY j[Tg g[X TWh_g [Tf*



  +,5,+502   Pbh jbh_W [TiX [XTeW \a `l ceXcTeXW eX`Te^f( T YbVhf ba Xafhe\aZ g[Tg jX [TiX g[X e\Z[g
             W\TZabfg\V gbb_f j\g[ eXfcXVg gb _baZ)gXe` VTeX VXagXef TaW Vbag\ah\aZ gb XafheX j[Xg[Xe \g%f
             ZXgg\aZ g[X e\Z[g W\TZabf\f be ZXgg\aZ gb g[X e\Z[g _XiX_ bY Wbf\aZ j[XeX lbh VTa bcg\`\mX eXfh_gf be
             UXggXe XWhVTg\aZ ba g[X Vb`U\aXW \`cTVg bY V_bUTmT` TaW <c\W\b_Xk( g[bfX TeX T__ bccbegha\g\Xf
             g[Tg jX fXX Zb\aZ YbejTeW*


             Operator


  +,5,,5./   CTW\Xf TaW ZXag_X`Xa( g[Tg VbaV_hWXf bhe dhXfg\ba)TaW)TafjXe fXff\ba* 8aW @ j\__ abj ghea g[X
             VT__ biXe gb 9ehVX :bmTWW Ybe V_bf\aZ eX`Te^f*


  +,5,,5/.   K[Ta^f( bcXeTgbe* 8f T_jTlf( @%W _\^X gb V_bfX gbWTl%f VT__ Ul eXVbZa\m\aZ bhe ATmm Vb__XTZhXf Ybe g[X\e
             X}begf ba UX[T_Y bY cTg\Xagf TaW g[X\e YT`\_\Xf* 8aW g[Ta^ bhe cTegaXef TaW f[TeX[b_WXef Ybe g[X\e
             Vbag\ahXW Vba~WXaVX TaW fhccbeg* K[Ta^ lbh T__ Ybe ]b\a\aZ hf gbWTl*


             Operator


  +,5,,504   K[\f VbaV_hWXf gbWTl%f VbaYXeXaVX VT__* K[Ta^ lbh Ybe lbhe cTeg\V\cTg\ba* 8aW lbh `Tl abj
             W\fVbaaXVg*

                                                                    :bcle\Z[g n -+-/ =TVgJXg IXfXTeV[ JlfgX`f @aV* 8__ e\Z[gf eXfXeiXW*




                                                                                  GTZX -+ bY -+
             n-+-/( 8_c[TJXafX( @aV* 8__ I\Z[gf IXfXeiXW* 8_c[TJXafX \f T fXei\VX `Te^ bY 8_c[TJXafX( @aV* 8__ bg[Xe geTWX`Te^f `Xag\baXW UX_baZ gb g[X\e eXfcXVg\iX bjaXef*
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           EXHIBIT 8
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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE


    GALDERMA LABORATORIES L.P.
    and TCD ROYALTY SUB LP,

                        Plaintiffs,

                 v.                                        No. 21-cv-1710

    LUPIN INC. and LUPIN LTD.,

                        Defendants.


    Jack B. Blumenfeld, Jeremy A. Tigan, MORRIS, NICHOLS, ARSHT & TUNNELL LLP,
    Wilmington, Delaware; Andrew J. Cochran, Gerald J. Flattman, Jr., CAHILL GOR-
    DON & REINDEL LLP, New York, New York.


                                                                 Counsel for Plaintiffs

    Megan C. Haney, John C. Phillips, Jr., PHILLIPS, MCLAUGHLIN & HALL, P.A., Wil-
    mington, Delaware; Adrianne C. Rose, Joseph T. Jaros, Katie A. Boda, Natasha L.
    White, William A. Rakoczy, RAKOCZY MOLINO MAZZOCHI SIWIK LLP, Chicago, Illinois.

                                                               Counsel for Defendants


                                   MEMORANDUM OPINION

   April 11, 2024


   BIBAS, Circuit Judge, sitting by designation.

      In its emergency-injunction motion, Galderma rehashes many of the same argu-

   ments that I rejected at trial. Unsurprisingly, that leads to the same result. I deny

   its motion for injunctive relief.
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                                       I. BACKGROUND

      Galderma sells Oracea, a once-daily treatment for rosacea. D.I. 197, at 2. Oracea

   works by releasing doxycycline in two portions: a 30-mg immediate-release portion

   and a 10-mg delayed-release portion. Id. That maintains consistent steady-state

   blood levels of doxycycline, staving off rosacea. Id.

      Hoping to make a generic version of Oracea, Lupin submitted an Abbreviated New

   Drug Application to the FDA. Id. at 3. The application described a drug with a 22-mg

   immediate-release portion and an 18-mg delayed-release portion. Id. at 3. But after the

   FDA tentatively approved it, Galderma sued Lupin for patent infringement. Id. at 4.

      After a bench trial, I rejected Galderma’s patent-infringement claim. Id. at 2, 19.

   I found that Galderma’s sole witness, Dr. Edward Rudnic, was not credible. Id. at 11–

   12. And I concluded that no version of its ever-shifting theory of infringement satis-

   fied its burden by a preponderance of evidence on the main contested issue: whether

   Lupin’s drug contained a 30-mg immediate-release portion and a 10-mg delayed-

   release portion. Id. at 12–17. Rather, I ruled that the trial evidence confirmed that

   Lupin’s drug contains a 22-mg immediate-release portion and an 18-mg delayed-re-

   lease portion. Id. at 17.

      Undeterred, Galderma now wants injunctive relief. It asks for an injunction to

   stop Lupin from manufacturing, marketing, selling, or using its generic drug during

   Galderma’s appeal. Pls.’ Emergency Mot. 1 (relying on 35 U.S.C. § 283 and Fed. R.

   Civ. P. 62(d)). It also asks for a temporary restraining order. Id. (relying on Fed. R.

   Civ. P. 65(b) and Fed. R. App. P. 8(a)).



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                        II. INJUNCTIVE RELIEF IS NOT WARRANTED

      “An injunction pending appeal is extraordinary relief … [that is] within the dis-

   cretion of the district court.” Cipla Ltd. v. Amgen Inc., 2019 WL 2053055, at *1 (D.

   Del. May 9, 2019) (internal quotation marks omitted). To decide whether to grant

   injunctive relief here, I consider the usual four factors:

      (1) Has Galderma made a strong showing that it is likely to succeed on the merits?

      (2) Will it be irreparably injured without an injunction?

      (3) Will the injunction substantially injure other interested parties?

      (4) Does the public interest favor an injunction?

   Hilton v. Braunskill, 481 U.S. 770, 776 (1987). To get an injunction, the moving party

   must show “both of the first two factors.” Amazon.com, Inc. v. Barnesandnoble.com,

   Inc., 239 F.3d 1343, 1350 (Fed. Cir. 2001). But because Galderma has shown neither,

   I deny its requested relief.

      A. Galderma cannot show a likelihood of success on the merits

      A likelihood of success cannot be “shown if an alleged infringer raises a sub-

   stantial question regarding … infringement.” Takeda Pharms. U.S.A., Inc. v. West-

   Ward Pharm. Corp., 785 F.3d 625, 630 (Fed. Cir. 2015). Lupin has raised more

   than a substantial question about an essential element of infringement—the

   amount of its immediate- and delayed-release portions. So Galderma cannot show

   a likelihood of success on the merits.

      To resist this conclusion, Galderma makes five arguments. All fail.

      First, it argues that the Opinion incorrectly found that pH 4.5 is not biorelevant

   for a fasted stomach. Opening Br. 4. But its own evidence undermines its position:
                                                3
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   The Kalantzi article, relied on by Dr. Rudnic at trial and Galderma in this motion,

   says that “the generally accepted value for fasting gastric pH … is usually meas-

   ured to be about 2 or slightly lower.” PTX-149, at 5–6. It also notes that when it

   did find higher stomach-pH values, “in most cases they probably reflect the dilu-

   tion of gastric contents with saliva and/or nasal secretions.” Id. at 5. And Gal-

   derma’s entire theory of patent infringement relies on the behavior of Lupin’s cap-

   sules at pH 4.5 (plus bioequivalence data). Thus, to win on appeal, it must prove

   that my factual finding on that point was clearly erroneous—a tall task.

      Galderma also asserts that the Opinion improperly placed a thirty-minute cut-

   off between immediate and delayed release. Opening Br. 5. But even if that were

   true, it was harmless because I evaluated Galderma’s theory at every time in the

   two-stage test that it suggested. See D.I. 197, at 16 (discussing doxycycline release

   at 30 minutes, 1 hour, and 2 hours after exposure to pH 4.5).

      Second, Galderma argues that the Opinion misapplies Hatch-Waxman case law

   and “errs as a matter of law by dismissing the controlling data submitted in Lupin’s

   [application].” Opening Br. 6. But I already considered and rejected those legal

   arguments in the Opinion. D.I. 197, at 15–17. And I explained in detail why a

   person of ordinary skill in the art would not have relied on the second stage of one

   test in Lupin’s application to prove patent infringement, especially when Oracea’s

   data displayed errors. Id. at 12–15.

      Third, Galderma contends that I improperly considered results from Lupin’s

   small batch manufactured during this litigation. But I have repeatedly addressed



                                              4
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   and rejected this argument. See D.I. 152; D.I. 197, at 15–16. And even if it were

   error for me to consider the small batch, the testing on that batch merely rein-

   forced the lack of patent infringement. See D.I. 197, at 15 (“Lupin gave yet another

   clue by doing more testing.” (emphasis added)). So Galderma finds no succor in

   this argument either.

      Fourth, Galderma claims that the Opinion “disregards … that even one instance

   of infringement is sufficient.” Opening Br. 10. On its face, this claim is incredible:

   the Opinion stated that “if I credited that Capsule 1’s behavior at 30 minutes into

   the second stage reflects in vivo behavior at that time in the stomach, Galderma

   would have shown infringement.” D.I. 197, at 17. Galderma then plays a shell

   game, arguing that Judge Stark found “in vitro testing at the 30-minute time point

   is factually relevant.” Opening Br. 10. I agree. But the testing Galderma relies on

   was 30 minutes into the second stage—in other words, at 150 minutes. See D.I.

   197, at 7. And Galderma did not show that the in vitro test results in that second

   stage reliably correlate to results in the body.

      Fifth, Galderma says that the Opinion disregards evidence of infringement

   based on mean release at later time points. Opening Br. 12. Not so. Rather, I

   simply did not find that its evidence supported infringement under the doctrine of

   equivalents. See D.I. 197, at 17–18. And Galderma cites no law to support this

   argument.

      In sum, Galderma repeats many of the same arguments that I found thoroughly

   unconvincing at trial. Most of these arguments rely heavily on factual findings,



                                               5
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   meaning they would need to overcome clear-error review. So Galderma has not made

   a “strong showing” that it is likely to succeed on the merits. Hilton, 481 U.S. at 776.

      B. Galderma has not shown irreparable harm

      The irreparable-harm inquiry looks for “harms that no damages payment, how-

   ever great, could address.” Celsis In Vitro, Inc. v. CellzDirect, Inc., 664 F.3d 922, 930

   (Fed. Cir. 2012). For a harm to be irreparable, “[m]ere injuries, … in terms of money,

   time[,] and energy necessarily expended in the absence of a stay, are not enough.”

   Sampson v. Murray, 415 U.S. 61, 90 (1974).

      Lupin argues that things have changed because it launched its drug. Updated

   Resp. Br. 14. Though it was within its rights to do so, it launched its drug while this

   emergency motion was pending and in an apparent attempt to change the status quo.

   I will not reward such gamesmanship by considering Lupin’s argument on that point.

      For its part, Galderma makes various arguments for irreparable injury, including:

   (1) losses in sales and market shares; (2) net price erosion from Lupin’s entry; (3) loss

   of preferred status with Pharmacy Benefit Managers; (4) disruption to their work-

   force; (5) loss of research and development efforts; and (6) harm to reputation and

   loss of goodwill. Opening Br. 12–13.

      Even accepting that Lupin’s drug will cause the first three injuries, Galderma

   cannot show that they are irreparable. True, an independent generic entering the

   market will likely cause a decline in price and sales for Oracea. D.I. 204-1, at ¶ 38.

   But “branded drugs have been able to return to their long-term sales and prescrip-

   tions trends once exclusivity has been restored.” D.I. 216-25, at 3. Plus, “courts have

   routinely decided that market share and price erosion do not amount to irreparable
                                                6
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   harm.” King Pharms., Inc. v. Sandoz, Inc., 2010 WL 1957640, at *5 (D.N.J. May 17,

   2010). And Galderma has already authorized a generic of Oracea. D.I. 204-1, at ¶ 15.

   So I credit the declaration of Lupin’s expert that the losses suffered by Galderma

   would be quantifiable. D.I. 214, at ¶¶ 27, 58–61.

      Nor does Galderma show that disruption to its workforce or loss of research and

   development will cause irreparable injury. True, a “potential reduction in work force”

   can be an irreparable injury. Sanofi-Synthelabo v. Apotex, Inc., 470 F.3d 1368, 1383

   (Fed. Cir. 2006). As can loss of business opportunities, such as decreased research

   and development. Celsis, 664 F.3d at 930. But neither always amounts to irreparable

   injury. See, e.g., Eli Lilly & Co. v. Am. Cyanamid Co., 82 F.3d 1568, 1578 (Fed. Cir.

   1996); Altana Pharma AG v. Teva Pharms. USA, Inc., 532 F. Supp. 2d 666, 682

   (D.N.J. 2007) (rejecting irreparable harm based on “loss of research opportunities

   [and] reduction in workforce”). Plus, in 2023, Galderma had over $4 billion in sales,

   of which Oracea is less than fifty million. D.I. 214, at ¶ 52; D.I. 204-1, at ¶ 36. And

   Galderma does not show how many employees work solely on Oracea or what research

   and development opportunities it might lose due to Lupin’s drug. D.I. 214, at ¶¶ 51,

   53. These losses are thus speculative at best.

      Finally, Galderma argues that it might suffer reputational damage because of

   quality issues with Lupin’s product. Opening Br. 16. It gives the example of a generic

   rosacea cream that caused adverse events incorrectly attributed to the patented

   cream. Id. But that is a different drug. And Galderma points to nothing showing that




                                               7
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   Lupin’s drug would cause such adverse events. So I find that alleged injury speculative

   too.

          “[D]elay [also]… militates against the issuance of an … injunction by demonstrat-

   ing that there is no apparent urgency.” High Tech Med. Instrumentation, Inc. v. New

   Image Indus., Inc., 49 F.3d 1551, 1557 (Fed. Cir. 1995). And Galderma delayed: After

   closing arguments on February 22, 2024, I told the parties the outcome of the case.

   D.I. 193, at 49–55. Then, on March 22, 2024, I issued the Opinion to the parties under

   seal. D.I. 197. Still, Galderma waited until April 4, 2024, to file this emergency motion—

   three days before Lupin could get final approval from the FDA. Opening Br. 2.

   Though Galderma argues that the final judgment was not entered until April 1, that

   judgment contains what it already knew a month and a half earlier.

      In sum, Galderma’s “irreparable” injuries are either quantifiable or speculative.

   And its delay weighs against irreparable injury. So I find no irreparable injury.

                                            *****

      Galderma shows neither a likelihood of success on the merits nor irreparable in-

   jury. But it needed to show both. Thus, I reject its request for the potent relief of an

   injunction or temporary restraining order.




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           EXHIBIT 9
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 1             IN THE UNITED STATES DISTRICT COURT
 2                 FOR THE DISTRICT OF DELAWARE
 3     ------------------------------------x
 4     JAZZ PHARMACEUTICALS, INC.,             :
                              Plaintiff,
 5               v.                            :    C.A. No. 21-691-GBW
       AVADEL CNS PHARMACEUTICALS, LLC,
 6                            Defendant.       :
 7     ------------------------------------x
 8     JAZZ PHARMACEUTICALS, INC., et al., :
                              Plaintiffs,
 9               v.                        :        C.A. No. 21-1138-GBW
       AVADEL CNS PHARMACEUTICALS, LLC,
 10                           Defendant.   :
 11    ------------------------------------x
 12    JAZZ PHARMACEUTICALS, INC., et al., :
                              Plaintiffs,
 13              v.                        :        C.A. No. 21-1594-GBW
       AVADEL CNS PHARMACEUTICALS, LLC,
 14                           Defendant.   :
 15    ------------------------------------x
 16
 17                      HIGHLY CONFIDENTIAL
 18
 19          Videotaped Deposition of MARK RAINEY, Ph.D.
 20                      Boston, Massachusetts
 21                     Friday, November 17, 2023
 22                             9:03 a.m.
 23    Job No.: 515237
 24    Pages: 1 - 248
 25    Reported By: Michelle Keegan, RMR, CRR, CSR
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                             HIGHLY CONFIDENTIAL
                           Transcript of Mark Rainey, Ph.D.
                           Conducted on November 17, 2023              20

 1     paragraph is a sustained-release oxybate                             09:21:30
 2     formulation.     Do you see that?                                    09:21:33
 3         A. Yes.                                                          09:21:35
 4         Q. You do not have an opinion yourself about                     09:21:41
 5     whether or not LUMRYZ is a sustained-release                         09:21:43
 6     oxybate formulation.      Correct?                                   09:21:47
 7         A. No.     I'm relying on -- make an assumption                  09:21:49
 8     in my report that LUMRYZ infringes.                                  09:21:55
 9         Q. So no, you don't have an opinion on that?                     09:21:57
 10    Is that correct?     Just to fix the double negative.                09:22:00
 11            MS. RYCROFT:     Objection, asked and                        09:22:03
 12    answered.                                                            09:22:04
 13        A. Yes.     I don't have an opinion.                             09:22:05
 14        Q. And the same is true with respect to the                      09:22:09
 15    controlled release and modified release?           You               09:22:11
 16    don't have an opinion as to whether or not LUMRYZ                    09:22:13
 17    is or is not in fact one of those types of                           09:22:15
 18    formulations?                                                        09:22:18
 19        A. Yes.                                                          09:22:19
 20        Q. It's correct you don't have an opinion?                       09:22:22
 21        A. It is.                                                        09:22:24
 22        Q. And you say in here you understand that                       09:22:25
 23    other Jazz experts have opined on the technical                      09:22:28
 24    scope of the asserted claims.        Correct?                        09:22:31
 25        A. Yes.                                                          09:22:33


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                           Transcript of Mark Rainey, Ph.D.
                           Conducted on November 17, 2023              21

 1         Q. You, yourself, did not speak to Jazz's                        09:22:33
 2     technical experts.     Correct?                                      09:22:37
 3         A. No.     I reviewed their reports.                             09:22:39
 4         Q. And you didn't have any conversations?                        09:22:41
 5         A. I did not.                                                    09:22:44
 6         Q. Okay.    I want to look at page 6,                            09:22:51
 7     Section 4.     It starts at Paragraph 25.                            09:22:54
 8             And this section you've labeled "Approach                    09:22:56
 9     to Damages."    Do you see that?                                     09:22:59
 10        A. Yes.                                                          09:23:00
 11        Q. And you state in Paragraph 26 that two                        09:23:00
 12    categories of damages available to compensate for                    09:23:07
 13    patent infringement are, one, lost profits; and,                     09:23:10
 14    two, a reasonable royalty.        Do you see that?                   09:23:13
 15        A. Yes.                                                          09:23:15
 16        Q. You are offering in this case an opinion                      09:23:16
 17    about a reasonable royalty.        Correct?                          09:23:22
 18        A. Yes, that's right.                                            09:23:24
 19        Q. You are not offering an opinion about lost                    09:23:26
 20    profits damages.     Correct?                                        09:23:32
 21        A. That's correct.                                               09:23:33
 22        Q. On page 7 there is a Footnote 20 in which                     09:23:33
 23    you state that you are reserving the right to                        09:23:41
 24    conduct a lost profits analysis if consolidation                     09:23:45
 25    between this case and another case is granted.         Do            09:23:50


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                           Transcript of Mark Rainey, Ph.D.
                           Conducted on November 17, 2023               22

 1     you see that?                                                         09:23:52
 2         A. Yes.                                                           09:23:52
 3         Q. You are aware that consolidation was not                       09:23:53
 4     granted?                                                              09:23:59
 5         A. I am aware there was a ruling on that.           I             09:24:04
 6     don't know whether it's final or anything, but I'm                    09:24:06
 7     aware there is a ruling on that.                                      09:24:10
 8         Q. If consolidation is not granted, you will                      09:24:12
 9     not be offering a lost profits opinion.           Correct?            09:24:19
 10        A. Yes.     That's what I say in Footnote 20.                     09:24:22
 11        Q. You're not reserving the right to offer a                      09:24:24
 12    lost profits opinion in any other circumstance                        09:24:31
 13    other than consolidation.       Correct?                              09:24:34
 14        A. That's what I say in Footnote 20.                              09:24:38
 15    Correct.                                                              09:24:41
 16        Q. So --                                                          09:24:41
 17        A. Although, to be clear, I should also say,                      09:24:50
 18    elsewhere in my report I say that I reserve the                       09:24:53
 19    right to respond to opinions of other experts.              So        09:24:56
 20    if, for example, Dr. Meyer were to offer a lost                       09:25:00
 21    profits opinion, I would reserve the right to                         09:25:04
 22    respond to that.                                                      09:25:06
 23        Q. And that has not happened to date.                             09:25:07
 24    Correct?                                                              09:25:09
 25        A. That has not happened to date, but I                           09:25:09


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                           Transcript of Mark Rainey, Ph.D.
                           Conducted on November 17, 2023              23

 1     understand that she will be testifying next week.                    09:25:12
 2         Q. Now, you have served as an expert before.                     09:25:15
 3     You're familiar with -- an expert previously.                        09:25:20
 4     You're familiar with the process of exchanging                       09:25:23
 5     reports?                                                             09:25:24
 6         A. Yes.                                                          09:25:25
 7         Q. And you, in fact, reviewed a report from                      09:25:28
 8     Dr. Meyer?                                                           09:25:31
 9         A. Yes, I did.                                                   09:25:31
 10        Q. You responded to that report?                                 09:25:32
 11        A. Yes.                                                          09:25:38
 12        Q. In neither your opening report nor your                       09:25:38
 13    reply report did you offer a lost profits                            09:25:40
 14    analysis.     Correct?                                               09:25:43
 15        A. That's correct.      It's a reasonable royalty                09:25:43
 16    analysis.                                                            09:25:46
 17        Q. And you're aware that, as a general                           09:25:46
 18    matter, that's the end of the reports, opening                       09:25:50
 19    report, answering report, reply report?                              09:25:54
 20            MS. RYCROFT:     Objection, asking for a                     09:25:57
 21    legal conclusion.                                                    09:25:59
 22        A. I've been involved in lots of cases over                      09:26:00
 23    the years.     Sometimes -- I mean, things happen.                   09:26:03
 24    So I can't say that categorically that that's                        09:26:06
 25    always the case.                                                     09:26:11


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                          Transcript of Mark Rainey, Ph.D.
                          Conducted on November 17, 2023               24

 1         Q. Okay.    Can you look in Paragraph 27 of                      09:26:11
 2     your report, your opening report.        And this is a               09:26:27
 3     paragraph talking about lost profits.         Do you see             09:26:31
 4     that?                                                                09:26:36
 5         A. Yes.                                                          09:26:36
 6         Q. You state, "The lost profits calculation                      09:26:36
 7     assesses the actual damages to a patentee whose                      09:26:38
 8     sales are affected by the infringement."          Do you             09:26:42
 9     see that?                                                            09:26:44
 10        A. Yes.                                                          09:26:44
 11        Q. Now, you in the past, not in this case but                    09:26:45
 12    elsewhere, have done a lost profits analysis.                        09:26:51
 13    Correct?                                                             09:26:54
 14        A. Yes, that's correct.                                          09:26:54
 15        Q. You have in the past offered a lost                           09:26:55
 16    profits opinion as an alternative to a reasonable                    09:26:59
 17    royalty.    Is that right?                                           09:27:03
 18        A. Yes.    I mean, it's both as a testifying                     09:27:04
 19    expert and as a consulting expert, I've worked on                    09:27:15
 20    cases where there have been both a lost profits                      09:27:18
 21    analysis and a reasonable royalty analysis.           And            09:27:21
 22    the reasonable royalty applies to that portion of                    09:27:26
 23    sales to which the lost profits does not apply.                      09:27:31
 24        Q. You can't have both lost profits and                          09:27:34
 25    reasonable royalty on the same set of sales?                         09:27:37


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                          Transcript of Mark Rainey, Ph.D.
                          Conducted on November 17, 2023               25

 1         A. That's correct.                                               09:27:39
 2         Q. When you conducted lost profits analysis                      09:27:43
 3     in the past, did you apply a test known as the                       09:27:46
 4     Panduit factors?                                                     09:27:54
 5         A. Yes.                                                          09:27:56
 6         Q. You're familiar with the test that can be                     09:27:56
 7     used to analyze lost profits?                                        09:27:59
 8         A. Yes.                                                          09:28:01
 9         Q. There are four Panduit factors.          Is that              09:28:02
 10    right?                                                               09:28:08
 11        A. Yes, that's correct.                                          09:28:08
 12        Q. And so in the past when you provided a                        09:28:09
 13    lost profits opinion, you analyzed those four                        09:28:11
 14    factors?                                                             09:28:14
 15        A. Yes.                                                          09:28:15
 16        Q. Panduit factors require the patent owner                      09:28:15
 17    to prove, one, demand for the patented product;                      09:28:19
 18    two, absence of acceptable noninfringing                             09:28:24
 19    substitutes; three, manufacturing and marketing                      09:28:28
 20    capability to exploit demand; and four, the amount                   09:28:31
 21    of the profit the patentee would have made.                          09:28:34
 22             Is that your understanding of the test?                     09:28:36
 23        A. That sounds correct.                                          09:28:38
 24        Q. You did not apply that test here.                             09:28:39
 25    Correct?                                                             09:28:41


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 1         A. Correct.     Because I was doing a reasonable                 09:28:41
 2     royalty analysis, not a lost profits analysis.                       09:28:46
 3         Q. You are qualified to do a lost profits                        09:28:48
 4     analysis, in your opinion?                                           09:28:51
 5         A. Yes.                                                          09:28:52
 6         Q. Did you have available to you information                     09:28:52
 7     from which you believe you could have done a lost                    09:28:59
 8     profits analysis in this case?                                       09:29:01
 9         A. I didn't attempt to perform a lost profits                    09:29:03
 10    analysis.     So I don't know that I -- I believe                    09:29:20
 11    that would be the case.       But since I didn't                     09:29:32
 12    perform that analysis, I can't say that with                         09:29:35
 13    100 percent certainty.                                               09:29:39
 14        Q. There might be information missing that                       09:29:40
 15    you would need to do a lost profits analysis?                        09:29:41
 16            MS. RYCROFT:      Objection, calls for                       09:29:44
 17    speculation, assumes facts not in evidence.                          09:29:45
 18        A. Yeah.     I just don't know whether that                      09:29:48
 19    would be the case or not.                                            09:29:57
 20        Q. You were aware that there have been sales                     09:29:57
 21    of LUMRYZ.     Correct?                                              09:30:00
 22        A. Yes.                                                          09:30:01
 23        Q. You have evidence of the sales of LUMRYZ?                     09:30:03
 24        A. Yes, I do.                                                    09:30:05
 25        Q. You could have done a lost profits                            09:30:06


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 1     analysis for the few months of sales of LUMRYZ                       09:30:14
 2     that exist?    You're qualified to do that?                          09:30:17
 3         A. Yes.                                                          09:30:19
 4         Q. There's no rule you're aware of that                          09:30:20
 5     prevents a lost profits analysis from being done                     09:30:24
 6     when it's only a few months of sales.          Correct?              09:30:27
 7         A. Not that I'm aware of.        No.                             09:30:30
 8         Q. So it is theoretically possible that you                      09:30:34
 9     could have done a lost profits analysis with the                     09:30:38
 10    few months of LUMRYZ sales to date?                                  09:30:42
 11            MS. RYCROFT:     Objection to the extent it                  09:30:44
 12    calls for a legal conclusion.                                        09:30:45
 13        A. I guess in theory that's the case.              Yes.          09:30:47
 14        Q. But you didn't do it?                                         09:30:50
 15        A. I did a reasonable royalty analysis.                          09:30:52
 16        Q. You do not know whether or not Jazz has                       09:30:56
 17    lost any profits as a result of the sales of                         09:31:03
 18    LUMRYZ to date?                                                      09:31:06
 19        A. I didn't -- I have not performed a                            09:31:12
 20    calculation relating to that, since I did a                          09:31:15
 21    reasonable royalty instead of a lost profits                         09:31:20
 22    analysis.     So I didn't do that calculation.                       09:31:22
 23        Q. And so it's correct that you do not know                      09:31:24
 24    whether or not Jazz has, in fact, lost any profits                   09:31:28
 25    up through the set of sales that you had available                   09:31:34


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 1     to you?                                                              09:31:36
 2         A. Yes.     I didn't perform a calculation of                    09:31:36
 3     that.                                                                09:31:43
 4         Q. When you did lost profits in the past, the                    09:31:43
 5     set of sales that you looked at was past sales.                      09:31:50
 6     Correct?                                                             09:31:54
 7               MS. RYCROFT:   Objection, ambiguous.                       09:32:01
 8         A. I believe that's the case.         I don't recall             09:32:08
 9     100 percent, but I think that's probably correct.                    09:32:14
 10        Q. The lost profits analysis looks at past                       09:32:16
 11    sales and attempts to determine with respect to                      09:32:22
 12    past sales what profits have been lost.           Correct?           09:32:27
 13              MS. RYCROFT:   Objection to the extent it                  09:32:31
 14    calls for a legal conclusion.                                        09:32:33
 15        A. That's generally the way a lost profits                       09:32:34
 16    calculation is performed.                                            09:32:40
 17        Q. Lost profits calculations, in your                            09:32:41
 18    experience, are not performed on a forward-looking                   09:32:44
 19    basis for sales that have not happened?                              09:32:50
 20              MS. RYCROFT:   Objection to the extent that                09:32:52
 21    it calls for a legal conclusion, assumes facts not                   09:32:54
 22    in evidence.                                                         09:32:57
 23        A. Yeah.     I don't know whether that's -- I                    09:32:58
 24    just don't recall whether that's something I've                      09:33:09
 25    looked at before in regards to lost profits or                       09:33:11


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 1     not.                                                                 09:33:15
 2            Q. Sitting here today, have you, yourself,                    09:33:15
 3     ever done a lost profits analysis that attempted                     09:33:17
 4     to calculate future lost profits that have not --                    09:33:20
 5     for sales that have not happened?                                    09:33:24
 6            A. Not that I recall.    But again, I can't                   09:33:26
 7     rule it out.     I can't -- I don't recall anything                  09:33:33
 8     specifically like that.                                              09:33:38
 9            Q. You've only done a lost profits analysis                   09:33:38
 10    with respect to historical sales?                                    09:33:41
 11           A. To the -- to the best of my recollection,                  09:33:42
 12    that's correct.                                                      09:33:50
 13           Q. Looking at your opening report,                            09:33:54
 14    Paragraph 28, you talk about a reasonable royalty.                   09:34:01
 15    Are you there?                                                       09:34:04
 16           A. Yes.                                                       09:34:05
 17           Q. You offer the opinion that a reasonable                    09:34:06
 18    royalty is the amount that the patentee as a                         09:34:10
 19    willing licensor would have agreed to accept and                     09:34:14
 20    that the accused infringer as a willing licensee                     09:34:17
 21    would have agreed to pay, had they both                              09:34:20
 22    voluntarily and reasonably tried to reach an                         09:34:22
 23    agreement for a license to the asserted patent.                      09:34:25
 24    Do you see that?                                                     09:34:29
 25           A. Yes.                                                       09:34:30


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 1                                                                          10:35:12
 2                                                                          10:35:15
 3                                                                          10:35:15
 4                                                                          10:35:22
 5                                                                          10:35:25
 6                                                                          10:35:31
 7                                                                          10:35:33
 8                                                                          10:35:37
 9                                                                          10:35:38
 10                                                                         10:35:41
 11                                                                         10:35:43
 12        Q.                                                               10:35:43
 13                                                                         10:35:48
 14                                                                         10:35:56
 15                                                                         10:35:57
 16                                                                         10:36:04
 17                                                                         10:36:05
 18                                                                         10:36:06
 19                                                                         10:36:08
 20                                                                         10:36:08
 21                                                                         10:36:15
 22                                                                         10:36:18
 23                                                                         10:36:20
 24                                                                         10:36:23
 25        Q. I need to get two more documents.                             10:36:24


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 1              (Rainey Exhibits 9 and 10 were marked for                   10:37:14
 2     identification and are attached to the                               10:37:14
 3     transcript.)                                                         10:37:14
 4         Q.                                                               10:37:14
 5                                                                          10:37:21
 6                                                                          10:37:25
 7                                                                          10:37:26
 8                                                                          10:37:27
 9                                                                          10:37:32
 10                                                                         10:37:33
 11        Q. You considered these two agreements in                        10:37:34
 12    connection with preparing your opinions in this                      10:37:41
 13    case.    Correct?                                                    10:37:44
 14        A. Yes.    I reviewed them.                                      10:37:44
 15        Q. And you considered Jazz's agreements with                     10:37:47
 16    generic manufacturers of XYREM, including these                      10:37:53
 17    two, to be relevant to illustrate general economic                   10:37:56
 18    principles.    Correct?                                              10:38:01
 19        A. In certain respects, yes.                                     10:38:02
 20        Q.                                                               10:38:05
 21                                                                         10:38:10
 22                                                                         10:38:14
 23                                                                         10:38:17
 24                                                                         10:38:18
 25                                                                         10:38:19


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 1                                                                          10:38:25
 2                                                                          10:38:28
 3                                                                          10:38:30
 4                                                                          10:38:30
 5                                                                          10:38:37
 6                                                                          10:38:40
 7                                                                          10:38:43
 8                                                                          10:38:44
 9                                                                          10:38:45
 10                                                                         10:38:48
 11        Q.                                                               10:38:50
 12                                                                         10:38:55
 13                                                                         10:38:55
 14        Q.                                                               10:38:58
 15                                                                         10:39:05
 16                                                                         10:39:11
 17                                                                         10:39:11
 18                                                                         10:39:23
 19                                                                         10:39:27
 20                                                                         10:39:30
 21                                                                         10:39:33
 22                                                                         10:39:35
 23                                                                         10:39:42
 24                                                                         10:39:47
 25                                                                         10:39:49


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 1         Q.                                                               10:39:53
 2                                                                          10:39:56
 3                                                                          10:39:58
 4                                                                          10:40:01
 5                                                                          10:40:02
 6                                                                          10:40:06
 7                                                                          10:40:12
 8                                                                          10:40:16
 9              MS. RYCROFT:   Objection, calls for                         10:40:19
 10    speculation.                                                         10:40:21
 11        A.                                                               10:40:21
 12                                                                         10:40:24
 13                                                                         10:40:27
 14                                                                         10:40:35
 15                                                                         10:40:38
 16                                                                         10:40:40
 17                                                                         10:40:42
 18             MS. RYCROFT:   Objection, calls for                         10:40:43
 19    speculation.                                                         10:40:46
 20        Q. Do you have an understanding of what the                      10:40:46
 21    relevant circumstances will be in the market as of                   10:40:49
 22    December 31st, 2025, with respect to XYREM sales?                    10:40:53
 23             MS. RYCROFT:   Objection, incomplete                        10:41:02
 24    hypothetical, speculation.                                           10:41:04
 25        A. Can you repeat the question?                                  10:41:05


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 1         Q. Do you have an understanding of what the                      10:41:15
 2     relevant circumstances will be in the market as of                   10:41:16
 3     December 31st, 2025, with respect to XYREM sales?                    10:41:20
 4              MS. RYCROFT:   Objection, incomplete                        10:41:25
 5     hypothetical, calls for speculation, also to the                     10:41:28
 6     extent it calls for a legal conclusion.                              10:41:30
 7         A. That's something that's going to be                           10:41:32
 8     occurring over two years in the future, so I don't                   10:41:39
 9     know precisely what the market will look like at                     10:41:42
 10    that point.                                                          10:41:44
 11        Q. Patients can't take at the same time a                        10:41:44
 12    generic version of XYREM and XYREM itself.                           10:41:49
 13    Correct?                                                             10:41:52
 14        A. I think that sounds highly unlikely.                          10:41:52
 15        Q. Sodium oxybate is a drug with -- that                         10:42:00
 16    is -- the distribution of which is carefully                         10:42:11
 17    controlled.    Is that right?                                        10:42:14
 18        A. Yes, that's correct.                                          10:42:15
 19        Q. You would not expect there to be any                          10:42:15
 20    patients who are simultaneously taking generic                       10:42:18
 21    XYREM and XYREM.    Correct?                                         10:42:23
 22        A. It seems unlikely.                                            10:42:25
 23        Q.                                                               10:42:26
 24                                                                         10:42:34
 25                                                                         10:42:40


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 1         A.                                                               10:42:44
 2                                                                          10:42:59
 3                                                                          10:43:07
 4                                                                          10:43:10
 5                                                                          10:43:10
 6                                                                          10:43:16
 7                                                                          10:43:20
 8              MS. RYCROFT:   Objection, incomplete                        10:43:23
 9     hypothetical, calls for speculation.                                 10:43:25
 10        A.                                                               10:43:27
 11        Q. Did you do anything to look into whether                      10:43:31
 12    or not Jazz considers future sales of generic                        10:43:33
 13    XYREM to result in harm to Jazz?                                     10:43:39
 14        A. In thinking about the XYREM settlement                        10:43:44
 15    agreements, as I explained in my report, I took                      10:44:01
 16    into account the fact that they were settlement                      10:44:07
 17    agreements and hence that there was uncertainty                      10:44:09
 18    about invalidity and infringement of the patents.                    10:44:11
 19             I also took into account the fact that                      10:44:17
 20    there were multiple generic manufacturers that                       10:44:19
 21    made the settlements.     I think we're up to ten at                 10:44:31
 22    this point.                                                          10:44:34
 23             So I think in those circumstances the -- I                  10:44:36
 24    think those circumstances I think help explain                       10:44:51
 25    economically the royalty rates that you see in                       10:44:56


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 1     these agreements.                                                    10:44:59
 2           Q. When multisource generics start being                       10:45:01
 3     sold, do you agree that Jazz will make fewer sales                   10:45:08
 4     of XYREM because of the multisource generics being                   10:45:11
 5     available?                                                           10:45:16
 6           A. It's possible.      Yes.                                    10:45:16
 7           Q. Is it possible or is it in fact certain                     10:45:22
 8     that Jazz will make fewer sales at that point in                     10:45:24
 9     time?                                                                10:45:26
 10          A. I don't think it's 100 percent certain                      10:45:27
 11    just because the timing is unknown and Jazz is in                    10:45:33
 12    the process of transitioning patients from XYREM                     10:45:41
 13    to XYWAV.       I don't think it's 100 percent certain.              10:45:46
 14          Q. When you mentioned timing, is the timing                    10:45:52
 15    that is unknown the entry date for multisource                       10:45:54
 16    generics?                                                            10:45:58
 17          A. Yes.    That's primarily what I was thinking                10:45:58
 18    of.                                                                  10:46:05
 19          Q.                                                             10:46:05
 20                                                                         10:46:11
 21                                                                         10:46:15
 22          Q. And the fact that that timing is uncertain                  10:46:15
 23    causes you to be uncertain as of the date that                       10:46:23
 24    Jazz will lose sales to the multisource generics?                    10:46:27
 25               MS. RYCROFT:    Objection,                                10:46:31


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 1     mischaracterization.                                                 10:46:33
 2         A. It causes uncertainty about whether -- for                    10:46:36
 3     the reasons I explained in my previous answer,                       10:46:40
 4     what the status of Jazz's portfolio looks like at                    10:46:47
 5     the time of launch.                                                  10:46:52
 6         Q. At the time of launch of multisource                          10:46:55
 7     generics?                                                            10:46:57
 8         A. Yes.                                                          10:46:57
 9         Q. So there is uncertainty as to the status                      10:46:57
 10    of Jazz's portfolio, what it will look like as of                    10:47:01
 11    the time of launch of multisource generics?                          10:47:05
 12        A. Yes.    I mean, it's not known with                           10:47:08
 13    certainty.                                                           10:47:11
 14        Q. When the multisource generics do start                        10:47:11
 15    being sold, do you agree that Jazz will lose sales                   10:47:18
 16    to them to at least some degree?                                     10:47:22
 17        A. Like I said before, not with 100 percent                      10:47:24
 18    certainty.    There's certainly a possibility that                   10:47:29
 19    they will lose sales to at least some degree.                        10:47:32
 20                                                                         10:47:34
 21                                                                         10:47:40
 22                                                                         10:47:44
 23                                                                         10:47:46
 24                                                                         10:47:51
 25                                                                         10:47:56


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 1                                                                          10:48:02
 2                     .                                                    10:48:04
 3         Q. And the circumstances in which these                          10:48:06
 4     agreements were reached that you just mentioned,                     10:48:10
 5     you referenced -- you meant what about that?                         10:48:13
 6         A. I mentioned that these were license                           10:48:20
 7     agreements that were entered into as part of the                     10:48:23
 8     settlement of litigation about the XYREM patents.                    10:48:25
 9     So there was uncertainty about, say, the validity                    10:48:28
 10    of the XYREM patents at the time these were                          10:48:33
 11    entered into.                                                        10:48:35
 12        Q. And the second item you mentioned was the                     10:48:35
 13    competitive situation with the number of generic                     10:48:38
 14    manufacturers.       Is that right?                                  10:48:41
 15        A. Yes.                                                          10:48:41
 16        Q. And what did you mean by that?                                10:48:42
 17        A. So there are -- I think we're up to ten                       10:48:44
 18    generic manufacturers with this that have this                       10:48:50
 19    license agreement to sell generic XYREM.                             10:48:55
 20             And so in that competitive situation,                       10:49:01
 21    there are ten manufacturers selling a                                10:49:04
 22    nondifferentiated product.         So it's going to be a             10:49:06
 23    highly competitive market.                                           10:49:08
 24        Q.                                                               10:49:09
 25                                                                         10:49:15


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 1                                                                          10:49:21
 2                                                                          10:49:22
 3                                                                          10:49:25
 4                                                                          10:49:30
 5                                                                          10:49:32
 6                                                                          10:50:00
 7                                                                          10:50:04
 8                                                                          10:50:06
 9                                                                          10:50:14
 10                                                                         10:50:16
 11                                                                         10:50:18
 12                                                                         10:50:23
 13                                                                         10:50:27
 14                                                                         10:50:32
 15                                                                         10:50:38
 16                                                                         10:50:43
 17                                                                         10:50:44
 18                                                                         10:50:49
 19                                                                         10:50:50
 20                                            .                            10:50:55
 21        Q. Have you ever considered settlement                           10:50:57
 22    agreements in the past when -- specifically for                      10:51:00
 23    purposes of using their royalty rates when                           10:51:06
 24    conducting a damages analysis?                                       10:51:09
 25        A. I don't recall specifically.                                  10:51:11


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 1         Q. Is it possible that you considered a                          10:51:22
 2     settlement agreement royalty rate when conducting                    10:51:24
 3     a reasonable royalty damages analysis?                               10:51:27
 4         A. It's possible I would have considered it                      10:51:29
 5     and analyzed the circumstances of the settlement.                    10:51:36
 6     Whether I would have relied on it, it would have                     10:51:44
 7     depended on whether I thought the circumstances                      10:51:46
 8     were comparable enough to make it reliable.                          10:51:49
 9         Q. Can you turn in your opening report to                        10:51:54
 10    page 12.   You have a heading that refers to Jazz                    10:51:59
 11    intercompany licenses.      Are you there?                           10:52:16
 12        A. Yes.                                                          10:52:17
 13        Q. Your conclusion was that the Jazz                             10:52:18
 14    intercompany licenses did not provide a royalty                      10:52:24
 15    rate for purposes of the reasonable royalty                          10:52:29
 16    calculation here.     Is that right?                                 10:52:33
 17        A. Yeah.    What I said in my report,                            10:52:34
 18    Paragraph 55, was that it does not prove and                         10:52:37
 19    establish a royalty for the patents in suit.                         10:52:42
 20        Q. And the same is also true of Avadel                           10:52:44
 21    intercompany licenses.      Correct?                                 10:52:49
 22        A. Yes.    I concluded in Paragraph 68 of my                     10:52:51
 23    opening report that the agreements between Avadel,                   10:53:08
 24    CNS, and Flamel are not relevant to the                              10:53:12
 25    hypothetical negotiation between Jazz and Avadel.                    10:53:17


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 6     certify that the foregoing transcript is a true
 7     and correct record of the testimony given; that
 8     said testimony was taken by me stenographically
 9     and thereafter reduced to typewriting under my
 10    direction; that reading and signing was requested;
 11    and that I am neither counsel for, related to, nor
 12    employed by any of the parties to this case and
 13    have no interest, financial or otherwise, in its
 14    outcome.
 15               IN WITNESS WHEREOF, I have hereunto set my
 16    hand and affixed my notarial seal this 20th day of
 17    November, 2023.
 18    My commission expires May 15, 2026.
 19
 20
 21
 22    ______________________________________
 23    NOTARY PUBLIC IN AND FOR
 24    THE COMMONWEALTH OF MASSACHUSETTS
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           The undersigned counsel hereby certifies that true and correct copies of the foregoing

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